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NATIONAL TOXICOLOGY PROGRAM
Technical Report Series
No. 451
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          TOXICOLOGY          AND CARCINOGENESIS

                STUDIES OF NICKEL OXIDE

                          (CAS NO. 1313-99-1)

              IN F344/N R A T S A N D B6C3F 1 M I C E

                       (INHALATION STUDIES)




          U.S. DEPARTMENT OF HFALTH AND HUMAN SERVICES
                         Public Health Service
                      National Institutes of Health
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                                                 FOREWORD

  The National Toxicology Program (NTP) is made up of four charter agencies of the U.S. Department of
  Health and Human Services (DHHS): the National Cancer Institute (NCI), National Institutes of Health;
  the National Institute of Environmental Health Sciences (NIEHS), National Institutes of Health; the
  National Center for Toxicological Research (NCTR), Food and Drug Administration; and the National
  Institute for Occupational Safety and Health (NIOSH), Centers for Disease Control. In July 1981, the
  Carcinogenesis Bioassay Testing Program, NCI, was transferred to the NIEHS. The NTP coordinates the
  relevant programs, staff, and resources from these Public Health Service agencies relating to basic and
  applied research and to biological assay development and validation.

  The NTP develops, evaluates, and disseminates scientific information about potentially toxic and
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  primary prevention of disease.

  The studies described in this Technical Report Were pe.rformed under the direction of the NIEHS and were
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  with the Public Health Service Policy on Humane Care and Use of Animals. The prechronic and chronic
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  Practice Regulations, and all aspects of the chronic studies were subjected to retrospective quality
  assurance audits before being presented for public review.

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  this Technical Report are based only on the results of these NTP studies. Extrapolation of these results to
  other species and quantitative risk analyses for humans require wider analyses beyond the purview of these
  studies. Selection p e r se is not an indicator of a chemical's carcinogenic potential.

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                       NTP TECHNICAL REPORT

                                    O N THE


         TOXICOLOGY AND CARCINOGENESIS

                STUDIES OF NICKEL OXIDE

                         (CAS NO. 1313-99-1)

            IN F344/N RATS AND B6C3F1 MICE

                       (INHALATION STUDIES)




                                    July 1996




                                   NTP TR 451

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                         Public Health Service
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  2                                                                                             Nickel Oxide, NTP TR 451




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                                                      ABSTRACT



                                                             NiO
                                                        NICKEL OXIDE

                                                          CAS No. 1313-99-1

                                     Chemical Formula: NiO            Molecular Weight: 74.71

Synonyms: Bunsenite; C.I. 77777; green nickel oxide; mononickel oxide; nickel monoxide; nickel oxide sinter 75; nickel protoxide;
            nickel (II) oxide; nickel (T+) oxide; nickelous oxide


Nickel oxide (NiO) "sinters" are used in stainless                   final mean body weights of exposed male and female
steel and alloy steel production. Nickel oxide was                   rats were similar to those of the controls, and there
nominated by the National Cancer Institute to the                    were no clinical findings related to nickel oxide
NTP for testing because exposure to this form of                     exposure. Absolute and relative lung weights of
nickel is prevalent in the nickel industry. Increased                male and female rats exposed to 10 or 30 mg/m 3
incidences of lung and nasal sinus cancers have                      were significantly greater than those of the controls.
occurred among workers in certain nickel refining                    Pigment particles in alveolar macrophages or within
facilities, and nickel oxide was studied as part of a                the alveolar spaces were observed in the lungs of ex-
class study of nickel compounds. Male and female                     posed groups of males and females. Chronic-active
F344/N rats and B6C3F~ mice were exposed to                          inflammation and accumulation of macrophages in
nickel oxide (high temperature, green nickel oxide;                  alveolar spaces of the lungs and hyperplasia in the
mass median diameter 2.2 ± 2.6/zm; at least 99%                      respiratory tract lymph nodes were most severe in 10
pure) by inhalation for 16days, 13 weeks., or                        and 30 mg/m 3 males and females. Hyperplasia of
2 years. Genetic toxicology studies were conducted                   bronchial lymph nodes occurred in 30 mg/m ~ rats.
in peripheral blood of B6C3F~ mice exposed to nickel                 Atrophy of the olfactory epithelium was observed in
oxide for 13 weeks.                                                  one male and one female exposed to 30 mg/m 3. The
                                                                     concentrations of nickel oxide in the lungs of exposed
                                                                     groups of rats were greater than those in the lungs of
1 6 - D A Y S T U D Y IN R A T S                                     control groups (males, 42 to 267 #g nickel/g lung;
Groups of five male and five female F344/N rats                      females, 54 to 340 #g/g lung).
were exposed to 0, 1.2, 2.5, 5, 10, or 30 mg nickel
oxide/m 3 (equivalent to 0, 0.9, 2.0, 3.9, 7.9, or
23.6 mg nickel/m 3) by inhalation for 6 hours per day,                1 6 - D A Y S T U D Y IN M I C E
5 days per week for a total of 12 exposure days                       Groups of five male and five female B6C3F~ mice
during a 16-day period.        Additional groups of                   were exposed to 0, 1.2, 2.5, 5, 10, or 30 mg nickel
five male and five female rats were exposed to 0,                     oxide/m 3 by inhalation for 6 hours per day, 5 days
1.2, 5, or 10 mg/m 3 for tissue burden studies. All                   per week for a total of 12 exposure days during a
core study rats survived until the end of the study,                  16-day period. Additional groups of five male and
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five female mice were exposed to 0, 1.2, 2.5, or          incidences of inflammation occurred in males and
5 mg/m 3 for tissue burden studies. No exposure-          females exposed to 2.5 mg/m 3 or higher. In addi-
related deaths occurred among core study mice, and        tion, lymphoid hyperplasia and pigment occurred in
final mean body weights of exposed male and female        the bronchial and mediastinal lymph nodes of 2.5, 5,
mice were similar to those of the controls. There         and 10 mg/ma males and females.
were no chemical-related clinical findings. Pigment
particles were presem in the lungs of mice exposed        The concentration of nickel oxide in the lungs of 0.6,
to 2.5 mg/m 3 or greater.           Accumulation of       2.5, and 10 mg/m3 males was greater than in the
macrophages in alveolar spaces was observed in the        lungs of controls at 4, 9, and 13 weeks, and nickel
lungs of 10 and 30 mg/m 3 males and females. The          continued to accumulate in the lung at the end of the
concentrations of nickel oxide in the lungs of exposed    13-week exposures (4 weeks, 33 to 263 /~g nickel/g
groups of mice were significantly greater than those      lung; 9 weeks, 53 to 400/~g/g lung; 13 weeksl 80 to
in the lungs of control animals (males, 32 to 84/zg       524/~g/g lung).
nickel/g lung; females, 31 to 71 /zg/g lung).

                                                          1 3 - W E E K S T U D Y IN M I C E
                                                          Groups of 10 male and 10 female B6C3F~ mice were
1 3 - W E E K S T U D Y IN R A T S
                                                          exposed to 0, 0.6, 1.2, 2.5, 5, or 10 mg nickel
Groups of 10 male and 10 female F344/N rats were
                                                          oxide/m3 by inhalation for 6 hours per day, 5 days
exposed to 0, 016, 1.2, 2.5, 5, or 10 mg nickel
                                                          per week for 13 weeks. Additional groups of six
oxide/m3 (equivalent to 0, 0.4, 0.9, 2.0, 3.9, or
                                                          male and six female mice were exposed to 0, 0.6,
7.9 mg nickel/m3) by inhalation for 6 hours per day,
                                                          2.5, or 10 mg/m 3 for tissue burden studies. No
5 days per week for 13 weeks. Additional groups of
                                                          exposure-related deaths occurred among core study
18 male and 18 female rats were exposed to 0, 0.6,
                                                          animals, final mean body weights of exposed male
2.5, or 10 mg/m 3 for tissue burden studies. No
                                                          and female mice were similar to those of the con-
exposure-related deaths occurred among core study
                                                          trols, and no clinical findings in any group were
rats, final mean body weights of exposed male and
                                                          related to nickel oxide exposure. Hematocrit values
female rats were similar to those of the controls, and
                                                          and erythrocyte counts in 5 and 10 mg/m 3 females
no clinical findings in any group were related to
                                                          were minimally greater than those of the controls, as
nickel oxide exposure. Lymphocyte, neutrophil,
                                                          was the hemoglobin concentration in 5 mg/m3
monocyte, and erythrocyte counts; hematocrit values;
                                                          females. Absolute and relative lung weights of
and hemoglobin and mean cell hemoglobin concentra-
                                                          10 mg/m 3 males and females were significantly
tions in exposed rats were minimally to m!ldly
                                                          greater than those of controls, and absolute and
greater than those of the controls; these differences
                                                          relative liver weights of 10 mg/m 3 males were
were most pronounced in females. Mean cell vol-
                                                          significantly less than those of controls.
umes in exposed rats were generally less than those
in the controls. Absolute and relative lung weights
                                                          Accumulation of alveolar macrophages, many of
of exposed groups of males and females were
                                                          which contained pigment particles, occurred in all
generally significantly greater than those of controls.
                                                          groups of mice exposed to nickel oxide. Inflamma-
                                                          tion (chronic active perivascular infiltrates or granu-
Chemical-related nonneoplastic lesions were observed      lomatous) occurred in 2.5, 5, and 10 mg/m 3 males
in the lungs of male and female rats exposed to           and females. In addition, lymphoid hyperplasia and
concentrations of 2.5 mg/m 3 or higher, and the           pigment occurred in the bronchial lymph nodes of
severity of these lesions, generally increased with       males and females exposed to 2.5 mg/m 3 or higher.
exposure concentration. Accumulation of alveolar
macrophages, many of which contained black,               The concentration of nickel in the lung was greater
granular pigment, was generally observed in all           than that of controls in 0.6, 2.5, and 10 mg/m 3 males
exposed groups of males and females, and increased        at. 13 weeks (42 to 736/~g nickel/g lung).
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 2 - Y E A R S T U D Y IN R A T S                         and females. The incidences of benign pheochromo-
 Survival, Body Weights, Clinical Findings,               cytoma and adrenal medulla hyperplasia in 2.5 mg/m 3
                                                          females and the incidence of benign or malignant
 and Hematology                                           pheochromocytoma (combined) in 2.5 mg/m 3 males
 Groups of 65 male and 65 female F344/N rats were
                                                          were significantly greater than those in the controls.
 exposed to 0, 0.62, 1.25, or 2.5 mg nickel oxide/m3
 (equivalent to 0, 0.5, 1.0, or 2.0 mg nickel/m3) by
 inhalation for 6 hours per day, 5 days per week for      Tissue Burden Analyses
 104 weeks. Survival of exposed male and female           Nickel concentrations in the lung of exposed rats
 rats was similar to that of the controls. Mean body      were greater than those in the controls at 7 and
 weights of 1.25 mg/m 3 females and 2.5 mg/m3 males       15 months (7 months, 173 to 713/zg nickel/g lung;
 and females were slightly lower than those of the        15 months, 262 to 1,116 /zg/g lung), and nickel
 controls during the second year of the study. No         concentrations increased with increasing exposure
 chemical-related clinical findings were observed in      concentration and with time.
 male or female rats during the 2-year study. No
 chemical-related     differences    in hematology
 parameters were observed in male or female rats at       2 - Y E A R S T U D Y IN M I C E
 the 15-month interim evaluation.
                                                          Survival, Body Weights, Clinical Findings,
 Pathology Findings                                       and Hematology
                                                          Groups of 74 to 79 B6C3F1 mice were exposed to 0,
 Absolute and relative lung weights of 1.25 and
                                                          1.25, 2.5, or 5 mg nickel oxide/m3 by inhalation for
 2.5 mg/m3 males and females were significantly
                                                          6 hours per day, 5 days per week for 104 weeks.
 greater than those of the controls at 7 and 15 months.
                                                          Survival of exposed male and female mice was
 At 2 years, there were exposure-related increased
                                                          similar to that of the controls. Mean body weights of
 incidences of alveolar/bronchiolar adenomas or
                                                          5 mg/m3 females were slightly lower than those of
 alveolar/bronchiolar adenoma or carcinoma
                                                          the controls during the second year of the study. No
 (combined) in males and females. Incidences of
                                                          chemical-related clinical findings were observed in
 atypical alveolar epithelial hyperplasia in the lungs
                                                          male or female mice during the 2-year study. No
 generally increased with increasing exposure concen-
                                                          chemical-related differences in hematology param-
 tration in male and female rats. Chronic inflamma-
                                                          eters were observed in male or female mice at the
 tion of the lung was observed in most exposed rats at
                                                          15-month interim evaluation.
 7 and 15 months and at 2 years; the incidences in
 exposed males and females at 2 years were signifi-
 cantly greater than those in the controls, and the       Pathology Findings
 severity of the inflammation increased in exposed        At 2 years, the incidence of alvcolar/bronchiolar
 groups.     The incidences of pigmentation in the        adcnoma in 2.5 mg/m3 females was significantly
 alveolus of exposed groups of males and females          greater than that of the controls, as was the incidence
 were significantly greater than those of the controls    of alveolar/bronchiolar adenoma or carcinoma
 at 7 and 15 months and at 2 years.                       (combined) in 1.25 mg/m 3 females.           Generally,
                                                          incidences of chronic inflammation increased with
 Pigmentation in the bronchial lymph nodes similar to     exposure concentration in males and females at 7 and
 that in the lungs was observed in all exposure groups    15 months. Bronchialization of minimal severity in
 with the exception of 0.62 mg/m3 males and females       exposed animals and proteinosis were first observed
 at 7 months. Lymphoid hypelrplasia was observed in       at 15 months. At 2 years, the incidences of chronic
 the bronchial lymph nodes of 1.25 and 2.5 mg/m 3         inflammation, alveolar epithelial hyperplasia, and
 males and females at 7 and 15 months, and the            proteinosis in exposed groups of males and females
 incidence at 2 years generally increased with expo-      were significantly greater than those of the controls.
 sure concentration.                                      The severity of chronic inflammation increased with
                                                          exposure concentration in females, and proteinosis
 At 2 years, there was an exposure-related increase in    was most severe in 5 mg/m 3 males and females.
 the incidence of benign pheochromocytoma in males        Pigment occurred in the lungs of nearly all exposed
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 mice at 7 and 15 months and at 2 years, and the                   CONCLUSIONS
 severity increased with exposure c'~ncentration.                  Under the conditions of these 2-year inhalation
                                                                   studies, there was some evidence of carcinogenic
 Lymphoid hyperplasia occurred in two animals after                activity* of nickel oxide in male F344/N rats based
 7 months; at 15 months, lymphoid hyperplasia                      on increased incidences of alveolar/bronchiolar
 occurred in males exposed to 2.5 and 5 mg/m 3 and in              adenoma or carcinoma (combined) and increased
 all exposed groups of females. At 2 years, lymphoid               incidences of benign or malignant pheochromocytoma
 hyperplasia occurred in some control animals, but                 (combined) of the adrenal medulla. There was some
 this lesion was still observed more often in exposed              evidence of carcinogenic activity, of nickel oxide in
 males and females and the incidence increased with                female F344/N rats based on increased incidences of
 exposure concentration. Pigmentation was observed                 alveolar/bronchiolar adenoma or carcinoma (com-
 in the bronchial lymph nodes of exposed males and                 bined) and increased incidences of benign pheo-
 females at 7 and 15 months and in nearly all exposed              chromocytoma of the adrenal medulla. There was no
 animals at 2 years.                                               evidence of carcinogenic activity of nickel oxide in
                                                                   male B6C3F1 mice exposed to 1.25, 2.5, or 5 mg/m 3.
                                                                   There was equivocal evidence of carcinogenic activity
 Tissue Burden Analyses                                            of nickel oxide in female B6C3Fi mice based on
 Nickel concentrations in the lungs of exposed mice                marginally increased incidences of alveolar/
 were greater than those in the controls at 7 and                  bronchiolar adenoma in 2.5 mg/m 3 females and of
 15 months (7 months, 162 to 1,034 ~g nickel/g lung;               alveolar/bronchiolar adenoma or carcinoma (com-
 15 months, 331 to 2,258 #g/g lung), and nickel                    bined) in 1.25 mg/m 3 females.
 concentrations increased with increasing exposure
 concentration and with time.                                      Exposure of rats to nickel oxide by inhalation for
                                                                   2 years resulted in inflammation and pigmentation in
                                                                   the lung, lymphoid hyperplasia and pigmentation in
                                                                   the bronchial lymph nodes, and hyperplasia of the
 GENETIC TOXICOLOGY                                                adrenal medulla (females). Exposure of mice to
 No increase in the frequency of micronucleated                    nickel oxide by inhalation for 2 years resulted in
 normochromatic erythrocytes was observed in periph-               bronchialization, proteinosis, inflammation, and
 eral blood samples from male or female mice                       pigmentation in the lung and lymphoid hyperplasia
 exposed to nickel oxide.                                          and pigmentation in the bronchial lymph nodes.




 * Explanation of Levels of Evidence of Carcinogenic Activity is on page 10. A summary of the Technical Reports Review Subcommittee
   comments and the public discussion on this Technical Report appears on page 12.
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Nickel O x i d e , N T P T R 451                                                                                                                                9



Summary      o f t h e 2 - Y e a r C a r c i n o g e n e s i s and Genetic T o x i c o l o g y S t u d i e s o f N i c k e l O x i d e


                                       Male                              Female                              Male                               Female
                                    F344/N Rats                        F344/N Rats                        B6C3F~ Mice                       B6C3F~ Mice


Exposure                       0, 0.62, 1.25, or                  0, 0.62, 1.25, or                  0, 1.25, 2.5, or 5 mg               0, 1.25, 2.5, or 5 mg
concentrations                 2.5 mg nickel                      2.5 mg nickel                      nickel oxide/m3 (0,                 nickel oxide/m~ (0,
                               oxide/m3 (0, 0.5, 1.0,             oxide/m3 (0, 0.5, 1.0,             1.0, 2.0, or 3.9 mg                 1.0, 2.0, or 3.9 mg
                               or 2.0 mg nickel/m3)               or 2.0 mg nickel/m3)               nickel/m3)                          nickel/m~)

Body weights                   2.5 mg/m3 group                     1.25 and 2.5 mg/m3                Exposed groups                      5 mg/m3 group
                               slightly lower than                 groups slightly lower             similar to controls                 slightly lower than
                               controls                            than controls                                                         controls

2-Year survival                 14/54, 15/53, 15/53,               21/53, 26/53, 20/53,              19/57, 23/67, 29/66,                41/64, 40/66, 42/63,
rates                           12/52                              26/54                             23/69                               38/64

Nonneoplastic                   Lung: chronic                      Lung: chronic                                                         Lung:
effects                         inflammation (28/54,               inflammation (18/53,              bronchialization (0/57,             bronchialization (0/64,
                                53/53, 53/53, 52/52);              52/53, 53/53, 54/54);             24/67, 40/66, 40/69);               35/66, 39/63, 40/64);
                                pigment (1/54, 53/53,              pigment (0/53, 52/53,             proteinosis (0/57,                  proteinosis (0/64,
                                53/53, 52/52)                      53/53, 54/54)                     12/67, 22/66, 43/69);               8/66, 17/63, 29/64);
                                Bronchial lymph node:              Bronchial lymph node:             chronic inflammation                chronic inflammation
                                lymphoid hyperplasia               lymphoid hyperplasia              (0/57, 21/67, 34/66,                (7/64, 43/66, 53/63,
                                (0/52, 7/51, 10/53,                (1/49, 5/50, 20/53,               55/69); pigment (0/57,              52/64); pigment (0/64,
                                18/52); pigment (0/52,             13/52); pigment (0/49,            65/67, 66/66, 68/69);               64/66, 61/63, 64/64);
                                45/51, 51/53, 51152)               43/50, 52/53, 47152)              Bronchial lymph node:               Bronchial lymph node:
                                                                   Adrenal medulla:                  lymphoid hyperplasia                lymphoid hyperplasia
                                                                   hyperplasia (8/51,                (5/45, 18/56, 28/61,                (14/54, 37/63, 40/59,
                                                                   12/52, 14/53, 22/53)              33/62); pigment (0/45,              44/62); pigment (0/54,
                                                                                                     55/56, 61/61, 60/62)                58/63, 56/59, 60/62)

Neoplastic effects              Lung: alveolar/                    Lung: alveolar/                    None                               None
                                bronchiolar adenoma                bronchiolar adenoma
                                or carcinoma or                    or carcinoma (1/53,
                                squamous cell                      0/53, 6/53, 5/54)
                                carcinoma (1/54, 1/53,             Adrenal medulla:
                                6/53, 4/52)                        benign
                                Adrenal medulla:                   pheochromocytoma
                                benign or malignant                (4/51, 7/52, 6/53,
                                pheochromocytoma                   18/53)
                                (27/54, 24152, 27153,
                                35/52)

 Uncertain f'mdings             None                               None                               None                               Lung: alveolar/
                                                                                                                                         bronchiolar adenoma
                                                                                                                                         (2/64, 4/66, 10/63,
                                                                                                                                         3/64); alveolar/
                                                                                                                                         bronchiolar adenoma
                                                                                                                                         or carcinoma (6/64,
                                                                                                                                         15/66, 12/63, 8/64)

 Level of evidence              Some evidence                      Some evidence                      No evidence                        Equivocal evidence
 of carcinogenic
 activity

 Genetic toxicology
  Micronucleated erythrocytes
   Mouse peripheraal blood in vivo:                                 Negative in male and female mice
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                   EXPLANATION OF LEVELS OF EVIDENCE OF CARCINOGENIC ACTIVITY

 The National Toxicology Program describes the results of individual experiments on a chemical agent and notes the strength of the evidence
 for conclusions regarding each study. Negative results, in which the study animals do not have a greater incidence of neoplasia than control
 animals, do not necessarily mean that a chemical is not a carcinogen, inasmuch as the experiments are conducted under a limited set of
 conditions. Positive results demonstrate that a chemical is carcinogenic for laboratory animals under the conditions of the study and indicate
 that exposure to the chemical has the potential for hazard to humans. Other organizations, such as the International Agency for Research on
 Cancer, assign a strength of evidence for conclusions based on an examination of all available evidence, including animal studies such as
 those conducted by the NTP, epidemiologic studies, and estimates of exposure. Thus, the actual determination of risk to humans from
 chemicals found to be carcinogenic in laboratory animals requires a wider analysis that extends beyond the purview of these studies.

 Five categories of evidence of carcinogenic activity are used in the Technical Report series to summarize the strength of the evidence
 observed in each experiment: two categories for positive results (clear evidence and some evidence); one category for uncertain findings
 (equivocal evidence); one category for no observable, effects (no evidence); and one category for experiments that cannot be evaluated
 because of major flaws (inadequate study). These categories of interpretative conclusions were first adopted in June 1983 and then revised
 in March 1986 for use in the Technical Report series to incorporate more specifically the concept of actual weight of evidence of
 carcinogenic activity. For each separate experiment (male rats, female rats, male mice, female mice), one of the following five categories is
 selected to describe the findings. These categories refer to the strength of the experimental evidence and not to potency or mechanism.

       • Clear evidence of carcinogenic activity is demonstrated by studies that are interpreted as showing a dose-related
         (i) increase of malignant neoplasms, (ii) increase of a combination of malignant and benign neoplasms, or (iii) marked increase
         of benign neoplasms if there is an indication from this or other studies of the ability of such tumors to progress to malignancy.
       • Some evidence of carcinogenic activity is demonstrated by studies that are interpreted as showing a chemical-related
         increased incid~hce of neoplasms (malignant, benign, or combined) in which the strength of the response is less than that
         required for clear evidence.
       • Equivocal evidence of carcinogenic activity is demonstrated by studies that are interpreted as showing a marginal increase
         of neoplasms that may be chemical related.
       • N o e v i d e n c e of carcinogenic activity is demonstrated by studies that are interpreted as showing no chemical'-related
         increases in malignant or benign neoplasms.
       • Inadequate study of carcinogenic activity is demonstrated by studies that, because of major qualitative or quantitative
         limitations, cannot be interpreted as valid for showing either the presence or absence of carcinogenic activity.

  When a conclusion statement for a particular experiment is selected, consideration must be given to key factors that would extend the actual
  boundary of an individual category of evidence. Such consideration should allow for incorporation of scientific experience and current
  understanding of long-term carcinogenesis studies in laboratory animals, especially for those evaluations that may be on the borderline
  between two adjacent levels. These considerations should include:

       •       adequacy of the experimental design and conduct;
       •       occurrence of common versus uncommon neoplasia;
       •       progression (or lack thereof) from benign to malignant neoplasia as well as from preneoplastic to neoplastic lesions;
       •       some benign neoplasms have the capacity to regress but,others (of the same morphologic type) progress. At present, it is
               impossible to identify the difference. Therefore, where progression is known to be a possibility, the most prudent course
               is to assume that benign neoplasms of those types have the potential to become malignant;
       •       combining benign and malignant tumor incidence known or thought to represent stages of progression in the same organ or
               tissue;
       •       latency in tumor induction;
       •       multiplicity in site-specific neoplasia;
       •       metastases;
       •       supporting information from proliferative lesions (hyperplasia) in the same site of neoplasia or in other experiments (same
               lesion in another sex or species);
           •   presence or absence of dose relationships;
           •   statistical significance of the observed tumor increase;
           •   concurrent control tumor incidence as well as the historical control rate and variability for a specific neoplasm;
           •   survival-adjusted analyses and false positive or false negative concerns;
           •   structure-activity correlations; and
           •   in some cases, genetic toxicology.
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        NATIONAL            TOXICOLOGY   PROGRAM                      BOARD OF SCIENTIFIC                            COUNSELORS
                               TECHNICAL REPORTS                     REVIEW SUBCOMMITTEE



The members of the Technical Reports Review Subcommittee who evaluated the draft NTP Technical Report on nickel oxide on
November 29, 1994, are listed below. Subcommittee members serve as independent scientists, not as representatives of any institution,
company, or governmental agency. In this capacity, subcommittee members have five major responsibilities in reviewing NTP studies:

   •   to ascertain that all relevant literature data have been adequately cited and interpreted,
   •   to determine if the design and conditions of the NTP studies were appropriate,
   •   to ensure that the Technical Report presents the experimental results and conclusions fully and clearly,
   •   to judge the significance of the experimental results by scientific criteria, and
   •   to assess the evaluation of the evidence of carcinogenic activity and other observed toxic responses.


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   SUMMARY         OF TECHNICAL           REPORTS          REVIEW     SUBCOMMITTEE             COMMENTS

 On November 29, 1994, the draft Technical Report           increased lung weights, adding that a significant
 on the toxicology and carcinogenesis studies of nickel     correlation between increased lung weights and
 oxide received public review by the National Toxi-         decreased lung neoplasm incidence was consistently
 cology Program's Board of Scientific Counselors'           observed in the three NTP nickel studies. Dr. Ward
 Technical Reports Review Subcommittee.            The      noted that in the present studies a high incidence of
 review meeting was held at the National Institute of       chronic inflammation of the lung was observed in
 Environmental Health Sciences, Research Triangle           control rats but not in control, mice, and he asked if
 Park, N.C.                                                 these spontaneous lesions were more specifically
                                                            focal alveolar macrophages rather than chronic
  Dr. J.K. Dunnick, NIEHS, introduced the toxicology        inflammatory lesions resulting from persistent toxins.
  and carcinogenesis studies of nickel oxide by discuss-    Dr. M.R. Elwell, NIEHS, said the background
  ing the uses of the chemical and rationale for study,     inflammatory lesions in control animals were mor-
  describing the experimental design, reporting on          phologically different from those in exposed animals
  survival and body weight effects, and commenting on       and were primarily increases in the number of macro-
  compound-related nonneoplastic lesions in rats and        phages.
  mice. The proposed conclusions were some evidence
  of carcinogenic activity in male and female               Because Dr. Reddy, the third principal reviewer, was
• F344/N rats, no evidence of carcinogenic activity .in     unable to attend the meeting, Dr. L.G. Hart, NIEHS,
  male B6C3F1 mice, and equivocal evidence of carci-        read his review into the record. Dr. Reddy agreed
  nogenic activity in female B6C3F1 mice.                   with the proposed conclusions, although he believed
                                                            the data for female mice supported a call of some
 Dr. Klaassen, a principal reviewer, agreed with the        evidence of carcinogenic activity. He expressed
 proposed conclusions. He asked why interim evalua-         concern that the highest exposure level selected for
 tions were conducted at 7 and 15 months.                   rats (2.5 mg/m 3) was too low, and therefore the
 Dr. Dunnick replied that a large database exists for       conclusion of some evidence was conservative.
 these time points, and they were chosen with the
 intent to examine the progression of lesions and lung      Ms. D. Sivulka, executive director of the Nickel
 nickel levels. Dr. Klaassen asked why Shirley's test       Producers Environmental Research Association, Inc.
 was used for the statistical evaluation of nickel lung     (NiPERA), commented on the discussion of evidence
 burden parameters.      Dr. J.K. Haseman, NIEHS,           for nickel toxicity and carcinogenesis in humans and
 explained that lung burden data are not normally           the presentation of the significance of findings
 distributed; therefore, a test using rank-based            relative to existing threshold limit values (TLVs).
 methods (Shirley's test) was considered to be most         Ms. Sivulka said that because conclusions in the
 appropriate.                                               report were based on existing TLVs, an implication
                                                            could be made that current regulations are not pro-
 Dr. Ward, the second principal reviewer, agreed with       tective of workers exposed to nickel compounds.
 the proposed conclusions for male and female rats          Ms. Sivulka discussed the cohorts of workers
 and male mice. But, he suggested a conclusion of no        exposed to nickel compounds that have been exam-
 evidence of carcinogenic activity for female mice          ined, and she said that the information obtained from
 based on the lack of dose response, the absence of         these examinations shows no evidence of nickel-
 any increase in neoplasm multiplicity, and the             related increases in the incidence of nonneoplastic
 presence of statistical significance only for alveolar/    lesions in workers exposed to low nickel levels.
 bronchiolar adenoma or carcinoma (combined) in
 1.25 mg/m 3 females.       Dr. Ward also noted that        Dr. Miller noted that TLVs are based to some degree
 although the increase in nickel lung burden measure-       on data obtained from animal studies. Dr. Russo
 ments was dose related, neoplasm incidence was not.        asked if any of the human studies cited by NiPERA
 Dr. Haseman said that the lack of a dose response in       had corrected for confounding factors such as alcohol
 5 mg/m 3 females might have been due to significantly      or tobacco exposure. Ms. Sivulka said they had not,
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but added that the incidence of neoplasia in workers   area to speculate on such issues. He said it was the
exposed to nickel compounds could not be attributed    regulatory agencies' role to determine the signifi-
solely to factors such as cigarette smoking.           cance of the nickel compound studies with regard to
Dr. Goldsworthy noted that nickel measurements         human risk.
were generally made without regard to form or
species. Ms. Sivulka agreed, but added that NiPERA
officials support exposure measurements and speci-     Dr. Klaassen moved that the Technical Report on
ation analyses. Dr. Miller asked that information      nickel oxide be accepted with the revisions discussed
interpreting animal studies in terms of likely human   and with the conclusions as written for male and
exposure be added to the abstract of the Technical     female rats, some evidence of carcinogenic activity;
Report.     Dr. R.A. Griesemer, NIEHS, said the        for male mice, no evidence of carcinogenic activity;
report deals with a specific set of experiments and    and for female mice, equivocaTevidence of carcino-
does not base conclusions on other animal or human     genic activity.    Dr. Goldsworthy seconded the
studies. Dr. W.T. Allaben, NCTR, noted that the        motion, which was accepted unanimously with seven
discussion section of the report is the appropriate    votes.
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                                                INTRODUCTION



                                                              NiO
                                                         NICKEL OXIDE

                                                           CAS No. 1313-99-1

                                      Chemical Formula: NiO           MolecularWeight: 74.71

 Synonyms: Bunsenite; C.I. 77777; green nickel oxide; mononickel oxide; nickel monoxide; nickel oxide sinter 75; nickel protoxide;
             nickel (II) oxide; nickel (T+) oxide; nickelous oxide



 C H E M I C A L AND P H Y S I C A L P R O P E R T I E S              The United States consumption of nickel is approx-
 Nickel oxide (high temperature green nickel oxide,                   imately 200,000 tons (180,000 metric tons) annually
 oxidized at 870o-900 ° C and heated to 1,350 ° C;                    (U.S. Bureau of Mines, 1991). The United States
 Boldt, 1967) is an olive gray powder with a melting                  consumes unwrought nickel (68 %), ferronickel
 point of 2,090 ° C and a density of 7.45 g/cm 3. It is               ( 17.3 %), nickel oxide ( 11.4 %), nickel salts ( 1.2 % ),
 insoluble in water and soluble in acids (USEPA,                      and other forms (2.1%) (U.S. Bureau of Mines,
 1986; Merck Index, 1989). The mean values for the                    1984, 1985b). The National Occupational Exposure
 mass median aerodynamic diameter at each exposure                    Survey reported that 56,843 United States workers
 concentration of nickel oxide used in these 2-year                   are potentially exposed to nickel sulfate and
 studies ranged from 2.2 to 2.6/zm. The nickel oxide                  18,165 to nickel oxide (NIOSH, 1991).
 used in these studies is only one form of nickel oxide
 within a larger family of "oxidic" nickels.                           Half of the nickel sold each year is used to make
                                                                       stainless steel (Warner, 1984), which contains up to
                                                                       8 % nickel. The ability of nickel to impart corrosion
                                                                       resistance and strength leads to its wide use in
                                                                       chemicals and allied products and in petroleum
 PRODUCTION,              USE,                                         refining, electrical equipment and supplies, aircraft
 AND H U M A N E X P O S U R E                                         and parts, construction, fabricated metal products,
 Nickel was first isolated in 1751 and is found                        household appliances, machinery, and ships and boats
 primarily as an oxide (laterite) or sulfide ore                       (U.S. Bureau of Mines, 1984).
 (pentlandite) (NIOSH, 1977; Warner, 1984; U.S.
 Bureau of Mines, 1984, 1985a). In 1991, the six                       Nickel constitutes about 0.008% of the earth's crust.
 largest nickel producing countries were the Soviet                    Low levels of nickel are found in air, soil, water,
 Union,     Canada,   Australia,   New Caledonia,                      food, and household objects. The average concen-
 Indonesia, and Cuba. Approximately 55% of the                         tration of nickel in finished drinking water is less
 nickel currently used is extracted from sulfide ore,                  than 10 ppb. Nickel concentration in United States
 and the remainder is extracted from oxide ore. The                    air has been found to range from 1 to 86 ng/m 3. The
 total annual world production of nickel is estimated                  most probable nickel species present in the
 at 1,000,000 tons (900,000 metric tons) (U.S. Bureau                  atmosphere include complex nickel, nickel oxide, and
 of Mines, 1991).                                                      nickel sulfate, and the most probable species found in
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 water include hydrated nickels (ATSDR, 1992). The         administration, was excreted primarily in the urine.
 average amount of nickel in mainstream particulate        After nickel oxide administration, nickel was equally
 fractions of cigarette smoke is 79 ng/cigarette (Bache    excreted in the feces and urine.        Nickel oxide
 et al., 1985). Dietary intake of nickel per person        persisted in the lung for more than 90 days, while
 from foods is estimated at 170 #g per day; intake         nickel chloride was rapidly excreted from the lung
 from inhalation is estimated at 0.1 to 1 #g nickel per    with greater than 50 % of the nickel cleared from the
 day (excluding cigarette smoke), and intake from          lungs within 3 days.
 drinking water is estimated at 2/~g per day (ATSDR,
 1992).. Nickel is listed as a frequently occurring        Nickel chloride administered as an intratracheal dose
 chemical in waste disposal sites in the United States     to Sprague-Dawley rats was excreted primarily in the
 (Fed. Regist., 1987).                                     urine. By day 3, 90 % of the instilled chemical was
                                                           eliminated from the lungs. The lungs retained 29%
 The threshold limit values adopted by the American        of their initial burden at day 1, and this decreased to
 Conference of Governmental Industrial Hygienists          0.1% on day 21; 96 % of the chemical was excreted
 (ACGIH) are 1 mg/m 3 for nickel metal and water-          in the urine (Carvalho and Ziemer, 1982).
 insoluble salts and 0.1 mg/m 3 for water-soluble salts,
 but the ACGIH published notice of an intended             The pulmonary clearance of intratracheally admin-
 change to 0.05 mg nickel/m 3 for water-soluble and        istered nickel subsulfide (Ni3S2) in mice has two
 water-insoluble nickel compounds (ACGIH, 1993).           distinct components with initial and final biological
 The National Institute for Occupational Safety and        half-lives corresponding to 1.2 and 12.4 days,
 Health (NIOSH) recommended that the permissible           respectively.     The excretion of the chemical
 exposure limit for nickel be reduced to 0.015 mg          (measured as 63Ni) was 60% in the urine and 40% in
 nickel/m 3 averaged over a work shift of up to            the feces; 57 % of the administered dose was excreted
 10 hours per day, 40 hours per week (NIOSH,               after 3 days with 33% appearing in the urine
 1977).                                                    (Valentine and Fisher, 1984). In another experiment,
                                                           the calculated clearance times of nickel subsulfide
 Atomic absorption spectroscopy is a widely used           administered intratracheally to mice was also biphasic
 method for quantifying nickel in the environment and      with a clearance half-life of 2 hours for the first
 in the workplace. This method of analysis measures        phase and 119 hours for the second phase (Finch
 total nickel without discerning the forms of nickel       et al., 1987).
 present, and most studies of environmental or indus-
 trial exposure report total nickel and not the occur-
                                                           In F344/N rats administered [63Ni]-labeled nickel
 rence of individual nickel species (ATSDR, 1992).
                                                           oxide (high temperature, green oxide) or nickel
                                                           subsulfide by pernasal inhalation, the lung half-life
 ABSORPTION, DISTRIBUTION,                                 was estimated at 120 days for nickel oxide and
 AND EXCRETION                                             5 days for nickel subsulfide (Benson et al., 1994).
 Experimental Animals                                      Following nickel oxide exposure, nickel was not
 Animal model systems have been used to obtain             distributed to the extrarespiratory tract tissue, and the
 information on the absorption, distribution, and          material was only excreted in the feces during the
 excretion of nickel after inhalation exposure (water-     first few days after exposure. In contrast, after
 soluble and water-insoluble forms of nickel), oral        nickel subsulfide exposure, nickel was detected in
 exposure (water-soluble forms of nickel), and dermal      extrarespiratory tract tissue including blood and
 exposure (water-soluble forms of nickel).                 kidney, and nickel was excreted in the urine and the
                                                           feces. The half-life of [63Nil-labeled nickel sulfate
 Intratracheal administration of nickel compounds was      administered to F344/N rats intratracheally was 1 to
 one method used by several investigators to study the     3 days, nickel was present in extrarespiratory tract
 fate of specific forms of nickel in the lung. English     tissues (including blood, kidney, and intestine), and
 et al. (1981) reported on a comparative toxicokinetic     urine was the major route for excretion of nickel
 study after intratracheal administration of [63Ni]-       (Medinsky et al., 1987).
 labeled nickel chloride or nickel oxide (low
 temperature nickel oxide calcined at 250 ° C) in          Other studies also indicated that nickel oxide has a
 Wistar rats.        Nickel, after nickel chloride         relatively long half-life in the rodent lung. Nickel
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Introduction                                                                                                  17


oxide (formed at 550 ° C; mass median aerodynamic          Humans
diameter [MMAD] of 0.15 #m, geometric standard             In the industrial setting, a major route of nickel
deviation [~rg] of 1.5) given as an aerosol of             exposure in humans is by inhalation (Sunderman,
750/zg/m3 to Wistar rats had a bronchial clearance         1992); it is estimated that 35% of inhaled nickel is
half-life of 1 day and an alveolar clearance half-life     absorbed into the blood from the respiratory tract
of 36 days (Hochrainer et al., 1980). Hochrainer           (Bennet, 1984; Grandjean, 1984; Sunderman and
et al. (1980) estimated that with continuous exposure      Oskarsson, 1991). Nickel .was excreted in the urine
to nickel oxide, a steady state would be reached after     of nickel refinery workers for periods of up to
1 year.                                                    6 months after facility closing, indicating that there
                                                           are storage depots in the body that retain nickel for
                                                           long periods of time (Morgan and Rouge, 1983).
In Wistar rats after exposure to 0.6 or 8.0 mg nickel
                                                           There were elevated nicke~t concentrations in
oxide/m 3 (high temperature, green oxide; MMAD of
                                                           specimens of urine, plasma, and nasal mucosa
1.2 #m, trg of 2.5) for 6 to 7 hours per day for 1 to
                                                           biopsies obtained from retired workers years after
2 months, the lung clearance was estimated to be
                                                           cessation of employment, although the specific form
i00/zg per year. There was no apparent deposition
                                                           of nickel to which these workers were exposed was
of nickel in the liver, kidney, spleen, heart, brain, or
                                                           not identified (Torjussen and Andersen, 1979;
blood (Kodama et al., 1985). Lung clearance half-
                                                           Boysen et al., 1984).
lives for nickel oxide (high temperature, green oxide)
in Wistar rats exposed for 1 month were estimated to
                                                           Andersen and Svenes (1989) found elevated levels of
be 8, 11, and 21 months for nickel oxide with
                                                           nickel in the lungs of nickel refinery workers,
particulate MMADs of 0.6, 1.2, and 4.0 #m,
                                                           although workers who were diagnosed as having lung
respectively (Tanaka et al., 1985, 1988).
                                                           cancer had the same concentrations of nickel in the
                                                           lung at autopsy as those who died of other types of
In summary, in absorption and distribution studies for     cancer. In the workplace setting, exposure to nickel
nickel administered intratracheally or by inhalation       is monitored by analyzing urine, hair, or fingernails
exposure, the lung half-life was 1 to 3 days for nickel    for levels of total nickel.
sulfate, 5 days for nickel subsulfide, and greater than
100 days for nickel oxide. Nickel was detected in          When nickel sulfate was administered to fasting
extrarespiratory tract tissue after exposure to nickel     human volunteers, 27 % of the administered dose was
sulfate or nickel subsulfide, but not after exposure to    absorbed when given in drinking water, while only
nickel oxide.                                              0.7% was absorbed when administered in food. The
                                                           elimination half-life for absorbed nickel averaged
                                                           28 hours; 100% of the absorbed nickel was elim-
The present studies also report findings on the            inated in either the feces or urine within 4 days
deposition of nickel sulfate hexahydrate, nickel           (Sunderman, 1989, 1992). In studies in humans,
subsulfide, and nickel oxide in the lungs and tissues      reported absorption of radioactive nickel applied to
of rats and mice after 16 days, 13 weeks, and at 7         occluded skin varied from 55% to 77% for nickel
and 15 months in the 2-year studies. These data            sulfate to 3% for nickel chloride (ATSDR, 1992).
show a relatively short half-life in the lung for nickel
sulfate hexahydrate, a longer half-life for nickel
subsulfide, and the longest half-life for nickel oxide
                                                           TOXICITY
(Benson et al., ~987; Dunnick et al., 1989).
                                                           Studies of nickel toxicity after experimental or
                                                           industrial exposure have been summarized in various
Studies of other routes of nickel exposure in rats,        reviews (NAS, 1975; IARC, 1976, 1984, 1987,
mice, and dogs indicate that 1% to 10% was                 1990; NIOSH, 1977; Brown and Sunderman, 1985;
absorbed after oral administration of nickel sulfate       USEPA, 1986; European Chemical Industry, 1989;
hexahydrate or nickel chloride, and less than 1% of        WHO, 1991; ATSDR, 1992; Nieboer and Nriagu,
nickel chloride was absorbed through the skin of           1992). In experimental animals and in humans, the
guinea pigs within 24 hours (ATSDR, 1992; Nielsen          primary toxic response to nickel after inhalation
et al., 1993).                                             occurred in the respiratory system.
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  18                                                                                   Nickel Oxide, NTP TR 451


 Information on the dissolution half-lives for nickel       1983). The comparative toxicity of nickel sulfate
 subsulfide and nickel oxide in water and rat serum         hexahydrate, nickel subsulfide, and nickel oxide
 have been reported. The calculated dissolution half-       parallels the solubility of the compounds in biological
 lives (based on in vitro studies) for nickel subsulfide    fluids.
 and nickel oxide in water are greater than 7 or
 i 1 years, respectively. In rat serum, the estimated       Experimental Animals
 dissolution half-life is 23 days for nickel subsulfide     The acute toxicity values for selected nickel com-
 and greater than 11 years for nickel oxide                 pounds are summarized in Table 1. Nickel carbonyl
 (Sunderman et al., 1987). While nickel subsulfide          [Ni(CO)4] is the most acutely toxic form of nickel,
 and nickel oxide are both relatively insoluble in          but the use or formation of this nickel compound in
 water, nickel subsulfide is more soluble than nickel       manufacturing processes is limited (NAS, 1975).
 oxide in biological fluids. Soluble nickel salts (nickel   Exposure to nickel oxide, nickel sulfate hexahydrate,
 hydroxide) have been shown to be more soluble in           or nickel subsulfide is more common in the work,
 human serum than nickel subsulfide (Kasprzak et al.,       place.


  TABLE 1
  Toxicity Values for Nickel Carbonyl, Nickel Oxide, Nickel Sulfate Hexahydrate, Nickel Sulfate,
  and Nickel Subsulfidea

  Nickel Compound                       Species                     Route                  Toxicity Value b


  Nickel carbonyl                      Rat                       Inhalation                   35 ppm (LC~o)
                                                                 Subcutaneous                 63 mg/kg (LD~o)
                                                                 Intravenous                  66 mg/kg (LD~3
                                                                 Intraperitoneal              39 mg/kg (LDso)

                                       Mouse                     Inhalation                   67 mg/m3 (LC~o)

                                       Dog                       Inhalation                   360 ppm (LCLo)

                                       Cat                       Inhalation                   1,890 mg/m3 (LCu~)

                                       Rabbit                    Inhalation                   73 g/m ~ (LCLo)


  Nickel oxide                         Rat                       Subcutaneous                 25 mg/kg (LD~o)
                                                                 Intramuscular                180 mg/kg (TDLo)
                                                                 Intratracheal                90 mg/kg (TDLo)

                                       Mouse                     Subcutaneous                 50 mg/kg (LD~o)
                                                                 Intraperitoneal              400 mg/kg (TDLo)

  Nickel sulfate hexahydrate           Dog                        Subcutaneous                500 mg/kg (LDLo)
                                                                  Intravenous                 89 mg/kg (LDLo)

                                       Cat                        Subcutaneous                500 mg/kg (LDLo)
                                                                  Intravenous                 72 mg/kg (LDLo)

                                       Rabbit                     Subcutaneous                500 mg/kg (LDLo)
                                                                  Intravenous                 36 mg/kg (LDLo)

                                       Guinea pig                 Subcutaneous                62 mg/kg (LDLo)

  (continued)
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TABLE 1
Toxicity Values for Nickel Carbonyl, Nickel Oxide, Nickel Sulfate Hexahydrate, Nickel Sulfate,
and Nickel Subsulfide (continued)

Nickel Compound                             Species                          Route                       Toxicity Value b


Nickel sulfate                             Rat                            Intraperitoneal                  500 mg/kg (LD~o)

                                           Mouse                          Intraperitoneal                  21 mg/kg (LD~)
                                                                          Intravenous                      7 mg/kg (LDLo)

                                           Dog                            Subcutaneous                      38 mg/kg (LDLo)
                                                                          Intravenous                       38 mg/kg (LDLo)

                                           Cat                            Subcutaneous                      24 mg/kg (LDLo)

                                           Rabbit                         Subcutaneous                      33 mg/kg (LDLo)
                                                                          Intravenous                       33 mg/kg (LDLo)

Nickel subsulfide                          Rat                            Inhalation                        1 mg/kg (TCLo)
                                                                          Subcutaneous                      125 mg/kg (TDLo)
                                                                          Intra4enous                       10 mg/kg (TDLo)
                                                                          Intramuscular                     20 mg/kg (TDLo)

                                           Mouse                          Intramuscular                     200 mg/kg (TDLo)


a From RTECS (1987)
b LC~o = median lethal concentration; LCLo = lowest lethal concentration; LD~o = median lethal dose; LDLo = lowest lethal dose;
  TCLo = lowest toxic concentration; TDLo = lowest toxic dose.




In animals, after inhalation exposure to water-soluble              accumulation of phospholipid material (Migally
and water-insoluble nickel compounds, the primary                   et al., 1982; Murthy and Niklowitz, 1983).
toxic response is seen in the respiratory system.
Changes in a variety of parameters, including dose-                 Respiratory toxicity to F344/Crl rats administered a
related reduction in body weight, reduced leukocyte                 single dose of either nickel subsulfide, nickel
count, increased urine alkaline phosphatase, and                    chloride, nickel sulfate, or nickel oxide by intra-
increased erythrocyte count, were observed in Wistar                tracheal instillation was evaluated by examining
rats continuously exposed to nickel oxide at 200,                   treatment-related changes in lung lavage fluid
400, or 800 tzg/m 3 for 120 days (except for daily                  (Benson et al., 1986). No significant changes in lung
cleaning and feeding periods) (Weischer et al.,                     lavage fluid were seen after exposure to nickel oxide.
 1980).                                                             After exposure to nickel subsulfide, nickel sulfate
                                                                    hexahydrate, and nickel chloride, there were
                                                                    increases in the following parameters in lung lavage
Alveolar macrophages from lung lavage fluid from                    fluid: lactate dehydrogenase, /3-glucuronidase, total
rats exposed to nickel oxide at 120/zg/m 3 for                      protein, glutathione reductase, glutathione per-
12 hours per day, 6 days per week, for 28 days or by                oxidase, and sialic acid. This evaluation was con-
intratracheal injection (10 mg nickel oxide/mL) were                tinued by exposing rats or mice to nickel oxide,
examined by electron microscopy. Compared to                        nickel sulfate hexahydrate, or nickel subsulfide for
controls, alveolar macrophages from exposed animals                  13 weeks and looking for treatment-related markers
were increased in number and enlarged. In the                       of lung toxicity in lung lavage fluid (Benson et al.,
cytoplasm of alveolar macrophages, phagosomes                        1989). Increases in /3-glucuronidase, total protein,
contained osmophilic nickel oxide particles as well as              neutrophil number, and macrophage number were
membranous and lamellar structures consistent with                  observed in the lavage fluid after exposure of rats
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 20                                                                                                    Nickel Oxide, NTP TR 451


 and mice to all three nickel compounds, although                     and nickel oxide was the least toxic (Benson et al.,
 there were quantitative differences in the magnitude                 1989).
 of the response,        Inflammation was observed
 histologically in the lung of rats and mice exposed to               Treatment of rats and mice with water-soluble and
 the three nickel compounds. The severity of lung                     water-insoluble nickel salts may cause an alteration of
 toxicity as measured by the changes in lung lavage                   local and systemic immunity, and this toxicity has
 fluid paralleled the severity of histologic changes in               been studied under various conditions and experi-
 the lung. Nickel sulfate hexahydrate was the toxic,                  ments (Table 2).



 TABLE 2
 Studies on the Immunologic Effects of Nickel Compounds

 Nickel Compound          Species/Route            Treatment                         Response                        Reference


 Cell-Mediated Immunity
 Nickel chloride          CBA/J mice/            Single injection,        Reduced T-lymphocyte                  Smialowicz et al.
                          intramuscular          18 mg/kg                 proliferation                         (1984)

                          Guinea pig             In vitro study           Inhibited macrophage migration        Hennighausen and
                                                 on spleen cells                                                Lange (1980)

 Nickel sulfate           B6C3Ft mice            Up to 4,000 mg/kg/day Depressed spleen lymphoproliferative Dieter et al. (1988)
                          (female)/oral          for 23 weeks          response to LPS (no effect on NK
                                                                       activity; PFC assay; mitogen response
                                                                       in spleen cells; resistance to
                                                                       Listeria challenge)



 Nickel subsulfide        Cynomolgus             Intratracheal            No effect on antibody-forming         Haley et al. (1987)
                          monkey                 instillation             cells (in lung)
                                                 0.06 #mol/g lung

 Humoral Immunity
 Nickel chloride          CBA/J mice/            Single injection,        Reduced antibody response to T-cell   Smialowicz et al.
                          intramuscular          18 mg/kg                 dependent sheep red blood cells       (1984)

                          C57BL/6J mouse         In vitro exposure        Decreased response                    Lawrence (1981)
                          spleen cells           to nickel chloride

                          Swiss albino mice/     3-12 #g Ni/kg body       Depressed antibody formation          Graham et al. (1975a)
                          intramuscular          weight followed by
                                                 immunization with
                                                 sheep red blood cells

                          Swiss mice/            2-hour inhalation        Depressed antibody response           Graham et al. (1978)
                          inhalation             exposure at 250/~g/m3    to sheep red blood cells

 Nickel acetate           Sprague-Dawley         11 mg/kg body weight     Depressed circulating                 Figoni and Treagan
                          rats/intraperitoneal   immunized with E. coli   antibody response                     (1975)
                                                 bacteriophage

 Nickel oxide             Wistar rats/           25-800/zg/m3 for         Decreased ability to form spleen      Spiegelberg et al.
                          inhalation             4 weeks to 4 months      antibodies to sheep red blood cells   (1984)

 (continued)
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TABLE 2
S t u d i e s o n t h e I m m u n o l o g i c E f f e c t s o f N i c k e l C o m p o u n d s (continued)


Nickel C o m p o u n d           Species/Route                  Treatment                                   Response                  Reference


Macrophage Function
Nickel chloride                  CBA/J mice/                 Single injection,              No effect on phagocytic capacity     Smialowiczet al.
                                 intramuscular               18 mg/kg                       of peritoneal macrophages            (1984)

                                 Rabbits                     Alveolar macrophage            Reduced viability of macrophages     Graham et al. (1975b)
                                                             in vitro exposure

 Nickel oxide and                Wistar rats/                12 hours/day,                  Increased number of alveolar         Binghamaal.     (1972)
 nickel chloride                 inhalation                  6 days/week for                macrophages after nickel oxide;
                                                             2 weeks at 0.1 mg/m3           no change after nickel chloride

 Nickel oxide                    Wistar rats/                800/zg/m3 for 2 weeks          Decrease in alveolar macrophage      Spiegelberg et al.
                                 inhalation                                                 phagocytic ability                   (1984)

 Nickel subsulfide               Cynomolgus                  Intratracheal                  Lung macrophage activity decreased   Haley et al. (1987)
                                 monkey                      instillation
                                                             0.06/~mol/g lung

 Natural Killer Cell Activity
 Nickel chloride            CBA/J and                        Single injection,              Depressed NK activity (against       Smialowicz et al.
                            C57BL/6J mice/                   18 mg/kg                       Yac-1 murine lymphoma cells)         (1984, 1985, 1986)
                             intramuscular

 Host Resistance
 Nickel chloride and             CD mice and          0.5 mg/m3 for 2 hours                 Enhanced respiratory infection to    Adkins et al. (1979)
 nickel oxide                    Sprague-Dawley rats/                                       Streptococcus
                                 inhalation
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22                                                                                  Nickel Oxide, NTP TR 451


Toxic responses to the immune system were                While experimental studies in animals show the
measured in B6C3Ft mice after inhalation exposure        potential of nickel to affect the immune system, the
to nickel subsulfide, nickel oxide, or nickel sulfate    clinical significance of these studies in humans has
hexahydrate for 6 hours per day and 5 days per week      not been determined (Nicklin and Nielsen, 1992).
for 13 weeks. Exposure concentrations were 0.11,         Further, there are no studies to examine if there is a
0.45, and 1.8 mg nickel/m 3 for nickel subsulfide;       relationship between effects on the immune system
0.47, 2.0, and 7.9 mg nickel/m 3 for nickel oxide; and   and the carcinogenic effects of nickel.
0.027, 0.11, and 0.45 mg nickel/m ~ for nickel sulfate
hexahydrate. Thymic weights in mice exposed to
                                                         Humans
 1.8 mg nickel/m 3 of nickel subsulfide were lower
than those of the controls. Lung-associated lymph        Most of the toxicity information on nickel and nickel
                                                         compounds came from studies of workers in nickel
nodes were increased in size after exposure to all
compounds. The number of alveolar macrophages in         refineries where the primary toxicity is to the respi-
                                                         ratory system.       In the industrial setting, nickel
lavage samples was increased in mice exposed to the
highest concentrations of nickel sulfate hexahydrate     exposures were occasionally associated with rhinitis,
                                                         sinusitis,      and    nasal-septal    perforations.
and nickel oxide and to 0.45 and 1.8 mg nickel/m 3
                                                         Hypersensitive allergic asthmatic reactions to nickel
nickel subsulfide. Numbers of antibody-forming cells
                                                         are rare (Nemery, 1990). There were also reports of
in lung-associated lymph nodes of mice exposed to
                                                         pulmonary fibrosis in workers inhaling nickel dust
2.0 and 7.9 mg nickel/m 3 nickel oxide and
                                                         (WHO, 1991). While respiratory toxicity has been
1.8 mg nickel/m 3 nickel subsulfide were greater than
                                                         observed in workers exposed to nickel in the
those in the controls. Low numbers of antibody-
                                                         industrial setting, these workers are often exposed to
forming cells were observed in the spleens of mice
                                                         other toxic metals and/or cigarette smoke, and it has
exposed to nickel oxide and in mice exposed to
                                                         not always been possible to conclude that nickel is
1.8 mg nickel/m 3 nickel subsulfide.       Only mice
                                                         the sole causative agent of toxicity (ATSDR, 1992).
exposed to 1.8 mg nickel/m 3 nickel subsulfide had a
                                                         Muir et al. (1993) reviewed X-rays of 745 former
low mixed lymphocyte response. All concentrations
                                                         sinter workers and found no evidence of significant
of nickel oxide resulted in low levels of alveolar
                                                         inflammatory or fibrogenic responses in the lungs of
macrophage phagocytic activity, as did 0.45 and
                                                         the exposed workers.
1.8 mg nickel/m 3 nickel subsulfide. None of the
nickel compounds affected the phagocytic activity of
peritoneal macrophages.                                Nickel contact hypersensitivity has been seen in the
                                                       general population and in exposed workers. In the
Only 1.8 mg nickel/m 3 nickel subsulfide caused a general population, contact sensitivity to nickel-
depressed natural killer cell activity in the spleen.  containing jewelry and/or prosthesis is another form
Results indicate that inhalation exposure of mice to of nickel toxicity (ATSDR, 1992). Other toxic
nickel can have varying effects on the" immune         reactions to nickel were reported in humans in
system, depending on dose and physicochemical form     isolated cases where exposures to nickel were not
of the nickel compound, and these effects were " well characterized.              These reactions included
observed at occupationally relevant exposure con- cardiovascular effects in a child ingesting nickel
centrations (Haley et al., 1990).                      sulfate and gastrointestinal effects, transient increases
                                                       in blood reticulocytes, or muscular pain in workers
Administration of nickel sulfate in the drinking water exposed to nickel-contaminated water (ATSDR,
for 180 days (1 to 10 g/L drinking water, estimated    1992). In epidemiologic studies that have shown an
to deliver 116 to 396 mg/kg body weight) resulted in association between nickel exposure and cancer,
a depressed proliferating response in the bone         excess mortality from non-malignant respiratory
marrow and spleen of B6C3F1 mice (Dieter et al.,       effects or other diseases has not been observed (Doll
1988).                                                 et al., 1990).
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 CARCINOGENICITY                                            Hamsters exposed to 53 mg nickel oxide/m 3 (median
                                                            diameter of 0.3/zm; geometric standard deviation of
 Experimental Animals
                                                            2.2) for 2 years did not have an increase in the
 The International Agency for Research on Cancer
 (IARC, 1990) summarized the results of experimental        incidence of lung tumors (Wehner et al., 1975). The
                                                            hamster may be less sensitive than the rat to the
 studies on the carcinogenic potential of nickel
 compounds after local injection (e.g., subcutaneous        carcinogenic effects of nickel (Furst and Schlauder,
 or intramuscular injection). Nickel oxide, nickel          1971).
 subsulfide, nickel carbonyl, and nickel powder cause
 neoplasms at the injection site, while the soluble         Sunderman et al. (1959) found a low incidence of
 nickel salts such as nickel sulfate have generally not     lung tumors in groups of Wistar rats exposed to
 been associated with a carcinogenic response at the        nickel carbonyl (0.03 to 0.25 mg/m 3 for 30 minutes
 injection site. A portion of the IARC (1990) listing       3 times/week for 1 year). Follow-up studies also
 and tabulation of over 100 experiments on the              showed a low incidence of lung tumors in rats
 carcinogenic potential of nickel compounds is              exposed to nickel carbonyl (Sunderman and
 presented in Table 3.                                      Donnelly, 1965).

                                                            Information on the carcinogenic potential of nickel
 Information on the carcinogenic potential of nickel        after oral administration is limited (IARC, 1990).
 oxide, nickel subsulfide, and nickel sulfate hexa-         Lifetime .exposure to nickel acetate at low concen-
 hydrate by inhalation exposure is limited. Ottolenghi      trations (5 ppm) induced no lung lesions in Swiss
 et al. (1975) reported that nickel subsulfide (70% of      mice (Schroeder etal.,       1964; Schroeder and
 particles were smaller than 1 /zm in diameter; 25 % of     Mitchener, 1975); the maximum tolerated dose was
 particles were between 1 and 1.5/zm) caused an             not reached. Ambrose et al. (1976) administered
 increased incidence in lung tumors in F344/N rats          nickel sulfate hexahydrate in the diet of W.istar rats
 exposed to 1 mg/m 3 by inhalation (6 hours/day and         or dogs (0, 100, 1,000, 2,500 ppm) for 2 years, and
 5 days/week for 108 weeks). In the exposed groups,         no treatment-related lesions were observed.
 12% to 14% of the 208 animals examined had lung
 tumors compared to less than 0.5 % of 215 control          Humans
 animals. At the end of the 108-week exposure               Exposure to nickel in the workplace has been
 period, fewer than 5 % of the animals in exposed           associated with an increase in lung and nasal sinus
 groups were alive compared with a survival of 31%          tumors (IARC, 1976, 1987, 1990; Doll et al., 1990).
 in control groups.                                         Based on the finding of lung and/or nasal sinus
                                                            tumors in nickel refinery workers, IARC classified
                                                            nickel and nickel compounds as human carcinogens
 Other experimental studies indicated carcinogenic          (Group 1), although there was insufficient informa-
 potential of nickel subsulfide for the respiratory tract   tion available to evaluate the carcinogenic risk for
 mucosa. Yarita and Nettesheim (1978) reported that         individual nickel compounds or the risk for cancer
 a single intratracheal dose of 1 or 3 mg nickel            based on exposure to different concentrations of
 subsulfide/kg caused tumors in heterotrophic tracheal      nickel compound(s) (IARC, 1987).
 transplants in female F344 rats. These authors noted
 that toxicity might decrease a carcinogenic response       Information on the hazards associated with exposure
 resulting in a misleadingly low carcinoma incidence,       to nickel came from studies on occupational exposure
 based on the finding that the more toxic dose              in nickel refineries in Clydach, South Wales;
 (3 mg/kg) caused only a 1.5 % incidence of carcino-        Kristiansand, Norway; the International Nickel
 mas (there was a high incidence of tracheal hyper-         Company (INCO) refineries in Ontario, Canada; or
 plastic change) versus a 10% carcinoma incidence in        from other studies of nickel refineries, nickel mines,
 the 1 mg/kg group (generally with only a low               or other nickel industrial operations throughout the
 incidence of toxic lesions).                               world (Doll, 1984).
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 24                                                                                                 N i c k e l O x i d e , N T P T R 451



 TABLE 3
 Summary of Studies Used to Evaluate. the Carcinogenicity               o f N i c k e l Compounds
 in E x p e r i m e n t a l A n i m a l s a

 Nickel Compound                Species/Route                 Lesion Incidence b                      Reference


 Nickel oxides and hydroxides

 Nickel monoxide                Rat/inhalation              0.6 mg/m3:0/6 lung lesion               Horie et al. (1985)
  (green)                                                   8 mg/mS: 1/8 lung lesion

 Nickel monoxide                Rat/inhalation              0.06 mg/m3:0/40 lesion                  Glaser et al. (1986)
                                                            0.2 mg/mS: 0/20 lesion

                                Rat/intrapleural            Controls: 0/32 local lesions            Skaug et al. (1985)
                                                            31/32 local lesions

                                Rat/intratracheal           Controls: 0/40 lesions                  Pott et al. (1987)
                                                            10 × 5 mg: 10/37 lung lesions
                                                            10 × 15 mg: 12/38 lung lesions

                                Rat/intramuscular           21/32 local lesions                     Gilman (1962).

                                Rat/intramuscular           2/20 local lesions                      Gilman (1966)

                                Rat/intramuscular           0/20 local lesions                      Sosifiski (1975)

                                Rat/intramuscular           14/15 local lesions                     Sunderman and McCully (1983)

                                Rat/intramuscular           0/20 local lesions                      Berry et al. (1984)

                                Rat/subperiosteal           0/20 local lesions                      Berry et al. (1984)

                                Rat/intraperitoneal         46/47 local lesions                     Pott et al. (1987)


                                Rat/intraperitoneal         25 nag: 12/34 local lesions             Pott et al. (1989, 1992)
                                                            100 mg: 15/36 local lesions

 Nickel monoxide                Rat/intrarenal              0/12 local lesions                      Sunderman et al. (1984)
  (green)

 Nickel monoxide                Mouse/intramuscular         33/50 and 23/52 local lesions           Gilman (1962)

                                Hamster/inhalation          1/51 osteosarcoma                       Wehner et al. (1975, 1979)

                                Hamster/intratracheal       Controls: 4/50 lung lesions             Farrell and Davis (1974)
                                                            1/49 lung lesions

 Nickel hydroxide                Rat/intramuscular           15/20 local lesions                     Gilman (1966)

                                 Rat/intramuscular           Dried gel: 5/19 local lesions           Kasprzak et al. (1983)
                                                             Crystalline: 3/20 local lesions
                                                             Colloidal: 0/13 local lesions

  Nickel trioxide                Rat/intramuscular           0/10 local lesions                      Judde et al. (1987)

                                 Rat/intracerebral           3/20 local lesions                      Sosifiski (1975)

  (continued)
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TABLE 3
Summary of Studies Used to Evaluate the Carcinogenicity       of Nickel Compounds
in E x p e r i m e n t a l A n i m a l s (continued)

Nickel C o m p o u n d   Species/Route              Lesion Incidence                    Reference



Nickel sulfides

Nickel disulfide         Rat/intramuscular       12/14 local lesions                Sunderman (1984)

                         Rat/intrarenal          2/10 local lesions                  Sunderman et al. (1984)

Nickel sulfide           Rat/intramuscular       5.6 rag: 0/10 local lesions         Sunderman and Maenza (1976)
 (amorphous)                                     22.4 mg: 0/10 local lesions

f~-Nickel sulfide        Rat/intramuscular       14/14 local lesions                 Sunderman (1984)

Nickel sulfide           Rat/intramuscular       3/25 local lesions                  Sunderman (1984)
 (amorphous)

Nickel sulfide           Rat/intrarenal          0/18 local lesions                 Jasmin and Riopelle (1976)

B-Nickel sulfide         Rat/intrarenal          8/14 local lesions                  Sunderman et al. (1984)

Nickel sulfide           Rat/intrarenal          0/15 local lesions                  Sunderman et al. (1984)
 (amorphous)

Nickel subsulfide        Rat/inhalation          14/208 malignant lung lesions       Ottolenghi et al. (1975)
                                                 15/208 benign lung lesions

                         Rat/intratracheal       0.94 mg: 7/47 lung lesions          Port et al. (1987)
                                                 1.88 mg: 13/45 lung lesions
                                                 3.75 mg: 12/40 lung lesions

                         Rat/intrapleural        28/32 local lesions                 Skaug et al. (1985)

                         Rat/subcutaneous        3.3 rag: 37/39 local lesions        Mason (1972)
                                                 10 mg: 37/40 local lesions

                         Rat/subcutaneous         18/19 local lesions                Shibata et al. (1989)

                         Rat/intramuscular       25/28 local lesions                 Gilman (1962)

                         Rat/intramuscular       Controls:                           Gilman and Herchen (1963)
                                                  1/19 local lesion
                                                 10 mg powder:
                                                  19/20 local lesions
                                                 10 mg diffusion chamber:
                                                  14/17 local lesions
                                                 500 mg fragments:
                                                  5/7 local lesions
                                                 500 mg discs:
                                                   14/17 local lesions

(continued)
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  26                                                                                            Nickel Oxide, NTP TR 451


  TABLE 3
  Summary of Studies Used to Evaluate the Carcinogenicity of Nickel Compounds
  in Experimental Animals (continued)

  Nickel Compound               Species/Route                   Lesion Incidence                  Reference


  Nickel sulfides (continued)

  Nickel subsulfide             Rat/intramuscular            Removal of disc after 64 days:     Herchen and Gilman (1964)
   (disc)                                                     4/10 local lesions
                                                             Removal of disc after 128 days:
                                                              7/10 local lesions
                                                             Removal of disc after 206 days:
                                                              10/10 local lesions

  Nickel subsulfide             Rat/intramuscular            NIH black: 28/28 local lesions     Daniel (1966)
                                                             Hooded: 14/23 local lesions

                                Rat/intramuscular            3.3 mg: 38/39 local lesions        Mason (1972)
                                                             10 mg: 34/40 local lesions

                                Rat/intramuscular            5 mg: 8/20 local lesions           Sunderman and Maenza (1976)
                                                             20 mg: 9/9 local lesions

                                Rat/intramuscular            Fischer: 59/63 local lesions       Yamashiro et al. (1980)
                                                             Hooded: 11/20 local lesions

                                Rat/intramuscular            0.6 mg: 7/30 local lesions         Sunderman et a/.(1976)
                                                             1.2 mg: 23/30 local lesions
                                                             2.5 mg: 28/30 local lesions
                                                             5 mg: 29/30 local lesions

                                Rat/intramuscular            0.63 mg: 7/29 local lesions        Sunderman (1981 )
                                                             20 mg: 9/9 local lesions

  a-Nickel subsulfide           Rat/intramuscular            9/9 local lesions                  Sunderman (1984)

  Nickel subsulfide             Rat/intramuscular            10/20 local lesions                Berry et al. (1984)

                                Rat/intramuscular            2/100 local lesions                Judde et al. (1987)

                                Rat/intramuscular             19/20 local lesions               Shibata et al. (1989)

                                Rat/intraperitoneal          9/37 local lesions                 Gilman (1966)

                                 Rat/intraperitoneal         27/42 local lesions                Pott et al. (1987)

                                 Rat/intraperitoneal         6 mg: 20/36 local lesions          Pott et al. (1989, 1992)
                                                             12 mg: 25/35 local lesions
                                                             25 mg: 25/34 local lesions

                                 Rat/subperiosteal            0/20 local lesions                 Berry et al. (1984)

                                 Rat/intrafemoral             10/20 local lesions                Berry et al. (1984)

                                 Rat/intrarenal               In glycerin: 7/16 local lesions    Jasmin and Riopelle (1976)
                                                              In saline: 11/24 local lesions

   (continued)
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TABLE 3
Summary of Studies Used to E v a l u a t e t h e Carcinogenicity of N i c k e l C o m p o u n d s
in Experimental Animals (continued)

Nickel Compound               Species/Route                   Lesion Incidence                         Reference


Nickel sulfides (continued)

a-Nickel subsulfide           Rat/intrarenal                Wistar Lewis: 7/11 local lesions        Sunderman et al. (1979)
                                                            NIH black: 6/12 local lesions
                                                            Fischer 344:9/32 local lesions
                                                            Long-Evans: 0/12 local lesions

Nickel subsulfide             Rat/intratesticular           16/19 local lesions                     Damjanov et al. (1978)

                              Rat/intraocular               14/15 local lesions                     Albe~ et al. (1980);
                                                                                                    Sunderman (1983a)

                              Rat/transplacental            No difference in lesion                 Sunderman et al. (1981)
                                                             incidence

                              Rat/pellet implantation       5 mg: 9/60 local lesions                Yarita and Nettesheim (1978)
                              into subcutaneous implanted   15 rag: 45/64 local lesions
                              tracheal grafts

                              Rat/intra-articular           16/19 local lesions                     Shibata et al. (1989)

                              Rat/intra-fat                 9/20 local lesions                      Shibata et al. (1989)

                              Mouse/intratracheal           No increase in lung                     Fisher et al. (1986)
                                                             lesion incidence

                              Mouse/subcutaneous            5 mg: 4/8 local lesions                 Oskarsson et al. (1979)
                                                            10 rag: 7/8 local lesions

                              Mouse/intramuscular           Swiss: 27/45 local lesions              Gilman (1962)
                                                            C3H: 9/18 local lesions

                              Mouse/intramuscular           5 mg: 4/8 local lesions                 Oskarsson et al. (1979)
                                                            10 rag: 4/8 local lesions

                              Mouse/intramuscular           C57B16:5/10 local lesions               Sunderman (1983a)
                                                            DBA/2:6/10 local lesions

or-Nickel subsulfide          Hamster/intratracheal         0/62 lung lesions                       M u h l e a a / . (1992)

Nickel subsulfide             Hamster/intramuscular         Controls: 0/14 local lesions            Sunderman (1983b)
                                                            5 mg: 4/15 local lesions
                                                            10 rag: 12/17 local lesions

ct-Nickel subsulfide          Hamster/topical               54 mg total: 0/6 local lesions          Sunderman (1983a)
                                                            108 mg total: 0/7 local lesions
                                                            540 mg total: 0/15 local lesions
                                                            1,080 mg total: 0/13 local lesions

Nickel subsulfide             Rabbit/intramuscular          16 local lesions                        Hildebrand and Biserte (1979a,b)

(continued)
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TABLE 3
Summary           of Studies Used to Evaluate the Carcinogenicity        of Nickel Compounds
in E x p e r i m e n t a l
                         A n i m a l s (continued)


Nickel Compound                 Species/Route                  Lesion Incidence                   Reference


Nickel sulfides (continued)

of-Nickel subsulfide            Rabbit/intramuscular        0/4 local lesions                  Sunderma~ (1983b)

Nickel subsulfide               Salamander/intraocular      7/8 local lesions                  Okamoto (1987)

Nickel ferrosulfide             Rat/intramuscular           15/15 local lesions                Sunderman (1984)

                                Rat/intrarenal              1/12 local lesions                 Sunderman et al. (1984)


Nickel salts

Basic nickel carbonate          Rat/intraperitoneal         Controls: 1/33 lung lesions        Pott et al. (1989, 1992)
 tetrahydrate                                               25 rag: 1/35 lung lesions
                                                            50 mg: 3/33 lung lesions

Nickel acetate                  Mouse/intraperitoneal       72 mg: 8/18 lung lesions           Stoner e t a l . (1976)
                                                            180 mg: 7/14 lung lesions
                                                            360 mg: 12/19 lung lesions

                                Rat/intramuscular           1/35 local lesions                 Payne (1964)

Nickel acetate                  Mouse/intraperitoneal       Controls: 0.32 lung                 Poirier a a/.(1984)
 tetrahydrate                                                lesions/animal
                                                            1.5 lung lesions/animal

                                Rat/intraperitoneal         Controls: 1/33 lung lesions         Pott a al.(1989, 1992)
                                                            25 rag: 3/35 lung lesions
                                                            50 mg: 5/31 lung lesions

 Nickel ammonium                Rat/intramuscular           0/35 local lesions                  Payne (1964)
  sulfate

 Nickel carbonate               Rat/intramuscular           6/35 local lesions                  Payne (1964)

 Nickel chloride                Rat/intramuscular           0•35 local lesions                  Payne (1964)

 Nickel chloride                Rat/intraperitoneal         Controls: 1/33 lung lesions         Pott et a/.(1989, 1992)
  hexahydrate                                               4/32 lung lesions

 Nickel chromate                Rat/intramuscular           1/16 local lesions                  Sunderman (1984)

 Nickel fluoride                Rat/intramuscular           3/18 local lesions                  Gilman (1966)

 Nickel sulfate                 Rat/intramuscular            1/35 local lesions                 Payne (1964)

                                Rat/intramuscular           0/20 local lesions                  Gilman (1966)

                                Rat/intramuscular           0/20 local lesions                  Kasprzak et al. (1983)

 (continued)
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TAnLE 3
Summary of Studies Used to Evaluate the Carcinogenicity of Nickel Compounds
in Experimental Animals (continued)

Nickel C o m p o u n d         Species/Route                 Lesion Incidence                   Reference


Nickel salts (continued)

 Nickel sulfate                Rat/intramuscular          0/32 local lesions                  Gilman (1962)
  hexahydrate

Nickel sulfate                 Rat/intraperitoneal        Controls: 1/33 lung lesions         Poa~al.   (1989, 1992)
 heplahydrate                                             6•30 lung lesions


 Other

 Nickel carbonyl               Rat/inhalation             30 mg/m~ for 32 weeks:              Sunderman et al. (1957, 1959)
                                                           1/64 pulmonary lesions
                                                          60 mg/ma for 32 weeks:
                                                            1/32 pulmonary lesions
                                                          250 mg/m~ once:
                                                            1/80 pulmonary lesion

                               Rat/inhalation             Controls: 0/32 lung lesions         Sunderman and Donnelly (1965)
                                                          1/71 lung lesions

                               Raffintravenous            19/120 lung lesions                 Lau et al. (1972)


 a From IARC (1990)
 b Number of animals with lesion per effective number




 The United States Environmental Protection Agency               from refinery workers at Clydach, South Wales
 (USEPA, 1986) and the International Committee on                (Bridge, 1933; Doll, 1958; Morgan, 1958). The
 Nickel Carcinogenesis in Man (Doll et al., 1990)                Clydach Nickel Refinery (Mond Nickel Works)
 reviewed the epidemiological evidence for cancer                opened in 1902 and used a nickel-copper matte. In
 after exposure to nickel in mining or refinery opera-           1933, nasal sinus and lung cancers were first noted
 tions. A complete analysis on the type of ore mined             in workers who were employed prior to 1925. After
 and the calcining, smelting, and refining operations            1925, the copper and sulfate content of the matte was
 in 10 different mines or refineries throughout the              reduced, the arsenic contamination in sulfuric acid
 world can be found in Doll et al. (1990) and in other           used to extract copper was reduced, the use of
 more recent summaries (Courtin, 1994; McIlveen and              respirators and masks was introduced, and improve-
 Negusante, 1994; Nieboer and Templeton, 1994;                   ments were made in factory design that reduced
 Norseth, 1994). Doll et al. (1990) also estimate the            exposure to nickel (USEPA, 1986; Doll et al., 1990).
 type of nickel exposures encountered based on                   An increased risk for lung and nasal sinus cancers
 knowledge of the nickel process procedures used and             was particularly noted in refinery work involving
 a few relatively recent measurements of total airborne          roasting, sintering, and calcining processes that
 nickel. This study focused primarily on "high-risk"             converted impure nickel-copper matte to an oxide
 cohorts of nickel workers, and many of the workers              (Doll et al., 1990).
 studied did not have nickel-related cancers.
                                                                  Peto et al. (1984) analyzed the incidence of lung and
 The first indication that some form of nickel can give           nasal sinus cancers found in workers in the Clydach
 rise to lung and nasal sinus cancers was obtained                plant and found the highest incidence of cancer in
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those workers employed in the copper sulfate and           The ten cohorts of nickel workers studied by the Doll
furnace areas.   There was no increased risk to            Committee include the six cohorts mentioned above
workers in the reduction area where nickel carbonyl        (nickel refinery operations, Clydach, South Wales;
concentrations were highest.                               Falconbridge Nickel Mines, Ontario, Canada; INCO
                                                           mines and refineries [Copper Cliff, Port Colborne,
Other evidence for nasal sinus and lung cancer come        and Coniston], Ontario, Canada; Falconbridge
from studies of workers in the INCO (Ontario,              refinery, Kristiansand, Norway; Huntington Alloys,
Canada) mines and refineries (Roberts e t a l . ,          West Virginia; and New Caledonia mines) as well as
1989a,b; Muir et al., 1994). Facilities operated           the Hanna Nickel Smelting Co., Oregon; Oak Ridge
include the Sudbury area mines (Copper Cliff Smelter       Gaseous Diffusion Plant, Tennessee; Outokumpu Oy
and the Port Colborne refinery) that use an ore that       nickel refinery, Finland; and Henry Wiggin Alloy
is primarily petlandite (NiFeS2). Men working in           Co., England (Doll et al., 1990).
mining operations in Ontario had an increase in lung
cancer risk, but no nasal sinus cancers (Doll et al.,      The results within the individual cohorts varied, but
1990).                                                     the overall conclusion by the Doll Committee sug-
                                                           gested that more than one form of nickel gives rise to
The Falconbridge refinery in Kristiansand, Norway,         lung and nasal sinus cancer. Much of the respiratory
receives nickel-copper matte from Canada and uses          cancer risk was attributed to exposure to a mixture of
an electrolysis procgss to refine the ore. Workers in      oxidic and sulfidic nickel. In the absence of sulfidic
roasting and smelting operations are exposed to d ~        nickel, exposure to large concentrations of oxidic
dust containing nickel subsulfide and nickel oxide.        nickel was also associated with increased lung and
Electrolysis workers are also exposed to nickel            nasal sinus cancer risks. There was evidence that
sulfate and nickel chloride. In this cohort, nasal         exposure to soluble nickel salts increased the risk of
sinus and lung cancer risks were increased in men          lung and nasal sinus cancer and that it may enhance
working in the electrolysis department, thus implicat-     risks associated with exposure to less soluble forms
ing the soluble forms of nickel as the cause for the       of nickel. There was no evidence that metallic nickel
cancer (USEPA, 1986; Doll et al., 1990). The               was associated with increased lung and nasal sinus
electrolysis workers had the highest average plasma        cancer risks. There was no evidence to suggest that
and urine nickel concentrations (Hogetveit et al.,         exposure to metallic nickel or any of its compounds
 1978).                                                    was likely to produce cancers elsewhere than in the
                                                           lung or nose. These investigators were not able to
Enterline and Marsh (1982) studied cancer rates in         provide exposure-specific estimates of risks for
workers at a refinery in Huntington, West Virginia,        individual nickel species. However, the evidence
which received nickel-copper matte from Canada             from these studies suggests that respiratory cancer
and/or nickel matte from New Caledonia. The Doll           risks in "high-risk" cohorts are primarily related to
Committee reported no clear evidence for an                exposure to water-soluble nickel compounds at
increased incidence in lung cancer in this population,     concentrations in excess of i mg nickel/m 3 and to
although the data from this cohort provided weak           exposure to less soluble forms at concentrations
evidence for an increased incidence in lung cancer in      greater than I0 mg nickel/m 3.
men exposed to sulfidic nickel at 4 mg nickel/m 3 for
more than a year (Doll et al., 1990).                      There are no studies evaluating the potential carcino-
                                                           genic effect in humans specifically after oral expo-
 Results of epidemiology studies of workers in the         sure to nickel (ATSDR, 1992).
 nickel mining, smelting, and refinery operations in
 New Caledonia showed no increased incidence of            While nickel and nickel compounds are classified by
 lung or upper respiratory tract cancers (Goldberg         the IARC as Group 1 (human) carcinogens, the
 et al., 1994). Nickel at this site is mined from nickel   mechanism for this carcinogenic activity is not fully
 laterites including silicate and limonite ores. The       understood (Sunderman, 1989; Costa, 1991; Snow,
 Doll Committee also reported little evidence for an       1992). The mechanisms involved in the indtiction of
 increased incidence in lung or upper respiratory tract    cancer by nickel compounds may be related to the
 cancer in this group of nickel workers (Doll et al.,      ability of nickel ions to interact with chromatin
  1990).                                                   proteins and/or the ability of nickel to generate
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 Introduction                                                                                                31


 intracellular oxidants (Costa et al., 1994). Recent      pregnant mice, nickel was found to cross the
 studies suggest that nickel generates free radicals,     placenta, and a marked uptake of nickel was
 and the subsequent oxidative reactions lead to DNA       observed in the embryo as measured by whole-body
 damage and cancer. Studies show that 1) incubation       autoradiography (Olsen and Jonsen, 1979). When
 of nickel ions with cysteine under aerobic conditions    nickel chloride hexahydrate was given as a single
 generates hydroxyl radicals and carbon-centered alkyl    subcutaneous dose (10 to 100/zmol NiCI2" 6H20/kg
 radicals, suggesting free radicals are generated by      body weight or 23 mg/kg) to lactating rats, nickel
 nickel (II)-thiol complexes and molecular oxygen (Shi    was excreted in the rnilk and was found in the plasma
 et al., 1993); 2) in forward mutation assays with        of the pups (Dostal et al., 1989). The doses used in
 bacterial DNA, nickel ions produce tandem double         these studies are higher than the average
 CC ~ TT mutations consistent with damage to DNA          concentration of nickel found in drinking water in the
 by either ultraviolet irradiation or oxygen-free         United States (48/~g/L water) (NAS, 1975).
 radicals (Tkeshelashvili etal., 1993); and 3) in
 in vitro studies, nickel ions induce increases in        Nickel chloride administered in the drinking water
 8-hydroxy-2'-deoxyguanosine          (8-OH-dG),     a    (50 and 250 ppm, estimated to deliver 7 or 31 mg/kg
 biomarker of oxidatively damaged DNA (Littlefield        of nickel compound) to female rats for 11 weeks
 et al., 1991).                                           prior to mating and then during two successive
                                                          gestation and lactation periods caused an increase in
 After subcutaneous or intramuscular injection of         the proportion of dead pups per litter (Smith et al.,
 nickel compounds, the water-insoluble nickel com-        1993).
 pounds are the most potent carcinogens. These
 findings may be related to the fact that water-          Other studies in rodents administered nickel chloride
 insoluble nickel compounds are more readily phago-       by intramuscular or intraperitoneal injection during
 cytized than are the water-soluble nickel salts, which   gestation also showed developmental toxicity or fetal
 passively diffuse through the cell membrane. Phago-      death. Nickel chloride injected intraperitoneally (1,
 cytized nickel particles are internalized in vacuoles    2, or 4 mg/kg body weight) to pregnant Wistar
 whose acidity accelerates the dissolution of nickel      Porton rats on day 8, 12, or 16 of pregnancy caused
 ions and results in a higher concentration of nickel     skeletal retardation (poor ossification), hydro-
 than would be achieved by the cellular uptake of         cephalus, hydronephrosis, heart defects, and hemor-
 water-soluble nickel salts (Costa et al., 1994).         rhage. At these doses, there was an increase in
                                                          maternal plasma glucose concentration (Mas et al.,
                                                          1985).
 REPRODUCTIVE
 AND D E V E L O P M E N T A L T O X I C I T Y            Nickel chloride injected intramuscularly (16 mg/kg)
 Experimental Animals                                     on day 8 of gestation to Fischer rats reduced the
 Leonard and Jacquet (1984) reviewed studies which        mean number of live pups per dam and diminished
 show that water-soluble nickel compounds admin-          fetal body weights on day 20 (Sunderman et al.,
 istered orally or by peritoneal routes have the poten-   1978). Nickel chloride injected into chicken eggs at
 tial to cause embryotoxicity in rodents. In these        doses of 0.02 to 0.8 mg per egg on days 0, 1, 2, 3,
 studies, the nickel compounds were generally admin-      and 4 after fertilization caused malformations in the
 istered at higher doses than humans would be             embryo including exencephaly, everted viscera,
 exposed to in drinking water or in the diet.             abnormalities       in the     limb    development,
                                                          microphthalmia, and reduced body size when
 Studies in rodents have indicated that water-soluble     examined at day 8 (Gilani and Marano, 1980).
 nickel compounds can cross the placenta or be
 excreted in the milk of lactating animals. When          Groups of pregnant hamsters were exposed to nickel
 [63Ni]-labeled nickel chloride was administered as an    carbonyl by inhalation (0.06 mg/L for 15 minutes) on
 oral bolus dose (10/zmol or 0.58 mg/kg body              days 4, 5, 6, 7, or 8 of gestation; dams were evalu-
 weight) to pregnant mice, the label was detected in      ated on day 15 of gestation. Teratogenic effects
 various fetal tissues including liver, kidney, lung,     observed included cystic lung, exencephaly, cleft
 brain, and heart.      In another experiment, when       palate, and fused ribs. In another series of experi-
 [63Ni]-labeled nickel chloride was injected into         ments where dams were allowed to deliver the pups,
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 neonatal mortality was increased in the exposed           competing with magnesium for essential binding sites
 groups (Sunderman et al., 1980). Nickel carbonyl          on DNA polymerases (Christie et al., 1991). In
 administered to pregnant dams b y intravenous             addition, positive results were demonstrated in
 injection (11 mg/kg) on day 7 of gestation caused an      mammalian cell forward mutation assays (TK locus
 increase in fetal mortality, diminished body weight of    in mouse lymphoma cells and hypoxanthine phospho-
 live pups, and increased incidences of fetal              ribosyl .transferase locus in hamster V79 cells),
 abnormalities including anophthalmia, micro-              although these responses are usually weak (Nishimura
 phthalmia,, cystic lungs, and hydronephrosis              and Umeda, 1979; Amacher and Paillet, 1980;
 (Sunderman et al., 1983).                                 Morita et al., 1991; Lee et al., 1993). Insoluble
                                                           crystalline nickel compounds are more active in
 In a study of nickel oxide, Wistar rats were exposed      genetic toxicity assays than the soluble or amorphous
 to 1.6 mg nickel/m3 by inhalation on gestation days 1     forms of nickel. Presumably, this differential activity
 through 20. There was no evidence of embryo-              derives from the more efficient entry of insoluble
 toxicity (Weischer et al., 1980).                         nickels into the cell through phagocytosis (Costa,
                                                            1991), longer retention of these compounds within
 These and other studies show that water-soluble           the cell, and the consequent higher intracellular
 nickel salts have the potential to cause embryotoxicity   concentration of nickel (II) ions. Soluble nickel salts
 in rodents. The metal can cross the feto-maternal         cannot be efficiently phagocytized and do not
 barrier and enter the fetus. The embryotoxicity of        accumulate in high concentration within the cell.
 nickel may be related to several factors including the    Based on the results of cell transformation studies in
 mutagenic properties of nickel, direct effects on the     cultured rodent cells, Costa and Heck (1983)
 mammalian embryo, or indirect effects through             concluded that the nickel sulfide compounds must be
 maternal toxicity.      Further work is needed to         in the crystalline, rather than in the amorphous state
 understand the mechanisms for these effects (Leonard      to be efficiently phagocytized into the cell and cause
 and Jacquet, 1984).                                       genetic damage.          Particle size (Costa and
                                                           Mollenhauer, 1980) and surface charge (Costa et al.,
 Humans                                                     1982) are also important factors in the phagocytosis
 Until recently, there have been few studies of repro-      of nickel compounds. Insoluble nickel compounds,
 ductive effects in humans after exposure to nickel         once inside the cell, aggregate near the nucleus
 (ATSDR, 1992). A preliminary study of nickel               (Bryan, 1981; Evans et al., 1982) where they are
 refinery workers in Russia who were exposed to             dissolved by lysosomes, releasing nickel (II) ions that
 water-soluble nickel salts in electrolysis departments     proceed to effect DNA damage (Costa et al., 1994).
 noted a suggested increased risk of pregnancy
 complications in female workers (Chashschin et al.,
 1994).                                                    The DNA damage resulting from nickel exposure has
                                                           been attributed to one or more of the following
                                                           mechanisms.      It may follow the generation of
 GENETIC TOXICITY                                          short-lived reactive oxygen species inside the
 Recent detailed reviews of the mutagenicity of nickel     nucleus, produced by the oxidation of Ni ÷2 to Ni ÷3
 compounds and the possible mechanisms involved in         by hydrogen peroxide or other oxidants subsequent to
 the production of these effects were presented by         the binding of nickel ions to ligands such as amino
 Coogan et al. (1989), Christie and Katisifis (1990),      acids, glutathione, and amino acid side chains of
 Costa (1991), Snow (1992), and Costa et al. (1994).       nuclear proteins (Biggart and Costa, 1986; Inoue and
 Nickel compounds are not typically detected as            Kawanishi, 1989; Nieboer e t a l . , 1989; Cotelle
 bacterial mutagens, but they often give positive          et al., 1992; Tkeshelashvili et al., 1993; Sugiyama,
 results in in vitro assays designed to identify com-       1994). The formation of persistent DNA-protein
 pounds that induce chromosomal damage in mam-             crosslinks is implicated in the generation of
 malian cells in the form of sister chromatid              nickel (II)-induced DNA damage (Ciccarelli and
  exchanges, chromosomal aberrations, and DNA              Wetterhahn, 1982; Lee et al., 1982; Patierno and
  strand breaks. Nickel salts have been shown to            Costa, 1985; Sen and Costa, 1986a).          Factors
  inhibit DNA replication and to increase replication       involved in the binding of nickel ions to DNA,
  errors in mammalian cells in vitro, possibly by           nuclear proteins, and other nuclear structures are
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Introduction                                                                                                   33


reviewed by Coogan et al. (1989). The binding              blood lymphocytes of workers, but the evidence is
affinity of nickel to protein is far greater than to       weak. The link between nickel oxide and these
purified DNA (Eichorn and Shin, 1968) and                  genetic endpoints is confounded because smelter dusts
therefore, the mutagenic activity of nickel (II) ions      and welding fumes contain other nickel compounds as
probably derives primarily from the binding of nickel      well as other metals such as chromium and
to chromosomal protein rather than directly to DNA         magnesium. Also, the genetic effects noted were not
(Costa, 1991).       Nickel binds preferentially to        correlated with nickel concentrations in urine or
heterochromatic regions of the chromosomes such as         blood, whereas increased DNA-crosslink frequencies
the long arm of the X chromosome in cultured               noted after exposure to chromium-containing fumes,
Chinese hamster cells (Sen and Costa, 1986a,b; Sen         for example,        were   correlated   with urine
et al., 1987; Costa, 1991); binding of nickel ions to      concentrations of the metal (Poppet al., 1992).
the long arm of the X chromosome and subsequent
deletions in this region were postulated to cause the
loss of a gene controlling senescence in cultured          Nickel sulfate hexahydrate did not induce gene
Chinese hamster cells and to promote immortality in        mutations in Escherichia coli or Salmonella
transformed cultured Chinese hamster cell lines            typhimurium (Arlauskas et al., 1985), and (in con-
(Klein et al., 1991). A schematic representation of        trast to results reported for nickel oxide) no increases
some of the proposed mechanisms of nickel-induced          in gpt mutants were observed in hamster V79 cells
genotoxicity, based upon the current understanding of      treated with nickel sulfate hexahydrate (Christie,
the activities of nickel ions within mammalian cells,      1989; Lee et al., 1993). However, nickel sulfate
is presented in Figure 1. The genetic toxicity data        hexahydrate did induce mutations in L5178Y mouse
for each of the three nickel compounds under study         lymphoma TK ÷/- cells treated with 500 to
by the NTP are described below.                            1,000/~g/mL in the absence of $9 metabolic activa-
                                                           tion enzymes (McGregor et al., 1988). In addition,
The mutagenicity data for nickel oxide are limited;        nickel sulfate hexahydrate, administered by injection
however, there are clear indications of genotoxicity       at doses of 200, 300, and 400 ppm, induced sex-
in some in vitro test systems. Although exposure to        linked recessive lethal mutations in germ cells of
nickel Oxide did not result in growth inhibition due to    male Drosophila (Rodriguez-Arnaiz and Ramos,
DNA damage in repair-deficient strains of Bacillus          1986). The pre- and post-meiotic cell stages were
subtilis (Kanematsu et al., 1980), an S-phase block        affected; the broods obtained from sperm cells
(determined by flow cytometric analysis) was induced       undergoing meiosis at the time of treatment showed
in cycling Chinese hamster ovary cells incubated with      no evidence of increased lethal mutations. In another
5/zg/mL nickel oxide (Costa et al., 1982). No              test for germ cell effects in male Drosophila, the test
increase in gene mutations was detected at the             for sex chromosome loss, only the highest dose of
ouabain resistance locus in C3H/10T1/2 mouse               nickel sulfate hexahydrate (400 ppm) resulted in the
embryo cells (Miura et al., 1989) or at the HPRT           production of XO males (Rodriguez-Arnaiz and
locus in hamster V79 cells after exposure to nickel        Ramos, 1986).          Induction of sister chromatid
oxide (Kargacin et al., 1993). However, positive           exchanges and chromosomal aberrations was
effects were reported in mutation assays using a           observed in hamster cells (Larramendy et al., 1981;
different site, the gpt gene, in V79 cells as the target   Ohno et al., 1982), as well as human peripheral
for nickel oxide activity (Kargacin et al., 1993). No       lymphocytes (Larramendy et al., 1981) treated with
induction of chromosomal aberrations was detected in        nickel sulfate hexahydrate in vitro. However, no
human fibroblast or leukocyte cultures exposed to           induction of DNA single strand breaks was detected
nickel oxide for 24, 48, or 72 hours (Paton and             in human xeroderma pigmentosum fibroblasts treated
Allison, 1972); however, the experimental protocol          with 250/zg/mL nickel sulfate hexahydrate (Fornace,
used in this test was designed for water-soluble            1982). In vivo, no induction of chromosomal aberra-
compounds and may not have been suitable for                tions was observed in rat bone marrow or spermato-
testing insoluble nickel oxide. Data from human             gonial cells after injection of nickel sulfate hexa-
epidemiology studies indicate that exposure to nickel       hydrate at doses that provided 3 or 6 mg nickel/kg
oxide-containing fumes or smelter dusts may induce          body weight. Also, no change in the mitotic index of
chromosomal aberrations (Waksvik et al., 1984) and          bone marrow cells was noted in treated animals
DNA-crosslinks (Costa et al., 1993) in peripheral           (Mathur et al., 1978).
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 34                                                                                  Nickel Oxide, NTP TR 451


 As with the two nickel compounds discussed above,        subsulfide, a measure of DNA synthesis inhibition in
 there are limited published mutagenicity data for the    rats administered 10/xg/rat (6 mg/100 g body weight)
 third nickel compound in the present studies, nickel     by intrarenal injection, was negative (Hui and
 subsulfide. However, results of in vitro tests per-      Sunderman, 1980). A second in vivo study, a mouse
 formed with this insoluble nickel compound were          bone marrow micronucleus test, reportedly produced
 mainly positive. In the Salmonella lyphimurium gene      positive results (Arrouijal et al., 1990). This second
 mutation assay, crystalline nickel subsulfide gave       study, however, employed only a single dose
 equivocal results in one study that used a preincuba-    (250 mg/kg nickel subsulfide administered by
 tion protocol (Zeiger et al., 1992) and negative         intraperitoneal injection), and no confirmatory study
 results in a standard plate incolrporation assay         was conducted.
 (Arrouijal et al., 1990). It induced lethal mutations
 in Paramecium tetraurelia, without $9 (Smith-
 Sonneborn et al., 1986) and unscheduled DNA              STUDY RATIONALE
 repair in cultured Syrian hamster embryo cells           The National Cancer Institute nominated nickel
 (Robison et al., 1983).        Treatment of cultured     compounds for study because there was little infor-
 Chinese hamster ovary cells for 24 hours with            mation on the toxic and carcinogenic properties of
 10/zg/mL nickel subsulfide resulted in an increase in    specific nickel compounds after inhalation exposure.
 the number of DNA strand breaks detected by              Nickel oxide and nickel sulfate hcxahydratc wcrc
 alkaline sucrose gradient techniques (Robison et al.,    selected as compounds that are commonly found in
 1982). Nickel subsulfide, in the absence of $9, was      the workplace in the United Statcs. Nickel subsulfidc
 a weak inducer of hypoxanthine phosphoribosyl            was selected for study based on a previous study in
 transferase mutations in cultured Chinese hamster        which lung tumors wcrc observed in rats (Ottolcnghi
 ovary cells (Rossetto et al., 1994) and sister chroma-   et al., 1975). The NTP toxicity and carcinogcnicity
 tid exchanges in cultured human lymphocytes              studies of nickel oxide, nickel subsulfidc (NTP,
 (Saxholm et al., 1981). Nickel subsulfide induced        1996a), and nickcl sulfate hcxahydratc (NTP, 1996b)
 significant dose-related increases in chromosomal        wcrc performed to provide comparativc toxicology
 aberrations (Arrouijal et al., 1990) and micronuclei     and carcinogcnicity information on these nickel
 (Arrouijal e t a l . , 1992) in human lymphocytes        compounds. The results of the nickel oxide studies
 in vitro.   One reported in vivo test with nickel        arc prcscntcd in this Technical Report.
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Introduction                                                                                                                           35




                                        Cytoplasm
                                                                           Protein            DNA

                                                Ni +2

                                                                 Ni*2
                                                                             ~I Ni(5121~~
                                  (3)

                                                                  oxygen
                                                                  radicals        damaged
                                                         DNA ..         -,,, ~      DNA
                                 '~Ni+2                        Ni *2     Ni*3

                                                                                                    |
                                                                                                            X



                                                                  Nucleus
                                                                                                     J'                #
                                                                                                                           t~


              NiaS2
                (2)


                                                                        (1)~ Ni *2 ~        Ni ÷2- P




                                                                                 NiCI 2

FIGURE 1
Possible Mechanisms of N i c k e l - I n d u c e d      Genotoxicity

etetal.,
1. Soluble nickel compounds such as nickel chloride diffuse into the cell; Ni +2 ions are rapidly bound to cytoplasmic proteins (P) (Lee

    al.,1993). 2. Insoluble nickel compounds such as nickel subsulfide are phagocytized into ~he cell and move toward the nucleus (Costa
        1982). 3. Lysosomal breakdown of insoluble nickel compounds releases large quantities of Ni +2 ions which concentrate adjacent to


Ni ÷~ ions binding to heterochromatin (Lee  etal.,            etal.,
the nuclear membrane (Costa and Heck, 1983). 4. Oxidative damage is induced in DNA by nickel ions bound to nuclear proteins
(Ni +~ ~ Ni+3), releasing active oxygen species (Tkeshelashvili          1993; Sugiyama, 1994). 5. DNA-protein crosslinks are produced by
                                                     1982; Patiemo and Costa, 1985; Sen and Costa, 1986a). 6. Binding of nickel ions to the
heterochromatic regions of the long arm of the X chromosome, which may contain a senescence gene and a rumor suppressor gene, can

etal.,
cause deletion of all or part of this region, leading to an immortalization of the cell and clonal expansion (Conway and Costa, 1989; Klein
        1991).
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                                                                                                             37




                         MATERIALS AND M E T H O D S

PROCUREMENT           AND                                was stored in amber glass bottles at room tempera-
                                                         ture.
CHARACTERIZATION
OF NICKEL OXIDE                                          Periodic monitoring of the bulk chemical was per-
Nickel oxide, which was manufactured by the Societe      formed by Huffman Laboratorie~,-Inc., (Golden, CO)
Metallurgique le Nickel (Paris, France), was gener-      using elemental analysis for nickel and weight loss on
ously supplied by International Nickel Company, Ltd.     drying prior to all studies, once during the 16-day
(Toronto, Ontario) in one lot 0042983). Identity and     and 13-week studies and every 3 to 5 months during
purity analyses were conducted by the analytical         the 2-year studies. No change in the purity of the
chemistry laboratory, Midwest Research Institute         bulk chemical was observed during the studies.
(Kansas City, MO) (Appendix K).          Reports on
analyses performed in support of the nickel oxide
studies are on file at the National Institute of         AEROSOL GENERATION
Environmental Health Sciences (NIEHS).
                                                         AND E X P O S U R E SYSTEM
                                                         Nickel oxide aerosol was generated from 4-inch
The chemical, an olive gray powder, was character-       (16-day and 13-week studies) or 2-inch (2-year
ized as very pure high temperature (sintered) green      studies) fluid bed generators (FBGs).      A Kr-85
nickel .oxide by elemental analysis, melting point,      discharger was placed in the generator to reduce the
weight loss on drying, spark source mass spectrom-       electrical charge on the aerosol. The nickel oxide
etry, and solubility. Elemental analysis for nickel      aerosol was mixed v~;ith diluting air to achieve the
was in agreement with the theoretical value for nickel   desired concentrations and was delivered to the
oxide. The melting point was greater than 300 ° C.       exposure chambers. The aerosol generation assembly
Weight loss on drying indicated less than 0.05%          was enclosed in a walk-in hood. Air was circulated
water. Spark source mass spectrometry indicated the      through HEPA filters to remove suspended particles
major     inorganic    impurities     were     cobalt    in the enclosure. The aerosol delivery system is
(approximately 2,200 ppm), iron (670 ppm), and           shown in Figure K2.
sulfur (200 ppm). The sample was not soluble in hot
mineral acids, which is expected for sintered nickel     Stainless steel, multi-tiered, whole-body exposure
oxide. A sample of lot 1042983 was analyzed for          chambers (H1000 and H2000, Hazleton Systems,
nickel, cobalt, copper, iron, and sulfur; results        Aberdeen, MD) were used to expose the rats and
indicated conformance with American Society of           mice in these studies (Figure K3). The air flow rate
Testing and Materials specifications for Grade 75        was monitored with orifice meters. The air flow rate
nickel oxide sinter (ASTM, 1974). The overall            in the 16-day and 13-week studies corresponded to
purity was determined to be greater than 99 %.           3.68 to 21.32 (rats) and 10.06 to 19.44 (mice) air
                                                         changes per hour. In the 2-year studies, the air flow
                                                         rate corresponded to 15 _+ 2 air changes per hour.
No accelerated chemical stability studies were per-      To reduce the spatial variation of aerosol concentra-
formed for nickel oxide based on literature informa-     tion and to increase the uniformity of mixing, the
tion about the physical and chemical properties of the   aerosol was diluted in a radial dilutor prior to intro-
compound (Kirk-Othmer, 1978). The melting point          duction into the chamber, and a small boxer fan
and oxidation state indicate that nickel oxide should    (Model WS 2107FL-1002, Newark Electronics,
be thermally stable at temperatures up to 3 4 0 ° C      Chicago, IL) was placed below the aerosol entrance
(Larkins, 1967; Weast, 1976). The bulk chemical          to further mix the aerosol as it entered the chamber.
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 AEROSOL CONCENTRATION                                   determined with a RAM-S, was 8 minutes during all
MONITORING                                               studies. The daily exposure time was set at 6 hours
                                                         plus Tg0.
In the 13-week and 2-year studies, the aerosol
concentrations were determined gravimetrically from
three 2-hour samples (3 L/min flow rate) from each
exposure chamber during each 6-hour exposure day.        16-DAY STUDIES
The background concentrations of total suspended         Male and female F344/N rats and B6C3F~ mice were
particles in the control chambers were monitored         obtained from the Frederick Cancer Research Facility
each exposure day of the 2-year studies by collecting    (Frederick, MD). On receipt, the rats and mice were
one 6-hour filter sample. Daily mean exposure            approximately 4 weeks old. Animals were quaran-
concentrations for the 13-week studies are presented     tined for 19 or 20 days and were approximately
in Figures K6 and KT. Weekly mean exposure               7 weeks old on the first day of exposure. Prior to
concentrations for the 2-year studies are presented in   study start, five male and five female rats and mice
Figures K8 and K9. Good control of aerosol con-          were randomly selected for parasite evaluation, gross
centration was maintained. A continuous aerosol          observation for evidence of disease, and serologic
monitor (Model RAM-S, GCA, Co., Bedford, MA)             testing.
was used to monitor the stability of the aerosol
concentrations and to determine the need to adjust the   Groups of five male and five female rats and mice
aerosol generation system during exposures. The          were exposed to nickel oxide by inhalation at con-
RAM-S was used to monitor each chamber for at            centrations of 0, 1.2, 2.5, 5, 10, or 30 mg nickel
least 2 minutes at the beginning, middle, and end of     oxide/m 3 (equivalent to 0, 0.9, 2.0, 3.9, 7.9, or
each filter sampling period.                             23.6 mg nickel/m3). The animals were exposed for
                                                         6 hours plus Tg0 (8 minutes) per day, 5 days per
                                                         week for 16 days. Feed was available ad libitum,
                                                         except during exposure periods, and water was
CHAMBER        ATMOSPHERE
                                                         available ad libitum. Rats and mice were housed
CHARACTERIZATION                                         individually. Clinical findings were recorded initially
Aerosol size distribution was determined with a          and on day 5 for rats and mice. The animals were
cascade impactor once during the 16-day and              weighed initially, on day 4 or 5, and at the end of the
13-week studies and monthly during the 2-year            studies. Details of the study design and animal
studies for each exposure chamber. The particle size     maintenance are summarized in Table 4.
was similar for all exposure concentrations and mass
median aerodynamic diameters ranged from 1.89 to         In addition, a tissue burden study was performed on
3.29/~m with geometric standard deviations ranging       five male and five female rats exposed to 0, 1.2, 5,
from 1.83 to 2.04 (Tables K1 through K4). Prior to       or 10 mg nickel oxide/m 3 and five male and five
the start of the studies, the generated aerosol was      female mice exposed to 0, 1.2, 2.5, or 5 mg nickel
sampled and compared to the bulk sample by atomic        oxide/m 3. The extent of distribution of inhaled nickel
absorption and X-ray diffraction analyses.        The    was determined in the right kidney and lung of rats
nickel content was identical for both samples, and the   and in the lung of mice (Table 4). Rats and mice
diffraction patterns conformed to reference patterns.    were anesthetized with halothane and killed by
The data support the conclusion that the crystal         cardiac puncture the morning following the last
structure was not changed during the generation          exposure. Tissue samples were digested with a
process. Uniformity of aerosol concentration in the      mixture of nitric and hydrochloric acids and hydro-
exposure chambers was measured prior to the start of     gen peroxide and heated in a microwave oven. The
the studies without animals in the chambers and with     digestates were diluted with deionized water
animals during the first week of exposure, and was       (Millipore Co., Bedford, MA), and the nickel content
checked quarterly during the 2-year studies. The         was determined using electrothermal atomic absorp-
spatial variations ranged from 0% to 8.45% for all       tion spectroscopy. Limits of detection and quanti-
chambers. The time for the aerosol concentration in      tation of the analytical method were calculated on a
the chambers to reach 90% of the target (T90),           cumulative basis for each set of samples analyzed
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 Materials and Methods                                                                                             39


 according to a formula given by Keith et al. (1983).          housed individually. Clinical findings were recorded
 The results of tissue burden studies in the lung and          prior to the start of the study and then weekly for
 kidney of rats and lung of mice are presented in              rats and mice. The animals were weighed initially,
 Appendixes H and I.                                           weekly thereafter, and at the end of the studies.
                                                               Details of the study design and animal maintenance
 A necropsy was performed on all animals. The                  are summarized in Table 4.
 brain, heart, right kidney, liver, lung, right testis,
 and thymus of animals surviving until the end of the          Tissue burden studies were performed to quantitate
 study were weighed. Tissues for microscopic exami-            the extent of distribution of inhaled nickel in 18 male
 nation were fixed and preserved in 10% neutral            ,
                                                               and 18 female rats and in six male and six female
 buffered formalin, processed, trimmed, embedded in            mice exposed to 0, 0.6, 2.5, or 10 mg/m 3. The
 paraffin, sectioned to a thickness of 5 ~m, and               lungs of six male and six female rats in each group
 stained with hematoxylin and eosin. A complete                after 4, 9, and 13 weeks and of all mice after
 histopathologic examination was performed on all 0            13 weeks were analyzed using the same methods
 and 30 mg/m ~ rats and mice and on selected organs            described for the 16-day studies (Table 4). Results
 from rats and mice in all other exposure groups.              of tissue burden studies in the lung of male rats and
 Table 4 lists the tissues and organs that were exam-          male mice are given in Appendixes H and I.
 ined.
                                                               At the end of the 13-week studies, samples were
                                                               collected from core study rats and mice exposed to 0,
 1 3 - W E E K STUDIES                                         2.5, 5, or 10 mg/m 3 for sperm morphology and
 These studies wcrc conducted to evaluate the cumu-            vaginal cytology evaluations. The parameters evalu-
 lative toxic effects of repeated inhalation exposure to       ated are listed in Table 4. Methods used were those
 nickel oxide and to determine the appropriate ex-             described in the NTP General Statement of Work
 posure concentrations to be used in the 2-year                (April, 1987). For 7 consecutive days prior to the
 studies.                                                      end of the studies, the vaginal vaults of the females
                                                               were moistened with saline, if necessary, and aspir-
 Male and female F344/N rats and B6C3F1 mice were              ated samples of vaginal fluid and cells were trans-
 obtained from Simonsen Laboratories (Gilroy, CA).             ferred to slides, air dried, fixed, and stained. Rela-
 Upon receipt, the rats and mice were approximately            tive numbers of leukocytes, nucleated epithelial ceils,
 4 weeks old. Animals were quarantined for 19 or               and large squamous epithelial cells were determined
 20 days and were approximately 7 weeks old on the             to ascertain estrous cycle stage (i.e., estrus, metes-
 first day of exposure. Prior to study start, five male        trus, diestrus, or proestrus). Male rats and mice
 and five female rats and mice were randomly selected          were evaluated for sperm morphology, count, and
 for parasite evaluation, gross observation for evi-           motility. The right testis and epididymis were
 dence of disease, and serologic testing. At the end of        isolated and weighed. The tail of the epididymis
 the studies, serologic analyses were performed on             (cauda epididymis) was removed from the epididymal
 groups of five male and five female control animals           body (corpus epididymis) and weighed. Test yolk
 using the protocols of the NTP Sentinel Animal                (rats) or modified Tyrode's buffer (mice) was applied
 Program (Appendix M).                                         to slides and a small incision was made at the distal
                                                               border of the cauda epididymis. The sperm effluxing
 Groups of 10 male and 10 female rats and mice were            from the incision were dispersed in the buffer on the
 exposed to nickel oxide by inhalation at concentra-           slides, and the numbers of motile and nonmotile
 tions of 0, 0.6, 1.2, 2.5, 5, or 10 mg nickel oxide/m3         spermatozoa were counted by two observers in five
 (equivalent to 0, 0.4, 0.9, 2.0, 3.9, or 7.9 mg               fields per slide. Following completion of sperm
 nickel/m3). The animals were exposed for 6 hours              motility estimates, the cauda epididymis was placed
 plus Tgo (8 minutes) per day, 5 days per week for             in buffered saline solution and finely minced; the
 13 weeks (excluding one holiday). Feed was avail-              tissue was incubated in the saline solution and heat
 able ad libitum, except during exposure periods and            fixed at 65 ° C. Sperm density was then determined
 water was available ad libitum. Rats and mice were             microscopically using a hemocytometer. To quantify
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 spermatogenesis, testicular spermatid head count was     male and five female mice from each exposure group
 determined in the left testis by remoTing the tunica     were evaluated for histopathology and tissue burden.
 albuginea and homogenizing the testis in phosphate-      After 15 months of exposure, five male and five
 buffered saline containing 10% dimethyl sulfoxide.       female rats and mice were evaluated for hematology
 Results of reproductive tissue evaluations and estrous   parameters, histopathology, and tissue burden.
 cycle characterization are given in Appendix J.
                                                          Source and Specification of Animals
 At the end of 13 weeks, hematology studies were
                                                          Male and female F344/N rats were obtained from
 performed on all surviving rats and mice. The
                                                          Taconic Farms (Germantown, NY) and male and
 animals were anesthetized with halothane and blood
                                                          female B6C3F~ mice were obtained from Simonsen
 was collected by cardiac puncture and placed in tubes
                                                          Laboratories (Gilroy, CA) for use in the 2-year
 containing heparin as the anticoagulant. Hematology
                                                          studies. Upon receipt the animals were 4 weeks old.
 determinations were performed on a Coulter Elec-
                                                          Animals were quarantined for 11 days before the
 tronics model S-550 hematology analyzer (Coulter
                                                          beginning of the studies and were approximately 6
 Electronics, Hialeah, FL). Leukocyte differential
                                                          weeks old on the first day of exposure. Prior to
 and nucleated erythrocyte counts were determined by
                                                          study start, five male and five female rats and mice
 light microscopic examination of blood films stained
                                                          were randomly selected for parasite evaluation and
 with Wright-Giemsa.       Reticulocyte counts were
                                                          gross observation for evidence of disease. The health
 determined by light microscopy, using smears stained
                                                          of the animals was monitored during the studies
 with new methylene blue. The hematology param-
                                                          according to the protocols of the NTP Sentinel
 eters measured are listed in Table 4.                    Animal Program (Appendix M).
 A necropsy was performed on all animals. The
 brain, heart, right kidney, liver, lung, right testis,   A n i m a l Maintenance
 and thymus of animals surviving until the end of the     Rats and mice were housed individually. Feed was
 study were weighed. Tissues for microscopic exami-       available ad libitum, except during exposure periods,
 nation were fixed and preserved in 10% neutral           and water was available ad libitum. Cages and racks
 buffered formalin, processed, trimmed, embedded in       were rotated weekly. Further details of animal
 paraffin, sectioned to a thickness of 5 to 6 ~m, and     maintenance are given in Table 4. Information on
 stained with hematoxylin and eosin. A complete           feed composition and contaminants is provided in
 histopathologic examination was performed on all 0       Appendix L.
 and 10 mg/m 3 rats and mice, and on selected organs
 from rats and mice in the other exposure groups.         Clinical Examinations and Pathology
 Table 4 lists the tissues and organs that were exam-     The animals were observed twice daily for signs of
 ined.                                                    toxicity, mortality, or moribundity. Clinical findings
                                                          and body weights were recorded initially, weekly for
                                                          the first 13 weeks, monthly thereafter, and at the end
 2-YEAR      STUDIES                                      of the studies.
 Study Design
 Groups of 65 male and 65 female rats were exposed        At 15 months, rats and mice were anesthetized with
 to nickel oxide by inhalation at concentrations of 0,    carbon dioxide and blood was drawn from the
 0.62, 1.25, or 2.5 mg nickel oxide/m 3 (equivalent to    retroorbital sinus and placed in tubes containing
 0, 0.5, 1.0, or 2.0 mg nickel/m 3) and groups of as      potassium EDTA as the anticoagulant. The hematol-
 many as 79 male and 76 female mice were exposed          ogy parameters measured are listed in Table 4.
 to nickel oxide by inhalation at concentrations of 0,
 1.25, 2.5, or 5 mg nickel oxide/m 3 (equivalent to 0,    Lung samples for determination of tissue burden were
  1.0, 2.0, or 3.9 mg nickel/m 3) for 6 hours plus T90    collected from rats exposed to 0, 0.62, 1.25, or
 (8 minutes) per day, 5 days per week for 104 weeks,      2.5 mg/m 3 and from mice exposed to 0, 1.25, 2.5, or
 excluding holidays. After 7 months of exposure, as       5 mg/m 3 after 7 and 15 months and were analyzed
 many as seven male and seven female rats and five        using the same methods used in the 16-day studies.
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The results of the tissue burden studies are found in         ment pathologist, or lesions of general interest were
Appendixes H and I.                                           presented by the chair to the PWG for review. The
                                                              PWG consisted of the quality assessment pathologist
A complete necropsy and microscopic examination               and other pathologists experienced in rodent toxico-
were performed on all rats and mice. The brain,               logic pathology. This group examined the tissues
right kidney, liver, lung, spleen, and thymus of all          without any knowledge of dose groups. When the
animals at both interim evaluations and all animals           PWG consensus differed from the opinion of the
surviving until the end of the studies were weighed as        laboratory pathologist, the diagnosis was changed.
were the right testes from males at the 7-month               Thus, the final diagnoses represent a consensus of
interim evaluation. At necropsy, all organs and               contractor pathologists and the PWG. Details of
tissues were examined for grossly visible lesions, and        these review procedures have been described, in part,
all major tissues were fixed and preserved in 10%             by Maronpot and Boorman (7982) and Boorman
neutral buffered formalin, processed, trimmed,                et al. (1985). For subsequent analyses of the pathol-
embedded in paraffin, sectioned to a thickness of 5 to        ogy data, the diagnosed lesions for each tissue type
6 /zm, and stained with hematoxylin and eosin for             were evaluated separately or combined according to
microscopic examination. For all paired organs (i.e.,         the guidelines of McConnell et al. (1986).
kidney, ovary, adrenal gland), samples from each
organ are examined. Tissues examined microscopi-
cally are listed in Table 4.                                  STATISTICAL M E T H O D S
                                                              Survival A n a l y s e s
Microscopic evaluations were completed by the study           The probability of survival was estimated by the
laboratory pathologist, and the pathology data were           product-limit procedure of Kaplan and Meier (1958)
entered into the Toxicology Data Management                   and is presented in the form of graphs. Animals
System. The microscopic slides, paraffin blocks, and          found dead of other than natural causes or missexed
residual wet tissues were sent to the NTP Archives            were censored from the survival analyses; animals
for inventory, slide/block match, and wet tissue              dying from natural, causes were not censored.
a u d i t . . T h e slides, individual animal data records,   Statistical analyses for possible dose-related effects
and pathology tables were evaluated by an indepen-            on survival used Cox's (1972) method for testing two
dent quality assessment laboratory. The individual            groups for equality and Tarone's (1975) life table test
animal records and tables were compared for                   to identify dose-related trends. All reported P values
accuracy, the slide and tissue counts were verified,          for the survival analyses are two sided.
and the histotechnique was evaluated. For the 2-year
studies, a quality assessment pathologist reviewed the         Calculation of Incidence
lung, bronchial and mediastinal lymph nodes, and               The incidences of neoplasms or nonneoplastic lesions
adrenal gland medulla in rats and the lung, nose, and          as presented in Tables A1, A5, B1, B5, C1, C5, D1,
bronchial lymph nodes in mice for all neoplastic and           and D5 are given as the number of animals bearing
nonneoplastic lesions. All diagnosed neoplasms from            such lesions at a specific anatomic site and the
all organs in rats and mice, with the exception of             number of animals with that site examined micro-
interstitial cell adenomas of the testis in rats, were         scopically. For calculation of statistical significance,
also reviewed.                                                 the incidences of most neoplasms (Tables A3, B3,
                                                               C3, and D3) and all nonneoplastic lesions are given
The quality assessment report and slides were submit-         •as the numbers of animals affected at each site
ted to the NTP Pathology Working Group (PWG)                   examined microscopically. However, when macro-
chair, who reviewed the selected tissues and any               scopic examination was required to detect neoplasms
other tissues for which a disagreement in diagnosis            in certain tissues (e.g., skin, intestine, harderian
between the laboratory and quality assessment pathol-          gland, and mammary gland) before microscopic
ogists existed. Representative histopathology slides           evaluation, or when neoplasms had multiple potential
containing examples of lesions related to chemical             sites of occurrence (e.g., leukemia or lymphoma), the
administration, examples of disagreements in                   denominators consist of the number of animals on
diagnoses between the laboratory and qualitty assess-          which a necropsy was performed. Tables A3, B3,
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  C3, and D3 also give the survival-adjusted neoplasm        reported P values are one sided. The procedures
  rate for each group and each site-specific neoplasm,       described in the preceding paragraphs were also used
  i.e., the Kaplan-Meier estimate of the neoplasm            to evaluate selected nonneoplastic lesions.       For
  incidence that would have been observed at the end         further discussion of these statistical methods, refer
  of the study in the absence of mortality from all other    to Haseman (1984).
  competing risks (Kaplan and Meier, 1958).
                                                             Analysis of Nonneoplastic Lesion Incidences
  Analysis of Neoplasm Incidences                            Because all nonneoplastic lesions in this study were
  The majority of neoplasms in these studies were            considered to be incidental to the cause of death or
  considered to be incidental to the cause of death or       not rapidly lethal, the primary statistical analysis used
  not rapidly lethal.    Thus, the primary statistical       was a logistic regression analysis in which nonneo-
  method used was logistic regression analysis, which        plastic lesion prevalence was modeled as a logistic
  assumed that the diagnosed neoplasms were dis-             function of chemical exposure and time. For lesions
  covered as the result of death from an unrelated           detected at the interim evaluations, the Fisher exact
  cause and thus did not affect the risk of death. In        test, a procedure based on the overall proportion of
  this approach, neoplasm prevalence was modeled as          affected animals, was used.
  a logistic function of chemical exposure and time.
  Both linear and quadratic terms in time were incor-        Analysis of Continuous Variables
  porated initially, and the quadratic term was elimi-       Two approaches were employed to assess the signif-
  nated if the fit of the model was not significantly        icance of pairwise comparisons between exposed and
  enhanced. The neoplasm incidences of exposed and           control groups in the analysis of continuous
  control groups were .compared on the basis of the          variables. Organ and body weight data, which have
  likelihood score test for the regression coefficient of    approximately normal distributions, were analyzed
  dose. This method of adjusting for intercurrent            using the parametric multiple comparison procedures
  mortality is the prevalence analysis of Dinse and          of Dunnett (1955) and Williams (1971, 1972).
  Lagakos (1983), further described and illustrated by       Hematology, spermatid, epididymal spermatozoa, and
  Dinse and Haseman (1986). When neoplasms are               tissue burden data, which have typically skewed
  incidental, this comparison of the time-specific           distributions, were analyzed using the nonparametric
  neoplasm prevalences also provides a comparison of         multiple comparison methods of Shirley (1977)and
  the time-specific neoplasm incidences (McKnight and        Dunn (1964). Jonckheere's test (1954) was used to
  Crowley, 1984).                                            assess the significance of the dose-related trends and
                                                             to determine whether a trend-sensitive test (Williams'
                                                             or Shirley's test) was more appropriate for pairwise
  In addition to logistic regression, other methods of
                                                             comparisons than a test that does not assume a
  statistical analysis were used, and the results of these
                                                             monotonic dose-related trend (Dunnett's or Dunn's
  tests are summarized in the appendixes.           These
                                                             test). Average severity values were analyzed for
  methods include the life table test (Cox, 1972;
                                                             significance using the Mann-Whitney U test
  Tarone, 1975), appropriate for rapidly lethal neo-
                                                             (Hollander and Wolfe, 1973). Because the vaginal
  plasms, and the Fisher exact test and the Cochran-
                                                             cytology data are proportions (the proportion of the
  Armitage trend test (Armitage, 1971; Gart et al.,
                                                             observation period that an animal was in a given
  1979), procedures based on the overall proportion of
                                                             estrous stage), an arcsine transformation was used to
  neoplasm-bearing animals.
                                                             bring the data into closer conformance with normality
                                                             assumption. Treatment effects were investigated by
  Tests of significance included pairwise comparisons        applying a multivariate analysis of variance
  of each exposed group with controls and a test for an      (Morrison, 1976) to the transformed data to test for
  overall dose-related trend. Continuity-corrected tests     simultaneous equality of measurements across expo-
  were used in the analysis of neoplasm incidence, and       sure levels.
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Materials and Methods                                                                                       43


Historical Control Data                                 The genetic toxicity studies of nickel oxide are part
Although the concurrentcontrol group is always the      of a larger effort by the NTP to develop a database
first and most appropriate control group used for       that would permit the evaluation of carcinogenicity in
evaluation, historical control data can be helpful in   experimental animals from the structure and respons-
the overall assessment of neoplasm incidence in         es of the chemical in short-term in vitro and in vivo
certaininstances. Consequently,neoplasmincidences       genetic toxicity tests. These genetic toxicity tests
from the NTP historical control database (Haseman       were originally developed to study mechanisms of
et al., 1984, 1985) are included in the NTP reports     chemically induced DNA damage and to predict
for neoplasms appearing to show compound-related        carcinogenicity in animals, based on the electrophilic
effects.                                                theory of chemical carcinogenesis and the somatic
                                                        mutation theory (Miller and Miller, 1977; Straus,
                                                         1981; Crawford, 1985).
QUALITY ASSURANCE METHODS
The 13-week and 2-year studies were conducted in        There is a strong correlation between a chemical's
coml~liance with Food and Drug Administration Good      potential electrophilicity (structural alert to DNA
Laboratory Practice Regulations (21 CFR, Part 58).      reactivity), mutagenicity in Salmonella, and carcino-
In addition, as records from the 2-year studies were    genicity in rodents. The combination of electro-
submitted to the NTP Archives, these studies were       philicity, and Salmonella mutagenicity is highly
audited retrospectively by an independent quality       correlated with the induction of carcinogenicity in
assurance contractor.       Separate audits covering    rats and mice and/or at multiple tissue sites (Ashby
completeness and accuracy of the pathology data,        and Tennant, 1991). Other in vitro genetic toxicity
pathology specimens, final pathology tables, and a      tests do not correlate well with rodent carcinogenicity
draft of this NTP Technical Report were conducted.      (Tennant et al., 1987; Zeiger et al., 1990), although
Audit procedures and findings are presented in the      these other tests can provide information on the types
reports and are on file at NIEHS. The audit findings    of DNA and chromosome effects that can be induced
were reviewed and assessed by NTP staff, so all         by the chemical being investigated. Data from NTP
comments had been resolved or were otherwise            studies show that a positive response in Salmonella is
addressed during the preparation of this Technical      currently the most predictive in vitro test for rodent
Report.                                                 carcinogenicity (89% of the Salmonella mutagens
                                                        were rodent carcinogens), and that there is no compl-
                                                        ementarity among the in vitro genetic toxicity tests.
GENETIC TOXICOLOGY                                      That is, no battery of tests that included the
The genetic toxicity of nickel oxide was assessed by    Salmonella test improved the predictivity of the
testing the ability of the chemical to increase the     Salmonella test alone. The predictivity for carcino-
frequency of micronucleated erythrocytes in periph-     genicity of a positive response in bone marrow
eral blood. The protocol for these studies and the      chromosome aberration or micronucleus tests is not
results are given in Appendix E.                        yet defined.
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 TABLE 4
 Experimental         Design and Materials and Methods in the Inhalation Studies of N i c k e l O x i d e

            16-Day Studies                                13-Week Studies                                2-Year Studies


 Study Laboratory
 Lovelace Inhalation Toxicology                 Lovelace Inhalation Toxicology                Lovelace Inhalation Toxicology
 Research Institute                             Research Institute                            Research Institute
 (Albuquerque, NM)                              (Albuquerque, NM)                             (Albuquerque, NM)

 S t r a i n a n d Species
 Rats: F344/N                                   Rats: F344/N                                  Rats: F344/N
 Mice: B6C3F1                                   Mice: B6C3F 1                                 Mice: B6C3F1

 Animal Source
 Frederick Cancer Research Facility             Simonsen Laboratories                         Rats: Taeonic Farms
 (Frederick, MD)                                (Gilroy, CA)                                       (Germantown, NY)
                                                                                              Mice: Simonsen Laboratories
                                                                                                   (Gilroy, CA)

 Time Held B e f o r e Studies
 19 days (males) or 20 days (females)           19 days (males) or 20 days (females)           11 days

 A v e r a g e A g e W h e n Studies Began
 7 weeks                                        7 weeks                                       6 weeks

 Date of F i r s t D o s e
 Rats: 27 (males) or 28 (females)               Rats: 14 (males) or 15 (females)               Rats: 4 April 1988
     January 1986                                   July 1986                                  Mice: 25 April 1988
 Mice: 3 (males) or 4 (females)                 Mice: 21 (males) or 22 (females)
      February 1986                                 July 1986

 Duration of Dosing
 6 hours/day, 5 days/week for 16 days           6 hours/day, 5 days/week for                   6 hours/day, 5 days/week for
                                                13 weeks (excluding one holiday)               104 weeks (excluding holidays)

 Date of Last Dose
  Rats: 11 (males) or 12 (females)              Rats: 15 (males) or 17 (females)               Rats
       Febmary 1986                                 October 1986                               7-Month interim evaluation:
  Mice: 18 (males) or 19 (females)              Mice: 21-22 (males) or 23-24                        18-19 October 1988
       Febmary 1986                                 (females) October 1986                      15-Month interim evaluation:
                                                                                                    5-6 July 1989
                                                                                                Terminal sacrifice: 30 March 1990
                                                                                               Mice
                                                                                                7-Month interim evaluation:
                                                                                                    8-9 November 1988
                                                                                                15-Month interim evaluation:
                                                                                                    25-26 July 1989
                                                                                                Terminal sacrifice: 20 April 1990
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Materials and Methods                                                                                                                                               45


TABLE 4
E x p e r i m e n t a l D e s i g n a n d M a t e r i a l s a n d M e t h o d s i n t h e I n h a l a t i o n S t u d i e s o f N i c k e l O x i d e (continued)


           16-Day Studies                                               13-Week Studies                                               2-Year Studies



Necropsy Dates
Rats: 12 (males) or 13 (females)                             Rats: 15-16 (males) or 17-18 (females)                        Rats
    February 1986                                                October 1986                                              7-Month interim evaluation:
Mice: 19 (males) or 20 (females)                             Mice: 22-23 (males) or 24-25                                       19-20 October 1988
    February 1986                                                (females) October 1986                                     15-Month interim evaluation:
                                                                                                                                6-7 July 1989
                                                                                                                           Terminal sa~r.ifice: 6-10 (males) or
                                                                                                                                2-5 (females) April 1990
                                                                                                                           Mice
                                                                                                                           7-Month interim evaluation:
                                                                                                                                9-10 November 1988
                                                                                                                            15-Month interim evaluation:
                                                                                                                                26-27 July 1989
                                                                                                                           Terminal sacrifice: 1-3 May (males)
                                                                                                                                or 23-30 April (females) 1990

Average Age at N e c r o p s y
9 weeks                                                      20 weeks                                                      7-Month interim evaluation: 34 weeks
                                                                                                                           15-Month interim evaluation:
                                                                                                                               71 weeks
                                                                                                                           Terminal sacrifice: 111 weeks

Size of Study G r o u p s
Core study: 5 males and 5 females                             Core study: 10 males and 10 females                          Core study:
Tissue burden study: 5 males and                              Tissue burden study: 18 male and                              7-Month interim evaluation: as many
    5 females                                                     18 female rats; 6 male and                                   as 7 male and 7 female rats;
                                                                  6 female mice                                                5 male and 5 female mice
                                                                                                                            15-Month interim evaluation: 5 male
                                                                                                                               and 5 female rats and mice
                                                                                                                            2-Year study: 53 or 54 male and
                                                                                                                               female rats; 67 (0 mg/m3),
                                                                                                                               67 (1.25 mg/m3), 66 (2.5 mg/m3),
                                                                                                                               and 69 (5 mg/m3) male and 64,
                                                                                                                               66, 63, and 64 female mice
                                                                                                                           Tissue burden study:
                                                                                                                            7-Month interim evaluation: 7 male
                                                                                                                               and 7 female rats; 5 male and
                                                                                                                               5 female mice
                                                                                                                            15-Month interim evaluation: 5 male
                                                                                                                               and 5 female rats and mice

M e t h o d o f Distribution
Animals were distributed randomly into                        Same as 16-day studies                                       Same as 16-day studies
groups of approximately equal initial
mean body weights.
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 TABLE 4
 Experimental Design and Materials and Methods in the Inhalation S t u d i e s o f N i c k e l O x i d e (continued)

          16-Day Studies                                 13-Week Studies                                  2 - Y e a r Studies



 Animals p e r Cage
 1                                              1

Method of A n i m a l Identification
Toe clip, ear tag, and location within          Tail tattoo, ear tag, and cage location         Rats: Tail tattoo
chamber unit                                                                                    Mice: Tail tattoo and ear tag

Diet
 Zeigler NIH-07 open formula meal diet          Zeigler NIH-07 open formula diet                Same as 13-week studies
 (Zeigler Brothers, Inc., Gardners, PA),        (Zeigler Brothers, Inc., Gardners, PA),
 available ad libitum, except during            available ad libitum, except during
 exposure periods, changed at least once        exposure periods, changed weekly
 weekly

 Water Distribution
 Tap water (Albuquerque.~nunicipal              Same as 16-day studies                           Same as 16-day studies
 supply) via automatic watering system
 (Edstrom Industries, Waterford, WI),
 available ad libitum; checked twice
 daily

 Cages
 Stainless steel (Hazleton Systems, Inc.,       Same as 16-day studies                           Same as 16-day studies
 Aberdeen, MD), rotated every
 4 exposure days and changed weekly

 Bedding/Cageboard
 Techboard untreated paper (Shepherd            Same as 16-day studies                           Same as 16-day studies
 Specialties Paper, Inc., Kalamazoo,
 MI), changed twice daily

 R o o m / C h a m b e r A i r Supply Filters
 High efficiency particulate air filter         Same as 16-day studies                           Same as 16-day studies
 MIL Spec MIL-F-51068C (Flanders,
 Washington, DC); changed as required

 Chambers
 Stainless steel (Hazleton Systems, Inc.,       Sameas 16-day studies                            Same as 16-day studies
 Aberdeen, MD), changed weekly

 C h a m b e r Environment
 Temperature: 19.8 ° to 24.1 ° C                Temperature: 20.1 ~ to 27.2 ° C                  Temperature: 22.1 ° to 25.7 ° C
 Relative humidity: 13.3% to 96.0%              Relative humidity: 12.3% to 98.0%                Relative humidity: 31.8% to 69.1%
 Fluorescent light: 12 hours/day                Fluorescent light: 12 hours/day                  Fluorescent light: 12 hours/day
 Chamber air: 12 5:2 changes/hour               Chamber air: 12 5:2 changes/hour                 Chamber air: 3.68 to 21.32 (rats) and
                                                                                                   10.06 to 19.44 (mice) changes/hour
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 Materials and Methods                                                                                                             47


 TABLE 4
 Experimental Design and Materials and Methods in the Inhalation Studies of Nickel Oxide (continued)

          16-Day Studies                             13-Week Studies                                   2-Year Studies


 Doses
 Core study: 0, 1.2, 2.5, 5, 10, or         Core study: 0, 0.6, 1.2, 2.5, 5 or                Rats: 0, 0.62, 1.25, or 2.5 mg nickel
     30 mg nickel oxide/m3 (0, 0.9,             10 mg nickel oxide/m3 (0, 0.4,                    oxide/m3 (0, 0.5, 1.0, or 2.0 mg
     2.0, 3.9, 7.9, or 23.6 mg                  0.9, 2.0, 3.9, or 7.9 mg nickel/m 3)              nickel/m3)
     nickel/m3)                             Tissue burden study: 0, 0.6, 2.5, or              Mice: 0, 1.25, 2.5, or 5 mg nickel
 Tissue burden study in rats: 0, 1.2, 5,        10 mg nickel oxide/m3 (0, 0.4,                     oxide/m3 (0, 1.0, 2.0, or 3.9 mg
     or 10 mg nickel oxide/m3 (0, 0.9,          2.0, or 7.9 mg nickel/m3)                          nickel/m3)
     3.9, or 7.9 mg nickel/m3)
 Tissue burden study in mice: 0, 1.2,
     2.5, and 5 mg nickel oxide/m3 (0,
     0.9, 2.0, or 3.9 mg nickel/m3)

 T y p e and Frequency of Observation
 Observed twice daily; animals were         Observed twice daily; animals were                Observed twice daily; animals were
 weighed initially, after 4 or 5 days of    weighed initially, weekly thereafter,             weighed and clinical observations were
 exposure, and at the end of the studies.   and at the end of the studies. Cliiaical          recorded initially, weekly for
 Clinical observations were recorded        observations were recorded initially              13 weeks, monthly thereafter, and at
 initially and after 5 days of exposure.    and weekly thereafter.                            the end of the studies.

 Method of Sacrifice
 Exsanguination under halothane             Same as 16-day studies                            Exsanguination under carbon dioxide
 anesthesia                                                                                   anesthesia

 Necropsy
 Necropsy performed on all animals.         Necropsy performed on all animals.                Necropsy performed on all animals.
 Organs weighed were brain, heart,          Organs weighed were brain, heart,                 Organs weighed at the 7- and 15-month
 right kidney, liver, lung, right testisl   right kidney, liver, lung, right testis           interim evaluations were brain, right
 and thymus.                                and thymus.                                       kidney, liver, lung, spleen, right testis
                                                                                              (7-month interim evaluation only), and
                                                                                              thymus.

 Clinical Pathology
 None                                       Blood was collected by cardiac                    Blood was collected from five male and
                                            puncture from all core study rats and             four to five female rats and mice at the
                                            mice surviving to study termination for           15-month interim evaluation from the
                                            hematology.                                       retroorbital sinus for hematology.
                                            Hematology: hematocrit, hemoglobin                Hematology: hematocrit, hemoglobin
                                            concentration, erythrocytes, mean cell            concentration, erythrocytes, mean cell
                                            volume, mean cell hemoglobin                      volume, mean cell hemoglobin, mean
                                            concentration, total leukocytes and               cell hemoglobin concentration, total
                                            differentials, reticulocytes, and                 leukocytes and differentials,
                                            nucleated erythrocytes.                           reticulocytes, and nucleated
                                                                                              erythrocytes.
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 TABLE 4
 Experimental Design and Materials and Methods in the Inhalation Studies of Nickel Oxide (continued)

           16-Day Studies                              13-Week Studies                               2-Year Studies


 Histopathology
 Complete histopathology was                  Complete histopathology was                   Complete histopathology was
 performed on all 0 and 30 mg/m3 rats         performed on all rats and 0 and               performed on all rats and mice, with
 and mice. In addition to gross lesions       10 mg/m 3 mice. In addition to gross          the exception bf animals evaluated at
 and tissue masses with regional lymph        lesions and tissue masses with regional       7 months in which only kidney, lung,
 nodes, tissues examined included:            lymph nodes, tissues examined                 lymph nodes (bronchial and
 adrenal gland, bone and marrow,              included: adrenal gland, bone and             mediastinal), and nasal turbinates were
 brain, clitoral gland (rats), epididymis,    marrow, brain, clitoral gland (rats),         examined. For all others, in addition
 esophagus, gallbladder (mice), heart,        epididymis, esophagus, gallbladder            to gross lesions and tissue masses with
 kidney, large intestine (colon, cecum,       (mice), heart, kidney, large intestine        regional lymph nodes, tissues examined
 and rectum) larynx, liver, lung, lymph       (colon, cecum, and rectum) larynx,            included: adrenal gland, bone and
 nodes (bronchial, mandibular,                liver, lung, lymph nodes (bronchial,          marrow, brain, clitoral gland,
 mediastinal, and mesenteric), mammary        mandibular, mediastinal, and                  esophagus, gallbladder (mice), heart,
 gland, muscle, nose, ovary, pancreas,        mesenteric), mammary gland, muscle,           kidney, large intestine (cecum, colon,
 parathyroid gland, pituitary gland,          nose, ovary, pancreas, parathyroid            rectum), larynx, liver, lung, lymph
 preputial gland (rats), prostate, salivary   gland, pituitary gland, preputial gland       nodes (bronchial, mandibular,
 gland, seminal vesicle, skin, small          (rats), prostate, salivary gland, seminal     mediastinal, and mesenteric), mammary
 intestine (duodenum, jejunum, and            vesicle, skin, small intestine                gland, muscle, nose (3 levels), ovary,
 ileum), spleen, stomach (forestomach         (duodenum, jejunum, and ileum),               pancreas, parathyroid gland, pituitary
 and glandular), testis, thymus, thyroid      spleen, stomach (forestomach and              gland, preputial gland, prostate gland,
 gland, trachea, urinary bladder, and         glandular), testis, thymus, thyroid           salivary gland, seminal vesicle, skin,
 uterus. The lung of 1.2, 2.5, 5, and         gland, trachea, urinary bladder, and          small intestine (duodenum, jejunum,
  10 mg/m3 animals; bronchial lymph           uterus. The lung, bronchial lymph              ileum), spleen, stomach (forestomach
 nodes and thymus of 5 and 10 mg/m3            nodes, and nose were also examined in         and glandular) testis, thymus, thyroid
 animals; and mediastinal lymph nodes          all other groups of mice.                    gland, urinary bladder, and uterus.
 and nasal turbinates of 10 mg/m3
 animals were also examined.

 Tissue Burden Analyses
 Lung and/or kidney (see Appendixes H         Lung (see Appendixes H and I)                 Lung (see Appendixes H and I)
 and I)

 S p e r m Morphology and Vaginal Cytology Evaluations
 None                                      At the end of the studies sperm                  None
                                           samples were collected from all male
                                           animals in the 0, 2.5, 5, and 10 mg/m3
                                           groups for sperm morphology
                                           evaluations. The parameters evaluated
                                           were: sperm density, morphology, and
                                           motility. The fight cauda, right
                                           epididymis, and right testis were
                                           weighed. Vaginal samples were
                                           collected for up to 7 consecutive days
                                           prior to the end of the studies from all
                                           female ani~mals in the 0, 2.5, 5, and
                                           10 mg/m3 groups for vaginal cytology
                                           evaluations. The parameters evaluated
                                           were relative frequency of estrous
                                           stages and estrous cycle length.
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                                                                                                                                   49




                                                       RESULTS

RATS
16-DAY STUDY                                                         gains of exposed male and female rats were similar
All rats survived to the end of the study (Table 5).                 to those of the controls, and no clinical findings in
Final mean body weights and mean body weight                         any group were related to nickel oxide exposure.




TABLE 5
Survival and Body Weights of Rats in the 16-Day Inhalation Study of Nickel Oxide

                                                           M e a n Body Weight b (g)                              Final W e i g h t
        Dose          Survival a            Initial                 Final                   Change             Relative to Controls
       (mg/m a)                                                                                                         (%)



Male

        0                 5/5              143 5: 3                 213 5:5                 70 5:2
        1.2               5/5              144 5:3                  211 5:4                 67. 5:4                      99
        2.5               5/5              142 5:5                  214 5:6                 72 5: 3                     101
        5                 5/5              144 5:2                  210 5:4                 66 5: 3                      99
       10                 5/5              142 5:4                  210 5:4                 69 5: 3                      99
       30                 5/5              139 5:5                  204 5:5                 65 ± 3                       96

Female



        0                 5/5              121 5:2                  150 5:2                  28 5:1
        1.2               5/5              122 5:3                  155 5:3                  32 5:2                      103
        2.5               5/5              123 5:3                  154 5:4                  31 5: 3                     103
        5                 5/5              124 5: I                 156 5:2                  32 5: 1                     104
       10                 5/5              124 5:2                  150 5:2                  26 5:4                      101
       30                 5/5              123 5:2                  149 5:3                  26 5:4                       99


a Number of animals surviving at 16 days/number initially in group
b Weights and weight changes are given as mean 5: standard error. Differences from the control group were not significant by Dunnett's
  test.
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  Absolute and relative lung weights, of I0 and                     inflammatory cell infiltrates in the alveolar inter-
  30 mg/m 3 males and females were significantly                    stitium, foci of acute inflammation (neutrophilic
  greater than those of the controls (Table F1). At                  infiltrates), and an increase in the number of alveolar
  necropsy, chemical-related gross lesions were limited             macrophages in the lungs were observed. Pigment,
  to a slight enlargement of the bronchial lymph nodes              consisting of densely stained black particles, was
  in two male and two female rats exposed to                        present in the cytoplasm of alveolar macrophages as
  30 mg/m 3. The lymph node enlargement was attrib-                 well as extracellularly within the alveolar spaces. At
  uted to lymphoid hyperplasia, which was evident by                the lower exposure concentrations, histopathologic
  microscopic examination of the bronchial lymph                    changes were limited to accumulation of alveolar
  nodes of most 30 mg/m 3 males and females. In                      macrophages and the presence of black pigment
  addition to those in the lymph nodes, histopathologic             particles in the lung. Minimal atrophy of the olfac-
  changes were also present in the lungs and nose                   tory epithelium in the nose was also present in one
  (Table 6). In most rats exposed to 10 or 30 mg/m 3,               male and one female exposed to 30 mg/m 3.




  TABLE 6
  Incidences of Selected Nonneoplastic Lesions in Rats in the 16-Day Inhalation Study of Nickel Oxide

                                       0 mg/m 3    1.2 m g / m 3    2.5 mg/m3         5 mg/m 3          10 m g / m 3   30 m g / m 3



  Male
  Lung a                                 5         5                5                5                  5              5
     Alveolar Macrophage Hyperplasia b   0         2   (1.0) c      3   (1.0)        5** (1.0)          5** (1.6)      5**   (3.0)
     Inflammation                        0         0                0                0                  2   (1.0)      5**   (2.8)
     Interstitial Infiltrate             0         0                0                0                  0              5**   (2.8)
     Pigment                             0         5** (1.0)        5** (1.0)        5** (2.0)          5** (2.2)      5**   (3.0)

                                                     d                               3                  3              4
  Lymph Node, Bronchial                  4
    Hyperplasia                          0                                           0                  1     (1.0)    4*    (3.0)

  Nose                                   5                                                              5              5
       Atrophy, Olfactory Epithelium     0                                                              0              ~     (~.0)


  Female
  Lung                                   5         5                5                5                  5              5
    Alveolar Macrophage Hyperplasia      0         0                0                4* (1.0)           5**   (2.0)    5**   (3.0)
     Inflammation                        0         0                0                0                  5**   (2.0)    5**   (2.8)
     Interstitial Infiltrate             0         0                0                0                  5**   (2.0)    5**   (3.0)
     Pigment                             0         5**   (1.o)      5** (1.0)        5** (1.8)          5**   (2.8)    5**   (3.0)

  Lymph Node, Bronchial                  4                                           4                  4              4
    Hyperplasia                          0                                           0                   1    (2.0)    3     (310)

  Nose                                   5                                                               5             5
    Atrophy, Olfactory Epithelium        0                                                               0             1     (1.0)



  * Significantly different (P <_0.05) from the control group by the Fisher exact test
  ** P<_0.01
  a Number of animals with organ examined microscopically
  b Number of animals with lesion
  c Average severity of lesions in affected animals: 1 = minimal; 2 = mild; 3 = moderate; 4 = marked
  d Tissue not examined at this exposure concentration
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Results                                                                                                                                 51


Nickel concentrations in the lungs of 1.2, 5, and                       tion; however, the absolute kidney weight of these
10 mg/m 3 males and females were greater than those                     females was significantly greater than that of the
in the controls and increased with exposure concen-                     controls (Table H2).
tration, and the absolute lung weights of these
10 mg/m 3 males and females were significantly                          Because of the severity of lung lesions in rats
greater than those of the controls (Tables 7 and HI).                   exposed to 30 mg/m 3, 10 mg/m 3 was selected as the
Nickel concentrations in the kidney of 10 mg/m 3                        highest exposure concentration for the 13-week
male and female rats were below the limit of detec-                     study.




TABLE 7
Lung   Weight    and Lung      Burden     in Rats in the 16-Day Inhalation            Study of N i c k e l O x i d e a

                                            0 mg/m 3               1.2 m g / m 3            5 mg/m 3                 10 m g / m 3



n                                                 5                      5                        5                        5

Male

Absolute lung Wt (g)                       0.856 ± 0.047          0.870 ± 0.046           0.822 ± 0.041             1.068 ± 0.056*
/~g Ni/lung                                      _b                  36 ± 1.3"*              88 ± 4.8**               284 ± 9.7**
/zg Ni/g lung                                    --                  42 ± 2.8**             108 ± 4.3**               267 ± 12.3"*
~g Ni/g control lung                             --                  42 ± 1.6"*             103 ± 5.6**               331 ± 11.4"*


Female

Absolute lung wt (g)                       0.739 ± 0.028          0.704 ± 0.017           0.731 ± 0.040             0.861 ± 0.025*
#g Ni/lung                                       --                  38 ± 4.8**              88 ± 3.3**               293 ± 13.4"*
~g Ni/g lung                                     --                  54 ± 5.7**             122 ± 10.3"*              340 ± 10.4"*
~g Ni/g control lung                             --                  52 ± 6.5**             119 ± 4.5**               396 5: 18.2"*


* Significantly different (P_<0,05) from the control group by Dunnett's test (lung weight) or Shirley's test (lung burden parameters)
** P ~ 0 . 0 1
a Mean ± standard error
b Results were below 0.182 ~g Ni (the limit of detection), or below the level of quantitation.
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 13-WEEK STUDY
 One male rat exposed to 2.5 mg nickel oxide/m 3 died                   exposed males and females were similar to those of
 during week 3 of the study; this death was not                         the controls.   There were no consistent clinical
 considered to be exposure related (Table 8). Final                     findings in any group that were related to nickel
 mean body weights and mean body weight gains of                        oxide exposure.




 TABLE 8
 Survival and Body Weights of Rats in the 13-Week Inhalation Study of Nickel Oxide

                                                              M e a n Body Weight b (g)                               F i n a l Weight
          Dose         Survival a             Initial                  Final                   Change              Relative to Controls
        ( m g / m a)                                                                                                          (%)


 Male

         0                10/10              128 ± 3                   306 ± 7                 179 ± 5
         0.6              10/10              132 ± 4                   317 ± 6                 185 ± 6                       103
          1.2             10/10              130 ± 4                   319 ± 7                 189 ± 5                       104
         2.5               9/10 c            131 ± 4                   303 ± 6                 171 ± 5                        99
         5                10/10              130 ± 4                   314 ± 5                 184 ± 6                       102
        10                10/10              127 ± 3                   308 ± 6                 181 ± 5                       100



 Female

          0               10/10              110 ± 3                   190 ± 5                   80 ± 3
          0.6             10/10              112 ± 3                   192 ± 3                   80 ± 3                      101
          1.2             10/10              106 ± 2                   193 ± 3                   87 ± 4                      101
          2.5             10/10              107 ± 3                   186 ± 4                   79 :k 3                      98
          5               10/10              100 ± 3                   187 ± 4                   87 ± 3                       98
         10               10/10              110 ± 3                   190 ± 4                   81 ± 3                      100



 a Number of animals surviving at 13 weeks/number initially in group
 b Weights and weight changes are given as mean ± standard e r r o r . Subsequent calculations are based on animals surviving to the end of
   the study. Differences from the control group were not significant by Dunnett's test.
 c Week of death: 3
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Results                                                                                                       53


Hematology results are presented in Table G1. In         erythrocyte hemolysis (in vivo or in vitro), alterations
general, there were minimal to mild differences, and     in the hemoglobin concentration or hematocrit, or an
females were affected more than males. A mature          artifact (e.g., lipemia, Heinz bodies). The higher
neutrophilia was indicated by greater segmented          hematocrit values, hemoglobin concentrations, and
neutrophil counts in 1.2, 2.5, 5, and 10 mg/m 3 males    erythrocyte counts could be consistent with dehydra-
and all exposed females. Monocyte counts in 2.5, 5,      tion (relative erythrocytosis) or with increased
and 10 mg/m 3 females were mildly greater than that      erythropoietin production as the result of tissue
in the controls. There was microscopic evidence of       hypoxia (secondary erythrocytosis).          Secondary
chronic active pulmonary inflammation in 2.5, 5,         erythrocytosis has been observed with pulmonary or
and 10mg/m 3 males and females, and this could           cardiovascular disease,        altered erythrocyte/
account for the neutrophilia and monocytosis.            hemoglobin oxygen transport, and reduced atmos-
Increased tissue demand for granulocytes due to          pheric oxygen. In this study.~ pulmonary lesions
inflammation causes increased bone marrow produc-        were observed microscopically in 2.5, 5, and
tion and release and can increase the intravascular       10 mg/m 3 males and females, and this could account
life span of neutrophils resulting in neutrophilia.      for the increases observed. Lower mean cell volume
Monocytosis can also result from inflammation,           has been associated with metabolic alterations related
particularly a chronic inflammatory process. How-        to iron, copper, and pyridoxine deficiency. Total
ever, neutrophilia occurred at exposure concentra-       nucleated erythrocyte counts in 5 mg/m 3 males and
tionsat which no microscopic evidence of inflam-         all exposed females were greater than those in the
mation was seen. Thus, mechanisms that alter             controls. Reticulocyte counts were not affected, and
granulopoiesis and/or rate of release from the bone      this is consistent with mild relative erythrocytosis or
marrow, redistribute neutrophils between the             with a very mild increase in erythropoiesis. Differ-
marginal and the circulating pools, or increase the      ences in nucleated erythrocyte counts were not
intravascular neutrophil life span could be con-         accompanied by anemia or by corresponding differ-
sidered. Lymphocytosis was indicated by lympho-          ences in reticulocyte counts. Nickel is a transition
cyte .counts in 2.5, 5, and 10 mg/m 3 females that       metal, as are cobalt and iron. Excess cobalt can
were greater than that in the controls. The lympho-      induce erythrocytosis, due to increased erythropoietin
cytosis may be a reflection of the bronchial and         production, and iron is essential for heme synthesis.
mediastinal lymph node hyperplasia observed in           Thus, the presence of excess nickel may have altered
these exposure groups. However, stimulation of           normal biological activities associated with transition
lymphopoiesis may not result in lymphocytosis, and       metals and could account for some of the differences
 other mechanisms altering lymphocyte margination        that occurred (e.g., the minimal erythrocytosis and
 or homing, tissue migration, and recirculation may      lower mean cell volume).
be involved. Total leukocyte counts in 1.2 and
 10mg/m 3 males and in females exposed to                Sperm concentration in 10 mg/m 3 males was signif-
 1.2 mg/m 3 or higher were greater than those in the     icantly lower than that in controls (Table Jl). There
 controls and were a reflection of the increased         were no significant differences in vaginal cytology
 neutrophil, lymphocyte, and monocyte counts.            between control and exposed females.

 Hematocrit, hemoglobin concentration, and erythro-       Absolute and relative lung weights of all exposed
 cyte counts in 10 mg/m 3 males and in most exposed       groups of rats (except absolute lung weight of
 groups of females were minimally to mildly greater       0.6 mg/m 3 females) were significantly greater than
 than those in the controls. These differences were      those of controls (Table F2). Other organ weight
 accompanied by mean cell volumes in 5 mg/m 3             differences were considered incidental and unrelated
 males and in 1.2 mg/m 3 and higher females that were     to nickel oxide exposure. Chemical-related lesions
 minimally less than those in the controls. Mean cell     in the lung and in the bronchial and mediastinal
 hemoglobin concentrations in 2.5 mg/m 3 males and        lymph nodes were identified through gross examina-
 all exposed groups of females were minimally             tion at necropsy. When the thoracic cavity was
 greater than those in the controls. Increases in mean    opened, the lungs of rats exposed to 10 mg/m 3 failed
 cell hemoglobin concentration have been related to       to collapse to the extent typically observed in control
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 animals. Multiple pale or white foci, 1 to 2 mm in                 respiratory tract were enlarged in most male and
 diameter, were scattered throughout the lung paren-                female rats exposed to 5 or 10 mg/m 3.
 chyma in one or more male rats in each exposure
 group and in most male and female rats exposed to                  Chemical-related histopathologic lesions were present
 2.5, 5, or 10 mg/m 3. These lung foci were generally               in the lung and in the lymph nodes associated with
 fewer in number and smaller at lower exposure                      the respiratory tract of exposed males and females
 concentrations. The lymph nodes associated with the                (Table 9).     The lymph node enlargement was




TABLE 9
Incidences of Selected Nonneoplastic Lesions in Rats in the 13-Week Inhalation Study of Nickel Oxide


                                     0 mg/m 3     0.6 mg/m 3       1.2 mg/m 3        2.5 m g / m 3     5 mg/m3       10 m g / m 3



Male

 Lung a                             10            10               10                9                 10            10
   Alveolar Macrophage Hyperplasiab 0             10"* (1.0) c     10"* (1.0)        9** (1.0)         10"* (1.5)    10"* (2.5)
   Inflammation, Chronic Active      0            0                0                 2   (1.0)         10"* (1.4)    10"* (3.0)
    Inflammation, Granulomatous      0            0                 0                0                  3   (2.0)     2   (3.0)
    Interstitial Infiltrate          0            0                 1 (1.0)          2   (1.0)         10"* (1.4)    10"* (2.1)
    Pigment                          0             6** (1.0)        7** (1.0)        9** (1.0)          9** (1.0)    10"* (1.8)

 Lymph Node, Bronchial                 8           9               10                8                  10           10
   Hyperplasia                         0           0                0                2   (1.0)           9** (1.6)   10"* (2.7)
   Pigment                             0           0                0                7** (1.0)          10"* (1.0)   10"* (1.0)

 Lymph Node, Mediastinal               9           8                8                8                  10           10
   Hyperplasia                         0           0                0                2    (1.0)          5* (1.4)    10"* (2.5)
   Pigment                             0           0                0                4*   (1.0)          6** (1.0)    5* (1.0)


 Female

 Lung                                  10         10               10               10                  10           10
   Alveolar Macrophage Hyperplasia     0          10"* (1.0i        8** (1.0)       10"* (1.0)          10"* (1.4)   10"* (2.2)
    Inflammation, Chronic Active       0           0                0                1 (I.0)             7** (1.3)    7** (2.7)
    Inflammation, Granulomatous        0           0                0                0                   4* (2.1)     4* (2.0)
    Interstitial Infiltrate             0          0.               0                2   (1.0)          10"* (1.2)   10"* (1.8)
    Pigment                             0          0                4* (1.0)         8** (1.0)           8** (1.0)   10"* (1.2)

 Lymph Node, Bronchial                  7          7                10               7                  10           10
   Hypetplasia                          0          0                0                0                   8** (1.5)   I0"* (2.6)
   Pigment                              0          0                 0               4*   (1.0)          8** (1.0)   10"* (1.0)

 Lymph Node, Mediastinal                9          9                8                10                 9            10
   Hyperplasia                          0          0                0                 1   (1.0)         5* (1.4)      9** (2.2)
   Pigment                              0          0                0                 2   (1.0)         9** (1.0)     8** (1.0)


 * Significantly different (P ~0.05) from the control group by the Fisher exact test
 ** P~0.01
 a Number of animals with organ examined microscopically
 b Number of animals with lesion
 c Average severity of lesions in affected animals: 1 = minimal; 2 = mild; 3 = moderate; 4 = marked
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Results                                                                                                                                   55



attributed to lymphoid hyperplasia characterized by                      Inflammatory lesions included minimal to mild
an increase in the number of lymphocytes, primarily                      interstitial infiltrates of lymphocytes around blood
in the paracortical areas of the lymph nodes.                            vessels and chronic active inflammation characterized
Lymphoid hyperplasia was commonly present in rats                        by a mild thickening of alveolar septa with a mixture
exposed to 5 or 10 mg/m 3 and also occurred in a few                     of neutrophils and mononuclear inflammatory cells.
2.5 mg/m 3 rats.     Densely stained black pigment                       Adjacent to these foci of inflammation, type II cells
particles and aggregates of these pigment particles                      were often enlarged. Granulomatous inflammation
were present in the lymph nodes of males and                             also occurred in a few rats and consisted of larger,
females exposed to 2.5, 5, or 10 mg/m 3. There                           focal aggregates of epithelioid macrophages within
were exposure-related inflammatory lesions and                           the alveoli or interstitial areas.
pigment in the lungs of males and females. At the
lower exposures of 0.6, 1.2, and 2.5 mg/m 3, there
was only a minimally detectable increase in the                           At 4 and 9 weeks and at the end of the 13-week
number of macrophages within the alveoli; minimal                         study, nickel concentrations in the lung of 0.6, 2.5,
interstitial or chronic active inflammation was                           and 10 mg/m 3 males were significantly greater than
present in a few rats. Pigment particles were present                     those in the controls, and the nickel concentrations
in the cytoplasm of alveolar macrophages as well as                       increased with exposure concentration (Tables 10
extracellularly within the alveolar spaces. At 5 and                      and H3). At 13 weeks, the absolute lung weights of
 10 mg/m 3, the severity and           spectrum of                        2.5 and 1.0 mg/m 3 males were significantly greater
inflammatory changes in the lung were increased.                          than that of the controls.



 TABLE 10
 Lung Weight and Lung Burden in Male Rats in the 13-Week Inhalation Study of Nickel Oxide a

                                              0 mg/m3               0,6 m g / m 3           2.5 mg/m 3              10 m g / m ~




 n                                                 6                       6                      6                        6

 4 weeks
    #g Ni/g lung                                   -- b                33 ± 2.3**             110 ± 6.6**             263 ± 18.5"*

 9 weeks
    #g Ni/g lung                                   --                  53 ± 6.8**             143 ± 27.9**            400 ± 31.2"*

 13 weeks
    Absolute lung wt (g)                    0.954 5:0.043           1.082 ± 0.028           1.534 ± 0.032**         2.108 ± 0.097**
    #g Ni/lung                                    --                   86 5: 6.0**            276 ± 34.6**          1,092 ± 63.1"*
    #g Ni/g lung                                  --                   80 ± 5.5**             181 ± 25.6**            524 ± 38.2**
    ~g Ni/g control lung                          --                   91 ± 6.3**             289 ± 36.3**          1,146 ± 66.2**



 ** Significantly different (P_<0.01) from the control group by Williams' test (lung weight) or Shirley's test (lung burden parameters)
 a Mean ± standard error
 O Results were below 0.301 /ug Ni (the limit of detection), or below the level of quanfitation.



 Dose Selection Rationale:   Based on the increased                       study, nickel oxide exposure concentrations selected
 severity and wider spectrum of inflammatory lesions                      for the 2-year inhalation study in rats were 0.62,
 of the lung and increased lung weights in males and                      1.25, and 2.5 mg/m 3.
 females exposed to 5 and 10 mg/m 3 in the 13-week
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 2-YEAR          STUDY
 Survival              •                             .                     Kaplan-Meier survival curves in Figure 2. Survival
 Estimates of 2-~ear survival probabilities for male                       of exposed male and female rats was similar to that
 and female rats are shown in Table 11 and in the                          of the controls.




 TABLE 11
 Survival of Rats in the 2-Year Inhalation Study of Nickel Oxide

                                                           0 mg/m 3             0.62 mg/m 3               1.25 mg/m 3             2.5 mg/m 3



 Male

 Animals initially in study                                     65                       65                       65                      65

 7-Month interim evaluation a                                   6                        7                         7                       7
 15-Month interim evaluation a                                  5                        5                         5                       5
 Missexeda                                                      0                        0                         0                       1
 Moribund                                                      39                       35                        32                      36
 Natural deaths                                                 1                        3                         6                       4
 Animals surviving to study termination                        14                       15                        15e                     12e
 Percent probability of survival at end of studyb              26                       28                        28                      23
 Mean survival (days) c                                       592                      594                       582                     582

 Survival analysisd                                       P=0.563               P=0.772N                 P = 1.000N                P=0.720

 Female

 Animals initially in study                                     65                       65                       65                      65

 7-Month interim evaluation a                                    7                        7                        7                       6
 15-Month interim evaluation a                                   5                        5                        5                       5
 Moribund                                                       27                       24                       27                      25
 Natural deaths                                                  5                        3                        6                       3
 Animals surviving to study termination                        '21                       26                       20                      26
 Percent probability of survival at end of study                40                       49                       38                      48
 Mean survival (days)                                          594                      607                      592                     597

 Survival analysis                                       P=0.834N               P=0.392N                   P=0.921                P=0.657N



 a  Censored from survival analyses
 b  Kaplan-Meier determinations based on the number of animals alive on the first day of terminal sacrifice
 c  Mean of all deaths (uncensored, censored, and terminal sacrifice)
 d  The result of the life table trend test (Tarone, 1975) is in the control column, and the results of the life table pairwise comparisons (Cox,
    1972) with the controls are in the exposed columns. A negative trend or a lower mortality in an exposure group is indicated by N.
  e Includes one animal that died during the last week of the study.
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Results                                                                                                                                                                                                                                                                     57




                         0.9.




                     0

                         0.4 . . . .               MALE              RATS           ........       ...........   ;. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                i..........................
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          FIGURE 2
          Kaplan-Meier Survival Curves for Rats Administered Nickel Oxide by Inhalation for 2 Years
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  Body Weights and Clinical Findings                      the study. No chemical-related clinical findings were
  Mean body weights of males and females exposed to       observed in male or female rats during the 2-year
  0.62 mg/m 3 and males exposed to 1.25 mg/m 3 were       study.
  similar to those of the controls throughout the study
  (Figure 3 and Tables 12 and 1 3 ) . Mean body           Hematology
  weights of females exposed to 1.25 mg/m 3 and males     No chemical-related differences in hematology
  and females exposed to 2.5 mg/m 3 were slightly less    parameters were observed in male or female rats at
  than those of the controls during the second year of    the 15-month interim evaluation (Table G2).
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Results                                                                                                                                                                                                                                                                                                                                                                                                                     59




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          FIGURE 3
          Growth Curves for Rats Administered                                                                                                                                                    Nickel Oxide by Inhalation for 2 Years
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 TAnLE 12
 Mean Body Weights and Survival of Male Rats in the 2-Year Inhalation Study of Nickel Oxide

 Weeks            0 mg/m s                     0.62 mg/m 3                        1.25 m g / m 3                  2.5 m g / m 3
   on        Av. Wt.      No. of        Av. Wt. Wt. (% of No. of      A v . W t . Wt. (% of No. of       Av. Wt. Wt. (% of No. of
 Study        (g)      Survivors          (g)   controls) Survivors      (g)      controls) Survivors     (g)    controls) Survivors


      1       143            65          141       98        65        141          99        65          142        99       65
     2        193            65          189       98        65        193         100        65          191        99       65
     3        219            65          216       99        65        222         102        65          216        99       65
     4        241            65          240      100        65        241         100        65          237        98       64
     5        257            65          259      101        65        258         100        65          254        99       64
     6        274            65          276      101        65        276         101        65          273       100       64
     7        284            65          288      102        65        287         101        65          283       100       64
     8        297            65          299      101        65        301         101        65          296       100       64
     9        306            65          307      100        65        308         101        65          304        99       64
    10        316            65          318      101        65        320         101        65          315       100       64
    11        324            65          327      101        65        326         101        65          321        99       64
    12        333            65          336      101        65        335         101        65          332       100       64
    13        340            65          340      100        65        339         100        65          337        99       64
    17        368            65          366      100        65        366         100        65          362        98       64
    21        385            65          382       99        65        384         100        65          378        98       64
    25        401            65          398       99        65        399          99        65          394        98       64
    29 a      411            58          406       99        58        402          98        58          397        96       57
    33        432            58          421       98        58        424          98        57          416        96       57
    37        451            58          438       97        58        442          98        57          433        96       57
    41        461            58          446       97        58        453          98        57          442        96       57
    45        470            58          455       97        58        462          98        57          450        96       57
    49        481            58          462       96        58        471          98        57          460        96       57
    53        478            58          459       96        58        466          98        56          457        96       57
    57        490            58          471       96        58        478          98        56          464        95       57
    61        494            58          476       96        58        484          98        56          469        95       57
    65        500            58          482       96        58        489          98        56          473        95       57
    69 a      499            52          481       96        52        494          99        50          473        95       49
    73        499            50          478       96        51        488          98        50          468        94       49
    77        501            49          477       95        48        487          97        48          465        93       48
    81        489            49          468       96        45        482          99        45          458        94       43
    85        487            40          469       96        41        480          99       '39          456        94       37
    89        471            37          464       99        38        466          99        33          449        95       33
    93        477            30          464       97        32        461          97        28          448        94       28
    97        460            26          445       97        30        442          96        26          436        95       20
   101        449            18          449      100        20        428          95        20          417        93       18


 Mean for weeks
 1-13        271                         272       100                 273         101                    269        99
 14-52       429                         419        98                 423          99                    415        97
 53-101      484                         468        97                 473          98                    456        94



 a Interim evaluations occurred during weeks 29 and 66.
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Results                                                                                                                                                         61



TABLE 13
M e a n B o d y W e i g h t s a n d S u r v i v a l o f F e m a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e


Weeks               0 mg/m ~                            0.62 mg/m 3                              1.25 mg/m 3                              2.5 mg/m ~
 on            Av. Wt.      No. of               Av. Wt. Wt. (% of No. of                Av. Wt. Wt. (% of No. of                Av. Wt. Wt. (% of No. of
Study           (g)      Survivors                 (g)   controls) Survivors               (g)   controls) Survivors              (g)    controls) Survivors


      1          115                65             115         100           65            114           99          65            114            99       65
     2           140                65             139          99           65            139           99          65            137            98       65
     3           153                65             151          99           65            151           99          65            149            97       65
     4           163                65             161          99           65            159           98          65            159            98       65
     5           169                65             168          99           65            165           98          65            167   .        99       65
     6           179                65             176          99           65            174           97          65            176            99       65
     7           181                65             181         100           65            177           98          65            180            99       65
     8           188                65             187          99           65            185           98          65            186            99       65
     9           191                65             189          99           65            187           98          65            187            98       65
    10           195                65             194          99           65            193           99          65            192            99       65
    11           200                65             199         100           65            195           98          65            194            97       65
    12           202                65             202         100           65            201           99          65            200            99       65
    13           205                65             204          99           65            202           98          65            203            99       65
    17           217                65             215          99           65            211           97          65            213            98       64
    21           226                65             223          99           65            218           97          65            221            98       64
    25           237                65             233          98           65            230           97          65            233            98       64
    29 a         239                58             237          99           58            231           96          58            235            98       58
    33           248                58             243          98           58            238           96          58            243            98       58
    37           260                58             255          98           58            250           96          58            253            97       58
    41           270                58             265          98           58            260           96          58            265            98       58
    45           278                58             276          99           58            271           97          58            272            98       58
    49           289                58             286          99           58            279           96          58            283            98       58
    53           296                56             292          99           58            287           97          57            287            97       58
    57           304                56             301          99           58            297           98          57            297            98       58
    61           314                55             308          98           57            305           97          57            303            96       58
    65           323                55             315          98           57            311           96          56            309            96       58
    69 a         330                48             318          97           50            314           95          48            313            95       51
    73           335                48             321          96           49            316           95          46            313            94       49
    77           336                48             325          97           45            320           95          44            314            94       48
    81           338                44             326          97           45            323           95          43            314            93       44
    85           341                42             332          97           45            325           95          42            315            92       41
    89           341                39             330          97           43            323           95          39            316            93       37
    93           341                34             331          97           39            325           95          32            316            93       35
    97           345                31             332          96           33            319           93          31            312            91       31
   101           344                28             330          96           32            316           92          26            308            90       29


Mean for weeks
1-13             175                               174          99                         172            98                       173            99
14-52            252                               248          98                         243            96                       246            98
53-101           330                               320          97                         314            95                       309            94


a Interim evaluations occurred during weeks 29 and 66.
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 Pathology and Statistical Analyses                         and the stratified squamous epithelial component
  This section describes the statistically significant or   arose through squamous differentiation. The strati-
 biologically noteworthy changes in the incidences of       fied squamous component in five of these alveolar/
 nonneoplastic lesions of the lung, lymph nodes, and        bronchiolar carcinomas in exposed rats was the
 adrenal medulla and neoplasms of the lung and              predominant component, highly proliferative, and
 adrenal medulla. Summaries of the incidences of            clearly neoplastic.      This pronounced squamous
 neoplasms and nonneoplastic lesions, individual            component is not typical of alveolar/bronchiolar
 animal tumor diagnoses, statistical analyses of            carcinomas arising spontaneously in nonexposed rats;
 primary neoplasms that occurred with an incidence          however, the fibrous tissue component and the
 of at least 5 % in at least one animal group, and          squamous differentiation observed in some of these
 historical incidences for the neoplasms mentioned in       neoplasms have also been observed in rats in other
 this section are presented in Appendix A for male          studies of inhaled particulates (e.g. talc; NTP,
 rats and Appendix B for female rats.                       1993a). Alveolar/bronchiolar adenoma consisted of
                                                            relatively uniform simple cuboidal or columnar
 Lung: Absolute and relative lung weights of males          epithelium arranged in papillary or pseudoalveolar
 exposed to 1.25 or 2.5 mg/m 3 and of exposed               patterns that focally distorted or replaced normal
 females were significantly greater than those of the       alveolar architecture (Plate 2).     Adenomas were
 controls at 7 months (Table F3). At 15 months,             usually visible macroscopically in histopathologic
 absolute and relative lung weights of males and            specimens. The severity of the inflammatory alter-
 females exposed to 1.25 or 2.5 mg/m 3 were signif-         ations in the lungs of exposed rats obscured the gross
 icantly greater than those of the controls (Table F4).     identification of most of these neoplasms at
 At 2 years, the incidence of alveolar/bronchiolar          necropsy.
 carcinoma in 1.25 mg/m 3 females was significantly
 greater than that of the controls (Tables 14 and B3).      One male and one female rat exposed to 2.5 mg/m 3
 There are no incidences of alveolar/bronchiolar            had a squamous cyst, and there was one instance of
 carcinoma in historical control females from inhala-       squamous metaplasia in the lung of a 0.62 mg/m 3
 tion studies, and the incidence in the 1.25 mg/m 3         male (Tables 14, A5, and B5). A squamous cyst has
 females exceeds the historical control range from          a well-differentiated, stratified squamous, epithelial
 feed studies (Tables 14 and B4a). There were               wall and a central lumen containing keratin. Squa-
 exposure-related increases in the incidences of            mous metaplasia in the lung is the focal replacement
 alveolar/bronchiolar adenoma or carcinoma (com-            of alveolar pneumocytes by well-differentiated
 bined) in males and females. The incidences of             squamous epithelium.
 alveolar/bronchiolar adenoma or carcinoma (c6m-
 bined) in 1.25 mg/m 3 males and females and                The incidence of atypical alveolar epithelial hyper-
 2.5 mg/m 3 females exceeded historical control ranges      plasia generally increased with exposure concentra-
 from inhalation studies (Tables 14, A4a, and B4a).         tion in males and females at 2 years. Both focal and
                                                            atypical alveolar epithelial hyperplasias were con-
 Alveolar/bronchiolar carcinomas had neoplastic cells       sidered a part of the morphologic continuum toward
 arranged in mixtures of alveolar, papillary, and           neoplasia.    Focal alveolar epithelial hypelrplasia
 tubular structures, and the cells often formed             consisted of foci where basophilic cuboidal epithelial
 multiple layers or solid clusters. A few carcinomas        cells, rather than type I cells, lined alveolar septa
 contained small to moderate amounts of dense               that maintained normal architecture.         Atypical
 fibrous tissue (scirrhous reaction ). A few carcino-       alveolar epithelial hyperplasia consisted of focal
 mas, particularly those with scirrhous reaction, had       hyperplasia in which lining cells had increased
 large, moderately to highly pleomorphic cells.             basophilia and less uniformity in size, shape, and
 Carcinomas with squamous differentiation consisted         alignment. Some hyperplasias occurred near foci of
 of a mixture of an alveolar/bronchiolar epithelial         inflammation, but the hyperplasia extended a consid-
 component and a stratified squamous epithelial             erable distance away from the inflammation; these
 component (Plate 1). These carcinomas presumably           were considered to be a chemical-related effect
 originated from the alveolar/bronchiolar epithelium,       separate from the inflammation.
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Results                                                                                                                63


TABLE 14
Incidences of Neoplasms and Nonneoplastic Lesions of the Lung in Rats in the 2-Year Inhalation Study
of Nickel Oxide

                                            0 mg/ma             0.62 mg/m3           1.25 mg/m3       2.5 mg/m3


Male

7-Month I n t e r i m Evaluation
 Lung a                                     6                     7                    7               7
    Inflammation, Chronicb                  3       (1.0) c       0                    7   (2.0)       7   (1.7)
    Alveolus, Pigmentation                  0                     6** (1.0)            7** (1.0)       6** (1.0)

 15-Month Interim Evaluation
 Lung                                       5                     5                    5               5
    Inflammation, Chronic                   4       (1.0)         5   (1.0)            5   (2.2)       5   (2.2)
    Alveolus, Pigmentation                  0                     5** (1.0)            5** (1.2)       5** (2.0)

 2-Year Study
 Lung                                       54                    53                  53               52
    Inflammation, Chronic                   28      (1.1)         53** (1.6)          53** (2.1)       52** (2.6)
    Alveolar Epithelium, Hyperplasia,
         Focal or Atypical                   0                    2        (2.0)       5      (1.8)    0
    Alveolar Epithelium,
         Squamous Metaplasia                 0                     1   (1.0)          0                 0
     Alveolus, Pigmentation                  1      (1.0)         53** (1.3)          53** (1.8)       52** (2.1)
     Squamous Cyst                           0                     0                   0                1

     Alveolar/bronchiolar Adenoma           0                     1                   3                2

     Alveolar/bronchiolar Carcinoma,
       Squamous Differentiation             0                     0                   2                0

     Alveolar/bronchiolar Carcinoma
      (Includes Squamous Differentiation)   0                     0                   3                2

     Alveolar/bronchiolar Adenoma
      or Carcinoma                          0                     1                   6*               4*

     Squamous Cell Carcinoma                                      0                   0                0

     Alveolar/bronchiolar Adenoma or Carcinoma or Squamous Cell Carcinoma d
         Overall ratee                       1/54 (2%)             1/53 (2%)          6/53 (11%)       4/52 (8 %)
         Adjusted ratef                      7.1%                 2.6%                27.7%            23.7%
         Terminal rateg                      1/14 (7%)            0/15 (0%)           3/15 (20%)       2/12 (17%)
         First incidence                     733 (T)              623                 567              633
         Logistic regression testh           P=0.062              P=0.760N            P=0.054          P=O.141

 Female

 7-Month Interim Evaluation
 Lung                                           7                     7                   7                6
    Inflammation, Chronic                       1   (1.0)             0                   7** (1.1)        6** (1.0)
    Alveolus, Pigmentation                      0                     5*   (1.o)          7** (1.0)        6** (1.0)

 (continued)
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 64                                                                                                       N i c k e l O x i d e , N T P T R 451



 T A B L E 14
 Incidences of Neoplasms and Nonneoplastic Lesions of the Lung in Rats in the 2-Year Inhalation Study
 of N i c k e l O x i d e (continued)

                                               0 mg/m3              0.62 mg/m3              1.25 mg/m3                  2.5 mg/m3


 Female (continued)

 15-Month Interim Evaluation
 Lung                                           5                      5                      5                          5
    Inflammation, Chronic                       3    (1.0)             4   (1.0)              5   (2.2)                  5   (2.4)
    Alveolus, Pigmentation                      0                      5** (1.0)              5** (1.2)                  5** (1.2)

 2 - Y e a r Study
 Lung                                          53                     53                     53                         54
       Inflammation, Chronic                   18    (1.1)            52** (1.7)             53** (2.4)                 54** (2.4)
       Alveolar Epithelium, Hyperplasia,
             Focal or Atypical                  2    (2.0)             1    (2.0)             6    (2.5)                 6     (1.5)
       Alveolus, Pigmentation                   0                     52** (1.7)             53** (2.1)                 54** (2.0)
       Squamous Cyst                            0                      0                      0                          1

      Alveolar/bronchiolar Adenoma
       (Multiple)                              0                      0                      0                           1

      Alveolar/bronchiolar Adenoma
       (Single or Multiple)                    1                      0                       1                         4

      Alveolar/bronchiolar Carcinoma,
       Squamous Differentiation                0                      0                      2                           1

      Alveolar/bronchiolar Carcinoma
       (Includes Squamous Differentiation)     0                      0                       5*                         1

      Alveolar/bronchiolar Adenoma or Carcinoma i
          Overall rate                        1/53 (2%)               0/53 (0%)              6/53 (11%)                  5/54 (9%)
          Adjusted rate                       4.8%                    0.0%                   24.7%                       19.2%
          Terminal rate                       1/21 (5%)               0/26 (0%)              4/20 (20%)                  5/26 (19%)
          First incidence                     729 (T)                 --J                    643                         729 (T)
          Logistic regression test            P=0.022                 P=0.457N               P=0.053                     P=0.152


 (T)Terminal sacrifice
 * Significantly different (P_<0.05) from the control group by the Fisher exact test (interim evaluations) or the logistic regression test
    (2-year study)
 ** P_<0.01
 a Number of animals with lung examined microscopically
 b Number of animals with lesion
 e Average severity grade of lesions in affected animals: 1 = minimal, 2 = mild, 3 = moderate, 4 = marked
 d Historical incidence for 2-year NTP inhalation studies with untreated control groups (mean ± standard deviation): 27/703
    (3.8% ± 3.8%); range 0%-10%. Feed studies: 39/1,200 (3.3% ± 2.0%); range 0%-8%
 e Number of animals with neoplasm per number of animals with lung examined microscopically
 f Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
 g Observed incidence in animals surviving until the end of the study
 h In the control column are the P values associated with the trend test. In the exposure group columns are the P values corresponding to
    the pairwise comparisons between the controls and that exposure group. The logistic regression test regards lesions in animals dying
    prior to terminal kill as nonfatal. A lower incidence in an exposure group is indicated by N.
 i Historical incidence for 2-year NTP inhalation studies: 8/700 (1.1% ± 1.5%); range 0%-4% (includes squamous cell carcinoma). Feed
    studies: 25/1,201 (2.1% ± 2.2%); range 0%-10%
 J Not applicable; no neoplasms in animal group
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Results                                                                                                      65


Chronic inflammation of the lung was observed in         alveolar epithelial cells (presumably of type II cells)
most exposed animals at 7 and 15 months and at           was usually seen in alveoli containing inflammatory
2 years, and the incidences in exposed males and         exudate, and was not diagnosed separately since it,
females at 2 years were significantly greater than       was a regenerative response secondary to the inflam-
those in the controls (Tables 14, A5, and B5). The       mation.    Varying amounts of parenchymal and
incidences of pigmentation in the alveoli of exposed     subpleural fibrosis were present within these inflam-
groups of males and females were significantly           matory foci and, in some cases, the fibrosis was
greater than those of the controls at 7 and 15 months    severe and had replaced much of the alveolar struc-
and at 2 years. The severity of this pigmentation        ture. Clear slit-like spaces, resembling cholesterol
generally increased with increasing exposure concen-     clefts, were sometimes present within the areas of
tration. Pigmentation in the lungs of exposed rats       fibrosis. Chronic inflammation also included one or
was finely granular and black. It was clearly related    more small discrete focal clusters of alveoli contain-
to nickel oxide exposure and could be differentiated     ing small to moderate numbers of macrophages,
from the occasional coarser granules of endogenous       occasionally mixed with a few neutrophils, and lined
golden brown to greenish-brown hemosiderin pig-          by hyperplastic epithelium. The extent, diversity,
ment. In exposed rats, most or all alveolar lumens       and intensity of the inflammatory alterations in the
contained small to moderate amounts of eosinophilic      lungs of exposed rats were clearly distinguishable
granular material or irregular aggregates of homo-       from those in the lungs of control rats.
geneous eosinophilic material (proteinosis), and in
some lungs this eosinophilic material was the pre-       Bronchial Lymph Node: Pigmentation in the
dominant component of the inflammation.                  bronchial lymph nodes similar to that in the lungs
                                                         was observed in all exposure groups with the excep-
 Chronic inflammation also included alveolar macro-      tion of 0.62 mg/m3 males and females at 7 months
 phages scattered within the lumens of many alveoli      (Tables 15, A5, and B5). As in the lung, the finely
 (Plate 3). The number of alveoli containing macro-      granular, black pigment in the bronchial lymph
 phages and the number of macrophages within             nodes was clearly related to nickel oxide exposure.
 alveoli increased with increasing severity of inflam-   Lymphoid hyperplasja was observed in the bronchial
 mation. Some alveolar macrophages resembled those       lymph nodes of 1.25 and 2.5 mg/m 3 males and
 normally seen in the lung, but most were enlarged       females at 7 and 15 months, and the incidence at
 with a moderate to abundant amount of pale vacuo-       2 years generally increased with exposure concentra-
 lated cytoplasm. Multiple focal clusters of alveoli     tion.     Lymphoid hyperplasia consisted of an
 filled with accumulations of inflammatory cells         increased number of cortical lymphocytes, often
 (macrophages sometimes mixed with small to moder-       accompanied by enlargement of the lymph node.
 ate numbers of neutrophils) and debris were seen        The lymphocytes were at different stages of differen-
 commonly, often in the periphery of the lobes           tiation and the overall architecture of the lymph node
 adjacent to the pleural surface. Hyperplasia of         was maintained.
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 66                                                                                                                    N i c k e l O x i d e , N T P T R 451



 TABLE 15
 I n c i d e n c e s o f N o n n e o p l a s t i c L e s i o n s o f the Bronchial L y m p h N o d e i n R a t s
 in the 2-Year Inhalation Study of Nickel Oxide


                                                        0 mg/m 3                0.62 mg/m 3                  1.25 mg/m 3             2.5 mg/m 3


 Male

 7-Month Interim Evaluation
 Lymph Node, Bronchiala                                 6                           7                          7                      7
    Hyperplasia, Lymphoidb                              1     (1.0) c               0                          7** (1.3)              4   (1.3)
    Pigmentation                                        0                           0                          7** (1.0)              7** (1.0)

 15-Month I n t e r i m E v a l u a t i o n
 Lymph Node, Bronchial                                  5                           5                          5                      5
    Hyperplasia, Lymphoid                               0                           0                          4* (1.3)               4* (1.0)
    Pigmentation                                        0                           5** (1.0)                  5** (1.2)              5** (1.4)

 2-Year Study
 Lymph Node, Bronchial                                 52                          51                         53                     52
    Hyperplasia, Lymphoid                               0                           7* (1.7)                  10"* (1.8)             18"* (1.6)
    Pigmentation                                        0                          45** (1.4)                 51"* (1.8)             51"* (1.8)


 Female

 7-Month Interim Evaluation
 Lymph Node, Bronchial                                  6                           7                          7                      6
    Hyperplasia, Lymphoid                               0                           0                          4* (1.0)               3   (1.0)
    Pigmentation                                        0                           0                          7** (1.0)              6** (1.0)

 15-Month Interim Evaluation
 Lymph Node, Bronchial                                   5                          5                          5                       5
    Hypetplasia, Lymphoid                                0                          0                          3   (1.0)               3   (1.0)
    Pigmentation                                         0                          4*    (1.0)                5** (1.4)               5** (1.4)

 2-Year Study
 Lymph Node, Bronchial                                  49                         50                         53                      52
    Hyperplasia, Lymphoid                                1     (4.0)                5   (1.6)                 20** (1.5)              13"* (1.7)
    Pigmentation                                         0                         43** (1.5)                 52** (1.8)              47** (1.8)


 * Significantly different (P_<0.05) from the control group by the Fisher exact test (interim evaluations) or the logistic regression test
    (2-year study)
 ** P~0.01
 a Number of animals with lymph node examined microscopically
 b Number of animals with lesion
 c Average severity grade of lesions in affected animals: 1 = minimal, 2 = mild, 3 = moderate, 4 = marked
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Results                                                                                                    67


Adrenal Medulla: At 2 years, there was an expo-         pheochromocytomas invaded through the connective
sure-related increase in the incidence of benign        tissue capsule of the adrenal gland into surrounding
pheochromocytoma in males and, more significantly,      tissue. The incidence of hyperplasia in 2.5 mg/m 3
in females (Tables 16, A3, and B3). The incidence       females was significantly greater than that of the
of bilateral benign pheochromocytoma in 2.5 mg/m 3      controls. Hyperplasias are irregular packets or
females was significantly greater than that of the      clusters of medullary cells mildly altered in size,
controls. The incidence of all benign pheochromo-       shape, and/or staining but which do not distort the
cytoma in 2.5 mg/m3 females was significantly           adjacent parenchyma. Microscopically, focal medul-
greater than that in the controls and exceeded the      lary hyperplasia and pheochromocytoma form a
historical control range (Tables 16 and B4b). There     morphologic continuum. Focal preneoplastic hyper-
was also an exposure-related increase in the inci-      plasia and pheochromocytoma were mutually exclu-
dence of benign or malignant pheochromocytoma           sive diagnoses in the adrenal medulla. One or the
(combined) in males. The incidence of benign or         other of these diagnoses occurred in most adrenal
malignant pheochromocytoma (combined) in                glands of exposed male rats.
2.5 mg/m ~ males was significantly greater than that
of the controls, and the incidences in 1.25 and         Other Organs:         There was an exposure-related
2.5 mg/m 3 males exceeded the historical control        decrease in the incidence of pituitary gland adenoma
range (Tables 16 and A4b). Benign pheochromo-           in males (24/53, 18/52, 16/52, 12/52; Table A3).
cytomas are discrete clusters, sheets, or broad         There was an exposure-related increase in the inci-
trabeculae of medullary cells (Plate 4). They range     dence of interstitial cell adenoma in the testes of
in size from those that merely compress adjacent        males (40/54, 46/53, 43/53, 47/52; Table A3). Very
tissue to those that expand to replace not only the     high incidences of pituitary gland neoplasms and
adrenal medulla, but also the adrenal cortex, even to   testicular interstitial cell neoplasms occur spontane-
causing gross enlargement of the organ. Malignant       ously in F344/N rats in 2-year studies.
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 68                                                                                         Nickel O x i d e , N T P T R 451



 TABLE 16
 Incidences of Neoplasms and Nonneoplastic Lesions of the Adrenal Medulla in Rats
 in the 2-Year Inhalation Study of Nickel Oxide

                                               0 mg/m3       0.62 mg/m3        1.25 mg/m3               2.5 mg/m3


 Male

 15-Month I n t e r i m Evaluation
 Adrenal Medulla a                             5              5                 5                        5
    Hyperplasia b                              0              0                 1    (2.0) c             2    (3.0)

      Pheochromocytoma Benign                  0              0                 2                        0

 2-Year Study
 Adrenal Medulla                               54             52                53                      52
     Hyperplasia                               25   (2.2)     27   (2.1)        26   (2.6)              24    (2.5)

      Pheochromocytoma Benign, Bilateral       10             11                9                        16

      Pheochromocytoma Benign (Includes Bilateral)
         Overall rated                        27/54 (50%)     24/52 (46%)       26/53 (49%)             32/52 (62%)
         Adjusted ratee                       81.8 %          69.3 %            83.1%                   93.8 %
         Terminal rate f                      9/14 (64%)      6/15 (40%)        10/15 (67%)             10/12 (83%)
         First incidence (day s)              475             570               519                     553
         Logistic regression testg            P=0.041         P=0.348N          P=0.561N                P=0.095

      Pheochromocytoma Malignant
         Overall rate                          0/54 (0%)      0/52 (0%)         1/53 (2%)               6/52 (12%)
         Adjusted rate                         0.0%           0.0%              2.8 %                   33.9%
         Terminal rate                         0/14 (0%)      0/15 (0%)         0/15 (0%)               3/12 (25%)
         First incidence                       _h             _                 619                     467
         Logistic regression test              P < 0.001      --                P = 0.499               P=0.015
                                           •




      Pheochromocytoma Benign or Malignant l
         Overall rate                          27/54 (50%)    24/52 (46%)       27/53 (51%)              35/52 (67%)
         Adjusted rate                         81.8 %         69.3 %            83.6 %                   97.0%
         Terminal rate                         9/14 (64%)     6/15 (40%)        10/15 (67%)              11/12 (92%)
          First incidence                      475            570               519                      467
          Logistic regression test             P=0.O08        P=0.348N          P=0.521                  P=0.027

 (continued)
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Results                                                                                                                                         69



TABLE 16
I n c i d e n c e s o f N e o p l a s m s a n d N o n n e o p l a s t i c Lesions of the A d r e n a l M e d u l l a in R a t s
in ..the 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                         0 mg/m 3                  0.62 mg/m 3               1.25 mg/m 3          2.5 mg/m 3


Female

15-Month I n t e r i m Evaluation
Adrenal Medulla                                           5                           5                        5                   5
    Hyperplasia                                           1     (1.0)                 0                        1     (1.0)         0

2-Year Study
Adrenal Medulla                                          51                          52                       53                  53
    Hyperplasia                                           8     (1.3)                12    (2.3)              14     (2.3)        22** (2.5)

     Pheochromocytoma Benign, Bilateral                  1                           0                         1                  5

     Pheochromocytoma Benign (Includes Bilateral)j
        • Overall rate                       4/51 (8 %)                              7/52 (13%)               6/53 (11%)          18/53 (34%)
          Adjusted rate                      15.1%                                   21.1 %                   22.0%               56.5%
          Terminal rate                      2/21 (10%)                              3/25 (12%)               2/20 (10%)          13/26 (50%)
          First incidence                    558                                     524                      611                 519
          Logistic regression tes.t          P < 0.001                               P=0.288                  P=0.385             P=0.001


** Significantly different (P ~0.01) from the control group by" the logistic regression test
a Number of animals with adrenal medulla examined microscopically
b Number of animals with lesion
c Average severity grade of lesions in affected animals: 1 = minimal, 2 = mild, 3 = moderate, 4 = marked
d Number of animals with neoplasm per number of animals with adrenal medulla examined microscopically
e Kaplan:Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
f Observed incidence in animals surviving until the end of the study
g In the control column are the P values associated with the trend test. In the exposure group columns are the P values corresponding to
   the pairwise comparisons between the controls and that exposure group. The logistic regression test regards lesions in animals dying
   prior to terminal kill as nonfatal. A lower incidence in an exposure group is indicated by N.
h Not applicable; no neoplasms in animal group
i Historical incidence for 2-year NTP inhalation studies with untreated control groups (mean ± standard deviation): 176/623
   (28.3% 5: 12.0%); range 8%-50%. Feed studies: 400/1,182 (33.8% 5: 10.9%); range 14%-63%
J Historical incidence for 2-year NTP inhalation studies: 35/608 (5.8% 5: 4.9%); range 0%-14%. Feed studies: 49/1,175
   (4.2% 5: 2.5%); range 0%-8%
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 Tissue Burden Analyses
 Nickel concentrations in the lung of exposed rats                       the absolute lung weights of 1.25 and 2.5 mg/m 3
 were significantly greater than those in the controls                   males and females in the lung burden groups were
 at 7 and 15 months, and nickel concentration                            significantly greater than those of the controls; also,
 increased with increasing exposure concentration and                    the absolute lung weight of 0.62 mg/m 3 females was
 with time (Tables 17 and H4). At 7 and 15 months,                       greater than that of the controls at 7 months.



 TABLE 17
 Lung Weight and Lung Burden in Rats in the 2-Year Inhalation Study of Nickel Oxide a

                                             0 mg/m a              0.62 m g / m 3          1.25 m g / m 3          2.5 m g / m 3



 Male

 n                                                 6                      7                       7                       7
 7-Month Interim Evaluation
      Absolute lung wt (g) -.                1.72 ± 0.07             1.85 ± 0.07            2.43 ± 0.11"*           2.59 ± 0.06**
      #g Ni/lung                                  _b                  326 ± 29.6**           930 ± 21.3"*          1,817 ± 68.6**
      #g Ni/g lung                                --                  175 ± 10.6"*           388 ± 18.7"*            701 ± 24.1"*
      #g Ni/g control lung                        --                  189 ± 17.2"*           541 ± 12.4"*          1,057 ± 39.9**

 n                                                 5                      5                       5                       5
 15-Month Interim Evaluation
      Absolute lung wt (g)                   2.20 ± 0.04            2.15 ± 0.10             3.30 ± 0.16"*           4.09 ± 0.12"*
      #g Ni/lung                                  --                 696 ± 41.6"*          2,439 ± 71.9"*          4,573 ± 485.4**
      pg Ni/g lung                                --                 328 ± 30.2**            746 ± 46.6**          1,116 ± 108.2"*
      #g Ni/g control lung                        --                 317 ± 18.9"*          1,110 ± 32.7**          2,082 ± 221.1"*



 Female

 n                                                 7                      7                       7                       6
 7-Month Interim Evaluation
      Absolute lung wt (g)                   1.14 ± 0.03             1.31 ± 0.03*           1.65 ± 0.07**           1.78 ± 0.08**
      #g Ni/lung                                  --                 226 ± 13.3"*           792 ± 86.5**           1,279 ± 132.2"*
      #g Ni/g lung                                --                  173 ± I0.1"*          477 ± 4 4 . 4 * *        713 ± 45.2**
      #g Ni/g control lung                        --                  198 ± 11.7"*           694 ± 75.8**          1,122 ± 115.9"*

 n                                                 5                      5                       5                       5
 15-Month Interim Evaluation
      Absolute lung wt (g)                   1.56 ± 0.11             1.79 ± 0.10            2.41 ± 0.11"*           3.02 ± 0.13"*
      pg Ni/iung                                  --                 471 ± 42.5**          1,703 ± 140.5"*         2,810 ± 389.1"*
      #g Ni/g lung                                --                 262 5: 14.8"*           706 ± 41.8"*             9 4 9 ± 146.4"*
      #g Ni/g control lung                        --                  302 ± 27.3**         1,093 ± 90.2**          1 , 8 0 4 ± 249.7**



 * Significantly different (P_<0.05) from the control group by Williams' test (lung weight) or Shirley's test (lung burden parameters)
 ** P_<0.01
 a Mean ± standard error
 b Results were below 0.540 #g Ni (the limit Of detection) for 7-month males, 0.660 #g Ni for 7-month females, or 0.450 #g Ni for
    15-month males and females, or below the level of quantitation.
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Results                                                                                                                               71



MICE
16-DAY STUDY
One male mouse exposed to 5 mg/m 3 died on the last                  mean body weights and mean body weight gains of
day of the study (Table 18); this death was not                      exposed male and female mice were similar to those
considered to be chemical related. Except for a                      of controls. No clinical findings in any group were
slight body weight loss in 30 mg/m 3 males, final                    related to nickel oxide exposure.



TABLE 18
Survival and Body Weights of Mice in the 16-Day inhalation Study of Nickel Oxide

                                                            Mean Body Weight b (g)                                Final W e i g h t
        Dose          Survivala             Initial               Final                     Change             Relative to C o n t r o l s
       (mg/m3)                                                                                                          (%)



Male

        0                 5/5             22.6 5:0.2               23.9 5:0.8                1.3 5:0.6
        1.2               5/5             23.6 5:0.2               23.9 5:0.5                0.3 5:0.5                   I00
        2.5               5/5             22.6 5:0.4               23.8 ± 0.7                1.2 5:0.7                   100
        5                 4/5 c           22.6 5:0.5               23.3 5:0.5                1.1 5:0.4                    98
       10                 5/5             22.6 5:1.2               24.4 5:0.8                1.8 5:0.4                   102
       30                 5/5             22.4 5:0.5               22.3 ± 0.4             - 0 . 1 5:0.5                   94

Female

        0                  5/5            18.2 5:0.4               20.2 5:0.5               2.0 5:0.6
        1.2                5/5            18.2 ± 0.2               20.2 5:0.2               2.0 5:0.3                     100
        2.5                5/5            18.4 ± 0.5               19.4 ± 0.6               1.0 5:0.7                      96
        5                  5/5            17.6 5:0.5               20.2 5:0.3               2.6 ± 0.3                     100
       10                  5/5            17.2 5:0.4               19.2 5:0.3               2.0 5:0.2                      95
       30                  5/5            18.4 5:0.2               19.3 5:0.3               0.9 5:0.1                      95


a Number of animals surviving at 16 days/number initially in group
b Weights and weight changes are given as mean 5: standard error. Subsequent calculations are based on animals surviving to the end of
  the study. Differences from the control group were not significant by Dunnett's test.
c Day of death: 16
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  There were no chemical-related organ weight                        well as extracellularly within the alveolar spaces. At
  changes (Table F5). At necropsy, chemical-related                  the lower exposure concentrations, histopathologic
  gross lesions were limited to a slight enlargement of              changes in the lungs were limited to accumulation of
  the bronchial lymph nodes in two males and two                     alveolar macrophages and the presence of pigment
  females exposed to 30 mg/m3; in one male exposed                   particles.    No chemical-related histopathologic
  to 30 mg/m 3, there was a solitary gray focus on the               changes were observed in the lungs of mice exposed
  right intermediate lung lobe. Microscopically, the                 to 1.2 mg/m 3.
  lymph node enlargement was attributed to lymphoid
  hyperplasia. .Histopathologic changes were also
                                                                     Concentrations of nickel in the lung increased with
  present in the lungs (Table 19). In most mice
                                                                     exposure concentration and were significantly greater
  exposed to 30 mg/m 3, there were inflammatory cell
                                                                     than those of the controls in 1.2, 2.5, and 5 mg/m 3
  infiltrates in the pulmonary interstitium, primarily
                                                                     males and females (Tables 20 and I1).
  around blood vessels, and an increase in the number
  of alveolar macrophages in the lung. These inflam-
  matory lesions were most prominent in the gray                     Because of the severity of lung lesions in mice
  focus observed grossly in one male mouse. Pigment,                 exposed to 30 mg/m 3, 10 mg/m 3 was selected as the
  consisting of densely stained, black particles, was                highest exposure concentration for the 13-week
  present in the cytoplasm of alveolar macrophages as                study.



  TABLE 19
  Incidences of Sdected Nonneoplastic Lesions in Mice in the 16-Day Inhalation Study of Nickel Oxide

                                      0 mg/m 3       1.2 m g / m 3   2.5 m g / m 3     5 mg/m 3         10 m g / m 3   30 m g / m 3



  Male

  Lung a                                5            5               5                 5                5              5
    Alveolar Macrophage Hyperplasiab    0            0               0                 0                5** (1.0) c    5** (2.6)
    Interstitial Infiltrate             0            0               0                 0                0              5** (2.8)
    Pigment                             0            0               4*    (1.0)       5** (1.0)        5** (2.0)      5** (3.0)

  Lymph Node, Bronchial                 3            -- d                                               3              4
    Hyperplasia                         0                                                               0              2     (2.5)



  Female

  Lung                                  5            5               5                 5                5              5
    Alveolar Macrophage Hyperplasia     0            0               0                 0                3   (1.0)      5** (2.0)
    Interstitial Infiltrate             1   (1.0)    0               0                 1   (1.0)        0              4   (1.3)
    Pigment                             0            0               3     (1.0)       5** (1.0)        5** (1.8)      5** (2.2)

  Lymph Node, Bronchial                 2            --              --                --               3              4
    Hyperplasia                         0                                                               0              2     (2.0)



  * Significantly different (P_<0.05) from the control group by the Fisher exact test
  ** P<_0.01
  a Number of animals with organ examined microscopically
  b Number of animals with lesion
  c Average severity of lesions in affected animals: 1 = minimal; 2 = mild; 3 = moderate; 4 = marked
  d Tissue not examined at this exposure concentration
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Results                                                                                                                                    73


TABLE 20
Lung    Weight     and Lung      Burden     in Mice in the 16-Day Inhalation            Study of Nickel Oxide a


                                              0 mg/m 3               1.2 m g / m 3           2.5 mg/m 3               5 mg/m 3



n                                                   5                      5                       5                        5

Male

Absolute lung wt (g)                        0.159 ± 0.005           0.154 ± 0.009           0.156 ± 0.003            0.156 ± 0.010
#g Ni/lung                                        _b                    5 ± 0.1"*               7 ± 0.5**               13 ± 0.7**
#g Ni/g lung                                      --                   32 ± 2.4**              46 ± 3.6**               84 ± 7.8**
~g Ni/g control lung                              --                   31 ± 0.8**              45 ± 3.1"*               81 ± 4.5**


 Female

Absolute lung wt (g)                        0.149 ± 0.006           0.133 ± 0.004           0.141 ± 0.006            0.168 ::t: 0.006
~g Ni/lung                                        --                    4 ± 0.2**               6 ± 0.4**               12 ± 0.8**
~g Ni/g lung                                      --                   31 ± 2.1"*              43 ± 0.9**               71 ± 5.7**
#g Ni/g control lung                              --                   27 ± 1.3"*              41 ± 2.5**               80 ± 5.7**



 ** Significantly different (P <_0.01) from the control group by Dunnett's test (lung weight) or Shirley's test (lung burden parameters)
 a Mean :1: standard error
 b Results were below 0.213 ~g Ni (the limit of detection), or below the level of quantitation.
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 1 3 - W E E K STUDY                                                   13 weeks. The mice were less affected than the rats,
 One control female, three 1.2 mg/m 3 females, one                     and minimal differences occurred in fewer end points
 10 mg/m 3 male, and one l0 mg/m 3 female died                         and exposure groups.        Minimal lymphocytosis
 during the study (Table 21). None of these deaths                     occurred, indicated by a lymphocyte count in
 wcrc considered to bc related to nickel oxide expo-                   10 mg/m 3 males that was greater than that of the
 sure. Final mean body weights and mean body                           controls. Hematocrit values and erythrocyte counts
 weight gains of exposed male and female mice were                     in 5 and 10 mg/m 3 females and hemoglobin con-
 similar to those of the controls, and no clinical                     centration in 5 mg/m 3 females were minimally
 findings in any group were related to nickel oxide                    greater than those of the controls.
 exposure.
                                                                       No significant differences in sperm morphology or
 In general, hematology differences in the mice                        vaginal cytology between control and exposed mice
 (Table G3) were similar to those reported for rats at                 were observed (Table J2).


 TABLE 21
 Survival and Body Weights of Mice in the 13-Week Inhalation Study of Nickel Oxide

                                                            Mean Body Weight b (g)                                 Final Weight
         Dose          Survival a            Initial              Final                     Change              Relative to Controls
        (mg/m~)                                                                                                          (%)


 Male

         0               10/10             23.0 ::t: 0.9            32.4 ± 0.4              9.4 ± 0.7
         0.6             10/10             23.7 ± 0.3               32.6 5 : 0 . 6          8.9 ± 0.5                    101
         1.2             10/10             23.5 ± 0.4               32.0 :t: 0.3            8.5 ± 0.4                     99
         2.5             I0/10             23.7 ± 0.5               31.4 ± 0.5              7.7 ± 0.6                     97
         5               10/10             22.5 ± 0.7               31.7 =1:0.9             9.2:5:0.8                     98
        10                9/10 c           23.4 5 : 0 . 4           31.3 :t: 0.6            7.7:5:0.7                     97


 Female

         0                9/10 d           19.8 ± 0.4               28.8 ± 0.5              9.0 ± 0.8
         0.6             10/10             19.9 ± 0.6               27.9 5 : 0 . 6          8.0 ± 0.8                     97
         1.2              7/10 e           19.5 ± 0.4               28.7 ± 1.0              9.4 ::t:: 1.2                100
         2.5             10/10             20.3 ± 0.5               27.6 :t: 0.8            7.3 ± 0.5                     96
         5               10/10             19.6:5:0.6               27.0 ± 0.7              7.4 ± 0.6                     94
        10                9/10 f           20.3 ± 0.5               28.1 5 : 0 . 5          7.9 ::t: 0.2                  97



 a Numberof animalssurvivingat 13 weeks/numberinitiallyin group
 b Weights and weight changes are given as mean ± standard error. Subsequent calculations are based on animals surviving to the end of
   the study. Differences from the control group w e r e n o t significant by Dunnett's test.
 e Week of death: 4
 d Week of death: 6
 e Week of death: 2, 2 , 2
 f Week of death: 8
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Results                                                                                                     75


Absolute and relative lung weights of 10 mg/m 3          the lungs of mice. At 0.6, 1.2, and 2.5 mg/m 3,
males and females and the relative lung weight of        there was a minimally detectable increase in the
5 mg/m 3 females were significantly greater than         number of macrophages within the alveolar spaces.
those of the controls (Table F6). Absolute and           Pigment particles were present in the cytoplasm of
relative liver weights of 10 mg/m ~ males and relative   alveolar macrophages as well as extracellularly
liver weight of 5 mg/m 3 males were significantly less   within the alveolar spaces. At 5 and 10 mg/m 3, the
than those of the controls. At necropsy, chemical-       severity and spectrum of inflammatory changes in
related gross lesions were limited to a mild enlarge-    the lung were slightly increased.        Inflammatory
merit of the bronchial lymph nodes in four males and     lesions included interstitial infiltrates of primarily
six females exposed to 10 mg/m 3. Three males and        lymphocytes around blood vessels and chronic active
three females exposed to 5 mg/m 3 had similar gross      inflammation characterized by a mild thickening of
lesions; enlarged lymph nodes were also observed in      alveolar septa with a mixture of neutrophils and
four 2.5 mg/m 3 females. Chemical-related histo-         mononuclear inflammatory ceils and a few fibro-
pathologic lesions were present in the lungs and         blasts. Granulomatous inflammation also occurred
bronchial lymph nodes (Table 22). Microscopically,       in a few mice exposed to 10 mg/m 3 and consisted of
the lymph node enlargement was usually attributed to     scattered, focal aggregates of large, epithelioid
lymphoid hyperplasia characterized by an increase in     macrophages.
the number of lymphocytes, primarily in the para-
cortical areas of the lymph nodes. Lymphoid hyper-
plasia was present in mice exposed to 2.5, 5, or         At the end of the 13-week study, nickel concentra-
 10 mg/m 3. Densely stained, black pigment particles     tions in the lung of 0.6, 2.5, and 10 mg/m 3 males
and aggregates of these pigment particles were           were significantly greater than that in the controls,
present in the lymph nodes of 2.5, 5, and 10 mg/m 3      and absolute lung weight of these I0 mg/m 3 males
males and females.        There were exposure- and       was significantly greater than that of the controls
 chemical-related inflammatory lesions and pigment in    (Tables 23 and 12).
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 TABLE22
 Incidences of Selected NonneoplasticLesions in Mice in the 13-Week Inhalation Study of Nickel Oxide

                                      0 mg/m 3     0.6 m g / m 3    1.2 m g / m 3    2.5 m g / m 3     5 mg/m 3      10 m g / m 3



 Male

 Lung a                                10          10               10               10                10            9
   Alveolar Macrophage Hyperplasia b 0             10"* (1.0) c     10"* (1.0)       10"* (1.0)        10"* (1.0)    9** (1.1)
   Inflammation, Chronic Active        0           0                0                0                 0             3   (1.0)
   Inflammation, Granulomatous         0           0                0                0                 0             3   (1.0)
   Perivascular Lymphocytic Infiltrate 0           0                0                 1 (1.0)          3    (1.0)    8** (1.0)
    Pigment                            0           10"* (1.0)       10"* (1.0)       10"* (1.0)        10"* (1.0)    9** (1.0)

 Lymph Node, Bronchial                    7        10               6                8                  6            7
   Hyperplasia                            0        0                0                1    (1.0)         3   (1.0)    5** (1.3)
   Pigment                                0        0                0                5*   (1.0)         5** (1.0)    6** (1.0)


 Female

 Lung                                     9        10               7                10                10             9
   Alveolar Macrophage Hyperplasia        0        10"* (1.0)       7** (1.0)        10"* (1.0)        10"* (1.1)     9** (1.0)
    Inflammation, Chronic Active          0         0               0                 0                 1   (1.0)     3   (1.1)
    Inflammation, Granulomatous           0         0               0                 0                 0             1   (1.0)
    Perivascular Lymphocytic Infiltrate   0   •
                                                    1 (1.0)         0                 4   (1.0)         6** (1.1)     8** (1.1)
    Pigment                               0        10"* (1.0)       7** (1.0)        10"* (1.0)        10"* (1.0)     9** (1.0)

 Lymph Node, Bronchial                    8        9                4                10                 10            9
   Hyperplasia                            0        0                0                4    (1.0)          3   (1.0)    7** (1.3)
   Pigment                                0        0                0                 8** (1.0)          8** (1.0)    8** (1.0)


 * Significantly different (P_<0.05). from the control group by the Fisher exact test
 ** P_<0.01
 a Number of animals with organ examined microscopically
 b Number of animals with lesion
 c Average severity of lesions in affected animals: 1 = minimal; 2 = mild; 3 = moderate; 4 = marked
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Results                                                                                                                                  77


TABLE 23
Lung Weight and Lung Burden in Male Mice in the 13-Week Inhalation Study of Nickel o x i d e a

                                             0 mg/m3               0.6 mg/m3               2.5 mg/m3               10 mg/m3


Male

n                                                 6                       5                      6                        5

Absolute lung weight (g)                   0.176 ± 0.012           0.179 ± 0.004          0.179 5:0.014           0.244 5: 0.019"*
#g Ni/lung                                       _b                    7 ± 0.6**             36 5: 3.3**            171 5: 15.5"*
#g Ni/g lung                                     --                   42 ± 2.9**            202 ± 18.3"*            736 5: 123.0"*
/zg Ni/g control lung                            --                   42 5: 3.4**           204 ± 18.9"*            973 ± 88.0**


** Significantlydifferent (P _<0.01) from the control group by Dunnett's test (lung weight) or Shirley's test (lung burden parameters)
a Mean ± standard error
b Results were below 0.255/~g Ni (the limit of detection), or below the level of quantitation.




Dose Selection Rationale:               Based o n the wider              mice in the 13-week study, nickel oxide exposure
spectrum o f i n f l a m m a t o r y lesions in the lung and             concentrations selected for the 2 - y e a r i n h a l a t i o n
increased lung weights in 10 m g / m 3 male and female                   study in mice were 1.25, 2.5, and 5 m g / m 3.
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 2-Y .AR STUDY                                                             of the controls throughout most of the study
 Survival                                                                  (Tables 25 and 26 and Figure 5). Mean body
 Estimates of 2-year survival probabilities for male                       weights of females exposed to 5 mg/m 3 were less
 and female mice are shown in Table 24 and in the                          than those of the controls during the second year of
 Kaplan-Meier survival curves in Figure 4. Survival                        the study. No chemical-related clinical findings were
 of exposed male and female mice was similar to that                       observed in male or female mice during the 2-year
 of the controls.                                                          study.

                                                                           Hematology
 Body Weights and Clinical Findings .                                     .No chemical-related differences in hematology
 Mean body weights of exposed males and of females                         parameters were observed in male or female mice at
 exposed to 1.25 or 2.5 mg/m 3 were similar to those                       the 15-month interim evaluation (Table G4).


 TABLE 24
 Survival of Mice in the 2-Year Inhalation Study of Nickd Oxide

                                                              0 mg/m 3            1.25 m g / m 3        2.5 m g / m 3            5 mg/m3




 Animals initially in study                                      78                     77                   76                       79

 7-Month interim evaluation a                                     5                     5                     5                       5
 15-Month interim evaluation a                                    5                     5                     5                       5
 Accidental deaths a                                             10                     0                     0                       0
 Missexeda                                                        1                     0                     0                       0
 Moribund                                                        23                    26                    26                      29
 Natural deaths                                                  15                    18                    11                      17
 Animals surviving to study termination                          19                    23                    29                      23
 Percent probability of survival at end of studyb                33                    34                    44                      33
 Mean survival (days) ¢                                         526                   605                   649                     612

 Survival analysisd                                     P=0.830N               P=0.942N              P=0.188N              P = 0 . 9 3 IN

 Female
 Animals initially in study                                      74                     76                   74                       75

 7-Month interim evaluation a                                     5                     5                     5                       5
 15-Month interim evaluationa                                     5                     5                     5                       5
 Accidental deaths a                                              1                     0                     1                       0
 Pregnant/Missexeda                                               0                     0                     1                       1
 Moribund                                                        15                    18                     9                      16
 Natural deaths                                                   7                     8                    11                      10
 Animals surviving to study termination                          41 e                  40 f                  42                      38
 Percent probability of survival at end of study                 65                    61                    68                      59
 Mean survival (days)                                           621                   665                   640                     662

 Survival analysis                                        P=0.763                P=0.854             P=0.877N                 P=0.735



 a Censored from survival analyses
 b Kaplan-Meier determinations based on the number of animals alive on the first day of terminal sacrifice
 c Mean of all deaths (uncensored, censored, and terminal sacrifice)
 o The result of the life table trend test (Tarone, 1975) is in the control column, and the results of the life table pairwise comparisons (Cox,
   1972) with the controls are in the exposed columns. A negative trend or a lower mortality in an exposure group is indicated by N.
 e Includes one animal that died during the last week of the study.
 f Includes two animals that died during the last week of the study.
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Results                                                                                                                                                                  79




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                                                                               WEEKS ON STUDY




          FIGURE 4
          Kaplan-Meier Survival Curves for Mice Administered Nickel Oxide by Inhalation
          for 2 Years
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 T A B L E 25
 M e a n B o d y W e i g h t s a n d S u r v i v a l o f M a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k d    Oxide a


 Weeks               0 mg/m3                            1.25 mg/m 3                              2.5 mg/m 3                               5 mg/m 3
  on            Av. Wt.     No. of               Av. Wt. Wt. (% of No. of               Av. Wt. Wt. (% of No. of                Av. Wt. Wt. (% of No. of
 Study           (g)      Survivors                (g)   controls) Survivors              (g)   controls) Survivors              (g)    controls) Survivors


        1       23.8                79            23.6          99           80          23.4            98         80           23.4           98          80
        2       25.9                78            26.0         100           80          26.0           100         80           25.7           99          80
        3       27.4                78            27.6         101           80          27.4           100         80           27.4          100          80
        4       27.7                78            28.0         101           79          27.8           100         80           28.2          102          79
        5       28.1                78            28.2         100           79          28.3           101         80           28.7          102          79
        6       29.9                78            29.6          99           79          29.7            99         80           30.1          101          79
        7       30.7                78            30.2          98           79          30.0            98         80           30.6          100          79
        8       30.5                78            30.4         100           79          30.4           100         80           30.7          101          79
       10       31.2                78            31.0          99           79          30.9            99         80           31.3          100          79
       11       31.9                68            30.9          97           79          31.4            98         80           31.9          100          79
       12       31.6                68            31.1          98           79          31.3            99         80           31.9          101          79
       13       32.2                68            31.9          99           79          31.6            98         80           32.7          102          79
       17       33.5                68            33.3          99           78          33.4           100         80           34.0          102          79
      21        34.8                68            34.6          99           77          34.5            99         80           35.3          101          78
       25       36.1                65            35.5          98           76          35.6            99         79           35.9           99          78
       29 b     36.5                60            35.7          98           71          35.9            98         74           36.9          101          72
       33       37.4                60            37.0          99           70          37.3           100         74           38.0          102          71
       37       38.7                60            37.7          97           70          38.0            98         73           38.3           99          70
       41       39.2                60            38.2          97           70          38.4            98         73           39.1          100          69
       45       39.0                59            38.4          99           68          38.6            99         73           39.5          101          69
       49       40.0                58            39.1          98           67          39.2            98         73           40.0          100          68
       53       40.9                58            39.8          97           67          40.5            99         71           40.9          100          68
       57       41.4                57            40.5          98           67          40.7            98         71           40.9           99          68
       61       41.4                57            41.0          99           67          41.8           101         71           41.8          101          67
       65       42.2                56            41.0          97           65          41.9            99         71           41.7           99          65
       69 b     42.6                50            41.6          98           58          41.4            97         62           41.9           98          59
       73       42.4                49            40.5          96           55          41.4            98         61           41.6           98          56
       77       42.0                47            40.2          96           54          40.9            97         60           41.0           98          55
       81       42.2                44             39.5         94           51          40.9            97         55           40.6           96          52
       85       41.7                 41            39.5         95           49          40.8             98        54           40.4           97          48
       89        42.3                36            39.2         93           44          40.2             95        52           40.1           95          43
       93       41.6                 31           38.5          93            39         39.4            95         49           38.7           93          41
       97       41.4                 27            38.0         92            35          38.8            94        42           38.9           94          36
      101        41.2                24            38.2          93           31          38.2            93         37           38.2           93          30


  Mean for weeks
  1-13           29.2                              29.0          99                       29.0            99                      29.4          I01
  14-52          37.2                              36.6          98                       36.8            99                      37.4          101
  53-101         41.8                              39.8          95                       40.5            97                      40.5           97


  a A few animals in each exposure group were used only in special studies.
  b Interim evaluations occurred during weeks 29 and 66.
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Results                                                                                                                                                    81



TABLE 26
M e a n B o d y W e i g h t s a n d S u r v i v a l o f F e m a l e M i c e in the 2-Year I n h a l a t i o n S t u d y o f N i c k e l O x i d e a


Weeks              0 mg/m3                           1.25 mg/m3                              2;5. mg/m~                              5 mg/m3
  on          Av. Wt.     No. of              Av. Wt. Wt. (% of No. of              Av. Wt. Wt. (% of No. of              Av. wt. wt. (% of No. of
Study          (g)      Survivors               (g)   controls) Survivors            (g)    controls) Survivors            (g)    controls) Survivors


     1         19.3               80           19.5        101           80          19.0           98        80           18.9           98          80
     2         21.2               79           21.8        103           80          21.0           99        80           21.1          100          80
     3         22.3               78           23.1        104           80          22.7          102        78           22.8          102          80
     4         22.3               77           23.7        106           80          23.3          105        78           23.6          106          80
     5         23.3               76           24.0        103           80          23.6          101        78           23.8          102          80
     6         25.3               76           25.6        101           80          25.2          100        77           25.4          100          80
     7         26.1               76           26.1        100           79          25.7           99        77           26.1          100          80
     8         26.2               76           26.5        101           79          25.9           99        77           25.5           97          80
    10         26.7               76           27.1        102           79          26.1           98        75           26.6          100          80
   11          27.4               76           26.9          98          79          26.8           98        75           27.4          100          79
    12         27.3               76           26.9          99          79          26.8           98        75           27.2          100          79
    13         27.8               76           27.8        100           79          27.3           98        75           27.9          100          79
    17         29.4               74           29.9        102           79          28.9           98        75           29.3          100          79
    21         30.3               73           31.1        103           79          30.4          100        75           30.9          102          78
    25         31.6               73           32.0        101           78          31.7          100        75           31.6          100          78
    29 b       33.0               68           33.0        100           73          31.9           97        70           32.3           98          73
    33         34.6               67           34.1          99          72          33.8           98        70           33.7           97          73
    37         35.7               67           35.2          99          72          34.2           96        70           34.6           97          73
    41         36.5               67           35.7          98          72          34.8           95        70           35.6           98          73
    45         36.7               67           36.2         .99          72          35.6           97        70           36.4          100          72
    49         37.7               67           37.5        I00           71          36.5           97        67           36.6           97          72
    53         39.0               66           38.6         99           71          38.0           97        67           37.5           96          72
    57         39.4               66           39.1          99          71          37.9           96        67           37.0           94          72
    61         39.7               66           39.7        100           71          38.6           97        ~7           38.0           96          71
    65         40.6               66           39.8          98          71          39.5           97        66           38.0           94          71
    69 b       41.4               61           40.8          99          65          39.0           94        61           39.4           95          65
    73         40.7               61           39.6          97          65          38.9           96        61           38.9           96          62
    77         40.5               60           39.3          97          64          38.8           96        60           38.5           95          61
    81         40.3               58           38.1          95          63          38.3           95        60           37.5           93          61
    85         39.3               57           37.8          96          61          38.1           97        56           36.8           94          60
    89         39.3               54           37.7          96          58          38.1           97        56           35.3           90          56
    93         39.2               52           37.2          95          55          37.2           95        54           34.6           88          53
    97         38.2               52           36.4          95          52          36.6           96        49           35.5           93          49
   101         38.3               49           36.7          96          47          36.0           94        48           34.5           90          46


Mean for weeks
1-13           24.6                            24.9        101                       24.5          100                     24.7          100
14-52          33.9                            33.9        100                       33.1           98                     33.4           99
53-101         39.7                            38.5         97                       38.1           96                     37.0           93


a A few animals in each exposure group were used only in special studies.
b Interim evaluations occurred during weeks 29 and 66.
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                                                                                                                  WEEKSON STUDY




           FIGURE 5
           Growth Curves for Mice Administered Nickel Oxide by Inhalation for 2 Years
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Results                                                                                                       83


Pathology and Statistical Analyses                        The severity of chronic inflammation .increased with
This section describes the statistically significant or   increasing exposure concentration in females, and
biologically noteworthy changes in the incidences of      proteinosis was most severe in 5 mg/m 3 males and
nonneoplastic lesions of the lung, lymph nodes, and       females. Chronic inflammation included small to
urogenital tract and neoplasms of the lung, liver, and    moderate numbers of mononuclear inflammatory
harderian gland. Summaries of the incidences of           cells (principally lymphocytes, with fewer macro-
neoplasms and nonneoplastic lesions, individual           phages) around the vessels and airways; variable
animal tumor diagnoses, statistical analyses of           numbers of macrophages within alveolar spaces,
primary neoplasms that occurred with an incidence         often obscured by particulate pigment; and occasion-
of at least 5 % in at least one animal group, and         al focal aggregates of macrophages mixed with
historical incidences for the neoplasms mentioned in      lymphocytes, or rarely neutrophils, within alveolar
this section are presented in Appendix C for male         lumens. Occasionally, long, thin, brightly eosino-
mice and Appendix D for female mice.                      philic crystalline material within alveolar lumens or
                                                          airways was observed either free or within macro-
Lung: At the 7-month interim evaluation, absolute         phages (Plate 5). These crystalline structures also
and relative lung weights of males exposed to 2.5 or      occurred in a few control mice and were associated
5 mg/m 3 were significantly greater than those of the     with inflammation around pulmonary neoplasms.
controls (Table F7). At 15 months, absolute and           Bronchialization consisted of hyperplastic and/or
relative l!ang weights of 5 mg/m3 males and females       hypertrophic cuboidal epithelial cells extending from
were significantly greater than those of the controls     terminal bronchioles into alveolar ducts and adjacent
(Table F8). At 2 years, the incidence of alveolar/        proximal alveoli of nickel oxide exposed mice
bronchiolar adenoma in 2.5 mg/m 3 females was             (Plate 6). Because these cuboidal cells were not
significantly greater than that of the controls, as was   observed to have cilia and no attempts were made to
the incidence of alveolar/bronchiolar adenoma or          determine their cell of origin, the term bronchializa-
carcinoma (combined) in 1.25mg/m 3 females                tion in this study corresponds to the overall light
(Tables 27 and D3). The incidences of these neo-          microscopic appearance only. Proteinosis was an
plasms in these groups exceeded the historical            accumulation of varying amounts of eosinophilic
control ranges from NTP inhalation studies                granular to hyaline material, usually containing
(Tables 27 and D4). Alveolar/bronchiolar adenomas         pigment particles, within alveolar lumens.
were typically discrete proliferations of alveolar and
                                                          Pigment occurred in the lungs of nearly all exposed
papillary structures lined by a single layer of large
                                                          mice at 7 and 15 months and at 2 years, and the
cuboidal epithelial cells that compressed the adjacent
                                                          severity increased with increasing exposure concen-
lung parenchyma. Alveolar/bronchiolar carcinomas
                                                          tration (Tables 27, C5, and D5). Pigmentation of
were either discrete or invasive and consisted of
                                                          the lung consisted of fine, black, slightly refractile
alveolar, papillary, or tubular structures composed of
                                                          particles, either within alveolar macrophages or
densely packed atypical epithelial cells usually
                                                          adherent to proteinaceous material in the alveolar
forming multiple layers or solid clusters. Morpho-
                                                          spaces (Plate 7). Exposure-related pigment in the
logically, alveolar/bronchiolar neoplasms were
                                                          lung was distinguishable from the spontaneously
typical of spontaneously occurring neoplasms in
                                                          occurring endogenous pigment hemosiderin, Occa-
B6C3F1 mice.
                                                          sionally, pigmented macrophages were observed in
                                                          the interstitium or lymphoid tissue around airways.
Generally, incidences of chronic inflammation
increased with increasing exposure concentration in       Focal alveolar hyperplasia in the lungs secondary to
males and females at 7 and 15 months (Tables 27,          an inflammatory reaction was not separately diag-
C5, and D5). Bronchialization of minimal severity         nosed. Focal alveolar epithelial hyperplasia, part of
in exposed animals and proteinosis were first             the morphologic continuum toward neoplasia, was
observed at 15 months. At 2 years, the incidences         occasionally observed. Focal alveolar hyperplasia
of chronic inflammation, bronchialization, and            consisted of clusters of alveoii lined by a single layer
proteinosis in exposed groups of males and females        of typical type II cuboidal epithelial cells maintaining
were significantly greater than those of the controls.    normal alveolar architecture.
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 TABLE 27
 Incidences o f N e o p l a s m s and Nonneoplastic Lesions of the L u n g in M i c e in the 2 - Y e a r Inhalation Study
 of Nickel Oxide

                                              0 mg/m 3        1.25 mg/m 3           2.5 mg/m 3               5 mg/m 3


 Male
 7-Month Interim Evaluation
 Lung a                                       5                  5                    5                      5
    Inflammation, Chronicb                    0                  2   (1.0) c          3   (1.0)              3   (1.0)
    Alveolus, Pigmentation                    0                  5** (1.0)            5** (1.0)              5** (1.2)

     Alveolar/bronchiolar Adenoma             1                  0                    0                      0

 15-Month Interim Evaluation
 Lung                                         5                  5                    5                      5
    Inflammation, Chronic                     1    (1.0)         0                    2   (1.0)              4   (1.8)
    Bronchialization                          0                  1   (1.0)            0                      2   (I.0)
    Alveolar Epithelium, Hyperplasia, Focal   1    (3.0)         0                    0                      0
    Alveolus, Pigmentation                    0                  5** (1.2)            5** (1.4)              5** (2.2)
    Alveolus, Proteinosis                     0                  0                    1   (1.0)              3   (1.0)

     Alveolar/bronchiolar Adenoma             1                  0                    0                      0

 2-Year S t u d y
 Lung                                         57                67                   66                     69
    Fibrosis                                   0                 0                    0                       1    (I.0)
    Inflammation, Chronic                      0                21"* (1.4)           34** (1.4)             55** (1.4)
    Bronchialization                           0                24** (1.0)           40** (1.0)             40** (1.0)
    Alveolar Epithelium, Hyperplasia, Focal    1   (4.0)         1    (2.0)           2   (3.0)              0
    Alveolus, Pigmentation                     0                65** (1.1)           66** (1.7)             68** (2.1)
    Alveolus, Proteinosis                      0                12"* (1.2)           22** (1.5)             43** (1.8)

     Alveolar/bronchiolar Adenoma                                                                            11

     Alveolar/bronchiolar Carcinoma,
      Multiple                                0

     Alveolar/bronchiolar Carcinoma
      (Single or Multiple)                    4                 10

     Alveolar/bronchiolar Adenoma or Carcinornad
         Overall ratee                       9/57 (16%)         14/67 (21%)          15/66 (23%)             14/69 (20%)
         Adjusted ratef                      36.3%              41.4%                43.6%                   39.7%
         Terminal roteg                      5/19 (26%)         6/23 (26%)           11/29 (38%)             6/23 (26%)
         First incidefice (days)             559                512                  483                     489
         Logistic regression testh           P=0.393            P=0.322              P=0.380                 P=0.364

 Female
 7-Month Interim Evaluation
 Lung                                         5                  5                    5                       5
    Inflammation, Chronic                     0                  1    (2.0)           4* (1.0)                4* (1.3)
    Alveolus, Pigmentation                    0                  4*   (1.0)           5** (1.2)               5** (1.2)

 (continued)
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Results                                                                                                                                85


TABLE 27
Incidences of Neoplasms and Nonneoplastic Lesions of the Lung in Mice in the 2-Year Inhalation Study
of Nickel Oxide (continued)

                                               0 mg/m3               1.25 mg/m3               2.5 mg/ma               5 mg/ma


Female (continued)
 15-Month Interim Evaluation
Lung                                            5                      5                       5                      5
   Inflammation, Chronic                        0                      2     (1.5)             4* (1.0)               4* (1.3)
   Bronchialization                             0                      0                       3   (1.0)              3   (1.0)
   Alveolus, Pigmentation                       0                      4*    (1.0)             5** (1.4)              5** (2.0)
   Alveolus, Proteinosis                        0                      0                       0                      3   (1.3)
   Alveolar/bronchiolar Adenoma                 0                      0                       1                      0

2-Year Study
Lung                                           64                      66                     63                      64
   Fibrosis                                     0                       0                      1   (2.0)               3   (1.0)
   Inflammation, Chronic                        7    (1.4)             43** (1.4)             53** (1.6)              52** (1.9)
   II!flammation, Chronic Active                0                       0                      1   (2.0)               0
   Bronchialization                             0                      35** (1.0)             39** (1.0)              40** (1.0)
   Alveolar Epithelium, Hyperplasia, Focal      0                       0                      1   (2.0)               0
   Alveolus, Pigmentation                       0                      64** (1.3)             61"* (1.9)              64** (2.4)
   Alveolus, Proteinosis                        0                       8** (1.5)             17"* (1.3)              29** (1.7)

    Alveolar/bronchiolar Adenoma, Multiple     0                       2                      0                       0

     Alveolar/bronchiolar Adenoma
      (Single and Multiple)                    2                       4                      10"                     3

     Alveolar/bronchiolar Carcinoma,
      Multiple                                 0                       1                      0                       0

     Alveolar/bronchiolar Carcinoma
      (Single and Multiple)                    4                       11                     4                       5

     Alveolar/bronchiolar Adenoma or Carcinoma i
         Overall rate                        6/64 (9%)                 15/66 (23%)            12/63 (19%)             8/64 (13%)
         Adjusted rate                       13.8%                     30.8%                  25.7%                   17.4%
         Terminal rate                       4/41 (10%)                8/40 (20%)             8/42 (19%)              4/38 (11%)
         First incidence (days)              694                       583                    630                     469
         Logistic regression test            P=0.487N                  P=0.043                P=0.099                 P=0.422


 * Significantly differem (P_<0.05) from the control group by the Fisher exact test (interim evaluations) or the logistic regression test
    (2-year study)
 ** P_<0.01
 a Number of animals with lung examined microscopically
 b Number of animals with lesion
 c Average severity grade of lesions in affected animals: 1 =minimal, 2=mild, 3=moderate, 4=marked
 d Historical incidence for 2-year NTP inhalation studies with untreated control groups (mean ± sttandard deviation): 205/952
    (21.5% ± 8.0%); range 10%-42%. Feed studies: 249/1,319 (18.9% ± 7.6%); range 4%-32%
 e Number of animals with neoplasm per number of animals with lung examined microscopically
 f Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
 g Observed incidence in animals surviving until the end of the study
 h In the control column are the P values associated with the trend test. In the exposure group columns are the P values corresponding to
    the pairwise comparisons between the controls and that exposure group. The logistic regression test regards lesions in animals dying
    prior to terminal kill as nonfatal. A negative trend or a lower incidence in an exposure group is indicated by N.
 i Historical incidence for 2-year NTP inhalation studies: 97/944 (10.3% ± 3.7%); range 0%-16%. Feed studies: 102/1,319
    (7.7% ± 5.3%); range 2%-26%
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Bronchial Lymph Node:          Lymphoid hyperplasia      resulting in a mild to moderate increase in lymph
occurred in one 2.5 mg/m 3 male and one 1.25 mg/m3       node size. The lymphocytes were at different stages
female at 7 months (Tables 28, C5, and D5). At           of differentiation, and the overall architecture of the
15 months, lymphoid hyperplasia occurred in males        lymph node was maintained. Pigmentation consisted
exposed to 2.5 and 5 mg/m 3 and in all exposed           of variable numbers of discrete aggregates of fine,
groups of females. At 2 years, lymphoid hypelrplasia     black, granular material, apparently within macro-
occurred in some control animals, but this lesion was    phages, located predominantly within the medullary
still observed more often in exposed males and           area. The pigment resembled that observed in the
females and the incidence increased with exposure        lung and was clearly related to nickel oxide expo-
concentration. Pigmentation was observed in the          sure.
bronchial lymph nodes of exposed males and females
at 7 and 15 months. Pigmentation was also observed
in nearly all exposed animals at 2 years (Plate 8).      Liver: At 2 years, the incidence of hepatocellular
Pigmentation was not observed in the bronchial           carcinoma in 1.25 mg/m 3 males was significantly
lymph nodes of control males or females at any time.     greater than that of the controls (6/57, 16/67, 11/66,
The severity of these lesions appeared to be unaffect-   15/69; Table C3). However, the incidence was
ed by exposure concentration.                            within the historical control range (Table C4b) and
                                                         the incidence of adenoma or carcinoma (combined)
 Lymphoid hyperplasia was characterized by an            was not significantly greater than that of the controls
 increase in cortical or paracortical lymphocytes        (12/57, 20/67, 23/66, 20/69).
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TABLE 28
Incidences of Nonneoplastic Lesions of the Bronchial L y m p h Node in Mice
in the 2-Year Inhalation Study of Nickel Oxide

                                                 0 mg/m3               1.25 mg/m3                2.5 mg/m3                 5 mg/m3


Male

7-Month Interim Evaluation
Lymph Node, Bronchial a                           4                       3                        5                       4
   Hyperplasia, Lymphoidb                         0                       0                        1   (1.0) c             0
   Pigmentation                                   0                       2     (1.0)              5** (1.0)               4*    (1.0)

15-Month Interim Evaluation
Lymph Node, Bronchial                             5                       5                        5                       5
   Hyperplasia, Lymphoid                          0                       0                        2   (1.5)               4* (2.3)
   Pigmentation                                   0                       4*    (1.3)              5** (1.6)               5** (1.2)

2 - Y e a r Study
Lymph Node, Bronchial                            45                       56                      61                       62
     .Hyperplasia, Lymphoid                       5     (2.0)             18" (1.8)               28** (2.0)               33** (1.8)
      Pigmentation                                0                       55** (1.5)              61"* (1.9)               60** (2.1)


 Female

 7-Month Interim Evaluation
 Lymph Node, Bronchial                            3                        4                       5                        5
    Pigmentation                                  0                        1    (1.0)              5** (1.0)                5** (1.0)

 15-Month Interim Evaluation
 Lymph Node, Bronchial                            5                        5                       5                        5
    Hyperplasia, Lymphoid                         0                        3    (1.3)              4* (1.0)                 4* (1.0)
    Pigmentation                                  0                        4*   (1.0)              5** (1.6)                5** (1.4)

 2 - Y e a r Study
 Lymph Node, Bronchial                            54,                     63                      59                       62
       Hyperplasia, Lymphoid                      14    (1.8)             37** (2.0)              40** (1.9)               44** (2.2)
       Pigmentation                                0                      58** (1.5)              56** (1.8)               60** (2.0)


 * Significantly different (P_<0.05) from the control group by the Fisher exact test (interim evaluations) or the logistic regression test
    (2-year study)
 ** P_<0.01
 a Number of animals with bronchial lymph node examined microscopically
 b Number of animals with lesion
 c Average severity grade of lesions in affected animals: 1 = minimal, 2 = mild, 3 = moderate, 4 = marked
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 Tissue Burden Analyses                                              with time (Tables 29 and 13). In lung burden analy-
 Nickel concentrations in the lungs of exposed mice                  sis groups, absolute lung weight of 2.5 and 5 mg/m 3
 were significantly greater than those in the controls               males at 7 and 15 months and of 5 mg/m 3 females at
 at 7 and 15 months, and nickel concentration in-                    15 months were significantly greater than those of
 creased with increasing exposure concentration and                  the controls.


 TABLE 29
 Lung Weight and Lung Burden in Mice in the 2-Year Inhalation Study of Nickel Oxid~a

                                          0 mg/m 3             1.25 m g / m 3         2.5 m g / m 3           5 mg/m 3



 n                                              5                     5                     5                      5

 Male

 7-Month Interim Evaluation
      Absolute lung weight (g)           0.192 5:0.009         0.208 5:0.004          0.240 5: 0.010"*      0.238 5: 0.006**
      pg Ni/lung                               _b                 34 5: 2.1"*           107 5: 12.0"*         246 5: 11.2"*
      pg Ni/g lung                             --                162 5: 9.6**           442 5: 37.1"*       1,034 5: 33.1"*
      #g Ni/g control lung                     --                176 5: 11.0"*          556 5: 62.3**       1,283 5: 58.1"*

 15-Month Interim Evaluation
      Absolute lung weight (g)           0.234 5:0.017         0.246 5:0.021          0.306 5: 0.020*       0.382 ± 0.019"*
      t~g Ni/lung                              --                 80 5: 5.1"*           296 5: 35.5**         696 5: 81.9"*
      /zg Ni/g lung                            --                331 5: 30.3**          959 5: 67.1"*       1,798 5: 134.5"*
      pg Ni/g control lung                     --                340 ± 21.8"*         1,265 5: 151.5"*      2,973 5: 349.9**



 Female

 7-Month Interim Evaluation
      Absolute lung weight (g)           0.178 5:0.010          0.206 ± 0.011         0.228 5:0.019         0.232 5:0.022
      #g Ni/lung                               --                  35 5: 1.6"*          120 ± 8.1"*           196 ± 15.3"*
      pg Ni/g lung                             --                 169 ± 6.0**           533 5: 36.4**         861 5: 70.1"*
      #g Ni/g control lung                     --                 195 5: 9.1"*          674 5: 45.2**       1,101 5: 86.2**

 15-Month Interim Evaluation
      Absolute lung weight (g)           0.248 5:0.010          0.264 5:0.010         0.294 5:0.018          0.340 5: 0.026**
      /~g Ni/lung                              --                 119 5: 10.1"*         365 5: 39.9**          771 5: 111.9"*
      ~tg Ni/g lung                            --                 451 5: 31.4"*       1,237 5: 102.6"*       2,258 5: 265.1"*
      pg Ni/g control lung                     --                 481 5: 40.9**       1,472 5: 160.9"*       3,108 ± 451.3"*



 * Significantly different (P<_0.05) from the comrol group by Williams' or Dunnett's test (lung weight) or Shirley's test (lung burden
      parameters)
 ** P_<0.01
 a Mean 5: standard error
 b Results were below 0.400 pg Ni (the limit of detection) for 7-month mice or 0.352 pg Ni for 15-month mice, or below the level of
    quantitation.



 GENETIC TOXICOLOGY
 Nickel oxide was tested for induction of micronuclei                 compound did not induce an increase in the
 in normochromatic erythrocytes of male and female                    frequency of micronucleated normochromatic eryth-
 mice exposed by inhalation for 13 weeks. The                         rocytes in peripheral blood samples (Table El).
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PLATE 1                                                                         PLATE 2
Lung of a male F344/N rat exposed to 1.25 mg nickel oxide/m~by inhalation       Alveolar/bronchiolar adenoma in the lung of a female F344/N rat exposed to
for 2 years. Squamous differentiation within an alveolar/bronchiolar            2.5 mg nickel oxide/m3 by inhalation for 2 years. The clusters of neoplastic
carcinoma. H&E; 105 ×                                                           cells fill alveolar spaces and make a mass well demarcated from the
                                                                                surrounding alveoli. H&E; 135 ×




PLATE 3                                                                         PLATE 4
Subpleural focus of marked chronic inflammation in the lung of a male           Benign pheochromocytoma (P) in the medulla of the adrenal gland of a female
F344/N rat exposed to 2.5 mg nickel oxide/m3 by inhalation for 2 years.         F344/N rat exposed to 2.5 mg nickel oxide/m3 by inhalation for 2 years. Note
Note alveolar spaces fdled with macrophages and other inflammatory cells,       compression (arrows) of the adrenal cortex. H&E; 35 ×
protein, and cell debris; alveolar septa thickened by inflammatory cell
infthrates and increased connective tissue; and prominent cuboidal epithelium
lining air spaces. H&E; 105 x
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PLATE 5                                                                          PLATE 6
Focus of marked inflammation in the lung of a female B6C3F~ mouse exposed        Bronchialization (alveolar epithelial hyperplasia) in the lung of a male B6C3Fi
to 5 mg nickel oxide/ms by inhalation for 2 years.             Note protein,     mouse exposed to 2.5 mg nickel oxide/ms by inhalation for 2 years. Note
macrophages, crystalline rods, and particulate pigment within alveolar spaces.   cuboidal cells extending from the terminal bronchiole (B) onto the septa of
H&E; 65 ×                                                                        adjacent alveoli. H&E; 135 ×




PLATE 7                                                                          PLATE 8
Pigment-laden macrophages (arrows) and pigment within alveolar lumens in         Black pigment (arrows) in the bronchial lymph node of a male B6C3Fi mouse
the lung of a male B6C3Fi mouse exposed to 5 nag nickel oxide/m3 by              exposed to 5 nag nickel oxide/ms by inhalation for 2 years. H&E; 25 ×
inhalation for 2 years. H&E; 175 x
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                    DISCUSSION AND CONCLUSIONS

Occupational exposure to nickel oxide may occur           In this series of 16-day and 13-week nickel com-
during refining and processing operations, in high        pound studies, nickel oxide was the least toxic,
temperature operations such as production of stainless    followed by nickel subsulfide and nickel sulfate
steel, and in other industrial settings (Doll et al.,     hexahydrate, which was the most toxic (Tables 30
1990). No previous 2-year studies have been report-       and 31). This is reflected by the increased mortality
ed that establish toxic dose-response relationships or    and reduced body weight gain :or body weight loss
toxic effects in organs other than the lung after         seen with nickel sulfate hexahydrate and nickel
inhalation exposure to nickel oxide in rats or mice.      subsulfide but not nickel oxide. The lung and nasal
                                                          toxicity reflects the relative solubility of the nickel
                                                          compounds in water and biological fluids, with the
In the 16-day (1.2 to 30 mg nickel oxide/m 3, equiva-
                                                          most soluble nickel compound (nickel sulfate hexa-
lent to 0.9 to 23.6 mg nickel/m 3) and 13-week studies
                                                          hydrate) being the most toxic. The soluble nickel
(0.6 to I0 mg nickel oxide/m 3, equivalent to 0.4 to
                                                          compounds are thought to be more toxic than the
7.9 mg nickel/m3), there were no chemical-related
                                                          insoluble nickel compounds because nickel ions can
deaths in rats or mice. There were no biologically
                                                          diffuse across the cell membrane and interact with
significant chemical-related effects on sperm mor-
                                                          cytoplasmic proteins, thereby causing toxicity.
phology or vaginal cytology in rats or mice. The
                                                          Alternatively, the water-insoluble nickel compounds
major toxic effects were in the lung, as evidenced by
                                                          may be phagocytized and may not cause as extensive
an exposure-related increase in lung weights and the
                                                          damage to cytoplasmic components of the alveolar/
occurrence of pigment and inflammation. In both the
                                                          bronchiolar epithelium (Lee et al., 1993; Costa
16-day and 13-week studies, pigment and lymphoid
                                                          et al., 1994).
hyperplasia occurred in the respiratory tract lymph
nodes.
                                                          The spectrum of inflammatory lesions in the lungs of
                                                          rats and mice after 13 weeks of exposure to nickel
Analysis of bronchoalveolar lavage fluid has been         oxide was similar to that observed with other parti-
used in human medicine for diagnosing the type or         cles including nickel sulfate hexahydrate, nickel
stage of various forms of interstitial lung disease and   subsulfide, gallium arsenide (NTP unpublished data),
as a rapid in vivo method of evaluation of lung injury    gallium oxide (NTP unpublished data), and cadmium
in toxicologic studies (Henderson et al., 1985). In       oxide (NTP, 1995). Lymphoid hyperplasia with or
these 13-week studies of nickel oxide, evaluation of      without inflammation was present in the respiratory
bronchoalveolar lavage fluid indicated the presence of    tract lymph nodes of rats and mice from all of these
an inflammatory response in the lung of rats exposed      studies. Nickel oxide pigment granules were present
to 2.5 and 10 mg/m 3 and mice exposed to 10 mg/m 3        in the lung and respiratory lymph nodes; although
(Benson et al., 1989). This increase was mostly due       pigment granules were not present in the lymph
to an increase in the number of alveolar                  nodes of animals from the nickel sulfate hexahydrate,
macrophages, although numbers of polymorpho-              nickel subsulfide, or cadmium oxide studies, the
nuclear leukocytes were also significantly increased.     morphologic appearance of the hyperplasia in the
Nickel oxide exposure resulted in decreased alveolar      paracortical region of the lymph nodes was otherwise
macrophage phagocytic activity and increased num-         generally similar in each study.
bers of nucleated cells in lung lavage samples (Haley
et al., 1990). No nasal lesions were observed in          In contrast to the findings with nickel sulfate hexa-
either rats or mice in the 13-week studies, which         hydrate and nickel subsulfide where the amount of
contrasts with the findings for the more water-soluble    nickel present in the lungs reached a steady state
nickel compounds (nickel sulfate hexahydrate and          after a 13-week exposure period, the amount of
nickel subsulfide). Toxic effects were more severe        nickel present in the lungs continued to increase
in rats than in mice.                                     during the 13-week exposure to nickel oxide; a
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 steady state was not reached. Even though the lungs       of some of nickel oxide from the lungs. Depending
 of rats and mice exposed to nickel oxide contained        on the physiochemical properties of the inhaled
 more nickel than the lungs of animals exposed to          particles, they may be partially or completely
 nickel sulfate hexahydrate or nickel subsulfide           degraded within phagolysosomesof the macrophages
 (Table 32), the toxic effects were less severe at         and soluble components released from the cell.
 13 weeks.                                                 Nickel oxide is relatively insoluble in biologic fluids,
                                                           and a relatively large amount of nickel oxide remains
 The threshold limit value for water-insoluble nickel      in the lung.
 compounds is 1 mg/m3. In the 13-week studies of
 nickel oxide, a no-observed-adverse-effectlevel was       The carcinogenic response in the lung of rats exposed
 not reached in either rats or mice; the histopathologic   to nickel oxide was considered to be chemical related
 changes observed at the lowest exposure evaluated         because the incidence of lung neoplasms in the 1.25
 (0.6 mg nickel oxide/m3) were subtle and were not         and 2.5 mg/m3 groups exceeded the historical control
 necessarily indicative of severe lung toxicity.           rate at this laboratory, and the effect was observed in
                                                           both males and females. The incidences of lung
 The highest exposure concentrations for these 2-year      neoplasms in 1.25 mg/m3 males (6/53, 11%) and
 studies were limited to 2.5 mg/m3 for rats and            females (6/53, 11%) and 2.5 mg/m~ males (4/52,
 5 mg/m3 for mice, because of the increased severity       8%) and females (5/54, 9%) were significantly
 and spectrum of inflammatory lesions in the lung and      greater (P < 0.05) than the historical control inciden-
 increased lung weights that occurred at the higher        ces at Lovelace Inhalation Toxicology Research
 exposure concentrations in the 13-week studies. The       Institute, which are 1.4% (3/210) for males and
 nickel compound exposure concentrations for the           1.9% (4/208) for females.             Some of these
 16-day, 13-week, and 2-year nickel studies and their      alveolar/bronchiolarneoplasms also had morphologic
 nickel equivalents are presented in Table 33.             features (prominent scirrhous reaction and squamous
                                                           differentiation)that were different from the spontane-
 Two-year exposure of rats and mice to nickel oxide        ous alveolar/bronchiolarneoplasms in control rats.
 by inhalation had no effect on survival. Mean body
 weights of 2.5 mg/m3 male and female rats and             The incidence of alveolar/bronchiolaradenoma in the
 1.25 mg/m3 female rats were 2% to 10% lower than          2.5 mg/m3 group of female mice was significantly
 those of controls during the last year of the study.      greater than that of the controls and exceeded the
 Mean body weights of 5 mg/m3 male and female              historical control range from NTP inhalation studies.
 mice were also lower than controls during the last        The incidence of alveolar/bronchiolar adenoma or
 year of the study.                                        carcinoma (combined) in 1.25 mg/m3 females was
                                                           significantly greater than that of the controls, and the
 At 7 months and at 15 months, the amount of nickel        incidences in 1.25 and 2.5 mg/m3 females exceeded
 in lungs was similar in males and females. The lung       the historical control range for inhalation studies.
 nickel burden represents the difference between the       However, the incidences of these neoplasms were not
 amount of nickel deposited in the lung and the            increased at the highest exposure concentration
 amount removed by the clearance mechanisms.               (5 mg/m3) in females.
 Inhaled particles deposited on the mucosal surface of
 the trachea, bronchi, or bronchioles are transported      The level of nickel in the lung was measured at
 up the airways and from the lung through the ciliary      various time points in the 2-year studies (Table 32),
 activity of the respiratory epithelium, while particles   and these measurements represent the difference
 reaching the alveolar region are phagocytized by          between the amount of nickel deposited and the
 alveolar macrophages and, to a lesser extent, other       amount cleared during a specified time frame. In the
 phagocytic inflammatory cells.         Some alveolar      2-year nickel oxide study, there was 300 to 1,100/zg
 macrophages migrate to the ciliated epithelium of the     nickel/g lung at 15 months; in the 2-year nickel
 airways while others cross the alveolar epithelium to     s.ubsulfide study, there was 3 to 7/zg nickel/g lung.
 enter the interstitium and, finally, the lymphatics.      Thus, the amount of nickel in the lung (as measured
 Phagocytic cells reaching the lymphatics are trans-       in these studies) does not predict or parallel the lung
 ported in the lymph to the bronchial and mediastinal      neoplasm response. The type of nickel compound is
 lymph nodes. In the current studies, the pigment in       important in the eventual carcinogenic response, and
 the lymph nodes probably represented the clearance        under the conditions of these studies, the nickel
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Discussion and Conclusions                                                                                     91


compound that was more rapidly cleared from the            sive nonneoplastic pulmonary lesions but no increase
lungs (nickel subsulfide) produced a stronger carci-       in lung neoplasms (Wehner et al., 1975, 1979).
nogenic response than the nickel compound retained         Intratracheal administration of nickel oxide to female
in the lungs (nickel oxide).                               rats also caused a significant increase in adenocarci-
                                                           noma and squamous cell carcinoma of the lung (Pott
The pulmonary and lung neoplasm responses ob-              et al., 1987).
served in the nickel oxide and nickel subsulfide
studies were chemically related; these responses           Some generalities dan be made about the comparative
occurred at exposure concentrations of 1.25 and            lung pathology in rats and mice after 2 years of
2.5 mg/m3 nickel oxide and 0.15 and 1 mg/m3 nickel         exposure to nickel oxide, nickel subsulfide, or nickel
subsulfide. There is no evidence for particle over-        sulfate hexahydrate. Pigment was observed in the
load; nickel subsulfide levels at 15 months remained       lungs and bronchial lymph nodes of rats and mice
below 30/zg nickel/g lung, and while lung nickel           exposed to nickel oxide but not in the lungs of
levels increased in the nickel oxide studies to            animals in the nickel subsulfide or nickel sulfate
1,000/zg/g lung, the levels approached steady state.       hexahydrate studies. All three studies were similar
In contrast, rat carcinogenicity studies with other        in that mice were less susceptible to proliferative and
relatively nontoxic particles (i.e., titanium dioxide,     fibrotic lung lesions than rats exposed to the same
talc, or chromium dioxide) required higher aerosol         compound. Morphologic features of the proliferative
concentrations (10 mg/m3 or greater) to produce a          lesions in rats exposed to nickel oxide or nickel
lung neoplasm response. For example, the carcin-           subsulfide were clearly different from spontaneous
ogenic response in the rat lung reported in the NTP        lesions in control rats.      Five of the alveolar/
talc studies (NTP, 1993a) was observed at 18 mg/m3;        bronchiolar carcinomas in rats exposed to nickel
at this exposure concentration, approximately 25 mg        oxide and four of the alveolar/bronchiolar carcinomas
talc/g lung was recorded at 18 months and 2 years.         and two of the alveolar/bronchiolar adenomas in rats
Similarly in the titantium dioxide inhalation studies in   exposed to nickel subsulfide had marked squamous
rats (Lee et al., 1985), a lung neoplasm response was      differentiation. Alveolar/bronchiolar neoplasms in
observed only at an exposure level of 250 mg/m 3,          exposed mice from all the studies and in rats exposed
suggesting that the response may be related to accu-       to nickel sulfate hexahydrate had morphologic fea-
mulation of nontoxic particles.                            tures similar to those observed in spontaneously
                                                           occurring tumors.
Comparisons could be made of the types of lung
neoplasms observed after inhalation of va~;ious chemi-     The nonneoplastic lung lesions in nickel oxide
cals at various levels of concentration. For example,      exposed rats had evidence of recurrent parenchymal
relatively low levels of exposure to nickel (NTP,          damage secondary to inflammation. The resulting
1996a,b) or cadmium (NTP, 1995) produce neo-               fibrosis and consolidation were multifocally extensive
plastic responses in rats.     Intermediate exposure       in many nickel oxide exposed rats, differing greatly
levels of diesel exhaust (3.5 to 7 mg/m3; Mauderly         from the minute fibrotic lesions that were occa-
et al., 1987; Mauderly, 1994) and talc (18 mg/m3;          sionally observed in control rats. Similar exposure-
NTP, 1993a) produce carcinogenic effects in the            related fibrotic lesions were also observed in nickel
lungs of rats. Higher exposure concentrations of           subsulfide exposed rats but not in nickel sulfate
antimony trioxide (45 mg/m3; Groth et al., 1986) and       hexahydrate exposed rats.        There were similar
titanium dioxide (250 mg/m3; Lee et al., 1985) are         incidences, appearances, and severities of spontane-
required to produce similar effects in rats. Compari-      ous lesions in the lungs of control rats and mice in
sons could also be made of the histopathologic nature      the three nickel studies.
of the lung neoplasms and of the molecular changes
involved in the response.                                  With the exception of pigment observed in the nickel
                                                           oxide study, nonneoplastic lesions in the lungs of
A number of studies have reported sarcomas at the          exposed mice were similar in all three nickel com-
site of nickel oxide injection into the muscle or the      pound studies. The components of the inflammatory
pleural or peritoneal cavity of rodents (Table 3). In      reaction (intra-alveolar protein and macrophages;
one inhalation study in hamsters exposed to a nickel       mononuclear inflammatory cells around vessels; and
oxide concentration of 50 mg/m 3, there were exten-        multifocal intra-alveolar aggregates of inflammatory
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  cells) were similar in exposed mice in all three          chemicals producing alveolar/bronchiolar neoplasms
  studies. Inflammatory foci with .neutrophils and          in rats after inhalation exposure include antimony
  necrotic cell debris were relatively common in mice       trioxide (Groth et al., 1986) and cadmium
  exposed to nickel sulfate hexahydrate, while inflam-      (Aufderheide et al., 1989). Alternatively, most of
  matory foci in mice exposed to nickel oxide and           the pulmonary neoplasms induced by quartz (Dagle
  nickel subsulfide were predominantly mononuclear          et al., 1986), volcanic ash (Wehner et al., 1986), or
  cells with little evidence of necrotic cell debris.       chromium dioxide (Lee et al., 1988) were squamous
                                                            cell (epidermoid) carcinomas. In refinery workers,
 The inflammatorylesions in the lung were similar to        pulmonary neoplasms attributed to nickel exposure
 those reported in rodents exposed to talc (NTP,            have been classified primarily as squamous cell
 1993a), cadmium compounds (Aufderheide et al.,             carcinomas with fewer anaplastic carcinomas and
 1989), titanium dioxide (Lee et al., 1985), chromium       adenocarcinomas (Sunderman et al., 1989).
 dioxide (Lee et al., 1988), antimony trioxide and
 antimony ore concentrate (Groth et al., 1986), or          Lung tissue specimens from 39 nickel refinery
 volcanic ash (Wehner et al., 1986). Aerosols of each       workers showed increased lung nickel levels
 of these particulate substances were reported to elicit    (Andersen and Svenes, 1989). The average nickel
 pulmonary inflammation (characterized primarily by         concentration for workers in roasting and smelting
 the accumulation of alveolar macrophages), hyperpla-       operations was 330 ± 380/xg nickel/g dry lung
 sia, and, in some cases, squamous metaplasia of the        weight; for workers in electrolysis departments,
 alveolar epithelium and fibrosis.                          34 _+ 48 /zg/g; and for lung tissue from unexposed
                                                            people, 0.76 ± 0.39 /zg/g. Dry lung represents
 In the NTP studies, more chemical-related lung             approximately 20% " w e t " lung weight (Henderson
 neoplasms were observed in nickel oxide and nickel         and Escobedo, 1976). Workers who were diagnosed
 subsulfide exposed rats than in mice. In cadmium           with lung cancer (14 cases) had the same lung nickel
 carcinogenicity inhalation studies performed at the        concentrations at autopsy as nickel workers
 Fraunhofer Institute, cadmium induced alveolar/            (25 cases) who died of other causes. The lung nickel
 bronchiolar neoplasms in rats but not in mice              concentration was independent of smoking habits.
 (Aufderheide et al., 1989; Heinrich et al., 1989;          Anderson and Svenes (1989) felt that the retained
 Thiedemann et al., 1989; Glaser et al., 1990;              nickel in the lung was probably nickel oxide because
 Takenaka et al., 1990). In the series of approx-           an earlier study using energy dispeisive X-ray
 imately 450 chemical studies by NTP, the rat is more       analysis did not detect sulfides (e.g., Ni3S2) in the
 susceptible to the formation of lung neoplasms after       lung.    This study also found that lung cancer
 exposure to metals (e.g., nickel oxide, nickel             occurred in workers from the electrolysis department
 subsulfide), while the mouse is more susceptible to        (8/24) as well as those from the roasting and smelting
 the formation of lung neoplasms after exposure to          operations (6/15) even though those from the elec-
 epoxide-forming chemicals (e.g., coumarin, NTP,            trolysis department had lower lung nickel levels.
 1993b; benzene, NTP, 1986; glycidol, NTP, 1990a).
 The mouse is also more susceptible than the rat to         Nasopharyngeal carcinoma in humans has been
 formation of lung neoplasms after exposure to              attributed to nickel exposure. The preponderance of
 halogenated chemicals (2,2-bis(bromomethyl)-               these sinonasal neoplasms in humans have been
 1,3-propanediol, NTP, 1996c; 1,2-dibromo-3-chloro-         classified as anaplastic, undifferentiated, or squamous
 propane, NTP, 1982a; 1,2-dibromomethane, NCI,              cell carcinoma (Sunderman et al., 1989). In the
 1978a, NTP 1982b; 2,3-dibromo-l-propanol, NTP,             present rodent studies, the olfactory epithelium,
 1994; 1,2-dichloroethane, NCI, 1978b; and tris(2,3-        rather than the respiratory or squamous mucosa, was
 dibromopropyl)phosphate, NCI, 1978c).                      the target site for chemical-related toxicity. Although
                                                            the atrophic changes were present in the olfactory
  The morphologic types of lung neoplasms induced by        epithelium of rats and mice in the 13-week and
  various particulates in rodents vary. In the talc         2-year studies of nickel subsulfide and nickel sulfate
  studies, a significant increase in alveolar/bronchiolar   hexahydrate, the nasal mucosa was not affected in the
  neoplasms was observed only in female rats (NTP,          nickel oxide study. Furthermore, after 2 years, there
  1993a), and the type of neoplasm was similar to that      was no evidence of a chemical-related increase in the
  observed in the present nickel oxide studies. Other       incidences of proliferative lesions in the nasal cavity
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Discussion and Conclusions                                                                                                      93


of rats or mice exposed to any of the three nickel                 CONCLUSIONS
compounds tested.                                                  Under the conditions of these 2-year inhalation
                                                                   studies, there was some evidence of carcinogenic
The increase in proliferative lesions of the adrenal               activity* of nickel oxide in male F344~/N rats based
medulla in male and female rats was considered to be               on increased incidences of alveolar/bronchiolar
chemical related. In male rats, the overall increase               adenoma or carcinoma (combined) and increased
in benign and malignant pheochromocytomas was                      incidences of benign or malignant pheochromocytoma
related primarily to an increase in malignant pheo-                (combined) of the adrenal medulla. There was some
chromocytomas. In female rats, only the incidence                  evidence of carcinogenic activity of nickel oxide in
of benign pheochromocytoma was increased, but the                  female F344/N rats based on increased incidences of
number of rats with bilateral pheochromocytoma and                 alveolar/bronchiolar adenoma or carcinoma (com-
the number with hyperplasia were also increased in                 bined) and increased incidence~ of benign pheochro-
the 5 mg/m 3 group. A chemical-related increase in                 mocytoma of the adrenal medulla. There was no
pheochromocytomas was also observed in male and                    evidence of carcinogenic activity of nickel oxide in
female rats exposed to nickel subsulfide and in male               male B6C3FI mice exposed to 1.25, 2.5, or 5 mg/m 3.
and female rats exposed to talc (NTP, 1993a).                      There was equivocal evidence of carcinogenic activity
However, similar increases were not observed in rats               of nickel oxide in female B6C3Ft mice based on the
exposed to nickel sulfate hexahydrate or to other                  marginally increased incidences of alveolar/
particulates including antimony trioxide or trisulfide             bronchiolar adenoma in 2.5 mg/m 3 females and of
(Groth et al., 1986) and titanium dioxide (Lee et al.,             alveolar/bronchiolar adenoma or carcinoma (com-
 1988). Chemical-related increases in the incidences               bined) in 1.25 mg/m 3 females.
of pheochromocytoma have also been reported in rats
exposed by inhalation to bromoethane (NTP, 1990b)
and orally to 2-mercaptobenzothiazole (NTP, 1988)                  Exposure of rats to nickel oxide by inhalation for
and r.eserpine (NCI, 1982). The mechanism for this                 2 years resulted in inflammation and pigmentation in
increased incidence of adrenal medulla neoplasms is                the lung, lymphoid hyperplasia and pigmentation in
not known. There was no morphologic evidence that                  the bronchial lymph nodes, and hyperplasia of the
the pigment granules of phagocytized nickel oxide                  adrenal medulla (females). Exposure of mice to
reached the adrenal gland, suggesting that the mecha-              nickel oxide by inhalation for 2 years resulted in
nism for the carcinogenic response in the adrenal                  bronchialization, proteinosis, inflammation, and
gland may be related to factors other than direct                  pigmentation in the lung and lymphoid hyperplasia
interaction of the chemical with adrenal cells.                    and pigmentation in the bronchial lymph nodes.



* Explanation of Levels of Evidence of Carcinogenic Activity is on page 10. A summary of the Technical Reports Review Subcommittee
  comments and the public discussion on this Technical Report appears on page 12.
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 94                                                                Nickel       Oxide,   NTP       TR       451




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TABLE 33
C o m p a r i s o n of E x p o s u r e C o n c e n t r a t i o n s in the 16-Day, 13-Week, a n d 2-Year Studies
of Nickel Sulfate H e x a h y d r a t e , Nickel Subsulfide, a n d Nickel Oxide a


                                             Amount of Compound                                 Amount of Nickel


16-Day Studies

Nickel Sulfate
 Hexahydrate (22.3% Ni)                        0, 3.5, 7, 15, 30, 60                             0, 0.7, 1.4, 3.1, 6.1, 12.2

Nickel Subsulfide (73.3% Ni)                   0, 0.6, 1.2, 2.5, 5, 10                           0, 0.44, 0.8~, 1.83, 3.65, 7.33

Nickel Oxide (78.6% Ni)                        0, 1.2, 2.5, 5, 10, 30                            0, 0.9, 2.0, 3.9, 7.9, 23.6



13-Week Studies

Nickel Sulfate
 Hexahydrate (22.3% Ni)                        0, 0.12, 0.25, 0.5, i, 2                          0, 0.03, 0.06, 0.11, 0.22, 0.44

Nickel Subsulfide (73.3% Ni)                   0, 0.15, 0.3, 0.6, 1.2, 2.5                       0, 0.11, 0.22, 0.44, 0.88, 1.83

Nickel Oxide (78.6% Ni)                        0, 0.6, 1.2, 2.5, 5, 10                           0, 0.4, 0.9, 2.0, 3.9, 7.9



2-Year Studies

Nickel Sulfate
 Hexahydrate (22.3% Ni)

     Rats                                      0, 0.12, 0.25, 0.5                                0, 0.03, 0.06, 0.11

     Mice                                      0, 0.25, 0.5, 1                                   0, 0.06, 0.11, 0.22


Nickel Subsulfide (73.3% Ni)

     Rats                                      0, 0.15, 1                                        0, 0.11, 0.73

     Mice                                      0, 0.6, 1.2                                       0, 0.4.4, 0.88


Nickel Oxide (78.6% Ni)

     Rats                                      0, 0.62, 1.25, 2.5                                0, 0.5, 1.0, 2.0

     Mice                                      0, 1.25, 2.5, 5                                    0, 1.0, 2.0, 3.9


 a   Amountsof nickel and nickel compoundsare expressed in mg/m~. Occupationalexposure limits in the United States: 1 mg Ni/m~ for
     nickel metals, 0.1 mg Ni/m3 for soluble nickel compounds.
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                                  APPENDIX A
                  S U M M A R Y OF LESIONS IN M A L E RATS
                    IN THE 2-YEAR INHALATION STUDY
                               OF NICKEL OXIDE

TABLE A1  S u m m a r y of the Incidence of Neoplasms in Male Rats
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TABLE A1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in M a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e a

                                                           0 mg/m 3                      0.62 mg/m 3                    1.25 mg/m 3                      2.5 mg/m 3


Disposition Summary
Animals initially in study                                     65                               65                               65                              65
7-Month interim evaluation                                      6                                7                                7                               7
15-Month interim evaluation                                     5                                5                                5                               5
Early deaths
  Moribund                                                     39                               35                               32                              36
  Natural deaths                                                1                                3                                6                               4
Survivors
  Died last week of study                                                                                                         1                               1
  Terminal sacrifice                                           14                               15                               14                              11
Missexed                                                                                                                                                          1

Animals examined microscopically                               65                               65                               65                              64


Systems Examined A t 7 Months With No Neoplasms Observed
Alimentary System
Cardiovascular System
Endocrine System
General Body System
Genital System
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Respiratory System
Special Senses System
Urinary System


15-Month Interim Evaluation
Endocrine System
Adrenal medulla                                             (5)                           (5)                              (5)                             (5)
  Pheochromocytoma benign                                                                                                    2 (40%)
Pituitary gland                                             (5)                           (5)                              (5)                             (5)
  Pars distalis, adenoma                                                                    I (20%)
Thyroid gland                                               (5)                           (5)                              (5)                             (5)
  C-cell, adenoma                                             1 (20%)                                                        I (20%)


Genital System
Testes                                                      (5)                           (5)                              (5)                             (5)
  Bilateral, interstitial cell, adenoma                                                                                                                      1 (20%)
  Interstitial cell, adenoma                                  3 (60%)                       4 (80%)                                                          3 (60%)


Integumentary System
Skin                                                                                                                                                       (i)
  Sebaceous gland, adenoma                                                                                                                                     I (lOO%)
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Lesions in Male Rats                                                                                                  127


TABLE A1
Summary of the Incidence of Neoplasms in Male Rats in the 2-Year Inhalation Study of Nickel Oxide (continued)

                                           0 mg/m 3           0.62 m g / m 3      1.25 m g / m 3      2.5 m g / m 3



15-Month Interim Evaluation (continued)
Systems Examined With No Neoplasms Observed
Alimentary System
Cardiovascular System
General Body System
Hematopoietic System
Muscuioskeletal System
Nervous System
Respiratory System
Special Senses System
Urinary System


2-Year Study
Alimentary System
Intestine large, colon                     (54)               (53)                 (53)               (52)
Intestine large, rectum                    (54)               (53)                 (52)               (52)
  Anus, leiomyoma                                                                     1 (2%)
Intestine large, cecum                     (54)               (53)                 (52)               (51)
Intestine small, duodenum                  (54)               (52)                 (53)               (52)
Intestine small, jejunum                   (54)               (53)                 (53)               (52)
Intestine small, ileum                     (54)               (53)                 (53)               (51)
  Fibroma                                                        1 (2%)
Liver                                      (54)               (53)                 (53)               (52)
   Fibrous histiocytoma, metastatic                                                                      1 (2%)
  Hemangioma                                                         (2%)
   Hepatocellular carcinoma                   2 (4%)                 (2%)             1 (2%)                  (2%)
   Hepatocellular carcinoma, multiple                                                 1 (2%)
   Hepatocellular adenoma                     3 (6%)                 (9%)             3 (6%)                  (4%)
   Hepatocellular adenoma, multiple                                  (2%)
   Histiocytic sarcoma, metastatic, skin                                                                  1 (2%)
Mesentery                                   ( 1)               (1)                                      (1)
Pancreas                                   (54)               (53)                 (53)                (52)
Salivary glands                            (54)               (53)                 (53)                (52)
   Squamous cell carcinoma                                                            1 (2%)
Stomach, forestomach                       (54)               (53)                 (53)                (52)
Stomach, glandular                         (54)               (53)                 (53)                (52)
Tongue                                                                              (1)
   Squamous cell carcinoma                                                            1 (100%)


Cardiovascular System
Heart                                      (54)               (53)                 (53)                (52)
 Carcinoma, metastatic, lung                                                                              1 (2%)


Endocrine System
Adrenal cortex                             (54)               (53)                 (53)                (52)
 Adenoma                                                         1 (2%)
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TABLE A1
S u m m a r y o f the Incidence of N e o p l a s m s in M a l e Rats in the 2-Year Inhalation Study o f Nickel O x i d e (continued)

                                              0 mg/m ~               0.62 mg/m ~              1.25 mg/m 5               2.5 mg/m 5


2-Year Study (continued)
Endocrine System (continued)
Adrenal medulla                               (54)                   (52)                      (53)                     (52)
   Pheochromocytoma malignant                                                                     1 (2%)                   6 (12%)
   Pheochromocytoma benign                      17 (31% )              13 (25 %)                 17 (32 %)                16 (31%)
   Bilateral, pheochromocytoma benign           10 (19%)               11 (21%)                   9 (17%)                 16 (31%)
Islets, pancreatic                            (54)                   (53)                      (53)                     (52)
   Adenoma                                       2 (4%)                 2 (4%)                    2 (4%)                   2 (4%)
   Adenoma, multiple                                                    1 (2%)
   Carcinoma                                    1 (2%)                  1 (2%)                    2 (4%)
Parathyroid gland                            (50)                    (50)                      (49)                     (49)
   Adenoma                                      I (2%)                  1 (2%)                    1 (2%)
Pituitary gland                              (53)                    (52)                      (52)                     (52)
   Pars distalis, adenoma                      24 (45%)                18 (35%)                  16 (31%)                 12 (23%)
   Pars intermedia, carcinoma                                                                     1 (2%)
Thyroid gland                                 (54)                   (53)                      (52)                     (52)
   C-cell, adenoma                               6 (11%)                5 (9%)                    4 (8%)                   2 (4%)
   C-cell, carcinoma                             1 (2%)                                           1 (2%)
   Follicular cell, adenoma                      1 (2%)                 3 (6%)                    2 (4%)                   1 (2%)
   Follicular cell, carcinoma                    1 (2%)                                                                    1 (2%)


General Body System
Tissue NOS                                     (3)                    (2)                       (2)                      (4)
  Basal cell carcinoma                                                                                                     1 (25%)
  Carcinoma, metastatic, lung                                                                                              1 (25%)
  Fibrosarcoma                                                                                                             1 (25%)
  Lipoma                                                                                         2 (100%)
  Oral, osteosarcoma                             1 (33%)


Genital System
Epididymis                                    (54)                   (53)                      (53)                     (52)
Preputial gland                               (54)                   (53)                      (53)                     (51)
  Adenoma                                        1 (2%)                 3 (6%)                    2 (4%)                   2 (4%)
  Carcinoma                                                                                       1 (2%)                   1 (2%)
  Fibrous histiocytoma                                                  1 (2%)
Prostate                                      (53)                   (53)                      (53)                     (52)
  Adenoma                                                                                         1 (2%)
Seminal vesicle                               (54)                   (53)                      (53)                     (52)
Testes                                        (54)                   (53)                      (53)                     (52)
  Bilateral, interstitial cell, adenoma         20 (37%)               36 (68%)                  27 (51%)                26 (50%)
  Interstitial cell, adenoma                    20 (37%)               10 (19%)                  16 (30%)                21 (40%)


Hematopoietic System
Bone marrow                                   (54)                    (53)                     (53)                     (52)
Lymph node                                    (16)                    (19)                     (16)                     (15)
Lymph node, bronchial                         02)                     (51)                     (53)                     (52)
Lymph node, mandibular                        (49)                    (51)                     (50)                     (51)
  Squamous cell carcinoma, metastatic                                                             1 (2%)
Lymph node, mesenteric                        (54)                    (53)                     (53)                     (51)
Lymph node, mediastinal                       (47)                    (52)                     (52)                     (52)
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Lesions in Male Rats                                                                                                                   129



TABLE A1
S u m m a r y of the I n c i d e n c e of Neoplasms in Male Rats in the 2-Year I n h a l a t i o n Study of Nickel Oxide (continued)

                                              0 mg/m 3               0.62 mg/m 3             1.25 mg/m 3               2.5 mg/m 3



2-Year Study (continued)
ttematopoietic System (continued)
Spleen                                        (54)                   (53)                     (53)                     (52)
  Fibrosarcoma                                                                                   1 (2%)
  Pheochromocytoma malignant, metastatic                                                                                  1 (2%)
Thymus                                        (44)                   (49)                     (47)                     (48)
  Carcinoma, metastatic, lung                                                                                             1 (2%)


Integumentary System
Mammary gland                                 (54)                   (53)                     (53)                     (52)
  Fibroadenoma                                   2 (4%)                                          1 (2%)
Skin                                          (13)                    (4)                     (14)                      (6)
  Basal cell adenoma                             2 (15%)                                         I (7%)
  Fibroma                                        3 (23%)                I (25%)                  1 (7%)
  Keratoacanthoma                                1 (8%)                 1 (25%)                  1 (7%)                   1 (17%)
  Lipoma                                                                                         1 (7%)
  Papilloma                                                                                                               I (17%)
  Squamous cell carcinoma                                               i (25%)
  Squamous cell papilloma                                               1 (25%)                       (7%)
  Trichoepithelioma                                                                                   (7%)
  Scrotum, fibroma                                                                                    (7%)
  Subcutaneoustissue, histiocytic sarcoma                                                                                 1 (17%)
  Subcutaneous.tissue, neurofibrosarcoma         1 (8%)
  Subcutaneous tissue, sarcoma                                                                        (7%)


Musculoskeletal System
Bone                                          (54)                   (53)                      (53)                    (52)
  Pelvis, hemangiosarcoma                                               1 (2%)
Skeletal muscle                                                                                                          (1)
  Fibrous histiocytoma                                                                                                     1 (lOO%)


Nervous System
Brain                                         (54)                   (53)                      (53)                    (52)
  Astrocytoma NOS                                                                                1 (2%)
  Granular cell tumor NOS                                               1 (2%)
Peripheral nerve                               (1)                                                                       (1)
  Ganglion, paragangliomabenign                  1 (100%)                                                                  1 (lOO%)


Respiratory System
Lung                                          (54)                    (53)                     (53)                     (52)
 Alveolar/bronchiolaradenoma                                             t (2%)                   3 (6%)                   2 (4%)
 Alveolar/bronchiolarcarcinoma                                                                    1 (2%)                   2 (4%)
  Alveolar/bronchiolarcarcinoma, squamous
    differentiation                                                                              2 (4%)
  Fibrous histiocytoma, metastatic                                                                                        1 (2%)
  Histiocytic sarcoma, metastatic, skin                                                                                   1 (2%)
  Pheochromocytoma malignant, metastatic                                                                                  1 (2%)
  Squamous cell carcinoma                        1 (2%)
Nose                                          (54)                    (53)                     (53)                     (52)
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TABLE A1
S u m m a r y of the I n c i d e n c e of Neoplasms i n M a l e Rats i n the 2-Year I n h a l a t i o n S t u d y of Nickel Oxide (continued)

                                                 0 mg/m 3                 0.62 m g / m 3            1.25 m g / m 3             2.5 m g / m 3



2-Year Study (continued)
Special Senses System
Ear                                                                                                   (1)
  Fibroma                                                                                               1 (10o%)
Eye                                               (9)                      (5)                        (3)                        (5)
  Lids, fibroma                                                              1 (20%)
Harderian gland                                                            (1)
 Carcinoma                                                                   1 (10o%)
Zymbal's gland                                    (1)
 Carcinoma                                          1 (lOO%)


Urinary System
Kidney                                          (54)                      (53)                       (53)                      (52)
 Histiocytic sarcoma, metastatic, skin                                                                                            1 (2%)
 Renal tubule, adenoma                                                                                  1 (2%)
 Transitionalepithelium, carcinoma                                                                      1 (2%)
Urinary bladder                                  (54)                     (53)                       (53)                       (52)


Systemic Lesions
Multiple organsb                                 (54)                     (53)                       (53)                       (52)
 Histiocytic sarcoma                                                                                                               1 (2%)
 Leukemia mononuclear                             31 (57%)                 32 (60%)                   26 (49%)                    35 (67.%)
 Mesothelioma malignant                                                     1 (2%)                                                 2 (4%)


Neoplasm Summary
Total animals with primary neoplasmsc
  15-Month interim evaluation                      4                        4                          3                          5
 2-Year study                                     53                       53                         53                         52
Total primary neoplasms
  15-Month interim evaluation                      4                        5                          3                          5
 2-Year study                                    154                      157                        159                        157
Total animals with benign neoplasms
  15-Month interim evaluation                      4                        4                          3                          5
 2-Year study                                     52                       51                         52                         52
Total benign neoplasms
  15-Month interim evaluation                      4                         5                          3                         5
  2-Year study                                   114                       117                        116                       105
Total animals with malignant neoplasms
  2-Year study                                    37                       38                          35                        43
Total malignant neoplasms
  2-Year study                                    40                        39                        42                         52
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Lesions in Male Rats                                                                                                                                                   131



TABLE A I
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in M a l e R a t s in the 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e (continued)

                                                         0 mg/m 3                     0.62 mg/m 3                   1.25 mg/m 3                      2.5 mg/m 3



Neoplasm Summary (continued)
Total animals with metastatic neoplasms
 2-Year study                                                                             I                              1                              6
Total metastatic neoplasms
 2-Year study                                                                            3                               I                             19
Total animals with uncertain neoplasms-
   benign or malignant
  2-Year study                                                                            1                              1
Total uncertain neoplasms
  2-Year study                                                                            1                              1


a Number of animals examined microscopically at the site and the number of animals with neoplasm
b Number of animals with any tissue examined microscopically
c Primary neoplasms: all neoplasms except metastatic neoplasms
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TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m ~
                                                                 1    4   5   5   5   5       5       5       5       5   5   5   5   5       5       6       6       6       6   6   6     6   6       6       6
Number of Days on Study                                          8    7   0   0 2 6 6 6 7 7 8 8 8 9 9 2 2 2 2 2 2 2 2 2 5
                                                                 7    5   3   9 4 6 6 9 3 3 1 4 5 4 8 2 2 2 2 4 4 8 8 9 6

                                                                 0    0   0   0   0   0       0       0       0   0       0   0   0   0       0       0       0       0       0   0   0     0   0       0       0
Carcass ID Number                                               2 3 3 4 2 0 5 1 3 5 1     1 4 3 4 1 2 4 4 0 5 1 4 0 5
                                                                 1 9 2 1 9 3 4 7 3 9 5 6 0 7 7 8 4 4 9       1 6 4 3 7 2

Alimentary System
Esophagus                                                        + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Intestine large, c o l o n                                       + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       ÷           +   +    +
Intestine large, r e c t u m                                     + + + ÷ +            +           +       +       +       +   +   +   +       +           +       +       +       +   -I-   +   +       +           +   +    +
Intestine large, c e c u m                                       + + + ÷ +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Intestine small, d u o d e n u m                                 + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Intestine small, j e j u n u m                                   + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Intestine small, ileum                                           + + + + + ÷ + + + + + ÷ + + + + + + + + + + + 4 - +
Liver                                                            + + + + + + + + + + + + + + + + + + + + + + + q - - i -
    Hepatocellular carcinoma                                                                                       X     X
    Hepatoeellular adenoma                                         X                                   X
Mesentery
Pancreas                                                         + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Salivary g l a n d s                                             + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Stomach, forestomach                                             + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +
Stomach, glandular                                               + + + + +            +           +       +       +       +   +   +   +       +           +       +       +       +   +     +   +       +           +   +    +


Cardiovascular System
B l o o d vessel
Heart                                                            + + + + +                +       +       +       +       +   +   +   +       +           +       +       +       +   +     +   +           +       +   +    +


Endocrine System
Adrenal cortex                                                   + + + + +                +       +       +       +       +   +   +   +       +           +       +       +       +   +     +   +           +       +   +    +
Adrenal medulla                                                  + + + + +                +       +       +       +       +   +   +   +       +           +       +       +       +   -I- +     +           +       +   +   +
    Pheochromocytoma benign                                        X     X                                                    X                                                       X                                     X
    Bilateral, p h e o e h r o m o c y t o m a b e n i g n                            X                                                                                           X             X                       X
Islets, p a n c r e a t i c                                      ++       +++         +           +       +       +       +   +   +   +           +       +       +       +       +   +     +   +           +       +   +    +
    Adenoma
    Carcinoma
Parathyroid gland                                                M + + + + M + + + + + + + +                                                              + + M + + +                           ++                  + + +
    Adenoma
Pituitary g l a n d                                              + + + ÷ +                +       +       +       +       +   +   +   +           +       +       +       +       +   +     +   +           +       +   +    +
    P a r s distalis, a d e n o m a                                                                 X               X                   X X X X                                         XX                    X
Thyroid gland                                                    +    + + + +             +       + +             + +         +   +   + + + + +                                   +   + + +                 + +         +    +
    C-cell, a d e n o m a                                             X
    C-cell, c a r c i n o m a
    Follicular cell, a d e n o m a
    Follicular cell, c a r c i n o m a

General Body System
Tissue N O S                                                                                      +                                   +                           +
   Oral, osteosarcoma                                                                                                                 X

Genital System
                                                                                                                                                                  +                         +       +
Coagulating gland
Epididymis                                                       + + + + +                +       +       +       +       +   +   +   +           +       +       +       +       +   +     +       +       +       +   +    +
Preputial g l a n d                                              + + +++                  +       +       +       +       +   +   +   +           +       +       +       +       +   +     +       +       +       +   +    +
   Adenoma
Prostate                                                         + + + + + M +                            +       +       +   +   +       +       +       +       +       +       +    +    +       +       +       +   +    +


     + : Tissue e x a m i n e d m i c r o s c o p i c a l l y                             M: Missing tissue                                                                                     X: L e s i o n p r e s e n t
     A: Autolysis p r e c l u d e s e x a m i n a t i o n                                 I: Insufficient tissue                                                                                Blank: N o t e x a m i n e d
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Lesions in Male Rats                                                                                                                                                                                                133




TABLE A2
Individual             Animal          Tumor      Pathology          of Male         Rats       in the 2-Year         Inhalation       Study       of Nickel     Oxide:              0 m g / m 3 (continued)

                                                             6   6   6   6   6   6     6    6     6   7   7   7   7    7   7   7   7   7   7   7    7    7   7   7   7   7       7       7       7
Number          of Days on Study                             6 6 7 8 9 9 9 9 9 0 0                            1 1 I 2 3            3 3 3       3    3 3 3 3 3 3 3 3 3
                                                             1 9 8 2 2 6 7 9 9 5 5                            3 3 5 4 3            3 3 3       3    6 6 6 6 6 6 7 7 7

                                                             0   0   0 0 0       0    0     0    0    0   0   0   0   0    0   0   0   0   0   0    0    0   0   0   0   0       0       0       0         Total
Carcass ID Number                                            4 0     5 4 3       1     1 3       3    0   5   3   4   2    5   0   0   0   2   6     0   1   2   4   6   6       1       5           6   Tissues/
                                                             8 6     8 5 4       0     1 0       1    2   7   5   2   8    0   5   8   9   3   3     4   3   6   6   0   4       2       3           1   Tumors

Alimentary System
Esophagus                                                    +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Intestine large, c o l o n                                   +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   ~   +   +           +       +       +        54
Intestine large, r e c t u m                                 +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Intestine l a r g e , c e c u m                              +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Intestine small, d u o d e n u m                             +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Intestine small, j e j u n u m                               +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Intestine small, i l e u m                                   +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Liver                                                        +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
   H e p a t o c e l l u l a rc a r c i n o m a                                                                                                                                                                2
   H e p a t o c e l l u l a ra d e n o m a                                                                                                                      X                                             3
Mesentery                                                                                                 +                                                                                                    1
Pancreas                                                     +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Salivary glands                                              +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Stomach, forestomach                                         +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54
Stomach, glandular                                           +   +   +   +   +   +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54

Cardiovascular                   System
B l o o d vessel                                               +                                                       +                                                                                       2
Heart                                                        + + + + +           +     +    +     +   +   +   +   +    +   +   +   +   +   +   +     +   +   +   +   +   +           +       +       +        54

Endocrine System
Adrenal cortex                                               + + + + + +               +    + + +         +   +   +    +   +   +   +   +   +   +     +   +   +   + + +               +       +       +        54
Adrenal medulla                                              + + + + + +               +    + + +         +   +   +    +   +   +   +   +   +   +     +   +   +   + + +               +       +       +        54
     P h e o c h r o m o c y t o m ab e n i g n                X   X   X                    X X X                          X                             X       X X X                               X        17
     Bilateral, p h e o c h r o m o c y t o m ab e n i g n                                                X       X            X X             X                                         X                    10
Islets, p a n c r e a t i c                                  + + + + +           +     +    +     +   +   +   +   +    +   +   + +     +   +   +     +   +   +   +   +   + +             +           +        54
     Adenoma                                                                                              X                                                              X                                     2
     Carcinoma                                                                                                                                                   X                                             1
P a r a t h y r o i dg l a n d                               + + + + +           +     +    +     + M +       +   +    +   +   +   +   +   +   +     +   +   +   +
                                                                                                                                                               + +                   +       +       +        50
     Adenoma                                                                                                                                                   X                                               1
Pituitary g l a n d                                          + + + + + + +                  + + + +           +   + +      + +     + +     + +       +   + M + + +                   +
                                                                                                                                                                                   + +                        53
     P a r s distalis, a d e n o m a                               X X X X                    X X X                 X        X       X       X               X   X                 X X                        24
Thyroid gland                                                + + + + + + +                  + + + +           +   + +      + +     + +     + +       +   + + + + +               + + +                        54
     C-cell, adenoma                                           X                                X                          X                         X                           X                             6
     C-cell, c a r c i n o m a                                                                                         X                                                                                       1
     F o l l i c u l a r cell, a d e n o m a                                                     X                                                                                                             1
     F o l l i c u l a r cell, c a r c i n o m a                                                                  X                                                                                            1

General Body System
Tissue N O S                                                                                                                                                                                                   3
   Oral, osteosarcoma                                                                                                                                                                                          1

Genital System
C o a g u l a t i n gg l a n d                                     +                                                                                                                                           4
Epididymis                                                   + + + + +           +     +    +     +   + +     +   +    +   +   +   +   +   +   +     +   +   +   +   +       +       +       +       +        54
Preputial gland                                              + + + + +           +     +    +     +   + +     +   +    +   +   +   +   +   +   +     +   +   +   +   +       +       +       +       +        54
    Adenoma                                                                                             X                                                                                                      I
Prostate                                                     + + + + +           +     +    +     +   + +     +   +    +   +   +   ÷   +   +   +     +   +   +   +   +       +       +       +       +        53
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TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3 (continued)
                                            1 4 5 5 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6
Number of Days on Study                     8 7 0 0 2 6 6 6 7 7 8 8 8 9 9 2 2 2 2 2 2 2 2 2 5
                                            7 5 3 9 4 6 6 9 3 3   1 4 5 4 8 2 2 2 2 4 4 8 8 9 6

                                            0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0
Carcass ID Number                           2 3 3 4 2 0 5 1 3 5   1 1 4 3 4 1 2 4 4 0 5    1 4 0 5
                                            1 9 2 1 9 3 4 7 3 9 5 6 0 7 7 8 4 4 9 1 6 4 3 7 2

G e n i t a l S y s t e m (continued)
Seminal vesicle                             + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Testes                                      + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
    Bilateral, interstitial cell, adenoma                                                                X             X                    X        X
    Interstitial cell, adenoma                           X        XX                    X X X                XX            X            X       X

Hematopoietic System
Bone marrow                                 + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Lymph node                                          +             +             +           +                     +                 +           +    +
Lymph node, bronchial                       + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Lymph node, mandibular                      + + M + + + + + + + + + + + + + + +                                            + + + + + + +
Lymph node, mesenteric                      + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Lymph node, mediastinal                     + M + + M + + + + + + + + +                                + + + + + M +                    + + + +
Spleen                                      +++++     + + + + + + + +                                + + + + + + + +                    + + + +
Thymus                                      ++M++                 + + + + + + + +I                       + + +I            + +      + +I        + +

Integumentary       System
Mammary gland                               + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
   Fibroadenoma
Skin                                                                   +   +            +                                  +            +   +        +
   Basal cell adenoma
   Fibroma                                                             X                                                                X
   Keratoacanthoma                                                         X
   Subcutaneous tissue,
    neurofibrosarcoma

Musculoskeletal System
Bone                                        + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +


Nervous    System
Brain                                       + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Peripheral nerve                                     +
   Ganglion, paraganglioma benign                    X

R e s p i r a t o r y System
Larynx                                      + + + + + + +   +   +I   + + + ++  + + + + + + +                                                    + +
Lung                                        +++++       + + + + + ++   + + + + + + + + + + +                                                    + +
    Squamous cell carcinoma
Nose                                        ++       +++          +    +   +    +   +.+     +    +   +   +   +    +    +   +   +    +   +   +   +    +
Trachea                                     + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +


Special Senses System
Eye                                                      ++       +                     +   +            +
Zymbal's gland                                                +
  Carcinoma                                                   X

U r i n a r y System
Kidney                                      + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +
Urinary bladder                             + + + + +             +    +   +    +   +   +   +    +   +   +   +    +    +   +   +    +   +   +   +    +


Systemic L e s i o n s
Multiple organs
  Leukemia mononuclear                           X       X        X        XX           X   XX           X        XX       X   XX               X    X
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Lesions in Male Rats                                                                                                                                                   135


TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3 (continued)
                                            6 6 6 6 6 6 6 6 6 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number        of Days on Study              6 6 7 8 9 9 9 9 9 0 0 1   1 1 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                            1 9 8 2 2 6 7 9 9 5 5 3 3 5 4 3 3 3 3 3 6 6 6 6 6 6 7 7 7

                                            0 0 0 0 0   0    0 0     0   0   0   0   0   0    0   0   0   0    0   0 0     0   0   0   0   0   0   0    0      Total
Carcass       ID Number                     4 0 5 4 3   1    I 3     3   0   5   3   4   2    5   0   0   0    2   6. 0    1   2   4   6   6   1   5    6   Tissues/
                                            8 6 8 5 4   0    1 0     1   2   7   5   2   8    0   5   8   9    3   3 4     3   6   6   0   4   2   3    1   Tumors

G e n i t a l S y s t e m (continued)
Seminal vesicle                             + + + + + +      +   +   +   + .+ +      + + +        +   +   +    + + + + +           +   +   +   + +      +        54
Testes                                      + + + + +   +    +   +   +   ++   +      ++  +        +   +   +    ++  + + +           +   +   +   + +      +        54
    Bilateral, interstitial cell, adenoma   X X     X X                              X X X            X        X X X X X               X       X X               20
    Interstitial cell, adenorna                  X      X        X XX            X                X       X                                X                     20

Hematopoietic System
Bone marrow                                 + + + + +   + + + + + + + + + + + + + + + + + +                                        +   +   +   +   +    +        54
L y m p h node                                      ++        + +    +          +                                                  +   +                         16
L y m p h node, brOnchial                   + + + + + I   +I  + + + + + + + + + + + + + + + + +                                          + + +    +              52
L y m p h node, m a n d i b u l a r         + + + M +   + +M+   +M+    + + + + + + + + + + +                                       +   +M+     + +               49
L y m p h node, mesenteric                  + + + + +   + + + + + ++   + + + +  + + + + + + +                                      +   + + + + +                 54
L y m p h node, mediastinal                 + + + + + + M + + I + M + + + M+      + + + + + +                                      +   + + + + +                 47
Spleen                                      + + + + + + + + + + + + + + + + + + + + + + + + +                                            ++    ++                54
Thymus                                      + + M M + + M + + M + + + + + + + M + M + + + + +                                            ++    ++                44

Integumentary       System
M a m m a r y gland                         + + + + +   ++       +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +   +   +    +        54
    Fibroadenoma                                                                                  X                                    X                          2
Skin                                                             +           +                        +            +       +                       +             13
    Basal cell adenoma                                                                                             X                               X              2
    Fibroma                                                      X                                                                                                3
    Keratoacanthoma                                                                                                                                               1
    Subcutaneous tissue,
      neurofibrosarcoma

Musculoskeletal            System
Bone                                        + + + + + + + + + + + + + + +                         + + + + + + + +                  +   + + +       ++            54

Nervous System
Brain                                       + + + + +   +    +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   q- +    +    +        54
Peripheral nerve                                                                                                                                                  1
   Ganglion, paraganglioma benign                                                                                                                                 1

Respiratory System
Larynx                                      + + + + + + + + + + + + + +                       + + + +  + + + + + + +                       + ++         +        52
Lung                                        + + + + +  + + + + + + + + +                      + + + + + + + + + + +                        ++   +       +        54
   Squamous cell carcinoma                                                                                X                                                       1
Nose                                        + + + + +   +    +   +   +   +   +   +   +   +    + + + + + + + + + +                      +   +   +   +    +        54
Trachea                                     + + +++     +        +   +   +   +   +   +   +    + + + + + + + + + +                      +   +   +   +    +        53

Special Senses System
Eye                                                                      +                                                     +           +
Z y m b a l ' s gland
    Carcinoma

Urinary System
Kidney                                      + + + + +   +    +   +   +   +   +   +   +   +    +   +   +    +   +   +   +   +   +   +   +   +   +   +    +         54
Urinary bladder                             + + + + +   +    +   +   +   +   +   +   +   +    +   +   +    +   +   +   +   +   +   +   +   +   +   +    +         54

Systemic Lesions
Multiple organs                             + + + + + +      +   +   +   +   +   +   +   ++       +   +    +   +   +   +   +   +   + + + + +            +         54
  Leukemia mononuclear                      X   X   X X          X       X       X            X       X                X           X X X X X                      31
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TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0.62 mg/m 3

                                                              4    5   5   5   5   5       5       5       5       5       5   5   5   6   6       6       6       6       6       6   6   6   6   6       6
Number          of Days on Study                              6 0 1 2 2 3 4 6 6 7 7 7 9 1                                                           1 2 2 3 4 4 4 7 7 7 7
                                                              6 3 9 0 4 8 2 4 7 0 0 2 5 8                                                  8       3 9 3 3 7 9 0 5 9 9

                                                              1    1   1   1   1   1           1       I       1       1       1   1   1       1       1       1       1       1       1   1   1   1           1   1    1
Carcass        ID Number                                      4 6 4 6 6 8 7 3 5 4 8 7 4 5 7 5 7 5 4                                                                            4       7   8   4 6 9
                                                              5 0 9 5 6 4 9 9 7 6 9 4 7 3 2 0 0 6 2                                                                                        1   6 1 8 7 3

Alimentary System
Esophagus                                                     + + +++              +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine large, c o l o n                                    + + +++              +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine large, r e c t u m                                  + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine large, c e c u m                                    + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine small, d u o d e n u m                              + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine small, j e j u n u m                                + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Intestine small, ileum                                        + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
    Fibroma
Liver                                                         + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
    Hemangioma
    Hepatocellular carcinoma
    He#atocellular adenoma                                                                                                                                                                         X
    H e p a t o c e l l u l a r a d e n o m a , multiple
Mesentery                                                                      +
    M e s o t h e l i o m a m a l i g n a n t , metastatic                     X
Pancreas                                                      + + +++              +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Salivary g l a n d s                                          + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Stomach, forestomach                                          + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
Stomach, glandular                                            ++   +++             +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +


Cardiovascular              System
Heart                                                         + +      + + +       +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +

Endocrine System
A d r e n a l cortex                                          + + + + +            +           +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +           +   +    +
     Adenoma
Adrenal medulla                                               +    +   +++         +           +M              +       +       + +     +       +       +       +       +       +       +   +   +   +           +   +    +
     Pheochromocytoma benign                                                                                                   XX              X                               X               X   X
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n                                                                            X           X                                                               X X
Islets, p a n c r e a t i c                                   ++       +++         +           +       +       +       +       +   +   +       +   +           +       +       +       +   +   +   +           +   + +
     Adenoma
     A d e n o m a , multiple
     Carcinoma
Parathyroid gland                                             + + M + +                +       +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +M+                  +
     Adenoma
Pituitary g l a n d                                           + + + + + + M +                                  + + + +                 +       + + + + + + +                                   +   +           +   ++
     P a r s distalis, a d e n o m a                               X                                           X X                         •          X                                                            X
Thyroid gland                                                 +    +   + + +           +       +       +       +       +       +   +   +       +       +       +       +       +       +   +   +       +       +   +    +

     C-cell, a d e n o m a                                                                                                                                                                 X       X           X
     Follicular cell, a d e n o m a                                                                                                                                    X                       X

General Body System
Tissue N O S                                                                   +
   M e s o t h e l i o m a m a l i g n a n t , metastatic                      X
          Case 3:16-md-02738-MAS-RLS                                                        Document 9727-10                                                     Filed 05/07/19                                        Page 142 of 382
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Lesions in Male Rats                                                                                                                                                                                                                                   137


TABLE         A2
Individual           Animal          Tumor          Pathology         of Male         Rats          in the                 2-Year       Inhalation                   Study               of Nickel     Oxide:                  0.62    mg/m   3
(continued)

                                                              6   6   6   6   6   7    7       7       7       7       7    7   7   7    7   7   7       7       7       7       7   7     7   7   7   7       7       7
Number         of Days on Study                               8 8 9 9 9 0               0          00            1 1            1   2 3      3   3           3       3       3       3     3   3   3   3           3       3 3     3
                                                              5 6 6 7 7           0 3 4                    9 2 7 7                  03       3   3           3       3       3       3     3   6   6   6           6       67      7

                                                              1 1 1 1 1           1        1       1       1       1       1    1   1    1   1       1       1       1       1       1     1   1   1   1           1       1   1   1          Total
Carcass        ID Number                                      4 3 7 3 8           6 4 5                    3       9 6 7            5    3   5   67                  7       8       8     95      67          8           8   8   9      Tissues/
                                                              0 6 7 3 2           9 3 8                    2       2 8 1            2    8   1   1 3                 8       6       8     4 5     4 5         0           5   7   0      Tumors

Alimentary System
Esophagus                                                     + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       + +             +     +   +   + + +                   +   +   +              53
Intestine large, c o l o n                                    + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       + +             +     +   +   + "+ +                  +   +   +              53
Intestine large, r e c t u m                                  + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       + +             +     +   +   + + +                   +   +   +              53
Intestine large, c e c u m                                    + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       + +             +     +   +   + + +                   +   +   +              53
Intestine small, d u o d e n u m                              + +     +   +   +   +        +       +       +       + M +            +    +   +       +       +       + +             +     +   +   + + +                   +   +   +              52
Intestine small, j e j u n u m                                + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       ++              +     +   +   + + +                   +   +   +              53
Intestine small, ileum                                        + +     +   +   +   +        +       +       +       + + +            +    +   +       +       +       + +             +     +   +   + + +                   +   +   +              53
    Fibroma                                                     X                                                                                                                                                                                  1
Liver                                                         + +     + + +       +        +       +       +       +        +   +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53
    Hemangioma                                                                                                                                                                                                                 X                   1
    Hepatocellular carcinoma                                                                                                                                                 X                                                                     1
    Hepatocellular adenoma                                        X X                                                                    X                                                                                     X                   5
    H e p a t o c e l l u l a r a d e n o m a , multiple      X                                                                                                                                                                                    1
Mesentery                                                                                                                                                                                                                                          1
    M e s o t h e l i o m a m a l i g n a n t , metastatic                                                                                                                                                                                         1
Pancreas                                                      + + + + +           +        +       +       +       +       +    +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53
Salivary g l a n d s                                          + + + + +           +        +       +       +       +       +    +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53
Stomach, forestomach                                          + + + + +           +        +       +       +       +       +    +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53
Stomach, glandular                                            + + + + +           +        +       +       +       +       +    +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53

Cardiovascular              System
Heart                                                         + + + + +           +        +       +       +       +        +   +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53

Endocrine System
A d r e n a l cortex                                          + + + + +           +        +       +       +       +        +   +   +    +   +       +       +       +       +       +     +   +   +       +       +       +   +   +              53
     Adenoma                                                                                                                                                                         X                                                             1
Adrenal medulla                                               + + + + + + + + + + + + + + + +       + + + +  + + + + +    + ++                                                                                                                    52
     Pheochromocytoma benign                                       X    X   X X    X      X                                    X                                                                                                                  13
     Bilateral, p h e o c h r o m o c y t u m a b e n i g n     X                       X        X X            X    X      X                                                                                                                     1!
Islets, p a n c r e a t i c                                   + + + + +   + + + + + + + + + + + + + + + + + + + + + + +                                                                                                                           53
     Adenoma                                                    X                                               X                                                                                                                                  2
     A d e n o m a , multiple                                                             X                                                                                                                                                        1
     Carcinoma                                                                X                                                                                                                                                                    1
Parathyroid gland                                             + + + + M + + + + + + + +      + + + + + + + + + +     + ++   + +                                                                                                                   50
     Adenoma                                                                                          X                                                                                                                                            1
Pituitary g l a n d                                           + + + + + +   + + + + + +   + + + + + +    + + + + + + +    + + +                                                                                                                   52
     Pars distalis, a d e n o m a                               XX      X          XX          X XX      X   X       X X    X                                                                                                                     18
Thyroid gland                                                 + + + + +   + + + + + + + + + + + + + + + + + + + + + + +                                                                                                                           53
     C-cell, a d e n o m a                                            X                   X                                                                                                                                                        5
     Follicular cell, a d e n o m a "                                     X                                                                                                                                                                        3

General Body System
Tissue N O S
   M e s o t h e l i o m a m a l i g n a n t , metastatic
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TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0.62 mg/m 3
(continued)

                                                            4 5 5 5 5 5 5 5 5                                    5 5 5 5 6 6 6 6 6 6 6 6 6 6 6 6
Number of Days on Study                                     6 0 1 2 2 3 4 6 6                                    7 7 7 9 1 . 1 2 2 3 4 4 4 7 7 7 7
                                                            6 3 9 0 4 8 2 4 7                                    0 0 2 5 8 8 3 9 3 3 7 9 0 5 9 9

                                                            1   1   1   1   1    1   1       1       1       1   1   1   1   1   1   1       1       1       1   1   1   1   1   1   1
Carcass ID Number                                           4 6 4 6 6 8 7 3 5                                4   8   7   4   5   7   5       7       5 4 4 7 8 4 6 9
                                                            5 0 9 5 6 4 9 9 7                                6   9   4   7   3   2   0       0       6 2 1 6 1 8 7 3

Genital System
Epididymis                                                  + + + + +            +       +       +       +       +   +   +   +   + +             +       +       +   +   +   +   +       +    +   +
   M e s o t h e l i o m a m a l i g n a n t , metastatic                   X
Preputial g l a n d                                         + + + + +            +       +       +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
   Adenoma                                                                                                                   X       x
   Fibrous histiocytoma                                     X
Prostate                                                    + + + + +            +   +           +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
Seminal vesicle                                             + + +++              +   +           +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
Testes                                                      + + + + +            +   +           +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
   Bilateral, interstitial cell, a d e n o m a                              XX                                       XXX         X               X                   XXX                 XX
   Interstitial cell, a d e n o m a                         X           X            X                                               X                           X               X                X

Hematopoietic System
Bone marrow                                                 + + + + +            +   +           +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
Lymph node                                                     +    +            +                                   +       +   +       +                           +   +   +                    +
Lymph node, bronchial                                       + + + M +            +   +           +       ++          +   +   +   +       +       +M+                 +   +   +   +       +    +   +
Lymph node, mandibular                                      + + + + +            +   +           +       + +         +   +   +   +       +       +M+                 +   +   +   +       +    +   +
Lymph node, mesenteric                                      + + + + +            +   +           +       + +         +   +   +   +       +       + +             +   +   +   +   +       +    +   +
L y m p h n o d e , mediastinal                             + + + + +            +   +           +       +       +   +   +   +   +       +       +       +M+             +   +   +       +    +   +
Spleen                                                      + + + + +            +   +           +       +       +   +   +   +   +       +       +       + +         +   +   +   +       +    +   +
Thymus                                                      + + + + +            +   +           +       +       +   +   +   +   +       +       +       + +         +   +   +   +       +    +   +

Integumentary System
Mammary gland                                               + + + + +            +   +           +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
Skin                                                                                                             +       +
   Fibroma                                                                                                               X
   Keratoacanthoma                                                                                               X
   S q u a m o u s cell c a r c i n o m a
   S q u a m o u s cell p a p i l l o m a                                                                        X

Musculoskeletal          System
Bone                                                        +   + + + +          +       +       +       +       +   +   +   +   +       +       +       +       +   +   +   +   +       +    +   +
  Pelvis, h e m a n g i o s a r c o m a

N e r v o u s System
Brain                                                       + + + + + + + + + + 4 - + + + + + + + + + + + + + +
     G r a n u l a r cell t u m o r NOS                                  X

Respiratory System
Larynx                                                      + + + + + + + + + + + + + + + + + + + + + + + 4 - +
Lung                                                        + + + + +  + + + + + + + + + + + + + + + + + +                                                                                    +   +
   Alveolar/bronchiolar adenoma                                                                X
Nose                                                        + + + + + + + + + + + + + + 4 - + + + + + + 4 - + + +
Trachea                                                     ++  +++    + + + + + + + + + + + + + + + + + +                                                                                    +   +

Special Senses            System
Eye                                                                                                                                      +                           +
   Lids, f i b r o m a
Harderian gland                                                                                                                                                                               +
   Carcinoma                                                                                                                                                                                  X
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Lesions in Male Rats                                                                                                                                                                          139


TABLE A2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 0.62 mg/m 3
(continued)

                                                            6 6 6 6 6 7 7 7 7 7 7 7 7 7 7 7 7 7 7 " 7 7 7 7 7 7 7 7 7
Number of Days on Study                                     8    8 999            0 0 0 0 1 1 1 2                   3 3 3 3 3 3 3 3 3                    3 3 3 3          3   3
                                                            5    6 6 7        7   0 3 4 9 2 7 7 0 3                 3 3 3 3 3 3 3 6 6 6                  6 6 7 7

                                                            1 1 1 1 1             1   1   1     1   1   1   I   1   1   1   1   1    1   1   I   I   1   1   1   1   1    1    1      Total
Carcass ID Number                                           43   738   6 4 5 3 9 6 7 5 3                                5   6 7 7 8 8 9 5 6 7 88      8                       9    Tissues/
                                                            0 6 7 3 2 9 3 8 2 2 8 1 2 8 1                                   1 3 8 6 8 4 5 4 5 0 5 7 0                              Tumors

Genital System
Epididyrnis                                                 + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +    +    +        53
   M e s o t h e l i o m a m a l i g n a n t , metastatic                                                                                                                                1
Preputial g l a n d                                         + + + ÷ +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +    +    +        53
   Adenoma                                                                                                                                           X                                   3
   Fibrous histiocytoma                                                                                                                                                                   1
Prostate                                                    + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    + +     +   +   +   +   +   +   +    +    +        53
Seminal vesicle                                             + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +.+     +   +   +   +   +   +   +    +    +        53
Testes                                                      + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    + +     +   +   +   +   +   +   +    +    +        53
   Bilateral, interstitial cell, a d e n o m a                       XX           X       X X X X X X X X X X X X X X X X X X X X X                                                     36
   Interstitial cell, a d e n o m a                         XX                        X                                                                                                 10

Hematopoietic System
]lone m a ~ o w                                             + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +    +    +        53
Lymph node                                                     + +                +                 +       +   +   +                                +                                  19
Lymph node, bronchial                                       + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +    +    +        51
Lymph node, mandibular                                      + + + + + + + + + + + +                         + + M + + + + + + +                  +   + +             + + +              51
L y m p h node, mesenteric                                  + + + + +  + + + + + +                          + + + + + + + + +                    +   + +     +   +   + + +              53
L y m p h node, mediastinal                                 + + + + +  + + + + + +                          + + + + + + + + +                    +   + +     +   +   + + +              52
Spleen                                                      + + + + +  + + + + + +                          + + + + + + + + +                    +   + +     +   +   + + +              53
Thymus                                                      + + + + +             +   +   +M+           +   +M+         +   +   +    +   +   +   +   +   +   +M+          +M            49

Integumentary              System
Mammary gland                                               + + +++               +   +   +'+       +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +    +   +    +         53
Skin                                                                                  +                     +                                                                             4
   Fibroma                                                                                                                                                                                1
   Keratoacanthoma                                                                                                                                                                        1
   S q u a m o u s cell c a r c i n o m a                                             X                                                                                                   1
   S q u a m o u s cell p a p i l l o m a                                                                                                                                                 1

Musculoskeletal              System
Bone                                                        + . 4 - + + + + + + + + + + + + + + + + + + + + + + + + + +                                                                  53
  Pelvis, h e m a n g i o s a r c o m a                                          X                                                                                                        I

Nervous System
Brain                                                       + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +    +   +    +         53
   G r a n u l a r cell tumor" N O S                                                                                                                                                      1

Respiratory   System
Larynx                                                      +    +   +    +   q- +    +   +     +       +   +   +   +   +   +   +    +   q- +    +   +   +   +   +    +   +    +         52
Lung                                                        + + + + +             +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +    +   +    +         53
   Alveolar/bronchiolar adenoma                                                                                                                                                           1
Nose                                                        + + +++               +   +   +     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +    +   +    ÷         53
Trachea                                                     ÷ + + + +             +   +   ÷     +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +    +   +    +         53

Special Senses System
Eye                                                                  +            +       ÷
   Lids, f i b r o m a                                                                    X
Harderian gland
   Carcinoma
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140                                                                                       Nickel O x i d e , N T P T R 451



TABLE A 2
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide:   0.62 mg/m 3
(continued)

                                4 5 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6 6
N u m b e r o f Days on Study   6 0 1 2 2 3 4 6 6 7 7 7 9 1   1 2 2 3 4 4 4 7 7 7 7
                                6 3 9 0 4 8 2 4 7 0 0 2 5 8 8 3 9 3 3 7 9 0 5 9 9

                                1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1
C a r c a s s ID N u m b e r    4 6 4 6 6 8 7 3 5 4 8 7 4 5 7 5 7 5 4 4 7 8 4 6 - 9
                                5 0 9 5 6 4 9 9 7 6 9 4 7 3 2 0 0 6 2 1 6 1 8 7 3

U r i n a r y System
Kidney                          + + +++       + + + + + + + + + + + + + + + + + + + +
Urinary bladder                 +++++         + + + + + + + + + + + + + + + + + + + +

Systemic Lesions
Multiple organs
  Leukemia mononuclear            X   X       X   X   XX    XXXX        X X X X X X X X
  Mesothelioma malignant                  X
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Lesions in Male Rats                                                                                                                                                                141


TABLE A 2
I n d i v i d u a l A n i m a l T u m o r P a t h o l o g y o f M a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e :   0.62 mg/m 3
(continued)

                                                    6 6 6 6 6 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                             8 8 9 9 9 0 0 0 0 1    1 1 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                    5 6 " 6 7 7 0 3 4 9 2 7 7 0 3 3 3 3 3 3 3 3 6 6 6 6 6 7 7

                                                    1 1 111    1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 I 1 1 1 1                                                                Total
Carcass ID Number                                   4 3 7 3 8 6 4 5 3 9 6 7 5 3 5 6 7 7 8 8 9 5 6 7 8 8 8 9                                                              Tissues/
                                                    0 6 7 3 2 9 3 8 2 2 8 1 2 8 1    1 3 8 6 8 4 5 4 5 0 5 7 0                                                           Tumors

U r i n a r y System
Kidney                                              --F +    +   +   +   ÷   +   --I- -F ÷   ..F -I- +    --F +   -I- -I- +    +   ÷   ..F ÷    --I- +   -F +    +   +         53
Urinary bladder                                      +   +   ÷   +   ÷   -I- +   +   +   +   +   +   -F +     +   -I- ÷    ÷   ÷   -I- +   ÷    -F-~     +   +   +   +         53

Systemic Lesions
Multiple organs                                      + + + + +           +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +    +   +    +   +   +   +         53
  Leukemia mononuclcar                              XXXX                 X           X       XXXX                 X                        X        X            X             32
  Mcsothelioma malignant                                                                                                                                                        l
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TABLE A2
Individual    Animal    Tumor    Pathology        of Male   Rats in the 2-Year               Inhalation         Study   of Nickel Oxide:          1.25 mg/m 3


                                         2 3 4 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6
Number of Days on Study                  0 6 5 1 2 4 4 6 6 6 7 7 8 9 0 1   1 1 1 2 2 2 4 4 5
                                         2 7 7 9 5 1 6 4 7 7 0 8 8 2 6 8 8 9 9 0 4 7 7 7 0

                                         2 3 3 3 2 3 3 2 2 3 3 3 2 2 2 2 2 2 2 3 3 2 2 3 2
Carcass ID Number                        6 1 2 2 9 1 2 8 9 1 0 1 8 8 7 6 9 6 9 0 0 7 9 2 8
                                         7 1 4 3 0 9 2 3 7 8 8 2 2 1 5 9 2 3 5 4 0 4 8 1 4

Alimentary System
Esophagus                                + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
Intestine large, colon                   + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
Intestine large, rectum                  + + + + + + + + + + M + +                            ++       + + + + +            +   ++       ++
   Anus, leiomyoma                                                                                                                       X
Intestine large, cecum                   + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   + +
Intestine small, duodenum                + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   + +
Intestine small, jejunum                 + ++++             +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   + +
Intestine small, ileum                   + + + ~ +          +   +   +   +   .+   +   +   +    +    +   +    +   +   +   +   +   +    +   + +
Liver                                    + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   + +
   Hepatocellular carcinoma
   Hepatocellular carcinoma, multiple                               X
    Hepatocellular adenoma                                                  X                                       X
Pancreas                                 + + + + +          +   +   +   +   + +      +   +    +    +   +    +   +   +   +   +   +    +   +    +
Salivary glands                          + + + + +          +   +   +   +   + +      +   +    +    +   +    +   +   +   +   +   +    +   +    +
    Squamous cell carcinoma                                                                                                              X
Stomach, forestomach                     + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
Stomach, glandular                       + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
Tongue
    Squamous cell carcinoma

Cardiovascular System
Blood vessel
Heart                                    ++       +++       +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +


Endocrine System
Adrenal cortex                           + ++++             +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
Adrenal medulla                          + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
    Pheochromocytoma malignant                                                                                  X
    Pheochromocytoma benign                         X                                    X             X                X                     X
    Bilateral, pheochromocytoma benign
Islets, pancreatic                       + + + + +          +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
    Adenoma
    Carcinoma                                                                                      X
Parathyroid gland                        +++M+              +   +   +   +   +    +   +   +    +    +   +    +   +   +   +   +   +    +   +    +
    Adenoma
Pituitary gland                          + ÷ + + +          +   +   +   +   +    +   +   +    +    +   W +      +   +   + + +        +   +    +
    Pars distalis, adenoma                    X                         X                          X                    XXX
    Pars intermedia, carcinoma
Thyroid gland                            + + + M + + + + + + + + + + + + +                                       + + + + +           +++
    C-cell, adcnoma
    C-cell, carcinoma
    Follicular cell, adenoma

General Body System
                                                                                                            +
Tissue NOS
   Lipoma                                                                                                   X
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Lesions in Male Rats                                                                                                                                                                                                                                        143


TABLE         A~
I n d i v i d u a l A n i m a l T u m o r P a t h o l o g y o f Male Rats in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                            1.25 m g / m 3
(continued)

                                                               6   6   6   6   6   6       6       7       7       7       7   7   7   7   7   7       7       7       7       7    7    7   7   7   7       7       7       7
Number          of Days on Study                               7 7 8 8 9 9 9 0 0 0 0 1 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                               4 6 1 1 0 0 7 6 6 6 7 7 0 3 3 3 3 3 3 3 3 4 6 6 6 6 7 7

                                                               2   3   3 3 2       2       2           2       2       2       3   2   2   2   2       2           2       2       2.2       3   2   2       2           3       3   3   3        T6tal
Carcass ID Number                                              8 1 127              9 8 67                             8     0 7 6         6 6 7 8 8 9 9 1 9                                         6 6 0 0                         0   I     Tissues/
                                                               0 6 0 5         0   9 7 5 3                         9       3 9 4 1         8 8 5 8 3 6 4 1 2 6                                       5 7 9 3                                   Tumors

Alimentary System
Esophagus                                                      + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     -t- +   +   +           +       +       +   +   +            53
Intestine large, c o l o n                                     + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     + +     +   +           +       +       +   +   +            53
Intestine large, r e c t u m                                   + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     +   +   +   +           W -b +              +   +            52
    Anus, leiomyoma                                                                                                                                                                                                                                    1
Intestine large, c e c u m                                     ++A     ++          +           +       +       +       +       +   +   +   +   +           +       +       +       +     + +     +   +           +       +       +   +   +            52
Intestine small, d u o d e n u m                               + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     + +     +   +           +       +       +   +   +            53
Intestine small, j e j u n u m                                 + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     + +     +   +           +       +       +   +   +            53
Intestine small, i l e u m                                     + + + + +           +           +       q-      +       +       +   +   +   +   +           +       +       +       +     + +     +   +           +       +       +   +   +            53
Liver                                                          + + + + +           +           +       +       +       +       +   +   +   +   +           +       +       +       +     .q- +   +   +           +       +       +   +   +            53
    Hepatocellular carcinoma                                                                                                                                               X                                                                           1
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                                                                                                                                           1
    Hepatocellular adenoma                                                         X                                                                                                                                                                   3
Pancreas                                                       + + + + +           +           -t- +           +       + -I- +         +   +       +       +       +       +       ~- +      +   +   +           +       +       +   +   +            53
Salivary g l a n d s                                           + + + + +           +           + +             +       q- + +          +   +       +       +       +       +       + +       +   +   +           +       +       +   +   +            53
    S q u a m o u s cell c a r c i n o m a                                                                                                                                                                                                             1
Stomach, forestomach                                           + + + + +               +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +   +           +       +       +   +   +            53
Stomach, glandular                                             ++   +++                +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +   +           +       +       +   +   +            53
Tongue                                                                                                                         +                                                                                                                       I
    S q u a m o u s cell c a r c i n o m a                                                                                     X                                                                                                                       1

Cardiovascular                System
Blood vessel                                                                                                                           +                                                                                                               1
Heart                                                          + + + + +               +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +   +           +       -t- +       +   +            53

Endocrine System
A d r e n a l cortex                                           + + + + +               +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +   +           +       +       +   +   +            53
A d r e n a l medulla                                          + + + + +               +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +   +           +       +       +   +   +            53
     Pheochromocytoma malignant                                                                                                                                                                                                                        1
     Pheochromocytoma benign                                           X                               X X X X                                             X                       X X X X X                             X                            17
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n      XXX                     X                                       XXX                                                                                 X                   X             9
Islets, p a n c r e a t i c                                    + + + + +               + +             +       +       +       + + +       +       +       +       +       +       +     +   +   +   +           ..F -t- +           +   +            53
     Adenoma                                                                                                           X                                                                                                 X                             2
     Carcinoma                                                                                                                                                                                                                       X                 2
Parathyroid gland                                              + + M + +               +       +       +       +       +       +   +   +   +       +       +M+                     +     +M+             +       +       +       +   +   +            49
     Adenoma                                                                                                                       X                                                                                                                    1
Pituitary g l a n d                                            + + + + +               +       +       +       +       ++          +   +   +       +       +M+                     +     +   +   +       +       +       +       +   +   +            52
     Pars distalis, a d e n o m a                              XX     X                                                XX                                  X               XX                X                                   X                    16
     P a r s intermedia, c a r c i n o m a                                                                                                 X                                                                                                            1
Thyroid gland                                                  + + +++                 +       +       +       +       +       +   +   +   +       +       +       +       +       +     +   +   +       +       +       +       +   +   +            52
     C-cell, a d e n o m a                                                                                                         X                       X                                     X                               X                     4
     C-cell, c a r c i n o m a                                                                                                                                                                                                                          1
      Follicular cell, a d e n o m a                                                                                                               X                                                                             X                     2

General Body System
Tissue N O S                                                                                                                                                       +                                                                                   2
   Lipoma                                                                                                                                                          X                                                                                   2
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TABLE        A2
Individual Animal T u m o r Pathology of M a t e                                  Rats            in the 2-Year Inhalation Study of Nickel Oxide:                                                                      1.25 m g / m 3
(continued)

                                                          2   3   4   5   5   5       5       5       5   5   5   5   5    5       6       6       6       6       6   6   6   6   6       6       6
Number o f D a y s           on Study                     0 6 5 1 2 4 4 6 6 6 7 7 8 9 0                                                                1 1 1 1 2 2 2 4 4 5
                                                          2 7 7 9 5  1 6 4 7 7 0 8 8 2 6                                                       8       8 9 9 0 4 7 7 7 0

                                                          2 3 3 3 2 3 3 2 2 3 3 3 2 2 2 2 2 2 2 3                                                                                  3 2 2 3 2
Carcass ID Number                                         6 1 2 2 9  1 2 8 9   1 0 1                                       8 8 7 6 9 6 9 0 0 7 9 2 8
                                                          7 1 4 3 0 9 2 3 7 8 8 2 2                                           1 5 9 2 3 5 4 0 4 8    1                                                         4

Genital S y s t e m
Epididymis                                                + + + + +           +           +       +       +   +   +   +    +       +           +       +       +       +   +   +   +       +           +   +   +
Preputial g l a n d                                       + + + + +           +           +       +       +   +   +   +    +       +           +       +       +       +   +   +   +       +           +   +   +
    Adenoma                                                                                                         X
    Carcinoma                                                                                                       X
Prostate                                                  + + + + +           +           +       +       +   +   + +      +       +           +       +       +       +   +   +   +       +           +   +   +
    Adenoma
Seminal vesicle                                           + + + + +           +           +       +       +   +   +   +    +       +           +       +       +       +   +   +   +       +           +   +   +
Testes                                                    + + + + +           +           +       +       +   +   +   +    +       +           +       +       +       +   +   +   +       +           +   +   +
    Bilateral, interstitial cell, a d e n o m a                                                   X                   XX                   X X X X                                                     XXX
   .Interstitial cell, a d e n o m a                              X X         X X                                 X                X                                       X       X

Hematopoietic System
Bone marrow                                               + + + + +               +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
Lymph node                                                +       +                       +                   +            +       +                                       +                                   +
Lymph node, bronchial                                     + + +++                 +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
Lymph node, mandibular                                    + + + + +               +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
    S q u a m o u s cell c a r c i n o m a , metastatic                                                                                                                                                    X
L y m p h n o d e , mesenteric                            + + + + +               +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
L y m p h n o d e , mediastinal                           + + +++                 +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
Spleen                                                    + + + + +               +       +       +       +   +   +   +    +       +           +       +       +       +   +   +   +           +       +   +   +
    Fibrosarcoma
Thymus                                                    + + + + +               +       +       +       +   +   +   + M M +                          +       +       +   +   +   +           +       +   +   +

Integumentary S y s t e m
Mammary gland                                             + + + + +               +       +       +       +   +   +   +    +           +       +       +       +       +   +   +   +           +       +   +    +
   Fibroadenoma
Skin                                                                      +       +               +                   +
   Basal cell a d e n o m a
   Fibroma                                                                X
   Keratoacanthoma
   Lipoma
   S q u a m o u s cell p a p i l l o m a
   Trichoepithelioma
   Scrotum, fibroma                                                               X
   S u b c u t a n e o u s tissue, s a r c o m a

Musculoskeletal              System
Bone                                                      +   + + + +             +       +       +       +   +   +   +        +       +       +       +       +       +   +   +       +       +       +   +       +

Nervous System
Brain                                                     + + + + +               +       +       +       +   +   +   +        +       +       +       +       +       +   +   +       +       +       +   +       +
   Astrocytoma NOS                                                                                                                                     X
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Lesions in Male Rats                                                                                                                                                                                                                                  145


TABLE        A2
Individual          Animal          Tumor          Pathology       of Male         Rats             in the              2-Year Inhalation Study of Nickel Oxide:                                                                1.25 m g / m 3
(continued)

                                                          6    6   6   6   6   6    6       7       7       7       7       7   7   7   7   7       7       7       7       7       7   7   7   7   7   7       7       7
Number         of Days on Study                           7    7 8     8 9     9     9          0       0       0       0       1   3   3   3       3           3       3       3       3   3   3   3   3           3       3   3   3
                                                          4    61      10      0     7          6       6       6       7       7   0   3   3       3           3       3       3       3   3   4   6   6           6       6   7   7

                                                          2    3   3   3 2     2     2          2       2       2       3       2   2   2   2       2           2       2       2       2   3   2   2   2           3       3   3   3        Total
Carcass       ID Number                                   8    1 12  7         9     8          6       7       8       0       7   6   6   6       7           8       8       9       9   1   9   6   6           0       0   0   1     Tissues/
                                                          0    6 0 5 0         9     7          5       3       9       3       9   4   1   8       8           5       8       3       6   4   1   2   6           5       7   9   3     Tumors

Genital System
Epididymis                                                + + + + +            +        +       +       +       +       +       +   +   +   +           +       +       +       +       +   +   +   +   ÷           +       +   +   +            53
Preputial g l a n d                                       + + + + +            +        +       +       +       +       +       +   +   +   +           +       +       +       +       +   +   +   +   +           +       +   +   +            53
   Adenoma                                                                     X                                                                                                                                                                  2
   Carcinoma                                                                                                                                                                                                                                      1
Prostate                                                  + + + + + + + + + +                                           +       +   +   +   +           +       +       + .+            +   +   +   +       +       +       +   +   +            53
   Adenoma                                                  X                                                                                                                                                                                     1
Seminal vesicle                                           + + + + + + + + + +                                           +       +   + + +               +       +       +       + +         +   +   + + + +                     + +              53
Testes                                                    + + + + + + + + + +                                           +       +   + + +               +       +       +       + +         +   +   + + + +                     + +              53
   Bilateral, interstitial cell, a d e n o m a                  X X X   X X X                                                       X X X                                       X X                 X X X X                     X X              27
   Interstitial cell, a d e n o m a                           X       X                                                         X                   X X X                                   X X                                                  16

Hematopoietic S y s t e m
Bone m a r r o w                                          + +      +   + + +            +       +       +       +       +       +   +   +   +           +       +       + + +               +   +   +       +       +       +   +   +            53
Lymph node                                                  +      +   +                +               +       +                           +                             +                                                                      16
L y m p h node, b r o n c h i a l                         + +      +   + + +            +       +       +       +       +       +   +   +   +           +       +       + + +               +   +   +       +       +       + +     +            53
L y m p h node, m a n d i b u l a r                       + +      +   + M +            +       +       +       +       +       +   +   +   +           +       +       + M +               +   +   +       +       +       + M     +            50
    S q u a m o u s cell c a r c i n o m a , metastatic                                                                                                                                                                                           1
L y m p h n o d e , mesenteric                            + + + +          +   +        +       +       +       +       +       +   +   +   +           +       +       +       +       + + +       +       +       +       +   +   +            53
L y m p h n o d e , mediastinal                           + + + +          +   +        +       +       +       +       +       +   +   +   +           +       +       +       +       + M +       +       +       +       +   +   +            52
Spleen                                                    + + + +          +   +        +       +       +       +       +       +   +   +   +           +       +       +       +       .+ + +      +       +       +       +   +   +            53
    Fibrosarcoma                                                X                                                                                                                                                                                 1
Thymus                                                    + + + +          +   +        + M +                   +       +       +   + M +               +       +       +       + M +           +   +       +       +       +   + M              47

Integumentary S y s t e m
Mammary gland                                             + +      + + +       +        +       +       +       +       +       +   +   +   +           +       +       +       +       +   +   +   +       +       +       +   +   +            53
   Fibroadenoma                                                      X                                                                                                                                                                            1
Skin                                                                   +       +                +       +               +       +                                                       +       +                   +           +                14
   Basal cell a d e n o m a                                                                     X                                                                                                                                                 1
   Fibroma                                                                                                                                                                                                                                        1
   Keratoacanthoma                                                                                                                                                                                                  X                             1
   Lipoma                                                                                                                       X                                                                                                                 1
   S q u a m o u s cell p a p i l l o m a                                                                                                                                                                                                         1
   Trichoepithelioma                                                                                                    X                                                                                                                         1
   Scrotum, fibroma                                                                                                                                                                                                                               1
   S u b c u t a n e o u s tissue, s a r c o m a                                                                                                                                        X                                                         1

Musculoskeletal              System
Bone                                                      + + + + +            +        +       +       +       +       +       +   +   +   +           +       +       +       +       +   +   +   +       +       +       +   +   +            53

Nervous System
Brain                                                     + + + + +            +        +       +       +       +       +       +   +   +       +       +       +       +       +       +   +   +   +       +       +       +   +   +            53
   Astrocytoma NOS                                                                                                                                                                                                                                1
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TABLE A2
Individual Animal Tumor Pathology of M a l e          Rats in the           2-Year Inhalation Study of N i c k e l Oxide:                  1.25 mg/m 3
(continued)

                                          2 3 4 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6
Number of Days on Study                   0 6 5 1 2 4 4 6 6 6 7 7 8 9 0 1   1 1 1 2 2 2 4 4 5
                                          2 7 7 9 5 1 6 4 7 7 0 8 8 2 6 8 8 9 9 0 4 7 7 7 0

                                          2 3 3 3 2 3 3 2 2 3 3 3 2 2 2 2 2 2 2 3 3 2 2 3 2
Carcass ID Number                         6 1 2 2 9 1 2 8 9 1 0 1 8 8 7 6 9 6 9 0 0 7 9 2 8
                                          7 1 4 3 0 9 2 3 7 8 8 2 2  1 5 9 2 3 5 4 0 4 8   1                                          4

R e s p i r a t o r y System
Larynx                                    + + + + +   +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +
Lung                                      + + + + +   +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +
    Alveolar/bronchiolar adenoma
    Alveolar/bronchiolar carcinoma
    Alvcolar/bronchiolar carcinoma,
       squamous differentiation
Nose                                      + + + ++    +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +
Trachea                                   + ++++      +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +

Special Senses System
Ear                                                                                 +
   Fibroma                                                                          X
Eye                                                                                 +                                    +        +

U r i n a r y System
Kidney                                    + + + + +   +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +
     Renal tubule, adenoma                                                                                                    X
     Transitional epithelium, carcinoma
Urinary bladder                           + + + + +   +   +    +   +   +    +   +   +    +   +   +   +   +   +   +   +   +    +   +   +

Systemic Lesions
Multiple organs
  Leukemia mononuclear                    X   -XX         XX           XX           XX           X       X               XX           X
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Lesions in Male Rats                                                                                                                                                                                  147


TABLE A2
Individual Animal Tumor Pathology of M a l e                Rats        in the    2-Year Inhalation Study of Nickel Oxide: 1.25 mg/m 3
(continued)

                                        6   6   6   6   6   6   6   7    7    7   7       7       7       7       7       7       7   7   7   7   7   7   7   7   7   7   7    7
Number of Days on Study                 7 7 8 8 9 9 9 0 0 0 0 1 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                        4 6 1 1 0 0 7 6 6 6 7 7 0 3 3 3 3 3 3 3 3 4 6 6 6 6 7 7

                                        2 3 3 3 2 2 2 2 2 2 3 2 2 2 2 2 2 2 2 2 3 2 2 2 3 3    33                                                                                             Total
Carcass ID Number                       81  127   9 8 6 7 8 0 7 6 6 6 7 8 8 9 9 1 9 6 6 0 0 0 1                                                                                            Tissues/
                                        0 6 0 5 0 9 7 5 3 9 3 9 4 1 8 8 5 8 3 6 4 1 2 6 5 7 9 3                                                                                            Tumors

Respiratory System
Larynx                                  + + + + +           +   +   +     +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +    +   +       +        53
Lung                                    + + + + +           +   +   +     +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +    +   +       +        53
   Alveolar/bronchiolar adenoma                                                                                                       X X                                              X         3
   Alveolar/bronchiolar carcinoma
   Alveolar/bronchiolar carcinoma,
    squamous differentiation            X                   X                                                                                                                                    2
Nose                                    + + + + +           + +     +     +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +    +   +       +        53
Trachea                                 + + + + +           + +     +     +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +    +   +       +        53

Special Senses. System
Ear
   Fibroma
Eye

Urinary System
Kidney                                  + + + + +           +   +   +     +   +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +    +       +   +        53
   Renal tubule, adenoma                                                                                                                                                                         1
   Transitional epithelium, carcinoma          X                                                                                                                                                 1
Urinary bladder                         + + + + +           +   +   +     +   +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +    +       +   +        53

Systemic Lesions
Multiple organs                         + + + + +           +   + + + +               +       +       +       +       +       +       +   +   +   +   +   +   +   +   +    +   +       +        53
  Leukemia mononuclear                    XXXX                  X X X X                       X                       X                                   X                    X                26
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TABLE A2
Individual Animal T u m o r                    Pathology       of Mal.e Rats          in the 2-Year        Inhalation       Study   of Nickel       Oxide:       2.5 mg/m 3


                                                           4 4 4 5 5 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6
Number        of Days on Study                             6 6 7 3 3 4 4 5 6 7 7 7 7 8 9 9 1 1 2 2 2 2 3 4
                                                           7 8 5 6 9 4 5 3 5 0 0 0 8 3 4 5 5 5 3 4 5 5 3 7

                                                           4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 3 4 4 4
Carcass       ID Number                                    0 1 5 0 0 4 4 0 4 1 1 3 4 3 3 0 3 4 3 4 9 1 3 - 5
                                                           5 2 1 0 2 6 2 8 9 6 8 5 0 8 9 7 7 3 0 4 4 9 6 3

Alimentary System
Esophagus                                                  + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
Intestine large, colon                                     + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
    Mesothelioma malignant, metastatic                     X
Intestine large, rectum                                    + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
Intestine large, c e c u m                                 + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
Intestine small, d u o d e n u m                           + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
    Mesothelioma malignant, metastatic                     X
Intestine small, jejunum                                   + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
   Mesothelioma malignant, metastatic                      X
Intestine small, ileum                                        +++      +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
Liver                                                      + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
    Fibrous histiocytoma, metastatic                                   X
    Hepatoeellular carcinoma
    Hepatocellular adenoma
    Histiocytic sarcoma, metastatic, skin                                                                           X
    Mesothelioma malignant, metastatic                     X
Mesentery                                                  +
   Mesothelioma malignant, metastatic,
     testes                                                X
Pancreas                                                   + +++       +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
   Mesothelioma malignant, metastatic                      X
Salivary glands                                            + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
Stomach, forestomach                                       + + + +     +    +     +    +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +
   Mesothelioma malignant, metastatic,
     testes                                                X
Stomach, glandular                                         + + + +     ÷    +'+        -b +    ÷   +   ÷   +    +   +   +   +   +   +   ÷   -b -b +     +
   Mesothelioma malignant, metastatic                      X

Cardiovascular  System
Heart                                                      + + + +     +    +     +    +   +   +   +   +   +    +   +   +   +   +   .+ +    +   +   +   +
  Carcinoma, metastatic, lung

Endocrine System
Adrenal cortex                                             + + + + + + + + + + + + + + + + + + + + + + . 4 - +
Adrenal medulla                                            + + + +  + + + + + + + + + + + + + + + + + +                                             +   +
    P h e o c h m m o c y t o m a malignant                X                                                            X
    Pheochromocytoma benign                                                            X                X           X       XXX                         X
    Bilateral, p h e o c h r o m o c y t o m a benign                                                X                                              X
Islets, pancreatic                                         ÷ + + ÷     +    -b +       +   -b +    + -b +       +   -~- +   ÷   +   +   ÷   +   -~- +   +
    Adenoma
Parathyroid gland                                          + + + +  +       +     + +      +   +   +   +   +    +   +   +   +   +   +   +   +   + +M
Pituitary gland                                            + + + -b +       ÷     -k +     +   +   ÷   ÷   ÷    +   +   +   +   +   +   ÷   +   -b -b +
    Pars distalis, adenoma                                             X                                                                    X X
Thyroid gland                                              -b + -b +   ÷    +     +    +   ÷   ÷   +   .+ +     ÷   +   +   +   +   +   +   + +     +   +
    C-cell, adenoma
    Follicular cell, adenoma
    Follicular cell, carcinoma                                                                                                                          X
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Lesions       in Male        Rats                                                                                                                                                         149



TABLE A2
Individual          Animal          Tumor         Pathology      of Male     Rats    in the 2-Year           Inhalation       Study    of Nickel       Oxide:       2.5 mg/m    3
(continued)

                                                             6 6 6 6 6 6 6 6 6 6 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number         of Days on Study                              5 6 6 6 6 7 7 7 7 9 0 0 0 1 1 2 3 3 3 3 3 3 3 3 3 3                                                    3   3
                                                             1 0 05  5 I 1 6 9 7 7 7 9 7 9 3 3 3 3 6 6 6 6 6 6 6                                                    6   7

                                                             4 3 4 4 4 4 4 4 3 3 4 4 4 4 4 4 4 4 4 3 3 4 4 4 4 4 4 3                                                              Total
Carcass       ID Number                                      3 9 1 12   0 1 2 9 9 0 2 2 2 5 3 1 2 4 9 9 0 0 2 2 3                                                   4   9      Tissues/
                                                             3 7 7 15   9 3 2 3 1 1 4 8 6 4 1 5 7 8 6 9 3 4 0 1 4                                                   7   8      Tumors

Alimentary System
Esophagus                                                    + + + + +       +   +   +   +   +   +   +   +    +   +   +   +   +    +   +   +   +   +   +   +    +   +   +           52
Intestine large, colon                                       + + + + +       +   +   +   +   +   +   +   +    +   +   +   +   +    +   +   +   +   +   +   ÷    +   +   +           52
    Mesothelioma malignant, metastatic                                                                                                                                               1
Intestine large, rectum                                      + + + + +       +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
Intestine large, cecum                                       + + + + +       + + + + + + +               +++          +   + + M +          +   +   +   ++       ++      +           51
Intestine small, d u o d e n u m                             + + + + +       + + + + + +             +   + +      +   +   + + +'+          +   +   +   + +      + +     +           52
    Mesothelioma malignant, metastatic                                                                                                                                               1
Intestine small, jejunum                                     + + +++         +   +   +   +   +   +   +   +    +   +   +   +   +    +   +   +   +   +   +   +    +   +   +           52
    Mesothelioma malignant, metastatic                                                                                                                                               1
Intestine small, ileum                                       + + +++         +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           51
Liver                                                        + + +++         +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
    Fibrous histiocytoma, metastatic                                                                                                                                                  1
    Hepatocellular carcinoma                                                                                                                           X                             1
    Hepatucellular adenoma                                               X                                                                             X                             2
    Histiocytic sarcoma, metastatic, skin                                                                                                                                            1
    Mesothelioma malignant, metastatic                                                                                                                                               1
Mesentery                                                                                                                                                                             1
    Mesothelioma malignant, metastatic,
     testes                                                                                                                                                                           1
Pancreas                                                     + + +++         +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
    Mesothelioma malignant, metastatic                                                                                                                                                1
Salivary glands                                              + + + + +       +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
Stomach, forestomach                                         + + + + +       +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
    Mesothelioma malignant, metastatic,
     testes                                                                                                                                                                           1
Stomach, glandular                                           + + + + +       +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
    Mesothelioma malignant, metastatic                                                                                                                                                1

Cardiovascular System
Heart                                                        + + + + +       +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    +   +   +           52
  Carcinoma, metastatic, lung                                                                X                                                                                       1

Endocrine System
Adrenal cortex                                               + + +++         +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    -F +    +           52
Adrenal medulla                                              + + +++         +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +    + +     +           52
    Pheochromocytoma malignant                                                                                        X       X            X                      X                  6
    Pheochromocytoma benign                                                  X       X           X            X       X            X       X                    X X                 16
    Bilateral, p h e o c h r o m o c y t o m a b e n i g n     XX                X       XX          XX           X       X            X           XXX                  X           16
Islets, pancreatic                                           + + + + +       +   +   +   + +     +   + +      +   +   +   +    +   +   +   +   +   + +     +    +   +   +           52
    Adenoma                                                                  X               X                                                                                       2
Parathyroid gland                                            + + + + +       +M+         +   +   +   ++       +   +   +   +    +   +   +   +   +M+         +    +   +   +           49
Pituitary gland                                              + + + + +       + +     +   +   +   +   + +      +   +   +   +    +   +   +   +   + +     +   +    +   +   +           52
    Pars distalis, adenoma                                   XX        XX                        XX                                X       X X                                      12
Thyroid gland                                                + + + + +    +      +   +   +   +   + +     +    +   +   +   +    +   +   +   + +     +   +   +    +   +   +           52
    C-cell, adenoma                                                                          X                                                                  X                    2
    Follicular cell, adenoma                                      X                                                                                                                   1
    Follicular cell, carcinoma                                                                                                                                                        1
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TABLE A2
Individual     Animal     Tumor     Pathology    of Male Rats           in the 2-Year            Inhalation        Study   of Nickel Oxide:          2.5 mg/m 3
(continued)

                                              4 4 4 5 5 5 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6
Number of Days on Study                       6673    3 4 4 5 6 7 7 7 7 8 9 9   1 1 2 2 2 2 3 4
                                              7 8 5 6 9 4 5 3 5 0 0 0 8 3 4 5 5 5 3 4 5 5 3 7

                                              4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 3 4 4 4
Carcass ID Number                             0 1 5 0 0 4 4 0 4  1 1 3 4 3 3 0 3 4 3 4 9   1 35
                                              5 2 1 0 2 6 2 8 9 6 8 5 0 8 9 7 7 3 0 4 4 9 6 3

General Body System
Tissue NOS                                         +
   Basal cell carcinoma                           X
   Carcinoma, metastatic, lung
   Fibrosarcoma                                                                                            X

Genital System
Coagulating gland                                                                                                      +
Epididymis                                    ++++              +   +   +   +    +   +   +   +    +   +    +   +   +   +   +   +   +   +   +    +
Penis
Preputial gland                               + + + + M +               +   +    +   +   + +      +   +    +   +   +   +   +   +   +   +   +    +
   Adenoma                                                                               X X
   Carcinoma                                           X
Prostate                                      ++++              +   +   +   +    +   +   +   + +      +    +   +   +   +   +   +   +   +   +    +
Seminal vesicle                               ++++              +   +   +   +    +   +   +   + +      +    +   +   +   +   +   +   +   +   +    +
   Mesothelioma malignant, metastatic         X
Testes                                        ++++              +   +   +   +    +   +   +   +    +   +    +   +   +   +   +   +   +   +   +    +
   Bilateral, interstitial cell, adenoma               X            X       XX           X            XX                   X       X       XX
   Interstitial cell, adenoma                 XX           XX           X            X       X                 XXX             X

Hematopoietic S y s t e m
Bone marrow                                   ++++              + + + +          +   +   ++ + +            +   +   + +     +   +   +   +   +    +
Lymph node                                    +                 +                +        + + +                    +           +           +
Lymph node, bronchial                         ++++              + + + +          +   + ~- + + +            +   +   + +     +   +   +   +   +    +
Lymph node, mandibular                        + +++             + + + +          +   + + + + +             +   +   + +     +   +   +   +   +    +
Lymph node, mcsenteric                        ++++              + + + +          +   + + + + +             +   +   + +     +   +   +   +   +    +
Lymph node, mcdiastinal                       ++++              + + + +          +   + + + + +             +   +   + +     +   +   +   +   +    +~
Spleen                                        ++++              + + + +          +   + + + + +             +   +   + +     +   +   +   +   +    +
   Phcochromocytoma malignant,
    metastatic                                                                                                 X
Thymus                                          ++++            +   +   +   +    +   +   +   +    +   +M+          +   +   +   +   +   +   +M
  Carcinoma, metastatic,lung

Integumentary System
Mammary gland                                   ++++            +   +   +   +    +   +   +   +    +   +    +   +   +   +   +   +   +   +   +    +
Skin                                                                        +                         +    +               +
   Keratoacanthoma
   Papilloma
   Subcutaneous tissue, histiocytic sarcoma                                                                    X

Musculoskeletal System
Bone                                            +÷++            + + + + + + + + + + + +                            + + + + ÷           + +      +
Skeletal muscle                                                 +
   Fibrous histiocytoma                                         X

Nervous System
Brain
Peripheralnerve
   Ganglion, paraganglioma benign
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Lesions in Male Rats                                                                                                                                                                                                                                      151


TABLE        A~
Individual Animal Tumor Pathology of Male Rats in the 2-Year Inhalation Study of Nickel Oxide: 2.5 mg/m 3
(continued)

                                                            6   6   6   6    6   6       6       6       6       6       7   7   7   7   7   7       7       7       7       7       7   7   7    7   7       7       7       7
Number of Days on Study                                     5 6 6 6 6 7 7 7 7 9 0 0 0 1                                                      1 2 3 3 3 3 3 3 3 3 3 3 3 3
                                                            1 0 0 5 5  1 1 6 9 7 7 7 9                                                   7   9 3 3 3 3 6 6 6 6 6 6 6 6                                                                     7

                                                            4 3 4 4 4 4 4 4 3 3 4 4 4 4 4 4 4 4 4 3 . 3 4 4 4 4 4 4 3                                                                                                                             Total
Carcass ID Number                                           391     12           0       1           2       9       9       0   2   2   2   5       3           1       2       4       9   9    0   0       2           2       3   4    9   Tissues/
                                                            3 7 7 1 5            9       3           2       3       1       1   4   8   6   4       1           5       7       8       6   9    3   4       0           I       4   7    8   Tumors

General Body System
Tissue N O S                                                             +                                           +
   Basal cell c a r c i n o m a
   C a r c i n o m a , metastatic, l u n g                                                                           X
   Fibrosarcoma

Genital System
Coagulating gland                                                                                                                                                                                                                                     1
Epididymis                                                  + + + + +            +           +       +       +       +       +   +   +   +   +           +       +       +       +       +   +    +   +           +       +       +   +    +        52
Penis                                                                                                                                                                                                                     +                          I
Preputial g l a n d                                         + + + + +            +           +       +       +       +       +   +   +   +   +           +       +       +       +       +   +    +   +           +       +       +   +    +        51
   Adenoma                                                                                                                                                                                                                                           2
   Carcinoma                                                                                                                                                                                                                                         1
Prostate                                                    + + + + + + + + + + + + + + + + + + + . 4 - + + + + + + + +                                                                                                                             52
Seminal vesicle                                             + + + + +            +           +       +       +       +       +   +   +   +   +           +       +       +       +       +   +    +   +           +       +       +   +    +        52
   M e s o t h e l i o m a m a l i g n a n t , metastatic                                                                                                                                                                                            1
Testes                                                      + + + + +            +           +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +        52
   Bilateral, interstitial cell, a d e n o m a                      XX                               XX                                  XXX                                     XX                   X X X X X X                                   26
   Interstitial cell, a d e n o m a                             X            XXX                                     X               X                           XX                          XX                                                     21

Hematopoietic             System
Bone marrow                                                 + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         52
Lymph node                                                          ++                                                                                                                       +                    +       +           +              15
L y m p h node, b r o n c h i a l                           ++   +++                 +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         52
L y m p h node, m a n d i b u l a r                         + + +++                  +       +       +               +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         51
L y m p h node, mesenteric                                  + + + + +                +       +       +               +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         51
L y m p h n o d e , mediastinal                             + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         52
Spleen                                                      + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         52
    Pheochromocytoma malignant,
      metastatic                                                                                                                                                                                                                                      1
Thymus                                                      + + + + + + + + +                                        + + M + + + +                               +       ++M+                     +   +           +++                 ++             48
    C a r c i n o m a , metastatic, lung                                                                             X                                                                                                                                1

Integumentary System
Mammary gland                                               + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +   +           +       +       +   +    +         52
Skin                                                                                                                                                                             +                                                         +          6
   Keratoacanthoma                                                                                                                                                                                                                         X          1
   Papilloma                                                                                                                                                                     X                                                                    1
   S u b c u t a n e o u s tissue, histiocytic s a r c o m a                                                                                                                                                                                          1

Musculoskeletal             System
Bone                                                        + + +++                  +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +       +       +       +       +   +    +         52
Skeletal m u s c l e                                                                                                                                                                                                                                  1
   Fibrous h i s t i o c y t o m a                                                                                                                                                                                                                    1

Nervous System
Brain                                                       + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +    +       +       +       +       +   +    +         52
Peripheral n e r v e                                               +                                                                                                                                                                                  1
   Ganglion, paragangliorna benign                                       X                                                                                                                                                                            1
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TABLE A2
I n d i v i d u a l A n i m a l T u m o r P a t h o l o g y o f M a l e . R a t s i n t h e 2-Year I n h a l a t i o n Study o f N i c k e l   Oxide:        2.5 mg/m 3
(continued)

                                                      4445            5 5 5 5 5 5 55                   5 5 5 5 6 6 6 6 6 6 6 6
Number       of Days on Study                         6 6 7 3 3 4 4 5 6 7 7 7 7 8 9 9 1       1 2 2 2 2 3 4
                                                      7 8 5 ' 6 9 4 5 3 5 0 0 0 8 3 4 5 5 5 3 4 5 5 3 7

                                                      4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 3 4 4 4
Carcass     ID Number                                 0 1 5 0 0 4 4 0 4   1 1 3 4 3 3 0 3 4 3 4 9     1                                        35
                                                      5 2 1 0 2 6 2 8 9 6 8 5 0 8 9 7 7 3 0 4 4 9 6 3

Respiratory System
Larynx                                                + ÷ +÷          +   +   +   +    +   +   +   +       +   +   +   +   +   q- ÷    +   +   +    +
Lung                                                  -I- + + -I- +       +   +   ++       +   +   +   +   +   -I- +   +   +   +   +   +   -I- -I- +
   A l v e o l a r / b m n c h i o l a r adenoma                                                                                               X
   Alveolar/bronchiolar carcinoma
   Fibrous histiocytoma, metastatic                                   X
   Histiocytic sarcoma, metastatic, skin
   P h e o c h r o m o c y t o m a malignant,
     metastatic
Nose                                                  + +++           +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +
Trachea                                               + + + +         +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +

Special Senses System
Eye                                                   +               +       +                        +

Urinary System
Kidney                                                + + + +         +   +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +
   Histiocytic sarcoma, metastatic, skin                                                                     X
Urinary bladder                                       + + + +         +   +   +   +    +   +   +   +   +   + +     +   +   +   +   +   +   +   +    +

Systemic L e s i o n s
Multiple organs
  Histiocytic sarcoma                                                                                          X
  Leukemia mononuclear                                           XX           XXXX                 XXX             X X X X X                   X
  Mesothelioma malignant                              X
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L e s i o n s in M a l e R a t s                                                                                                                                                                          153



TABLE A2
Individual        Animal       Tumor   Pathology     of Male     Rats in the 2-Year                           Inhalation                      Study    of Nickel Oxide:                2.5 mg/m 3
(continued)

                                             6   6   6   6   6   6   6    6   6   6   7       7       7       7       7       7       7   7    7   7   7   7   7   7   7   7   7   7
Number of Days on Study                      5 6 6 6 6 7   777   9 0 0 0  1 1 2 3 3 3 3 3 3 3 3 3                                                                              3   3 3
                                             1 0 0 5 5   1 1 6 9 7 7 7 9 7 9 3 3 3 3 6 6 6 6 6 6 6                                                                                 67

                                             4 3 4 4 4 4             4 4 3 3 4 4 4 4 4 4 4 4 4 3 3 4 4 4 4 4 4 3                                                                                  Total
Carcass ID Number                            391     120             1 2 9 9 0 2 2 2 5  3 1 2 4 9 9 0 0 2 2   3 4                                                                        9     Tissues/
                                             3 7 7 1 5   9           3 2 3 1 1 4 8 6 4 1 5 7 8 6 9 3 4 0 1 4 7                                                                           8     Tumors

Respiratory System
Larynx                                       + + + + +           +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   + +     +   +     +          51
Lung                                         + + + + +           +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   ~- +    +   +     +          52
   Alveolar/bronchiolar adenoma                                                                                                                                                          X           2
   Alveolar/bronchiolar carcinoma                                                 X                                                                X                                                 2
   Fibrous histiocytoma, metastatic                                                                                                                                                                   1
   Histiocytic sarcoma, metastatic, skin                                                                                                                                                              1
   Pheochromocytoma malignant,
    metastatic                                                                                                                                X                                                       1
Nose                                         + + + + +           +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   +   +   +   +     +          52
Trachea                                      + + + + +           +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   +   +   +   +     +          52

Special Senses System
Eye

Urinary System
Kidney                                       + ++++              +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   +   +   +   +     +          52
   Histiocytic sarcoma, metastatic, skin                                                                                                                                                              1
Urinary bladder                              + + +++             +   +    +   +   +   +           +       +       +       +       +       +   +    +   +   +   +   +   +   +   +   +     +          52

Systemic Lesions
Multiple organs                              + + + + +           +   +    +   +   +       +       +       +       +       +       +       +   +    + +     +   +   +   +   +   +   +     +          52
  Histiocytic sar~coma                                                                                                                                                                                1
  Leukemia mononuctear                             X X X X X X X X X X                                                    X                        XXXX                X X X X X                    35
  Mesothelioma malignant                                                                                                                  X                                                          2
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TABLE A 3
S t a t i s t i c a l A n a l y s i s o f P r i m a r y Neoplasms in M a l e R a t s i n t h e 2-Year Inhalation Study of N i c k e l O x i d e


                                                                      0 mg/m3               0.62 mg/m3            1.25 mg/m~           2.5 mg/m3


Adrenal Medulla: Benign Pheochromocytoma
Overall rate a                                                        27/54 (50%)            24/52 (46%)           26/53 (49%)          32/52 (62%)
Adjusted rate b                                                       81.8 %                 69.3 %                83.1%                93.8 %
Terminal rate c                                                       9/14 (64%)             6/15 (40%)            10/15 (67%)          10/12 (83%)
First incidence (days)                                                475                    570                   519                  553
Life table testd                                                      P=0.054                P=0.302N              P=0.472N             P=0.123
Logistic regression testd                                             P=0.041                P=0.348N              P=0.561N             P=0.095
Cochran-Armita~e testd                                                P=0.094
Fisher exact test-                                                                            P = 0.420N           P = 0.538N           P = 0.159

A d r e n a l Medulla: M a l i g n a n t Pheochromocytoma
Overall rate                                                          0/54 (0%)              0/52 (0%)             1/53 (2%)            6/52 (12%)
Adjusted rate                                                         0.0%                   0.0%                  2.8%                 33.9%
Terminal rate                                                         0/14 (0%)              0/15 (0%)             0/15 (0%)            3/12 (25%)
                                                                         e                   --                    619                  467
First incidence (days)                                                --
Life table test                                                       P<0.001                 --                   P=0.484              P=0.013
Logistic regression test                                              P < 0.001               --                   P=0.499              P=0.015
Cochran-Armitage test                                                 P < 0.001
Fisher exact test                                                                                                   P=0.495             P=0.012

A d r e n a l Medulla: Benign or Malignant Pheochromocytoma
Overall rate                                           27/54 (50%)                            24/52 (46%)           27/53 (51%)         35/52 (67%)
Adjusted rate                                          81.8%                                  69.3%                 83.6%               97.0%
Terminal rate                                          9/14 (64%)                             6/15 (40%)            10/15 (67%)         11/12 (92%)
First incidence (days)                                 475                                    570                   519                 467
Life table test                                        P=0.017                                P=0.302N              P=0.537N            P=0.055
Logistic regression test                               P=0.008                                P=0.348N              P=0.521             P=0.027
Cochran-Arrnitage test                                  P=0.024
Fisher exact test                                                                             P=0.420N              P=0.538              P=0.053

Liver: Hepatocellular Adenoma
Overall rate                                                          3/54 (6%)               6/53 (11%)            3/53 (6%)            2/52 (4%)
Adjusted rate                                                         11.2,%                  25.0%                 8.9%                 12.0%
Terminal rate                                                         1/14 (7%)               2/15 (13%)            0/15 (0%)            1/12 (8%)
First incidence (days)                                                475                     670                   567                  665
Life table test                                                       P=0.348N                P=0.283               P=0.634              P=0.555N
Logistic regression test                                              P=0.280N                P=0.245               P=0.660              P=0.517N
Cochran-Armitage test                                                 P=0.271N
Fisher exact test                                                                             P=0.235               P=0.652              P=0.518N

Liver: HepatoceHular Adenoma or C a r c i n o m a
Overall rate                                                          5/54 (9%)"              7/53 (13%)            5/53 (9%)            2/52 (4%)
Adjusted rate                                                         16.7%                   30.8%                 16.8%                12.0%
Terminal rate                                                         1/14 (7%)               3/15 (20%)            1/15 (7%)            1/12 (8%)
First incidence (days)                                                475                     670                   564                  665
Life table test                                                       P=0.185N                P=0.439               P=0.602              P=0.268N
Logistic regression test                                              P=0.134N                P=0.381               P=0.624              P=0.232N
Cochran-Armitage test                                                 P =0.129N
Fisher exact test                                                                              P=0.367              P=0.617              P=0.234N
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Lesions in Male Rats                                                                                                                                           155


TABLE A 3
Statistical Analysis of P r i m a r y                  Neoplasms     in Male       Rats in the 2-Year Inhalation Study of Nickel O x i d e (continued)

                                                                                   0 mg/m3                  0.62 mg/m3         1.25 mg/m3     2.5 mg/m3


Lung: Alveolar/bronchiolar Adenoma
Overall rate                                                                      0/54 (0%)                   1/53 (2%)         3/53 (6%)      2/52 (4%)
Adjusted rate                                                                     0.0%                        2.6%              20.0%          11.4%
Terminal rate                                                                     0,'14 (0%)                  0/t5 (0%)         3/15 (20%)     1/12 (8%)
First incidence (days)                                                            --                          623               733 (T)        633
Life table test                                                                   P=0.135                     P=0.516           P=0.128        P=0.223
Logistic regression test                                                          P =0.1~.0                   P=0.484           P=0.128        P=0.219
Cochran-Armitage test                                                             P=0.165
Fisher exact test                                                                                             P=0.495           P=0.118        P =0.238

Lung: A l v e o l a r / b r o n c h i o l a r C a r c i n o m a
Overall rate                                                                      0/54 (0%)                   0/53 (0%)         3/53 (6%)      2/52 (4%)
Adjusted rate                                                                     0.0%                        0.0%              9.6%           13.2%
Terminal rate                                                                     0/14 (0%)                   0/15 (0%)         0/15 (0%)      1/12 (8%)
First incidence (days)                                                            --                          --                567            697
Life table test                                                                   P=0.070                     --                P=0.121        P=0.203
Logistic regression test                                                          P=0.092                     --                P=0.118        P=0.206
Cochran-Armitage test                                                             P=0.098
Fisher exact test                                                                                                               P=0.118        P=0.238

Lung: Alveolar/bronchiolar Adenoma or C a r c i n o m a
Overall rate                                                                      0/54 (0%)                   1/53 (2%)         6/53 (11%)     4/52 (8%)
Adjusted rate                                                                     0.0%                        2.6%              27.7%          23.7%
Terminal rate                                                                     0/14 (0%)                   0/15 (0%)         3/15 (20%)     2/12 (17%)
First incidence (days)                                                            --                          623               567            633
Life table test                                                                   P=0.020                     P=0.516           P=0.020        P=0.050
Logistic regression test                                                          P=0.026                     P=0.484           P=0.016        P=0.048
Cochran-Armitage test                                                             P=0.034
Fisher exact test                                                                                             P = 0.495         P = 0.013      P = 0.054

Lung: A l v e o l a r / b r o n c h i o l a r A d e n o m a o r C a r c i n o m a o r S q u a m o u s Cell C a r c i n o m a
Overall rate                                                                         1/54 (2%)                 1/53 (2%)        6/53 (11%)     4/52 (8%)
Adjusted rate                                                                        7. 1%                    2.6%              27.7%          23.7%
Terminal rate                                                                        1/14 (7%)                0/15 (0%)         3/15 (20%)     2/12 (17%)
First incidence (days)                                                               733 (T)                   623              567            633
Life table test                                                                      P=0.051                   P =0.743N        P=0.065        P=0.143
Logistic regression test                                                             P=0.062                   P =0.760N        P=0.054        P=0.141
Cochran-Armitage test                                                                P = 0.079
Fisher exact test                                                                                              P=0.748          P=0.053        P=0.170

Pancreatic Islets: Adenoma
Overall rate                                                                      2/54 (4%)                    3/53 (6%)        2/53 (4%)      2/52 (4%)
Adjusted rate                                                                     11.8%                        15.7%            11.1%          9.4%
Terminal rate                                                                     1/14 (7%)                    1/15 (7%)        1/15 (7%)      0/12 (0%)
First incidence (days)                                                            705                          686              706            671
Life table test                                                                   P=0.591                      P=0.525          P=0.662N       P=0.636
Logistic regression test                                                          P=0.596N                     P=0.533          P=0.696N       P=0.655
Cochran-Armitage test                                                             P=0.541N
Fisher exact test                                                                                              P=0.491          P=0.684        P=0.677
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TABLE A 3
Statistical Analysis of P r i m a r y N e o p l a s m s in Male Rats in the 2-Year Inhalation Study of N i c k e l O x i d e (continued)

                                                             0 mg/m3            0.62 m g / m 3     1.25 m g / m 3       2.5 m g / m a



Pancreatic Islets: Adenoma or Carcinoma
Overall rate                                                 3/54 (6%)           4/53 (8%)          4/53 (8%)            2/52 (4%)
Adjusted rate                                                18.6%               19.8%              19.6%                9.4%
Terminal rate                                                2/14 (14%)          1/15 (7%)          2/15 (13%)           0/12 (0%)
First incidence (days)                                       705                 686                606                  671
Life table test                                              P=0.446N            P=0.530            P=0.537              P=0.569N
Logistic regression test                                     P=0.434N            P=0.541            P=0.495              P=0.558N
Cochran-Armitage test                                        P=0.382N
Fisher exact test                                                                P=0.489             P=0.489             P=0.518N

Pituitary Gland (Pars Distalis): Adenoma
Overall rate                                                 24/53 (45%)         18/52 (35%)         16/52 (31%)         12/52 (23%)
Adjusted rate                                                75.2%               67.3%               56.0%               47.8%
Terminal rate                                                7/13 (54%)          8/15 (53%)          5/14 (36%)          3/12 (25%)
First incidence (days)                                       569                 519                 367                 539
Life table test                                              P=0.052N            P=0.127N            P=0.121N            P=0.052N
Logistic regression test                                     P=0.015N            P=0.124N            P=0.093N            P=0.015N
Cochran-Armitage test                                        P=0.012N
Fisher exact test                                                                 P=0.180N           P=0.092N            P=0.014N

Preputial Gland: Adenoma
Overall rate                                                 1/54 (2%)            3/53 (6%)          2/53 (4%)           2/51 (4%)
Adjusted rate                                                5.0%                 11.2%              6.4%                4.7%
Terminal rate                                                0/14 (0%)            1/15 (7%)          0/15 (0%)           0/12 (0%) '
First incidence (days)                                       705                  595                578                 570
Life table test                                              P=0.455              P=0.319            P=0.496             P=0.472
Logistic regression test                                     P=0.487              P=0.303            P=0.492             P=0.471
Cochran-Armitage test                                        P=0.485
Fisher exact test                                                                 P=0.302            P=0.493             P=0.478

Preputial Gland: Adenoma or Carcinoma
Overall rate                                                 1/54 (2%)            3/53 (6%)          2/53 (4%)           3/51 (6%)
Adjusted rate                                                5.0%                 11.2%              6.4%                6.6%
Terminal rate                                                0/14 (0%)            1/15 (7%)          0/15 (0%)           0/12 (0%)
First incidence (days)                                       705                  595                578                 475
Life table test                                              P=0.262              P=0.319            P=0.496             P=0.282
Logistic regression test                                     P=0.283              P=0.303            P=0.492             P=0.249
Cochran-Armitage test                                        P=0.284
Fisher exact test                                                                 P=0.302            P=0.493              P=0.288

Skin: F i b r o m a
Overall rate                                                 3/54 (6%)            1/53 (2%)          2/53 (4%)            0/52 (0%)
Adjusted rate                                                9.3 %                2.4%               4.1%                 0.0%
Terminal rate                                                0/14 (0%)            0/15 (0%)          0/15 (0%)            0/12 (0%)
First incidence (days)                                       566                  572                525                  --
Life table test                                              P=0.124N             P=0.310N           P=0.519N             P=0.150N
Logistic regression test                                     P=0.111N             P=0.337N           P=0.498N             P=0.127N
Cochran-Armitage test                                        P = 0.11 ON
Fisher exact test                                                                 P=0.316N           P=0.509N             P=0.129N
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L e s i o n s in M a l e R a t s                                                                                                                                                          157



TABLE A3
S t a t i s t i c a l A n a l y s i s o f P r i m a r y N e o p l a s m s i n M a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                                   0 mg/m 3                 0.62 mg/m 3              1.25 mg/m 3              2.5 mg/m 3


Skin: Papilloma, S q u a m o u s Cell Papilloma, K e r a t o a c a n t h o m a , Trichoepithelioma, Basal Cell Adenoma,
         or S q u a m o u s Cell C a r c i n o m a
Overall rate                                                       3/54 (6%)               2/53 (4%)        4/53 (8%)                                          2/52 (4%)
Adjusted rate                                                       16.1%                  6.7%             19.5%                                              16.7%
Terminal rate                                                      2/14 (14%)              0/15 (0%)        1/15 (7%)                                          2/12 (17%)
First incidence (days)                                             569                     570              690                                                733 (T)
Life table test                                                    P=0,544N                P=0.489N         P=0.518                                            P=0.566N
Logistic regression test                                           P=0.532N                P=0,503N         P=0.490                                            P=0,552N
Cochran-Armitage test                                               P=0.494N
Fisher exact test                                                                          P=0.509N         P=0.489                                            P=0.518N

Testes: A d e n o m a
Overall rate                                                                      40/54 (74%)                 46/53 (87%)              43/53 (81%)             47/52 (90%)
Adjusted rate                                                                     94.9%                       100.0%                   100.0%                  100.0%
Terminal rate                                                                     12/14 (86%)                 15/15 (100%)             15/15 (100%)            12/12 (100%)
First incidence (days)                                                            509                         466                      457                     467
Life table test                                                                   P=0.063                     P=0.373                  P=0.403                 P=0.077
Logistic regression test                                                          P=0,024                     P=0.091                  P=0.199                 P =0.022
Cochran-Armitage test                                                             P=0,039
Fisher exact test                                                                                             P=0.078                  P=0.260                  P=0.025

Thyroid Gland (C-cell): Adenoma
Overall rate                                                                      6/54 (I 1%)                 5/53 (9%)                4/52 (8%)               2/52 (4%)
Adjusted rate                                                                     28.1%                       18,1%                    24.7%                   13.2%
Terminal rate.                                                                    2/14 (14%)                  0/15 (0%)                3/15 (20%)              1/12 (8%)
First incidence (days)                                                            475                         647                      717                     697
Life table test                                                                   P=0.143N                    P=0,450N                 P =0,339N               P=0.195N
Logistic regression test                                                          P=0.120N                    P=0.491N                 P=0.382N                P=0.161N
Cochran-Armitage test                                                             P=0.104N
Fisher exact test                                                                                             P=0,513N                  P=0,395N                P=0.148N

Thyroid Gland (C-cell): Adenoma o r C a r c i n o m a
Overall rate                                                                      7/54 (13%)                  5/53 (9%)                5/52 (10%)               2/52 (4%)
Adjusted rate                                                                     32.6%                       18.1%                    26.6%                    13.2%
Terminal rate                                                                     2/14 (14%)                  0/15 (0%)                3/15 (20%)               1/12 (8%)
First incidence (days)                                                            475                         647                      606                      697
Life table test                                                                   P=0.108N                    P=0.334N                 P=0.350N                 P =0.128N
Logistic regression test                                                          P=0.087N                    P=0.367N                 P=0.398N                 P=0.102N
Cochran-Armitage test                                                             P=0.075N
Fisher exact test                                                                                             P=0.394N                  P =0.407N               P=0.090N

Thyroid Gland (Follicular Cell): Adenoma
Overall rate                                                                      1/54 (2%)                   3•53 (6%)                 2/52 (4%)               1/52 (2%)
Adjusted rate                                                                     4.5 %                       9.8%                      13.3%                   3.7%
Terminal rate                                                                     0/14 (0%)                   0/15 (0%)                 2/15 (13%)              0/12 (0%)
First incidence (days)                                                            699                         629                       733 (T)                 660
Life table test                                                                   P=0.529N                    P=0.349                   P=0.511                 P=0.730
Logistic regression test                                                          P=0,509N                    P=0.306                   P =0,505                P=0.746
Cochran-Armitage test                                                             P=0.485N
Fisher exact test                                                                                             P=0,302                   P=0.486                 P=0,743
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    TABLE A3
    Statistical Analysis of Primary Neoplasms in Male Rats in the 2-Year Inhalation Study of Nickel Oxide (continued)

                                                                         0 mg/m 3      0.62 mg/m 3     1.25 mg/m 3        2.5 m g / m ~



    Thyroid G l a n d (Follicular Cell): A d e n o m a o r C a r c i n o m a
    Overall rate                                                          2/54 (4%)     3/53 (6%)       2/52 (4%)         2/52 (4%)
    Adjusted rate                                                         9.8%          9.8%            13.3%             7.0%
    Terminal rate                                                         0/14 (0%)     0/15 (0%)       2/15 (13%)        0/12 (0%)
    First incidence (days)                                                699           629             733 (T)           647
.
    Life table test                                                       P=0.590N      P=0.541         P=0.690N          P =0.648
    Logistic regression test                                              P=0.569N      P=0.507         P=0.696N          P=0.668
    Cochran-Armitage test                                                 P=0.542N
    Fisher exact test                                                                   P=0.491         P=0.677            P=0.677

    All O r g a n s : M o n o n u c l e a r Cell Leukemia
    Overall rate                                                        31/54 (57%)     32/53 (60%)     26/53 (49%)        35/52 (67%)
    Adjusted rate                                                       77.2 %          73.3 %          63.1%              90.1%
    Terminal rate                                                       7/14 (50%)      5/15 (33%)      3/15 (20%)         9/12 (75%)
    First incidence (days)                                              475             503             202                536
    Life table test                                                     P=0.155         P=0.521N        P=0.309N           P=0.173
    Logistic regression test                                            P=0.211         P=0.419         P=0.245N           P=0.212
    Cochran-Armitage test                                               P=0.207
    Fisher exact test                                                                   P=0.454         P=0.251N           P=0.198

    All O r g a n s : Benign Neoplasms
    Overall rate                                                        53/54 (98%)     51/53 (96%)     52/53 (98%)        52/52 (100%)
    Adjusted rate                                                       100.0%          100.0%          100.0%             100.0%
    Terminal rate                                                       14/14 (100%)    15/15 (100%)    15/15 (100%)       12/12 (I00%)
    First incidence (days)                                              187             466             367                467
    Life table test                                                     P=0.227         P=0.337N        P=0.507N           P=0.320
    Logistic regression test                                            P=0.303         P=0.390N        P=0.777            P=0.530
    Cochran-Armitage test                                               P=0.255
    Fisher exact test                                                                   P=0.493N        P=0.748N           P=0.509

    All Organs: Malignant Neoplasms
    Overall rate                                                        37/54 (69%)     38/53 (72%)     35/53 (66%)        43/52 (83%)
    Adjusted rate                                                       84.1%,          80.1%           77.9%              97.3%
    Terminal rate                                                       8/14 (57%)      6/15 (40%)      6/15 (40%)         11/12 (92%)
    First incidence (days)                                              475             466             202                467
    Life table test                                                     P = 0.089       P =0.504N       P = 0.465N         P=0.116
    Logistic regression test                                            P=0.071         P=0.434         P=0.472N           P=0.071
    Cochran-Armitage test                                               P~0.068
    Fisher exact test                                                                   P=0.441         P=0.473N           P=0.070
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Lesions in Male Rats                                                                                                                                  159


TABLE A 3
Statistical Analysis of P r i m a r y N e o p l a s m s in Male Rats in t h e 2 - Y e a r Inhalation Study o f N i c k e l O x i d e (continued)

                                                                 0 mg/m3             0.62 m g / m 3        1.25 m g / m 3    2.5 mg/m ~



All Organs: Benign or Malignant Neoplasms
Overall rate                                                    54/54 (100%)          53/53 (100%)          53/53 (100%)      52/52 (100%)
Adjusted rate                                                    100.0%               100.0%                100.0%            100.0%
Terminal rate                                                   14/14 (100%)          15/15 (100%)          15115 (100%)      12/12 (100%)
First incidence (days)                                           187                  466                   202               467
Life table test                                                 P=0.281               P=0.386N              P=0.509N          P=0.359
Logistic regression test                                        . f        .              .            .

Cochran-Armitage test
Fisher exact test                                                                      P= 1.000N            P = 1 .IX)0N      P = 1.000N


(T)Terminal sacrifice
a Number of neoplasm-bearing animals/number of animals examined. Denominator is number of animals examined microscopically for adrenal gland, liver,
   lung, pancreatic islets, pituitary gland, preputial gland, testes, and thyroid gland; for other tissues, denominator is number of animals necropsied.
b Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
c
   Observed incidence at terminal kill
d
   Beneath the cbntrol incidence are the P values associated with the trend test. Beneath the ekposed group incidence are the P values corresponding to
   pairwise comparisons between the controls and that exposed group. The life table test regards neoplasms in animals dying prior to terminal kill as being
   (directly or indirectly) the cause of death. The logistic regression test regards these lesions as nonfatal. The Cochran-Armitage and Fisher exact tests
   compare directly the overall incidence rates. For all tests, a negative trend or a lower incidence in an exposure group is indicated by N.
   Not applicable; no neoplasms in animal group
   Value of statistic cannot be computed.
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TABLE A 4 a
H i s t o r i c a l I n c i d e n c e of Lung N e o p l a s m s i n U n t r e a t e d M a l e F 3 4 4 / N R a t s a


                                                                                                Incidence in C o n t r o l s
                                                                                                                                               Alveolar/bronchiolar
      Study                                 Alveolar/bronchiolar                 Alveolar/bronchiolar                 S q u a m o u s Cell   A d e n o m a or C a r c i n o m a
                                                 Adenoma                             Carcinoma                           Carcinoma               o r S q u a m o u s Cell
                                                                                                                                                       Carcinoma



Historical Incidence at Lovelace Inhalation Toxicology Research Institute

Nickel Oxide                                            0/54                                 0/54                            1/54                          1/54
Nickel Subsulfide                                       0/53                                 0/53                            0/53                          0/53
Nickel Sulfate Hexahydrate                              0/54                                 1/54                            1/54                          2/54
Talcb                                                   0/49                                 0/49                            0/49                          0/49


Overall Historical I n c i d e n c e in I n h a l a t i o n Studies

Total                                             17/703 (2.4%)                         6/703 (0.9%)                    4/703 (0.6%)                 27/703 (3.8%)
Standard deviation                                    3.5%                                  1.0%                            0.9%                         3.8%
Range                                                0%-10%                                0%-2%                           0%-2%                        0%-10%


Overall Historical I n c i d e n c e in Feed Studies

Total                                            28/1,200 (2.3%)                      11/1,200 (0.9%)                   0/1,200 (0%)                39/1,200 (3.3%)
Standard deviation                                    2.0 %                                1.2 %                                                         2.0%
Range                                                0%-6%                                0%-4%                                                         0%-8%


a Data as of 17 June 1994
b Results of lifetime study; others are 2-year studies
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Lesions in Male Rats                                                                                                                                          161


TABLE A4b
Historical Incidence of Pheochromocytomas                             of the Adrenal Medulla in Untreated                Male F344/N Rats a


                                                                                          Incidence in C o n t r o l s
     Study                                     Benign                   Complex             Malignant                    NOS       Benign, C o m p l e x ,
                                                                                                                                   M a l i g n a n t or NOS



Historical I n c i d e n c e at Lovelace I n h a l a t i o n Toxicology R e s e a r c h Institute b

Nickel Oxide                                    27/54                     0/54                  0/54                     0/54               27/54
Nickel Subsulfide                               13/53                     1/53                  0/53                     0/53               14/53
Nickel Sulfate Hexahydrate                      16/54                     0/54                  0/54                     0/54               16/54


Overall Historical I n c i d e n c e in I n h a l a t i o n Studies

Total                                     163/623 (26.2%)              2/623 (0.3%)        11/623 (1.8%)           7/623 (1.1%)       176/623 (28.3 %)
Standard deviation                             13.1%                       0.8%                2.9%                    3.9%                12.0%
Range                                         0%-50%                      0%-2%               0%-10%                 0%-14%               8%-50%


Overall Historical I n c i d e n c e in Feed Studies

Total                                    379/1,182 (32.1%)            2/1,182 (0.2%)     33/1,182 (2.8%)           0/1,182 (0%)     400/1,182 (33.8%)
Standard deviation                             11.7 %                      0.6 %              3.2 %                                       10.9%
Range                                        10%-63 %                     0%-2%              0%-12%                                     14%-63%


a Data as of 17 June 1994
b Talc excluded because it was not a 2-year study.
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TABLE A5
S u m m a r y o f the Incidence of N o n n e o p l a s t i c Lesions i n M a l e Rats in the 2-Year Inhalation Study o f Nickel Oxide a



                                                0 mg/m 3                0.62 mg/m 3            1.25 mg/m 3             2.5 mg/m 3


Disposition Summary
Animals initially in study                         65                          65                     65                      65
7-Month interim evaluation                            6                         7                      7                       7
15-Month interim evaluation                           5                         5                      5                       5
Early deaths
  Moribund                                         39                          35                     32                      36
  Natural deaths                                    1                           3                      6                       4
Survivors
  Died last week of study                                                                              1                       1
  Terminal sacrifice                               14                          15                     14                      11
Missexed                                                                                                                       1

Animals examined microscopically                   65                          65                     65                      64


7-Month Interim Evaluation
Alimentary System
Liver                                                                                           (1)
  Hepatodiaphragmatic nodule                                                                      1 (100%)


Hematopoietic System
Lymph node                                                                                      (I)
 Pigmentation                                                                                    I (lOO%)
Lymph node, bronchial                           (6)                      (7)                    (7)                     (7)
 Congestion, chronic                              i (17%)
 Hyperplasia                                                                                                              [ (14%)
 Hyperplasia, lymphoid                            1 (17%)                                         7 (1oo%)                4 (57%)
 Pigmentation                                                                                     7 (100%)                7 (100%)
Lymph node, mediastinal                         (6)                      (6)                    (6)                     (6)
 Congestion                                                                1 (17%)
 Hyperplasia, lymphoid                                                                                (50%)
  Pigmentation                                                                                        (67 %)             3 (50%)


Respiratory System
Lung                                            (6)                      (7)                    (7)                     (7)
 Inflammation,chronic                             3 (50%)                                         7 (lOO%)                7 (100%)
 Alveolus, pigmentation                                                   6 (86%)                 7 (lOO%)                6 (86%)


Urinary System
Urinary bladder                                 (3)                      (3)                    (5)                     (4)
 Calculus, microscopicobservation only            3 (100%)                 3 (lOO%)               5 (lOO%)                4 (100%)


a Numberof animals examined microscopicallyat the Site and the number of animals with lesion
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Lesions in Male Rats                                                                                                           163



TABLE A5
S u m m a r y of the Incidence of Nonneoplastic Lesions in Male Rats in the 2-Year I n h a l a t i o n Study of Nickel Oxide
(continued)

                                          0 mg/m3               0.62 mg/m3             1.25 mg/m3             2.5 mg/m 3



7-Month Interim Evaluation (continued)
Systems Examined With No Lesions Observed
Cardiovascular System
Endocrine System
General Body System
Genital System
Integumentary System
Museuloskeletal System
Nervous System
Special Senses System


15-Month Interim Evaluation
Alimentary System
Liver                                      (5)                   (5)                    (5)                     (5)
  Eosinophilic focus                                                                      1 (20%)
  Hcpatoeyte, hyperplasia                                                                                        1 (20%)


Endocrine System
Adrenal medulla                            (5)                   (5)                     (5)                    (5)
  Hyperplasia                                                                             1 (20%)                 2 (40%)
Pituitary gland                             (5)                  (5)                     (5)                    (5)
  Hyperplasia                                                                                                    1 (20%)


Genital System
Preputial gland                             (5)                  (5)                     (5)                    (5)
  Inflammation,suppurative                                                                                        1 (20%)
  Duct, ectasia                                                    1 (20%)
Testes                                      (5)                  (5)                     (5)                    (5)
  Interstitialcell, hyperplasia               1 (20%)              1 (20%)                 3 (60%)


Hematopoietic System
Bone marrow                                 (5)                  (5)                     (5)                    (5)
 Hyperplasia                                                                                                      t (20%)
Lymph node, bronchial                       (5)                  (5)                     (5)                    (5)
 Hyperplasia, lymphoid                                                                    4 (80%)                 4 (80%)
 Pigmentation                                                      5 (loo%)                5 (tO0%)               5 (lOO%)
Lymph node, mediastinat                     (5)                  (5)                     (5)                    (4)
 Hyperplasia, lymphoid                                                                     2 (40%)                1 (25%)
  Pigmentation                                                     3 (60%)                4 (80%)                40oo%)
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TABLE A5
Summary of the Incidence of Nonneoplastic Lesions in Male Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                0 mg/m 3        0.62 mg/m 3        1.25 mg/m 3          2.5 m g / m 3



15-Month Interim Evaluation (continued)
Respiratory System
Lung                                            (5)              (5)                (5)                  (5)
 Inflammation, chronic                            4 (80%)          5 000%)            5 (100%)             5 (100%)
 Alveolus, pigmentation                                            5 (100%)           5 (100%)             5 (100%)
Nose                                            (5)              (5)                (5)                  (5)
 Respiratory epithelium, inflammation, focal,
    suppurative                                   1 (20%)


Special Senses System
Eye                                              (3)
  Cataract                                         1 (33%)
  Cornea, edema                                    1 (33%)
  Retina, degeneration                             1 (33 %)
  Vitreous, inflammation, chronic                  1 (33%)


U r i n a r y System
Kidney                                           (5)             (5)                 (5)                  (5)
  Nephropathy                                      5 (100%)        4 (80%)             5 (100%)             4 (80%)
Urinary bladder                                  (5)             (5)                 (5)                  (5)
  Calculus, microscopic observation only           3 (60 %)        1 (20%)             1 (20%)



Systems Examined With No Lesions Observed
Cardiovascular System
General Body System
I n t e g u m e n t a r y System
Musculoskeletal System
Nervous System



2- Year Study
Alimentary System
Intestine large, colon                          (54)            (53)                (53)                 (52)
  Erosion                                                          1 (2%)
  Parasite metazoan                                1 (2%)                              1 (2%)              I (2%)
Intestine large, rectum                         (54)            (53)                (52)                 (52)
  Parasite metazoan                                1 (2%)          1 (2%)
Intestine large, cecum                          (54)            (53)                (52)                 (51)
  Inflammation, chronic active                                     1 (2%)
  Inflammation, suppurative                                                            1 (2%)
  Necrosis                                                                             1 (2%)
  Parasite metazoan                                                                    1 (2 %)
  Ulcer                                                                                1 (2%)
Intestine small, jejunum                        (54)             (53)               (53)                 (52)
  Inflammation, chronic                                                                1 (2%)
  Inflammation, chronic active                                                                              1 (2%)
  Inflammation, suppurative                                         1 (2%)
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Lesions in Male Rats                                                                                             165


TABLE A 5
Summary of the Incidence of Nonneoplastic Lesions in Male Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                     0 mg/m 3           0.62 m g / m 3      1.25 m g / m 3       2.5 m g / m 3



2-Year Study (continued)
Alimentary System (continued)
Liver                                (54)               (53)                 (53)                (52)
  Angiectasis                                                                   1 (2%)
  Basophilic focus                    21 (39%)           15 (28%)              22 (42%)           20 (38%)
  Clear cell focus                     1 (2%)             1 (2%)
  Congestion                                                                   I (2%)              4 (8%)
  Degeneration, cystic                16 (30%)           20 (38%)             27 (51%)            28 (54%)
  Developmental malformation                              1 (2%)                                   1 (2%)
  Eosinophilic focus                   3 (6%)             4 (8%)               5 (9%)              7 (13%)
  Fatty change                        13 (24%)           15 (28%)             20 (38%)            11 (21%)
  Hemorrhage                                                                                       1 (2%)
  Hepatodiaphragmatic nodule           4 (7%)              1 (2%)              2 (4%)              4 (8%)
  Infarct                                                                                          1 (2 %)
  Inflammation, chronic active                                                  1 (2%)
  Inflammation, suppurative             1 (2%)
  Mixed cell focus                                                                                  1 (2%)
  Pigmentation, bile                   1 (2%)                                   1 (2%)
  Thrombosis                           1 (2%)              1 (2%)               1 (2%)              1 (2%)
  Thrombosis, multiple                 2 (4%)
  Bile duct, hyperplasia              17 (31%)           20 (38%)             18 (34%)             25 (48%)
  Hepatocyte, hyperplasia              8 (15%)           14 (26%)              9 (17%)             10 (19%)
  Hepatocyte, necrosis                 8 (15%)           14 (26%)              4 (8%)              10 (19%)
  Portal vein,, thrombosis                                                                          1 (2%)
Pancreas                             (54)               (53)                 (53)                t52)
  Atrophy                               1 (2%)             1 (2%)
  Congestion                                                                                        1 (2%)
  Fibrosis                                                                      1 (2%)
  Acinus, atrophy                       5 (9%)             1 (2%)               1 (2%)             2 (4%)
  Acinus, fibrosis                      1 (2%)
  Acinus, hyperplasia                   2 (4%)             1 (2%)
Stomach, forestomach                 (54)               (53)                 (53)                (52)
  Edema                                 3 (6%)
  Hyperkeratosis                                           1 (2%)              6 (11%)              1 (2%)
  Inflammation, acute                                                          1 (2%)
  Inflammation, chronic                                    1 (2%)              3 (6%)
  Inflammation, chronic active                                                 1 (2%)
  Inflammation, suppurative             1 (2%)
  Ulcer                                 1 (2%)             3 (6%)               3 (6%)
  Ulcer, multiple                       2 (4%)
Stomach, glandular                   (54)               (53)                 (53)                (52)
  Erosion                                                  1 (2%)               t (2%)
  Inflammation, chronic                                    1 (2%)                                   1 (2%)
  Inflammation, chronic active                             ! (2%)
  Inflammation, suppurative             1 (2%)             I (2%)               1 (2%)
  Pigmentation                                                                  1 (2%)
  Ulcer                                 1 (2%)
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TABLE A5
S u m m a r y o f the Incidence of Nonneoplastic Lesions in M a l e Rats in the 2 - Y e a r I n h a l a t i o n S t u d y of Nickel Oxide
(continued)

                                               0 mg/m3                 0.62 mg/m3               1.25 mg/m3                2.5 mg/m 3



2-Year Study (continued)
Cardiovascular System
Blood vessel                                   (2)                                               (1)
  Aorta, mineralization                          2 (100%)                                          1 (100%)
Heart                                         (54)                     (53)                     (53)                      (52)
  Fibrosis                                                                1 (2%)
  Infarct                                                                                                                    1 (2%)
  Inflammation,chronic                                                                             1 (2%)                    1 (2%)
  Inflammation,suppurative                       2 (4%)
  Atrium, congestion                                                                                                         1 (2%)
  Atrium, thrombosis                             4 (7%)                  6 (11%)                   4 (8%)                    4 (8%)
  Epicardium, degeneration                                               1 (2%)
  Myocardium, mineralization                     1 (2%)
  Ventricle, fibrosis                                                                                                             (2%)
  Ventricle, inflammation,chronic                                                                                                 (2%)
  Ventricle, mineralization                                                                                                       (2%)
  Ventricle, thrombosis                                                                                                           (2%)


Endocrine System
Adrenal cortex                                 (54)                    (53)                      (53)                     (52)
  Angiectasis                                                             2 (4%)
  Degeneration, fatty                             2 (4%)                  1 (2%)                    6 (11%)                  3 (6%)
Adrenal medulla                                (54)                    (52)                      (53)                     (52)
  Cyst                                                                    1 (2%)
  Degeneration, fatty                             1 (2%)
  Hyperplasia                                    25 (46%)                27 (52%)                  26 (49%)                 24 (46%)
Islets, pancreatic                             (54)                    (53)                      (53)                     (52)
   Hyperplasia                                                            3 (6%)                    2 (4%)                   1 (2%)
Parathyroid gland                              (50)                    (50)                      (49)                     (49)
   Hyperplasia                                    2 (4%)                                            2 (4%)                   2 (4%)
Pituitary gland                                (53)                    (52)                      (52)                     (52)
   Angiectasis                                    2 (4%)                  3 (6%)
   Hyperplasia                                                            1 (2%)
   Pars distalis, angiectasis                                             1 (2%)                                             3 (6%)
   Pars distalis, cyst                           2 (4%)                                                                      2 (4%)
   Pars distalis, hyperplasia                    4 (8%)                   3 (6%)                   6 (12%)                  11 (21%)
   Pars distalis, necrosis                                                1 (2%)
   Pars distalis, pigmentation                                                                      1 (2 %)
Thyroid gland                                  (54)                    (53)                      (52)                      (52)
   Hyperplasia, cystic                                                                              1 (2%)
   Infiltrationcellular, lymphocyte                                                                 1 (2 %)
   C-cell, hyperplasia                            1 (2%)                  1 (2%)                    2 (4%)                   2 (4%)


General Body System
Tissue NOS                                      (3)                     (2)                       (2)                       (4)
  Developmentalmalformation                                               1 (50%)
  Oral, inflammation,chronic active               1 (33%)
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Lesions in M a l e Rats                                                                                                                                                      167



TABLE A5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c Lesions in M a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e
(continued)

                                                          0 mg/m 3                      0.62 mg/m 3                    1.25 mg/m 3                      2.5 mg/m 3



2-Year Study (continued)
Genital System
Coagulating gland                                          (4)                                                                                           (I)
  Inflammation, chronic                                      1 (25%)
  Inflammation, suppurative                                  2 (50%)                                                                                       1 (100%)
Epididymis                                                (54)                          (53)                            (53)                            (52)
  Spermatoccle                                               1 (2%)                                                        2 (4%)
Preputial gland                                           (54)                          (53)                            (53)                            (51)
  Ectasia                                                    2 (4%)                        3 (6%)                          4 (8%)                          1 (2%)
  Hyperplasia, glandular                                                                                                                                   1 (2%)
  Inflammation, suppurative                                  3 (6%)                        1 (2%)                                                          2 (4%)
  Bilateral, ectasia                                                                       1 (2%)
Prostate                                                  (53)                          (53)                            (53)                            (52)
  Hyperplasia                                                                                                              1 (2%)
  Inflammation, chronic                                      3 (6%)                        3 (6%)                                                          1 (2%)
  Inflammation, chronic active                                                             1 (2%)                          1 (2%)                          1 (2%)
  Inflammation, suppurative                                  3 (6%)                        1 (2%)                          4 (8%)
Seminal vesicle                                           (54)                          (53)                            (53)                            (52)
  Atrophy                                                    3 (6%)                                                        3 (6%)
  Ectasia                                                    1 (2%)                                                        1 (2%)
  Inflammation, suppurative                                                                                                2 (4%)
Testes                                                    (54)                          (53)                            (53)                            (52)
  Atrophy                                                   11 (20%)                       7 (13%)                         7 (13%)                        10 (19%)
  Hemorrhage                                                                                                               1 (2%)
  Bilateral, atrophy                                                                       1 (2%)                          2 (4%)
  Interstitial cell, hyperplasia                             7 (13%)                       3 (6%)


Hematopoietie System
Bone marrow                                               (54)                          (53)                            (53)                            (52)
  Fibrosis                                                   7 (13%)                       4 (8%)                          5 (9%)                          4 (8%)
  Hyperplasia                                               24 (44%)                      35 (66%)                        19 (36%)                        35 (67%)
Lymph node                                                (16)                          (19)                            (16)                            (15)
  Hyperplasia, macrophage                                                                                                                                  1 (7%)
  Pigmentation                                                                             4 (21%)
  Iliac, congestion                                                                        2 (11%)
  Iliac, ectasia                                                                                                            1 (6%)
  lliac, hyperplasia, lymphoid                                1 (6%)                        1 (5%)                          1 (6%)
  Iliac, pigmentation                                                                                                       1 (6%)                         1 (7%)
  Pancreatic, congestion                                                                    1 (5%)
  Pancreatic, hyperplasia, lymphoid                           1 (6%)
  Renal, congestion                                                                        2 (11%)                          1 (6%)
  Renal, edema                                                                                                                                             1 (7%)
  Renal, hyperplasia, lymphoid                                1 (6%)                        2 (I1%)                         1 (6%)
  Renal, pigmentation                                                                       3 (16%)                                                        2 (13%)
Lymph node, bronchial                                      (52)                          (51)                           (53)                            (52)
  Congestion                                                  1 (2%)                        I (2%)                                                         3 (6%)
  Edema                                                                                     1 (2%)                                                         1 (2%)
  Hyperplasia, lymphoid                                                                     7 (14%)                       10 (19%)                        18 (35%)
  Hyperplasia, macrophage                                     1 (2%)
  Pigmentation                                                                            45 (88%)                        51 (96%)                        51 (98%)
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TABLE A 5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c .L e s i o n s i n M a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e
(continued)

                                                               0 mg/m3                         0.62 mg/m3                       1.25 m g / m3                       2.5 m g / m~



2-Year Study (continued)
Hematopoietic System (continued)
Lymph node, mandibular                                        (49)                             (51)                              (50)                               (51)
  Hyperplasia, lymphoid                                          5 (10%)                          4 (8%)                            6 (12%)                            3 (6%)
Lymph node, mesenteric                                        (54)                             (53)                              (53)                               (51)
  Congestion                                                                                      2 (4%)
  Edema                                                                                           1 (2%)
  Hyperplasia                                                                                     1 (2%)
  Hyperplasia, lymphoid                                          1 (2%)                           2 (4%)                                                               1 (2%)
Lymph node, mediastinal                                       (47)                             (52)                              (52)                               (52)
  Congestion                                                     1 (2%)                           2 (4%)                                                               3 (6%)
  Ectasia                                                        1 (2%)                                                              1 (2%)
  Hyperplasia, lymphoid                                          5 (11%)                          8 ( 15 %)                         11 (21% )                         18 (35 %)
  Hyperplasia, plasma cell                                       3 (6%)                           2 (4%)                                                               1 (2%)
  Pigmentation                                                                                   33 (63%)                          43 (83%)                           50 (96%)
Spleen                                                         (54)                            (53)                              (53)                               (52)
  Congestion                                                                                                                        1 (2%)
  Developmental malformation                                      1 (2%)                                                            1 (2%)
  Fibrosis                                                       11 (20%)                         7 (13%)                          15 (28%)                           10 (19%)
  Infarct                                                         4 (7%)                          6 (11%)                           3 (6%)                             2 (4%)
  Necrosis                                                                                        1 (2%)                            1 (2%)
  Capsule, fibrosis                                                                                                                 1 (2%)
Thymus                                                         (44)                            (49)                              (47)                               (48)
  Congestion                                                                                                                                                           1 (2%)


I n t e g u m e n t a r y System
Mammary gland                                                  (54)                            (53)                               (53)                              (52)
   Ectasia                                                                                                                                                              1 (2%)
   Hyperplasia                                                     1 (2%)
   Duct, ectasia                                                                                   1 (2%)
Skin                                                           ( 13)                             (4)                              (14)                                (6)
   Alopecia                                                                                                                          1 (7%)
    Cyst epithelial inclusion                                     2 (15 %)                         2 (50%)                           2 (14%)                            1 (17%)
    Hyperkeratosis                                                1 (8%)                                                             1 (7%)
    Necrosis                                                                                                                         I (7%)
    Pigmentation                                                   1 (8%)                                                                                               1 (17%)
    Epidermis, hyperplasia                                                                                                            1 (7%)


Musculoskeletal System
Bone                                                           (54)                             (53)                              (53)                               (52)
 Hyperostosis                                                                                      1 (2%)                            2 (4%)                             2 (4%)
  Femur, hyperostosis                                                                              2 (4%)                                                               4 (8%)


Nervous System
Brain                                                           (54)                            (53)                              (53)                               (52)
  Hemorrhage                                                                                                                                                            1 (2%)
  Cerebellum, compression                                                                          1 (2%)                             1 (2%)                            1 (2%)
  Cerebellum, hemorrhage                                                                           2 (4%)                             3 (6%)
  Cerebellum, ventricle, dilatation                                                                                                   1 (2%)
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Lesions in Male Rats                                                                                                 169


TABLE A 5
Summary of the Incidence of Nonneoplastic Lesions in Male Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                               0 mg/m 3            0.62 mg/m 3      1.25 mg/m 3       2.5 mg!m 3



2-Year Study (continued)
Nervous System (continued)
Brain (continued)                              (54)                (53)              (53)             (52)
  Cerebmm, compression                                                5 (9%)            7 (13%)          5 (I0%)
  Cerebrum, degeneration                          1 (2%)
  Cerebrum, hemorrhage                                               1 (2%)            1 (2%)
  Cerebrum, necrosis                              I (2%)                                                1 (2%)
  Cerebrum, ventricle, dilatation                                                      2 (4%)           3 (6%)
  Hypothalamus, compression                      8 (15%)                               1 (2%)
  Pons, compression                              2 (4%)
  Thalamus, degeneration                         1 (2 %)
  Ventricle, dilatation                          2 (4%)              1 (2%)             1 (2%)


Respiratory System
Larynx                                         (52)                (52)              (53)             (51)
  Inflammation, chronic                           2 (4%)                                                 1 (2%)
  Inflammation, chronic active                                                                           2 (4%)
  Inflammation, suppurative                       1 (2%)
Lung                                           (54)                (53)              (53)             (52)
  Congestion                                                                                             1 (2%)
  Cyst                                                                                                   1 (2%)
  Hemorrhage                                                         1 (2%)            1 (2%)            2 (4%)
  Inflammation, chronic                         28 (52%)            53 (100%)         53 (100%)         52 (100%)
  Mineralization                                 1 (2%)
  Alveolar epithelium, hyperplasia, atypical                                           4 (8%)           3 (6%)
  Alveolar epithelium, hyperplasia, focal                             2 (4%)           1 (2%)
  Alveolar epithelium, metaplasia, squamous                           1 (2%)
  Alveolus, pigmentation                          1 (2%)             53 (100%)         53 (100%)        52 (100%)
Nose                                           (54)                (53)              (53)             (52)
  Inflammation, chronic active                    1 (2%)              2 (4%)            2 (4%)           5 (10%)
  Inflammation, suppurative                       5 (9%)              2 (4%)            3 (6%)           2 (4%)
Trachea                                        (53)                (53)              (53)             (52)
  Inflammation, focal, suppurative                1 (2 %)


Special Senses System
Eye                                             (9) •               (5)               (3)              (5)
  Cataract                                        4 (44%)             3 (60%)           1 (33%)          3 (60%)
  Anterior chamber, cornea, inflammation,
    suppurative                                   1 (11%)
  Bilateral, cornea, edema                        I (11%)
  Cornea, edema                                   1 (11%)
  Cornea, inflammation, suppurative                                   1 (20%)
  Lids, inflammation, chronic active                                  1 (20%)
  Sclera, metaplasia, osseous                     1 (11%)
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TABLE A 5
Summary of the Incidence of Nonneoplastic Lesions in Male Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)


                                           0 mg/m 3         0.62 mg/m ~        1.25 mg/m ~         2.5 mg/m ~



2-Year Study (continued)
Urinary System
Kidney                                     (54)            (53)                (53)                (52)
  Cyst                                        2 (4%)          1 (2%)              2 (4%)              1 (2%)
  Fibrosis                                                                                            1 (2%)
  Infarct                                                     1 (2%)                                  2 (4%)
  Necrosis                                                                        1 (2%)
  Nephropathy                               47 (87%)         50 (94%)            48 (91%)           43 (83%)
  Pigmentation                                                1 (2%)
  Bilateral, nephropathy                     1 (2%)
  Bilateral, cortex, cyst                                     1 (2%)
  Cortex, cyst                               2 (4%)                                                   1 (2%)
  Medulla, congestion                                                                                 1 (2%)
  Medulla, cyst                                                                    1 (2%)
  Pelvis, degeneration                                                             1 (2%)
  Pelvis, inflammation, suppurative                                                1 (2%)
Urinary bladder                            (54)             (53)                (53)               (52)
  Calculus, microscopic observation only      2 (4%)           1 (2%)              3 (6%)
  Inflammation, subacute                      1 (2%)
  Metaplasia, squamous                                                            1 (2%)
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                                APPENDIX B
               S U M M A R Y OF LESIONS IN F E M A L E RATS
                   IN THE 2-YEAR INHALATION STUDY
                             OF NICKEL OXIDE

 TABLE B1  S u m m a r y of the Incidence of Neoplasms in Female Rats
           ~n the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                173
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           ~n the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                178
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           in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . .              200
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           in Untreated Female F344/N Rats . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             205
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Lesions in F e m a l e Rats                                                                                                                                           173



TABLE B1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in F e m a l e R a t s in the 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e a

                                                          0 mg/m 3                      0.62 mg/m 3                    1.25 mg/m 3                      2.5 mg/m 3


Disposition Summary
Animals initially in study                                     65                               65                              65                               65
7-Month interim evaluation                                      7                                7                               7                                6
15-Month interim evaluation                                     5                                5                               5                                5
Early deaths
  Moribund                                                    27                                24                              27                               25
  Natural deaths                                               5                                 3                               6                                3
Survivors
  Terminal sacrifice                                           21                               26                              20                               26

Animals examined microscopically                               65                               65                              65                               65



7-Month Interim Evaluation
Alimentary System
Mesentery                                                                                                                 (1)
 Lipoma                                                                                                                     1 (100%)


Systems E x a m i n e d With No Neoplasms Observed
Cardiovascular System
Endocrine System
General Bod~ System
Genital System.
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Respiratory System
Special Senses System
Urinary System



15-Month Interim Evaluation
Endocrine System
Pituitary gland                                             (5)                           (5)                             (5)                             (5)
  Pars distalis, adenoma                                      1 (20%)                       3 (60%)                                                         1 (20%)
  Pars intermedia, adenoma                                                                                                                                  1 (20%)
Thyroid gland                                               (5)                           (5)                             (5)                             (5)
  C-cell, adenoma                                             I (20%)                       1 (20%)


Genital System
Uterus                                                      (5)                           (5)                             (5)                             (5)
  Polyp stromal                                                                                                             2 (40%)                         1 (20%)
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TABLE B1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in F e m a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e (continued)

                                                          0 mg/m 3                      0.62 m g / m 3                1.25 m g / m 3                   2.5 m g / m ~


15-Month Interim Evaluation (continued)
Systems Examined With No Neoplasms Observed
Alimentary System
Cardiovascular System
General Body System
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Respiratory System
Special Senses System
Urinary System


2-Year Study
Alimentary System
Esophagus                                                (52)                          (53)                            (53)                            (54)
  Lipoma                                                                                                                                                   1 (2%)
  Sarcoma, metastatic                                                                                                     1 (2%)
Liver                                                    (53)                          (53)                            (53)                            (54)
  Hepatocellular adenoma                                                                  1 (2 %)                                                          1 (2%)
  Sarcoma, metastatic                                                                                                      1 (2%)
Mesentery                                                                                                                                                (1)
  Lipoma                                                                                                                                                   1 (100%)
Pancreas                                                 (52)                          (53)                            (53)                            (54)
Salivary glands                                          (52)                          (52)                            (51)                            (53)
  Osteosarcoma, metastatic                                                                1 (2%)
  Parotid gland, adenoma                                                                                                                                  1. (2%)
Stomach, forestomach                                      (52)                         (53)                            (53)                            (54)
Tooth                                                      (I)                                                                                          (1)
  Odontoma                                                   1 (100%)


Cardiovascular System
Blood vessel                                               (3)                          (1)                             (2)
Heart                                                     (53)                         (53)                            (53)                            (54)
  Osteosarcon-ua, metastatic                                                              1 (2%)


Endocrine System
Adrenal cortex                                            (53)                         (53)                            (53)                            (54)
   Carcinoma                                                 1 (2%)
Adrenal medulla                                           (51)                         (52)                            (53)                            (53)
   Pheochromocytoma benign                                   3 (6%)                       7 (13%)                         5 (9%)                         13 (25%)
   Bilateral, pheochromocytoma benign                        1 (2%)                                                        1 (2%)                         5 (9%)
Islets, pancreatic                                        (52)                          (53)                            (53)                           (54)
   Adenoma                                                   1 (2%)                        1 (2%)                          1 (2%)
   Osteosarcoma, metastatic                                                                1 (2%)
Pituitary gland                                           (52)                          (52)                            (52)                           (54)
   Pars distalis, adenoma                                   20 (38%)                      21 (40%)                        19 (37%)                       20 (37%)
   Pars distalis, carcinoma                                  1 (2%)                        3 (6 %)                         1 (2%)                         2 (4%)
Thyroid gland                                             (52)                          (52)                            (53)                           (53) :
   C-cell, adenorna                                          1 (2%)                        1 (2%)                          3 (6%)                         2 (4%)
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Lesions in Female Rats                                                                                                                                                              175


TABLE B1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s i n F e m a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)

                                                             0 mg/m 3                       0.62 mg/m 3                     1.25 mg/m ~                       2.5 mg/m 3



2-Year Study (continued)
General Body System
Tissue NOS                                                    (6)                            (1)                              (3)                              (3)
  Fibroma                                                                                                                                                        1 (33%)
  Fibrosarcoma                                                  1 (17%)
  Fibrous histiocytoma                                                                         1 (lOO%)
  Lipoma                                                                                                                        2 (67%)
  Liposarcoma                                                                                                                   1 (33%)
  Osteosarcoma                                                  1 (17%)
  Squamous cell carcinoma                                       2 (33 %)
  Oral, squamous cell carcinoma                                 1 (17%)


Genital System
Clitoral gland                                               (53)                           (53)                             (51)                             (50)
  Adenoma                                                       1 (2%)                         4 (8%)                           1 (2%)
  Carcinoma                                                     2 (4%)                                                                                            1 (2%)
  Bilateral, adenoma                                                                           1 (2%)                           1 (2%)
Ovary                                                        (53)                           (53)                             (53)                             (54)
  Granulosa-theca tumor benign                                  1 (2 %)
Uterus                                                       (53)                           (53)                             (52)                             (54)
  Polyp stromal                                                 9 (17%)                        2 (4%)                           6 (12%)                          5 (9%)
  Schwannoma malignant                                                                                                                                           1 (2 %)
Vagina                                                        (2)                            (1)                               (1)
  Polyp                                                         1 (50%)


Hematopoietic System
Bone marrow                                                  (52)                           (53)                             (53)                             (54)
Lymph node                                                   (14)                            (6)                              (9)                              (3)
Lymph node, bronchial                                        (49)                           (50)                             (53)                             (52)
Lymph node, mandibular                                       (47)                           (45)                             (51)                             (49)
  Squamous cell carcinoma, metastatic                           1 (2%)
Lymph node, mesenteric                                       (51)                           (53)                             (53)                             (54)
Lymph node, mediastinal                                      (48)                           (46)                             (48)                             (50)
Spleen                                                       (53)                           (53)                             (53)                             (54)
  Hemangiosarcoma                                                                              1 (2%)
Thymus                                                       (48)                           (49)                             (47)                             (47)
  Thymoma NOS                                                   1 (2%)


Integumentary System
Mammary gland                                                (53)                           (53)                             (53)                             (54)
  Adenoma                                                       1 (2%)                         1 (2%)                           1 (2%)                           1 (2%)
  Carcinoma                                                                                                                     2 (4%)                           1 (2%)
  Carcinoma, multiple                                           1 (2%)                                                          1 (2%)
  Fibroadenoma                                                 11 (21%)                       11 (21%)                         13 (25%)                          12 (22%)
  Fibroadenoma, multiple                                        1 (2%)                         3 (6%)                           2 (4%)
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TABLE B1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in F e m a l e R a t s in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)

                                                            0 m g / m3                    0.62 m g / m3                   1~25 m g / m3                     2.5 m g / m3



2-Year Study (continued)
Integumentary System (continued)
Skin                                                         (4)                            (3)                             (3)                              (5)
  Basal cell adenoma                                           1 (25%)
  Fibroma                                                                                                                                                      1 (20%)
  Hemangioma                                                                                  1 (33%)
  Keratoacanthoma                                              1 (25%)
  Papilloma                                                                                                                                                    1 (20%)
  Squamous cell carcinoma                                                                                                                                      1 (20%)
  Squamous cell papilloma                                      2 (50%)
  Subcutaneous tissue, fibroma                                                                                                 1 (33%)                         1 (20%)
  Subcutaneous tissue, sarcoma                                                                                                 1 (33%)


Musculoskeletal System
Bone                                                       (53)                           (53)                             (53)                             (54)
  Rib, osteosarcoma                                                                          1 (2%)
  Vertebra, schwannoma malignant, metastatic,
    peripheral nerve                                                                                                           1 (2%)


Nervous System
Brain                                                       (53)                          (53)                             (53)                             (54)
  Carcinoma, metastatic                                        1 (2%)                                                                                          1 (2%)
  Cerebellum, carcinoma, metastatic                                                           2 (4%)                                                           1 (2%)
  Cerebrum, carcinoma, metastatic                                                             3 (6%)                           1 (2%)                          1 (2%)
  Cerebrum, glioma NOS                                                                                                         I (2%)
  Cerebrum, osteosarcoma, metastatic                                                          1 (2%)
  Hypothalamus, carcinoma, metastatic                                                         1 (2%)
Peripheral nerve                                                                                                             (1)
  Schwannoma malignant                                                                                                         1 (100%)


Respiratory System
Lung                                                        (53)                           (53)                             (53)                            (54)
  Alveolar/bronchiolar adenoma                                 1 (2%)                                                          1 (2%)                          3 (6%)
  Alveolar/bronchiolar adenoma, multiple                                                                                                                       1 (2%)
  Alveolar/bronchiolar carcinoma                                                                                               3 (6%)
  Alveolar/bronchiolar carcinoma, squamous
    differentiation                                                                                                            2 (4%)                           1 (2%)
  Carcinoma, metastatic, adrenal cortex                         1 (2%)
  Osteosarcoma, metastatic                                                                    l (2%)


Special Senses System
Zymbal's gland                                                                                                                                                (1)
  Carcinoma                                                                                                                                                     1 (100%)
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Lesions in Female Rats                                                                                                                                                 177


TABLE B 1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s i n F e m a l e R a t s i n t h e 2 - Y e a r Inhalation Study o f N i c k e l O x i d e (continued)


                                                        0 mg/m 3                     0.62 mg/m 3                  1.25 mg/m 3                     2.5 mg/m a



2-Year Study (continued)
U r i n a r y System
Kidney                                                  (53)                         (53)                          (53)                           (54)
  Liposarcoma                                                                                                         1 (2%)
  Mesenchymal tumor                                                                     1 (2%)
  Mixed tumor malignant                                                                                                                              1 (2%)
   Nephroblastoma                                                                                                      1 (2%)
  Transitional epithelium, carcinoma                       1 (2%)
U rinary bladder                                        (52)                         (53)                           (53)                          (54)


S ystemic Lesions
Multiple organsb                                        (53)                         (53)                           (53)                          (54)
   Leukemia mononuclear                                   22 (42%)                     19 (36%)                       21 (40%)                      18 (33%)


Neoplasm S u m m a r y
Total animals with primary neoplasmsc
  7-Month interim evaluation                                                                                          1
  15-Month interim evaluation                              1                           4                              2                              3
  2-Year study                                            52                          49                             51                             50
Total primary neoplasms
  7-Month interim evaluation                                                                                          1
  15-Month interim evaluation                              2                            4                             2                              3
  2-Year study                                            91                           80                            93                             97
Total animals with. benign neoplasms
  7-Month interim evaluation                                                                                          1
  15-Month interim evaluation                              1                            4                             2                              3
  2-Year study                                            39                           38                            37                             41
Total benign neoplasms
  7-Month interim evaluation                                                                                          1
  15-Month interim evaluation                              2                            4                             2                              3
  2-Year study                                            57                           54                            57                             70
Total animals with malignant neoplasms
  2-Year study                                            32                           25                            30                             25
Total malignant neoplasms
  2-Year study                                            33                           25                            35                             27
Total animals with metastatic neoplasms
  2-Year study                                             3                            5                              3                             2
Total metastatic neoplasms
  2-Year study                                             3                           11                              4                             3
Total animals with uncertain neoplasms-
    benign or malignant
  2-Year study                                              1                           1                              1
Total uncertain neoplasms
  2-Year study                                              1                           1                              1


a Number of animals examined microscopically at the site and the number of animals with neoplasm
b Number of animals with any tissue examined microscopically
c Primary neoplasms: all neoplasms except metastatic neoplasms
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TABLE         B2
I n d i v i d u a l A n i m a l T u m o r Pathology o f F e m a l e                                 Rats            in the 2-Year Inhalation Study o f Nickel Oxide:                                                            0 mg/m 3


                                                                    3   3   4   4   4   5       5       5       5   5   5   6       6    6   6       6       6       6       6   6   6   6   6   6       6
Number         of Days          on Study                            4 5 0 6 6 5 5 6 6 8 9 0                                               1 2 2 3 4 4 4 5 6 7 8 9 9
                                                                    8 4 3 8 8 3   8 3 4 6 4                                     7       8 2 4 6 0 3 4 5 4 8 9 2 9

                                                                    0 1 0 1         1   0 0 0 0 0 0                                 1 0 1 1 0 1 1 0 1 00                                                     1 1 1
Carcass ID Number                                                   9 0 8 1 2 9 8                  9 7 9 7                          1    72   1 8 2 0 7   1 7 6 3                                                20
                                                                    6 8 5 9 2    1              6 4 5 8 0                           1    3 4 4 4 6 9 7 0 9 7 0 5                                                      1

Alimentary System
Esophagus                                                           +   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + M +       +           +   +    +
Intestine large, c o l o n                                          A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Intestine large, r e c t u m                                        A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Intestine large, c e c u m '                                        A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Intestine small, d u o d e n u m                                    A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Intestine small, j e j u n u m                                      A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Intestine small, i l e u m                                          A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Liver                                                               +   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Pancreas                                                            A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Salivary g l a n d s                                                +   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Stomach, forestomach                                                A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Stomach, glandular                                                  A   +   +   +   +   +           +       +       +   +   +       +    +   +           +       +       +       +   + + +       +           +   +    +
Tooth
    Odontoma

Cardiovascular               System
B l o o d vessel                                                                                                                                                                 +           +                        +
Heart                                                               + + + + +           +           +       +       +   +   +       +    +   +           +       +       +       +   +   +   +   +           +   +    +

Endocrine System
A d r e n a l cortex                                                + + + + + + + + + + + + + + + + + + + + + + + + ' 4 -
     Carcinoma                                                                                                                                                                                                        X
Adrenal medulla                                                     + + + + +           +           +       +       +   +   +       +    +   +           +       +       +       +   +   +   +   +           +   +
     Pheochromocytoma benign                                                                        X
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n
Islets, p a n c r e a t i c                                         A + + + +               +       +       +       +   +   +       +    +   +           +       +       +       +   +   +   +       +       +   +    +
     Adenoma
Parathyroid gland                                                   M + + + +               +       +M+'+                   +       +    +   +           +       +       +M+             +M+                 +   +    +
Pituitary g l a n d                                                 + + + + +               +       + + +               +   +       +    +   +           +       +       + +         +   + +         +       +   +    +
     Pars distalis, a d e n o m a                                           X       X                       X                                                    X X                 X       X
     Pars distalis, c a r c i n o m a                                                                 X
Thyroid gland                                                       M + + + +               +       + + + + +                       +    +       +       +       +       +       +   + + +           ++          ++
     C-cell, a d e n o m a

General Body System
Tissue N O S                                                            +       +                                       +                                                            +
   Fibrosarcoma                                                                                                                                                                      X
   Osteosarcoma                                                         X
   S q u a m o u s cell c a r c i n o m a                                                                               X                                                                                        X
   O r a l , s q u a m o u s cell c a r c i n o m a

Genital S y s t e m
Clitoral g l a n d                                                  + + + + +               +       q-- +           +   +   +       +    +       +       +       +       +       +   +   +   +       +       +   +     +
    Adenoma
    Carcinoma                                                                                                               X                                                                X



     + : Tissue e x a m i n e d m i c r o s c o p i c a l l y                               M: Missing tissue                                                                                X: L e s i o n p r e s e n t
     A: A u t o l y s i s p r e c l u d e s e x a m i n a t i o n                           I: Insufficient tissue                                                                           Blank: N o t e x a m i n e d
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Lesions in Female Rats                                                                                                                                                                                                                                                        179


TABLE        B2
Individual Animal Tumor Pathology of Female Rats in the2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3
(continued)

                                                              7    7   7   7   7   7       7       7       7       7       7   7       7   7   7       7       7       7       7       7       7   7       7       7       7       7       7       7
Number         of Days on Study                               1 1 1 1 1 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3                                                                                          3   3       3       3       3       3       3       3
                                                              3 3 4 4 5 7 7 9 9 9 9 0 0 1 1 1 2 2 2 2                                                                                          2   2       2       2       2       2       2       2

                                                              0    1   1 1     1   1           1       0       0       0       0       1   1   0       1           1       0       0       0       0       0       0       1       1           1       1   1   1     Total
Carcass       ID Number                                       7    0   0 1 2       0       2           7       8       8       9       0   0   8       1       2           7       8       8       8       9       9       0       1           I       1   2   2   Tissues/
                                                              2    0   7 7 1       4       9           4       0       2       2       5   6   3       3       7           1       1       8       9       0       9       3       2           6       8   0   8   Tumors

Alimentary System
Esophagus                                                     + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine large, c o l o n                                    + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine large, r e c t u m                                  + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine large, c e c u m                                    ++   +++             +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine small, d u o d e n u m                              ++   +++             +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine small, j e j u n u m                                + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Intestine small, ileum                                        + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Liver                                                         + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        52
Pancreas                                                      + + + + +            +           +       +       +       +       +       +   +   +       +           +       +       +       +       +       +       +       +           +       +       +   +   +        53
Salivary g l a n d s                                          + + +++                  +       +       +       +       +       +       +   +   +       +           + +             +       +       +       +       +       +           +I              +   +   +        52
Stomach, forestomach                                          + + + + +                +       +       +       +       +       +       +   +   +       +           -~ +            +       +       +       +       +       +           + +             +   +   +        52
Stomach, glandular                                            + + + + +                +       +       +       +       +       +       +   +   +       +           + +             +       +       +       +       +       +           + +             +   +   +        52
Tooth                                                                                          +                                                                                                                                                                          1
   Odontoma                                                                                    X                                                                                                                                                                          1

Cardiovascular              System
B l o o d vessel                                                                                                                                                                                                                                                          3
Heart                                                         + + + + +                +       +       +       +       +       +       +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +         53

Endocrine System
A d r e n a l cortex                                          + + + + +                +       +       +       +       +       +       +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +         53
     Carcinoma                                                                                                                                                                                                                                                            1
A d r e n a l medulla                                         + + M + +                +       +       +       +       +       +       +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +         51
     Pheochromocytoma benign                                                   X                                       X                                                                                                                                                  3
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n                                                                                                                                X                                                                              1
Islets, p a n c r e a t i c                                   + + + + +                +       +       +       +       +       +       +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +         52
     Adenoma                                                                                 X                                                                                                                                                                            1
Parathyroid gland                                             + M + + +                + + +                   + + + + + M + + + + + + + + + +                                                                                                 +       ++      +         47
Pituitary g l a n d                                           + + + + +                + + +                   + + + + + + + + + + + + + + +                                                                                           +       I       + +     +         52
     Pars distalis, a d e n o m a                             XXXX                     X X                     X               X X X    X   X                                                                                                          X                 20
     Pars distalis, c a r c i n o m a                                                                                                                                                                                                                                     1
Thyroid gland                                                 + + + + +                +       +       +       +       +       +       +   +   +           +       +       +       +       +       +       +       +           +       +       +       +   +   +         52
     C-cell. a d e n o m a                                                                                                                             X                                                                                                                  1

General Body System
Tissue N O S                                                                                   +
   Fibrosarcoma
   Osteosarcoma
   S q u a m o u s cell c a r c i n o m a
   O r a l , s q u a m o u s cell c a r c i n o m a                                            X

Genital System
Clitoral g l a n d                                                + + + + +            +       +           +       +       +       +   +   +       +       +       +           +       +       +       +       +       +       +       +       +       +   +   +         53
    Adenoma                                                                                                                                                                                                        X                                                      t
    Carcinoma                                                                                                                                                                                                                                                             2
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TABLE B2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3
(continued)

                                                   3 3 4 4 4 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6 6 6 6
Number       of Days     on Study                  4 5 0 6 6 5 5 6 6 8 9 0 1 2 2 3 4 4 4 5 6 7 8 9 9
                                                   8 4 3 8 8 3 8 3 4 6 4 7 8 2 4 6 0 3 4 5 4 8 9 2 9

                                                   0 1 0 1 1 0 0 0 0 0 0 1 0 1 1 0 1 1 0 1 0 0 1 1 1
Carcass ID Number                                  9 0 8 1 2 9 8 9 7 9 7 1 7 2 1 8 2 0 7 1 7 6 3 2 0
                                                   6 8 5 9 2 1 6 4 5 8 0 1 3 4 4 4 6 9 7 0 9 7 0 5 1

G e n i t a l S y s t e m (continued)
Ovary                                              + + + + +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
    Granulosa-theca tumor benign
Uterus                                             + + + + +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
    Polyp stromal                                                                           X X                                           X
Vagina                                                                                                              +                     +
    Polyp                                                                                                           X

Hematopoietic System
Bone marrow                                        A + + + +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
L y m p h node                                                      +       +           +           +   +       +           +    +   +
L y m p h node, bronchial                          M + + + +   +    + + + I    + + + + + + + +                      ++      + +      +
                                                                                                                                     +M
Lyhaph node, mandibular                            + + + + + +      ++    + + + + + M +    + + +                    + +     ++       +
                                                                                                                                     ++
    Squamous cell c a r c i n o m a , metastatic                                                                                     X
L y m p h node, mesenteric                         A + + + +   +    + + + +         +   +   + + + + + +             +   +   +    + + + +
L y m p h node, mediastinal                        + + + + +   +    + M + + I           +   + + + + + + +               +   +    ++  +M
Spleen                                             + + + + +   +    + + + +         +   +   + + + + + +             +   +   +    + + + +
Thymus                                             + + + + + + + + +            + + + + +           +   +M+I            +   +I       ++       +
    T h y m o m a NOS

Integumentary System
M a m m a r y gland                                + + +++     +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
    Adenoma
    Carcinoma, multiple
    Fibroadenoma                                          XX                                                            X
    Fibroadenoma, multiple
Skin
    Basal cell adenoma
    Keratoacanthoma
    Squamous cell papilloma

Musculoskeletal        System
Bone                                               ++   +++    +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
Skeletal muscle

Nervous System
Brain                                              + + +++     +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +    +   +    +   +
   Carcinoma, metastatic                                                X

Respiratory System
Larynx
Lung
   Alveolar/bronchiolar adenoma
   Carcinoma, metastatic, adrenal cortex                                                                                                      X
Nose
Trachea
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                                                                                                 PageID: 30672
Lesions in Female Rats                                                                                                                                                                                                                                    181


TABLE        B2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m ~
(continued)

                                                          77       777         7       7           7       7       7       7   7   7   7   7           7       7       7       7       7   7   7   7       7           7       7   7   7
Number         of Days on Study                           1 1 1 I I            2       2           2       2       2       2   3   3   3   3           3       3       3       3       3   3   3   3       3           3       3   3   3
                                                          3 3 4 4 5            7       7           9       9       9       9   0   0   1   I           1       2       2       2       2   2   2   2       2           2       2   2   2

                                                          0    1   1   1   1   1       1       0       0       0       0   1   1   0   1   1       0       0       0       0       0   0   1   1   1       1       1       1                  Total
Carcass ID Number                                         7    0   0   1   2   0       2       7       8       8       9   0   0   8   1   2       7 8 8 8 9 9 0 1 1 1 2 2                                                                 Tissues/
                                                          2    0   7   7   1   4       9       4       0       2       2   5   6   3   3   7       1 1 8 9 0 9 3 2 6 8 0 8                                                                 Tumors

Genital S y s t e m (continued)
Ovary                                                     + + + + +            +           +       +       +       +       +   +   +   +   +           +       +       +       +       +   +   +   +           ~       +       +   +   +         53
   Granulosa-theca tumor benign                                                                                                          X                                                                                                        1
Uterus                                                    + + + ++             +           +       +       +       +       +   +   +   + +             +       +       +       +       +   +   +   +           +       +       +   +   +         53
   P o l y p stromal                                                                                               X           X                                                           X X             X           X                          9
Vagina                                                                                                                                                                                                                                            2
   Polyp                                                                                                                                                                                                                                          1

Hematopoietic System
Bone m a r r o w                                          + + +++                  +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +   +           +       +       +   +   +         52
L y m p h node                                            + +                      +                                                                   +                                                                               +         14
L y m p h node, b r o n c h i a l                         + + + + M + +                            + ++                    + ++        + +             ++  +                   +       + + + +                 + +             + +     +         49
L y m p h node, m a n d i b u l a r                       + + M + + +                      +       + + +                   + + +       ++              + +M+                           +M+     +               +I              +M+               47
    S q u a m o u s cell c a r c i n o m a , metastatic                                                                                                                                                                                               1
L y m p h node, mesenteric                                + + +++                  +               +       +       +       +   +   +   +       +       +       +       +       +       +   +   +   +           +       +       +   +   +         51
L y m p h node, mediastinal                               + + M + +                +       +       +       +       +       +   +   +M+                 +       +       +       +       +   +   +   +           +       +       +   +   +         48
Spleen                                                    + + +++                  +       +       +       +       +       +   +   + +         +       +       +       +       +       +   +   +   +           +       +       +   +   +         53
Thymus                                                    + + + + +                +       +       +       +       +       +   +   +   +       +M+                     +       +       +   +   +   +M+                         +   +   +         48
    T h y m o m a NO.S                                                                                                                                                                                                             X                  1

Integumentary System
Mammary gland                                             + + +++                  +       +       +       +       +       +   +   +   +       +       +       +       +       +       ~   +   +   +           +       +       +   +   +         53
   Adenoma                                                                                                 X                                                                                                                                      1
   C a r c i n o m a , multiple                                                              X                                                                                                                                                        1
   Fibroadenoma                                                    X                       X X                                         X               X X                                     X               X                                 i1
   F i b r o a d e n o m a , multiple                                                                                                                                                                                                                 1
Skin                                                                                                                               +                                                                           +           +                          4
   Basal cell a d e n o m a                                                                                                                                                                                                X                          1
   Keratoacanthoma                                                                                                                 X                                                                                                                  1
   S q u a m o u s cell p a p i l l o m a                                                                                                                                                                                                             2

Musculoskeletal S y s t e m
Bone                                                      + + +++                  +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +   +           +       +       +   +   +         53
Skeletal muscle                                                                                                                                                                                                                    +              1

N e r v o u s System
Brain                                                     ++       +++             +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +       +       +       +       +   +   +         53
     C a r c i n o m a , metastatic                                                                                                                                                                                                                   1

Respiratory S y s t e m
Larynx                                                    + q-++  +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +       +       +       +       +   +   +         53
Lung                                                      + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +       +       +       +       +   +   ÷         53
   Alveolar/bronchiolar adenoma                                                                                    X                                                                                                                                  1
   C a r c i n o m a , metastatic, a d r e n a l cortex                                                                                                                                                                                               1
Nose                                                      + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +       +       +       +       +   +   +         53
Trachea                                                   + + + + +                +       +       +       +       +       +   +   +   +       +       +       +       +       +       +   +   +       +       +       +       +   +   +         53
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TABLE B 2
Individual Animal Tumor             Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide:                                0 mg/m ~
(continued)

                                         3 3 4 4 4 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6 6 6 6
N u m b e r of Days o n S t u d y        4 5 0 6 6 5  5 6 6 8 9 0  1 2 2 3 4 4 4 5   67   899
                                         8 4 3 8 8 3 8 3 4 6 4 7 8 2 4 6 0 3 4 5 4 8 9 2 9

                                         0101     1 0 0 0 0 0 0  1 0 1 1 0 1 1 0 1 00      1 1                                       1
C a r c a s s ID N u m b e r             9 0 8 1 2 9 8 9 7 9 7   1 72   1 8207     1 7 6 3 2 0
                                         6 8 5 9 2 1 6 4 5 8 0 1 3 4 4 4 6 9 7 0 9 7 0 5 1

Special Senses System
Eye                                                                                                     +           +        +


U r i n a r y System
Kidney                                    + + +++      + + + + + + + + + + + + + + + + + + + +
    Transitional epithelium, carcinoma                                 X
Urinary bladder                          A   + + + +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +    +   +   +   +

Systemic     Lesions
Multiple organs
  Leukemia mononuclear                   X             X X         X           XX           X           X           XX       X
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Lesions in Female Rats                                                                                                                                                                              183


TABLE B2
Individual Animal T u m o r Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 0 m g / m 3
(continued)

                                        7   7   7   7   7   7   7   7   7   7   7       7       7       7       7       7       7   7   7   7   7   7   7   7   7   7   7    7
Number of Days on Study                 1 1 1 1 1 2 2 2 2 2 2 3 3 3                                             3       3       3   3   3   3   3
                                                                                                                                       3 3 3 3 3 3 3
                                        3 3 4 4 5 7 7 9 9 9 9 0 0 1                                                 1       1 2 2 2 2 2 2 2 2 2 2 2 2

                                        0 1 1 1 1 1 1 0 0 0 0 1 1 0 1 1 0 0 0 0 0 0 1 1 1 1 1 1                                                                                             ~ml
Carcass ID Number                       7 0 0 1 2 0 2 7 8 8 9 0 0 8 1 2 7 8 8 8 9 9 0 1 1 1 2 2                                                                                          Tissues/
                                        2 0 7 7 1 4 9 4 0 2 2 5 6 3 3 7 1 1 8 9 0 9 3 2 6 . 8 0 8                                                                                        Tumors

Special Senses System
Eye

Urinary System
Kidney                                  + + + + +           +   +   +   +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +       +        53
   Transitional epithelium, carcinoma                                                                                                                                                          1
Urinary bladder                         + + + + +           +   +   +   +   +   +           +       +       +       +       +       +   +   +   +   +   +   +   +   +   +        +   +        52

Systemic Lesions
Multiple organs                         + + + + + +             +   -b +    +       +       +       +       +       + + +               +   +   +   +   +   +   +   +   +        +   +        53
  Leukemia mononuclear                  XX      X X                         X                                       X   X                   X               X       X                X        22
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TABLE B2
Individual Animal T u m o r Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 0.62 m g / m 3


                                            4    4   4   5   5   5   5    5       6    6       6       6       6       6       6       6       6       6   6    6   7   7   7   7   7
Number of Days on Study                     2 7 7 0 2            3   3    30               1    22                 3    45           6 6 6 7                        7 0 0       1   22
                                            3 2 5 9          4   6   6    7 0          4       2 9             4       0 2         0 7 8 4                      8   3 7 9           1 2

                                            2 2 2 1 2            1   2    2       2        1   2           2       2       22              2       2       22       1   2   2   2   2       2
Carcass ID Number                           3 3 2 9 3             9 0 5           5     90             1 4                 1       42               5 5 2 9 3               1 3     3       2
                                            1 3 5 6 8            8 7 9        4       7 3 0            0 5                         8 6             3 2 3 9 0 6              7 5             8

Alimentary System
Esophagus                                   +    +   + + +       +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Intestine large, colon                      + + ++    +          +   +    +       +    +           +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Intestine large, r e c t u m                + + + + +            +   +    +       +    +           +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Intestine large, c e c u m                  ++   +++             +   +    +       +    +           +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Intestine small, d u o d e n u m            + + +++              +   +    +       +    +           +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Intestine small, j e j u n u m              +    + + + +         +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +       +   +
Intestine small, ileum                      +    + + ++          +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +       +   +
Liver                                       +    +   +++         +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
    Hepatocellular a d e n o m a
Pancreas                                    + + + + +            +   +    +       +        +   +           +       +       +       +       +       +       +    +   +   +   +   +   +       +
Salivary glands                             + + + + +            + + M + + +                               + + + +                         +       +       + + +      +     +   +   +       +
   Osteosarcoma, metastatic                                                                                                                                           X
Stomach, f o r e s t o m a c h              + + + + +            +   +    +       +        +       +       +       +       +       +       +       +       +    +   + +     +   +       +   +
Stomach, glandular                          + + + ++             +   +    +       +        +       +       +       +       +       +       +       +       +    +   + +     +   +       +   +


Cardiovascular System
Blood vessel                                                                                                                                                                            +
Heart                                       +    +   +++         +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +       +   +
   Osteosarcoma, metastatic                                                                                                                                             X

Endocrine System
Adrenal cortex                              + + +++              +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
Adrenal medulla                             + + +++              +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
   P h e o c h r o m o c y t o m a benign                    X                                                     X                                                X               X
Islets, pancreatic                          ++       +++         +   +    +       +        +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +
    Adenoma                                                                                                                                                             X
    Osteosarcoma, metastatic                                                                                                                                            X
Parathyroid gland                           + + + + +            +   +    +       +        +       +M+                     +       +       +       +       + M M +          +   +       +   +
Pituitary gland                             + + + + +                +    +       +        +       + +             +       +       +       +       +       + + + +          +   +       +   +
    Pars distalis, a d e n o m a                                                       X                   X X                             X X                              X       X X
    Pars distalis, c a r c i n o m a                   X             X
Thyroid gland                               +    +   +++         +   +    +       +        +       +       +       +       +       A       +       +       +    +   +   +   +   +       +   +
    C-cell, a d e n o m a                                                                                          X

General Body System
Tissue NOS
    Fibrous histiocytoma

Genital System
Clitoral gland
    Adenoma                                                               X                                                                                                 X
    Bilateral, a d e n o m a
Ovary
Uterus
    Polyp stromal
Vagina                                                   +
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L e s i o n s in F e m a l e R a t s                                                                                                                                                                                                         185



TABLE B2
Individual Animal Tumor                      Pathology       of Female       Rats     in the                  2-Year Inhalation Study of Nickel Oxide:                                                                     0.62 mg/m 3
(continued)

                                                   7   7     7   7   7   7   7   7    7       7       7       7           7       7       7       7       7       7       7       7    7   7   7   7   7   7       7       7
Number        of Days on Study                     2   2     2   22      2   2   2    2       3       3       3           3       3       3       3       3       3       3       3    3   3   3   3   3   3       3       3
                                                   5   5     9   9 9     9   9   9    9       0       0       0           0       0       0       0       0       0       1       1    1   1   1   1   2   2       2       2

                                                   2   2     2   2   2   2   2   2    2       2       2       2       2       2       2       2       2       2       2       2   2    2   2   2   2   2   2       2                Total
Carcass       ID Number                            2   2     0   0   3   4   4   4    5       0       1       1       1       2       2       3       5       5       0   0       1    4   5   5   0   1   1       1             Tissues/
                                                   2   9     6   8   9   1   7   9    6       5       2       7       8       1       4       2       7       8       0   4       1    5   0   1   9   3   4       9             Tumors

Alimentary         System
Esophagus                                          + + + + + + + + + + + + + + + + + + + + + + + - 4 - + + + +                                                                                                                        53
Intestine large, colon                             + + +++    + + + + + + + + + + + + + + + + + + + + + +                                                                                                                  +          53
Intestine large, rectum                            + + q- + + + + + + + + + + + + + + + + ÷ + + + ÷ + + +                                                                                                                  +          53
Intestine large, c e c u m                         + + + + +             +   +    +   +       +       +           +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
Intestine small, d u o d e n u m                   + + +++               +   +    +   +       +       +           +       +       +       +       +       +       +       ÷       +    +   +   +   +   +   +           +   +          53
Intestine small, j e j u n u m                     + + +++               +   +    +   +       +       +           +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
Intestine small, ileum                             + + +++               +   +    +   +       +       +           +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
Liver                                              +     +   + + +       +   +    +   +       +           +       +       +       +       +       +       q- q- +                 +    +   q- +    -I- +   +       h.- +              53
    Hepatocellular a d e n o m a                                                                                                                                                                                   X                   1
Pancreas                                           + +       +++         +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       + +                53
Salivary glands                                    ++        +++         +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       + +                52
    Osteosarcoma, metastatic                                                                                                                                                                                                           1
Stomach, forestomach                               + + + + +             +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
Stomach, glandular                                 + + +++               +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53

Cardiovascular            System
Blood vessel                                                                                                                                                                                                                             1
Heart                                              +     +   +++         +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
  Osteosarcoma, metastatic                                                                                                                                                                                                               1

Endocrine System
Adrenal cortex                                     +     +   +++         +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +           +   +          53
Adrenal medulla                                    + + + + M +               + + +            ++                  +       +       + + + + +                               + +          + + +       +   +   +           +   +          52
    P h e o c h r o m o c y t o m a benign                X                                                                                                               X X                                                          7
Islets, pancreatic                                 + + +++     +             +    +   +       +           +       +       +       +       +       +       +       +       + +          +   +   +   +   +       +       +   +          53
    Adenoma                                                                                                                                                                                                                            1
    Osteosarcoma, metastatic                                                                                                                                                                                                             1
Parathyroid gland                                  ++++I                 + + + + +                        + ++                    +M+                     + ++                    ++       + +M+               + ++                   47
Pituitary gland                                    + + + + +             +   +    +   +       +           +       +       +       +       +       +       +       +       +       +    +   +   +   +   +       +       +   +          52
    Pars distalis, a d e n o m a                                 X X X X X                                                        X                       X                       XX           X X X X                                21
    Pars distalis, c a r c i n o m a                   X                                                                                                                                                                               3
Thyroid gland                                      +   + +++             +   +    +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +       +       +   +          52
    C-cell, a d e n o m a                                                                                                                                                                                                              1

General B o d y S y s t e m
Tissue NOS
   Fibrous histiocytoma

Genital S y s t e m
Clitoral gland                                     +     +   + ++        +   +    +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +       +       +   +           53
    Adenoma                                                                                                                       X                                                        X                                            4
    Bilateral, a d e n o m a                                 X                                                                                                                                                                          1
Ovary                                              +     +   +++         +   +    +       +       +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +       +       +   +           53
Uterus                                             +     +   +++         +   +    +       +       +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +       +       +   +           53
    Polyp stromal                                        X                            X                                                                                                                                                 2
Vagina                                                                                                                                                                                                                                   1
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TABLE         B2
Individual           Animal         Tumor          Pathology           of Female           Rats            in the           2-Year       Inhalation                          Study    of Nickel           Oxide:   0.62   mg/m   3
(continued)

                                                              4    4   4   5   5   5   5       5       6       6   6    6    6   6   6   6       6       6       6       6    7   7   7   7   7
Number of Days on Study                                       2 7 7 0 2 3                  3    30           1 2 2 3 4 5 6 6 6 7 7 0 0                                                            1   22
                                                              3 2 5 9 4 6              6       7 0         4 2 9 4 0 2 0 7 8 4 8 3 7 9                                                                1 2

                                                              2 2 2 1 2            1       2 2 2                   1    2 2 2 2 2 2 2 2 2                                         1   2 2 2 2 2
Carcass ID Number                                             3 3 2 9 3            9 0 5   5                       90        1 4 1        42                 5       5       2 9 3   1            3   3   2
                                                              1 3 5 6 8            8 7 9 4 7                            3    0 0 5        8 6                3       2       3 9 0 6 7                5   8

Hematopoietic System
Bone marrow                                                   ++       +++         +       +       +       +       +    +    +   ÷   +       +       +       +       +        +   +   +   +       +   +    +
Lymph node                                                                     +   +                                    +                    +                                    +               +
Lymph node, bronchial                                         + + + + +            +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
Lymph node, mandibular                                        + + + + +            +       +M+                     +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
L y m p h n o d e , mesenteric                                + + + + +            +       + +             +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
L y m p h n o d e , mediastinal                               + + + + +            +       +       +M+                  +M+          +       +       +       +       +        +   +   +   +       +   +    +
Spleen                                                        + + +++              +       +       + +             +    + +      +   +       +       +       +       +        +   +   +   +       +   +    +
    Hemangiosarcoma                                                                                                                                  X
Thymus                                                        + + + + +            +       +       +       +       +    +    +   +M+                 +       +       +        +   +   +   +       +   +    +

Integumentary              System
Mammary gland                                                 + + + + +            +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   + + + + +
   Adenoma
   Fibroadenoma                                                        X                                                             X                                            X       X           X
   F i b r o a d e n o m a , multiple                                                                      X
Skin                                                                                                                                                                                      + + +
   Hemangioma                                                                                                                                                                                 X

Musculoskeletal              System
Bone                                                          + + + + +            +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   ÷    +
   Rib, o s t e o s a r c o m a                                                                                                                                                       X

Nervous System
Brain                                                         + + + + +            +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
   C e r e b e l l u m , c a r c i n o m a , metastatic                    X               X
   C e r e b r u m , c a r c i n o m a , metastatic                        X               X
   C e r e b r u m , o s t e o s a r c o m a , metastatic                                                                                                                             X
   H y p o t h a l a m u s , c a r c i n o m a , metastatic

Respiratory             System
Larynx                                                        + + +++              +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
Lung                                                          + + +++              +       +       +       +       +    +    +   +   +       +       +       +       +        +   +   +   +       +   +    +
   O s t e o s a r c o m a , metastatic                                                                                                                                              X
Nose                                                          + + + + +            +       + +             q- +         +    +   +   +       +       +       +       +        +   .+ ÷    +       +. +     +
Trachea                                                       + + + + +            +       .q- +           + +          +    +   +   +       +       +       +       +        +   + +     +       + +      •

Special Senses System
Eye                                                           +                +

U r i n a r y System
Kidney                                                        + + + + + + + + + + + + + + + + + + + + + + + . 4 - +
      Mesenchymal tumor                                                                                        X
Urinary bladder                                               + + .+ + + + + + + + + -t- + ÷ + + + + + + + + +                                                                                        .q- +

Systemic Lesions
Multiple o r g a n s
  Leukemia mononuclear                                        X                X X                         X            X                    X               X X X X                              X
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Lesions in Female                Rats                                                                                                                                                                                                                                     187



TABLE B2
Individual          Animal         Tumor          Pathology             of Female               Rats            in the              2-Year       Inhalation                              Study        of Nickel               Oxide:                  0.62   mg/m 3
(continued)

                                                              7    7    7   7   7   7       7       7       7       7       7   7    7   7   7       7       7       7       7       7        7   7   7   7   7       7       7           7
Number        of Days on Study                                2 2 2 2 2 2 2 2 2 3   3 3 3 3 3 3 3                                                                                3        3       3   3   3   3       3           3 3 3               3
                                                              5 5 9 9 9 9 9 9 9 0 0 0 0 0 0 0 0 0                                                                                         1       1   1   1   1       1           2 2 2 2

                                                              2    2    2   2   2   2       2       2       2       2       2   2    2   2   2       2       2       2       2       2       2    2   2   2   2       2       2       2                          Total
Carcass       ID Number                                       2    2    0   0 3     4       4           4       5       0       1    1   1   2       2       3           5       5       0        0   1   4   5       5           0           1   1   1       Tissues/
                                                              2    9    6   8 9     1       7           9       6       5       2    7   8   1       4       2           7       8       0        4   1   5   0       1           9           3   4   9       Tumors

Hematopoietic System
Bone m a r r o w                                              + + + + +             +           + +             + q- +               + +     +       +           +       +       + +              +   +   +   +           +       +           +   +   +            53
Lymph node                                                                                                                                                                                                                                                          6
L y m p h node, b r o n c h i a l                             +     +   +   +   +   + + + +                             +       + M I        + +                 +       +       +        +       + + + +                 +       + M + +                          50
Lymph node, mandibular                                        +     +   +   +   M   + M + I                             +       + + +        + I                 +       +       +        +       + M M +                 +       + + + M                          45
L y m p h n o d e , mesenteric                                +     +   +   +   +   + + + +                             +       + + +        + +                 +       +       +        +       + + + +                 +       + + + +                          53
L y m p h node, mediastinal                                   M     +   I   +   +   + + + +                             +       + + +        + +                 +       +       +        +       + M + +                 +       + M + M                          46
Spleen                                                        +     +   +   +   +   + + + +                             +       + + +        + +                 +       +       +        +       + + + +                 +       + + + +                          53
    Hemangiosarcoma                                                                                                                                                                                                                                                 1
Thymus                                                        + + I         MM          +       +       +       +       +       +    +   +   +           +       +       +       +        +       +   +   +   +           +       +           +   +   +            49

Integumentary               System
Mammary gland                                                 + + + + +             +           +       +       +       +       +    +   +   +       +           +       +       +        +       +   +   +   +           +       +           +   +   +             53
   Adenoma                                                                                                                                                                                                X                                                          1
   Fibroadenoma                                               X                                 X X                                                                                                                   X X                             X             11
   F i b r o a d e n o m a , multiple                                                                                                                X                                                        X                                                      3
Skin                                                                                                                                                                                                                                                                 3
   Hemangioma                                                                                                                                                                                                                                                        l

Musculoskeletal              System
Bone                                                          + + + + +                 +       +       +       +       +       +    +   +   +           +       +       +       +        +       +   +   +   +           +       +           +   +   +             53
   Rib, o s t e o s a r c o m a                                                                                                                                                                                                                                      1

Nervous System
Brain                                                         + + + + +                 +       +       +       +       +       +    +   +   +           +       +       +       +        +       +   +   +   +           +       +           +   +   +             53
   C e r e b e l l u m , c a r c i n o m a , metastatic                                                                                                                                                                                                              2
   C e r e b r u m , c a r c i n o m a , metastatic                 X                                                                                                                                                                                                3
   C e r e b r u m , o s t e o s a r c o m a , metastatic                                                                                                                                                                                                             1
   H y p o t h a l a m u s , c a r c i n o m a , metastatic                         X                                                                                                                                                                                 1

Respiratory            System
Larynx                                                        4-4-4-4-4-4-4-+4-4-4-+++4-4-4-+4-4-4-4-4--I-4-++4-                                                                                                                                                    53
Lung                                                          + + + + + + + + + + + + + + + + + + 4 - + + + + + + + + +                                                                                                                                             53
   O s t e o s a r c o m a , metastatic                                                                                                                                                                                                                              1
Nose                                                          + + +++                   +       +       +       +       +       +    +   +   +           +       +       +       +        +       +   +   +       +       +       +           +   +   +             53
Trachea                                                       + + + + + + + + + + + + 4 - + + + + + + + + + + + + + + +                                                                                                                                             53

Special Senses System
Eye

Urinary System
Kidney                                                        + + +++                   +       +       +       +       +       +    +   +       +       +       +       +       +        +       +   +   +       +       +       +           +   +   +             53
   Mesenchymal tumor                                                                                                                                                                                                                                                 1
Urinary bladder                                                   + + + + +             +       +       ÷       +       +       +    +   +       +       +       +       +           +    +       +   +   +       +       4- +                4- 4- 4-              53

Systemic Lesions
Multiple o r g a n s                                              + + + + +             +       +       +       + +             +    +   + +             +       +       +           +       +    +   +   +       +       +           +       +   +   +             53
   Leukemia mononuclear                                                                                         X X                      X X                     X                                        X               X                           X             19
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TABLE B2
Individual Animal Tumor                       Pathology         of Female       Rats         in the              2-Year Inhalation Study of Nickel Oxide:                                                                                  1.25 mg/m 3


                                                        3 4 4 4 4 4 5                   5 5 5 5                      6       6       6       6       6       6       6       6       6   6       6       6       6       6
N u m b e r o f D a y s on Study                        4 3 6 7 7 9 0   1 3 69                                       1       1 1 2 3 3 4 4 4 4 5    8 8                                                                          9
                                                        6 6 6 1 6 4 3 4 6 5 4                                        1       4 8 7 4 8 0 3  3 7 5 6 9 0

                                                        3 3 3 3 3       3       3       3    3       3       3       3       3       3       3           3       3       3       3       3       3       3       3       3       3
Carcass ID N u m b e r                                  6 8 8 7 5 4 7               8    5       8   7 8 6 5                                 8 6 5 5 3 . 5 7 6 8 5                                                               3
                                                        1 9 2 4 3 4 5                   64           1 7 4 5 2 7                                8 1 5 66    8 7 0                                                        8       5

Alimentary        System
Esophagus                                               +   +   + + +   +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +       +
    Sarcoma, metastatic                                                                                                      X
Intestine large, colon                                  + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
Intestine large, rectum                                 + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       I       +       +       +       +       +       +        +
Intestine large, c e c u m                              + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
Intestine small, d u o d e n u m                        + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
Intestine small, j e j u n u m                          + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
Intestine small, ileum                                  + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
Liver                                                   + + + + +       +       +       +    +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +        +
    S a r c o m a , metastatic                                                                                               X
Pancreas                                                + + + + +       + + +                +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
Salivary glands                                         + + + + +       + M +                +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
Stomach, forestomach                                    + + + + +       + + +                +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
Stomach, glandular                                      +   +   + + +   +       +       +    +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +

Cardiovascular System
                                                                                                                                                                 +
Blood vessel
                                                        + + + + +       +       +       +    +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
Heart

Endocrine S y s t e m
Adrenal cortex                                          + + + + +       +       +       +    +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
Adrenal medulla                                         + + +++         +       +       +    +       +       +       +       +           +       +       +       +       +       +       +       +       +       +           +    +
    P h e o c h r o m o c y t o m a benign                                                                           X                                                                                                            X
    Bilateral, p h e o c h r o m o c y t o m a benign
Islets, pancreatic                                      + + + + +       +       +       +    +       +       +       +           +       +       +       +       +       +       +       +       +       +           +       +    +
    Adenoma
Parathyroid gland                                       +++++           + +MM+                               + + + +M+                                            + + + + + + + + +
                                                        + + + + +       +       +       +    +       +       +       +           +       +       +       +        +      +       +       +       +       +           +       +    +
Pituitary gland
    Pars distalis, a d e n o m a                                                             X X                                                 X X                                     X               X                        X
    Pars distalis, c a r c i n o m a
                                                        +   + + + +     +       +       +    +       +       +       +           +       +       +       +        +      +       +       +       +       +           +       +    +
Thyroid gland
    C-cell, a d e n o m a

General B o d y S y s t e m
Tissue NOS                                                       +                                                                                                           +
   Lipoma                                                       X
    Liposarcoma                                                                                                                                                          X


Genital S y s t e m
 Clitoral gland                                         + + + + +           +       +M+                  +       +       +       +       +       +           +       +       +       +       +       +       +       +       +       +
     Adenoma
     Bilateral, a d e n o m a
 Ovary
 Uterus
     Polyp stromal                                                                                               X
 Vagina
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Lesions       in Female           Rats                                                                                                                                                             189



TABLE        B2
Individual           Animal         Tumor          Pathology          of Female        Rats    in the 2-Year           Inhalation        Study    of Nickel       Oxide:       1.25   mg/m   3
(continued)

                                                              6   6   7 7     7    7   7   7   7   7   7   7   7   7    7    7   7   7   7    7   7   7   7   7   7    7   7   7
Number         of Days on Study                               9   9   1 1 2        2   2   2   2   2   2   2   3   3    3    3   3   3    3   3   3   3   3   3   3    3   3   3
                                                              0   0   3 3 2        7   7   7   9   9   9   9   0   0    0    0   0   0    1   1   1   1   1   1   1    2   2   2

                                                              3   3   3   3   3    3   3   3   3   3   3   3   3   3    3    3   3   3    3   3   3   3   3   3   3    3   3   3          Total
Carcass        ID Number                                      4   4   4   7 2      4   7   8   3   6   7   7   3   4    5    6   6   6    2   2   3   3   4   4   5    3   6   7       Tissues\
                                                              3   5   6   9 7      9   6   3   0   3   1   2   7   1    9    0   2   9    6   8   1   4   7   8   0    9   6   3       Tumors

Alimentary System
Esophagus                                                     + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
    S a r c o m a , metastatic                                                                                                                                                                1
Intestine large, colon                                        +   +   +++          +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Intestine large, rectum                                       +   +   +++          +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             52
Intestine large, c e c u m                                    +   +   + + +        +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Intestine small, d u o d e n u m                              +   +   +++          +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Intestine small, j e j u n u m                                +   +   + + +        +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Intestine small, ileum                                        +   +   + + +        +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Liver                                                         +   +   +++          +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
    S a r c o m a , metastatic                                                                                                                                                                1
Pancreas                                                      + + + + +            +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
Salivary glands                                               + + + + +            +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +I      +    +   +   +             51
Stomach, forestomach                                          + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   + +     +    +   +   +             53
Stomach, glandular                                            + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   + +     +    +   +   +             53

Cardiovascular              System
Blood vessel                                                  +                                                                                                                               2
Heart                                                         + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53

Endocrine System
A d r e n a l cortex                                          + + + ++             +   +   +   +   +   +   +   +   +     +   +   +   +    +   ~   +   +   +   +   +    +   +   +             53
A d r e n a l medulla                                         + + ++   +           +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
     Pheochromocytoma benign                                          X                X                                             X                                                        5
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n                                                                    X                                                              1
Islets, pancreatic                                            + + + + +            +   +   +   +   +   +   +   +   +     +   + +     +    +   +   +   +   +   +   +    +   +   +             53
     Adenoma                                                                                                                                                X                                 1
Parathyroid gland                                             + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   + +     +    +   +   +             50
Pituitary g l a n d                                           + + + + +            +   + + + +         +   +   +   +     +   +   +   +    +   +   +   +   +M+          +   +   +             52
     Pars distalis, a d e n o m a                                             XX       X X XX          X                     X                X       X           X        X                 19
     Pars distalis¢ c a r c i n o m a                               X                                                                                                                         1
Thyroid gland                                                 + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             53
     C-cell, a d e n o m a                                                                                 X                                  X               X                               3

General Body System
Tissue N O S                                                                                                   +
   Lipoma                                                                                                      X
   Liposarcoma

Genital System
Clitoral g l a n d                                            M + + + +            +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +   +    +   +   +             51
   Adenoma                                                                                                                                                                 X                  1
   Bilateral, a d e n o m a                                                                                                                               X                                   1
Ovary                                                         + + +++              +   +   +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +    +   +   +   +             53
Uterus                                                        I   + + + +   + +            +   +   +   +   +   +   +     +   +   +   +    +   +   +   +   +   +    +   +   +   +             52
    P o l y p stromal                                             X       X X X                                                  X                                                            6
Vagina                                                                    +                                                                                                                    1
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TABLE         B2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 1.25 mg/m 3
(continued)

                                                      344         4    4   4   5       5       5       5       5   6   6   6   6   6       6       6       6       6   6   6   6   6   6
Number         of Days on Study                       436         7 7 9 0 1 3 6 9 1 1 1 2 3 3 4 4 4 4 5 8 8 9
                                                      666         1 6 4 3 4 6 5 4 1 4 8 7 4 8 0 3 3 7 5 6 9 0

                                                      333         3    3   3   3       3       3       3       3   3   3   3   3   3       3       3       3       3   3   3   3   3   3
Carcass        ID Number                              688         7    5   4   7       8       5       8   7       8   6   5   8   6       5       5       3       5   7   6   8   5   3
                                                      192         4    3   4   5       6       4       1   7       4   5   2   7   8       1       5       6       6   8   7   0   8   5

Hematopoietic S y s t e m
Bone marrow                                           + + + + +            +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   + +         +
Lymph node                                                                 +                                                       +                                   +               ++
Lymph node, bronchial                                 +   +   +   ++       +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   + +         +
Lymph node, mandibular                                +   +   +   ++       + M + + +                               +   +   +   +   +           +       +       +       +   +   ++      +       +   +
L y m p h node, mesenteric                            +   +   +   ++       + + + + +                               +   +   +   +   +           +       +       +       +   +   + +     +       +   +
L y m p h n o d e , mediastinal                       +   +   +   ++       +       +M+                     +       +   +   +   +   +           + M M +                     +   +   +   +       +   +
Spleen                                                +   +   +   + +      +       + +             +       +       +   +   +   +   +           + + + +                     +   +   +   +       +   +
Thymus                                                +   +   +   ++       +       +       +       +       +       +   +   +   +   M +                 +       +       +   +   +   +   +       +   +

Integumentary                System
Mammary gland                                         + + +++              +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   +       +   +
   Adenoma                                                                                                             X
   Carcinoma                                                                                                                                                               X
   C a r c i n o m a , multiple
   Fibroadenoma                                                                                                            X               X                                   X               X
   F i b r o a d e n o m a , multiple
Skin                                                                                                                   +   +                   +
   S u b c u t a n e o u s tissue, f i b r o m a                                                                       X
   S u b c u t a n e o u s tissue, s a r c o m a                                                                           X

Musculoskeletal         System
Bone                                                  + + + + +            +       +       +       +       +       +   +   +   + :~            +       +       +       +   +   +   +   +       +   +
  Vertebra, schwannoma malignant,
     metastatic, p e r i p h e r a l n e r v e                         X

Nervous System
Brain                                                 + + + + +            +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   +       +   +
   C e r e b r u m , c a r c i n o m a , metastatic
   Cerebrum, glioma NOS                                           X
Peripheral n e r v e                                                   +
   Schwannoma malignant                                                X

Respiratory          System
Larynx                                                + + + + +            +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   +       +   +
Lung                                                  + + + + +            +       +       +       +       +       +   +   +   +   +           +       +       +       +   +   +   +   +       +   +
   Alveolar/bronchiolar adenoma                                                                                                                                                    X
   Alveolar/bronchiolar carcinoma                                                                                                                                          X
   Alveolar/bronchiolar carcinoma,
     s q u a m o u s differentiation
Nose                                                  + + + + +            +       +       +       +       +       +   +   +   +       +       +       +       +       +   +   +   +       +   +   +
Trachea                                               ++   +++             +       +       +       +       +       +   +   +   +       +       +       +       +       +   +   +   +       +   +   +


Special Senses System
Eye                                                                    +   +               +                                                           +
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Lesions in Female Rats                                                                                                                                                                                                                                     191


TABLE  B2
Individual Animal T u m o r                        Pathology       of Female               Rats in the 2-Year Inhalation Study of Nickel Oxide:                                                                                          1.25 mg/m 3
(continued)

                                                          6    6   7   7   7   7       7       7       7       7       7   7   7   7   7    7       7       7       7       7       7   7   7   7   7       7       7       7
Number of Days on Study                                   9 9 1 1 2 2 2 2 2 2 2 2 3    3 3 3 3                                                                          3       3       3   3   3   3       3           3       3 3 3
                                                          0 0 3 3 2 7 7 7 9 9 9 9 0 0 0 0 0 0                                                                                   1       1   1   1   1       1           1       2 2 2

                                                          3    3   3   3 3     3       3           3       3       3       3   3   3   3    3       3           3       3       3       3   3   3   3       3           3       3   3    3       Total
Carcass ID Number                                         4    4   4   7 2     4       7           8       3       6       7   7   3   4    5       6           6       6       2       2   3   3   4       4           5       3   6    7    Tissues/
                                                          3    5   6   9 7     9       6           3       0       3       1   2   7   1    9       0           2       9       6       8   l   4   7       8           0       9   6    3    Tumors

Hematopoietic System
Bone marrow                                               + + + + +            +           +       +       +       ~       +   +   +   +    +           +       +       +       +       +   +   +  + +                  +       +   +    +         53
Lymph node                                                +         +                                                          +                                                                   +                                                9
Lymph node, bronchial                                     ++   +++             +           +       + + +                   +   + +     + + + + + +                                      +   + + + +                     +       + + +              53
L y m p h node, m a n d i b u l a r                       + + + + +            +           +       + + +                   +   + +     + + + + + +                                      M   -t- + + +                   +       + + +              51
L y m p h node, mesenteric                                ++   +++             +           +       + + +                   +   + +     + + + + + +                                      +   + + + +                     +       + + +              53
L y m p h node, mediastinal                               + + + + + +          +                   + + +                   + + +       + M + + + M +                                    +       + + +                   +       + + +              48
Spleen                                                    + + +++              +           +       + + +                   + + +       + + + + + +                                      +   + + + +                     +       + + +              53
Thymus                                                    + + + + +            +           +       + + +                   + + M       + + M + + +                                      +   M + M +                     +       + M +              47

Integumentary System
Mammary gland                                             + + +++              +           +       +       +       +       +   +   +   +    +           q- +            +       +       +   +   +   +           +       +       +   +    +          53
   Adenoma                                                                                                                                                                                                                                             1
   Carcinoma                                                                                                       X                                                                                                                                   2
   C a r c i n o m a , multiple                                                                                                                                                                 X                                                      1
   Fibroadenoma                                                            X                                       X                   X                        X                       XXX                                         XX              13
   F i b r o a d e n o m a , multiple                          X       X                                                                                                                                                                             2
Skin                                                                                                                                                                                                                                                 3
   S u b c u t a n e o u s tissue, f i b r o m a                                                                                                                                                                                                     1
   S u b c u t a n e o u s tissue, s a r c o m a                                                                                                                                                                                                       1
Musculoskeletal      System
Bone                                                      + "-I- + + +             +       +       +       +       +       +   +   +   +        +       +       +       +       +       +   +   +   +           +       +       +   +    +          53
  Vertebra, schwannoma malignant,
     metastatic, peripheral nerve                                                                                                                                                                                                                      1

Nervous System
Brain                                                     + + + + +                +       +       +       +       +       +   +   +   +        +       +       +       +       +       +   +   +   +           +       +       +   +    +          53
   C e r e b r u m , c a r c i n o m a , metastatic                    X                                                                                                                                                                             1
   Cerebrum, glioma NOS                                                                                                                                                                                                                              1
Peripheral nerve                                                                                                                                                                                                                                     1
   Schwannoma malignant                                                                                                                                                                                                                              1

Respiratory          System
Larynx                                                    + + + + +                +       +       +       +       +       +   +   +   +        +       +       +       +       +       +   +   +       +       +       +       +   +    +          53
Lung                                                      +    q- -I- + +          q- q- +                 +       +       +   +   +   +        +       +       +       +       +       .4- +   +       +       +       +       +   +    +          53
   AIveolar/bronchiolar adenoma                                                                                                                                                                                                                        1
   AIveolar/bronchiolar carcinoma                                                                                                               X                       X                                                                              3
   Alveolar/bronchiolar carcinoma,
     s q u a m o u s differentiation                                                                                 X                                                                          X                                                    2
Nose                                                       + + + + + +                     +       ++                +         +   +       ++           +       +       +       +       ++      + + +                   +       +   +    +          52
Trachea                                                    + + + + + +                     +       + +             + +         +   +       + +          +       +       +       +       + +     -k- -I- +               +       +   +    +          53

Special S e n s e s       System
Eye                                                                                                                                                                                                                             +                      5
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192                                                                                                                          N i c k e l O x i d e , N T P T R 451



TABLE B2
Individual    Animal   Tumor   Pathology      of Female   Rats in the 2-Year      Inhalation    Study of Nickel Oxide:                   1.25 mg/m 3
(continued)

                                     3 4 4 4 4 4 5 5 5     5 5 6 6 6 6 6 6 6 6 6 6 6 6 6 6
Number of Days on Study              4 3 6 7 7   90    1 3 69   1 1 1 2 3 3 4 4 4 4 5    8 8                                 9
                                     6 6 6 1 6 4 3 4 6 5 4      1 4 8 7 4 8 0 3 3 7    5 690

                                     3 3 3 3 3       3 3    3 3   3 3   3   3 3     3   3 3 3   3    3   3   3   3   3       3
Carcass ID Number                    6 8 8 7 5       47     8 5   87    8   65      8   65  5   3    5   7   6   8   5   .
                                                                                                                             3
                                     1 9243          4 5    64    1 7   4   5 2     7   8 1 5   6    6   8   7   0   8       5

Urinary System
Kidney                               + + +++          + + + + + + + + + + + + + + +                      + + +       + +
   Liposarcoma                            X
   Nephroblastoma                                                             X
Urinary bladder                      ++       +++     + + + + + + + + + + + + + + + +                        + + +            +

Systemic Lesions
Multiple organs
  Leukemia mononuclear                               XXX          X            XX               XX           XXXX
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Lesions in Female Rats                                                                                                                                         193



TABLE B2
Individual    Animal   Tumor   Pathology   of Female   Rats    in the 2-Year           Inhalation       Study    of Nickel Oxide:            1.25 mg/m 3
(continued)

                                     6 6 7 7 7     7   7   7   7   7   7   7   7   7    7   7   7   7   7    7   7   7   7   7   7   7   7   7
Number of Days on Study              9 9   1 1 2   2   2   2   2   2   2   2   3   3    3   3   3   3   3 3 3 3          3   3 3 3       3   3
                                     0 0   3 3 2   7   7   7   9   9   9   9   0   0    0   0   0   0   1 1 1 1          1   1 1 2       2   2

                                     3 3 3 3 3     3   3   3   3   3   3   3   3   3    3   3   3   3   3    3   3   3   3   3   3   3   3   3       Total
Carcass ID Number                    4 4 4 7 2     4   7   8   3   6   7 7     3   4 5      6   6   6   2    2   3   3   4   4   5   3   6   7     Tissues/
                                     3 5 6 9 7     9   6   3   0   3   1 2     7   1 9      0   2   9   6    8   I   4   7   8   0   9   6   3     Tumors

Urinary System
Kidney                               + + + + +     +   +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   + "~- +     +   +   +          53
   Liposarcoma                                                                                                                                             1
   Nephroblastoma                                                                                                                                          1
Urinary bladder                      + + +++       +   +   +   +   +   +   +   +   +    +   +   +   +    +   +   +   +   +   +   +   +   +   +          53

Systemic Lesions
Multiple organs                      + + + + +     +   + +     +   +   +   +   +   +    +   +   +   +   +    +   +   +   +   +   +   +   +   +          53
  Leukemia mononuclear               X         X       X                   X                    X       X            X               X       X          21
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TABLE         B2
Individual Animal Tumor P a t h o l o g y                             of Female               Rats            in the       2-Year           Inhalation                          Study    of Nickel                 Oxide:    2.5 mg/m 3


                                                              0   4   4   4   4   5       5       5       5   5   5    5    5   6   6       6       6       6       6       6    6   6   6    7       7
Number         of Days on Study                               9 6 6 9 9  1 3 3 5 5 7 7 7 0 0 0                                                                  1       3       3 5      6 6 7                00
                                                              0 6 7 4 6 9 8 9 0 9 0 0 7 0 7 9 8 3                                                                               65       34    1              46

                                                              4   4   4   5   4   5       5       4       4   4   4    4    4   4   5       4       4       5       4       4    4   4   4    5       4
Carcass ID Number                                             6 9 6 1 8           1           0 9 9 9 6 8 9 9                                1 7 8 0 9 6 9 7 5      1                                              8
                                                              1 9 6 7 3           I           5 0 4 2 7 2 5                         1        82   1 9 7 4 8 6 8 9 6

Alimentary System
Esophagus                                                     + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
    Lipoma
Intestine large, c o l o n                                    + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Intestine large, r e c t u m                                  ++   +++            +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Intestine large, c e c u m                                    + + + + +           +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Intestine small, d u o d e n u m                              ++   +++            +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Intestine small, j e j u n u m                                + + + + +           +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Intestine small, ileum                                        + + + + +           +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Liver                                                         + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
    Hepatocellular adenoma
Mesentery
    Lipoma
Pancreas                                                      + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Salivary g l a n d s                                          + + + + +           +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
    Parotid g l a n d , a d e n o m a
Stomach, forestomach                                          ++  +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Stomach, glandular                                            + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Tooth

Cardiovascular System
Heart                                                         + + + + +           +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +

Endocrine System
A d r e n a l cortex                                          + + +++             +           +       +       +   +    +    +   +   +           +       +       +       +        +   +   +    +           +   +    +
Adrenal medulla                                               + + + + +           + + + + + +                               + + + + + M + +                                          +   ++               +   +    +
     Pheochromocytoma benign                                                      X                                                                                             X             X               X
     Bilateral, p h e o c h r o m o c y t o m a b e n i g n                                                                                                             X
Islets, p a n c r e a t i c                                   + + +++             +           +       +       +   q- +      +   +   +           +       +       +       +        +   +   +    +           +   +    +
Parathyroid gland                                             M + + + M + M +                                 +   + + + +           +           +       +       ++               + M + +                  ++       +
Pituitary g l a n d                                           + + +++     + +                         +       +   + + + +           +           +       +       + +              + + + +                  + +      +
     P a r s distalis, a d e n o m a                                                                  X                         X X                     X                       X                             X X
     P a r s distalis, c a r c i n o m a                                                                      X                                                                            X
Thyroid gland                                                 M + + + +           +           +       ++          +    +    +   +   +           +       +       +       +        +   +   + +              +   +    +
     C-cell, a d e n o m a

General        Body      System
Tissue N O S                                                                                                                                                    +                        +
   Fibroma                                                                                                                                                      X

Genital System
Clitoral g l a n d                                            + + + + +               +       +M+                 +    +    +   +       + +             +       +       +        +   +   +        +       +M+
    Carcinoma                                                                                                                             X
Ovary                                                         + + +++                 +       +       +       +   +    +    +   +       + +             +       +       +        +   +   +        +       +   +    +
Uterus                                                        + + + + +               +       +       +       +   +    +    +   +       + +             +       +       +        +   +   +        +       +   +    +
    P o l y p stromal                                             X
    Schwannoma malignant                                                                                                                                                                 X
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Lesions in Female                 Rats                                                                                                                                                                                                                                                                      195




TABLE B2
Individual           Animal          Tumor          Pathology           of Female               Rats                in the 2-Year                               Inhalation                              Study            of Nickel                   Oxide: 2.5 m g / m 3
(continued)

                                                               7 7 7 7 7            7       7           7           7       7       7       7       7       7       7       7       7           7       7        7       7   7       7       7       7           7       7       7       7
Number         of Days on Stud, y                              1 1 2 2 2            2       2           2           2       2       2       3       3       3       3       3       3           3        3       3       3   3       3       3       3           3       3       3       3
                                                               8 9 5 9 9            9       9           9           9       9       9       0       0       0       0       0       0           1        1       I       1   1       1       1       2           2       2       2       2

                                                               4    4   5   4   4   4       4       5       5           5       5       4   4       4       4       5       5       4       4       4        4       5   5   5       4       4       4       4       4                             Total
Carcass        ID Number                                       6    7   0   6   6   7       9       0           0       1       1       7   7       8       8       1       2       6       7       8        8       0   1   1       5       6       7       7       7                           Tissues/
                                                               8    4   7   2   5   3       3       0           2       4       5       7   8       0       8       6       0       9       0       4        9       3   2   3       7       0       1       5       9                           Tumors

Alimentary System
Esophagus                                                      + + + + + + + + + + + +      + + + +                                                                                     +       +        +       +       +   +       + + + +                             ++              +            54
    Lipoma                                                               X                                                                                                                                                                                                                             1
Intestine large, c o l o n                                     + + + + +   + + + + + + + + + +                                                                                  +       + +              + + +               + +             + + +                       + +             +            54
Intestine large, r e c t u m                                   + + + + + +   + + + + + + + + +                                                                                  +       + +              + + +               + +             ++   +                      ++              +            54
Intestine large, c e c u m                                     + + + + +   + + + + + + + + + +                                                                                  +       + +              + + +               + +             + + +                       + +             +            54
Intestine small, d u o d e n u m                               + + + + +   + + + + + + + + + +                                                                                  +       + +              + + +               + +             + + +                       + +             +            54
Intestine small, j e j u n u m                                 + + + + +   + + + + + + + + + +                                                                                  +       + +              + + +               + +             + + +                       + +             +            54
Intestine small, ileum                                         + + + + + +   + + +  ++   ++    + +                                                                              +       ++               + + +               ++              + ++                        + +             +            54
Liver                                                          + + + + +   + + + + + + + + + +                                                                                  +       + +              + + +               + +             + + +                       + +             +            54
    Hepatocellula[ adenoma                                                               X                                                                                                                                                                                                             1
Mesentery                                                                                                                                                                                                  +                                                                                           1
    Lipoma                                                                                                                                                                                                 X                                                                                           I
Pancreas                                                       + + +++              +           +       +           +       +       +       +       +       +       +           +       +       +        + +             +   +       +       +           +       +       +       +       +            54
Salivary g l a n d s                                           + + +++              +           +       +           +       +       +       +       +       +       +           +       +       +        + +             I   +       +       +           +       +       +       +       +            53
    Parotid g l a n d , a d e n o m a                                                                                                                                                                      X                                                                                           1
Stomach, forestomach                                           +    +   +++             +       +       +           +       +       +       +       +       +       +           +       +       +        +       +       +   +       +           +       +       +       +       +       +             54
Stomach, glandular                                             + + + + +                +       +       +           +       +       +       +       +       +       +           +       +       +        +       +       +   +       +           +       +       +       +       +       +             54
Tooth                                                             +                                                                                                                                                                                                                                     I

Cardiovascular              System
Heart                                                          + + + + +                +       +       +           +       +       +       +       +       +       +           +       ÷       +        +       +       +   +       +           +       +       +       +       +       +             54

Endocrine System
A d r e n a l cortex                                           + + + + +                +       +       +           +       +       +       +       +       +       +           +       +       +        +       +       +   +       +           +       + +             +       +       +             54
A d r e n a l medulla                                          + + + + +                +       +       +           +       +       +       +       +       +       +           +       +       +        +       +       +   +       +           +       + +             +       +       +             53
      Pheochromocytoma benign                                          X                                X                           X                       X                                            X                   X                           X X                     X                     13
      Bilateral, p h e o c h r o m o c y t o m a b e n i g n                                                                                X X                                 X                                                    X                                                                  5
Islets, p a n c r e a t i c                                    + + +        + +         +       +       + +                 +       +       + +             + +                 +       +       +        +       +       +   +       + + +                       +       + +             +             54
P a r a t h y r o i d gland                                    + + +        + +         +       +       + +                 +       +       + +             + +                 +       +       +        +       +       +   +       + + +                       +       + +             +             50
Pituitary g l a n d                                            + + +        + +         +       +       + +                 +       +       + +             + +                 +       +       +        +       +       +   +       + + +                       +       + +             +             54
      Pars distalis, a d e n o m a                             X   X        X                           X X                                                 X X                         X                                            X X X                               X X                           20
      Pars distalis, c a r c i n o m a                                                                                                                                                                                                                                                                  2
Thyroid gland                                                  + + + + +                +       +       +           +       +       +       +       +       +           +       +       +       +        +       +       +   +       +           +       +       +       +       +       +             53
      C-cell, a d e n o m a                                                                                                                                                                                                                                              X               X              2

General Body System
Tissue N O S                                                                                                                                                                                    +                                                                                                       3
   Fibroma                                                                                                                                                                                                                                                                                              1

Genital System
Clitoral g l a n d                                                 + + + + +            +       +           +           +       +       + M +                   +       +       +       +           +       + M +                +       +       +       +           +       +       +       +         50
    Carcinoma                                                                                                                                                                                                                                                                                           1
Ovary                                                          + + + + +                +       +           +       +           +   +           +       +   +           +       +       +           +       +        +   +       +       +       +       +           +       +       +   +             54
Uterus                                                         + + + + +                +       +           +       +           +   +           +       +   +           +       +       +           +       +        +   +       +       +       +       +           +       +       +   +             54
    P o l y p stromal                                                X X                                                            X                                                                                    X                                                                              5
    Schwannoma malignant                                                                                                                                                                                                                                                                                1
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 TABLE B2
 Individual Animal T u m o r Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 2.5 m g / m 3
 (continued)

                                                      0   4   4   4   4   5   5       5       5           5       5       5       5       6       6       6       6   6   6   6   6   6    6   7   7
Number of Days on Study                               9 6 6 9 9           1   3           3       5       5       7 7 7 0 0 0                                         1   3   3   5   6 6 7 0 0
                                                      0   6   7   4   6   9   8       9       0       9       0       0       7       0       7       9       8           3 6 5       34       1   46

                                                      4   4   4   5   4   5   5       4       4           4       4       4       4       4       5       4       4   5   4   4   4   4    4   5   4
Carcass ID Number                                     6   9   6   1   8   1   0       9       9       9           6       8       9       9       1       7       8   0   9   6   9   7    5   1   8
                                                      1   9   6   7   3   1   5       0           4       2       7       2       5       1       8       2       1   9   7   4   8   6    8   9   6

Hematopoietic System
Bone m a r r o w                                      + + + + +           +   +           +       +       +           +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
L y m p h node                                                                                                                +                                                            +
L y m p h node, bronchial                             + +M++              +   +           +       +       +           +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
L y m p h node, m a n d i b u l a r                   ++  +++             +   +           +       +       +           +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
L y m p h node, mesenteric                            + + +++             +   +           +       +       +           +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
L y m p h node, mediastinal                           M + + + M +             +           +I              +           +       +       +       +       +       +M+             +   +   +    +   +       +   +
Spleen                                                + + + + +   +           +           + +             +           +       +       +       +       +       + +         +   +   +   +    +   +       +   +
Thymus                                                + + + + +           +   +           +       + M + M +                                   +       +       +       +M+         +   +    +   +       +   +

Integumentary System
. M a m m a r y gland                                 +   +   + + +       +   +           +       +       +           +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
     Adenoma
     Carcinoma                                                                X
     Fibroadenoma                                             X                                   X                                                                   X                            X
Skin                                                                                                                                                                                           +
     Fibroma                                                                                                                                                                                   X
     Papilloma
     Squamous cell c a r c i n o m a
     Subcutaneous tissue, fibroma

Musculoskeletal            System
Bone                                                  +   +   + + +       +       +       +       +           +       +       +       +       +       +       +       +   +   +   +   +    +   +       +   +

Nervous S y s t e m
Brain                                                 + +     + + +       +       +       +       +           +       +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
   C a r c i n o m a , metastatic                                                                 X
   Cerebellum, c a r c i n o m a , metastatic                                                                                                                                              X
   C e r e b r u m , c a r c i n o m a , metastatic                                                                                                                                        X

Respiratory          System
Larynx                                                +   +   + + +       +       +       +       +           +       +       +       +       +       ÷       +       ÷   +   +   +   +    +   +       +   •
Lung                                                  +   +   +++         +       +       +       +           +       +       +       +       +       +       +       +   +   +   +   +    +   +       +   +
  AIveolar/bronchiolar a d e n o m a
  AIveolar/bronchiolar a d e n o m a ,
    multiple
  AIveolar/bronchiolar c a r c i n o m a ,
    s q u a m o u s differentiation
Nose                                                  +   + + + +         +       +       +       +           +       +       +       +       +       +           +   +   +   +   +   +    +   +       +   +
Trachea                                               +   + + + +         +       +       +       +           +       +       +       +       +       +           +   +   +   +   +   +    +   +       +   +


 Special Senses System
 Eye                                                                  +                                                                                                   +
 Z y m b a l ' s gland                                                                                        +
     Carcinoma                                                                                            X
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Lesions in Female Rats                                                                                                                                                                                                                           197


TABLE        B2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 2.5 mg/m 3
(continued)

                                                          7   7   7   7   7   7       7       7       7       7       7   7   7   7   7   7   7       7       7       7       7   7   7   7   7   7   7       7       7
Number         of Days on Study                           I 1 2 2 2           2       2           2       2       2       2   3   3   3   3   3           3       3       3       3   3   3   3   3   3           3       3   3   3
                                                          8 9 5 9 9           9       9           9       9       9       9   0   0   0   0   0           0       1       1       1   1   1   1   1   2           2       2   2   2

                                                          4 4 5 4 4 4 4 5 5                                       5 5 4 4 4 4 5                           5 4 4 4 4 5 5 5 4 4 4 4 4                                                      Total
Carcass       ID Number                                   6 7 0 6 6           7       9           0       0       1       1   7   7   8   8   1           2       6       7       8   8   0   1   1   5           6       7   7   7   Tissues/
                                                          8 4 7 2 5           3       3           0       2       4       5   7   8   0   8   6           0       9       0       4   9   3   2   3   7           0       I   5   9   Tumors

Hematopoietic         System
Bone m a r r o w                                          + + + + +           +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   + ,7. +             +       +   +   +        54
L y m p h node                                                                                                                                    +                                                                                         3
L y m p h node, b r o n c h i a l                         +   +   M   +   +   +           +       + +             +       +   +   + + +           +       +       +       + +         +   +   + +         +       +       +   + +          52
L y m p h node, m a n d i b u l a r                       +   +   +   +   +   +           +       + +             M       M   M   + M +           +       +       +       + M         +   +   + +         +       +       +   + +          49
L y m p h node, mesenteric                                +   +   +   +   +   +           +       + +             +       +   +   + + +           +       +       +       + +         +   +   + +         +       +       +   + +          54
L y m p h node, mediastinal                               +   +   +   +   +   +           +       + +             +       +   +   + + +           +       +       +       + +         +   +   + +         +       +       +   + +          50
Spleen                                                    +   +   +   +   +   +           +       + +             +       +   +   + + +           +       +       +       + +         +   +   + +         +       +       +   + +          54
Thymus                                                    +   +   +   +   +   +           +       + M             +       M   +   + + +           +       +       +       + +         +   +   + M         +       +       +   + M          47

Integumentary System
Mammary gland                                             + + + + +           +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +        54
   Adenoma                                                                    X                                                                                                                                                             1
   Carcinoma                                                                                                                                                                                                                                1
   Fibroadenoma                                                                           X                               X       X           X X                                             X X                                 X        12
Skin                                                      +                                                                           +                           +                                                           +             5
   Fibroma                                                                                                                                                                                                                                  1
   Papilloma                                                                                                                                                                                                                                1
   S q u a m o u s cell c a r c i n o m a                 X                                                                                                                                                                                 1
   Subcutaneou~ tissue, f i b r o m a                                                                                                                                                                                         X             1

Musculoskeletal             System
Bone                                                      + + + + +               +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +        54

Nervous System
Brain                                                     + + + + +           +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +        54
   C a r c i n o m a , metastatic                                                                                                                                                                                                           1
   C e r e b e l l u m , c a r c i n o m a , metastatic                                                                                                                                                                                     1
   C e r e b r u m , c a r c i n o m a , metastatic                                                                                                                                                                                         1

Respiratory          System
Larynx                                                    + + + + +               +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +         54
Lung                                                      + + + + + + + . 4 - + + + + + + + + + + + + + + + + + + + + +                                                                                                                     54
   Alveolar/bronchiolar adenoma                                   X    X                                            X                                                                                                                        3
   Alveolar/bronchiolar adenoma,
     multiple                                                                                                                     X                                                                                                          1
   Alveolar/bronchiolar carcinoma,
     s q u a m o u s differentiation                                            X                                                                                                                                                            1
Nose                                                      + + + + + + + + + + + + + + + + + + + + + + + + + . 4 - + + +                                                                                                                     54
Trachea                                                   + + + + + + + + + + -I- + + + + + + + + + + + + + + + +                                                                                                             +   +         54

Special Senses System
Eye                                                                                                                                                                                           ÷
Zymbal's gland
   Carcinoma
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TABLE B 2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 2.5 mg/m 3
(continued)

                              0 4 4 4 4 5 5 5 5 5 5 5 5 6 6 6 6 6 6 6 6 6 6 7 7
Number of Days on S t u d y   96699      1 3 3 5 5 7 7 7 0 0 0  1 3 3 5 6 6 7 0 0
                              0 6 7 4 6 9 8 9 0 9 0 0 7 0 7 9 8   365    34  1 46

                              4 4 4 5 4 5 5 4 4 4 4 4 4 4 5 4 4 5 4 4 4 4 4 5 4
Carcass ID Number             69618     1 0 9 9 9 6 8 9 9   1 7 8 0 9 6 9 7 5    1 8
                              19673     1 5 0 4 2 7 2 5   1 82   1 9 7 4 8 6 8 9 6

Urinary System
Kidney                        + + + + +       + + + + + + + + + + + + + + + +     +   + + +
   Mixed tumor malignant                        X
Urinary bladder               + ++++          + + + +   + + + + + + + + + + +   + +   + + +

Systemic Lesions
Multiple organs
  Leukemia mononuclear           X        X       X      XX             XXX       X    X
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Lesions in Female Rats                                                                                                                                                                            199


TABLE B2
Individual Animal Tumor Pathology of Female Rats in the 2-Year Inhalation Study of Nickel Oxide: 2.5 mg/m ~
(continued)

                              7   7   7   7   7   7   7   7   7   7   7   7       7       7       7       7       7       7       7   7   7   7   7   7   7   7   7   7    7
Number of Days on Study       1 1 2 2 2 2 2 2 2 2 2 3   3 3 3 3                                                       3       3       3   3   3   3   3   3 3 3 3 3 3
                              8 9 5 9 9 9 9 9 9 9 9 0 0 0 0 0 0                                                               1       1   1   1   1   1   1 2 2 2 2 2

                              4 4 5 4 4 4 4 5 5 5 5 4 4 4 4 5 5 4 4 4 4 5 5 5 4 4 4 4                                                                                              4      Toml
Carcass ID Number             6 7 0 6 6 7 9 0 0 1 1 7 7 8 8 1 2 6 7 8 8 0 1 1 5 6 7 7 7                                                                                                Tissues/
                              8 4 7 2 5 3 3 0 2 4 5 7 8 0 8 6 0 9 0 4 9 3 2 3 7 0 1 5                                                                                              9   Tumor

Urinary System
Kidney                         + + + + + + + + + + + + + +                                            + + + + +                           +   +   + + + +         ++           +   +        54
   Mixed tumor malignant                                                                                                                                                                     1
Urinary bladder                + + + + +          +   +   +   +   +   +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +    +       +   +        54

Systemic Lesions
Multiple organs                + + + + +          +   +   +   +   +   +   + +                 +       +       + +             +       +   +   +   +   +   +   +   +    +       +   +        54
  Leukemia mononuclear           XX                                       XX                                  XX                                      X                            X        18
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TABLE B3
Statistical Analysis of Primary Neoplasms in Female Rats in the 2-Year Inhalation Study of Nickel Oxide


                                                                0 mg/m3      0.62 mg/m3     1.25 mg/m~        2.5 mg/m ~


Adrenal Medulla: Benign Pheochromocytoma
Overall rate a                                                  4/51 (8%)      7/52 (13%)    6/53 (11%)        18/53 (34%)
Adjusted rate b                                                 15.1%          21.1%         22.0%             56.5 %
Terminal rate c                                                 2/21 (10%)     3/25 (12%)    2/20 (10%)        13/26 (50%)
First incidence (days)                                          558            524           611               519
Life table testd                                                P<0.001        P=0.350       P=0.353           P=0.003
Logistic regression testd                                       P < 0.001      P=0.288       P-~0.385          P =0.001
Cochran-Armita~e testd                                          P < 0.001
Fisher exact testu                                                             P = 0.274     P = 0.395         P < 0.001

Clitoral Gland: Adenoma
Overall rate                                                    1/53 (2%)      5/53 (9%)     2/51 (4%)         0/50 (0%)
Adjusted rote                                                   4.8 %          16.2%         10.0%             0.0%
Terminal rate                                                   1/21 (5%)      3/26 (12%)    2/20 (10%)        0/24 (0%)
First incidence (days)                                          729 (T)        537           729 (T)           -- e
Life table test                                                 P=0.151N       P=0.145       P=0.483           P=0.473N
Logistic regression test                                        P=0.183N       P=0.114       P=0.483           P=0.473N
Cochran-Armitage test                                           P=0.176N
Fisher exact test                                                              P=0.103       P=0.485           P=0.515N

Clitoral Gland: Adenoma or Carcinoma
Overall rate                                                    3/53 (6%)      5/53 (9%)     2/51 (4%)         1/50 (2%)
Adjusted rate                                                   9.8 %          16.2%         10.0%             2.5%
Terminal rate                                                   1/21 (5%)      3/26 (12%)    2/20 (10%)        0/24 (0%)
First incidence (days)                                          594            537           729 (T)           607
Life table test                                                 P=0.136N       P=0.436       P=0.519N          P=0.305N
Logistic regression test                                        P=0.158N       P=0.367       P=0.521N          P=0.324N
Cochran-Armitage test                                           P=0.154N
Fisher exact test                                                              P=0.358       P=0.518N          P=0.331N

Lung: Alveolar/bronchiolar Adenoma
Overall rate                                                    1/53 (2%)      0/53 (0%)     1/53 (2%)         4/54 (7%)
Adjusted rate                                                   4.8%           0.0%          3.1%              15.4%
Terminal rate                                                   1/21 (5%)      0/26 (0%)     0/20 (0%)         4/26 (15%)
First incidence (days)                                          729 (T)        --            655               729 (T)
Life table test                                                 P=0.044        P =0.457N     P = 0.748         P=0.245
Logistic regression test                                        P=0.032        P=0.457N      P =0.759          P = 0.245
Cochran-Armitage test                                           P=0.035
Fisher exact test                                                              P=0.500N      P=0.752N          P=0.187

Lung: A l v e o l a r / b r o n c h i o l a r   Carcinoma
Overall rate                                                    0/53 (0%)      0/53 (0%)     5/53 (9%)         1/54 (2%)
Adjusted rate                                                   0.0%           0.0%          22.3%             3.8%
Terminal rate                                                   0/21 (0%)      0/26 (0%)     4/20 (20%)        1/26 (4%)
First incidence (days)                                          --             --            643               729 (T)
Life table test                                                 P=0.302        --            P = 0..029        P = 0.543
Logistic regression test                                        P=0.262        --            P=0.029           P=0.543
Cochran-Armitage test                                           P=0.272
Fisher exact test                                                                            P=0.028           P=0.505
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L e s i o n s in F e m a l e R a t s                                                                                                                                                       201



TABLE B 3
S t a t i s t i c a l A n a l y s i s o f P r i m a r y N e o p l a s m s i n F e m a l e R a t s in the 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                                   0 mg/m 3               0.62 mg/m 3               1.25 mg/m 3             2.5 mg/m 3



Lung: A l v e o l a r / b r o n c h i o l a r A d e n o m a or C a r c i n o m a
Overall rate                                                                       1/53 (2%)                0/53 (0%)                6/53 (I 1%)             5/54 (9%)
Adjusted rate                                                                      4.8%                     0.0%                     24.7%                   19.2%
Terminal rate                                                                      1/21 (5 %)               0/26 (0%)                4/20 (20%)              5/26 (19%)
First incidence (days)                                                             729 (T)                  --                       643                     729 (T)
Life table test                                                                    P=0.035                  P=0.457N                 P=0.051                 P=0.152
Logistic regression test                                                           P=0.022                  P=0.457N                 P=0.053                 P=0.152
Cochran-Armitage test                                                              P=0.026
Fisher exact test                                                                                           P =0.500N                 P = 0.056              P = 0.107

M a m m a r y Gland: F i b r o a d e n o m a
Overall rate                                                                       12/53 (23%)              14/53 (26%)               15/53 (28%)            12/54 (22%)
Adjusted rate                                                                      40.9%                    40.1%                     52.5 %                 37.4 %
Terminal rate                                                                      6/21 (29 %)              7/26 (27%)                8/20 (40%)             8/26 (31%)
First incidence (days)                                                             468                      475                       614                    467
Life table test    •
                                                                                   P=0.414N                 P=0.574N                  P=0.297                P=0.439N
Logistic regression test                                                           P=0.510N                 P=0.445                   P=0.305                P=0.578N
Cochran-Armitage test                                                              P=0.481N
Fisher exact test                                                                                           P=0.411                   P=0.328                P=0.571N

Mammary Gland: Fibroadenoma or Adenoma
Overall rate                                                                       13/53 (25%)              15/53 (28%)               16/53 (30%)             13/54 (24%)
Adjusted rate                                                                      44.8%                    43.3%                     53.6%                   40.9%
Terminal rate                                                                      7/21 (33%)               8/26 (31%)                8/20 (40%)              9/26 (35%)
First incidence (days)                                                             468                      475                       611                     467
Life table test.                                                                   P=0.409N                 P=0.555N                  P=0.301                 P=0.422N
Logistic regression'test                                                           P=0.511N                 P=0.455                 " P=0.309                 P=0.575N
Cochran-Armitage test                                                              P=0.480N
Fisher exact test                                                                                            P=0.413                  P=0.332                 P=0.567N

Mammary Gland: C a r c i n o m a
Overall rate                                                                       1/53 (2%)                 0/53 (0%)                3/53 (6%)               1/54 (2%)
Adjusted rate                                                                      4.8%                      0.0%                     12.6%                   2.1%
Terminal rate                                                                      1/21 (5%)                 0/26 (0%)                2/20 (10%)              0/26 (0%)
First incidence (days)                                                             729 (T)                   --                       643                     538
Life table test                                                                    P=0.511                   P=0.457N                 P=0.290                 P=0.737N
Logistic regression test                                                           P=0.488                   P=0.457N                 P=0.294                 P=0.756N
Cochran-Armitage test                                                              P=0.492
Fisher exact test                                                                                            P=0.500N                 P=0.309                 P=0.748N

Mammary Gland: Adenoma or Carcinoma
 Overall rate                                                                      2/53 (4%)                 1/53 (2%)                4/53 (8%)               2/54 (4%)
 Adjusted rate                                                                     9.5 %                     3.8%                     14.7%                   5.8%
 Terminal rate                                                                     2/21 (10%)                1/26 (4%)                2/20 (10%)              1/26 (4%)
 First incidence (days)                                                            729 (T)                   729 (T)                  611                     538
 Life table test                                                                   P=0.525                   P=0.425N                 P=0.323                 P=0.636N
 Logistic regression test                                                          P=0.488                   P=0.425N                 P=0.327                 P=0.690N
 Cochran-Armitage test                                                             P=0.498
 Fisher exact test                                                                                           P=0.500N                 P=0.339                 P=0.684N
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TABLE B 3
Statistical Analysis of Primary                       N e o p l a s m s i n F e m a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                                    0 mg/m3                 0.62 mg/m3               1.25 mg/m3              2.5 mg/m 3


M a m m a r y G l a n d : Fibroadenoma, Adenoma, or C a r c i n o m a
Overall rate                                                   13/53 (25%)                                    15/53 (28%)              17/53 (32%)            14/54 (26%)
Adjusted rate                                                  44.8%                                          43.3%                    54.9%                  42.1%
Terminal rate                                                  7/21 (33 %)                                    8/26 (31%)               8/20 (40 %)            9/26 (35 %)
First incidence (days)                                         468                                            475                      611                    467
Life table test                                                P=0.506N                                       P=0.555N                 P=0.237                P=0.509N
Logistic regression test                                       P=0.476                                        P=0.455                  P=0.238                P=0.516
Cochran-Armitage test                                          P=0.505
Fisher exact test                                                                                             P=0.413                  P=0.259                P=0.522

P i t u i t a r y G l a n d ( P a r s Distalis):   Adenoma
Overall rate                                                                       20/52 (38%)                21/52 (40%)              19/52 (37%)            20/54 (37%)
Adjusted rate                                                                      57.4%                      60.1%                    60.3%                  55.7%
Terminal rate                                                                      7/20 (35 %)                13/26 (50%)              8/19 (42%)             11/26 (42%)
First incidence (days)                                                             403                        614                      536                    539
Life table test                                                                    P=0.378N                   P=0,375N                 P=0.548N               P=0.381N
Logistic regression test                                                           P=0,479N                   P=0.575N                 P=0.519N               P=0.524N
Cochran-Arrnitage test                                                             P=0,437N
Fisher exact test                                                                                             P=0.500                  P=0.500N               P=0.519N

P i t u i t a r y G l a n d ( P a r s Distalis): C a r c i n o m a
Overall rate                                                                       1/52 (2%)                  3/52 (6%)                1/52 (2%)              2/54 (4%)
Adjusted rate                                                                      2.2%                       7.5%                     3.8%                   5.1%
Terminal rote                                                                      0/20 (0%)                  0/26 (0%)                0/19 (0%)              0/26 (0%)
First incidence (days)                                                             563                        509                      713                    550
Life table test                                                                    P=0.527                    P=0.326                  P=0.747                P=0.490
Logistic regression test                                                           P=0.579                    P=0.221                  P=0.762N               P=0.531
Cochran-Arrnitage test                                                             P=0.544
Fisher exact test                                                                                             P=0.309                  P=0.752N               P=0.514

P i t u i t a r y G l a n d ( P a r s Distalis):   Adenoma or Carcinoma
Overall rate                                                          21/52 (40%)                             24/52 (46%)              20/52 (38%)            22/54 (41%)
Adjusted rate                                                         58.3 %                                  63.1%                    61.8 %                 58.0%
Terminal rate                                                         7/20 (35%)                              13/26 (50%)              8/19 (42%)             11/26 (42%)
First incidence (days)                                                403                                     509                      536                    539
Life table test                                                       P=0.408N                                P=0.506N                 P=0.550N               P=0.454N
Logistic regression test                                              P=0.497N                                P=0.397                  P=0.518N               P=0.560
Cochran-Armitage test                                                 P=0.461N
Fisher exact test                                                                                             P=0.346                  P=0.500N               P=0,564

Skin: Papilloma, Squamous Cell Papilloma, K e r a t o a c a n t h o m a , B a s a l Cell Adenoma, or Squamous Cell C a r c i n o m a
Overall rate                                                 4/53 (8%)                   0/53 (0%)     0/53 (0%)         2/54 (4%)
Adjusted rate                                                16.2%                       0.0%          0.0%              7.2%
Terminal rate                                                3/21 (14%)                  0/26 (0%)     0/20 (0%)          1/26 (4%)
First incidence (days)                                       564                         --            --                718
Life table test                                              P=0.324N                    P=0.045N      P=0.069N          P=0.261N
Logistic regression test                                     P=0.363N                    P=0.058N      P=0.065N          P=0.329N
Cochran-Armitage test                                        P=0.354N
Fisher exact test                                                                        P=0.059N      P=0.059N          P=0.330N
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Lesions in Female Rats                                                                                                                                                                        203



TABLE B 3
S t a t i s t i c a l A n a l y s i s o f P r i m a r y N e o p l a s m s i n F e m a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                                  0 mg/m3                  0.62 mg/m3                1.25 mg/m3              2.5 mg/m3


Thyroid G l a n d (C-cell): Adenoma
Overall rate                                                                     1/52 (2%)                   1/52 (2%)                3/53 (6%)               2/53 (4%)
Adjusted rate                                                                    4.8%                        2.4%                     15.0%                   7.7%
Terminal rate                                                                    1/21 (5%)                   0/26 (0%)                3/20 (15%)              2/26 (8%)
First incidence (days)                                                           729 (T)                     634                      729 (T)                 729 (T)
Life table test                                                                  P=0.378                     P=0.728N                 P=0.284                 P=0.575
Logistic regression test                                                         P=0.333                     P=0.759N                 P=0.284                 P=0.575
Cochran-Armitage test                                                            P=0.343
Fisher exact test                                                                                            P=0.752N                 P=0.316                 P=0.507

Tissue NOS: S q u a m o u s Cell C a r c i n o m a
Overall rate                                                                     3/53 (6%)                   0/53 (0%)                0/53 (0%)               0/54 (0%)
Adjusted rate                                                                    9.6%                        0.0%                     0.0%                    0.0%
Terminal rate                                                                    0/21 (0%)                   0/26 (0%)                0/20 (0%)               0/26 (0%)
First incidence (days)                                                           586                         -   -                    -   -                   -   -




Life table test                                                                  P=0.055N                    P=0. 110N                 P=0.134N                P=0.119N
Logistic regression test                                                         P=0.052N                    P=0.119N                  P=0.122N                P=0.118N
Coehran-Armitage test                                                            P=0.052N
Fisher exact test                                                                                            P=0.121N                  P=0.121N                P=0. 118N

U t e r u s : S t r o m a l Polyp
Overall rate                                                                     9/53 (17%)                  2/53 (4%)                6/53 (11%)              5/54 (9%)
Adjusted rate                                                                    34.3 %                      7.3%                     21.6%                   17.0%
Terminal rate                                                                    6/21 (29%)                  1/26 (4%)                1/20 (5%)               4/26 (15%)
First incidence (days)                                                           618                         725                      594                     466
Life table test                                                                  P=0.259N                    P=0.014N                 P=0.321N                P=0.122N
Logistic regression test                                                         P=0.309N                    P=0.019N                 P=0.303N                P=0.186N
Cochran-Armitage test                                                            P=0.293N
Fisher exact test                                                                                            P=0.026N                  P=0.289N                P=0.185N

All O r g a n s : M o n o n u c l e a r Cell Leukemia
Overall rate:                                                                    22/53 (42%)                 19/53 (36%)               21/53 (40%)            18/54 (33%)
Adjusted rate:                                                                   57.2%                       47.7%                     55.6%                  44.7%
Terminal rate:                                                                   7/21 (33%)                  8/26 (31%)                6/20 (30%)             6/26 (23%)
First incidence (days)                                                           348                         423                       494                    466
Life table test                                                                  P=0.269N                    P=0.222N                  P=0.545N               P=0.221N
Logistic regression test                                                         P=0.254N                    P=0.359N                  P=0.502N               P=0.250N
Cochran-Armitage test                                                            P=0.257N
Fisher exact test                                                                                            P=0.345N                  P=0.500N                P=0.250N

All O r g a n s : B e n i g n Neoplasms
Overall rate                                                                     40/53 (75%)                 39/53 (74%)                  37/53 (70%)          41/54 (76%)
Adjusted rate                                                                    90.6%                       86.3%                        92.2%                95.2%
Terminal rate                                                                    17/21 (81%)                 20/26 (77%)                  17/20 (85%)          24/26 (92%)
First incidence (days)                                                           403                         475                          466                  466
Life table test                                                                  P=0.433N                    P = 0.194N                   P = 0.469N           P = 0.340N
Logistic regression test                                                         P=0.444                     P=0.411N                     P=0.349N             P=0.553
Cochran-Armitage test                                                            P=0.512
Fisher exact test                                                                                                P=0.500N                 P=0.332N                P=0.567
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TABLE B3
Statistical   Analysis of Primary Neoplasms in F e m a l e R a t s i n t h e 2 - Y e a r I n h a l a t i o n    Study   o f N i c k e l O x i d e (continued)


                                                                    0 mg/m3             0.62 mg/m3             1.25 mg/m 3         2.5 mg/m3


All Organs: Malignant Neoplasms
Overall rate                                                       32/53 (60%)            26/53 (49%)           30/53 (57%)          25/54 (46%)
Adjusted rate                                                      69.3 %                 57.9%                 72.2%                55.0%
Terminal rate                                                      8/21 (38%)             9/26 (35%)            10/20 (50%)          7/26 (27%)
First incidence (days)                                             348                    423                   436                  466
Life table test                                                    P=0.193N               P =0.121N             P=0.502N             P =0.136N
Logistic regression test                                           P=0.110N               P=0.177N              P=0.416N             P=0.091N
Cochran-Armitage test                                              P=0.134N
Fisher exact test                                                                         P=0.165N              P = 0.422N           P=0.103N

All Organs: Benign or Malignant Neoplasms
Overall rate                                                       52/53 (98%)            49/53 (92%)           51/53 (96%)          50/54 (93%)
Adjusted rate                                                      98.1%                  94.2%                 100.0%               96.2%
Terminal rate                                                      20/21 (95%)            23/26 (88%)           20/20 (100%)         24/26 (92%)
First incidence (days)                                             348                    423                   436                  466
Life table test                                                    P=0.318N               P=0.123N              P=0.512              P=0.217N
Logistic regression test                                           P=0.277N               P=0.185N              P=0.497N             P=0.207N
Cochran-Armitage test                                              P=0.226N
Fisher exact test                                                                         P=0.181N              P=0.500N             P=0.187N



(T)Terminal sacrifice
a Number of neoplasm-bearing animals/number of animals examined. Denominator is number of animals examined microscopically for adrenal gland,
   clitoral gland, lung, pituitary gland, and thyroid gland; for other tissues, denominator is number of animals necropsied.
b Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
c Observed incidence at terminal kill
d Beneath the control incidence are the P values associated with the trend test. Beneath the exposed group incidence are the P values corresponding to
   pairwise comparisons between the controls and that exposed group. The life table test regards neoplasms in animals dying prior to terminal kill as being
   (directly or indirectly) the cause of death. The logistic regression test regards these lesions as nonfatal. The Cochran-Armitage and Fisher exact tests
   compare directly the overall incidence rates. For all tests, a negative trend or a lower incidence in an exposure group is indicated by N.
e Not applicable; no neoplasms in animal group
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Lesions in Female Rats                                                                                                                       205



TABLE B4a
Historical Incidence of L u n g N e o p l a s m s ill Untreated Female F344/N Rats a


                                                                        Incidence in Controls
                                                                                                              Alveolar/bronchiolar
     Study                           Alveolar/bronchiolar     Alveolar/bronchiolar    S q u a m o u s Cell   Adenoma o r C a r c i n o m a
                                           Adenoma                Carcinoma              Carcinoma             or S q u a m o u s Cell
                                                                                                                    Carcinoma



Historical Incidence at Lovelace Inhalation Toxicology Research Institute

Nickel Oxide                                   1/53                   0/53                   0/53                        1/53
Nickel Subsulfide                              2/53                   0/53                   0/53                        2/53
Nickel Sulfate Hexahydrate                     0/52                   0/52                   0/52                        0/52
Talc b                                         I/50                   0/50                   0/50                        1/50


Overall Historical Incidence in Inhalation Studies

Total                                     7/700 (1.1%)             0/700 (0%)            0/700 (0 %)                8/700 (1.1%)
Standard deviation                            1.5 %                                                                     1.5%
Range                                        0 %-4 %                                                                   0%-4%


Overall Historical Incidence in Feed Studies

Total                                    20/1,201 (1.7%)         5/1,201 (0.4%)         0/1,201 (0%)               25/1,201 (2.1%)
Standard deviati6n                             2.2 %                  0.8%                                               2.2%
Range                                        0%-10%                  0%-2%                                             0%-10%


a Data as of 17 June 1994
b Results of lifetime study; others are 2-year studies
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TABLE B 4 b
Historical Incidence of Pheochromocytomas                             of the Adrenal Medulla in Untreated                Female F344/N Rats a


                                                                                          Incidence in C o n t r o l s
      Study                                    Benign                   Complex             Malignant                    NOS       Benign, C o m p l e x ,
                                                                                                                                   M a l i g n a n t , or NOS



Historical I n c i d e n c e at Lovelace I n h a l a t i o n Toxicology R e s e a r c h Institute b

Nickel Oxide                                     4/51                      0/51                 0/51                     0/51                4/51
Nickel Subsulfide                                2/53                      0/53                 1/53                     0/53                3/53
Nickel Sulfate Hexahydrate                       2/51                     0/51                  0/51                     0/51                2/51


Overall Historical I n c i d e n c e in I n h a l a t i o n Studies

Total                                      35/608 (5.8%)               2/608 (0.3%)        1/608 (0.2%)             1/608 (0.2%)       39/608 (6.4%)
Standard deviation                             4.9 %                       1.1%                0.6 %                    0.6 %              4.4 %
Range                                         0%-14%                      0%-4%               0%-2%                    0%-2%              2%-14%


Overall Historical I n c i d e n c e in Feed Studies

Total                                   . 49/1,175 (4.2%)             2/1,175 (0.2%)      6/1,175 (0.5%)          6/1,175 (0.5%)      62/1,175 (5.3%)
Standard deviation                             2.5 %                       0.6 %               0.9 %                   2.5 %               2.8 %
Range                                         0%-8%                       0%-2%               0%-2%                  0%-12%               2%-12%


a Data as of 17 June 1994
b Talc excluded because it was not a 2-year study.
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Lesions in Female Rats                                                                                                                                                  207


TABLE B5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c L e s i o n s i n F e m a l e R a t s i n t h e 2-Year Inhalation Study of Nickel O x i d e a



                                                       0 mg/m 3                    0.62 mg/m 3                  1.25 mg/m 3                    2.5 mg/m 3


Disposition Summary                                                                                                  .




Animals initially in study                                 65                              65                            65                         65
7-Month interim evaluation                                     7                           7                              7                          6
15-Month interim evaluation                                    5                           5                              5                          5
Early deaths
  Moribund                                                 27                              24                            27                         25
  Natural deaths                                            5                               3                             6                          3
Survivors
  Terminal sacrifice                                       21                              26                            20                         26

Animals examined microscopically                           65                              65                            65                         65


7-Month       Interim     Evaluation
Alimentary System
Liver                                                   (1)
  Hepatodiaphragmatic nodule                              1 (100%)


Endocrine System
Pituitary gland                                                                      (2)                           (3)                          (1)
  Pars distalis, hyperplasia, diffuse                                                  2 (100%)                      3 (100%)                     1 (100%)


Genital System
Ovary                                                                                                              (2)
 Cyst                                                                                                                2 (100%)


Hematopoietic System
Lymph node, bronchial                                    (6)                         (7)                           (7)                           (6)
  Hyperplasia, lymphoid                                                                                              4 (57%)                       3 (50%)
  Pigmentation                                                                                                       7 (100%)                      6 (100%)
Lymph node, mediastinal                                  (6)                         (7)                           (6)                           (5)
  Pigmentation                                                                                                       2 (33%)                       3 (60%)


Respiratory System
Lung                                                     (7)                         (7)                           (7)                           (6)
  Inflammation, chronic                                    1 (14%)                                                   7 (100%)                      6 (100%)
  Alveolar epithelium, pigmentation                                                    1 (14%)
  Alveolus, pigmentation                                                               5 (71%)                           7 (100%)                 6 (100%)


 Special Senses System
 Eye                                                                                                               (1)
   Cornea, degeneration                                                                                              1 (100%)


 a Number of animals examined microscopically at the site and the number of animals with lesion
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TABLE B5
Summary of the Incidence of Nonneoplastic Lesions in Female Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                              0 mg/m 3         0.62 mg/m 3          1.25 mg/m 3            2.5 mg/m a



7-Month Interim Evaluation (continued)
Urinary System
Kidney                                        (7)               (7)                  (7)                    (6)
  Cortex, infiltration cellular, lymphocyte                                            1 (14%)                1 (17%)
Urinary bladder                                                                                             (1)
  Edema, focal                                                                                                1 (100%)


Systems Examined With No Lesions Observed
Cardiovascular System
General Body System
Integumentary System
Musculoskeletal System
Nervous System


15-Month Interim Evaluation
Endocrine System
Adrenal medulla                               (5)               (5)                  (4)                    (5)
  Hyperplasia                                   1 (20%)                                1 (25%)
Pituitary gland                               (5)               (5)                  (5)                    (5)
  Pars distalis, hyperplasia                                                           1 (20%)
  Pars distalis, hyperplasia, cystic            1 (20%)


Genital System
Ovary                                         (5)               (5)                  (5)                    (5)
 Cyst                                           1 (20%)           2 (40%)              1 (20%)


Hematopoietic System
Lymph node                                                                                                  (1)
  Hyperplasia, lymphoid                                                                                       I (100%)
Lymph node, bronchial                          (5)              (5)                   (5)                   (5)
  Hyperplasia, lymphoid                                                                 3 (60%)               3 (60%)
  Pigmentation                                                    4 (80%)               5 (100%)              5 (100%)
Lymph node, mediastinal                        (5)              (5)                   (4)                   (4)
  Hyperplasia, lymphoid                                                                                       3 (75%)
  Pigmentation                                                    3 (60%)              4 (100%)               3 (75%)


Nervous System
Brain                                          (5)              (5)                   (5)                    (5)
  Ventricle, ectasia                             1 (20%)


Respiratory System
Lung                                           (5)              (5)                   (5)                    (5)
  Inflammation, chronic                          3 (60%)          4 (80%)               5 (100%)               5 (100%)
 Alveolus, pigmentation                                           5 (100%)              5 (100%)               5 (100%)
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Lesions in Female Rats                                                                                                      209


TABLE B5
S u m m a r y of the Incidence of Nonneoplastic Lesions in Female Rats in the 2-Year Inhalation Study of Nickel O x i d e
(continued)

                                           0 mg/m 3          0.62 m g / m 3        1.25 m g / m 3         2.5 m g / m 3



15-Month Interim Evaluation (continued)
Urinary System
Kidney                                      (5)               (5)                    (5)                   (5)
  Nepbropathy                                 4 (80%)           4 (80%)                5 (100%)              2 (40%)
Urinary bladder                             (5)               (5)                    (5)                   (5)
  Calculus, microscopic observation only      1 (20%)


Systems Examined With No Lesions Observed
Alimentary System
Cardiovascular System
General Body System
Integumentary System
Musculoskeletal System
Special Senses System



2- Year Study
Alimentary System
Intestine large, colon                     (52)              (53)                   (53)                  (54)
  Inflammation,.chronic active                1 (2%)
  Mineralization                                                                       1 (2%)
  Parasite metazoan                                             2 (4%)                 t (2%)
Intestine large, rectum                    (52)              (53)                   (52)                  (54)
  Parasite metazoan                           2 (4%)                                   2 (4%)                5 (9%)
Intestine large, cecum                     (52)              (53)                   (53)                  (54)
  Parasite metazoan                                                                    1 (2%)
Liver                                      (53)              (53)                   (53)                  (54)
  Angiectasis                                                   2 (4%)                 1 (2%)                1 (2%)
  Basophilic focus                          26 (49%)           38 (72%)              27 (51%)              34 (63%)
   Clear cell focus                                             1 (2%)
   Congestion                                2 (4%)             1 (2%)                 3 (6%)
   Cyst                                      1 (2%)
   Degeneration, cystic                                         1 (2%)                 2 (4%)                1 (2%)
   Eosinophilic focus                        2 (4%)             3 (6%)                 3 (6%)                2 (4%)
   Fatty change                             21 (40%)           18 (34%)               16 (30%)              15 (28%)
   Fibrosis                                                     1 (2%)
   Granuloma                                  1 (2%)
   Hemorrhage                                                   1 (2%)
   Hepatodiaphragmatic nodule                7 (13 %)           3 (6%)                 9 (17%)               4 (7%)
   Inflammation, chronic                                                                                     1 (2%)
   Mixed cell focus                           1 (2%)
   Pigmentation, bile                         1 (2%)            1 (2%)                                       1 (2%)
   Pigmentation, hemosiderin                  1 (2%)            1 (2%)
   Thrombosis                                                                          1 (2%)
   Bile duct, hyperplasia                     4 (8%)            3 (6%)                 3 (6%)                1 (2%)
   Hepatocyte, hyperplasia                    4 (8%)            6 (11%)                3 (6%)                8 (15%)
   Hepatocyte, necrosis                       6 (11%)           7 (13%)                3 (6%)                4 (7%)
   Portal vein, thrombosis                                                             1 (2%)
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TABLE B5
Summary of the Incidence of Nonneoplastic Lesions in Female Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)


                                      0 mg/m 3           0.62 mg/m 3        1.25 mg/m 3          2.5 mg/m 3


2-Year Study (continued)
Alimentary System (continued
Pancreas                              (52)               (53)               (53)                 (54)
  Atrophy                                                   2 (4%)             1 (2%)
  Acinus, atrophy                        1 (2%)
  Artery, mineralization                                                       1 (2%)
Stomach, forestomach                  (52)               (53)               (53)                 (54)
  Edema                                 1 (2%)
  Hyperkeratosis                        1 (2%)              1 (2%)             4 (8%)              4 (7%)
  Inflammation, chronic                 1 (2%)                                 1 (2%)              1 (2%)
  Inflammation, chronic active                                                 1 (2%)
  Mineralization                                                               1 (2%)
  Ulcer                                                     3 (6%)             2 (4%)               1 (2%)
Stomach, glandular                    (52)               (53)               (53)                 (54)
  Erosion                                                   1 (2%)             1 (2%)
  Mineralization                                                               1 (2%)
  Ulcer                                                    1 (2%)
Tooth                                  (1)                                                        (1)
  Inflammation, suppurative                                                                         1 (100%)


Cardiovascular System
Blood vessel                           (3)                (1)                (2)
  Aorta, mineralization                                                        1 (50%)
  Aorta, polyarteritis                                     1 (100%)
  Mesenteric artery, polyarteritis                         1 (100%)
  Mesenteric artery, thrombosis                            1 (100%)
  Vena cava, mineralization                                                    1 (50%)
Heart                                 (53)               (53)               (53)                 (54)
  Inflammation, chronic                                                                             1 (2%)
  Atrium, thrombosis                     1 (2%)             ! (2%)             1 (2%)               1 (2%)
  Vein, inflammation, chronic acnve      1 (2%)
  Ventricle, mineralization                                                    1 (2%)


Endocrine System
Adrenal cortex                        (53)               (53)               (53)                 (54)
 Angiectasis                             1 (2%)             3 (6%)             3 (6%)
 Atrophy                                 1 (2%)
 Congestion                              1 (2%)            2 (4%)             2 (4%)               4 (7%)
 Cyst                                    I (2%)
 Degeneration                           2 (4%)
 Degeneration, fatty                    2 (4%)             3 (6%)              5 (9%)              8 (15%)
 Edema                                                                         1 (2%)               1 (2%)
 Hemorrhage                              1 (2%)                                1 (2%)
 Hyperplasia                                                1 (2%)             1 (2%)
 Bilateral, angiectasis                                     1 (2%)
Adrenal medulla                       (51)               (52)               (53)                 (53)
  Angiectasis                            3 (6%)             1 (2%)                                  1 (2%)
  Congestion                                                1 (2%)
  Hyperplasia                            8 (16%)           12 (23 %)          14 (26%)            22 C42%)
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Lesions i n F e m a l e R a t s                                                                                                                                          211



TABLE B 5
S u m m a r y of the I n c i d e n c e of N o n n e o p l a s t i cLesions in F e m a l e R a t s in the 2 o y e a r I n h a l a t i o n S t u d y of Nickel O x i d e
(continued)

                                                        0 mg/m3                     0.62 mg/m3                   1.25 mg/m~                      2.5 m g / m~



2-Year Study (continued)
Endocrine System (continued)
Islets, pancreatic                                      (52)                        (53)                           (53)                          (54)
   Hyperplasia                                                                         1 (2%)                                                       1 (2%)
Parathyroid gland                                       (47)                        (47)                           (50)                          (50)
   Cyst                                                                                1 (2%)
   Hyperplasia                                                                                                        1 (2%)
Pituitary gland                                         (52)                        (52)                           (52)                          (54)
   Angiectasis                                             1 (2%)                      1 (2%)
   Pars distalis, angiectasis                              7 (13%)                     6 (12%)                        6 (12%)                       5 (9%)
   Pars distalis, cyst                                     8 (15%)                     8 (15%)                       11 (21%)                       9 (17%)
   Pars distalis, degeneration                                                         I (2%)
   Pars distalis, hemorrhage                                                                                                                        2 (4%)
   Pars dismlis, hyperplasia                               9 (17%)                    11 (21%)                        6 (12%)                      12 (22%)
   Pars intermedia,, angiectasis                                                       1 (2%)                         ! (2%)
   Pars intermedia, cyst                                                               I (2%)
   Pars intermedia, hypertrophy                                                        1 (2%)
Thyroid gland                                           (52)                        (52)                           (53)                          (53)
   C-cell, hyperplasia                                                                                                3 (6%)                        2 (4%)


General Body System
Tissue NOS                                               (6)                          (1)                           (3)                           (3)
  Abscess                                                                                                                                           1 (33%)


Genital System
Clitoral gland                                          (53)                        (53)                           (51)                          (50)
  Atrophy                                                  1 (2%)
  Ectasia                                                  5 (9%)                      3 (6%)                         5 (10%)                       4 (8%)
  Hyperplasia, cystic                                                                  1 (2%)
  Inflammation, chronic active                                                         1 (2%)
  Inflammation, suppurative                                                            1 (2%)                         1 (2%)
  Duct, ectasia                                                                                                                                     1 (2%)
Ovary                                                   (53)                         (53)                          (53)                          (54)
  Cyst                                                     5 (9%)                       5 (9%)                        7 (13%)                       3 (6%)
  Fibrosis                                                                                                                                          1 (2%)
  Hemorrhage                                                                                                                                        1 (2%)
  Bilateral, cyst                                                                                                                                   I (2%)
Uterus                                                  (53)                         (53)                          (52)                          (54)
  Cyst                                                                                                                1 (2%)
  Dilatation                                                                            1 (2%)                                                       I (2%)
  Prolapse                                                                                                            1 (2%)
  Endometrium, hyperplasia, cystic                         5 (9%)                       1 (2%)                        2 (4%)                        7 (13%)


 Hematopoietic System
 Bone marrow                                            (52)                         (53)                          (53)                          (54)
  Fibrosis                                                 5 (10%)                      3 (6%)                        3 (6%)                        l (2%)
  Hyperplasia                                             14 (27%)                     15 (28%)                      15 (28%)                      16 (30%)
  Necrosis                                                                              1 (2%)
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TABLE B5
Summary of the Incidence of Nonneoplastic Lesions in Female Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)


                                             0 mg/m a         0.62 mg/m 3         1.25 mg/m a          2.5 mg/m 3


2-Year Study (continued)
Hematopoietie System (continued)
Lymph node                                   (14)             (6)                  (9)                  (3)
  Hyperplasia, lymphoid                                         1 (17%)
  Pigmentation                                  1 (7%)
  lliac, hyperplasia, lymphoid                  1 (7%)
  Pancreatic, hyperplasia, lymphoid                                                  1 01%)
  Pancreatic, inflammation, chronic active     1 (7%)
  Popliteal, pigmentation                      1 (7 %)
  Renal, congestion                                             2 (33%)
  Renal, edema                                                                                            1 (33%)
  Renal, hyperplasia, lymphoid                                                       1 (11%)
  Renal, pigmentation                                                                                     1 (33%)
  Renal, pigmentation, hemosiderin              1 (7%)
Lymph node, bronchial                        (49)            (50)                 (53)                 (52)
  Congestion                                    2 (4%)          2 (4%)               1 (2%)              2 (4%)
  Edema                                                         1 (2%)               1 (2%)
  Hyperplasia, lymphoid                        1 (2%)           5 (10%)            20 (38%)             13 (25%)
  Hyperplasia, macrophage                                       1 (2%)                                    ! (2%)
  Pigmentation                                                 43 (86%)            52 (98%)             47 (90%)
  Pigmentation, hemosiderin                     1 (2 %)
Lymph node, mandibular                       (47)            (45)                 (51)                 (49)
  Congestion                                                    1 (2%)
  Hyperplasia, lymphoid                         3 (6%)         2 (4%)               3 (6%)               3 (6%)
  Pigmentation                                  2 (4%)
Lymph node, mesenteric                       (51)            (53)                 (53)                 (54)
  Congestion                                    1 (2%)
  Hyperplasia, lymphoid                                                                                  3 (6%)
  Inflammation, chronic active                  1 (2%)
  Pigmentation                                  4 (8%)          2 (4%)                                   3 (6%)
Lymph node, mediastinal                      (48)            (46)                 (48)                 (50)
  Congestion                                    1 (2%)          5 (11%)              7 (15%)             1 (2%)
  Ectasia                                                                            1 (2%)
  Edema                                                                              1 (2%)              ! (2%)
  Hyperplasia, lymphoid                        1 (2%)          9 (20%)              14 (29%)            14 (28%)
  Hyperplasia, plasma cell                     1 (2%)                                1 (2%)
  Inflammation, chronic active                 1 (2%)
  Pigmentation                                                34 (74%)              39 (81%)            44 (88%)
  Pigmentation, hemosiderin                                                          t (2%)
Spleen                                       (53)            (53)                 (53)                 (54)
  Fibrosis                                      1 (2%)          3 (6%)               3 (6%)               1 (2%)
  Hematopoietic cell proliferation                              1 (2 %)
  Hemorrhage                                                                         1 (2%)
  Hyperplasia                                                                                            2 (4%)
  Hyperplasia, lymphoid                                                              1 (2%)
  Infarct                                      1 (2%)           1 (2%)
  Necrosis                                                      1 (2%)
  Capsule, fibrosis                                                                  1 (2%)
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Lesions in F e m a l e Rats                                                                                                                                     213



TABLE B5
S u m m a r y of the I n c i d e n c e of N o n n e o p l a s t i cLesions in F e m a l e R a t s in the 2-Year I n h a l a t i o n S t u d y of Nickel Oxide
(continued)

                                                     0 mg/m3                   0.62 mg/m3                  1.25 mg/m3                    2.5 m g / ma



2-Year Study (continued)
Integumentary System
Mammary gland                                       (53)                       (53)                         (53)                         (54)
  Hyperplasia, glandular                                                           1 (2%)
Skin                                                  (4)                        (3)                          (3)                         (5)
  Inflammation, suppurative                                                        1 (33%)
  Subcutaneous tissue, edema                                                       1 (33%)
  Subcutaneous tissue, fibrosis                                                                                1 (33%)



Musculoskeletal System
Bone                                                 (53)                       (53)                        (53)                         (54)
  Hyperostosis                                                                                                 2 (4%)
  Osteopetrosis                                         4 (8%)                    2 (4%)
  Femur, hyperostosis                                   5 (9%)                    2 (4%)                      10 (19%)                      8 (15%)
Skeletal muscle                                       (1)
  Inflammation, chronic                                 1 (100%)


Nervous System
Brain                                                (53)                       (53)                        (53)                         (54)
  Hemorrhage                                            1 (2%)
  Cerebellum, c~mpression                                                         1 (2%)                        1 (2%)
  Cerebrum, Compression                                 5 (9%)                    4 (8%)                       3 (6%)                       5 (9%)
  Cerebrum, ventricle, dilatation                                                                              2 (4%)                       5 (9%)
  Hypothalamus, compression                             2 (4%)                     1 (2%)                      3 (6%)                       5 (9%)
  Pons, compression                                                                                             1 (2%)
  Ventricle, dilatation                                 2 (4%)                     1 (2%)                       1 (2%)                      3 (6%)


Respiratory System
Larynx                                               (53)                       (53)                        (53)                         (54)
  Inflammation,, chronic                                4 (8%)                                                 2 (4%)                       3 (6%)
  Inflammation, chronic active                          3 (6%)                     2 (4%)                      2 (4%)
  Inflammation, suppurative                                                        l (2%)                      2 (4%)
Lung                                                 (53)                       (53)                        (53)                         (54)
  Congestion                                            1 (2%)                                                 1 (2%)                       1 (2%)
  Cyst                                                                                                                                      1 (2%)
  Hemorrhage                                                                                                   2 (4%)                       2 (4%)
  Inflammation, chronic                                18 (34%)                  52 (98%)                     53 (100%)                    54 (100%)
  Inflammation, chronic active                          1 (2%)
  Mineralization                                                                                               1 (2%)
  Alveolar epithelium, hyperplasia, atypical            1 (2%)                     1 (2%)                      6 (11%)                      5 (9%)
  Alveolar epithelium, hyperplasia, focal               1 (2%)                                                                              1 (2%)
  Alveolus, pigmentation                                                         52 (98%)                      53 (100%)                   54 (100%)
  Pleura, fibrosis                                                                                              1 (2%)
Nose                                                 (53)                       (53)                         (52)                        (54)
  Inflammation, chronic                                                            1 (2%)                                                   1 (2%)
  Inflammation, chronic active                          1 (2%)
  Inflammation, suppurative                                                        1 (2%)                       2 (4%)
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TABLE B5
Summary of the Incidence of Nonneoplastic Lesions in Female Rats in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                         0 mg/m 3        0.62 mg/m 3        1.25 mg/m 3          2.5 mg/m 3



2-Year Study (continued)
Respiratory System (continued)
Trachea                                  (53)            (53)                (53)                (54)
  Inflammation,chronic active                                                   2 (4%)
  Inflammation,suppurative                                                      2 (4%)


Special Senses System
Eye                                       (3)             (2)                 (5)                 (3)
 Cataract                                                                       2 (40%)             2 (67%)
 Hemorrhage                                1 (33%)
 Inflammation,suppurative                  1 (33%)
 Necrosis                                  1 (33%)
 Synechia                                                                      1 (20%)
 Bilateral, cornea, edema                                                      1 (20%)
 Cornea, edema                                                                 2 (40%)
 Lens, cataract                            1 (33%)


Urinary System
Kidney                                   (53)            (53)                (53)                (54)
 Cyst                                                                           2 (4%)
 Nephropathy                              36 (68%)        43 (81%)             35 (66%)           40 (74 %)
 Cortex, inflammation,chronic              1 (2%)          1 (2%)
 Cortex, necrosis, acute                   1 (2%)
 Pelvis, cyst                                                                                       1 (2%)
 Pelvis, dilatation                                                             1 (2%)
Urinary bladder                          (52)            (53)                (53)                (54).
 Calculus, microscopicobservation only                                          1 (2%)
 Edema                                                                          1 (2%)
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                                  APPENDIX C
                  S U M M A R Y OF LESIONS IN M A L E MICE
                    IN THE 2-YEAR INHALATION STUDY
                               OF NICKEL OXIDE

TABLE C1  S u m m a r y of the Incidence of Neoplasms in Male Mice
          in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .               216
TABLE C2 Individual Animal T u m o r Pathology of Male Mice
          In the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .               221
TABLE C3 Statistical Analysis of Primary Neoplasms in Male Mice
          in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .               248
TABLE C4a Historical Incidence of Alveolar/bronchiolar Neoplasms
          ~n Untreated Male B6C3F~ Mice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            251
TABLE C4b Historical Incidence of Hepatocellular Neoplasms
          ~n Untreated Male B6C3F~ Mice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            252
TABLE C5 S u m m a r y of the Incidence of Nonneoplastic Lesions in Male Mice
          ~n the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .               253
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TABLE C1
S u m m a r y of the I n c i d e n c e of Neoplasms in Male Mice in the 2-Year I n h a l a t i o n Study of Nickel Oxide a


                                              0 mg/m3                1.25 mg/m 3              2.5 mg/m3                 5 mg/m 3


Disposition Summary
Animals initially in study                       78                         77                       76                        79
7-Month interim evaluation                        5                          5                        5                         5
15-Month interim evaluation                       5                          5                        5                         5
Early deaths
  Accidental deathsb                             I0
  Moribund                                       23                         26                       26                        29
  Natural deaths                                 15                         18                       11                        17
Survivors
  Terminal sacrifice                             19                         23                       29                        23
Missexed                                          1

Animals examined microscopically                 67                         77                       76                        79


7-Month Interim Evaluation
Alimentary System
Liver                                         (1)                                              (2)
  Hepatocellular adenoma                        1 (100%)                                         2 (100%)


Respiratory System
Lung                                           (5)                    (5)                      (5)                       (5)
 Alveolar/bronchiolaradenoma                     1 (20%)


Systems E x a m i n e d With N o Neoplasms Observed
Cardiovascular System
Endocrine System
General Body System
Genital System
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Special Senses System
Urinary System



15-Month Interim Evaluation
Alimentary System
Liver                                          (5)                    (5)                       (5)                      (5)
  Hepatocellular carcinoma                       1 (20 %)               1 (20%)                  1 (20%)
  Hepatocellular adenoma                         1 (20%)                1 (20%)                  2 (40%)


Endocrine System
Thyroid gland                                  (5)                    (5)                       (5)                      (5)
 Follicular cell adenoma                         1 (20%)
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Lesions in Male Mice                                                                                                                    217



TABLE C1
S u m m a r y of the I n c i d e n c e of Neoplasms in Male Mice in the 2-Year I n h a l a t i o n Study of Nickel Oxide
(continued)

                                               0 mg/m3               1.25 mg/m 3             2.5 mg/m 3                    5 mg/m 3



15-Month Interim Evaluation (continued)
Respiratory System
Lung                                           (5)                    (5)                      (5)                         (5)
  Alveolar/bronchiolaradenoma                    1 (20%)
  Hepatocellular carcinoma, metastatic           1 (20%)


Systems Examined With No Neoplasms Observed
Cardiovascular System
General Body System
Genital System
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Special Senses System
Urinary System



2- Year Study
Alimentary System
Esophagus                                      (56)                  (67)                     (66)                     (69)
  Squamous cell carcinoma                                               1 (1%)
Intestine large, colon                         (50)                  (61)                     (60)                     (62)
Intestine large, cecum                         (49)                  (56)                     (60)                     (60)
Intestine small, duodenum                      (51)                  (53)                     (56)                     (58)
  Adenoma                                                                                        1 (2%)
Intestine small, ileum                         (51)                  (49)                     (55)                     (57)
Liver                                          (57)                  (67)                     (66)                     (69)
  Alveolar/bronchiolarcarcinoma, metastatic,
     lung                                                                                                                    1 (1%)
  Hemangiosarcoma                                 1 (2%)                                                                    2 (3%)
  Hemangiosarcoma, multiple                                             1 (1%)
  Hepatocellular carcinoma                       6 (II%)               13 (19%)                 8 (12%)                    13 (19%)
  Hepatocellular carcinoma, multiple                                    3 (4%)                   3 (5%)                     2 (3%)
  Hepatoce!lular adenoma                         7 (12%)                5 (7%)                  11 (17%)                    9 (13%)
  Hepatocellular adenoma, multiple               1 (2%)                                          2 (3%)
  Hepatocholangiocarcinoma                                                                                                   1 (1%)
  Histiocytic sarcoma                                                                                                        I (1%)
Mesentery                                       (1)                   (1)
  Lipoma                                          1 (100%)
Salivary glands                                (57)                  (67)                     (66)                     (69)
Stomach, forestomach                           (54)                  (63)                     (65)                     (67)
  Squamous cell papilloma                         1 (2%)                1 (2%)                                            1 (1%)
Tooth                                           (2)                   (5)                      (4)                         (1)
  Odontoma                                                              1 (20%)                  2 (50%)                     1 (100%)
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TABLE C1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in M a l e M i c e in the 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e
(continued)

                                                          0 mg/m 3                     1.25 mg/m 3                    2.5 mg/m 3                           5 mg/m 3


2-Year Study (continued)
Cardiovascular System
Heart                                                    (57)                          (67)                            (66)                            (69)
 Alvcolar/bronchiolar carcinoma, metastatic,
    lung                                                                                                                                                    I (I %)
 Hepatocholangiocarcinoma, metastatic, liver                                                                                                                I (1%)



Endocrine System
Adrenal cortex                                           (57)                          (67)                            (65)                            (69)
  Adenoma                                                   2 (4%)                                                                                        1 (1%)
  Capsule, adenoma                                          2 (4%)                                                        1 (2%)
Islets, pancreatic                                       (54)                          (64)                            (66)                            (68)
   Adenoma                                                                                                                1 (2%)
Thyroid gland                                            (55)                          (67)                            (66)                            (69)
   Bilateral, follicular cell, adenoma                                                    2 (3%)
   Follicular cell, adenoma                                  2 (4%)                                                       2 (3%)                            2 (3%)


General Body System
Tissue NOS                                                 (2)                                                          (3)                                (4)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                                                                                                                    1 (25%)
  Hemangiosarcoma                                            1 (50%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                               1 (25%)
  Lipoma                                                                                                                  1 (33%)
  Sarcoma                                                                                                                                                   1 (25%)


Genital System
Epididymis                                                (56)                         (67)                            (66)                            (68)
  Sarcoma                                                    1 (2%)
Prostate                                                  (53)                         (61)                            (63)                            (65)
Testes                                                    (57)                         (66)                            (66)                            (69)
  Interstitial cell, adenoma                                                                                              2 (3%)


l-Iematopoietie System
Bone marrow                                               (56)                         (66)                            (66)                            (68)
  Hemangiosarcoma, metastatic                                1 (2%)
Lymph node                                                (22)                          (18)                           (20)                            (16)
  Axillary, alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                                     1 (6%)
Lymph node, bronchial                                     (45)                          (56)                           (61)                            (62)
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                               1 (2%)
Lymph node, mandibular                                    (47)                          (57)                           (63)                            (60)
Lymph node, mesenteric                                    (45).                         (55)                           (56)                            (63)
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                            1 (2%)
Lymph node, mediastinal                                   (18)                          (19)                           (21)                            (25)
   Hemangiosarcoma, metastatic                                                                                            1 (5%)
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Lesions in M a l e Mice                                                                                                                                                   219



TABLE C1
S u m m a r y of t h e I n c i d e n c e of N e o p l a s m s in M a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y of N i c k e l O x i d e
(continued)

                                                           0 mg/m 3                       1.25 mg/m 3                     2.5 mg/m 3                           5 mg/m 3



2-Year Study (continued)
Hematopoietic System (continued)
Spleen                                                     (56)                           (67)                            (66)                            (69)
  Hemangioma                                                                                                                                                    1 (1%)
  Hemangiosarcoma                                              1 (2%)                        1 (1%)                          2 (3%)                             1 (1%)
  Histiocytic sarcoma                                                                                                                                           1 (1%)
Thymus                                                     (45)                           (53)                            (52)                            (58)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                                                                                                                        1 (2%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                                   1 (2%)
  Histiocytic sarcoma                                                                                                                                           1 (2%)


Integumentary System
Skin                                                       (16)                           (23)                            (24)                             (27)
  Hamartoma                                                                                  1 (4%)
  Subcutaneous tissue, hemangioma                                                            1 (4%)


Musculoskeletal System
Bone                                                       (57)                           (67)                            (66)                             (68)
 Hemangiosarcoma, metastatic                                   1 (2%)


Nervous System
None


Respiratory System
Lung                                                        (57)                          (67)                             (66)                            (69)
 Alveolar/bronchiolar adenoma                                  7 (12 %)                      5 (7%)                           6 (9%)                         11 (16%)
  Alveolar/bronchiolar carcinoma                               4 (7 %)                       9 (13%)                          9 (14%)                         5 (7%)
  Alveolar/bronchiolar carcinoma, multiple                                                    1 (1%)                                                            1 (1%)
  Hepatocellular carcinoma, metastatic                                                        I (1%)                          3 (5%)                            4 (6%)
  Hepatocellular carcinoma, metastatic, liver                                                 1 (1%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                                   1 (1%)
  Histiocytic sarcoma                                                                                                                                         1 (1%)
Nose                                                        (55)                          (66)                             (66)                            (67)


 Special Senses System
 Harderian gland                                                                            (1)                             (2)                                (3)
  Adenoma                                                                                     1 (lO0%)                        2 (100%)                          2 (67%)


 Urinary System
 Kidney                                                     (57)                           (67)                            (66)                            (68)
 Urinary bladder                                            (54)                           (63)                            (65)                            (66)
  Transitional epithelium, papilloma                                                          1 (2%)
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TABLE C 1
Summary of the Incidence of Neoplasms in Male Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)


                                                 0 mg/m a                 1.25 m g / m 3             2.5 m g / m 3               5 mg/m 3



2-Year Study (continued)
Systemic Lesions
Multiple organs c                                (57)                     (67)                       (66)                       (69)
 Histiocytic sarcoma                                                                                                               1 (1%)
 Lymphoma malignant                                 2 (4%)                   2 (3%)                     2 (3%)                     5 (7%)



Neoplasm Summary
Total animals with primary neoplasmsct
  7-Month interim evaluation                         2                                                  2
  15-Month interim evaluation                        3                         2                        3
  2-Year study                                      29                        37                       40                         44
Total primary neoplasms
  7-Month interim evaluation                          2                                                 2
  15-Month interim evaluation                         4                        2                        3
  2~Year study                                       39                       49                       55                         60
Total animals with benign neoplasms
  7-Month interim evaluation                             2                                              2
  15-Month interim evaluation                            2                        1                     2
  2-Year study                                          18                       16                    25                         26
Total benign neoplasms
  7-Month interim evaluation                          2                                                 2
  15-Month interim evaluation                         3                           1                     2
  2-Year study                                       23                          18                    31                         28
Total animals with malignant neoplasms
  15-Month interim evaluation                            1                     1                        1
  2-Year study                                          15                    28                       22                         30
Total malignant neoplasms
  15-Month interim evaluation                            1                     1                        I
  2-Year study ,                                        16                    31                       24                         32
Total animals with metastatic neoplasms
  15-Month int~ ~m evaluation                            1
  2-Year study                                           1                       2                      4                          6
Total metastatic neoplasms
  15-Month interim evaluation                           1
  2-Year study                                          2                        2                      4                         15


a   Number of animals examined microscopically at the site and the number of animals with neoplasm
b   No histopathologic examination was performed on these animals.
c   Number of animals with any tissue examined microscopically
d   Primary neoplasms: all neoplasms except metastatic neoplasms
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Lesions in Male Mice                                                                                                                                                                                                             221


TABLE         C2
Individual Animal Tumor Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3
                                                                0   1       1       1       2       3       3   4   4   5   5   5   5       5       5       5       5   5       5    6   6    6   6   6       6
Number          of Days on Study                                0   6       6       6       9       4       9   3   7   0   1   1   5       5       5       8       9   9       9    0   0    0   0   2       2
                                                                4   2       2       2       0       1       2   0   0   8   0   2   9       9       9       4       0   3       9    1   2    3   7   9       9

                                                                0   0       0       0       0       0       0   0   0   0   0   0   0       0       0       0       0       0   0    0   0    0   0   0       0
Carcass        ID Number                                        6   2       2       2       0       4       3   2   3   2   1   1   0       1       5       0       5   3       1    6   1    4   1   5       5
                                                                5   5       8       9       8       3       1   2   6   1   5   0   9       4       4       5       3   9       2    3   8    5   9   0       7

Alimentary System
Esophagus                                                       +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +       +    +   +    +   +       +       +   +   +
Gallbladder                                                     A +AA                      +MA                     +MA   +          +           +       + M A A                      +   + + +            + +         + +
Intestine large, c o l o n                                      A +A                    + + A                   + + + ++            +           +       + A A A                      +   + ~ +            + +         + +
Intestine large, r e c t u m                                    AMA                     + +A                    + + + + +           +           +       + A A A                      +   +A    +          + +         +M
Intestine large, c e c u m                                      A +A                    + +A                    + + +  + +          +           +       + A A A                      +   +A    +          + +         + +
Intestine small, d u o d e n u m                                A + +                   + +A                    + + + + +           +           +       + A A A                      +   +A    +          + +         + +
Intestine small, j e j u n u m                                  A + +                   + +A                    + + + + +           +           +       + A A A                      +   +A    +          + +         + +
Intestine small, ileum                                          A + +                   + +A                    + + ++   +          +           +       + A A A                      +   +A    +          ++          ++
Liver                                                           + + +                   + + +                   + + + + +           +           +       + + + +                      +   + + +            + +         + +
     Hemangiosarcoma                                                                                                                                            X
     Hepatocellular carcinoma                                                                                   X       X                                               X
     Hepatocellular adenoma
     H e p a t o c e l l u l a r a d e n o m a , multiple
Mesentery
      Lipoma
Pancreas                                                        M+              +       +       +       +       +   +   +   +   +   +           +       +       +A              +    +   +    +   +       +       +   +   +
Salivary glands                                                 + +             +       +       +       +       +   +   +   +   +   +           +       +       + +             +    +   +    +   +       +       +   +   +
Stomach, forestomach                                            +   +           +M+                     +       +   +   +   +   +   +           +       +       +A              +    +   +A       +       +       +   +   +
      S q u a m o u s cell p a p i l l o m a
S t o m a c h , glandu'lar                                      +   + + + + + +                                     + + + +         +           +       ++A                     ++       +A       ++              +   +   +
Tooth                                                                                                                                                                                                                     +


Cardiovascular System
Heart                                                           +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +       +    +   +    +   +       +       +   +   +

Endocrine System
A d r e n a l cortex                                            +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +       +    +   +    +   +       +       +   +   +
     Adenoma
     Capsule, a d e n o m a
Adrenal medulla                                                 +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +       +    +   +    +   +       +       +   +   +
Islets, p a n c r e a t i c                                     M+   + + + + + + + + + + + + +A                                                                                 + + + + +                 + +         + +
Parathyroid gland                                               M M M M M + M + M M M M M M M A                                                                                 + M + + +                 ++          ++
Pituitary g l a n d                                             + + M + +  + + + +    + + +   + + + +                                                                           + + + + +                 ++          ++
Thyroid gland                                                   M + + + +  + + +   + + +    + + + +A                                                                            + + + + +                 ++          ++
     Follicular, cell, a d e n o m a                                                                                                                                                                                  X

General B o d y S y s t e m
Tissue N O S
   Hemangiosarcoma

G e n i t a l System
Epididymis                                                      +       +       +       +       +       +       ÷   ~   +   +   +       +       ÷       +       +       +       +    +   +    +   ÷       +       +   +   +
    Sarcoma                                                                                                                                                                                                           X
Penis                                                                                                               +                           +÷                                                +
Preputial g l a n d                                             + + ÷ + + + +                                       + + +       +       +       + ÷ ÷ +                         +    ÷   +    + +         +       +   W   ÷
Prostate                                                        M M + + + M + +                                     + + +               +       + + + + +                       +        +    ++          +       +   +   +
Seminal vesicle                                                 + + + + +A    +                                     + + +       +       +       + + +A                          +    +   +    + +         +       +   +   +
Testes                                                          + + + + + + +                                       + + +       +       +       + + + ÷                         +    +   +    + +         +       +   +   +


     + : Tissue e x a m i n e d m i c r o s c o p i c a l l y                                           M: Missing tissue                                                                         X: L e s i o n p r e s e n t
     A: Autolysis p r e c l u d e s e x a m i n a t i o n                                               I: Insufficient tissue                                                                    Blank: N o t e x a m i n e d
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TABLE C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide: 0 m g / m ~ (continued)

                                              6   6   6   6       6       6       6       6       6       6       7       7        7   7    7   7   7   7   7   7   7   7    7       7       7
Number of Days on Study                       3   4   4   5       6       6       7       8       9       9       1       1        3   3    3   3   3   3   3   3   3   3    3       3       3
                                              7   3   3   3       0       6       5       9       4       7       3       3        2   7    7   7   7   7   7   7   8   8    8       8       8

                                              0   0   0   0       0       0       0       0       0       0       0       0        0   0    0   0   0   0   0   0   0   0    0       0       0
Carcass ID Number                             0   5   7   6       0       1       0       3       4       2       4       6       4    0    0   3   3   4   4   6   0   1    2       2       3
                                              2   2   0   2       1       3       4       4       8       6       1       8        2   3    7   2   5   6   7   0   6   6    0       4       7

Alimentary       System
Esophagus                                     + + + + + + + + +                                               +       +       +        +    +   +   +   +   +   +   M +      +           +       +   +
Gallbladder                                   + + + + + + + + +                                               +       +       +        +    +   +   +   +   +   +   + +      +           +       +   +
Intestine large, colon                        + + + + + + + + +                                               +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
Intestine large, r e c t u m                  + M + + + + + + +                                               +       +       +        +    +M+         +   +   +   +    +M+                     +   +
Intestine large, c e c u m                    + + + M + + + + +                                               +       +       +        +    + +     +   +   +   +   +    + +             +       +   +
Intestine small, d u o d e n u m              + + + + + + + + +                                               +       +       +        +    + +     +   +   +   +   +    + +             +       +   +
Intestine small, j e j u n u m                + + + + + + + + +                                               +       +       i        +    +   +   +   +   +   +   +    +   +       +           +   +
Intestine small, ileum                        + + + + + + + + +                                               +       +        +       +    +   +   +   +   +   +   +    +   +       +           +   +
Liver                                         + + + + + + + + +                                               +       +        +       +    +   +   +   +   +   +   +    +   +       +           +   +
    Hemangiosareoma
    Hepatocellular c a r c i n o m a                                                          X                                        X                                             X
    Hepatocellular a d e n o m a                                                                              X                        XX                       X        X
    Hepatocellular a d e n o m a , multiple                                                                                                                                          X
Mesentery                                                                                                                                                                                            +
    Lipoma                                                                                                                                                                                           X
Pancreas                                      +   +   +i          +           +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
Salivary glands                               +   +   + +         +           +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
Stomach, forestornach                         +   +   + +         +           +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
   S q u a m o u s cell papilloma                                                                                                                       X
Stomach, glandular                            +   +   +   +       +           +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
Tooth

Cardiovascular S y s t e m
Hea~                                          +   +   +   +           +       +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +

Endocrine System
Adrenal cortex                                +   +   +   +           +       +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
  Adenoma                                                                                                                                           X
   Capsule, a d e n o m a                                                                                                                                       X
Adrenal medulla                               +   +   +   +           +       +       +       +       +       +       +       +        +    +   +   +   +   +   +   +    +   +           +       +   +
Islets, pancreatic                            +   +   +M          +           +       +       +       +       +       +       +        + +      +   +   +   + + + +          +           + +         +
Parathyroid gland                             +   +   + +         +           +       +       +       +       +       +       +        +M+          +   +   + M M +          +           +M+
Pituitary gland                               +   +   + ~         +           +       +       +       +       +       +       +        + +      +   +   +   + + + +          +           + +         +
T h y r o i d gland                           +   +   ++          ~           +       +       +       +       +       +       +        + +      +   +   +   + + + +          +           + +         +
     Follicular cell, a d e n o m a                                                                                                                                                                  X

General      Body System
Tissue NOS                                    +
   Hemangiosareoma                            X

Genital System
Epididymis                                    +   +   +       +       +       +       +       +       +       +       +       +        +    +   +   +   +   M   +   +    +       +       +       +   +
   Sarcoma
Penis                                                                         ++                              +
Preputial gland                               +   +   +       +       +       + +             +       +       +       +       +        +    +   +   +   +   +   +   +    +       +       +       +   +
Prostate                                      + + + + + +                             +       + + M + + + +                                     + + + +         +   +    +       +       +       +   +
Seminal vesicle                               + + + + + +                             +       + + + + + + +                                     + + + +         +   +    +       +       +       +   +
Testes                                        + + + + + +                             +       + +.+  + + + +                                    + + + +         +   +    +       +       +       +   •
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Lesions in Male Mice                                                                                                                            223


TABLE C2
Individual Animal T u m o r Pathology of Male Mice in t h e 2 - Y e e a r I n h a l a t i o n   Study   of Nickel Oxide: 0 m g / m 3 (continued)
                                                     7 7 7 7 7 7 7
Number of Days on Study                              3 3 3 3 3 3 3
                                                     8 8 9 9 9 9 9

                                                     13 0       0       0    13 0       0                                               Total
Carcass ID Number                                    3    6 3           3    6    6     6                                            Tissues/
                                                     8    1 0           3    4    6     7                                            Tumors

Alimentary System
Esophagus                                            +    +     +       +    +    +     +                                                 56
Gallbladder                                          +    +     +       +    +    +     +                                                 47
Intestine large, colon                               +    +     +       +    +    +     +                                                 50
Intestine large, rectum                              +    +     +       +    +    +     +                                                 45
Intestine large, cecum                               +    +     +       +    +    +     +                                                 49
Intestine small, duodenum                            +    +     +       +    +    +     +                                                 51
Intestine small, jejunum                             +    +     +       +    +    +     +                                                 50
Intestine small, ileum                               +    +     +       +    +    +     +                                                 51
Liver                                                +    +     +       +    +    +     +                                                 57
    Hemangiosarcoma                                                                                                                        1
    Hepatocellular carcinoma                                                                                                               6
    Hepatocellular adenoma                                              X                                                                  7
    Hepatocellular adenoma, multiple                                                                                                       1
Mesenteqt                                                                                                                                  1
    Lipoma                                                                                                                                 1
Pancreas                                             +    +     + + + + +                                                                 54
Salivary glands                                      +    +     + + + + +                                                                 57
Stomach, forestomach                                 +    +     + + + + +                                                                 54
    Squamous cell papilloma                                                                                                                 1
Stomach, glandular                                   +    +     +       +    +    +     +                                                 55
Tooth                                                                                   +                                                  2

Cardiovascular System
Hea~                                                 +    +     +       +    +    +     +                                                  57

Endocrine System
Adrenal cortex                                       +    +     +       +    +    +     +                                                  57
    Adenoma                                               X                                                                                 2
    Capsule, adenoma                                       X                                                                                2
Adrenal medulla                                      + + + + + + +                                                                         57
Islets, pancreatic                                   + + + + + + +                                                                         54
Parathyroid gland                                    + + + + + M +                                                                         37
Pituitary gland                                      + + + + + + +                                                                         56
Thyroid gland                                        + + + + + + +                                                                         55
    Follicular cell, adenoma                                                                                                                2

General Body System
Tissue NOS                                                                    +                                                             2
   Hemangiosarcoma                                                                                                                          1

Genital System
Epididymis                                            +     +       +   +     +     +   +                                                  56
   Sarcoma                                                                                                                                  1
Penis                                                                                                                                       7
Preputial gland                                       + + +                 + + + +                                                        57
Prostate                                              + + +                 + + + +                                                        53
Seminal vesicle                                       + + +                 + + + +                                                        55
Testes                                                + + +                 + + + +                                                        57
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TABLE        C2
Individual          Animal         Tumor         Pathology   of Male       Mice                in the              2-Year        Inhalation                       Study               of Nickel     Oxide:                      0 mg/m       3 (continued)

                                                                  0 1 1 1 2 3 3 4 4 5 5 5 5 5 5 5 5 5 5 6 6 6 6 6 6
Number         of Days on Study                                   0 6 6 6 9 ' 4 9 3 7 0 1 1 5 5 5 8 9 9 9 0 0 0 0 2 2
                                                                  4 2 2 2 0 1 2 0 0 8 0 2 9 9 9 4 0 3 9 1 2 3 7 9 9

                                                                  0    0       0       0       0       0       0    0   0    0   0    0       0       0       0       0       0   0     0   0   0   0       0       0       0
Carcass ID Number                                                 6 2 2 2 0 4 3 2 3 2 1 1 0 1 5 0 5 3 1 6 1 4 1 5 5
                                                                  5 5 8 9 8 3 1 2 6 1 5 0 9 4 4 5 3 9 2 3 8 5 9 0 7

Hematopoietic S y s t e m
Bone m a r r o w                                                  +    +       +           +       +       +       +    +    +   +    +       +           +       +       +A           +    +   +   +       +           +       +   +    +
    H e m a n g i o s a r c o m a , metastatic
Lymph node                                                                     +                   +                                  + + +                                                 +       + + +                           ++
L y m p h node, b r o n c h i a l                                 + + + +I    M+   +I  +                                              + + + + +MI     +M+    + + + + +
L y m p h node, m a n d i b u l a r                               M+   + + + + + M M +                                                + + + + +A   + + + + + +M+     +
L y m p h n o d e , mesenteric                                    M M M M M +    + + + +                                              + + + + +MI     + + + + + + +M
L y m p h node, mediastinal                                       M M M M M M + M +    +                                              + M M M + M M + M + M + M M M
Spleen                                                            + + + + + + + + + +                                                 + + + + +M+     + + + + + + + +
    Hemangiosarcoma
Thymus                                                            +    +       +           +       +       +M+               +   +    +       +           +       +       +MI               +   +   + M + M +                            +

Integumentary             System
Mammary gland                                                     +    +           +       +       +       +       +    +    +   +    + + + +                             +       +     +   +   +   +M+     + +                          +
Skin                                                                                               +                                  + + + + +                                                       + + + +


Musculoskeletai               System
Bone                                                              +    +           +       +       +       +       +    +    +   +    +       +           +       +       +       +     +   +   +   +        +          +       +   +    +
   H e m a n g i o s a r c o m a , metastatic
Skeletal muscle

Nervous System
Brain                                                             + + + + + + + + + + + + + + + +                                                                                       + + +       + +                 + +         + +

Respiratory   System
Larynx                                                            +        + M + +                         +       ++        +    +   +           +       +       +I              ++        +   +   +           ++              +   +    +
Lung                                                              +        + + + +                         +       + +       +    +   +           +       +       + +             + +       +   +   +           + +             +   +    +
   Alveolar/bronchiolar adenoma                                                                                                                                                                 X
   Alveolar/bronehiolar carcinoma                                                                                                                           X
Nose                                                              A        +       +       +       +       +       +    +    +    +   +           +       + +             +A            +   +   +   +           +       +       +   +    +
Trachea                                                           +        +       I       +       +       +       +    +    +    +   +           +       + +             + +           +   +   +   +           +       +       +   +    +

Special S e n s e s S y s t e m
None

Urinary System
                                                                   +       +       +       +       +       +       +    +    +    +       +       +       +       +       +       +     +   +   +   +           +       +       +   +    +
Kidney
Urethra
Urinary bladder                                                   A        +       +       +       +M+                  ++        +       +       +       +       +       +       +     +   +   +       +       +       +       +   +    +

 Systemic Lesions
 Multiple o r g a n s
   Lymphoma malignant                                                                                                                                                                   X
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Lesions in Male Mice                                                                                                                                                                                                                            225


TABLE C2
Individual         Animal         Tumor          Pathology   of Male       Mice             in the 2-Year                           Inhalation                       Study       of Nickel       Oxide:              0 mg/m          3 (continued)

                                                                  6    6    6       6       6       6       6       6       6       6       7       7       7   7    7   7   7     7   7   7    7    7   7       7       7
Number        of Days on Study                                    3    4    4       5       6       6       7       8       9       9       1       1       3   3    3   3   3     3   3   3    3    3   3       3       3
                                                                  7    3    3       3       0       6       5       9       4       7       3       3       2   7    7   7   7     7   7   7    8    8   8       8       8

                                                                  0    0    0       0       0       0       0       0       0       0       0       0       0   0    0   0   0     0   0   0    0    0   0       0       0
Carcass       ID Number                                           0    5    7       6       0       1       0       3       4       2       4       6       4   0    0   3   3     4   4   6    0    1   2       2       3
                                                                  2    2    0       2       1       3       4       4       8       6       1       8       2   3    7   2   5     6   7   0    6    6   0       4       7

Hematopoietic S y s t e m
Bone m a r r o w                                                  +    +     +      +        +          +       +       +       +       +       +       +       +    +   +   +    +    +   +    +    +    +      +           +   +
  H e m a n g i o s a r c o m a , metastatic                      X
L y m p h node                                                               +               + + + + + +                                                +                         +            ."+
L y m p h node, bronchial                                         + + +M+   + + + +I   + + + + + + +                                                                                   +M+   +            + + + +
L y m p h node, mandibular                                        +M+   + + + + + + + + + + + + M +                                                                                    + + + +            + M + M
L y m p h node, mesenteric                                        + + + + + + +M+    + + +M+    + + +                                                                                  + + + +            + + + +
L y m p h node, mediastinal                                       + M M M M M M M M + M + M M + M + M                                                                                  I   M+I              MMM
Spleen                                                            + + + + + + + + + + + + + + + + +                                                                                    + + + +            + ++    +
    Hemangiosarcoma                                                                                                                                                                             X
Thymus                                                            + M + M + M +                                         +       +       +M+                     +    +   + M M +           +    +M+                  +       +   +

Integumentary            System
M a m m a r y gland                                               +    +     +      +           +       + +             +       +       +       +       +       +    +   +   +    +    +   +    +    +    +          +       +   +
Skin                                                                   +                                ++                              +               +                                                                        +


M u s c u i o s k e l e t a l System
Bone                                                              +    +     +          +       +       +       +       +       +       +       +       +       +    +   +   +    +    +   +    +    +    +          +       +   +
    H e m a n g i o s a r c o m a , metastatic                    X
Skeletal muscle                                                        +


Nervous        System
Bmin                                                              +    +     +          +       +       +       +       +       +       +       +       +       +    +   +   +     +   +   +    +    +    +          +       +   +

Respiratory System
Larynx                                                            +    +     +          +       +       +       +       +       +       +       +       +       +    +   +   +     +   +   +     +   +    +          +       +   +
Lung                                                              +    +     +          +       +       +       +       +       +       +       +       +       +    +   +   +     +   +   +     +   +    +          +       +   +
   Alveolar/bronchiolar a d e n o m a                                                                                                           X         X              X                                X                  X
   Alveolar/bronchiolar c a r c i n o m a                                                                                                                 X                                               X
Nose                                                              +    +     +          +       +       +       +       +       +       +       +       + +          +   +   +     +   +   +     +   +    +          +       +   +
Trachea                                                           +    +     +          +       +       +       +       +       +       +       +       + +          +   +   +     +   +   +     +   +    +          +       +   +


Special Senses System
None

Urinary S y s t e m
Kidney                                                            +    +        +       +       +       +       +       +       +       +       +       +       +    +   +   +     +   +   +     +   +       +       +       +   +
Urethra                                                                                 +
Urinary bladder                                                   +    +        +       +       +       +       +       +       +       +       +       +       +    +   +   +     +   +   +     +M+                 +       +   +

Systemic Lesions
Multiple organs
  L y m p h o m a malignant                                                                                                     X
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TABLE C2
Individual   Animal    Tumor        Pathology   of Male Mice in the 2-Year    Inhalation   Study   of Nickel Oxide:     0 m g / m 3 (continued)

                                                    7 7 7 7 7 7 7
Number of Days on Study                             3 3 3 3 3 3 3
                                                    8 8 9 9 9 9 9

                                                    0   0 0   0   0   0   0                                                            Total
Carcass ID Number                                   3   6 3   3   6   6   6                                                         Tissues/
                                                    8   1 0   3   4   6   7                                                         Tumors

Hematopoietic System
Bone marrow                                          + + + + + + +                                                                        56
   Hemangiosarcoma, metastatic                                                                                                             1
Lymph node                                                  +                                                                             22
Lymph node, bronchial                               I   +   + M   +   + I                                                                 45
Lymph node, mandibular                              +   +   + +   +   M +                                                                 47
Lymph node, mesenteric                              +   +   + +   +   M M                                                                 45
Lymph node, mediastinal                             +   +   M M   +   M +                                                                 18
Spleen                                              +   +   + +   +   + +                                                                 56
   Hemangiosarcoma                                                                                                                         1
Thymus                                               + + + + + + +                                                                        45

Integumentary     System
Mammary gland                                        + + + + + +          +                                                                56
Skin                                                                                                                                       16

Musculoskeletal System
Bone                                                 + + + + +        + +                                                                  57
   Hemangiosarcoma, metastatic                                                                                                              1
Skeletal muscle                                                                                                                             1

Nervous System
Brain                                                + + + + + + +                                                                         57

Respiratory System
Larynx                                               + + + + + + +                                                                         55
Lung                                                 + + + + + + +                                                                         57
   Alveolar/bronchiolar adenoma                                 X                                                                           7
   Alveolar/bronchiolar carcinoma                    X                                                                                      4
Nose                                                 + + + + + + +                                                                         55
Trachea                                              + + + + +,+ +                                                                         56

Special Senses System
None

Urinary System
Kidney                                               + + + + + + +                                                                         57
Urethra                                                          +                                                                          2
Urinary bladder                                      + + + + + + +                                                                         54

Systemic Lesions
Multiple organs                                      + + + + + + +                                        .~                               57
  Lymphoma malignant                                                                                                                        2
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Lesions in Male Mice                                                                                                                                                                                                                   227



TABLE         C2
I n d i v i d u a l A n i m a l T u m o r P a t h o l o g y o f Male Mice in the 2-Year Inhalation Study o f Nickel Oxide:                                                                                            1.25 m g / m 3


                                                               0       1       1       1       2       2       2   3   4    4    4   4    4       5       5       5       5   5   5   5   5   6   6       6       6
Number          of Days on Study                               2       0       3       5       2       9       9   4   4    4    7   8    9 0 0 1 3 3 5 6 9 0 1 1 1
                                                               4       5       5       7       6       0       8   1   2    5    1   0    3 1 8 2 9 9 7 7 3 4 0 2 2

                                                               1 1 1 1 2 2 2 1 2 2 2 2 2 1 2 . 1 2 2 1 2 2 2 2 1 2
Carcass         ID Number                                      9       8       9       9       1       0       2 7 4 1 2 1 1 8 3 6 1 3 8 0 0 0 0 6 1
                                                               0       0       1       9       2       6       1 4 0 6 3 8 4 5 9 8 3 0 2 9 0 2 3 9 7

Alimentary System
Esophagus                                                      +       +           +       +       +       +       +   +    ++       +    +           +       +       +       +   +   +   +   +   +           +       +   +   +
    S q u a m o u s cell c a r c i n o m a
Gallbladder                                                    + A A A    + + + A    +AA    + + + A                                                                           +   +   +   + + +               +A          ++
Intestine large, c o l o n                                     +AA     + + + + +A      + + + + +A                                                                             +   +   +   + + +               +A          + +
Intestine large, r e c t u m                                   MAA     ++    + + M A M M A     +MA                                                                            +   +   +   +M+                 + +         + +
Intestine large, c e c u m                                     + A A M +     + + +A    + +A    + +AA                                                                              +   +   + + +               +A          + +
Intestine small, d u o d e n u m                               MAA     + + + + A A A A A       + +AA                                                                              +   +   + + +               +A          + +
Intestine small, j e j u n u m                                 M A A M +     + + A A A A A     + +A                                                                           +   +   +   + + +               +A          + +
Intestine small, ileum                                         M A A M +     + + A A A A A     + +AA                                                                              +   +   + + +               +A          + +
Liver                                                          + + + + + + + + + + + + + + +                                                                                  +   +   +   + + +               + +         + +
    H e m a n g i o s a r c o m a , multiple
    Hepatocellular carcinoma                                                                                           X X                                                    X       X                                   X
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                     X
    Hepatocellular adenoma
Mesentery
Pancreas                                                       + + M + + + + + M + + + + + + +                                                                                    + + + ++                    + + + +
Salivary g l a n d s                                           +           +       +       +       +       +       +   +    +    +   +    +           +       +       +       +   +   +   +   +   +           +       +   +   +
Stomach, forestomach                                           + + A                       + + + +                     +A        +   +    ++                          A       +   +   +   +   +   +           +       +   +   +
    S q u a m o u s cell p a p i l l o m a
Stomach, glandular                                             +           +A              +       +       +       +   +A        +   +        +       +               A       +   +   +   +   +   +           +       +   +   +
Tooth
    Odontoma

Cardiovascular                System
Heart                                                          +           +       +       +       +       +       +   +    +    +   +        +       +       +       +       +   +   +   +   +   +           +       +   +   +

Endocrine System
A d r e n a l cortex                                           +           +       +       +       +       +       +   +    +    +   +        +       +       +       +       +   +   +   +   +       +       +       +   +   +
A d r e n a l medulla                                          +           +       +       +       +       +       +   +    +    +   +        +       +       +       +       +   +   +   +   +       +       +       +   +   +
Islets, p a n c r e a t i c                                    + +M+     + + + +M+       + + + + +                                                                            +   +   +   +   + + + + + +
Parathyroid gland                                              M M M M M M M +     + M M + M M +                                                                              +   +   +   +   + + + + + +
Pituitary g l a n d                                            + + + + +I    M+    + + + + + + +                                                                              +   +   +   +   + + M + M +
Thyroid gland                                                  + + +  ++   + + + +    ++   + + + + +                                                                          +       +   +   ++   + + + +
     Bilateral, follicular cell, a d e n o m a

General         Body System
None

Genital System
Epididymis
Penis
Preputial g l a n d
Prostate                                                           +       +       +       +M+                     +   +M+               +M+                  +       +M+             +   +M+                 +       +   +   +
Seminal vesicle                                                    +       ÷       +       + +             +       +   + A       +       + +          +       +       + +         +   +   + +         +       +       +   +   +
Testes                                                             +       +       +       + +             +       +   + +       +         +          +       +       + +         +   +   + +         +       +       +   +   +
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228                                                                                                                                                                   Nickel          Oxide,          NTP   TR   451




TABLE  C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                    1.25 m g / m 3
(continued)

                                                 6    6   6   6   6       6       6       6       6       6       6       6       6   7   7   7   7   7   7   7   7   7   7       7       7
Number of Days on Study                          1 2 3 4          4       4       6       7       7       7       8       9       9   0   1   1   2   2   2   3   3   3   3       3       3
                                                 6 6 7 3          4       9       9       5       6       9       3       2       4   6   7   7   6   6   8   7   7   8   8       8       8

                                                 1    1   2   1   1       2       1       1       1       2       2       2       1   2   1   2   2   2   2   1   2   1   1       1       1
Carcass ID Number                                8    6   2   9   9       2       7       8       7       3       0       3       7   2   9   3   1   3   3   6   2   6   6       7       7
                                                 7 2 6 2 6 5 5 9 2 4 1 3 3 8 4 1 0 8 5 3 9 1 6 6 8

Alimentary       System
Esophagus                                        +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
   Squamous cell c a r c i n o m a
Gallbladder                                      +A       +   +   +           +       +       +MA                     +       +A          +   +   +   +   +   +   +   +   +           +       +   +
Intestine large, colon                           + + + + + + + + +A                                                   +       +       + +     + + + +         + +     + +             +       + +
Intestine large, r e c t u m                     + + + + + + +MMA                                                     +       +       + +     + + + +         + +     + +             +       +M
Intestine large, c e c u m                       ++   + + + + + M + A                                                 +       +       +A      + + ++          + +     + +             +       + +
Intestine small, d u o d e n u m                 + + + + + +   +A   +A                                                +       +       +A      ++    + +       ++      + +             +       + +
Intestine small, j e j u n u m                   + + + + + + +A     +A                                                +       +       +A      + + + +         + +     + +             +       + +
Intestine small, ileum                           + + + + +   + + A A A                                                +       +       +A      + + +   +       ++      ++              +       + +
Liver                                            + + + + + + + + + +                                                  +       +       + +     + + + +         + +     + +             +       + +
    H e m a n g i o s a r c o m a , multiple                                                                                                      X
    Hepatocellular c a r c i n o m a                              X                           XX                      X                           X           X           X
   Hepatocellular c a r c i n o m a , multiple                                                                                            X           X
    Hepatocellular a d e n o m a                      X                                                                               X                               X
Mesentery                                                                                                                                                                             +
Pancreas                                         +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
Salivary glands                                  +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
Stomach, forestomach                             +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
    Squamous cell papilloma                                                                                                                                                       X
Stomach, glandular                               +    +   +   +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +       +           +   +
Tooth                                                                                                                                                 +                                       +
    Odontoma

CardiovascularSystem
Heaa                                             +    +   +   +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +

Endocrine System
Adrenal cortex                                   +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
Adrenal medulla                                  +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +           +       +   +
Islets, pancreatic                               +    +   + +     +           +       +       +       + + +                   +       +   +   +   + +     +   +   +   +   +           +       M+
Parathyroid gland                                +    +   +M+                 +       +       +       +M+                     +       +   +   +   +M+         +   +   +   +           +       + +
Pituitary gland                                  +    +   + +     +           +       +       +       + M+                    +       +   +   +   + +     +   +   +   +   +           +       + +
Thyroid gland                                    +    +   + +     +           +       +       +       + + +                   +       +   +   +   + +     +   +   +   +   +           +       + +
    Bilateral, follicular cell, a d e n o m a

General Body S y s t e m
None

Genital S y s t e m
Epididymis                                       +    +   +   +       +       +       + +             +       +       +       +       +   +   + +     +   +   +   +   +       +       +       +   +
Penis                                                                                 ++                      +               +               ++
Preputial gland                                  +    +   +   +M+                     +       +       +       +       +       +       +   +   +   +   +   +   +   +   +       +       +       +   +
Prostate                                         +    +   +   + +             +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +       +       +       +   +
Seminal vesicle                                  +    +   +   + +             +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +       +       +       +   +
Testes                                           +    +   +   + +             +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +       +       +       +   +
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Lesions        in Male          Mice                                                                                                                                                         229




TABLE         C2
Individual A n i m a l                 Tumor           Pathology   of Male       Mice       in the    2-Year       Inhalation       Study        of Nickel   Oxide:   1.25   mg/m   3
(continued)

                                                                        7    7    7     7    7    7   7   7    7   7    7   7   7   7    7   7    7
Number          of Days on Study                                        3    3     3    3    3    3   3   3    3   3    3   3   3   3    3   3    3
                                                                        8    8     8    8    8    8   8   9    9   9    9   9   9   9    9   9    9

                                                                        1    1     1    2    2    2   2   1    1   1    1   1   l   2    2   2    2                                 Tetal
Carcass         ID Number                                               8    8     9    0    1    3   3   6    6   7    7   8   8   0    2   2    2                             Tissues/
                                                                        4    6     5    5    9    6   7   4    5   7    9   3   8   4    0   2    4                             Tumors

Alimentary System
Esophagus                                                               +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   +    +                                     67
    S q u a m o u s cell c a r c i n o m a                                                                                                        X                                      1
Gallbladder                                                             + + +           +    +    +   + + + + +             +   +    +   + +      +                                     55
Intestine large, c o l o n                                              + + +           +    +    +   + + + + +             +   +    +   + +      +                                     61
Intestine l a r g e , ~ e c t u m                                       + M +           +    +    +   + M + + M             +   +    +   + +      M                                     48
Intestine large, c e c u m                                              + + +           +    +    +   + + + + +             +   +    +   + +      +                                     56
Intestine small, d u o d e n u m                                        + + +           +    +    +   + + + + +             +   +    +   + +      +                                     53
Intestine small, j e j u n u m                                          + + +           +    +    +   + + + + +             +   +    +   + +      +                                     53
Intestine small, i~eum                                                  + + +           +    +    +   + + + M +             +   +    +   + M      +                                     49
Liver                                                                   + + +           +    +    +   + + + + +             +   +    +   + +      +                                     67
    H e m a n g i o s a r c o m a , multiple                                                                                                                                             1
    Hepatocellular carcinoma                                                                                                             X                                              13
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                                                                             3
    Hepatocellular adenoma                                                              X                                                X                                               5
Mesentery                                                                                                                                                                                1
Pancreas                                                                +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   +    +                                     65
Salivary glands                                                         +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   +    +                                     67
Stomach, forestomach                                                    +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   +    +                                     63
    S q u a m o u s ceil p a p i l l o m a                                                                                                                                               1
Stomach, glandular                                                      +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   -~ +                                       63
Tooth                                                                   +          +         +                                                                                           5
    Odontoma                                                                       X                                                                                                     1

Cardiovascular                System
Heart                                                                   +    +     +    +    +    +   +   +    +   +    +   +   +    +   +   +    +                                     67

Endocrine System
A d r e n a l cortex                                                    + + + + +                 +   +   +    + + + + +             +   +   +    +                                     67
A d r e n a l medulla                                                   + + + + +                 +   +   +    + + + + +             +   +   +    +                                     67
Islets, p a n c r e a t i c                                             + + + + +                 +   +   +    + + + + +             +   +   +    +                                     64
Parathyroid gland                                                       + M + M +                 +   +   +    + M + M M             +   +   +    +                                     48
Pituitary g l a n d                                                     + + + + +                 +   +   +    + + + + +             +   +   +    +                                     ~2
Thyroid gland                                                           + + + + +                 +   +   +    + + + + +             +   +   +    +                                     ~7
     Bilateral; follicular cell, a d e n o m a                                                                   X                       X                                               2

General Body System
Note

Genital System
Epididymis                                                               +   +     +    +     +   +   +   ÷    +    +   +   +   +    +   +   +     +                                    67
Penis                                                                                                                                                                                   11
Preputial g l a n d                                                      +   +     +    +     +   +   +   +    + + +        +   +    +   +   +     +                                    66
Prostate                                                                 +   +     +    +     +   +   +   +    + M +        +   +    +   +   +     +                                    61
Seminal vesicle                                                          +   +     +    +     +   +   +   +    + + +        +   +    +   +   +     +                                    66
Testes                                                                   +   +     +    +     +   +   +   +    + + +        +   +    +   +   +     +                                    66
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TABLE C 2
Individual Animal T u m o r        Pathology     of Male   Mice in the 2-Year I n h a l a t i o n                 Study of Nickel            Oxide:         1.25 m g / m 3
(condnued)

                                                     0 1 1 1 2 2 2 3 4 4 4 4 4 5 5 5 5 5 5 5 5 6 6 6 6
Number of Days on Study                              2 0 3 5 2 9 9 4 4 4 7 8 9 0 0 1 3 3 5 6 9 0 1 1 1
                                                     4 5 5 7 6 0 8 1 2 5 1 0 3 1 . 8 2 9 9 7 7 3 4 0 2 2

                                                     1 1 1 1 2 2 2 1 2 2 2 2 2 1 2 1 2 2 1 2 2 2 2 1 2
Carcass ID Number                                    9 8 9 9 1 0 2 7 4 1 2 1 1 8 3 6 1 3 8 0 0 0 0 6 1
                                                     0 0 1 9 2 6 1 4 0 6 3 8 4 5 9 8 3 0 2 9 0 2 3 9 7

Hematopoietic S y s t e m
Bone marrow                                           + + +I                + + + + + + + +                   + + + + +             + +      + +       + +      +    +
Lymph node                                                                      ++      +                     ++    +++                      ++                      +
Lymph node, bronchial                                MI  M + M + + M + + + + + + +  + + + M +  ++  + + +
Lymph node, mandibular                               M+  + + + + + + + + + + + + +MM+      + + + +MM+
Lymph node, mesenteric                               MMM+    +M+   +MM+     + + + +M+    + + + + + + + +
Lymph node, mediastinal                              MMMMMMM       + MMMMMMMMM           + MM + MM + I
Spleen                                               + + + + + + + + + + + + + + + + + + + + + + + + +
   Hemangiosarcoma                                                                                                                                     X
Thymus                                                + +I              + + + + +M+                  + + + +           + + +        + +      + +       +I       M+

Integumentary System
Mammary gland                                         +    +   +        +   +    +   +   +   +   +   +   +    +   +    +   +   +    +   +    +    +    +    +   +    +
Skin                                                                        ++           +                                          + + + +                     ++
   Hamartoma
   Subcutaneous tissue, hemangioma

Musculoske~talSystem
Bone                                                  + + + + + + + +                        + + + +          + + + +          + + +         + +       + +      +    +

Ne~ousSystem
Brain                                                 + + + + + + + + + + + + + + + +                                          + +      + + +          +    + +      +

Respiratory System
Larynx                                                ++       + + M + + + + M +                         + + + + +             ++       ++        ++        +++
Lung                                                  +    +   +        +   +    +   +   +   +   +   +   +    +   +    +   +   +    +   +    +    +    +    +   ~    +
   Alveolar/bronchiolar adenoma                                                                                            x
   Alveolar/bronchiolar carcinoma
   Alveolar/bronchiolar carcinoma, multiple
   Hepatocellular carcinoma, metastatic
   Hepatocellular carcinoma, metastatic, liver
Nose                                                  +    +   +        +   +    +   +   +   +   +   +   W +      +    +   +   +    +   +    +    +    +    +   +    +
Trachea                                               +    +   +        +   +    +   +   +   +   +   +   + +      +    +   +   +    +   +    +    +    +    +   +    +
                                                                   .~
Special S e n s e s S y s t e m
Harderian gland
   Adenoma

Urinary System
Kidney                                                +    +   +'+          +    +   +   +   +   +   +   +    ~   +    +   +   +    +   +    +    +    +    +   +    +
Urethra                                                                              +                                                                      +
Urinary bladder                                       +A       + + + + + +A                      + +     + +      +A       +   + + +         + +       + +      +    +
   Transitional epithelium, papilloma                                                                    X

Systemic L e s i o n s
Multiple organs
  Lymphoma malignant                                                                                              X
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Lesions in Male Mice                                                                                                                                                                                                                                             231


TABLE        C2
Individual           Animal          Tumor           Pathology            of Male       Mice                in the              2-Year       Inhalation Study o f N i c k e l                                     Oxide:                      1.25    mg/m   3
(continued)

                                                                               6    6       6       6       6       6   6        6   6   6    6   6       6       7       7       7       7       7   7   7   7   7       7       7       7
Number of Days on Study                                                        1 2 3 4 4 4 6 7 7 7 8 9 9 0 1                                                                      1       2       2   2   3   3   3       3       3       3
                                                                               6 6 7 3 4 9 9 5 6 9 3 2 4 6 7                                                                      7       6       6   8   7   7   8       8       8       8

                                                                               1    1       2       1       1       2       1    1   1   2    2   2       1       2       1       2       2       2   2   1   2   1       1       1       1
Carcass ID Number                                                              8 6 2 9 9 2 7 8 7 3 0 3 7 2 9                                                                                  J     1 3 3 6 2 6 6 7 7
                                                                               7 2 6 2 6 5 5 9 2 4 1 3 3 8 4                                                                      1       0       8 5 3 9 1 6 6 8

Hematopoietic        System
Bone m a r r o w                                                               +    +           + +             +       + +          +   +    +   +       +           +       +       +       +       +   +   +   +       +           +       +   +   +
Lymph node                                                                                      ++                      ++                                +                           +                       +
Lymph node, bronchial                                                          + + + + + + + M + M +                                                      + + + +M+                                     + +       + + + + + +
L y m p h node, m a n d i b u l a r                                            + +M+    + +M+     +M+                                                     + +M+     +                                 + + +       + + + + + +
Lymph node, mcsenteric                                                         + + + + M + + + + M +                                                      + + + + M +                                 + +         + + + +  ++
L y m p h node, mediastinal                                                    MMM    + + + + + MMMM                                                         + MMM                                    + MM        + M + MM    +
Spleen                                                                         + + + + + + + + + + +                                                      + + + + +                                   + + +       + + + + + +
    Hemangiosarcoma
Thymus                                                                         +    +           +M+                     +       +    + M + M I                        +       +I              +       +MI         +       +           +       +   +   +

Integumentary. S y s t e m
Mammary gland                                                                  +    +           + +             +       +       + + + + +                 +           +       +       + + +               +   +   +           +       +       +   +   +
Skin                                                                                            ++                              + + + + + +                                           + + +                   +                       +           +
   Hamartoma                                                                                                                                 X
   S u b c u t a n e o u s tissue, h e m a n g i o m a                                                                                                                                        X

MusculoskeletalSystem
Bone                                                                           +    +           +       +       +       +       +    +   +    +   +       +           +       +       +       +       +   +   +   +           +       +       +   +   +

NervousSystem
B~in                                                                           +    +           +       +       +       +       +    +   +    +   +           +       +       +       +       +       +   +   +   +           +       +       +   +   +

Respiratory              System
Larynx                                                                          +   +           +       +       +       +       +    +   +    +   +           +       +       +       I       +       +   +   +   +           +       +       +   +   +
Lung                                                                            +   +           +       +       +       +       +    +   +    +   +           +       +       +       +       +       +   +   +   +           +       +       +   +   +
   Alveolar/bronchiolar adenoma                                                                                         X                                                                                 X
   Alveolar/bronchiolar carcinoma                                              X                        X                            X        X                                       X                                   X                   X
   A l v e o l a r / b r o n c h i o l a r c a r c i n o m a , multiple
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                                                                                                                 X
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic, liver                                                                                                                            X
Nose                                                                            +       + + +                   + + + + + A                       + + +                       +       +       + +         +   +   ++                  +       ++      +
Trachea                                                                         +       + + +                   + + + + +                     +   + + +                       +       +       + +         +   +   + +                 +       + +     +

Special Senses System
Harderian gland                                                                                                                                                                                                   +
   Adenoma                                                                                                                                                                                                        X

Urinary System
Kidney                                                                          +       +       +       +       +       +       +    +   +    +       +       +       +       +       +       +       +   +   +       +       +       +       +   +   +
Urethra
Urinary bladder                                                                 +       +       +       +       +       +       +    +   +A           +       +       +       +       +           +   +   +   +       +       +       +       +   +   +
   Transitional epithelium, p a p i l l o m a

Systemic Lesions
Multiple o r g a n s
   Lymphoma malignant                                                                                                   X
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TABLE        C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                    1.25 m g / m 3
(continued)

                                                                       7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                                                3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                       8 8 8 8 8 8 8 9 9 9 9 9 9 9 9 9 9

                                                                       1 1 1 2 2 2 2 1 1 1 1 1 1 2 2 2 2                                                             Total
Carcass       ID Number                                                8 8 9 0 1 3 3 6 6 7 7 8 8 0 2 2 2                                                       Tissues/
                                                                       4 6 5 5 9 6 7 4 5 7 9 3 8 4 0 2 4                                                       Tumors

Hematopoietic S y s t e m
Bone marrow                                                            +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                             66
Lymph node                                                                                                                                                             18
L y m p h node, b r o n c h i a l                                      + + + + + +               +   + + +       +   + M +       + + M                                 56
Lymph node, mandibular                                                 + + + + + +               +   + + +       +   + M +       + + +                                 57
L y m p h node, mesenteric                                             + + M M + +               +   + + +       +   + + +       + + +                                 55
L y m p h n o d e , mediastinal                                        I M M M M M               +   + M M       M   + M M       + M +                                 19
Spleen                                                                 + + + + + +               +   + + +       +   + + +       + + +                                 67
    Hemangiosarcoma                                                                                                                                                     1
Thymus                                                                 +   +   + I       +   +   +   +   +   +   +   +   +   +   + M M                                 53

Integumentary               System
Mammary gland                                                          +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                              67
Skin                                                                                                                                                                    23
   Hamartoma                                                                                                                                                             1
   S u b c u t a n e o u s tissue, h e m a n g i o m a                                                                                                                   1

Musculoskeletal              System
Bone                                                                   +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                              67

Nervous        System
Bmin                                                                   +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                              67

Respiratory           System
Larynx                                                                 +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                              64
Lung                                                                   +   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +                              67
   Alveolar/bronchiolar adenoma                                                                          X                     X                                         5
   Alveolar/bron~hiolar carcinoma                                                                                            X X                                         9
   Alveolar/bror ~fiolar c a r c i n o m a , multiple                                                            X                                                       1
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                                                                            1
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic, liver                                                                                                     I
Nose                                                                   +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +   +                              66
Trachea                                                                +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +   +                              67

Special Senses System
Harderian gland                                                                                                                                                           1
   Adenoma                                                                                                                                                                1

Urinary System
Kidney                                                                 +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +   +                              67
Urethra                                                                                                                          +   +                                   4
Urinary bladder                                                        +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +   +                              63
   Transitional epithelium, p a p i l l o m a                                                                                                                            1

 Systemic Lesions
 Multiple o r g a n s                                                  +   +   +     +   +   +   +   +   +   +   +   +   +   +   +   +   +                              67
   Lymphoma malignant                                                                                                                                                    2
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Lesions in Male Mice                                                                                                                                                                                                                     233



TABLE C2
Individual            Animal T u m o r P a t h o l o g y       of Male       Mice             in the              2-Year Inhalation S t u d y                                   of Nickel        Oxide:                  2.5 m g / m 3
                                                                    1    2    3       3       4       4       4    4   4   5    5   5   5       5       5       5       6       6   6    6   6   6   6       6       6
Number          of Days on Study                                    5    4    5       6       6       8       8    8   8   1    3   3   3       4       5 8 0 0 2 4 4 6 6 6 6
                                                                    5    5    6       8       3       2       3    3   9   6    9   9   9       0       2 0 3 5 9 8 9 0 0 5 5

                                                                    3    3    3       3       3       3       3    4   3   3    3   3   3       3       3       3       3       3   3    3   3   3   3       3       3
Carcass         ID Number                                           5 7 3 7 3 6 9 0 4 2 2 2 5 5 7 4 2 5 9                                                                                3   7   8   9       3       8
                                                                    1 2 6 3 1 9 4 0 4 2 3 8 0 4 4 6 1 6 1                                                                                4   9   7   0       8       9

Alimentar~ System
Esophagus                                                           +    +     +          +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Gallbladder                                                         A +        +M+                        +       +A       +A       +   +           +A              +       +       +A       +   ÷   + +                 +   +   +
Intestine large, c o l o n                                          +A         +A                 +       +       + +      +A       +   +           +A              +       +       + +      +   +   + +                 +   +   +
Intestine large, r e c t u m                                        MA         +A                 +       +       + +      +A       +   +           +A              +       +       + +      +   +   +M+                     +   +
Intestine large, c e c u m                                          +A         +A                 +       +       + +      +A       +   +           +A              +       +       +M+          +   + +                 +   +   +
Intestine small, d u o d e n u m                                    A A        +A                 +       +       +A       +A       +   +           +A              +       +       +A       +   +   + +                 +   +   +
    Adenoma
Intestine small, j e j u n u m                                      A A           +A              +       +       +A       +A       +   +           +A              +       +       +A       +   +   +           +       +   +   +
Intestine small, ileum                                              A A           +A              +       +       +A       +A       +   +           +A              +       +       +A       +   +   +           +       +   +   +
Liver                                                               + +           + +             +       +       + +      + +      +   +           + +             +       +       + +      +   +   +           +       +   +   +
    Hepatocellular carcinoma                                                                                                            XXX                                         XX
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                                                                                                                 X
    Hepatocellular adenoma                                                                                                 X                    X                   X                                X
    H e p a t o c e l l u l a r a d e n o m a , multiple                                                  X
Pancreas                                                            +    +        +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Salivary g l a n d s                                                +    +        +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Stomach, forestomach                                                +A            +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Stomach, glandular                                                  +A            +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Tooth
    Odontoma

Cardiovascular                System
Hea~                                                                +    +        +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +

Endocr~e            System
Ad~nalco~ex                                                         +    +        +       +       +       +       +    +   +    +   +       +       +       +       +       +       +    +   +   +   +           +       +   +   +
    Capsule, a d e n o m a
Adrenal medulla                                                     +    +        +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
Islets, p a n c r e a t i c                                         +    +        +       +       +       +       +    +   +    +   +   +           +       +       +       +       +    +   +   +   +           +       +   +   +
    Adenoma                                                                                                                                                                         X
Parathyroid gland                                                   M M + M +                             +       +    +   +M+          + M M M +                                   +    +   +   +   +M+                     +   +
Pituitary g l a n d                                                 + + + + +                             +       +    +   + +      +   + + + + +                                   +    +   +   +   + +                 +   +   +
Thyroid gland                                                       + + + + +                             +       +    +   + +      +   + + + + +                                   +    +   +   +   + +                 +   +   +
    Follicular cell, a d e n o m a

General Body                System
Tissue N O S
   Lipoma

Genital System
Epididymis
Penis
Preputial g l a n d
Prostate                                                             +       +M+                  +       +       +    +   +    +   +       +       +       +       +       +       +M+          +       +       +       +   +   +
Seminal vesicle                                                      +       + +          +       +       +       +    +   +    +   +       +       +       +       +       +       + +      +   +       +       +       +   +   +
Testes                                                               +       + +          +       +       +       +    +   +    +   +       +       +       +       +       +       + +      +   +       +       +       +   +   +
   Interstitial cell, a d e n o m a                                                                                                                                                                  X
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TABLE C2
Individual        Animal         Tumor     Pathology   of Male       Mice       in the 2-Year                           Inhalation                          Study       of Nickel     Oxide:               2.5         mg/m   3 (continued)

                                                            6    6    6     6   6       6       6       7       7       7       7       7       7       7   7   7   7     7   7   7   7   7    7       7       7
Number of Days on Study                                     7    7    7     7   8       9       9       0       0       1       1       3       3   3       3   3   3     3   3   3   3   3    3       3       3
                                                            6    6    7     9   4       4       6       4       9       2       8       0       7   7       7   7   7     7   7   7   7   7    7       7       7

                                                            3    3    3     3   3       3       3       3       3       3       3       3       3   3       3   3   3     3   3   3   3   3    3       3       3
Carcass ID Number                                           5    6    5     8   4       3       2       6       8       8       9       4       2       2   3   5   5     5   6   6   6   6    7       8       9
                                                            8    7    9     1   7       9       7       8       2       0       8       2       4       5   7   2   3     7   0   3   5   6    0       8       2

Alimentary        System
Esophagus                                                   +    +    +     +    +      +           +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +       +           +   +
Gallbladder                                                 +    +    +     + +A                    +       +M+                     +M+                     +   + +      +    +   +   + +      + +                 +   +
Intestine large, colon                                      +    +    +     + + +                   +       +MA                     + +             +       +   + +      +    +   +   + +      + +                 +   +
Intestine large, r e c t u m                                +    +    +     +M+                     +       +MA                     + +             +       +   +M+           +   +   +I       M+                  +   +
Intestine large, c e c u m                                  +    +    +     +    + +                +       + + A                   +       + +             +   +   +    +    +   +   + +      +           +       +   +
Intestine small, d u o d e n u m                            +    +    +     +    +A                 +       +AA                     +       ++              +   +   +    +    +   +   + +      +           +       +   +
   Adenoma
Intestine small, j e j u n u m                              +    +     +    +    +      A           +       + A A                   +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
Intestine small, ileum                                      +    +    +     +    +A                 +       +AA                     +       +       +       +   +   +    +    +M+          +   +           +       +   +
Liver                                                       +    +    +     +    + +                +       + +             +       +       +       +       +   +   +    +    + +     +    +   +           +       +   +
    Hepatocellular c a r c i n o m a                                                                                X
    Hepatocellular c a r c i n o m a , multiple                             X                                                                                                     X
    Hepatocellular a d e n o m a                                 X                                                                                                                    X    X
    Hepatocellular a d e n o m a , multiple
Pancreas                                                    +    +     +    +    +          +       +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
Salivary glands                                             +    +     +    +    +          +       +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
Stomach, forestomach                                        +    +     +    +    +          +       +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
Stomach, glandular                                          +    +     +    +    +          +       +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
Tooth                                                                                                                                                       +
   Odontoma

Cardiovascular System
Hea~                                                        +    +     +    +       +       +       +       +       +       +       ÷       +       +       +   +   +    +    +   +   +    +   +           +       +   +

Endocr~e S y s t e m
Adrenalcoaex                                                +    +     +    +       +       +       +       +       +       +       +       +       +       +   +   +    +    +   +   +    +   +           +       +   +
    Capsule, a d e n o m a
Adrenal medulla                                             +    +     +    +       +       +       +       +       +       +       +       +       +       +   +   +     +   +   +   +    +       +       +       +   +
Islets, pancreatic                                          +    +     +    +       +       ~       +       +       +       +       +       +       +       +   +   +     +   +   +   +    +       +       +       +   +
    Adennma
Parathyroid gland                                           M+         +    +       +       +       +       + + M + M +                                     +   +   +M+           +   +    +       +       +       +   +
Pituitary gland                                             + +        +    +       +       +       +       +M+    + + +                                    +   +   + +       +   +   +    +       +       +       +   +
Thyroid gland                                               + +        +    ~       +       +       +       + + + + + +                                     +   +   + +       +   +   +    +       +       +       +   +
    Follicular cell, a d e n o m a                                          X                                                                                                         X

General Body S y s t e m
Tissue NOS                                                                                                                                                                        +
    Lipoma

Genital System
Epididymis
Penis
Preputial gland
Prostate                                                    +    +        + + + +                   + + + +                         +       +       +       +   ++        +   +M+          +       +       +       +    +
Seminal vesicle                                             +    +        + + + +                   + + + +                         +       +       +       +   + +       +   + +     +    +       +       +       +    +
Testes                                                      +    +        + + + +                   + + + +                         +       +       +       +   + +       +   + +     +    +       +       +       +    +
   Interstitial cell, a d e n o m a
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Lesions in Male Mice                                                                                                                                                                  235


TABLE         C2
Individual Animal Tumor P a t h o l o g y                      of Male       Mice in t h e      2-Year       Inhalation       Study        of Nickel   Oxide:   2.5   mg/m   3 (continued)

                                                                    7    7     7    7   7   7   7    7   7   7    7   7   7   7    7   7
Number          of Days on Study                                    3    3     3    3   3   3   3    3   3   3    3   3   3   3    3   3
                                                                    7    8     8    8   8   8   8    8   8   8    8   9   9   9    9   9

                                                                    3    3     3    3   3   3   3    3   3   3    3   3   3   3    3   3
Carcass         ID Number                                           9    2     3    3   4   4   6    7   7   8    9   2   3   4    4   5
                                                                    5    9     0    3   0   5   2    5   7   6    6   6   5   3    8   5

Alimentary System
Esophagus                                                           +    + + +          +   +   .+   +   + +      +   +   +   +    +   +                                        66
Gallbladder                                                         +    + + +          +   +   +    +   + +      +   +   +   +    +   +                                        57
Intestine large, c o l o n                                          +    + + +          +   +   +    +   + +      +   +   +   +    +   +                                        60
Intestine large, r e c t u m                                        I    + M +          +   +   +    +   + +      +   +   +   +    +   +                                        52
Intestine large, c e c u m                                           +   + + +          +   +   +    +   + +      +   +   +   +    +   +                                        60
Intestine small, d u o d e n u m                                     +   + + +          +   +   +    +   + +      +   +   +   +    +   +                                        56
    Adenoma                                                                                                X                                                                     1
Intestine small, j e j u n u m                                      +    +     +    +   +   +   +    +   + +      +   +   +    +   +   +                                        56
Intestine small, ileum                                              +    +     +    +   +   +   +    +   + +      +   +   +    +   +   +                                        55
Liver                                                               +    +     +    +   +   +   +    +   + +      +   +   +    +   +   +                                        66
    H e p a t o c e l l u l a r carcinon~a                                                  X                         X                                                          8
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                                                                     3
    Hepatocellular adenoma                                                          X X         X                                      X                                        11
    H e p a t o c e l l u l a r a d e n o m a , multiple                       X                                                                                                 2
Pancreas                                                            +    +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                        66
Salivary g l a n d s                                                +    +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                        66
Stomach, forestomach                                                +    +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                        65
Stomach, glandular                                                  +    +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                        65
Tooth                                                               +               +                    +                                                                       4
    Odontoma                                                                        X                    X                                                                       2

Cardiovascular System
Heart                                                               +    +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                        66

Endocrine S~,stem
A d r e n a l cortex                                                +    +     +    +   + M + +          +    +   +   +   +    +   +   +                                         65
     Capsule, a d e n o m a                                                                   X                                                                                   1
A d r e n a l medulla                                               +    +     +    +   + M + +          +    +   +   +   +    +   +   +                                         65
Islets, p a n c r e a t i c                                         +    +     +    +   + + + +          +    +   +   +   +    +   +   +                                         66
     Adenoma                                                                                                                                                                      1
Parathyroid gland                                                   + +        +    +   +   +   +    +   +    +   + M +        +   + +                                           53
Pituitary g l a n d                                                 M +        +    +   +   +   +    +   +    +   + + +        +   + M                                           63
Thyroid gland                                                       + +        +    +   +   +   +    +   +    +   + + +        +   + +                                           66
     Follicular cell, a d e n o m a                                                                                                                                               2

General B o d y            System
Tissue N O S                                                                   +                                                                                                  3
   Lipoma                                                                      X                                                                                                  1

Genital System
Epididymis                                                           +   +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                         66
Penis                                                                                                                                                                             7
Preputial g l a n d                                                  +   +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                         66
Prostate                                                             +   +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                         63
Seminal vesicle                                                      +   +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                         66
Testes                                                               +   +     +    +   +   +   +    +   +    +   +   +   +    +   +   +                                         66
   Interstitial cell, a d e n o m a                                                                  X                                                                            2
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TABLE         C2
Individual            Animal          Tumor          Pathology   of Male       Mice             in the              2-Year          Inhalation               Study               of Nickel       Oxide:               2.5       mg/m   3 (continued)

                                                                      1    2    3       3       4       4       4       4   4   5   5   5   5    5       5       5       6       6   6   6   6   6   6    6       6
Number of Days on Study                                               5    4    5       6       6       8       8    8      8   1   3   3   3   4        5       8       0       0   2   4   4   6   6    6       6
                                                                      5    5    6       8       3       2       3    3      9   6   9   9   9   0        2       0       3       5   9   8   9   0   0    5       5

                                                                      3    3    3       3       3       3       3    4      3   3   3   3   3   3        3       3       3       3   3   3   3   3   3    3       3
Carcass        ID Number                                              5 7 3 7 3 6 9 0 4 2 2 2 5 5 7 4 2 5 9 3 7 8 9 3 8
                                                                      1 2 6 3 1 9 4 0 4 2 3 8 0 4 4 6 1 6 1 4 9 7 0 8 9

Hematopoietic               System
Bone m a r r o w                                                      +    +     +          +       +       +       +       +   + + + +             +        + + + +                     +   + +      +       + +         +     +
Lymph node                                                                       +                          +                   + + + +                      + + + +                         ++               ++
L y m p h node, b r o n c h i a l                                     I M + + + +    + + + + + + +    + + + + +    ++   ++    + + +
L y m p h node, m a n d i b u l a r                                   ++   + + + + + +    ++   ++   + + + + +   ++    + + + M + +
L y m p h n o d e , mesenteric                                        + M + M + + I     + +M+     + + + M + M + +     + + + +   ++
L y m p h node, mediastinal                                           M M M M M M M M     + + + M M M M M M M      + MMMM       + +
    H e m a n g i o s a r c o m a , metastatic
Spleen                                                                +    +     +          +       +       +       +       +   +   +   +   +       +        +       +       +       +   +   +   +    +       +       +   +     +
    Hemangiosarcoma
~ymus                                                                 M +        +          +       +       +       +       +   +   +   +   +    +           I       M       +       +   +   +   + M          +       +   I     +

Integumentary               System
Ma~arygland                                                           +          +          +       +       +       +       +   +   +   + + +                +       + +             +   +   + +      +       + +         +     +
Skin                                                                                                                            +       + + +                        ++                      ++               ++                +

Musculoskeletal               System
Bone                                                                  +    +     +          +       +       +       +       +   +   +   +   +        +       +       +       +       +   +   +   +    +       +       +   +     +

Nervous         System
Brain                                                                 +    +     +          +       +       +       +       +   +   +   +   +       +        +       +       +       +   +   +   +    +       +       +   +     +

Respiratory           System
Larynx                                                                +    +     +          +       +       +       +       +   +   +   +   +       +        +       +       +       +   +   +   +    +       +       +   +     +
Lung                                                                  +    +     +          +       +       +       +       +   +   +   +   +       +        +       +       +       +   +   +   +    +       +       +   +     +
   Alveolar/bronchiolar adenoma
   Alveolar/bronchiolar carcinoma                                                                                   X
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                                               X                                                                             X
Nose                                                                  ÷    +     +          ÷       +       ÷       +       +   +   +   +   +        +       +       +       +       +   +   +   +    +       +       +   +     +
Trachea                                                               +    +     +          +       +       +       +       +   +   +   +   +        +       +       +       +       +   +   +   +    +       +       +   +     +

Special Senses System
Harderian gland                                                                                                                                                                                       +
   Adenoma                                                                                                                                                                                            X

Urinary System
Kidney                                                                +    +     +          +       +       +       +       +   +   +   +   +        +       +       +       +       +   +   +   +    +       +       +     +    +
Ureter                                                                                                                          +
Urethra                                                                                                                         +                                    +
Urinary bladder                                                       +    +        +       +       +       +       +       +   +   +   +   +        +       +       +       +       +   +   +   +    +       +       +     +    +

Systemic Lesions
Multiple o r g a n s
   Lymphoma malignant
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Lesions in Male Mice                                                                                                                                                                                                                       237



TABLE C2
Individual          Animal          Tumor          Pathology   of Male       Mice       in the 2-Year         Inhalation                  Study                   of Nickel                   Oxide:                  2 . 5 m g / m 3 (continued)

                                                                    6    6    6     6    6   6   6    7   7   7   7       7       7       7       7       7       7       7       7       7       7       7       7       7       7
Number         of Days on Study                                     7    7    7     7    8   9   9    0   0   1   1       3       3       3       3       3       3       3       3       3       3       3       3       3       3
                                                                    6    6    7     9    4   4   6    4   9   2   8       0       7       7       7       7       7       7       7       7       7       7       7       7       7

                                                                    3    3    3     3    3   3   3    3   3   3   3       3       3       3       3       3       3       3       3       3       3       3       3       3       3
Carcass ID Number                                                   5    6    5     8    4   3   2    6   8   8   9       4       2       2       3       5       5       5       6       6       6       6       7       8       9
                                                                    8    7    9     1    7   9   7    8   2   0   8       2       4       5       7       2       3       7       0       3       5       6       0       8       2

Hematopoietic System
Bone marrow                                                         +    +     +    +    +   +   +    +   +   +   +       +       +       +       +           +       +       +       +       +       +       +       +       +       +
L y m p h node                                                      +               +            +                                                            +                               +
Lymph node, bronchial                                               + + +           + + +  + M + +  + + + + +                                                 + + + + + +   + +                                               + +
L y m p h node, m a n d i b u l a r                                 + + +           + + +M+     + + + + + + +                                                 +M+    + + + + +                                                + +
L y m p h node, mesenteric                                          + + +           + + + M + M +   + + + + +                                                 + + ++   + + + +                                                + +
L y m p h n o d e , mediastinal                                     + M M           M M + M + M M M + M M I                                                   + +M+    + M M +                                                +M
    H e m a n g i o s a r c o m a ,m etastatic                                                                                                                       X
Spleen                                                              +    +     +    +    +   +   ++       +   +   +       + + +                       +       + + + ++    + ++                                                +       +
    Hemangiosarcoma                                                                                                                                                             X
Thymus                                                              +    +     +    +    +M+          +   + M M +                 +           +       +       +       +       + +             +       +       +       +M+

Integumentary              System
Ma~a~gla~                                                           +    +     +    +    +   +   +    +   +   +   +       +       +       +       +           +       +       + M +                   +       + M +                   +
Skin                                                                +    +     +    +    +       +    +           +                       +                   +       +                                                               +

Musculoskeletal System
Bone                                                                +    +     +    +    +   +   +    +   +   +   +       +       +           +       +       +       +       +       +       +       +       +       +       +       +

Nervous System
Brain                                                               +    +     +    +    +   +   +    +   +   +   +       +           +       +       +       +       +       +       +       +       +       +       +       +       +

Respiratory System
Larynx                                                              +    +     +    +    +   +   +    +M+         +       +       +           +       +       +       +       +       +       +       +       +       +       +       +
Lung                                                                +    +     +    +    +   +   +    + + +       +       +       +           +       +       +       +       +       +       +       +       +       +       +       +
   A l v e o l a r / b r o n c h i o l aar d e n o m a              X                            X                                X               X                XX
   A l v e o l a r / b r o n c h i o l acr a r c i n o m a                    X                                                           X                                                   X
   H e p a t o c e l l u l a rc a r c i n o m a , metastatic                                            X
Nose                                                                +    +     +    +    +   +   +    + +     +   +       +       +           +       +       +       +       +       +       +       +       +       +       +       +
Trachea                                                             +    +     +    +    +   +   +    + +     +   +       +       +           +       +       +       +       +       +       +       +       +       +       +       +

Special Senses System
Harderiangland                                                                                                                                                                                                                        +
  Adenoma                                                                                                                                                                                                                             X

Urinary System
Kidney                                                              +    +     +    +    +   +   +    +   +   +       +       +       +       +       +       +       +       +       +       +       +       +       +       +       +
Ureter                                                                                                                        +
Urethra                                                                                          ++                                           +
Urinary bladder                                                     + + + +              + + +        + + + + +                       +       +       +       + M + + +                               +       ++              +       +

Systemic Lesions
Multiple organs
  Lymphomamalignant                                                                                                                                                                           X
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TABLE C 2
Individual          Animal         Tumor         Pathology   of Male    Mice       in the 2-Year        Inhalation       Study       of Nickel   Oxide:    2 . 5 m g / m 3 (continued)

                                                                  7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number         of Days on Study                                   3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                  7 8 8 8 8 8 8 8 8 8 8 9 9 9 9 9

                                                                  3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3                                                                        Total
Carcass       ID Number                                           9 2 3 3 4 4 6 7 7 8 9 2 3 4 4 5                                                                     Tissues/
                                                                  5 9 0 3 0 5 2 5 7 6 6 6 5 3 8 5                                                                     Tumors

Hematopoietic S y s t e m
Bone marrow                                                       +    +   +   +    +   +   + +     +   +    +  +    +   +   +   +                                          66
L y m p h node                                                                                                  +                                                           20
L y m p h node, bronchial                                         +    + +     + +      +   +   + +     +    I +     + +     +   M                                          61
L y m p h node, mandibular                                        +    + +     + +      +   +   + +     +     + +    + +     +   +                                          63
L y m p h node, mesenteric                                        +    + +     + +      +   M   + +     +    + M     + +     +   +                                          56
L y m p h node, mediastinal                                       I    + M     + M      M   M   + M     +    M +     I M     M   M                                          21
    H e m a n g i o s a r c o m a , metastatic                                                                                                                               1
Spleen                                                            +    +   + + + + +            +   +   +    +   +   +   +   +   +                                          66
    Hemangiosarcoma                                                          X                                                                                               2
Thymus                                                            + I      + M + M +            +   + M + M +            +   +   +                                          52

Integumentary            System
M a m m a r y gland                                               +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                          63
Skin                                                                                                             +                                                          24

Musculoskeletal            System
Bone                                                              +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                          66

Nervous        System
Brain                                                             +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                          66

Respiratory System
Larynx                                                            +    + I     +    +   +   +   +   +   +    +   +   +   +   +   + .                                        64
Lung                                                              +    + +     +    +   +   +   +   +   +    +   +   +   +   +   +                                          66
   Alveolar/bronchiolar adenoma                                                                                                                                              6
   Alveolar/bronchiolar carcinoma                                      X            X           X            X       X                                                       9
   Hepatocellular carcinoma, metastatic                                                                                                                                      3
Nose                                                              +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                          66
Trachea                                                           +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                          66

Special Senses System
Harderian gland                                                                                                                                                               2
   Adenoma                                                                                                                                                                    2

Urinary System
Kidney                                                            +    +   +   +    +   +   +   +   +   +    +   +   +   +   +   +                                           66
Ureter                                                                                                                                                                        2
Urethra                                                                                                                                                                       5
Urinary bladder                                                   +    +   +   +    +   +   +   +   +    +   +   +   +   +   +   +                                           65

Systemic Lesions
Multiple organs                                                   +    +   +   +    +   +   +   +   +    +   +   +   +   +   +   +                                           66
   L y m p h o m a malignant                                                                                                 X                                                2
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Lesions in Male Mice                                                                                                                                                                                                                               239


TABLE  C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 m g / m 3

                                                                          0   1       1       2       2       2       3       4       4       4       4       4       4   5    5   5   5   5   5   5   5       5       5       6       6
Number of Days on Study                                                   2   3       9       2       4       7       1       2       2       3       5       8   9       0    2   3   4   5   7   7   8       8       9       0       1
                                                                          1   7       4       4       1       1       7       2       8       1       9       9       9   1    7   8   3   9   1   4   0       0       7       1       2

                                                                          4   5       4       5       4       5       5       5       5       5       5       5   5       5    4   5   4   5   5   5   5       5       5       5       5
Carcass ID Number                                                         9   0       8       4       9       2       5       2       2       3       2       1   1       4    9   0   8   4   4   3   0       3       4       2       6
                                                                          9   1       6       6       5       6       7       8       2       4       0       7       6   0    0   8   5   4   1   6   0       2       9       9       0

Alimentary System
Esophagus                                                                 +   +       +       +           +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +       +       +           +       +   +
Gallbladder                                                               M + M +                         + +             +A              +       +A   + +A                        +   +   +A  +       +       +       +           +       +   +
Intestine large, colon                                                    + +A    +                       +A              +A              +       +A   + +A                        +   +   + + +       +       +       +           +       +   +
Intestine large, rectum                                                   M+A     +                       +A              +A              +       + + M + A                        +   +   + +M+               +       +           +       +   +
Intestine large, c e c u m                                                +   +A              +           +A              +A              +       +A              +MA              +   +   + +M+               +       +M+                     +
Intestine small, d u o d e n u m                                          A   +A              +           +A              +A              +       +A              +AA              +   +   + + +       +       +       + +                 +   +
Intestine small, j e j u n u m                                            A   +A              +           +A              +A              +       +A              +AA              +   +   + + +       +       +       + +                 +   +
Intestine small, ileum                                                    A   +A              +           +A              +A              +       +A              +A  A            +   +   +M+         +       +       + +                 +   +
Liver                                                                     +   + +             +           + +             + +             +       + +             + + +            +   +   + + +       +       +       + +                 +   +
    Alveolar/bronchiolar carcinoma,
    metastatic, lung
   Hemangiosarcoma
   Hepatocellular c a r c i n o m a                                                                                                                       X                    X               X                                   XX
   Hepatocellular c a r c i n o m a , multiple                                                                                                                                                         X
   Hepatocellular a d e n o m a                                                                                                                   XX                                       X
   Hepatocholangiocarcinoma                                                                                                                                                        X
   Histiocytic s a r c o m a                                                                                                      X
Pancreas                                                                  +   +       +           +       +       +       +M              +       +       +       +       +    +   +   +   +   +   +   +       +           +       +       +   +
Salivary glands                                                           +   +       +           +       +       +       + +             +       +       +       +       +    +   +   +   +   +   +   +       +           +       +       +   +
Stomach, forestomach                                                      +   +       +           +       +       +       +A              +       +       +       +       +    +   +   +   +   +   +   +       +           +       +       +   +
   Squamous cell papilloma
Stomach, glandular                                                        +   +           +       +       +       +       +       A       +       +       +       +       +    +   +   +   +   +   +   +       +           +       +       +   +
Tooth
   Odontoma

Cardiovascular System
Heart                                                                     +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +           +       +       +       +   +
   Alveolar/bronchiolar carcinoma,
      metastatic, lung
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                                            X

Endocrine System
Adrenal cortex                                                            +       +       +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +           +       +       +       +   +
    Adenoma
Adrenal medulla                                                           + + + + + +M+                                                   +       +       +       +       +    +   + +     +   +   +       +       +       +       +       + +
Islets, pancreatic                                                        + + + + + + +M+                                                         +       +       +       +    +   + +     +   +   +       +       +       +       +       + +
Parathyroid gland                                                         M M M M M M M +                                                 +       +       +       +       +    +   +M+         +   +       +       +       +       +       +M
Pituitary gland                                                           + M + + + + + +                                                 +       +       +       +       +    +   + +     +   +   +       +       +       +       +       + +
Thyroid gland                                                             + + + + + + + +                                                 +       +       +       +       +    +   + +     +   +   +       +       +       +       +       + +
    Follicular cell, a d e n o m a

General Body System
Tissue NOS                                                                                                                +                       +                                +
   Alveolar/bronchiolar carciooma,
     metastatic, lung
   Hepatocholangiocarcinoma, metastatic, liver
   Sarcoma                                                                                                                X
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TABLE C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 m g / m 3 (continued)

                                                                         6   6   6    6       6       6       6       6       6       6       6       6       6    7      7   7   7   7   7   7   7   7       7       7       7
Number of Days on Study                                                  1   1   3    4       5       5       7       7       7       9       9       9       9       0   0   1   1   1   2   2   3   3       3       3       3
                                                                         5   6   5    1       9       9       0       0       6       7       8       8       8    4      6   3   4   6   6   6   6   7       7       7       7

                                                                         5   5   5    5       5       5       5       5       5       5       4       5       5    5      5   5   5   5   5   5   4   4       4       5       5
Carcass ID Number                                                        0   0   5    1       2       4       3       4       4       2       8       0   5        2      1   1   5   5   2   3   8   9       9       0       1
                                                                         7   9   9    1       7       7       1       3       5       5       2       2       3    4      2   3   8   4   3   7   4   1       8       6       0

Alimentary          System
Esophagus                                                                +   +    +   +       +           +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +       +           +       +   +
Gallbladder                                                              +   +    + A A A                         +       +       + +             +       + M M +                 + +     +   +   + +         +           +       + +
Intestine large, colon                                                   +   +    + +AA                           +       +       + +             +       + + + +                 + +     +   +   + +         +           +       + +
Intestine large, r e c t u m                                             +   +    + +AA                           +       +       +M+                     + + + +                 + +     +   +   +M+                     +       +M
Intestine large, c e c u m                                               +   +    + +A    +                       +       +       + +             +       + + + +                 + +     +   +   + +         +           +       + +
Intestine small, d u o d e n u m                                         +   +    + A A A                         +       +       + +             +       + + +M+                   +     +   +   + +         +           +       + +
Intestine small, j e j u n u m                                           +   +    + A A A                         +       +       + +             +       + + + +                 + +     +   +   + +         +           +       + +
Intestine small, ileum                                                   +   +    +A   AA                         +       +       + +             +       + + + +                 +M+         +   + +         +           +       + +
Liver                                                                    +   +    + + + +                         +       +       + +             +       + + + +                 + +     +   +   + +         +           +       + +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                                             X
   Hemangiosarcoma                                                                                                                                                        X                       X
   Hep.atocellular c a r c i n o m a                                                                                                                                      X                   X       X       X
   Hepatocellular c a r c i n o m a , multiple                                        X
   Hepatocellular a d ~ n o m a                                              X                                                                                                                X
   Hepatocholangiocarcinoma
   Histiocytic s a r c o m a
Pancreas                                                                 +   +    +   +           +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +       +           +       +   +
Salivary glands                                                          +   +    +   +           +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +       +           +       +   +
Stomach, f o r e s t o m a c h                                           +   +    +   +           +A              +       +       +       +       +       +       +       +   +   +   +   +   +   +   +       +           +       +   +
   S q u a m o u s cell papilloma
Stomach, glandular                                                       + + +        +           +A              ++              +       +       +       +       +       +   +   +   +   +   +   +   + + +                       +   +
Tooth
   Odontoma

Cardiovascular S y s t e m
Heart                                                                    +   +    +   +           +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +           +       +       +   +
  Alveolar/bronchiolar carcinoma,
    metastatic, lung =                                                                                                                                            X
  H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver

Endocrine System
Adrenal cortex                                                           +   +    +       +       +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +           +       +       +   +
     Adenoma                                                                                                                                                                            X
Adrenal medulla                                                          +   +    +       +       +       +       +       +       +       +       +       +       +       +   +   +   + +     +   +   +           +       +       +   +
Islets, pancreatic                                                       +   +    +       +       +       +       +       +       +       +       +       +       +       +   +   +   + +     +   +   +           +       +       +   +
Parathyroid gland                                                        +   +    +       +       +       +       +       +M+                     +M+                     +   +   +   +   +   +   +       +       +       +       +   +
Pituitary gland                                                          +   +M+                  +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +           +       +       +   +
T h y r o i d gland                                                      +   + +          +       +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +           +       +       +   +
     Follicular cell, a d e n o m a

General Body System
Tissue NOS                                                                                                                                                        +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                                             X
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
   Sarcoma
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Lesions        in Male          Mice                                                                                                                                                                                                   241



TABLE         C2
Individual            Animal           Tumor           Pathology         of Male       Mice                in the          2-Year       Inhalation                          Study        of Nickel      Oxide:    5 mg/m   3 (continued)

                                                                              7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7•




Number          of Days on Study                                              3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                              7 7 7 7 7 8 8 8 8 9 9 9 9 9 9 9 9 9 9

                                                                              5    5       5       5       5       4   4   5   5    4   4       4       4       4       5   5    5   5    5                                   Total
Carcass         ID Number                                                     1 3 4 5 5 8 8 3 3 8 8 8 9 9 0 0 4 5                                                                         5                                Tissues/
                                                                              9 3 2 0 5 3 9 0 9 1 7 8 4 6 3 5 8 2                                                                         6                                Tumors

Alimentary System
Esophagus                                                                     +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +    +    +    +                            69
Gallbladder                                                                   +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +    +    +    +                            58
Intestine large, c o l o n                                                    +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +    +    +    +                            62
Intestine large, rectum                                                       +    +           + M + M M +                          +   +           + M M M + M M +                            M                                 48
Intestine large, c e c u m                                                    +    +           + + + + +                       +    +   +           + + + + + + +                              +    +                            60
Intestine small, d u o d e n u m                                              +    +           + + + + +                       +    +   +           + + + + ~ + +                              +    +                            58
Intestine small, j e j u n u m                                                +    +           + + + + +                       +    +   +           + + + + + + +                              +    +                            59
Intestine small, ileum                                                        +    +           + + + + +                       +    +   +           + + + + + + +                              +    +                            57
Liver                                                                         +    +           + + + + +                       +    +   +           + + + + + + +                              +    +                            69
    Alveolar/bronchiolar carcinoma,
      metastatic, lung                                                                                                                                                                                                             1
    Hemangiosarcoma                                                                                                                                                                                                               2
    Hepatocellular carcinoma                                                       X                                                X           X                                              X                                 13
    H e p a t o c e l l u l a r c a r c i n o m a , multiple                                                                                                                                                                      2
    Hepatocellular adenoma                                                    XXX                                                               X                                                                                 9
    Hepatocholangiocarcinoma                                                                                                                                                                                                      1
    Histiocytic s a r c o m a                                                                                                                                                                                                     1
Pancreas                                                                      +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +     +   +    +                            68
Saliva~ glands                                                                +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +     +   +    +                            69
Stomach, forestomach                                                          +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +     +   +    +                            67
    S q u a m o u s cell p a p i l l o m a                                                                             X                                                                                                          1
Stomach, glandular                                                            +    +           +       +       +       +   +   +    +   +           +       +       +       +    +   +     +   +    +                            67
Tooth                                                                                                          +                                                                                                                  1
    Odontoma                                                                                                   X                                                                                                                  1

Cardiovascular                 System
Heart                                                                         +    +           +       +       +       +   +   +    +    +          +       +       +       +    +   +     +   +    +                            69
   Alveolar/bronchiolar carcinoma,
     metastatic, l u n g                                                                                                                                                                                                           |
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                                                                                             1

Endocrine System
A d r e n a l cortex                                                           +       +       +       +       +       +   +   +    +       +       +       +       +       +    +   +     +   +    +                            69
     Adenoma                                                                                                                                                                                                                      1
A d r e n a l medulla                                                          +       +       +       +       +       +   +   +    +    +          +       +       +       +    +   +     +   +    +                            68
Islets, p a n c r e a t i c                                                    +       +       +       +       +       +   +   +    +    +          +       +       +       +    +   +     +   +    +                            68
Parathyroid gland                                                              +       + +M+                           +   +   +    +       +       +       +       +       +    +   +     +   +    +                            57
Pituitary g l a n d                                                            +       + I +                   +       +   +   +    +       +       +       +       +       +    +   +     +   +    +                            66
Thyroid gland                                                                  +       + + +                   +       +   +   +    +       +       +       +       +       +    +   +     +   +    +                            69
     Follicular cell, a d e n o m a                                                                                                                                                            XX                                 2

General Body System
Tissue N O S
   Alveolar/bronchiolar carcinoma,
     metastatic, lung
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
   Sarcoma
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TABLE C2
Individual            Animal           Tumor          Pathology               of Male       Mice       in the 2-Year        Inhalation                Study                   of Nickel                   Oxide:                  5 m g / m 3 (continue0)

                                                                                   0    1    1     2    2   2   3   4   4   4    4    4       4       5       5       5       5       5       5       5       5       5       5       6       6
Number          of Days on Study                                                   2 3 9 2 4 7 1 2 2 3 5 8 9 0 2 3 4 5 7 7 8 8 9 0 1
                                                                                   1 7 4 4 1 1 7 2 8 1 9 9 9 1 7 8 3 9 1 4 0 0 7 1 2

                                                                                   4    5    4     5    4   5   5   5   5   5    5    5       5       5       4       5       4       5       5       5       5       5       5       5       5
Carcass ID Number                                                                  9    0    8     4    9   2   5   2   2   3    2    1       1       4       9       0       8       4       4       3       0       3       4       2       6
                                                                                   9    1    6     6    5   6   7   8   2   4    0    7       6       0       0       8       5       4       1       6       0       2       9       9       0

Genital System
Epididymis                                                                         +    +    +M         +   +   +   +   +    +    +   +       +       +           +       +       +       +       +       + +             +       + +             +
Penis                                                                                                                   +                     +                                                           ++                      ++
Preputial gland                                                                    +    +    +     +    +   +   +   +   +    +    +   +       +       +           +       +       +       +       +       + +             +       + +             +
Prostate                                                                           +    +    + M + M M +                +    +    +   +       +       +       +           +       +       +       +       +       +       +       +       +       +
Seminal vesicle                                                                    +    +    + + + + + +                +    +    +   +       +       +       +           +       +       +       +       +       +       +       +       +       +
Testes                                                                             +    +    + + + + + +                +    +    +   +       +       +       +           +       +       +       +       +       +       +       +       +       +

Hematopoietic System
Bone marrow                                                                        +    +    +     +    +   +   + A     + +       +   +       + +                 +       +       +       +       +       + +             +       +       +       +
Lymph node                                                                                                              ++                    ++                          +                               ++                                      +
    Axillary, alveolar/bronchiolar
      c a r c i n o m a , metastatic, l u n g
Lymph node, bronchial                                                              M + M + M + M A                      M+
                                                                                                                  + + + + +       +   +       +       +                                                   +       +       +       +       +       !
    H e p a t o c h o l a n g i o c a r c i n o m ametastatic,
                                                        ,      liver                                             X
L y m p h node, mandibular                                                         + +M+    + + +A   MM+   + + +M+    + + +                                                                               +       +       +       +       +M
L y m p h node, mesenteric                                                         + + +M+    + +M+    +M+   +M+    + + + +                                                                               +       +       +       +       + +
    H e p a t o c h o l a n g i o c a r c i n o m ametastatic,
                                                         ,     liver                                             X
L y m p h node, mediastinal                                                        M + M M M M M +   + M M + M M + M + M +                                                                                + M + M M M
Spleen                                                                             ++   + + + ++   + + + + + + + + + + + +                                                                                + + + + + +
    Hemangioma
    Hemangiosarcoma                                                                                         X
    Histiocytics a r c o m a                                                                                       X
Thymus                                                                             ++        +M+            +   + + +        +    +   +       +M+                         +       + M M +                         +       +I              +       +
    A l v e o l a r / b r o n c h i o l a cr a r c i n o m a ,
      metastatic, l u n g
    H e p a t o c h o l a n g i o c a r c i n o m ametastatic,
                                                         ,     liver                                                                                          X
    H i s t i o c y t i cs a r c o m a                                                                              X

Integumentary               System
Ma~arygla~                                                                         +    +    +     +    +   +   +   +   +    +    + +         +       +           +       +       +       +       +       +       + + + + +
Skin                                                                                                            +                 ++                  +                           +                               + + + + +

Musculoskeletal               System
Bone                                                                               +    +    +     +    +   +   +   +   +    +    +   +       +           +       +       +       +       +       +       +       +       +       +       + I

Nervous System
B~in                                                                               +    +     +    +    +   +   +   +   +    +    +   +       +           +       +       +       +       +       +       +       +       +       +       +       +

Respiratory System
Larynx                                                                             +    +     +    +    +   +   +   +   +    +    +   +           +       +       +       +       +       +       +       +       +       +       +       ÷       +
Lung                                                                               +    +     +    +    +   +   +   +   +    +    +   +           +       +       +       +       +       +       +       +       +       +       +       +       +
   A l v e o l a r / b r o n c h i o l a ar d e n o m a                                                                               X
   A l v e o l a r / b r o n c h i o l acr a r c i n o m a                                                                                                                                        X
   A l v e o l a r / b r o n c h i o l a cr a r c i n o m a , multiple
   H e p a t o c e l l u l a rc a r c i n o m a , m e t a s t a t i c                                                                                                                     X               X
   H e p a t o c h o l a n g i o c a r c i n o m ametastatic,
                                                        ,             liver                                                                                       X
   H i s t i o c y t i cs a r c o m a                                                                               X
Nose                                                                               +    +     +    +    +   ++A         ÷       +A        +       +       +       + + +                   +       +       +       +       +       +       +.+
Trachea                                                                            +    +     +    +    +   + +     +   +       + +       +       +       +       + + +                   +       +       +       +       +       +       + •
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Lesions in Male Mice                                                                                                                                                                                                            243


TABLE C2
Individual Animal Tumor Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 mg/m 3 (continued)

                                                       6   6       6       6       6       6       6       6       6       6       6       6       6   7    7   7   7   7   7   7   7       7       7       7       7
Number of Days on Study                                1   1       3       4       5       5       7       7       7       9       9       9       9   0    0   1   1   1   2   2   3       3       3       3       3
                                                       5   6       5       1       9       9       0       0       6       7       8       8       8   4    6   3   4   6   6   6   6       7       7       7       7

                                                       5   5       5       5       5       5       5       5       5       5       4       5   5       5    5   5   5   5   5   5   4       4       4       5       5
Carcass ID Number                                      0   0       5       1       2       4       3       4       4       2       8   0       5       2    1   1   5   5   2   3   8       9       9       0       1
                                                       7   9       9       1       7       7       1       3       5       5       2       2       3   4    2   2   8   4   3   7   4       1       8       6       0

Genital System
Epididymis                                             +   +       +       +           +       +.+             +       + + +                   +       +    +   +   +   +   +   +   +       +        +          +       +   +
Penis                                                              +                   +               +               + + +                                                        +
Preputial gland                                        +   +       +       +           +       +       +       +       + + +                   +       +    +   +   +   +   +   +   +       +        +          +       +   +
Prostate                                               +   +       +       +           +       +       +       +       + + +                   +       +    +   +   +   +   +   +   +       +        +          +       +   +
Seminal vesicle                                        +   +       +       +           +       +       +       +       + + +                   +       +    +   +   +   +   +   +   +       +        +          +       +   +
Testes                                                 +   +       +       +           +       +       +       +       + + +                   +       +    +   +   +   +   +   +   +       +        +          +       +   +


Hematopoietic S y s t e m
Bone m a r r o w                                       + +         +       +           +       +       +       +       +       +       + + +                +   +   +   +   +   +   +       +        +          +       +   +
L y m p h node                                         ++                                              +                               + + +                        +
    Axillary, alveolar/bronchiolar
      carcinoma, metastatic, lung                                                                                                                      X
L y m p h node, bronchial                              +   +       +       +           +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +       +           +       +       +   +
    Hepatocholangiocarcinoma, metastatic, liver
L y m p h node, mandibular                             +   +       +           + +             +       +       +       +       +       +       +       +    + M M +         +   +   +       +           +       +       +   +
L y m p h node, mesenteric                             +   +       +           +M+                     +       +       +       +       +       +       +    + + + +         +   +   +       +           +       +       +   +
    Hepatocholangiocarcinoma, metastatic, liver
L y m p h node, mediastinal                            +   +       +           + M + M +                               +M+                     + M + M I                M M + M + M I                                   MM
Spleen                                                 +   +       +           + + + + +                               + +             +       + + + +              +   + + + + + +                             +       + +
   Hemangioma                                                                                                                                          X
   Hemangiosarcoma
   Histiocytic s a r c o m a
Thymus                                                 +   +M+                         +       +       +       +MM+                            +       +    +   +   +   +   +   +M+                     +       +       +   +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                                  X
    Hepatocholangiocarcinoma, metastatic, liver
    Histiocytic s a r c o m a

Integumentary      System
Mammarygland                                           +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +           +-+             +       +   +
Skin                                                   +   +           +               +               +                               +                        +           +   +   +           + +

Musculoskeletal       System
Bone                                                   +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +           +       +       +       +   +

Nervous      System
B~in                                                   +   +           +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +   +           +       +       +       +   +

Respiratory System
Larynx                                                 +       +       +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +       +       +       +       +M
Lung                                                   +       +       +       +       +       +       +       +       +       +       +       +       +    +   +   +   +   +   +       +       +       +       +       + +
   Alveolar/bronchiolar a d e n o m a                  X                       X                       X                       X                                X                                       X
   Alveolar/bronchiolar c a r c i n o m a                                                                                                              X                                                X
   Alveolar/bronchiolar c a r c i n o m a , multiple                                                                           X
   Hepatocellular carcinoma, metastatic                                        X                                                                                                                X
   Hepatocholangiocarcinoma, metastatic, liver
   Histiocytic s a r c o m a
Nose
Trachea
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TABLE         C2
Individual           Animal          Tumor          Pathology             of Male       Mice             in the          2-Year       Inhalation                      Study       of Nickel     Oxide:    5 mg/m   3 (continued)

                                                                               7    7    7       7       7       7   7   7   7    7   7   7       7       7       7   7   7   7    7
Number          of Days on Study                                               3 3 3 3 3 3 3 3                               3    3   3   3 3 3 3 3 3 3 3
                                                                               7 7 7 7 7 8 8 8                               8    9   9   9 9 9 9 9 9 9 9

                                                                               5    5    5       5       5       4   4   5   5    4   4   4       4       4       5   5   5   5    5                                     Total
Carcass        ID Number                                                       1 3 4 5 5 8 8 3 3 8 8 8 9 9 0 0 4 5 5                                                                                               Tissues/
                                                                               9 3 2 0 5 3 9 0 9 1 7 8 4 6 3 5 8 2 6                                                                                               Tumors

Genial System
Epid~ymis                                                                      +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              68
~nis                                                                                                                                                                                                                       13
P~putialgland                                                                   +   +        +       +       +       +   +   +    +   +       +       +       +       + +     +    +    +   +                              69
Prosta~                                                                         +   +        +       +       +       +   +   +    +   +       +       +       +       + I     +    +    +   +                              65
Semi~lvesicle                                                                   +   +        +       +       +       +   +   +    +   +       +       +       +       + +     +    +    +   +                              69
Tests                                                                          .+   +        +       +       +       +   +   +    +   +       +       +       +       + +     +    +    +   +                              69

Hematopoietic                 System
Bone m a r r o w                                                               +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              68
Lymph node                                                                                                                                                                         +                                       16
    Axillary, a l v e o l a r / b r o n c h i o l a r
      c a r c i n o m a , metastatic, lung                                                                                                                                                                                  1
Lymph node, bronchial                                                          +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              62
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                                                                                     1
Lymph node, mandibular                                                         +    +M               +       +       +   +   +    +   +       +       +       +       +   + +      +    +   +                              60
L y m p h node, mesenteric                                                     +    + +              +       +       +   +   +    +   +       +       +       +       +   M +      +    +   +                              63
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                                                                                     1
L y m p h node, mediastinal                                                    +MI                   I M + M M M I                        M M M M M M + I                                   +                              25
Spleen                                                                         + +           +       + + + + + +                      +   + + + + + + +                                 +   +                              69
    Hemangioma                                                                                                                                                                                                              1
    Hemangiosarcoma                                                                                                                                                                                                          1
    Histiocytic s a r c o m a                                                                                                                                                                                               1
Thymus                                                                         +I        M+                  +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              58
    Alveolar/bronchiolar carcinoma,
      metastatic, lung
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
    Histiocytic s a r c o m a

Integumentary              ~ystem
Mammary gland                                                                  +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              69
Skin                                                                                                                         +                +                       +   +        +                                       27

Musculoskeletal              System
Bone                                                                           +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              68

Nervous         System
Brain                                                                          +    +        +       +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              69

Respiratory              System
Larynx                                                                         M +       +           +       +       +   +   +    +   +       +       +       +       +   +   I    +    +   +                              66
Lung                                                                           + +       +           +       +       +   +   +    +   +       +       +       +       +   +   +    +    +   +                              69
   Alveolar/bronchiolar adenoma                                                          X                           X                                        X                    X                                       11
   Alveolar/bronchiolar carcinoma                                                        X                               X                                                                                                  5
   A l v e o l a r / b r o n c h i o l a r c a r c i n o m a , multiple                                                                                                                                                     1
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                                                                                                                               4
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                                                                                      1
   Histiocytic s a r c o m a                                                                                                                                                                                                1
Nose                                                                           +    +        + + +                   +   +   +    +   +       +       +       +       +   +   +     +   +   +                              67
Trachea                                                                        +    +        + M +                   +   +   +    +   +       +       +       +       +   +   +     +   +   +                              68
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Lesions in Male Mice                                                                                                                 245


TABLE C2
Individual   Animal   Tumor   Pathology   of Male   Mice in the 2-Year   Inhalation    Study of Nickel Oxide:   5 m g / m 3 (continued)

                                               0 1 1 2 2 2 3 4 4 4 4 4 4 5 5 5 5 5 5 5 5 5 5 6 6
Number of Days on Study                        2 3 9 2 4 7 1 2 2 3 5 8 9 0 2 3 4 5 7 7 8 8 9 0 1
                                               1 7 4 4 1 1 7 2 8 1 9 9 9 1 7 8 3 9 1 4 0 0 7 1 2

                                               4 5 4 5 4 5 5 5 5 5 5 5 5 5 4 5 4 5 5 5 5 5 5 5 5
Carcass ID Number                              9 0 8 4 9 2 5 2 2 3 2 1 1 4 9 0 8 4 4 3 0 3 4 2 6
                                               9 1 6 6 5 6 7 8 2 4 0 7 6 0 0 8 5 4 1 6 0 2 9 9 0

Special Senses System
Harderian gland
  Adenoma

Urinary System
Kidney                                         + + + + + + + A + + + + + + + + + + + + + +                      + +   +
Ureter                                                                   +         +                            +
Urethra                                                  +           +       +     ++
Urinary bladder                                + +A  + + + +A  + + + + + + + + + + + + + +                      + +   +

Systemic Lesions
Multiple organs
  Histiocytic sarcoma                                              X
  Lympboma malignant                                X
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TABLE C2
Individual   Animal   Tumor   Pathology   of Male Mice in the 2-Year Inhalation   Study of Nickel Oxide:    5 m g / m 3 (continued)

                                              6 6 6 6 6 6 6 6 6 6 6 6 6 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                       1 1 3 4 5 5 7 7 7 9 9 9 9 0 0 1 1 1 2 2 3 3 3 3 3
                                              5 6 5 1 9 9 0 0 6 7 8 8 8 4 6 3 4 6 6 6 6 7 7 7 7

                                              5 5 5 5 5 5 5 5 5 5 4 5 5 5 5 5 5 5 5 5 4 4 4 5 5
Carcass ID Number                             0 0 5 1 2 4 3 4 4 2 8 0 5 2 1 1 5 5 2 3 8 9 9 0 1
                                              7 9 9 1 7 7 1 3 5 5 2 2 3 4 2 3 8 4 3 7 4 1 8 6 0

Special Senses System
Harderian gland                                                                          +
   Adenoma                                                                               X

Urinary System
Kidney                                         + + + + + + + + + + + + + + + + +             + +    + +   + +   +   +
Ureter                                                               +
Urethra                                          ++                        +                    +
Urinary bladder                                +   + + + + A + + + + + + +        + +   + + +   + +   + +   +   + +

Systemic Lesions
Multiple organs
  Histiocytic sarcoma
  Lymphoma malignant                           X            X              X
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Lesions in Male Mice                                                                                                                           247


TABLE C2
Individual Animal T u m o r Pathology of Male Mice in the 2-Year Inhalation Study of Nickel Oxide:                        5 m g / m 3 (continued)
                                         7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                  3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                         7 7 7 7 7 8 8 8 8 9 9 9 9 9 9 9 9 9 9

                                         5 5 5 5 5 4 4 5 5 4 4 4 4 4 5 5 5 5 5                                                         Total
Carcass ID Number                        1 3 4 5 5 8 8 3 3 8 8 8 9 9 0   Q 455                                                      Tissues/
                                         9 3 2 0 5 3 9 0 9 1 7 8 4 6 3 5 8 2 6                                                      Tumors

Special Senses System
Harderian gland                               +       +                                                                                    3
  Adenoma                                             X                                                                                    2

Urinary System
Kidney                                    +   +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +                      68
Ureter                                                                                                                                     4
Urethra                                                                                   +    +   +                                      12
Urinary bladder                           +   +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +                      66

Systemic Lesions
Multiple organs                           +   +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +                      69
  Histiocytic sarcoma                                                                                                                      1
  Lymphoma malignant                                                                                       X                               5
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TABLE C 3
Statistical Analysis of P r i m a r y N e o p l a s m s i n M a l e Mice in the 2-Year Inhalation Study of Nickel Oxide


                                                                 0 mg/m~      1.25 mg/m ~      2.5 mg/m~          5 mg/m3


Adrenal Cortex: Adenoma
Overall ratea                                                   4/57 (7%)      0/67 (0%)       1/65 (2%)         1/69 (1%)
Adjusted raateb                                                 21.1%          0.0%            3.6%              3.7%
Terminal rate c                                                 4/19 (21%)     0/23 (0%)       1/28 (4%)         0/23 (0%)
First incidence (days)                                          737 (T)        _e              737 (T)           716
Life table testd                                                P =0.122N      P=0.039N        P=0.079N          P=0.120N
Logistic regression testd                                       P=0.113N       P=0.039N        P=0.079N          P=0.101N
Cochran-Armita~e testd                                          P=0.137N
Fisher exact test~                                                             P=0.042N        P=0,144N          P=0.129N

Liver: H e p a t o c e l l u l a r Adenoma
Overall rate                                                    8/57 (14%)     5/67 (7%)       13/66 (20%)       9/69 (13%)
Adjusted rate                                                   34.9%          18.0%           32.6%             26.4%
Terminal rate                                                   5/19 (26%)     3/23 (13%)      7/29 (24%)        4/23 (17%)
First incidence (days)                                          603            626             482               431
Life table test                                                 P=0.432        P=0.167N        P=0.491           P=0.522N
Logidtic regression test                                        P=0.426        P=0.154N        P=0.364           P=0.520N
Cochran-Armitage test                                           P=0.404
Fisher exact test                                                              P=0.185N         P=0.278           P=0.537N

Liver: H e p a t o c e l l u l a r C a r c i n o m a
Overall rate                                                    6/57 (11%)     16/67 (24%)      11/66 (17%)       15/69 (22%)
Adjusted rate                                                   19.0%          37.8%            24.9%             39.5%
Terminal rate                                                   1/19 (5%)      2/23 (9%)        3/29 (10%)        5/23 (22%)
First incidence (days)                                          392            341              539               459
Life table test                                                 P=0.212        P=0.073          P=0.379           P=0.095
Logistic regression test                                        P=0.155        P=0.044          P=0.233           P=0.077
Cochran-Armitage test                                           P=0. t70
Fisher exact test                                                              P=0.043          P=0.236           P=0.073

Liver: Hepatocellular Adenoma or C a r c i n o m a
Overall rate                                                    12/57 (21%)    20/67 (30%)      23/66 (35%)       20/69 (29%)
Adjusted rate                                                   41.4%          46.9%            50.3%             49.3%
Terminal rate                                                   5/19 (26%)     4/23 (17%)       10/29 (34%)       7/23 (30%)
First incidence (days)                                          392            341              482               431
Life table test                                                 P=0.308        P=0.247          P=0.240           P=0.246
Logistic regression test                                        P=0.237        P=0.181          P=0.092           P=0.216
Cochran-Armitage test                                           P=0.246
Fisher exact test                                                              P=0.182          P=0.067           P =0.209

Lung: A i v e o l a r / b r o n c h i o l a r A d e n o m a
Overall rate                                                    7/57 (12%)     5/67 (7%)        6/66 (9%)         11/69 (16%)
Adjusted rate                                                   30.2 %         16.2%            18.3%             33.0%
Terminal rate                                                   4/19 (21%)     2/23 (9%)        4/29 (14%)        5/23 (22%)
First incidence (days)                                          599            512              676               489
Life table test                                                 P=0.206        P=0.259N         P=0.221N          P=0.409
Logistic regression test                                        P=0.196        P =0.255N        P=0.242N          P=0.403
Cochran-Armitage test                                           P = 0.179
Fisher exact test                                                              P=0.274N         P =0.388N         P=0.374
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Lesions in Male Mice                                                                                                                                                                     249



TABLE C 3
Statistical Analysis of Primary                        N e o p l a s m s i n M a l e M i c e i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                                     0 mg/m 3                1.25 mg/m ~              2.5 mg/m ~              5 mg/m ~


Lung: A l v e o l a r / b r o n c h i o l a r C a r c i n o m a
Overall rate                                                                        4/57 (7 %)                 10/67 (15%)             9/66 (14%)             6/69 (9%)
Adjusted rate                                                                       16.9%                      32.4%                   27.3%                  19.6%
Terminal rate                                                                       2/19 (11%)                 5/23 (22%)              7/29 (24%)             3/23 (13%)
First incidence (days)                                                              559                        616                     483                    571
Life table test                                                                     P=0.449N                   P=0.160                 P=0.321                P=0.520
Logistic regression test                                                            P=0.444N                   P=0.141                 P=0.263                P=0.520
Cochran-Armitage test                                                               P=0.485N
Fisher exact test                                                                                              P=0.135                 P=0.186                P = 0.497

Lung: A l v e o l a r / b r o n c h i o l a r A d e n o m a or C a r c i n o m a
Overall rate                                                                        9/57 (16%)                 14/67 (21%)             15/66 (23%)            14/69 (20%)
Adjusted rate                                                                       36.3%                      41.4%                   43.6%                  39.7%
Terminal rate                                                                       5/19 (26%)                 6/23 (26%)              11/29 (38%)            6/23 (26%)
First incidence (days)                                                              559                        512                     483                    489
Life table test "                                                                   P=0.404                    P=0.355                 P=0.467                P=0.381
Logistic regression test                                                            P=0.393                    P=0.322                 P=0.380                P=0.364
Cochran-Armitage test                                                               P=0.353
Fisher exact test                                                                                              P=0.311                 P=0.230                P=0.339

All O r g a n s : H e m a n g i o s a r c o m a
Overall rate                                                                        3/57 (5%)                  2/67 (3%)               2/66 (3%)              3/69 (4%)
Adjusted rate                                                                       10.3 %                     5.7%                    6.9%                   8.4%
Terminal rate                                                                       1/19 (5%)                  0/23 (0%)               2/29 (7%)              0/23 (0%)
First incidence (days)                                                              559                        604                     737 (T)                271
Life table test                                                                     P=0.545N                   P=0.404N                P=0.343N               P=0.552N
Logistic regression test                                                            P=0.554N                   P=0.425N                P=0.385N               P=0.572N
Cochran-Armitage test                                                               P=0.559N
Fisher exact test                                                                                              P=0.423N                P=0.431N               P=0.565N

All O r g a n s : H e m a n g i o s a r c o m a or H e m a n g i o m a
Overall rate                                                                         3/57 (5 %)                2/67 (3%)               2/66 (3%)              4/69 (6%)
Adjusted rate                                                                        10.3 %                    5.7%                    6.9%                   11.1%
Terminal rate                                                                        1/19 (5%)                 0/23 (0%)               2/29 (7%)              0/23 (0%)
First incidence (days)                                                               559                       604                     737 (T)                271
Life table test                                                                      P=0.453                   P=0.404N                P=0.343N               P=0.634
Logistic regression test                                                             P=0.435                   P=0.425N                P=0.385N               P=0.604
Cochran-Armitage test                                                                P=0.429
Fisher exact test                                                                                              P=0.423N                 P=0.431N               P=0.606

All O r g a n s : M a l i g n a n t L y m p h o m a
Overall rate                                                                         2/57 (4%)                 2/67 (3%)                2/66 (3%)              5/69 (7%)
Adjusted rate                                                                        6.5 %                     4.5%                     6.9%                   12.8%
Terminal rate                                                                        0/19 (0%)                 0/23 (0%)                2/29 (7%)              1/23 (4%)
First incidence (days)                                                               590                       501                      737 (T)                137
Life table test                                                                      P=0.177                   P=0.626N                 P=0.558N               P=0.346
Logistic regression test                                                             P=0.156                   P=0.635N                 P=0.594N               P=0.299
Cochran-Armitage test                                                                P=0.156
Fisher exact test                                                                                              P=0.627N                 P=0.633N               P=0.306
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TABLE C 3
Statistical Analysis of P r i m a r y   N e o p l a s m s in Male Mice in t h e 2 - Y e a r   Inhalation Study o f N i c k e l O x i d e (continued)

                                                                  0 mg/m3              1.25 m g / m 3        2.5 m g / m 3         5 mg/m 3



All Organs: Benign Neoplasms
Overall rate                                                     19/57 (33 %)           17/67 (25%)           26/66 (39%)          26/69 (38%)
Adjusted rate                                                    71.4%                  50.0%                 61.9%                67.1%
Terminal rate                                                    12/19 (63%)            8/23 (35%)            15/29 (52%)          12/23 (52%)
First incidence (days)                                           599                    480                   482                  431
Life table test                                                  P=0.221                P=0.183N              P=0.458N             P=0.434
Logistic regression test                                         P=0.190                P=0.176N              P=0.495              P=0.416
Cochran-Armitage test                                            P=0.169
Fisher exact test                                                                       P=0.219N              P=0.306              P=0.375

All Organs: Malignant Neoplasms
Overall rate                                                     15/57 (26%)            28/67 (42%)           23/66 (35%)          30/69 (43%)
Adjusted rate                                                    43.3%                  60.7%                 54.0%                61.9%
Terminal rate                                                    4/19 (21%)             7/23 (30%)            12/29 (41%)          8/23 (35%)
First incidence (days)                                           392                    341                   483                  137
Life table test                                                  P=0.136                P=0.111               P=0.471              P=0.080
Logistic regression test                                         P=0,070                P=0,039               P=0,267              P=0.035
Cochran-Armitage test                                            P=0.072
Fisher exact test                                                                       P=0.053               P=0,205              P=0.034

All Organs: Benign or Malignant Neoplasms
Overall rate                                                     30/57 (53%)            37/67 (55%)           40/66 (61%)          44/69 (64%)
Adjusted rate                                                    84.1%                  76.0 %                85.8 %               81.5 %
Terminal rate                                                    14/19 (74%)            12/23 (52%)           23/29 (79%)          14/23 (61%)
First incidence (days)                                           392                    341                   482                  137
Life table test                                                  P=0.214                P=0.538               P=0.392N             P=0.258
Logistic regression test                                         P=0.110                P=0.455               P=0.434              P=0.145
Cochran-Armitage test                                            P=0.099
Fisher exact test                                                                        P=0.457              P=0,239              P=0,140


(T)Terminal sacrifice
a Number of neoplasm-bearing animals/number of animals examined. Denominator is number of animals examined microscopically for adrenal gland, liver,
   and lung; for other tissues, denominator is number of animals necropsied.
b Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
c
   Observed incidence at terminal kill
d Beneath the control incidence are the P values associated with the trend test. Beneath the dosed group incidence are the P values corresponding to
   pairwise comparisons between the controls and that dosed group. The life table test regards neoplasms in animals dying prior to terminal kill as being
   (directly or indirectly) the cause of death. The logistic regression test regards these lesions as nonfatal. The Cochran-Armitage and Fisher exact tests
   compare directly the overall incidence rates, For all tests, a negative trend or a lower incidence in a dose group is indicated by N.
   Not applicable; no neoplasms in animal group
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Lesions in Male Mice                                                                                                                                          251



TABLE C 4 a
Historical Incidence of Alveolar/bronchiolar                          Neoplasms in Untreated          Male B6C3F1 Mice a


                                                                                          Incidence in C o n t r o l s
     Study                                               Adenoma                                Carcinoma                A d e n o m a or C a r c i n o m a



Historical I n c i d e n c e at Lovelace I n h a l a t i o n Toxicology R e s e a r c h Institute

Nickel Oxide                                                7/57                                     4/57                               9/57
Nickel Subsulfide                                           6/61                                     7/61                              13/61
Nickel Sulfate Hexahydrate                                  5/61                                     9/61                              13/61
Talc                                                        6/45                                     7/45                              12/45


Overall Historical I n c i d e n c e in I n h a l a t i o n Studies

Total                                                 141/952 (14.8%)                           75/952 (7.9%)                   205/952 (21.5%)
Standard deviation                                         7.0 %                                    5.7 %                            8.0%
Range                                                     6%-36%                                   0%-16%                          10%-42%


Overall Historical I n c i d e n c e in Feed Studies

Total                                                194/1,319 (14.7%)                         64/1,319 (4.9%)                 249/1,319 (18.9%)
Standard deviation                                         6.4%                                     3.9%                             7.6%
Range                                                    4%-28%                                    0%-14%                           4%-32%


a Data as of 17 June 1994
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TABLE C 4 b
H i s t o r i c a l I n c i d e n c e o f H e p a t o c e l l u l a r N e o p i g s m s in U n t r e a t e d M a l e B6C3F~ M i c e a


                                                                                                 Incidence in Controls
      Study                                                 Adenoma                                      Carcinoma                      Adenoma or Carcinoma



Historical Incidence at Lovelace Inhalation Toxicology Research Institute

Nickel Oxide                                                     8/57                                          6/57                             12/57
Nickel Subsulfide                                               13/61                                         11/61                             24/61
Nickel Sulfate Hexahydrate                                      18/61                                         11/61                             27/61
Talc                                                             3/45                                          6/45                              9/45


Overall Historical Incidence in Inhalation Studies

Total                                                    201/952 (21.1%)                               185/952 (19.4%)                      360/952 (37.8%)
Standard deviation                                            11.7%                                          5.8%                                12.6%
Range                                                        4 %-46 %                                      9 %-29 %                            11%-60 %


Overall Historical Incidence in Feed Studies

Total                                                   344/1,316 (26.1%)                             220/1,316 (16.7%)                    509/1,316 (38.7%)
Standard deviation                                            13.2 %                                         7.2 %                               13.9 %
Range                                                       4 %-60%                                        3 %-29%                             10 %-68 %


a Data as of 17 June 1994
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Lesions in Male Mice                                                                                                                             253


TABLE C 5
Summary of the Incidence of N o n n e o p l a s t i c L e s i o n s in M a l e Mice in the 2-Year Inhalation Study o f N i c k e l O x i d e a


                                                0 mg/m 3                1.25 mg/m 3               2.5 mg/m 3                  5 mg/m 3


Disposition Summary
Animals initially in study                         78                        77                           76                        79
7-Month interim evaluation                             5                      5                            5                         5
15-Month interim evaluation                            5                      5                            5                         5
Early Deaths
  Accidental deaths b                              10
  Moribund                                         23                        26                           26                        29
  Natural deaths                                   15                        18                           ll                        17
Survivors
  Terminal sacrifice                               19                        23                           29                        23
Missexed                                            1

Animals examined microscopically                   67                        77                           76                        79


7-Month Interim Evaluation
Genital System
Preputial gland                                                          (3)                        (1)                       (2)
  Atrophy                                                                  1 (33%)
  Duct, concretion                                                                                   1 (100%)                  2 (100%)
  Duct, cctasia                                                            3 (100%)


Hematopoietic System
Lymph node                                                               (1)
  Renal, pigmentation                                                      1 (100%)
Lymph node, bronchial                            (4)                     (3)                        (5)                       (4)
 Hyperplasia, lymphoid                                                                                1 (20%)
  Pigmentation                                                             2 (67%)                    5 (100%)                 4 (100%)


Respiratory System
Lung                                             (5)                     (5)                        (5)                       (5)
  Inflammation, chronic                                                    2 (40%)                    3 (60%)                   3 (60%)
 Alveolus, pigmentation                                                    5 (100%)                   5 (100%)                  5 (100%)


U r i n a r y System
Kidney                                           (5)                      (5)                       (5)                       (5)
  Infiltration cellular, lymphocyte                                         1 (20%)                   l (20%)
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TABLE C5
S u m m a r y o f t h e I n c i d e n c e of N o n n e o p l a s t i c Lesions in M a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f Nickel O x i d e
(continued)

                                                          0 mg/m 3                     1.25 mg/m 3                    2.5 mg/m 3                       5 mg/m 3



7-Month Interim Evaluation
Systems Examined With No Lesions Observed
Alimentary System
Cardiovascular System
Endocrine System
General Body System
Integumentary System
Musculoskeletal System
Nervous System
Special Senses System


15-Month Interim Evaluation
Alimentary System
Liver                                                      (5)                          (5)                             (5)                             (5)
  Basophilic focus                                                                         1 (20%)
  Eosinophilic focus                                                                                                                                      I (20%)
Salivary glands                                            (5)                           (5)                            (5)                             (5)
  Infiltration cellular, lymphocyte                          1 (20%)


Genital System
Penis                                                      (1)
  Inflammation, suppurative                                  1 (100%)
Preputial gland                                            (5)                           (5)                            (5)                             (5)
  Ectasia                                                    4 (80%)                       5 (1oo%)                       3 (60%)                         2 (40%)
  Inflammation, suppurative                                  1 (20%)                       1 (20%)


Hematopoietic System
Lymph node                                                 (1)
  Inguinal, hype~plasia, lymphoid                            1 (100%)
  Renal, hyperplasia, lymphoid                               1 (100%)
Lymph node, bronchial                                      (5)                           (5)                             (5)                            (5)
  Hyperplasia, lymphoid                                                                                                    2 (40%)                        4 (80%)
  Pigmentation                                                                             4 (80%)                         5 (100%)                       5 (100%)
Spleen                                                     (5)                           (5)                             (5)                            (5)
  Hyperplasia, lymphoid                                      2 (40%)                                                       1 (20%)


Respiratory System
Lung                                                       (5)                           (5)                             (5)                            (5)
  Inflammation, chronic                                      1 (20%)                                                       2 (40%)                        4 (80%)
  Bronchializationc                                                                        1 (20%)                                                        2 (40%)
  Alveolar epithelium, hyperplasia, focal                    1 (20%)
  Alveolus, pigmentation                                                                   5 (100%)                        5 (100%)                       5 (100%)
  Alveolus, proteinosis                                                                                                    1 (20%)                        3 (60%)
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Lesions in Male Mice                                                                                                                                                                     255


TABLE C 5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c L e s i o n s in M a l e M i c e i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e
(continued)

                                                              0 mg/m a                        1.25 mg/m 3                       2.5 mg/m 3                          5 mg/m 3



15-Month Interim Evaluation (continued)
Urinary System
Urinary bladder                                                 (5)                             (5)                               (4)                               (5)
 Calculus, microscopic observation only                           1 (20%)


Systems Examined With No Lesions Observed
Cardiovascular System
Endocrine System
General Body System
Integumentary System
Musculoskeletal System
Nervous System
Special Senses System



2- Year Study
Alimentary System
Gallbladder                                                   (47)                            (55)                               (57)                             (58)
  Inflammation, chronic                                                                                                                                              1 (2%)
  Necrosis                                                                                                                          1 (2%)
Intestine large, cecum                                         (49)                           (56)                               (60)                             (60)
  Hyperplasia, lymphoid                                                                                                                                              2 (3%)
  Inflammation, chronic                                                                                                             I (2%)
Intestine small, ileum                                         (51)                           (49)                               (55)                             (57)
  Inflammation, suppurative                                       1 (2%)
  Ulcer                                                           1 (2%)
Liver                                                          (57)                            (67)                              (66)                             (69)
  Abscess                                                                                                                                                            1 (1%)
  Angiectasis                                                                                     1 (1%)
  Basophilic focus                                                1 (2%)                          2 (3%)                            3 (5%)                            1 (1%)
  Clear cell focus                                                                                                                  1 (2%)
  Congestion                                                                                                                        1 (2%)
  Cyst                                                            1 (2%)                                                            1 (2%)
  Developmental malformation                                                                                                                                          1 (1%)
   Eosinophilic focus                                                                             1 (1%)                                                              1 (1%)
   Fatty change                                                                                                                                                       1 (1%)
  Hematopoietic cell proliferation                                                                                                                                    1 (1%)
   Hepatodiaphragmatic nodule                                                                     1 (1%)
   Hyperplasia, macrophage                                         1 (2%)
   Infarct                                                                                        6 (9%)                             1 (2%)                           4 (6%)
   Inflammation, suppurative                                                                                                         1 (2%)
   Mixed cell focus                                                                               1 (1%)                             1 (2%)
   Thrombosis                                                                                     3 (4%)                             1 (2%)
   Bile duct, cyst                                                                                                                   1 (2%)
   Hepatocyte, cytomegaly                                          1 (2%)                                                            1 (2%)
   Hepatocyte, cytoplasmic alteration                              1 (2%)
   Hepatocyte, hyperplasia                                                                        1 (1%)                                                              2 (3%)
   Hepatocyte, necrosis                                            5 (9%)                         2 (3%)                            4 (6%)                            4 (6%)
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TABLE C 5
Summary of the Incidence of Nonneoplastic Lesions in Male Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                             0 mg/m 3        1.25 m g / m 3        2.5 m g / m 3          5 mg/m 3



2-Year Study (continued)
Alimentary System (continued)
Mesentery                                     (1)             (1)
  Hemorrhage                                                    1 (100%)
  Thrombosis                                                    1 (100%)
  Vein, inflammation, chronic                                   1 (100%)
Pancreas                                     (54)            (65)                  (66)                  (68)
  Cyst                                                                                                      1 (1%)
  Inflammation, chronic                         1 (2%)
  Inflammation, chronic active                                  1 (2 %)
  Stomach, forestomach                       (54)            (63)                  (65)                  (67)
  Hyperkeratosis                                                1 (2%)                1 (2%)                1 (1%)
Stomach, glandular                           (55)            (63)                  (65)                  (67)
  Inflammation, chronic                                         1 (2%)
  Inflammation, suppurative                                     1 (2%)                2 (3%)                1 (1%)
Tooth                                         (2)             (5)                   (4)                   (1)
  Dysplasia                                     2 (100%)        4 (80%)               1 (25%)               1 (100%)
  Peridontal tissue, inflammation, chronic
     active                                                                           1 (25%)


Cardiovascular System
Heart                                        (57)            (67)                  (66)                  (69)
 Inflammation, chronic                                                                                      1 (1%)
 Inflammation, suppurative                                                                                  1 (1%)
 Atrium, thrombosis                                             1 (1%)
 Ventricle, thrombosis                                                                1 (2%)


Endocrine System
Adrenal cortex                               (57)            (67)                  (65)                  (69)
   Cyst                                                                               1 (2%)                1 (1%)
   Hyperplasia                                  6 (11%)        5 (7%)                 6 (9%)                2 (3%)
   Bilateral, hyperplasia                                      1 (1%)
   Bilateral, spindle cell, hyperplasia                                               1 (2%)
   Spindle cell, hyperplasia                    1 (2%)          2 (3%)                1 (2%)
Islets, pancreatic                           (54)            (64)                  (66)                  (68)
   Hyperplasia                                  2 (4%)                                2 (3%)
Parathyroid gland                            (37)            (48)                  (53)                  (57)
   Cyst                                         1 (3%)          1 (2%)
   Hyperplasia, cystic                                          2 (4%)
Pituitary gland                              (56)            (62)                  (63)                  (66)
   Pars distalis, cyst                                          1 (2%)                1 (2%)
   Pars distalis, hyperplasia                   2 (4%)          1 (2%)                                      1 (2%)
Thyroid gland                                (55)            (67)                  (66)                  (69)
   Hyperplasia, cystic                         13 (24%)        27 (40%)              25 (38%)              27 (39%)
   Inflammation, chronic                                        1 (1%)
   Inflammation, suppurative                                                          1 (2 %)
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Lesions in M a l e M i c e                                                                                      257



TABLE C 5
Summary of the Incidence of Nonneoplastic Lesions in Male Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                            0 mg/m 3          1.25 m g / m 3    2.5 m g / m 3      5 mg/m 3



2-Year Study (continued)
General Body System
Tissue NOS                                   (2)                                  (3)              (4)
  Abscess                                      1 (50%)
  Hemorrhage                                                                                        1 (25%)
  Inflammation, suppurative                                                        1 (33%)          1 (25%)
  Necrosis                                                                                          1 (25%)
  Necrosis, chronic                                                                 1 (33%)


Genital System
Epididymis                                  (56)              (67)               (66)            (68)
  Granuloma sperm                                                1 (1%)             1 (2%)
  Inflammatio n, chronic                      2 (4%)                                                2 (3%)
  Inflammation, chronic active                                                                      1 (1%)
  Inflammation, suppurative                                                                         1 (1%)
Penis                                        (7)              ( 11)               (7)            (13)
  Concretion                                   1 (14%)            5 (45%)           5 (71%)         5 (38%)
  Hemorrhage                                                      1 (9%)            1 (14%)
  Inflammation                                                    1 (9%)                             1 (8%)
  Inflammation, chronic                        1 (14%)
  Inflammation, suppurative                    5 (71%)           1 (9%)             1 (14%)         6 (46%)
  Mineralization                                                 1 (9%)
  Necrosis, chronic                                              1 (9%)             1 (14%)
Preputial gland                             (57)              (66)               (66)            (69)
  Atrophy                                                                           4 (6%)          2 (3%)
  Concretion                                                    1 (2%)
  Ectasia                                     16 (28%)         17 (26%)           25 (38%)         20 (29%)
  Hemorrhage                                                    1 (2%)
  Inflammation, chronic                       2 (4%)            7 (11%)             5 (8%)          9 (13%)
  Inflammation, chronic active                9 (16%)          12 (18%)             7 (11%)         2 (3%)
  Inflammation, suppurative                  14 (25%)           8 (12%)            13 (20%)        11 (16%)
  Bilateral, ectasia                         23 (40%)          34 (52%)            37 (56%)        41 (59%)
  Bilateral, inflammation, chronic active                       2 (3%)              1 (2%)
  Bilateral, inflammation, suppurative                                              1 (2%)
Prostate                                    (53)              (61)               (63)             (65)
  Inflammation, chronic active                                   1 (2%)
  Inflammation, suppurative                    1 (2%)            2 (3%)             1 (2%)           1 (2%)
  Epithelium, hyperplasia                                        1 (2%)
Seminal vesicle                             (55)              (66)               (66)             (69)
  Cyst                                                                                               1 (1%)
  Dilatation                                   1 (2%)            8 (12%)           11 (17%)         10 (14%)
  Inflammation, chronic                                                             1 (2%)
Testes                                      (57)              (66)               (66)             (69)
  Atrophy                                                        3 (5%)             1 (2%)           1 (1%)
  Congestion                                                     1 (2%)
  Cyst                                                           1 (2%)
  Inflammation, suppurative                    1 (2%)
  Bilateral, atrophy                                                                                 1 (1%)
  Germinal epithelium, degeneration                                                                  1 (1%)
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TABLE C5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c L e s i o n s in M a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y of Nickel Oxide
(continued)

                                                          0 mg/m 3                      1.25 mg/m 3                     2.5 mg/m 3                       5 mg/m 3



2-Year Study (continued)
Hematopoietic System
Bone marrow                                               (56)                          (66)                            (66)                            (68)
  Erythroid cell, hyperplasia                                                                                                                              1 (1%)
  Myeloid cell, hyperplasia                                  5 (9%)                       13 (20%)                        15 (23%)                        13 (19%)
  Myeloid cell, inflammation                                                                                                                               1 (1%)
Lymph node                                                (22)                          (18)                            (20)                            (16)
  lliac, hyperplasia, histiocytic                            1 (5%)
  Iliac, hyperplasia, lymphoid                               8 (36%)                       8 (44%)                        11 (55%)                         8 (50%)
  lliac, inflammation, suppurative                                                         1 (6%)
  Iliac, pigmentation                                                                      4 (22%)                         3 (15%)                         2 (13%)
  Inguinal, hyperplasia                                      1 (5 %)
  Inguinal, hyperplasia, lymphoid                           12 (55%)                       9 (50%)                        11 (55%)                         9 (56%)
  Inguinal, pigmentation                                     1 (5 %)                       2 (11%)
  Pancreatic, hyperplasia, lymphoid                                                                                         1 (5%)
  Pancreatic, inflammation, granulomatous                    1 (5%)                                                         1 (5%)
  Renal, hyperplasia, histiocytic                            1 (5%)
  Renal, hyperplasia, lymphoid                               2 (9%)                        2 (11%)                          I (5%)
  Renal, pigmentation                                                                      1 (6%)
Lymph node, bronchial                                     (45)                          (56)                            (61)                            (62)
  Atrophy                                                                                  1 (2%)
  Congestion                                                  1 (2%)                                                        1 (2%)                         1 (2%)
   Edema                                                                                   1 (2%)                                                          1 (2%)
   Hyperplasia, lymphoid                                      5 (11%)                     18 (32%)                        28 (46%)                        33 (53%)
   Inflammation, chronic active                                                                                            1 (2%)
   Inflammation, granulomatous                                1 (2 %)
   Pigmentation                                                                            55 (98%)                        61 (100%)                       60 (97%)
Lymph node, mandibular                                     (47)                          (57)                            (63)                            (60)
   Hyperplasia, histiocytic                                                                 1 (2%)
   Hyperplasia, lymphoid                                      3 (6%)                        3 (5%)                          4 (6%)                          2 (3%)
Lymph node, mesenteric                                     (45)                          (55)                            (56)                            (63)
   Congestion                                                 4 (9%)                       13 (24%)                        12 (21%)                         6 (10%)
   Hematopoietic cell proliferation                                                         1 (2%)                                                          3 (5%)
   Hyperplasia, lymphoid                                      3 (7%)                        4 (7%)                          5 (9%)                          3 (5%)
   Hyperplasia, macrophage                                                                                                  1 (2%)
   Inflammation, suppurative                                  4 (9%)                        1 (2%)                          2 (4%)                          1 (2%)
   Pigmentation                                                                             1 (2%)
Lymph node, mediastinal                                    (18)                          (19)                            (21)                            (25)
   Congestion                                                                                                                                               2 (8 %)
   Hyperplasia, lymphoid                                      1 (6%)
   Inflammation, chronic                                                                                                    1 (5 %)
    Pigmentation                                                                            3 (16%)                         1 (5%)                          1 (4%)
 Spleen                                                    (56)                          (67)                            (66)                            (69)
    Angiectasis                                                                             1 (1%)
    Hematopoietic cell proliferation                         17 (30%)                      14 (21%)                        13 (20%)                        17 (25%)
    Hyperplasia, lymphoid                                     2 (4%)                        5 (7%)                          6 (9%)                          4 (6%)
    Thrombosis                                                                                                                                              2 (3%)
 Thymus                                                    (45)                          (53)                            (52)                            (58)
    Atrophy                                                   1 (2%)                        1 (2%)                                                          1 (2%)
    Cyst                                                                                                                       1 (2%)
    Inflammation, granulomatous                                                                                                1 (2%)
    Pigmentation                                                                               1 (2%)
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Lesions in M a l e Mice                                                                                                 259



TABLE C 5
Summary of the Incidence of Nonneoplastic Lesions in Male Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                               0 mg/m 3           1.25 m g / m 3      2.5 m g / m 3       5 mg/m 3


2-Year Study (continued)
Integumentary System
Skin                                           (16)               (23)                 (24)              (27)
  Alopecia                                        1 (6%)             1 (4%)                                 1 (4%)
  Cyst epithelial inclusion                                                                                 1 (4%)
  Inflammation. chronic                                             1 (4%)
  Inflammation, chronic active                   1 (6%)             2 (9%)                                  1 (4%)
  Inflammation, suppurative                     13 (81%)           11 (48%)             16 (67%)           13 (48%)
  Necrosis                                                          2 (9%)               I (4%)             I (4%)
  Prepuce, inflammation                                                                                     1 (4%)
  Prepuce, inflammation, chronic active                                                  1 (4%)
  Prepuce. inflammation, suppurative                                5 (22%)              3 (13%)            4 (15%)
  Prepuce, necrosis                                                                      1 (4%)
  Subcutaneous tissue, edema                                        2 (9%)
  Subcutaneous tissue, fibrosis                                     1 (4%)                                  1 (4%)
  Subcutaneous tissue, hemorrhage                                   1 (4%)
  Subcutaneous tissue, inflammation, chronic
     active                                                                               1 (4%)
  Subcutaneous tissue, inflammation,
     suppurative                                                                          1 (4%)


Musculoskeletal System
Bone                                           (57)               (67)                 (66)              (68)
  Developmental malformation                                                              1 (2%)
  Fracture healed                                2 (4%)              1 (1%)                                 1 (1%)
  Hemorrhage                                                         1 (1%)
  Hyperostosis                                    2 (4%)                                 4 (6%)
  Vertebra, inflammation, suppurative             1 (2%)
Skeletal muscle                                 (1)
  Inflammation, suppurative                       1 (100%)


Nervous System
Brain                                          (57)               (67)                 (66)              (69)
  Pons, demyelination                                                2 (3%)


Respiratory System
Lung                                           (57)               (67)                 (66)               (69)
  Congestion                                                                                                 1 (1%)
  Fibrosis                                                                                                   1 (1%)
  Hemorrhage                                                        1 (1%)                2 (3%)
  Hyperplasia, macrophage                                           1 (1%)
  Inflammation, chronic                                            21 (31%)              34 (52%)          55 (80%)
  Thrombosis                                                        2 (3%)
  Bronchialization                                                 24 (36%)             40 (61%)           40 (58%)
  Alveolar epithelium, hyperplasia, focal         1 (2%)            1 (1%)               2 (3%)
  Alveolus, pigmentation                                           65 (97%)             66 (100%)          68 (99%)
  Alveolus, proteinosis                                            12 (18%)             22 (33%)           43 (62%)
  Pleura, fibrosis                                                                       1 (2%)
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TABLE C 5
S u m m a r y of the I n c i d e n c e of N o n n e o p l a s t i cLesions in M a l e Mice in the 2 - Y e a r I n h a l a t i o n S t u d y of Nickel O x i d e
(continued)

                                                      0 mg/m3                     1.25 mg/m3                   2.5 mg/m3                      5 mg/m3



2-Year Study (continued)
Respiratory System (continued)
Nose                                          (55)                               (66)                          (66)                          (67)
 Inflammation, suppurative                                                          2 (3%)                        1 (2%)
 Olfactory epithelium, degeneration                                                 4 (6%)                        2 (3%)                        1 (1%)
 Olfactory epithelium, inflammation,
    suppurative                                                                     2 (3%)
 Respiratory epithelium, degeneration            2 (4%)                             3 (5%)                        4 (6%)                        1 (1%)
 Respiratory epithelium, inflammation,
    suppurative                                  6 (11%)                            9 (14%)                       9 (14%)                       7 (10%)
 Respiratory epithelium, metaplasia, squamous    2 (4%)                             7 (11%)                       8 (12%)                       2 (3%)
 Vomeronasal organ, inflammation, suppurative                                       1 (2%)


Special Senses System
Harderian gland                                                                    (1)                           (2)                          (3)
 Hyperplasia                                                                                                                                    1 (33%)


U r i n a r y System
Kidney                                                (57)                        (67)                         (66)                          (68)
  Atrophy                                                1 (2%)
  Fibrosis                                                                          1 (1%)
  Inflammation, chronic                                                             2 (3%)                                                      1 (1%)
  Inflammation, chronic active                           1 (2%)                     6 (9%)                                                      1 (1%)
  Inflammation, suppurative                                                         1 (1%)                        4 (6%)                        6 (9%)
  Mineralization                                         1 (2.%)                    1 (1%)
  Necrosis                                                                                                        1 (2%)
  Nephropathy                                            1 (2%)                      1 (1%)                       3 (5%)                        1 (1%)
  Bilateral, inflammation, suppurative                   1 (2%)
  Bilateral, papilla, inflammation, suppurative          1 (2%)
  Bilateral, pelvis, dilatation                          1 (2%)
  Cortex, cyst                                           1 (2%)                      1 (1%)                       2 (3%)
  Cortex, fibrosis                                       1 (2%)
  Cortex, inflammation, chronic                                                                                   1 (2%)
. Pelvis, dilatation                                     9 (16%)                     6 (9%)                       9 (14%)                       5 (7%)
   Pelvis, hyperplasia, squamous                                                                                                                1 (1%)
  Pelvis, inflammation, chronic                                                                                    1 (2%)
  Pelvis, inflammation, chronic active                                               1 (1%)                                                     I (1%)
  Pelvis, inflammation, suppurative                      2 (4%)                      1 (1%)                                                     1 (1%)
   Renal tubule, mineralization                                                                                    2 (3%)
Ureter                                                                                                           (2)                          (4)
  Concretion                                                                                                                                    2 (50%)
  Inflammation, chronic active                                                                                                                  I (25%)
   Inflammation, suppurative                                                                                       1 (50%)                      1 (25%)
Urethra                                                (2)                         (4)                           (5)                         (12)
   Calculus, microscopic observation only                1 (50%)                     3 (75%)                       4 (80%)                      8 (67%)
   Concretion                                            1 (50%)                     1 (25%)                       1 (20%)                      4 (33%)
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Le sions in M a l e M i c e                                                                                                                               261


TABLE C 5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c L e s i o n s in M a l e M i c e in the 2-Year Inhalation Study of Nickel Oxide
(continued)


                                                    0 mg/m 3                  1.25 m g / m 3              2.5 m g / m ~                5 mg/m 3



2-Year Study (continued)
Urinary System (continued)
Urinary bladder                                    (54)                       (63)                        (65)                        (66)
  Calculus, gross observation                                                                                                            1 (2%)
  Calculus, microscopic observation only              1 (2%)                     3 (5%)                      3 (5%)                      1 (2%)
  Crystals                                                                       1 (2%)
  Hemorrhage                                                                     1 (2%)
  Inflammation                                                                   1 (2%)
  Inflammation, chronic                               1 (2%)                     1 (2%)                      1 (2%)
  Inflammation, chronic active                        1 (2%)                     2 (3%)                      2 (3%)                      1 (2%)
  Inflammation, suppurative                           2 (4%)                     5 (8%)                      2 (3%)                      4 (6%)
  Transitional epithelium, hyperplasia                1 (2%)                                                                             3 (5%)
  Transitional epithelium, metaplasia, squamous       1 (2%)                                                 1 (2%)


a Number of animals examined microscopically at site and number of animals with lesion
b No histopathologic examination was performed on these animals.
e This alteration is associated with injury to the parenchyma around the terminal bronchiole. It is listed as "alveolar epithelial hyperplasia" in the TDMS
  data tables for mice in this study.
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                              APPENDIX D
             S U M M A R Y OF LESIONS IN F E M A L E M I C E
                 IN THE 2-YEAR I N H A L A T I O N STUDY
                           OF NICKEL OXIDE

 TABLE D I   S u m m a r y of the Incidence of Neoplasms in Female Mice
             in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                264
 TABLE D2    Individual Animal T u m o r Pathology of Female Mice
             in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                271
 TABLE D3    Statistical Analysis of P r i m a r y Neoplasms in Female Mice
             in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                304
 TABLE D4    Historical Incidence of Alveolar/bronchiolar Neoplasms
             in Untreated Female B6C3F1 Mice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             309
 TABLE D5    S u m m a r y of the Incidence of Nonneoplastic Lesions in Female Mice
             in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                310
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TABLE D1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in F e m a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e a


                                                             0 mg/m 3                       1.25 m g / m 3                   2.5 m g / m 3                      5 mg/m 3


Disposition Summary
Animals initially in study                                       74                                76                               74                                75
7-Month interim evaluation                                        5                                 5                                5                                 5
15-Month interim evaluation                                       5                                 5                                5                                 5
Early deaths
  Accidental deaths                                               1                                                                  1
  Moribund                                                       15                                18                                9                                16
  Natural deaths                                                  7                                 8                               11                                10
Survivors
  Terminal sacrifice                                             40                                38                               42                                38
  Died last week of study                                         1                                 2
Pregnant/Missexed                                                                                                                    1                                  1

Animals examined microscopically                                74                                 76                               73                                74


Systems E x a m i n e d A t 7 M o n t h s With No Neoplasms Observed
Alimentary System
Cardiovascular System
Endocrine System
General Body System
Genital System
Hematopoietic System
Integumentary System
Musculoskeletal System
Nervous System
Respiratory System
Special Senses System
Urinary System


15-Month Interim Evaluation
Alimentary System
Liver                                                         (5)                            (5)                              (5)                               (5)
  Hepatocellular adenoma                                                                       1 (20%)


Respiratory System
Lung                                                          (5)                            (5)                              (5)                               (5)
 Alveolar/bronchiolar adenoma                                                                                                    1 (20%)
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Lesions in Female Mice                                                                                            265


TABLE D1
Summary of the Incidence of Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                0 mg/m 3           1.25 mg/m 3      2.5 mg/m 3        5 mg/m 3



15-Month Interim Evaluation (continued)
Systems Examined With No Neoplasms Observed
Cardiovascular System
Endocrine System
General Body System
Genital System
Hematopoietic System
Integumentary System
Musculoskeletai System
Nervous System
Special Senses System
Urinary System


2- Year Study
Alimentary System
Esophagus                                       (63)               (66)             (63)             (63)
  Squamous cell carcinoma                                                                               1 (2%)
Gallbladder                                     (60)               (59)             (57)             (56)
  Sarcoma, metastatic, mesentery                                                                        1 (2%)
Intestine large, colon                          (60)               (61)             (58)             (57)
  Hepatocholangiocarcinoma, metastatic, liver                                                           1 (2%)
Intestine large, .rectum                        (55)               (50)             (43)             (43)
Intestine large, cecum                          (60)               (60)             (57),            (56)
  Leiomyosarcoma.                                                                                       1 (2%)
  Sarcoma, metastatic, mesentery                                                                        1 (2%)
Intestine small, duodenum                       (60)               (60)             (56)             (56)
  Hepatocholangiocarcinoma, metastatic, liver                                                           1 (2%)
Intestine small, jejunum                        (59)               (59)             (56)             (56)
Intestine small, ileum                          (58)               (57)             (56)             (54)
Liver                                           (64)               (66)             (63)             (63)
  Hemangiosarcoma                                                                      1 (2%)           l (2%)
  Hemangiosarcoma, multiple                                          1 (2%)
  Hemangiosarcoma, metastatic, uterus                                1 (~%)
  Hepatocellular carcinoma                        7 (11%)           10 (15%)           8 03%)          4 (6%)
  Hepatocellular carcinoma, multiple              1 (2 %)
  Hepatocel!ular adenoma                          5 (8 %)                 (ll%)        8 (13%)         5 (8%)
  Hepatocellular adenoma, multiple                                                     1 (2%)
  Hepatocellular adenoma, multiple, multiple       1 (2%)
  Hepatocholangiocarcinoma                                                                             1 (2%)
  Histiocytic sarcoma                              1 (2%)                                              2 (3%)
  Sarcoma, metastatic, mesentery                                                                        1 (2%)
Mesentery                                        (2)                (2)              (~)              (3)
  Hemangiosarcoma                                  1 (50%)
  Hepatocholangiocarcinoma, metastatic, liver                                                           1 (33%)
   Sarcoma                                                                                              1 (33%)
Pancreas                                        (64)               (66)             (62)             (62)
  Hepatocholangiocarcinoma, metastatic, liver                                                           1 (2%)
   Sarcoma, metastatic, mesentery                                                                       1 (2%)
Salivary glands                                 (64)               (66)             (63)             (63)
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TABLE D1
Summary of the Incidence of Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                0 mg/m 3         1.25 mg/m 3          2.5 mg/m 3            5 mg/m 3



2-Year Study (continued)
Alimentary System (continued)
Stomach, forestomach                            (64)             (63)                 (62)                 (60)
  Sarcoma, metastatic, mesentery                                                                              1 (2%)
  Squamous cell carcinoma                          1 (2%)
  Squamous cell papilloma                          1 (2%)                                                     1 (2%)
Stomach, glandular                              (63)             (63)                 (62)                 (60)
  Hepatocholangiocarcinoma, metastatic, liver                                                                 1 (2%)
  Sarcoma, metastatic, mesentery                                                                              1 (2%)
Tooth                                            (2)              (1)                  (1)                  (2)
  Odontoma                                                                                                    1 (50%)


Cardiovascular System
Heart                                           (64)             (66)                 (63)                 (64)
 Alveolar/bronchiolar carcinoma, metastatic,
    lung                                           1 (2%)
 Hepatocholangiocarcinoma, metastatic, liver                                                                  1 (2%)


Endocrine System
Adrenal cortex                                  (64)             (66)                 (63)                 (62)
  Adenoma                                                                                                     1 (2%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                 1 (2%)
Adrenal medulla                                 (62)             (65)                 (63)                 (62)
   Pheochromocytoma malignant                      2 (3%)
   Pheochromocytoma benign                         1 (2%)                                I (2%)
Islets, pancreatic                              (63)             (65)                 (62)                  (62)
Pituitary gland                                 (63)             (66)                 (61)                  (62)
   Pars distalis, adenoma                          6 (10%)          9 (14%)              8 (13%)               6 (lO%)
   Pars distalis, carcinoma                        1 (2%)                                                      1 (2%)
   Pars intermedia, adenoma                                         1 (2%)               1 (2%)                i (2%)
Thyroid gland                                   (62)             (66)                 (63)                  (64)
   Bilateral, follicular cell, adenoma                                                   1 (2%)
   Follicular cell, adenoma                        2 (3%)           1 (2%)                                    1 (2%)
   Follicular cell, carcinoma                      1 (2%)


General Body System
Tissue NOS                                       (1)              (1)                  (1)                   (1)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                            1 (100%)
  Hemangiosarcoma, metastatic                                                                                      (100%)
  Fat, hemangiosarcoma                                                                   1 (100%)
  Thoracic, alveolar/bronchiolar carcinoma,
     metastatic, tung                              1 (1oo%)
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Lesions in F e m a l e M i c e                                                                                                                                                 267



TABLE D1
S u m m a r y o f t h e I n c i d e n c e o f N e o p l a s m s in F e m a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e
(continued)

                                                             0 mg/m 3                       1.25 mg/m 3                      2.5 mg/m 3                         5 mg/m a


2-Year Study (continued)
Genital System
Clitoral gland                                               (57)                           (62)                             (57)                             (55)
  Duct, adenoma                                                                                1 (2%)
Ovary                                                        (61)                           (66)                             (60)                             (63)
  Cystadenoma                                                   1 (2%)                                                          3 (5%)
  Granulosa-theca tumor benign                                                                                                  I (2%)
  Sarcoma, metastatic, mesentery                                                                                                                                  ! (2%)
  Teratoma benign                                               2 (3%)                          1 (2%)
  Teratoma malignant                                                                                                                                              ! (2%)
  Thecoma benign                                                1 (2%)
Uterus                                                       (64)                           (66)                             (62)                              (63)
  Carcinoma                                                                                    1 (2%)
  Hemangioma                                                                                                                     1 (2%)
  Hemangiosarcoma                                                                              2 (3%)                            1 (2%)                           1 (2%)
  Histiocytic s~ircoma                                          1 (2%)
  Leiomyoma                                                     1 (2%)
  Polyp stromal                                                 2 (3%)                         4 (6%)                                                             1 (2%)
  Sarcoma, metastatic, mesentery                                                                                                                                  1 (2%)
  Sarcoma stromal                                                1 (2%)                                                          1 (2%)
  Teratoma malignant, metastatic                                                                                                                                  1 (2%)
  Cervix, hemangiosarcoma                                                                       1 (2%)


Hematopoietic System
Bone marrow                                                  (64)                           (65)                              (62)                             (63)
 Hemangiosarcoma                                                                                                                 ~ (2%)
 Hemangiosarcoma, metastatic                                                                                                                                      1 (2%)
  Hemangiosarcoma, metastatic, spleen                                                                                            1 (2%)
Lymph node                                                   (15)                             (9)                             (10)                              (9)
  Axillary, hemangiosarcoma                                     1 (7%)                                                           1 (10%)
  Pancreatic, histiocytic sarcoma                                                                                                                                 1 (11%)
  Pancreatic, sarcoma, metastatic, mesentety                                                                                                                      1 (11%)
  Renal, sarcoma, metastatic, mesentery                                                                                                                           I (11%)
Lymph node, bronchial                                        (54)                           (63)                              (59)                             (62)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                         1 (2%)                         2 (3%)
  Histiocytic sarcoma                                                                                                                                             2 (3%)
  Sarcoma, metastatic, mesentery                                                                                                                                  i (2%)
Lymph node, mandibular                                       (61)                           (63)                              (59)                             (58)
  Sarcoma, metastatic, skin                                                                    1 (2%)
Lymph node, mesenteric                                       (54)                           (63)                              (54)                             (55)
  Hemangioma                                                                                                                                                      ! (2%)
  Hemangiosarcoma, metastatic, liver                                                                                             1 (2%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                                     1 (2%)
  Sarcoma, metastatic, mesentery                                                                                                                                  1 (2%)
Lymph node, mediastinal                                      (35)                            (28)                             (33)                             (29)
  Alveolar/bronchiolar carcinoma, metastatic                                                    1 (4%)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                         1 (3%)                         1 (4%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                                         1 (3%)
  Histiocytic sarcoma                                                                                                                                                 1 (3%)
  Sarcoma, metastatic, mesentery                                                                                                                                      1 (3%)
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TABLE D1
Summary of the Incidence of Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                0 mg/m 3        1.25 mg/m 3         2.5 mg/m 3           5 mg/m3



2-Year Study (continued)
Itematopoietic System (continued)
Spleen                                          (64)            (66)                (63)                (63)
  Hemangiosarcoma                                  2 (3%)          2 (3%)              5 (8%)              2 (3%)
  Hepatocholangiocarcinoma, metastatic, liver                                                              1 (2%)
  Histiocytic sarcoma                                                                                      2 (3%)
  Sarcoma, metastatic, mesentery                                                                           1 (2%)
Thymus                                          (59)            (61)                (60)                (57)
  Alveolar/bronchiolar carcinoma, metastatic                       1 (2%)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                          2 (3%)          1 (2%)
  Hepatocholangiocarcinoma, metastatic, liver                                                              1 (2%)
  Histiocytic sarcoma                              1 (2%)                                                  1 (2%)
  Sarcoma, metastatic, mesentery                                                                           1 (2%)


I n t e g u m e n t a r y System
Mammary gland                                   (63)            (66)                (63)                (63)
   Adenoma                                                         1 (2%)
   Carcinoma                                       2 (3%)          3 (5%)                                  3 (5%)
Skin                                             (4)             (8)                 (6)                (12)
   Hemangiosarcoma                                                 1 (13%)
   Melanoma NOS                                                    1 (13%)
   Sarcoma                                                         1 (13%)             1 (17%)              1 (8%)
   Squamous cell papilloma                                                                                  1 (8%)
   Pinna, sarcoma                                                 1 (13%)
   Sebaceous gland, adenoma                                                            1 (17%)
   Subcutaneous tissue, hemangiosarcoma            1 (25%)        1 (13%)


Musculoskeletal System
Bone                                            (64)            (65)                (63)                 (63)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                                           1 (2%)
Skeletal muscle                                  (3)                                                      (3)
  Alveolar/bronchiolar carcinoma, metastatic,
    lung                                           1 (33%)
  Hepatocholangiocarcinoma, metastatic, liver                                                               1 (33%)
  Rhabdomyosarcoma                                 I (33%)
  Sarcoma, metastatic, mesentery                                                                            1 (33%)


Nervous System
Brain                                           (64)            (66)                (63)                 (64)
  Carcinoma, metastatic                            1 (2%)
  Hypothalamus, carcinoma, metastatic                                                                       1 (2%)
  Pons, carcinoma, metastatic                                                                               1 (2%)
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Lesions in Female Mice                                                                                                                                 269



TABLE D I
S u m m a r y of the I n c i d e n c e of Neoplasms in F e m a l e Mice in the 2-Year I n h a l a t i o n S t u d y o f N i c k e l O x i d e
(continued)

                                                     0 mg/m 3                   1.25 mg/m 3                 2.5 mg/m 3                    5 mg/m a



2-Year Study (continued)
Respiratory System
Larynx                                          (62)                           (63)                         (62)                         (63)
Lung                                            (64)                           (66)                         (63)                         (64)
  Alveolar/bronchiolaradenoma                      2 (3%)                         2 (3%)                      10 (16%)                      3 (5%)
  Alveolar/bronchiolaradenoma, multiple                                           2 (3%)
  Alveolar/bronchiolarcarcinoma                    4 (6 %)                       10 (15%)                      4 (6%)                       5 (8%)
  Alveolar/bronchiolarcarcinoma, multiple                                         1 (2%)
  Basosquamous tumor malignant, metastatic, ear    1 (2%)
  Hepatocellular carcinoma, metastatic                                             1 (2%)                      1 (2%)                       1 (2%)
  Hepatocellular carcinoma, metastatic, liver      1 (2%)
  Hepatocholangiocarcinoma, metastatic, liver                                                                                               1 (2%)
  Histiocytic sarcoma                                                                                                                       2 (3%)
  Sarcoma, metastatic, mesentery                                                                                                            1 (2%)
  Teratoma malignant, metastatic                                                                                                            I (2%)


Special Senses System
Ear                                                   (2)                        (1)                          (1)                         (1)
 Basosquamous minor malignant                           1 (50%)
  Fibrosarcoma                                                                                                 1 (lOO%)
  External ear, fibrosarcoma                            1 (50%)
Harderian gland                                                                  (I)                          (2)                         (3)
  Adenoma                                                                          1 (100%)                     2 (100%)                    3 (1oo%)


Urinary System
Kidney                                              (64)                       (66)                         (63)                         (63)
 Hepatocholangiocarcinoma,metastatic, liver                                                                                                 1 (2%)
 Teratoma malignant, metastatic                                                                                                             1 (2%)
Urinary bladder                                      (63)                       (62)                        (60)                         (57)
  Sarcoma, metastatic, mesentery                                                                                                            1 (2%)


Systemic Lesions
Multiple organsb                                     (64)                       (66)                        (63)                         (64)
 Histiocytic sarcoma                                    2 (3%)                                                                              2 (3%)
 Lymph~ma malignant                                    13 (20%)                  12 (18%)                      9 (14%)                      7 (11%)
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TABLE D 1
Summary of the Incidence of Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                0 mg/m ~                1.25 m g / m 3             2.5 m g / m 3               5 mg/m 3



Neoplasm S u m m a r y
Total animals with primary neoplasmsc
  15-Month interim evaluation                                                1                          1
  2-Year study                                     37                       49                         45                         40
Total primary neoplasms
  15-Month interim evaluation                                                1                          1
  2-Year study                                     68                       78                         72                         57
Total animals with benign neoplasms
  15-Month interim evaluation                                                1                          1
  2-Year study                                     21                       27                         28                         24
Total benign neoplasms
  15-Month interim evaluation                                                1                          1
  2-Year study                                     25                       30                         38                         25
Total animals with malignant neoplasms
  2-Year study                                     30                       37                         28                         28
Total malignant neplasms
  2-Year study                                     43                       47                         34                         32
Total animals with metastatic neoplasms
  2-Year study                                      5                        6                          3                           6
Total metastatic neoplasms
  2-Year study                                     10                       11                          3                         40
Total animals with uncertain neoplasms-
    benign or malignant
  2-Year study                                                               1
Total uncertain neoplasms
  2-Year study                                                               1


a Number of animals examined microscopically at the site and the number of animals with neoplasm
b Number of animals with any tissue examined microscopically
c Primary neoplasms: all neoplasms except metastatic neoplasms
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Lesions in Female Mice                                                                                                                                                                                                       271


TABLE D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 0 m g / m s


                                                      0       0       0       0       0       1       1       2       3       5       5   5       5   5    6    6   6   6   6    6   6   7       7       7       7
Number       of Days on Study                         1       1       2       2       9       1       3       2       5       1       4       5   8   9    1    2   3   4   8    9   9   2       2       2       2
                                                      1       4       4       9       2       7       2       9       7       0       9       9   6   9    8    2   8   2   8    4   5   8       8       9       9

                                                      1       0       1       1       1       0       1       0       1       0       1       1   1   0    1    1   0   1   1    1   1   0       1       0       0
Carcass I D N u m b e r                               2       9       3       0       0       8       0       8       1       8       5   1       2   8    3    4   9   0   3    3   0   9       1       8       9
                                                      0       5       2       6       8       6       5       7       0       1       4   4       8   3    4    4   0   9   8    7   0   6       3       9       9

Alimentary        System
Esophagus                                             + + + + +M+       + +                                                       +  + + + + + + + +                             + + +           + +                 +   +
Gallbladder                                           + +AA     + + + + +                                                         +  +M+   + + + + +                             + + +           + +                 +   +
Intestine large, colon                                + + A M +   + + + +                                                         +  + + + +A   + + +                            + + +           + +                 +   +
Intestine large, r e c t u m                          + +A   + +M+      +M+                                                          + + + + M M M +                             + + +           + +                 +   +
Intestine large, c e c u m                            + + A M + +    ++   +                                                       ++   ++  +A   + + +                            + ++            + +                 +   +
Intestine small, d u o d e n u m                      + + A M +   + + +   +                                                       + + + +  +A   + + +                            + + +           + +                 +   +
Intestine small, j e j u n u m                        + + A M +   + + + +                                                         + + + + +A    + + +                            + +A            + +                 +   +
Intestine small, ileum                                + + A M +   + + + +                                                         + + + M + A   + + +                            + + +           +M+                     +
Liver                                                 + + + + + + + + +                                                           + + + + + + + + +                              + + +           + +                 +   +
    Hepatocellular c a r c i n o m a                                                                                                                                                 X                                   X
    Hepatocellular c a r c i n o m a , multiple                                                                                                       X
  Hepatocellular a d e n o m a
  Hepatocellular a d e n o m a , multiple, multiple
  Histiocytic s a r c o m a
Mesentery
   Hemangiosarcoma
Pancreas                                              +       +       +           +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +       +           +       +   +
Salivary glands                                       +       +       +           +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +       +           +       +   +
Stomach, forestomach                                  +       +           +       +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +       +           +       +   +
   Squamous cell c a r c i n o m a
   Squamous cell papilloma
Stomach, glandular                                    +       +           +       +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +       +           +       +   +
Tooth

Cardiovascular S y s t e m
Heart                                                 +       +           +       +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +       +           +       +   +
   Alveolar/bronchiolar c a r c i n o m a ,
    metastatic, lung                                                                                                                                                                 X

Endocrine S y s t e m
Adrenal cortex                                        +           +       +       +       +       +       +       +       +       +       +       +   +    +    +   +   +   +    +   +   +           +       +       +   +
Adrenal medulla                                       + + M + I                                   ++              + + +                   +       +   +    ++       +   +   ++       +   +           +       +       +   +
    P h e o c h r o m o c y t o m a malignant                                                                                                              X                             X
    P h e o c h r o m o c y t o m a benign
Islets, pancreatic                                    + + +                       +       + + + + +                               + + + +                  +    + +     + + +        +       +       +       +M+
Parathyroid gland                                     MMM+                                + M M M +                               + + M +                  +    ++      + ++I                +       +       +MM
Pituitary gland                                       + + +                       +       + + + + +                               + + + +                  +    + +     +M+          +       +       +       + + +
    Pars distalis, a d e n o m a                                                                                                                                                     X
    Pars distalis, c a r c i n o m a                                                                                                                                                                                     X
Thyroid gland                                             +       +M+                     +M+                     +       +       +       +       +   +    +    +   +   +   +    +   +       +       +       +       +   +
    Follicular cell, a d e n o m a
    Follicular cell, c a r c i n o m a                                                                                                                                                                                   X



    + : Tissue examined microscopically                                                           M: Missing tissue                                                                      X: Lesion present
    A: Autolysis precludes examination                                                            I: Insufficient tissue                                                                 Blank: Not e x a m i n e d
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TABLE         D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3
(continued)

                                                                     7   7   7       7       7       7       7   7       7   7   7   7   7   7       7       7       7       7   7   7   7   7   7   7       7
Number of Days on Study                                              2   2   2       2       2       3       3   3       3   3   3   3   3   3       3       3       3   3       3   3   3   3   3   3       3
                                                                     9   9   9       9       9       0       0   0       0   0   0   0   0   0       1       1       1   1       1   1   1   2   2   2       2

                                                                     1   1   1       1       1       0       0       0   1   1   1   1   1   1       1       1       1       1   1   1   1   0   1   1       1
Carcass ID Number                                                    1 2 4 5 5 8 9 9 0 2 3 4 4 6 2 3                                                                 3   4       5   5 5 9 0         1     1
                                                                     5 7 2 2 3 2 3 7 1 3 6 1 5 0 1 5                                                                             9 6 1 6 8               1 3 1 8

Alimentary System
Esophagus                                                            +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
Gallbladder                                                          + + + +                     + + + + + + + +A                                        + + + +                     +   +   + +         +       + + +
Intestine large, c o l o n                                           + + + +                     + + + + + + + +A                                        + + + +                     +   +   + +         +       + + +
Intestine large, r e c t u m                                         + ++    +                   + + + + +    + M + A                                    + + + +                     +   +   +M+                 + ++
Intestine large, c e c u m                                           + + + +                     + + + + + + + + A                                       + + + +                     +   +   + +         +       + + +
Intestine small, d u o d e n u m                                     + + + + +                   +    + + + + + + A                                      + + + +                     +   +   ++          +       ++   +
Intestine small, j e j u n u m                                       + + + +                     + + + + + + + + A                                       + + + +                     +   +   + +         +       + + +
Intestine small, ileum                                               + + + +                     + + + + + + + + A                                       + + + +                     +   +   + +         +       + + +
Liver                                                                + + + +                     + + + + + + + + +                                       + + + +                     +   +   + +         +       + + +
    Hepatocellular carcinoma                                                                                     X                           X                                   X
    H e p a t o c e l l u l a r c a r c i n o m a , multiple
    Hepatocellular adenoma                                                   X                           X                           X                                                   X           X
    H e p a t o c e l l u l a r a d e n o m a , multiple, multiple       X
    Histiocytic s a r c o m a
Mesentery
    Hemangiosarcoma
Pancreas                                                             +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
Salivary g l a n d s                                                 +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
Stomach, forestomach                                                 +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
    S q u a m o u s cell c a r c i n o m a                                                                                                                                               X
    S q u a m o u s cell p a p i l l o m a                                                       X
Stomach, glandular                                                   +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
Tooth                                                                +       +

Cardiovascular S y s t e m
Heart                                                                +   +   +           +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
  Alveolar/bronchiolar carcinoma,
    metastatic, lung

Endocrine System
A d r e n a l cortex
Adrenal medulla
     Pheochromocytoma malignant
     Pheochromocytoma benign                                                                     X
Islets, p a n c r e a t i c                                          +   +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +   +   +
Parathyroid gland                                                    I   + M + +                         + + +               ++      +   +       + M + +                         +   +   +   +   +       +       +   +   +
Pituitary g l a n d                                                  +   + + + +                         + + +               + +     +   +       + + + +                         +   +   +   +   +       +       +   +   +
     Pars distalis, a d e n o m a                                    X                   X                                                                       X
     Pars distalis, c a r c i n o m a
Thyroid gland
     Follicular cell, a d e n o m a                                                              X
     F o l l i c u l a r cell, c a r c i n o m a
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Lesions   in Female Mice                                                                                                                                    273



TABLE D2
Individual    Animal    Tumor     Pathology      of Female    Mice    in the 2-Year           Inhalation       Study   of Nickel   Oxide:   0 mg/m 3
(continued)

                                                      7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                               3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                      2 2 2 2 2 3 3 3 3 3 6 6 6 6

                                                      1 1 1 1 1 1 1 1 1 1 0 1 1 1                                                                   Total
Carcass ID Number                                     1 2 3 3 4 0 1 2 2 5 9 1 4 5                                                                Tissues/
                                                      9 9 0 1 7 2 2 4 6 0 4 6 9 9                                                                Tumors

Alimentary System
Esophagus                                             +   +   +   +   +   +   +   +   +   +    + + + +                                                 63
Gallbladder                                           +   +   +   +   +   +   +   +   +   +    + + + +                                                 60
Intestine large, colon                                +   +   +   +   +   +   +   +   +   +    + + + +                                                 60
Intestine large, rectum                               +   +   +   +   +   +   +   +   +   +    + + + +                                                 55
Intestine large, cecum                                +   +   +   +   +   +   +   +   +   +    + + + +                                                 60
Intestine small, duodenum                             +   +   +   +   +   +   +   +   +   +    + + + +                                                 60
Intestine small, jejunum                              +   +   +   +   +   +   +   +   +   +    + + + +                                                 59
Intestine small, ileum                                +   +   +   +   +   +   +   +   +   +    + + + +                                                 58
Liver                                                 +   +   +   +   +   +   +   +   +   +    + + + +                                                 64
   Hepatocellular carcinoma                               X                   X                                                                         7
   Hepatocellular carcinoma, multiple                                                                                                                   1
   Hepatocellular adenoma                                                                                                                               5
    Hepatocellular adenoma, multiple, multiple                                                                                                          1
   Histiocytic sarcoma                                                            X                                                                     1
Mesentery                                                                                          +                                                    2
   Hemangiosarcoma                                                                               X                                                      1
Pancreas                                              +   +   +   +   +   +   +   +   +   +    + +     +   +                                           64
Salivary glands                                       +   +   +   +   +   +   +   +   +   +    + +     +   +                                           64
Stomach, forestomach                                  +   +   +   +   +   +   +   +   +   +    + +     +   +                                           64
    Squamous cell carcinoma                                                                                                                             1
    Squamous cell papilloma                                                                                                                             1
Stomach, glandular                                    M + + + + + + + +                   + + + + +                                                    63
Tooth                                                                                                                                                   2

Cardiovascular System
Heart                                                 +   +   +   +   +   +   +   +   +   +    +   +   +   +
  Alveolar/bronchiolar carcinoma,
    metastatic, lung                                                                                                                                    1

Endocrine System
Adrenal cortex                                        +   +   +   +   + +     +   +   +   +    +   +   +   +                                           64
Adrenal medulla                                       +   +   +   +   + +     +   +   +   +    +   +   +   +                                           62
    Pheochromocytoma malignant                                                                                                                          2
    Pheochromocytoma benign                                                                                                                             1
Islets, pancreatic                                    +   +   +   +   +   +   +   +   +   +    +   +   +   +                                           63
Parathyroid gland                                     + + + + + M + + + + + + + +                                                                      50
Pituitary gland                                       + + + + + + + + + + + + +                            +                                           63
    Pars distalis, adenoma                                X                                        X                                                    6
    Pars distalis, carcinoma                                                                                                                            1
Thyroid gland                                                                                                                                          62
    Follicular cell, adenoma                          X                                                                                                 2
    Follicular cell, carcinoma                                                                                                                          1
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TABLE D2
Individual Animal T u m o r         Pathology   of Female     Mice in t h e 2 - Y e a r        Inhalation        Study      of Nickel Oxide:             0 mg/m 3
(continued)

                                                     0 0 0 0 0 1 1 2 3 5 5 5 5 5 6 6 6 6 6 6 6 7 7 7 7
Number of Days on Study                              1 1 2 2 9 1 3 2 5 1 4 5 8 9 1 2 3 4 8 9 9 2 2 2 2
                                                     1 4 4 9 2 7 2 9 7 0 9 9 6 9 8 2 8 2 8 4 5 8 8 9 9

                                                    10         I 1 1 0 1 0 1 0 1 1 1 0 1 1 0 1 1 1 1 0 1 0 0
Carcass ID Number                                   2 9       3 0 0 8 0 8 1 8 5 1 2 8 3 4 9 0 3 3 0 9 1 8 9
                                                    0 5       2 6 8 6 5 7 0 1 4 4 8 3 4 4 0 9 8 7 0 6 3 9 9

General Body System
Tissue NOS
   Thoracic, alveolar/bronchiolar
     carcinoma, metastatic, lung

Genital S y s t e m
Clitoral gland                                       +M+          +   + + M M +            +    +   +   +    +    +    +    +   +   +   +   +    +   +   +   +
Ovary                                                + + +        +   + + + + +            +    +   +   +    +    +    +    +   +   +   +   +    +   +   +   +
   Cystadenoma
   Teratoma benign                                                    XX
   Thecoma benign                                                                                                                                        X
Uterus                                               +   +    +   +   +    +   +   +   +   +    +   +   +    +    ÷    +    +   +   +   +   +    +   +   +   +
   Histiocytic sarcoma
   Leiomyoma
   Polyp stromal                                                                                    X
    Sarcoma stromal

Hematopoietic S y s t e m
Bone marrow                                          +   +    +   +   +    +   +   +   +   +    +   +   +    +    + +       +   +   +   +   +    + +     +   +
Lymph node                                                                                          +             +++                            +++
   Axillary, hemangiosarcoma                                                                                                                         X
Lymph node, bronchial                                MMM+MI                    M+M+I                +   +I        ++        +   +   +   +   +    +   +   +   +
   Alveolar/bronchiolar carcinoma,
    metastatic, lung
Lymph node, mandibular                               + + + +    + + + + + + + + +M+   + + + +M+                                                      +   +   +
Lymph node, mesenteric                               M + M A M + M +  + +M+   + + +M+   + + +M+                                                      +   +   +
Lymph node, mediastinal                              M M M M M M M M M + M + M M M M + M + M +  +                                                    +   +   +
   Alveolar/bronchiolar carcinoma,
    metastatic, lung
Spleen                                               +   +    +   +   +    +   +   +   +   +    +   +   +    +    +    +    +   +   +   +   +    +   +   +   +
   Hemangiosarcoma                                                                                                                                   X
Thymus                                               +   +    +   + M + M +            +   +    +   +   +    +I        +    +   +   +   +M+          +   +   +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                   X
   Histiocytic sarcoma

Integumentary System
Mammary gland                                        +    +   +   +   +    +   +   +   +   +    +   +   +    +    +    +    +   +   +   +    +   +   +   +   +
   Carcinoma                                                                                                                            X
                                                                                                                       ++
Skin
   Subcutaneous tissue, hemangiosar¢oma

Musculoskeletal System
Bone
Skeletal muscle
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                   X
   Rhabdomyosarcoma
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Lesions in Female Mice                                                                                                                                                                                                             275


TABLE        D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                                    0 mg/m 3
(continued)

                                                                   7   7       7       7       7       7   7       7   7   7   7   7   7       7       7       7       7   7   7   7   7   7   7       7       7
Number of Days on Study                                            2   2       2       2       2       3   3       3   3   3   3   3   3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                   9   9       9       9       9       0   0       0   0   0   0   0   0 0 1 1 1 1 1 1 1 2 2 2 2

                                                                   1   1       1       1       1       0       0   0   1   1   1   1   1       1       1       1       1   1   1   1   1   0   1       1       1
Carcass I D N u m b e r                                            1 2 4 5 5 8 9 9                                     0   2   3   4   4       6       2       3 3 4 5 5 5 9 0 1 1
                                                                   5 7 2 2 3 2 3 7                                     1   3   6   1   5       0       1       5 9 6 1 6 8 1 3 1 8

General Body System
Tissue N O S
   Thoracic, alveolar/bronchiolar
     c a r c i n o m a , metastatic, lung

Genital System
Clitoral g l a n d                                                 +   +           +       +       +       +       +I  I       +   + +M+                           +       +   + +     +   +   +M+                      +   +
Ovary                                                              +   +           +       +       +       +       + + +       +   +M+                     +       +       +   +M+         +   + +                 +I       +
   Cystadenoma                                                                                                                 X
   Teratoma benign
    Thecoma benign
Uterus                                                             +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +   +   +   +   +   +           +       +    +   +
    Histiocytic s a r c o m a
    Leiomyoma
    P o l y p stromal
    S a r c o m a stromal                                                                                                                                          X

Hematopoietic System
Bone m a r r o w                                                   +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +   +   +   +   +       +       +       +    +   +
L y m p h node                                                                                     +                               +                                                       +               +
    Axillary, h e m a n g i o s a r c o m a
L y m p h node, b r o n c h i a l                                  +   +I                  +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +    +   +
    Alveolar/bronchiolar carcinoma,
      metastatic, lung
Lymph node, mandibular                                             +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +    +   +
L y m p h node, mesenteric                                         + ++    +                       ++   + +                + ++   +M+    + +                                   +   + +     +       ++              ++       +
L y m p h node, mediastinal                                        + M M +                         + M M +                 + M + M + M M M +                                       +M+             + +             + +      +
    Alveolar/bronchiolar carcinoma,
       metastatic, lung
Spleen                                                             +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +    +   +
    Hemangiosarcoma                                                                                                          X
Thymus                                                             +       +       +       +       +       +       +   +   + +     +       +       +       +       +       +   +   +   +   +       +       +       +    +   +
    Alveolar/bronchiolar carcinoma,
       metastatic, lung
    Histiocytic s a r c o m a

Integumentary System
Mammary gland                                                      +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +    +   +
   Carcinoma
Skin                                                                                                                           +
   S u b c u t a n e o u s tissue, h e m a n g i o s a r c o m a                                                               X

Musculoskeletal System
Bone
Skeletal muscle
   Alveolar/bronchiolar carcinoma,
     metastatic, lung
   Rhabdomyosarcoma                                                        X
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TABLE D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 0 mg/m 3
(continued)

                                          7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                   3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                          2 2 2 2 2 3 3 3 3 3 6 6 6 6

                                          1 1 1 1 1 1 1 1 1 1 0 1 1 1                                                         Total
Carcass ID Number                         1 2 3 3 4 0 1 2 2 5 9 1 4 5                                                      Tissues/
                                          9 9 0 1 7 2 2 4 6 0 4 6 9 9                                                      Tumors

General Body System
Tissue NOS                                     +
   Thoracic, alveolar/bronchiolar
     carcinoma, metastatic, lung               X

Genital System
Clitoral gland                            +    +   +   +   +   +   +   +   +   +    +   +    +   +                              57
Ovary                                     +    +   +   +   +   +   +   +   +   +    +   +    +   +                              61
   Cystadenoma                                                                                                                   1
   Teratoma benign                                                                                                               2
   Thecoma benign                                                                                                                1
Uterus                                    +    +   +   +   +   +   +   +   +   +    +   +    +   +                              64
   Histiooytic sarcoma                                                 X                                                         1
   Leiomyoma                              X                                                                                       1
   Polyp stromal                                                                                                                 2
   Sarcoma stromal                                                                                                                1

Hematopoietic S y s t e m
Bone marrow                               +    +   +   +   +   +   +   +   +   +    +   + +      +                              64
Lymph node                                                         +       +            ++                                      15
   Axillary, hemangiosarcoma                                                                                                     1
Lymph node, bronchial                     +    +   +   +   +   +   +   +   +   +    +   +    +   +                              54
   Alveolar/bronchiolar carcinoma,
    metastatic, lung                           X                                                                                  1
Lymph node, mandibular                    +    +   +   +   +   +   +   +   +   +    +   +    +   +                              61
Lymph node, mesenteric                    +    +   +M+         +   + + +       + + +         + +                                54
Lymph node, mediastinal                   +    +   + + +       +   +M+         +M+           +M                                 35
   Alveolar/bronchiolar carcinoma,
    metastatic, lung                           X                                                                                  1
Spleen                                    +    +   +   +   +   +   +   +   +   +    +   +    +   +                               64
   Hemangiosarcoma                                                                                                                2
Thymus                                    ++       +   +   +   + + + M +            +   +    +   +                               59
   Alveolar/bronchiolar carcinoma,
    metastatic, lung                           X
   Histiocytic sarcoma

Integumentary S y s t e m
Mammary gland                             +M+          +++         +   +   +   ++       +    +   +                               63
   Carcinoma                                                                                     X                                2
Skin                                                               +                                                              4
   Subcutaneous tissue, hemangiosarcoma                                                                                           1

Musculoskeletal System
Bone                                      +    +   ÷   +   +   +   ÷   +   +   +    ÷   +    +   ÷                               64
Skeletal muscle                                                                                                                   3
   Alveolar/bronchiolar carcinoma,
     metastatic, lung
   Rhabdomyosarcoma
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Lesions in Female Mice                                                                                                                                                       277



TABLE D2
Individual    Animal    Tumor     Pathology      of Female     Mice in the 2-Year                  Inhalation              Study    of Nickel       Oxide: 0 m g / m 3
(continued)

                                                      0 0 0 0 0 1 1 2 3 5 5 5 5 5 6 6 6 6 6 6 6 7                                                       7    7   7
Number of Days on Study                               1 1 2 2 9 1 3 2 5 1 4 5 8 9 1 2 3 4 8 9 9 2                                                       2    2   2
                                                      1 4 4 9 2 7 2 9 7 0 9 9 6 9 8 2 8 2 8 4 5 8                                                       8    9   9

                                                      I   0 1 1 1 0 1 0 1                  0       1       1   1   0   1    1   0   1 1 1 1 0 1 0 0
Carcass ID Number                                     2   9 3 0 0 8 0 8 1                  8       5       1   2   8   3    4   9   0 3 3 0 9 1 8 9
                                                      0   5 2 6 8 6 5 7 0                  1       4       4   8   3   4    4   0   9 8 7 0 6 3 9 9

Nervous System
Brain                                                 +   +    +   +   +   +   +   +   ÷       +       +       +   +   +   +    +   +   +   +   +   +   +    +   ÷       +
   Carcinoma, metastatic                                                                                                                                                 X

Respiratory System
Larynx                                                +   +    +   +   +   +   +   +   +       +       +       +   +   +   +    +   +   +   +   +   +   +    +   +       +
Lung                                                  +   +    +   +   +   +   +   +   +       +       +       +   +   +   W +      +   +   +   +   +   +    +       +   +
   Alveolar/bronchiolar adenoma                                                                                                                         X
   Alveolar/bronchiolar carcinoma                                                                                                               X
   Basosquamous tumor malignant,
    metastatic, ear                                                                                                                                     X
   Hepatocelltdar carcinoma, metastatic, liver
Nose                                                  +   + +      +AA         +   +   +       +       +       +   +   +   +    +   +   +   +   +   +   +    +       +   +
Trachea                                               +   +I       + + +       +   +   +       +       +       +   +   +   +    +   +   +   +   +   +   +    +       +   +

Special Senses System
Ear                                                                                                                                                     ÷
   Basosquamous tumor malignant                                                                                                                         X
   External ear, fibrosarcoma

Urinary System
Kidney                                                +   +    +   +   +   +   +   +   +       +       +       +   +   +   +    ~   +   +   +   +   +   +    +       +   +
Urinary bladder                                       +   +A       +   +   +   +   +   +       +       +       +   +   +   +    +   +   +   +   +   +   +    +       +   +

Systemic Lesions
Multiple organs
  Histiocytic sarcoma
  Lymphoma malignant                                                                                                       X        X                   XXX
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TABLE D2
Individual     Animal     Tumor    Pathology     of Female    Mice    in the 2-Year           Inhalation       Study   of Nickel       Oxide:        0 mg/m 3
(continued)

                                                      7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                               2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                      9 9 9 9 9 0 0 0 0 0 0 0 0 0 1 1 1 1 1 1 1 2 2 2 2

                                                      1 1 1 1 1 0 0 0 1 1 1 1 1 1 1 1 1 1 1 1 1 0 1 1 1
Carcass   ID Number                                   1 2 4 5 5 8 9 9 0 2 3 4 4 6 2 3 3 4 5 5 5 9 0 1 1
                                                      5 7 2 2 3 2 3 7 1 3 6 1 5 0 1 5 9 6 1 6 8 1 3 1 8

Nervous System
Brain                                                 +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +   +   +    +    +   +   +
   Carcinoma, metastatic

Respiratory System
Larynx                                                +.+     +   +   +   +   + +     +   +    +   +   +   +   +   +   +   +   +   +M+           +   +   +
Lung                                                  + +     +   +   +   +   + +     +   +    +   +   +   +   +   +   +   +   +   + + +         +   +   +
   Alveolar/bronchiolar adenoma
   Alveolar/bronchiolar carcinoma                                                                      X                               X
   Basosquamous tumor malignant,
     metastatic, ear
   Hepatocellular carcinoma, metastatic, liver                                X
Nose                                                  +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +   +    +   +    +   +   +
Trachea                                               +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +   +    +   +    +   +   +

Special Senses System
Ear                                                                                       +
    Basosquamous tumor malignant
    External ear, fibrosarcoma                                                            X

Urinary System
Kidney                                                +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +   +    +   +    +   +   +
Urinary bladder                                       +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +   +   +   +   +    +   +    +   +   +

Systemic Lesions
Multiple organs
  Histiocytic sarcoma                                                     X
  L y m p h o m a malignant                           X               X                        X                                   X        XX
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Lesions in Female Mice                                                                                                                                                               279



TABLE D2
I n d i v i d u a l A n i m a l T u m o r P a t h o l o g y o f F e m a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e :   0 mg/m 3
(continued)

                                                                   7 7 7 7 7 7 7 7 7 7 7 7 7 7
N u m b e r o f D a y s on Study                                   3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                   2 2 2 2 2 3 3 3 3 3 6 6 6 6

                                                                    1 1 1 1 1 1 1 1 1 1 0 1 1 1                                                                             Total
Carcass ID Number                                                  1 2 3 3 4 0 1 2 2 5 9 1 4 5                                                                            Tissues/
                                                                   9 9 0 1 7 2 2 4 6 0 4 6 9 9                                                                            Tumors

Nervous System
Brain                                                             ,+    +    +   +   +   +   +    +   +   +   +   +    +    +                                                   64
   Carcinoma, metastatic                                                                                                                                                         1

Respiratory S y s t e m
Larynx                                                              +M+          + + + + + + + + + + +                                                                          62
Lung                                                                +   +    +   +   +   +   +    +   +   +   +   +    +    +                                                   64
   Alveolar/bronchiolar adenoma                                              X                                                                                                   2
   Alveolar/bronchiolar carcinoma                                       X                                                                                                        4
   Basosquamous tumor malignant,
    metastatic, ear                                                                                                                                                              1
   Hepatocellul~r carcinoma, metastatic, liver                                                                                                                                   1
Nose                                                                +   +    +   +   +   +   +    +   +   +   +   +    +    +                                                   62
Trachea                                                             +   +    +   +   +   +   +    +   +   +   +   +    +    +                                                   63

Special S e n s e s S y s t e m
Ear
   Basosquamous tumor malignant
   External ear, fibrosarcoma

Urinary System
Kidney                                                              +   +    +   +   +   +   +    +   +   +   +    +   +    +                                                   64
Urinary bladder                                                     +   +    +   +   +   +   +    +   +   +   +    +   +    +                                                   63

Systemic Lesions
Multiple organs                                                     +    +   +   +   +   +    +   +   +   +   +    +   +    +                                                   64
  Histiocytic sarcoma                                                                             X                                                                              2
  Lymphoma malignant                                                                         X                    X                                                             13
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TABLE D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                          1.25 m g / m 3


                                                         0   1       2       3       4       5       5   5   5   5    6   6   6       6       6       6       6   6   6   6   6   6   6       7       7
Number of Days on Study                                  4   6       0       1       6       1       6   8   9   9    0   0   2       4       4       5       5   7   8   8   9   9   9       1       2
                                                         6   2       3       7       9       0       6   3   3   7    3   9   6       0       4       2       7   6   3   3   0   2   5       1       0

                                                         3   3       2       2       2       3       2   2   2   2    2   2   2       2       2       3       2   2   2   2   2   3   2       2       3
Carcass ID Number                                        0 2 9 9 5 1 4 9 6 4 8 5 8 7 7 0 6 7 7 9 8 0 5 9 1
                                                         8 0 1 4 9 7 4 0 4 7 7 6 5 5 1 4 0 6 7 3 8 6 4 7 6

Alimentary System
Esophagus                                                +   +       +           +       +       +       +   +   +    +   +   +           +       +       +       +   +   +   +   +   +           +       +   +   +
Gallbladder                                              A   +       +           +A              +       +A      +A       +   + +                 +       +AA    + +              +   +           +M+     +
Intestine large, c o l o n                               A   +       +           +A              +       +A      +A       +   + +                 +       + +A   + +              +   +           + + + +
Intestine large, r e c t u m                             A   +       +           +A              +       + +     +A       +   + +                 +       + + M + M +                 +           +M+     +
Intestine large, c e c u m                               A   +       +           +A              +       +A      +A       +   + +                 +       +AA    + +              +   +           + + + +
Intestine small, d u o d e n u m                         A   +       +           +A              +       +A      +A       +   + +                 +       +A   + + +              +   +           +A   + +
Intestine small, j e j u n u m                           A   +       +           +A              +       +A      +A       +   + +                 +       +A   A + +              +   +           +A   + +
Intestine small, ileum                                   A   +       +           +A              +       +A      +A       +   +'+                 +       +AA    + +              +   +           + A M +
Liver                                                    +   +       +           + +             +       + +     + +      +   + +                 +       + + + + +               +   +           + + + +
    H e m a n g i o s a r e o m a , multiple                                                                                                      X
    H e m a n g i o s a r c o m a , metastatic, uterus
    I-~epatocellular c a r c i n o m a                                                   X                                                                X               X                       X           X
    Hepatocellular adenoma                                                                                                                                                                                        X
Mesentery
Pancreas                                                 +   +           +       +       +       +       +   +   +    +   +   +           +       +       +       +   +   +   +   +   +           +       +   +   +
Salivary g l a n d s                                     +   +           +       +       +       +       +   +   +    +   +   +           +       +       +       +   +   +   +   +   +           +       +   +   +
Stomach, forestomach                                     A   +           +       +       +       +       +   +   +A       +   +           +       +       +A          +   +   +   +   +           +       +   +   +
Stomach, glandular                                       A   +           +       +       +       +       +   +   +A       +   +           +       +       +A          +   +   +   +   +           +       +   +   +
Tooth

Cardiov~cular S y s t e m
Hea~                                                     +   +           +       +       +       +       +   +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +

Endocrine              System
Adrenal cortex                                           +       +       +       +       +       +       +   +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +
Adrenal medulla                                          +       +       +       +       +       +       +   +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +
Islets, p a n c r e a t i c                              +       +       +       +       +       +       +   +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +
Parathyroid gland                                        M M M M M M +                                       +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +M+
Pituitary g l a n d                                      + + + + + + +                                       +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       + +     +
    Pars distalis, a d e n o m a                                                                                      X                                           X
    P a r s intermedia, a d e n o m a
Thyroid gland                                            +       +       +       +       +       +       +   +   +    +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +
    F o l l i c u l a r cell, a d e n o m a                                                                                                                                                                   X

General Body System
Tissue N O S                                                                                                 +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                        X

Genital System
Clitoral g l a n d
    Duct, a d e n o m a
Ovary
    Teratoma benign                                              X
Uterus
    Carcinoma
    Hemangiosarcoma                                                                                                                                                   X
    P o l y p stromal                                                                                        X                    X
    Cervix, hemangiosarcoma
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Lesions in Female Mice                                                                                                                                                                                                       281


TABLE D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                        1.25 m g / m 3
(continued)

                                                         7   7    7    7       7       7       7       7       7       7       7       7   7       7   7    7   7   7   7   7   7   7   7       7       7
Number of Days on Study                                  2   2    2    2       2       2       2       3       3       3       3       3   3       3   3    3   3   3   3   3   3   3   3       3       3
                                                         6   9    9    9       9       9       9       0       0       0       0       0   0       0   0    1   1   1   1   1   1   1   1       2       2

                                                         2   2    2    2       2       2       3       2       2       2       2       2   2       2   3    2   2   2   2   2   2   2   3       2       2
Carcass I D N u m b e r                                  8   5    5    5       7       7       1       4       6       6       7       8   8       9   1    4   4   5   6   7   8   9   1       4       6
                                                         6   1    3    8       2       9       3       9       6       9       3       2       9   8   2    5   6   0   1   8   0   2   1       1       5

Alimentary         System
Esophagus                                                +   +    +    +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Gallbladder                                              +   +    +    +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Intestine large, colon                                   +   +    +    +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Intestine large, rectum                                  +   +    +    +           +       +       +       +MM+                            + M + M +                +   +   + M M +             +           +   +
Intestine large, c e c u m                               +   +    +    +           +       +       +       + + +                   +       + + + + +                +   +   + + + +             +           +   +
Intestine small, d u o d e n u m                         +   +    +    +           +       +       +       + + +                   +       + + + + +                +   +   + + + +             +           +   +
Intestine small, j e j u n u m                           +   +    +    +           +       +       +       + + +                   +       + + + + +                +   +   + + + +             +           +   +
Intestine small, ileum                                   +   +    +    +           +       +       +       + + +                   +       + + + + +                +   +   + + + +             +           +   +
Liver                                                    +   +    +    +           +       +       +       + + +                   +       + + + + +                +   +   + + + +             +           +   +
    H e m a n g i o s a r c o m a , multiple
    H e m a n g i o s a r c o m a , metastatic, uterus
    Hepatocellular c a r c i n o m a                                                                                                               X        X                                   X
    Hepatocellular a d e n o m a                                               XXX                                                                 X                                                            X
Mesentery                                                              +
Pancreas                                                 +   +     +   +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Salivary glands                                          +   +     +   +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Stomach, forestomach                                     +   +     +   +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Stomach, glandular                                       +   +     +   +           +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +       +           +   +
Tooth                                                                              +

Cardiovascular System
Heart                                                    +   +     +       +       +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +           +       +   +

Endocrine System
Adrenal cortex                                           +   +     +       +       +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +           +       +   +
Adrenal medulla                                          +   +     +       +       +M+                     +       +       +       +       +       +   +    +   +   +   +   +   +   +   +           +       +   +
Islets, pancreatic                                       +   +     +       +       + +             +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +           +       +   +
Parathyroid gland                                        +   +     +       +       +       +       +       +       +       +       +M+                 +    +   +   +   +   +   +   +   +           +M+
Pituitary gland                                          +   +     +       +       +       +       +       +       +       +       + +             +   +    +   +   +   +   +   +   +   +           + +         +
    Pars distalis, a d e n o m a                             X                                                                             X                        X                                    X
    Pars intermedia, a d e n o m a
Thyroid gland                                            +   +     +       +       +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +   +           +       +   +
    Follicular cell, a d e n o m a

General Body System
Tissue NOS
   Alveolar/bronchiolar c a r c i n o m a ,
     metastatic, lung

Genital System
Clitoral gland                                           +M+               +       +M+                     +       +       +       +       +       +   +    +   +   +   +   +   +   +       +       +I          +
    Duct, a d e n o m a                                            X
Ovary                                                    +       + +       +       +       +       +       +       +       +       +       +       +   +    +   +   +   +   +   +   +       +       +       +   +
    T e r a t o m a benign
Uterus
    Carcinoma
    Hemangiosarcoma
    Polyp stromal                                                                                                                  X
    Cervix, h e m a n g i o s a r c o m a                                                                                                                                                                   X
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TABLE         D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                   1.25 m g / m 3
(continued)

                                                         7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number          of Days on Study                         3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                         2 2 2 2 2 2 3 3 3 3 3 3 3 3 6 6

                                                         2 2 2 2 3 3 2 2 2 2 3 3 3 3 2 2                                                            Total
Carcass        ID Number                                 6 8 9 9 0 1 4 5 6 6 0 0 1 1 7 8                                                      Tissues/
                                                         7 4 5 6 3 9 8 7 2 3 0 7 4 8 0 1                                                      Tumors

Alimentary System
Esophagus                                                + + +        + + +       + + + +         +   +   +   +   + +                                 66
Gallbladder                                              + + +        + + +       + + + +         +   +   +   +   + +                                 59
Intestine large, c o l o n                               + + +        + + +       + + + +         +   +   +   +   + +                                 61
Intestine large, r e c t u m                             + M +        + M +       + + M +         +   +   +   +   + M                                 50
Intestine large, c e c u m                               + + +        + + +       + + + +         +   +   +   ÷   + +                                 60
Intestine small, d u o d e n u m                         + + +        + + +       + + + +         +   +   +   +   + +                                 60
Intestine small, j e j u n u m                           + + +        + + +       + + + +         +   +   +   +   + +                                 59
Intestine small, ileum                                   + + +        + + +       + M + +         +   +   +   +   + +                                 57
Liver                                                    + + +        + + +       + + + +         +   +   +   +   + +                                 66
    H e m a n g i o s a r c o m a , multiple                                                                                                           1
    H e m a n g i o s a r c o m a , metastatic, uterus                                                        X                                        1
    Hepatocellular carcinoma                                      X                           X                                                       10
    Hepatocellular adenoma                                                X                                                                            7
Mesentery                                                                                     +                                                        2
Pancreas                                                 +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                               66
Salivary g l a n d s                                     +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                               66
Stomach, forestomach                                     +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                               63
Stomach, glandular                                       +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                               63
Tooth                                                                                                                                                  1

Cardiovascular               System
Heart                                                    +    +   +   +   +   +   +   +   +   +   + +     +   +   +   +                               66

Endocrine System
A d r e n a l cortex                                     +   +    + + +       +   +   +   +   +   +   +   +   + +     +                               66
Adrenal medulla                                          +   +    + + +       +   +   +   +   +   +   +   +   + +     +                               65
Islets, p a n c r e a t i c                              +   +    + + +       +   +   +   +   +   +   +   +   + I     +                               65
Parathyroid gland                                        +   +    + M M       +   +   +   +   +   +   +   +   + +     +                               55
Pituitary g l a n d                                      +   +    + + +       +   +   +   +   +   +   +   +   + +     +                               66
     P a r s distalis, a d e n o m a                         X                                X           X                                            9
     Pars intermedia, a d e n o m a                                                                                   X                                1
Thyroid gland                                            +    +   +   ÷   +   +   +   +   +   +   +   +   +   +   +   +                               66
     F o l l i c u l a r cell, a d e n o m a                                                                                                           1

General Body System
Tissue N O S                                                                                                                                            1
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                                                   1

Genital S y s t e m
Clitoral g l a n d                                       +    +   + M +       +   +   +   +   +   +   +   +   +   +   +                                62
    Duct, a d e n o m a                                                                                                                                 1
Ovary                                                    +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                                66
    Teratoma benign                                                                                                                                     1
Uterus                                                   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +   +                                66
    Carcinoma                                                                             X                                                             1
    Hemangiosarcoma                                                                                           X                                         2
    P o l y p stromal                                                             X                                                                     4
    Cervix, hemangiosarcoma                                                                                                                             1
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Lesions in Female Mice                                                                                                                                                                                                                   283


TABLE        D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                                    1.25 m g / m 3
(continued)

                                                                   0   1       2       3       4       5       5   5   5   5   6   6   6       6       6       6       6   6   6   6   6    6   6       7       7
Number of Days on Study                                            4   6       0       1       6       1       6   8   9   9   0   0   2       4       4       5       5   7   8   8   9    9   9       1       2
                                                                   6   2       3       7       9       0       6   3   3   7   3   9   6       0       4       2       7   6   3   3   0    2   5       1       0

                                                                   3 3 2 2 2 3 2 2 2 2 2 2 2 2 2 3 •2 2 2 2 2 3 2 2 3
Carcass ID Number                                                  0 2 9 9 5 1 4 9 6 4 8 5 8 7 7 0 6 7 7 9 8 0 5 9 1
                                                                   8 0 1 4 9 7 4 0 4 7 7 6 5 5 1 4 0 6 7 3 8 6 4 7 6

Hematopoietic S y s t e m
Bone marrow                                                        +   +M                  +       +       +       +   +   +   + +     +           +       +       +       +   +   +   +    +   +           +       +   +   +
L y m p h node                                                                                                                 ++                                                                                       +
L y m p h node, b r o n c h i a l                                  + M M +                         ++              + + +       + + + +                     +       +       +   +   +   +    +   +           +       +   +   +
    Alveolar/bronchiolar carcinoma,
      metastatic, lung                                                                                               X                                                                                  X
Lymph node, mandibular                                             +M+                     +       +       +       +M+         +   +   +       +           +       +I          +   +   +    +   +       +           +   +   +
    S a r c o m a , metastatic, skin                                                                                                           X
L y m p h node, mesenteric                                         M+   + +                        +       + + + + +               +M+                     +       + + + +             + +      + + + + +
L y m p h n o d e , mediastinal                                    M M M + I                               M + + M +               + +I                    +       + M M +             +I       + M M M +
    Alveolar/bronchiolar carcinoma,
      metastatic                                                                                                                                                                                X
    Alveolar/bronchiolar carcinoma,
      metastatic, lung                                                                                                 X
Spleen                                                             +   +           +       +       ÷       +       +   +   +   +   +   +           +       +       +       +   +   +   +    +   +           +       +   +   +
    Hemangiosarcoma                                                                                                                                                                                                         X
Thymus                                                             +   +           +       +       +       +       +   +   +   +   +   +           +       +M+                 +   +   +I       +           +       +   +   +
    Alveolar/bronchiolar carcinoma,
       metastatic                                                                                                                                                                               X
    Alveolar/bronchiolar carcinoma,
       metastatic, lung

Integumentary S y s t e m
Mammary gland                                                      +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +    +       +       +       +   +   +
   Adenoma                                                                                                                                                                             X
   Carcinoma
Skin                                                                                       +                       +       +                       +       +                                                                +
   Hemangiosarcoma                                                                                                                                                                                                          X
   Melanoma NOS
   Sarcoma                                                                                                                 X
   Pinna, s a r c o m a                                                                                                                            X
   S u b c u t a n e o u s tissue, h e m a n g i o s a r c o m a

Musculoskeletal               System
Bone                                                               +       + I             +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +    +       +       +       +   +   +
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                  X

Nervous S y s t e m
Brain
Spinal cord
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TABLE D 2
Individual .Animal Tumor         Pathology   of Female Mice in the 2-Year Inhalation       Study of Nickel Oxide:         1.25 mg/m 3
(continued)

                                                 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                          2 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                 6 9 9 9 9 9 9 0 0 0 0 0 0 0 0 1 1 1 1 1 1 1 1 2 2

                                                 2 2 2 2 2 2 3 2 2 2 2 2 2 2 3 2 2 2 2 2 2 2 3 2 2
                                                                                                        .




Carcass ID Number                                8 5 5 5 7 7 1 4 6 6 7 8 8 9 1 4 4 5 6 7 8 9 1 4 6
                                                 6 1 3 8 2 9 3 9 6 9 3 2 9 8 2 5 6 0 1 8 0 2 1 1 5

Hematopoietic S y s t e m
Bone marrow                                       + + + + + + + + + + + + + + + + + + + + + + + + +
Lymph node                                              +   +           +             +       +
Lymph node, bronchial                             + + + + + + + + + + + + + + + + + + + + + + + + +
   Alveolar/bmnchiolar carcinoma,
    metastatic, lung
Lymph node, mandibular                            + + + + + + + + + + + + + + + +               + + +       + +   + +    + +
   Sarcoma, metastatic, skin
Lymph node, mesenteric                            + + + + + + + + + + + + + +              + + + +    + + +       + +    +   +
Lymph node, mediastinal                           +MMMM+I           + M + + M M M + I           +   + +MMMMM+
   Alveolar/bronchiolar carcinoma.
    metastatic
   Alveolar/bronchiolar carcinoma,
    metastatic, lung
Spleen                                            + + + + + + + + + + + + + +              + + + + +        + +   + +    +   +
   Hemangiosarcoma                                                                                                   X
Thymus                                            +++       + + + + + + M + M +        + + + + + + +          + M + + +
   Alveolar/bronchiolar carcinoma,
    metastatic
   Alveolar/bronchiolar carcinoma,
     metastatic, lung

Integumentary System
Mammary gland                                     + + + + + + + + + + + + + +              + + + +    + +     + +     + +    +
   Adenoma
   Carcinoma                                            X                                                                    X
Skin                                                                                   +                      +
   Hemangiosarcoma
   Melanoma NOS                                                                                               X
   Sarcoma
   Pinna, sarcoma
   Subcutaneous tissue, hemangiosarcoma                                             X

Musculoskeletal System
Bone                                              + + + + + + + + + + +       + +      + + + +      + + +     + +     + +    +
  Alveolar/bronchiolar carcinoma,
    metastatic, lung

Nervous System
Brain
Spinal cord
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Lesions in F e m a l e Mice                                                                                                          285



TABLE D 2
Individual    Animal   Tumor     Pathology   of Female Mice in the 2-Year Inhalation    Study of Nickel Oxide:   1.25 mg/m   3
(continued)

                                                 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
N u m b e r of Days on Study                     3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                 2 2 2 2 2 2 3 3 3 3 3 3 3 3 6 6

                                                 2 2 2 2 3 3 2 2 2 2 3 3 3 3 2 2                                          Total
Carcass ID Number                                6 8 9 9 0 1 4 5 6 6 0 0 1 1 7 8                                       Tissues/
                                                 7 4 5 6 3 9 8 7 2 3 0 7 4 8 0 1                                       Tumors

Hematopoietic System
Bone marrow                                       + + + + + + + + + + + + + + +            +                                 65
Lymph node                                                      +                                                             9
Lymph nt~.le, bronchial                           + + + + + + + +I       + + + +       + + +                                 63
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                         2
Lymph node, mandibular                            + + + + + + + + + + + + + + ~            +                                 63
   Sarcoma, metastatic, skin                                                                                                  1
Lymph node, mesenteric                            + + + + + + M +      + + + + + + + +                                       63
Lymph node, mediastinal                           +I  MMI   ÷M++         + +I  MMMI                                          28
   Alveolar/bronchiolar carcinoma,
     metastatic
   Alveolar/bronchiolar carcinoma,
     metastatic, lung                                                                                                         1
Spleen                                            + + + + + + + + + + + + + + + +                                            66
   Hemangiosarcoma                                                                                                            2
Thymus                                            + + + + + + + + + + + + + + + +                                            61
   Alveolar/bronchiolar carcinoma,
     metastatic.
   Alveolar/bronchiolar carcinoma,
     metastatic, lung

Integumentary System
Mammary gland                                     + + + + + + + + + + + + + + + +                                            66
   Adenoma                                                                                                                    1
   Carcinoma                                                             X                                                    3
Skin                                                                                                                          8
   Hemangiosarcoma                                                                                                            1
   Melanoma NOS                                                                                                               1
   Sarcoma                                                                                                                    1
   Pinna, sarcoma                                                                                                             1
   Subcutaneous tissue, hemangiosarcoma                                                                                       1

Musculoskeletal System
Bone                                              + + ÷ + ÷ + + + + + + + + + +            +                                 65
  Alveolar/bronchiolar carcinoma,
    metastatic, lung                                                                                                             1

Nervous System
Brain                                             + + + + + + + + + + + + + + ÷ +                                            66
Spinal cord                                                                                                                   1
     Case 3:16-md-02738-MAS-RLS                                                    Document 9727-10                                                         Filed 05/07/19                                          Page 291 of 382
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TABLE  D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                                                    1.25 m g / m 3
(continued)

                                                                           0   1    2   3   4       5       5       5       5       5       6       6       6       6       6       6       6       6   6   6   6   6   6   7       7
Number of Days on Study                                                    4 6 0 1 6 1 6 8 9 9 1 )                                                      0       2       4       4       5       5    7 8 8 9 9 9 1 2
                                                                           6 2 3 7 9 0 6 3 3 7 3                                                    9       6       0       4       2       7       6 3 3 0 2 5 1 0

                                                                           3   3    2   2   2       3       2       2       2       2       2       2       2       2       2       3       2       2   2   2   2   3   2   2       3
Carcass ID Number                                                          0   2   9    9   5       1       4       9       6       4       8       5       8       7       7       0 6 7 7 9 8 0 5 9 1
                                                                           8   0   1    4   9       7       4       0       4       7       7       6       5       5       1       4 0 6 7 3 8 6 4 7 6

Respiratory System
Larynx                                                                     +   +    +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +   +   +   +       +       +    +
Lung                                                                       +   +    +   +   +           +       +       +       +       +       +       +       +       +           +       +       +   +   +   +   +   +       +       +    +
  Alveolar/bronchiolar adenoma                                                                                                                                                              X
    A l v e o l a r / b r o n c h i o l a r a d e n o m a , multiple
    Alveolar/bronchiolar carcinoma                                                                                      X                                                                               X           X X     X
    A l v e o l a r / b r o n c h i o l a r c a r c i n o m a , multiple                                                                                                                            X
   Hepatocellular c a r c i n o m a , metastatic                                                                                                                                    X
Nose                                                                       +   +    +   +   +           +       +       +       +       A       +       +       +           +       +       +       +   +   +   +   +   +       +       +    +
Trachea                                                                    +   +    +   +   +           +       +       +       +       +       +       +       +           +       +       +       +   +   +   +   +   +       +       +    +


Special Senses System
Ear
H a r d e r i a n gland                                                                                                                                 +
     Adenoma                                                                                                                                            X

Urinary        System
Kidney                                                                     +   +    +   +       +       +       +       +       +       +       +       +       +           +       +       +       +   +   +   +   +   +       +       +    +
Urinary bladder                                                            A   +    +   +       +       +       +       +       +A              +       +       +           +       +       +       +   +   +   +   +   +       +       +M

Systemic Lesions
Multiple organs
  Lymphomamalignant                                                                                                                     XX                                                                      X                       XX
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Lesions in Female Mice                                                                                                                                                                                                                         287


TABLE         D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                                          1.25 m g / m 3
(continued)

                                                                          7   7       7       7       7       7       7   7   7   7   7   7   7       7       7       7       7   7   7   7   7   7   7       7       7
Number of Days on Study                                                   2   2       2       2       2       2       2   3   3   3   3   3   3       3       3       3       3   3   3   3   3   3   3       3       3
                                                                          6   9       9       9       9       9       9   0   0   0   0   0   0       0       0       1       1   1   1   1   1   1   1       2       2

                                                                          2 2 2 2 2 2 3 2 2 2 2 2 2 2 3 . 2 2 2 2 2 2 2 3 2 2
Carcass         ID Number                                                 8 5 5 5 7 7 1 4 6 6 7 8 8 9 1 4 4 5 6 7 8 9 1 4 6
                                                                          6 1 3 8 2 9 3 9 6 9 3 2 9 8 2 5 6 0 1 8 0 2 1 1 5

Respiratory              System
Larynx                                                                    +   +           +       +       +       +       +   +   +   +   +I              +       +       +       +   +   +   +   +   +           +       +I      +
Lung                                                                      +   +           +       +       +       +       +   +   +   +   + +             +       +       +       +   +   +   +   +   +           +       + +     +
   Alveolar/bronchiolar adenoma                                                                                                           X
   A l v e o l a r / b r o n c h i o l a r ader~oma, multiple                                                                     X
   Alveolar/bronchiolar carcinoma                                                                                         X                                                               X           X                           X
   A l v e o l a r / b r o n c h i o l a r c a r c i n o m a , multiple
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic
Nose                                                                      +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +   +   +   +   +   +           +       +   +   +
Trachea                                                                   +   +           +       +       +       +       +   +   +   +   +   +           +       +       +       +   +   +   +   +   +           +       +   +   +

Special Senses System
Ear
Harderian gland
    Adenoma

Urinary System
Kidney                                                                    +       +       +       +       +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +
Urinary bladder                                                           +       +M+                     +       +       +   +   +   +   +       +       +       +       +       +   +   +   +   +       +       +       +   +   +

Systemic L e s i o n s
Multiple o r g a n s
  Lymphoma malignant                                                      X                                       X                   X       X                                               X                           X
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TABLE D2
Individual Animal Tumor Pathology of F e m a l e      Mice     in the 2-Year Inhalation Study of Nickel Oxide: 1.25 mg/m 3
(continued)

                                              7 7 7 7 7 7 7 7 7 7 7 7 . 7 7 7 7
Number of Days on Study                       3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                              2 2 2 2 2 2 3 3 3 3 3 3 3 3 6 6

                                              2 2 2 2 3 3 2 2 2 2 3 3 3 3 2 2                                                    Total
Carcass ID Number                             6 8 9 9 0 1 4 5 6 6 0 0 1 1 7 8                                                 Tissues/
                                              7 4 5 6 3 9 8 7 2 3 0 7 4 8 0 1                                                 Tumors

Respiratory System
Larynx                                        +   +   +    +   +   +   +   +   +   +   +   +   +   + I     +                       63
Lung                                          +   +   +    +   +   +   +   +   +   +   +   +   +   + +     +                       66
   Alveolar/bronchiolar adenoma                                                                                                     2
   Alveolar/bronchiolar adenoma, multiple                                      X                                                    2
   Alveolar/bronchiolar carcinoma                                                              X                                   10
   AIv¢olar/bronchiolar carcinoma, multiple                                                                                         1
   Hepatocellular carcinoma, metastatic                                                                                             1
Nose                                          +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +                       65
Trachea                                       +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +                       66

Special Senses System
Ear                                                                                                    +                             1
Harderian gland                                                                                                                      1
   Adenoma                                                                                                                           1

Urinary System
Kidney                                        +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +                       66
Urinary bladder                               +   +   +    +   +   +   +   +   +   +   +   +   +   +   +   +                       62

Systemic Lesions
Multiple organs                               +   +    +   +   +   +   +   +   +   +   +   +   +   +   +   +                       66
  Lymphoma malignant                              X                                                                                12
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Lesions in Female Mice                                                                                                                                                 289


TABLE         D2
Individual           Animal Tumor Pathology of F e m a l e         Mice    in the       2-Year       Inhalation        Study     of Nickel       Oxide: 2.5 mg/m 3


                                                           0 0 0 0 3 3 3 4 5 5 5 5 5 6 6 6 6 6 6 6 6 7 7 7
Number of Days on Study                                    1 1 3 5 1 2 2 5 3 6 7 8 8 3 4 5 6 7 7 7 8 2 2 2
                                                           6 9 6 8 5 1 6 1 8 6 0 4 7 0 0 9 9 0 0 6 1 9 9 9

                                                           4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4
Carcass        ID Number                                   3 2 1 5 0 2 2 0 1 1 1 1 1 5 1 6 7 2 3 4 3 0 1 2
                                                           7 3 0 2 9 0 1 7 5 4 3 6 9 5 2 6 0 7 3 9 4 1 8 2

Alimentary System
Esophagus                                                  +   +   +   +   +   +   +    +    +   +    +    +   +   +   +     +   +   +   +   +   +    +   +     +
Gallbladder                                                M A A A         +   +   +A        ++       +    +   +   +    +A       +   +   +   + + +        +     +
Intestine large, c o l o n                                 A +A    A       +   +   +A        + +      +    +   +   +    +A       +   +   +   + + +        +     +
Intestine large, r e c t u m                               A +A    A       +   +   + +       + +      +    +   +   +    +A       +   +   +   + +M+              +
Intestine large, c e c u m                                 A +A    A       +   +   +A        + +      +    +   +   +    +A       +   +   +   +A  +        +     +
Intestine small, d u o d e n u m                           A A A A         +   +   +A        + +      +    +   +   +    +A       +   +   +   +A  +        +     +
Intestine small, j e j u n u m                             A A A A         +   +   +A        + +      +    +   +   +    +A       +   +   +   +A  +        +     +
Intestine small, ileum                                     A A A A         +   +   +A        + +      +    +   +   +    +A       +   +   +   +A  +        +     +
Liver                                                      + + + +         +   +   + +       + +      +    +   +   +    + +      +   +   +   + + +        +     +
    Hemangiosarcoma                                                                                                                                       X
    Hepatocellular carcinoma                                                            X        X X                                     X
    Hepatocellular adenoma                                                                                             X         X           X                  X
    H e p a t o c e l l u l a r a d e n o m a , multiple
Mesentery                                                                                                                                        +
Pancreas                                                   +   +   +   +   +   +    +    +   +   +    +    +   +   +    + A      +   +   +   +   +    +   +     +
Salivary g l a n d s                                       +   +   +   +   +   +    +    +   +   +    +    +   +   +    + +      +   +   +   +   +    +   +     +
Stomach, forestomach                                       +   +   +   +   +   +   +     +   +   +    +    +   +   +    +A       +   +   +   +   +    +   +     +
Stomach, glandular                                         +   +   +   +   +   +   +     +   +   +    +    +   +   +    + A      +   +   +   +   +    +   +     +
Tooth

Cardiovascular               System
Heart                                                      +   +   +   +   +   +    +    +   +   +    +    +   +   +    +    +   +   +   +   +   +    +    +    +

Endocrine System.
A d r e n a l cortex                                       +   +   +   +   +   +    +    +   +   +    +    +   +   +    +    +   +   +   +   +   +    +    +    +
Adrenal medulla                                            +   +   +   +   +   +    +    +   +   +    +    +   +   +    +    +   +   +   +   +   +    +    +    +
     Pheochromocytoma benign
Islets, p a n c r e a t i c                                +   +   +   +   +   +    +    +   +   +    +    +   +   ÷    +    A   +   +   +   +   +    +    +    +
Parathyroid gland                                          + + M M M M M M +                     + + + + M M +   + + +                       +   +M+            +
Pituitary g l a n d                                        ++   + + + + M + +                    + + + + +  + + + + + +                          ++        ++
     Pars distalis, a d e n o m a                                                                           X
     Pars intermedia, a d e n o m a
Thyroid gland                                              +   +   +   +   +   +    +    +   +   +    +    +   +   +    +    +   +   +   +   +   +    +    +    +
     Bilateral~ follicular cell, a d e n o m a

General Body System
Tissue N O S
   Fat, h e m a n g i o s a r c o m a

Genital System
Clitoral g l a n d                                         + + +       + + +        +I    +      + M + + + + + + + +                         +   ++        +    +
Ovary                                                      ++    +     + + +        + + +        + + + + + + M + M M +                           ++        +    +
    Cystadenoma
    Granulosa-theca tumor benign
Uterus                                                     +   +   +   +   +   +    +    +   +   +     +   +   +   +    +A       +   +   +   +   +    +    +    +
    Hemangioma                                                                                                 X
    Hemangiosarcoma                                                                                                                              X
    S a r c o m a stromal
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 TABLE D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel O x i d e :                                                                                  2.5       mg/m 3
 (continued)

                                                 7   7    7   7   7       7       7       7       7       7       7       7       7   7   7   7   7   7   7   7   7   7   7    7       7
Number         of Days on         Study          2   2    2   2   2       2       2       2       3       3       3       3       3   3   3   3   3   3   3   3   3   3   3    3       3
                                                 9   9    9   9   9       9       9       9       0       0       0       0       0   0   0   1   1   1   1   1   2   2   2    2       2

                                                 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4
Carcass ID Number                                3   3    4   4   4       5       6       8       2       4       4       4       5   5   7   0   4   5   5   5   0   1   3    4       6
                                                 0   2    1   2   6       8       1       0       6       0       3       7       0   9   2   2   4   3   6   7   5   7   8    8       8

Alimentary          System
Esophagus                                        +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   + +     +   +   +   +   +    +           +     +
Gallbladder                                      +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   + +     +   +   +   +   +    +           +     +
Intestine large, colon                           +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +.+     +   +   +   +   +    +           +     +
Intestine large, r e c t u m                     +M+          +   +       + M M +                             +       +       + M M M +               + M M +         +   +    +M+
Intestine large, c e c u m                       + +      +   +   +       + + + +                             +       +       + + + + +               + + + +         +   +    + +               +
Intestine small, d u o d e n u m                 +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Intestine small, j e j u n u m                   +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Intestine small, ileum                           +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Liver                                            +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
    Hemangiosarcoma
    Hepatocellular c a r c i n o m a             X X                                                                          X
   Hepatocellular a d e n o m a                                                                       X                                                                   X
   Hepatocellular a d e n o m a , multiple
Mesentery
Pancreas                                         +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Salivary glands                                  +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Stomach, forestomach                             +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Stomach, glandular                               +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
Tooth                                                                                 +


Cardiovascular            System
Heart                                            +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +

Endocrine         System
 Adrenal cortex                                  +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
 Adrenal medulla                                 +    +   +   +   +       +           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +           +     +
     P h e o c h r o m o c y t o m a benign                                                                                                                                            X
 Islets, pancreatic                              +    +   +   +   +       ~           +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +       +         +
 Parathyroid gland                               +M+        +     +M+                         +       +       +       +       +       +   +   +   + +     +   +   +   +   +    +           +     +
 Pituitary gland                                 + +      + +     + +                 +       +       +       +       +       +       +   +   +   +M      +   +   +   +   +    +           +     +
     Pars distalis, a d e n o m a                           X                                                                                     X           X
     Pars intermedia, a d e n o m a                                                                                                                                                    X
.Thyroid gland                                   +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +    +       +         +
     Bilateral, follicular cell, a d e n o m a

General       Body System
Tissue NOS
   Fat, h e m a n g i o s a r c o m a

Genital S y s t e m
Clitoral gland                                   +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   + M M +         +        +       +     +
Ovary                                            +    +   +   +   +           +       +       +       +       +       +       +       +   +   +   +   +   + + + +         +        +       +     +
    Cystadenoma                                           X                                                                           X                                        X
    Granulosa-theca t u m o r benign             X
Uterus                                           +    +   +   +       +       +       +       +       +       +       +       +       +   +   +   +   +   +   +   +   +   +        +       +     +
    Hemangioma
    Hemangiosarcoma
    S a r c o m a stromal
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Lesions in Female Mice                                                                                                                              291


TABLE         D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 2.5 m g / m J
(continued)

                                                           7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number          of Days on Study                           3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                           3 3 3 3 3 3 3 3 3 6 6 6 6 6

                                                           4 4 4 4 4 4 4 4 4 4 4 4 4 4                                                      Total
Carcass I D N u m b e r                                    0 0 2 2 3 3 6 7 7 0 2 2 6 6                                                   Tissues/
                                                           3 8 8 9 1 5 9 3 8 4 4 5 0 3                                                   Tumors

Alimentary System
Esophagus                                                  +   + + + + +           + + +       + + +       +   +                              63
Gallbladder                                                +   + + + + +           + + +       + + +       +   +                              57
Intestine large, c o l o n                                 +   + + + + +           + + +       + + +       +   +                              58
Intestine large, r e c t u m                               +   + M + M +           + M M       + M M       +   +                              43
Intestine large, c e c u m                                 +   + + + + +           + + +       + + +       +   +                              57
Intestine small, d u o d e n u m                           +   + + + + +           + + +       + + +       +   +                              56
Intestine small, j e j u n u m                             +   + + + + +           + + +       + + +       +   +                              56
Intestine small, ileum                                     +   + + + + +           + + +       + + +       +   +                              56
Liver                                                      +   + + + + +           + + +       + + +       +   +                              63
    Hemangiosarcoma                                                                                                                            1
    Hepatocellularcarcinoma                                                            X                                                       8
    Hepatocellular adenoma                                                 X                   X                                               8
    H e p a t o c e l l u l a r a d e n o m a , multiple                       X                                                               1
Mesentery                                                                                                                                      1
Pancreas                                                   +   +   +   +   +   +   +   +   +   +   +   +   +    +                             62
Salivary glands                                            +   +   +   +   +   +   +   +   +   +   +   +   +    +                             63
Stomach, forestomach                                       +   +   +   +   +   +   +   +   +   +   +   +   +    +                             62
Stomach, glandular                                         +   +   +   +   +   +   +   +   +   +   +   +   +    +                             62
Tooth                                                                                                                                          1

Cardiovascular               System
Heart                                                      +   +   +   +   +   +   +   +   +   +   +   +   +    +                              63

Endocrine System
A d r e n a l cortex                                       +   +   +   +   +   +   +   +   +   +   +   +   +    +                              63
Adrenalmedull~                                             +   +   +   +   +   +   +   +   +   +   +   +   +    +           '                  63
     Pheochromocytoma benign                                                                                                                    1
Islets, pancreatic                                         +   + + +       + + +       +   + + + +         +    +                              62
Parathyroid gland                                          +   + M +       + M +       +   + M M +         +    +                              48
Pituitary g l a n d                                        +   + + +       + + +       +   + + + +         +    +                              61
     Pars distalis, a d e n o m a                                          X X             X     X                                              8
     Pars intermedia, a d e n o m a                                                                                                             1
T h y r o i d gland                                        +   +   +   +   +   +   +   +   +   +   +   +   +    +                              63
     Bilateral, follicular cell, a d e n o m a                                 X                                                                1

General Body System
Tissue N O S                                                                   +                                                                1
   Fat, h e m a n g i o s a r c o m a •                                        X                                                                1

G e n i t a l System
Clitoral gland                                             +   + I M +         +   +   +   +   +   +   +   +    +                              57
Ovary                                                      +   + + + +         +   +   +   +   +   +   +   +    +                              60
    Cystadenoma                                                                                                                                 3
    Granulosa-theca tumor benign                                                                                                                1
Uterus                                                     +   +   +   +   +   +   +   +   +   +   +   +   +    +                              62
    Hemangioma                                                                                                                                  1
    Hemangiosarcoma                                                                                                                             1
     S a r c o m a stromal                                                                         X                                            1
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TABt,~ D2
Individual A n i m a l                Tumor           Pathology   of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 2.5 m g / m 3
(continued)

                                                                      0    0   0       0       3       3       3   4   5   5   5   5    5   6       6       6       6   6    6   6   6   7    7       7
Number of Days on Study                                               1 1 3 5 1 2 2 5 3 6 7 8 8 3 4 5 6 7 7                                                                      7   8   2    2       2
                                                                      6 9 6 8 5 1 6 1 8 6 0 4 7 0 0 9 9 0 0                                                                      6   1   9    9       9

                                                                      4    4   4       4       4       4       4   4   4   4   4   4    4   4       4       4       4   4    4   4   4   4    4       4
Carcass ID Number                                                     3    2   1       5       0       2       2   0   1   1   1   1    1   5       1       6       7   2    3   4   3   0    1       2
                                                                      7    3   0       2       9       0       1   7   5   4   3   6    9   5       2       6       0   7    3   9   4   1    8       2

Hematopoietic                System
Bone marrow                                                           + + + + M + + + + + + + + + + +                                                                        + + + + + + + +
    Hemangiosarcoma                                                                                                                                                     X
    H e m a n g i o s a r c o m a , metastatic, spleen                                                                     X
Lymph node                                                                                                         +                                                             +   +        +                   +
    Axillary, h e m a n g i o s a r c o m a
Lymph node, bronchial                                                 M + M M + +   +                                  + + + + + + + + +     ++                                      +   ++               +I      +
Lymph node, mandibular                                                + + + + + +M+                                       + + + +M+     + A M +                                      +   + +              + +     +
L y m p h n o d e , mesenteric                                        M + M M +   +M+                                     + + +M+    + +A    + +                                     +   + +              + +     +
    H e m a n g i o s a r c o m a , metastatic, liver                                                                                                                                                        X
L y m p h n o d e , mediastinal                                       M M M M M + +                                    +   + + + M I                    ++              + M + M +             +           + +     +
Spleen                                                                + + + + + +                                  +   +   + + + +              +       + +             + + + + +             +           + +     +
    Hemangiosarcoma                                                                                                        X                                            X
Thymus                                                                +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +M+          +           +   +   +

Integumentary    System
Mammary gland                                                         +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +
Skin                                                                                                               +                                                             +       + +
   Sarcoma
   Sebaceous gland, adenoma                                                                                                                                                      X

Musculoskeletal               System
Bone                                                                  +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +

Nervous         System
Brain                                                                 +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +

Respiratory           System
Larynx                                                                +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +
Lung                                                                  +    +   +           +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +
   Alveolar/bronchiolar adenoma                                                                                                                         X               XX                    X
   Alveolar/bronchiolar carcinoma                                                                                                                       X
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                          X
Nose                                                                  +    +A              +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +
Trachea                                                               +    + +             +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +    +           +   +   +

Special Senses System
Ear                                                                                                                                     +
    Fibrosarcoma                                                                                                                        X
Harderian gland                                                                                                                                                 +
    Adenoma                                                                                                                                                     X

Urinary System
Kidney                                                                 +   +       +       +       +       +       +   +   +   +   +    +       +       +       +       +    +   +   +   +        +       +   +   +
Urinary bladder                                                       M+           +       +       + + + + +                   +   ++           ++              +A           +   +   +   ++               +   +   +

Systemic Lesions
Multiple o r g a n s
   Lymphoma malignant                                                                                      XX                                                                    X            X                   X
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Lesions in Female      Mice                                                                                                                                     293



TABLE D2
Individual    Animal    Tumor    Pathology   of Female    Mice in the 2-Year              Inhalation        Study    of Nickel Oxide:              2.5 mg/m ~
(continued)

                                                  7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                           2 2 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                  9 9 9 9 9 9 9 9 0 0 0 0 0 0 0 1 1 1 1 1 2 2 2 2 2

                                                  4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4 4
Carcass ID Number                                 3 3 4 4 4 5 6 8 2 4 4 4 5 5 7 0 4 5 5 5 0 1 3 4 6
                                                  0 2 1 2 6 8 1 0 6 0 3 7 0 9 2 2 4 3 6 7 5 7 8 8 8

Hematopoietic System
Bone marrow                                       +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +   +    +   +   +
   Hemangiosarcoma
   Hemangiosarcoma, metastatic, spleen
Lymph node                                                                        +                                      ++           +
   Axillary, hemangiosar¢oma                                                    X
Lymph node, bronchial                             +   +   +   +   +   +   +   + + +        +   +   +    +   +    +   +   +    +   +   +   +    +   +   +
Lymph node, mandibular                            +   +   +   +   +   +   +   + + +        +   +   +    +   +    +   +   +    +   +   +   +    +   +   +
Lymph node, mesenteric                            +   +   +   +   +   +   +   + + +        +   +   +    +   +    +   +   +    +   +   +   +    +   +   +
   Hemangiosarcoma, metastatic, liver
Lymph node, mediastinal                           + M M + M +             + M M M M M M M + M M + M M + M M I                                          I
Spleen                                            + + + + + +             + + + + + + + + + + + + + + + + +                                        +   +
   Hemangiosarcoma                                                                X                                    X
Thymus                                            +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   + I      +   +   +   +    +   +   +

Integumentary System
Mammary gland                                     +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +   +    +   +   +
Skin
   Sarcoma
   Sebaceous gMnd, adenoma

Musculoskeletal System
Bone                                              +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +   +    +   +   +

Nervous System
Brain                                             +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +   +    +   +   +

Respiratory System
Larynx                                            +   +++         +++         +   +   ++       +   +    +   + M + + + +               ++       +   +   +
Lung                                              +   + +     +   + +     +   +   +   + +      +   +    +   + + + + +             +   + +      +   +   +
   Alveolar/bronchiolar adenoma                               X                            X                         X            X       X
   Alveolar/bronchiolar carcinoma                                                          X
   Hepatocellular carcinoma, metastatic
Nose                                              +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +    +   +   +   +
Trachea                                           +   +   +   +   +   +   +   +   +   +    +   +   +    +   +    +   +   +    +   +   +    +   +   +   +

Special Senses System
Ear
   Fibrosarcoma
Harderian gland                                   +
    Adenoma                                       X

Urinary System
Kidney                                            +   +   +   +   +   +   +   +   +   +    +   +   +    +    +   +   +   +    +   +   +    +   +   ÷   +
Urinary bladder                                   +   +   +   +   +   +   +   +   +   +    +   +   +    +    +   +   +   +    +   +   +    +   +   +   +

Systemic Lesions
Multiple organs
  Lymphoma malignant                                                                                                     X            X
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TABLE D2
Individual    Animal    Tumor     Pathology   of Female        Mice in the 2-Year              Inhalation        Study   of Nickel Oxide:     2.5 mg/m 3
(continued)

                                                   7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                            3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                   3 3 3 3 3 3 3 3 3 6 6 6 6 6

                                                   4 4 4 4 4 4 4 4 4 4 4 4 4 4                                                                            Total
Carcass ID Number                                  0 0 2 2 3 3 6 7 7 0 2 2 6 6                                                                         Tissues/
                                                   3 8 8 9 1 5 9 3 8 4 4 5 0 3                                                                         Tumors

Hematopoietic System
Bone marrow                                        +   +       +   +   +   +   +   +   +   +    +   +    +   +                                                62
   Hemangiosarcoma                                                                                                                                             1
   Hemangiosarcoma, metastatic, spleen                                                                                                                         1
Lymph node                                                         +                                                                                          10
   Axillary, hemangiosarcoma                                                                                                                                   1
Lymph node, bronchial                              + + + +             +   +   +   + + +        +   +    +   +                                                59
Lymph node, mandibular                             + + + +             +   +   +   + + +        +   +    +   +                                                59
Lymph node, mesenteric                             + M M +             +   +   +   + M +        +   +    +   +                                                54
   Hemangiosarcoma, metastatic, liver                                                                                                                          1
Lymph node, mediastinal                            +   +       +   +   +   +   + + M I +            + M +                                                     33
Spleen                                             +   +       +   +   +   +   + + + + +            + + +                                                     63
   Hemangiosarcoma                                                                   X                                                                         5
Thymus                                             +   +       +   +   +   +   + M + + +            +    +   +                                                60

Integumentary System                                       •




Mammary gland                                      +   +       +   +   +   +   +   +   +   +    + +      +   +                                                63
Skin                                                                                            +            +                                                 6
   Sarcoma                                                                                      X                                                              1
   Sebaceous gland, adenoma                                                                                                                                    1

Musculoskele~! System
Bone                                               +   +       +   +   +   +   +   +   +   +    +   +    +   +                                                63

NervousSystem
B~in                                               +   +       +   +   +   +   +   +   +   +    +   +    +   +                                                63

Respiratory System
Larynx                                             +   +       +   +   +   +   +   +   +   +    +   +    +   +                                                62
Lung                                               +   +       +   +   +   +   +   +   +   +    +   +    +   +                                                63
   Alveolar/bronchiolar adenoma                                                    X                                                                          10
   Alveolar/bronchiolar carcinoma                      X X                                                                                                     4
   Hepatocellular carcinoma, metastatic                                                                                                                        1
Nose                                               +   +       +-+ +       +   +   +   +   +    +   +    +   +                                                62
Trachea                                            +   +       ÷ +:+       +   +   +   +   +    +   +    +   +                                                63

Special Senses System
Ear                                                                                                                                                            1
   Fibrosarcoma                                                                                                                                                1
Harderian gland                                                                                                                                                2
   Adenoma                                                                                                                                                     2

Urinary System
Kidney                                             + +         +   +   +   +   +   +   +   +    +   +    +   +                                                63
Urinary bladder                                   •M +         +   +   +   +   +   +   +   +    +   +    +   +                                                60

Systemic Lesions
Multiple organs                                    +   +       + +     +   +   +   +   +   +    +   +    +   +                                                63
  Lymphoma malignant                                           X X                                                                                             9
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Lesions in Female Mice                                                                                                                                                                                                                 295


TABLE D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 mg/m 3


                                                                           0       1       2       4       4       4       4       5   5    5       5   6    6   6    6   6   6   6   6   6       6       6       6       7
Number of Days on Study                                                    7       4       9       2       6       9       9       1   3    8       9   0    1   4    4   4   5   7   7   7       8       9       9       1
                                                                           0       1       3       6       9       5       8       0   3    4       5   2    9   0    4   4   8   0   3   5       4       6       9       3

                                                                           5       6       5       5       5       6       6       6   6    6       5   5    6   6    5   5   6   6   5   6       6       6       5       5
Carcass ID Number                                                          9       0       8       8       9       3       2 1 3 2 6 6 1 3 9 9 2 0 9 0                                            2       1 6 7
                                                                           9       5       5       4       5       6       0 1 2 6 8 3 6 1 1 3 1 2 4 6                                                    ~ 7 9 2

Alimentary System
Esophagus                                                                  + + +                       ++              4 + + A                  +       + + +         +   +   +   +   +   + + +                       +       +    +
   Squamous cell c a r c i n o m a
Gallbladder                                                                +A              +           +       + M A A A                        A       +    +   +    +   +   +   +   +   +       +       +           +       +A
    Sarcoma, metastatic, mesentery                                                                                                                                                        X
Intestine large, colon                                                     +       A       +           +       +A              A A A A                  +    +   +    +   +   +   +   +   +       +       +           +       +    +
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                          X
Intestine large, rectum                                                    +A              +           +       + A A A A A                              +M+           +M+         +   +   +       +       +           +       + +
Intestine large, c e c u m                                                 +A              +           +       + A A A A A                              + +      +    + +     +   +   +   +       +       +           +       +A
    Leiomyosarcoma                                                                                                                                                                                                            X
    Sarcoma, metastatic, mesentery                                                                                                                                                        X
Intestine s m a l l , - d u o d e n u m                                    +A              +           +       + A A A A A                              ++       +    +   +   +   +   +   +       +           +       +       +A
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                        X
Intestine small, j e j u n u m                                             +A              +           +       +A   AAA    A                            +    + + +        +   +   +   + +         +       +           +       +A
Intestine small, ileum                                                     +A              +           +       + A A A A A                              +    + +A         +   +   +   +M+                 +           +       +A
Liver                                                                      + +             +           +       + + + +A    +                            +    + + +        +   +   +   + +         +       +           +       + +
   Hemangiosarcoma                                                                                                                                                    X
   Hepatocellular c a r c i n o m a                                                                                                                                       X               X
   Hepatocellular a d e n o m a
   Hepatocholangiocarcinoma                                                                                                                                      X
   Histiocytic s a r c o m a                                                                                           X                        X
   Sarcoma, metastatic, nlesentery                                                                                                                                                        X
Mesentery                                                                                                                      +                                 +                        +
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                           X
   Sarcoma                                                                                                                                                                                X
Pancreas                                                                   +       +           +       +       +       +       +A          A    +       +    +   +    +   +   +   +   +   +           +       +       +       +    +
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                                   X
   Sarcoma, metastatic, mesentery                                                                                                                                                         X
Salivary glands                                                            + +                 +       +       + +             + + A            +       +    +   +    +   +   +   +   +   +           +       +       +       +    +
Stomach, fnrestomach                                                       +A                  +       +       +A              +AA              +       +    +   +    +   +   +   +   +   +           +       +       +       +    +
   Sarcoma, metastatic, mese~ltery                                                                                                                                                        X
   Squamous cell papilloma                                                                                                                                                                                            X
Stomach, glandular                                                         +A                  +       +       +A              +AA              +       +    +   +    +   +   +   +   +   +           +       +       +       +    +
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                                   X
   Sarcoma, metastatic, mesentery                                                                                                                                                         X
Tooth                                                                                                                                                                                 +
   Odontoma

Cardiovascular S y s t e m
Heart                                                                          +       +       +       +       +       +       +       +    +   +       +    +   +    +   +   +   +   +       +       +       +       +       +    +
  Hepatocholangincarcinoma, metastatic, liver                                                                                                                    X

 Endocrine S y s t e m
 Adrenal cortex                                                                +       +       +       +       +       +       +       +A       +       +    +   +    +   +   +   +   +M+                     +       +       +    +
     Adenoma
     H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                         X
 Adrenal medulla                                                               + + + +                         +       +       + +A             +       +    +   +    + + + + +M+                             +       +       +    +
 Islets, pancreatic                                                            + + + +                         +       +       +AA              +       +    +   +    + + + + + +                     +       +       +       +    +
 Parathyroid gland                                                             M + M +                         +       +       + + +            +       +    +   +    + M + M + +                     +       +       +       +    +
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TABLE D2
Individual Animal T u m o r Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide:                                                                                                                                               5 mg/m 3
(continued)

                                                                            7       7       7       7       7       7       7   7   7   7   7    7       7       7       7       7       7   7   7   7    7    7       7       7       7
Number of Days on Study                                                     2 2 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                                            0 6 9 9 9 9 9 9 0 0 0 0 0 0 1 1 1 1 1 1 1 1 1 1 1

                                                                            5       6       5       5       6       6       6   6   5   5   5    6       6       6       5       5       5   5   5   5    5    5       6       6       6
Carcass ID Number                                                           7 1 6 9 1 3 3 4 6 8 8 2 2 2 6 6 7 7 7 7 8 9 0 0 1
                                                                            8 0 4 2 2 0 8 0 2 8 9 2 7 8 6 7 0 3 4 9 3 6 3 9 9

Alimentary System
Esophagus                                                                   +       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       +       +   +
    S q u a m o u s cell c a r c i n o m a                                                              X
Gallbladder                                                                 A       + + + + + + + + + + + + + + + + +                                                                                     ++           ++                  ++          +
    S a r c o m a , metastatic, m e s e n t e r y
Intestine large, c o l o n                                                  A       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       •       +   +
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
Intestine large, r e c t u m                                                A       + + +M+     + M M M M +                                                          +       +       +       + + +        +M+     +M+                                  +
Intestine large, c e c u m                                                  A       + + + + + + + + + +     +                                                        +       +       +       + + +        + + + +   +                              +   +
    Leiomyosarcoma
    S a r c o m a , metastatic, m e s e n t e r y
Intestine small, d u o d e n u m                                            A       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       +       +   +
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
Intestine small, j e j u n u m                                              A       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       +       +   +
Intestine small, i l e u m                                                  A       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       +       +   +
Liver                                                                       +       +           +       +       +       +       +   +   +   +    +       +           +       +       +       +   +   +    +    +       +           +       +       +   +
    Hemangiosarcoma
    Hepatocellular carcinoma
    Hepatucellular adenoma                                                  X XX                                        X                                X
    Hepatocholangiocarcinoma
    Histiocytic s a r c o m a
    S a r c o m a , metastatic, m e s e n t e r y
Mesentery
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
    Sarcoma
Pancreas                                                                     +          +       +       +       +       +       +   +   +   +    +           +       +       +       +       +   +   +    +    +           +       +       +       +   +
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
    S a r c o m a , metastatic, m e s e n t e r y
 Salivary g l a n d s                                                        +          +       +       +       +       +       +   +   +   +     +          +       +       +       +       +   +   +    +    +           +       +       +       +   +
 Stomach, forestomach                                                        +          +       +       +       +       +       +   +   +   +     +          +       +       +       +       +   +   +    +    +           +       +       +       +   +
    S a r c o m a , metastatic, m e s e n t e r y
    S q u a m o u s cell p a p i l l o m a
 Stomach, glandular                                                         .+          +       +       +       +       +       +   +   +   +        +       +       +       +       +       +   +   +    +        +       +       +       +       +   +
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
     S a r c o m a , metastatic, m e s e n t e r y
 Tooth                                                                                                                                               +
     Odontoma                                                                                                                                    X

 Cardiovascular                 System
                                                                                +       +       +       +       +       +       +   +   +   +        +       +       +       +       +       +   +   +    +        +       +       +           +   +   +
 Heart
    H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver

 Endocrine System
 A d r e n a l cortex
      Adenoma
      H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
 Adrenal medulla
 Islets, p a n c r e a t i c
 Parathyroid gland                                                              +M+                     +       +       +       +M+             +M+                  +       +       +       +   +   +I            +       +       +M+                 +
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Lesions in Female      Mice                                                                                                                                      297



TABLE D2
Individual    Animal    Tumor     Pathology       of Female       Mice    in the 2-Year           Inhalation        Study   of Nickel   Oxide:   5 mg/m 3
(continued)

                                                       7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number    of Days on Study                             3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                       2 2 2 2 2 2 2 3 3 3 3 3 6 6 6

                                                       5 5 5 6 6 6 6 5 5 5 6 6 5 5 6                                                                     Total
Carcass   ID Number                                    6 7 8 0 1 3 3 6 8 9 2 3 8 8 3                                                                  Tissues/
                                                       5 7 2 0 3 4 9 1 6 0 5 7 1 7 5                                                                  Tumors

Alimentary System
Esophagus                                              +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       63
    Squamous cell carcinoma                                                                                                                                  1
Gallbladder                                            +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       56
    Sarcoma, metastatic, mesentery                                                                                                                           1
Intestine large, colon                                 +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       57
    Hepatocholangiocarcinoma, metastatic, liver                                                                                                              1
Intestine large, rectum                                +    +     +   + M + M + M M +                  +   +    +M                                          43
Intestine large, cecum                                 +    +     +   + + + + + + +                +   +   +    + +                                         56
    Leiomyosarcoma                                                                                                                                           1
    Sarcoma, metastatic, mesentery                                                                                                                           1
Intestine small, duodenum                              +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       56
    Hepatocholangiocarcinoma, metastatic, liver                                                                                                              1
Intestine small, jejunum                               +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       56
Intestine small, ileum                                 +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       54
Liver                                                  +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       63
    Hemangiosarcoma                                                                                                                                          1
    Hepatocellular carcinoma                           X                                                        X                                            4
    Hepatocellular adenoma                                                                                                                                   5
    Hepatocho!angiocarcinoma                                                                                                                                 1
    Histiocytic sarcoma                                                                                                                                      2
    Sarcoma, metastatic, mesentery                                                                                                                           1
Mesentery                                                                                                                                                    3
    Hepatocholangiocarcinoma, metastatic, liver                                                                                                              1
    Sarcoma                                                                                                                                                  1
Pancreas                                               +    +     +   +   +   +   +   +   +   +    +   +   +    +    +                                      62
    Hepatochola~giocarcinoma, metastatic, liver                                                                                                              1
    Sarcoma, metastatic, mesentery                                                                                                                           1
Salivary glands                                        +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       63
Stomach, forestomach                                   +    +     +   +   +   +   +   +   +   +    +   +   +    +   +                                       60
    Sarcoma, metastatic, mesentery                                                                                                                           1
    Squamous cell papilloma                                                                                                                                  1
 Stomach, glandular                                    +    +     +   +   +   +   +   +   +   +    +   +   +    +    +                                      60
    Hepatocholangiocarcinoma, metastatic, liver                                                                                                              1
    Sarcoma, metastatic, mesentery                                                                                                                           1
Tooth                                                                                                                                                        2
    Odontoma                                                                                                                                                 1

Cardiovascular  System
Heart                                                   +     +   +   +   +   +   +   +   +   +    +   +   +    +    +                                      64
  Hepatocholangiocarcinoma, metastatic, liver                                                                                                                1

Endocrine System
Adrenal cortex                                          +     +   +   +   +   +   +   +   +   +    +   +   +    +    +                                      62
    Adenoma                                                               X                                                                                  1
    Hepatocholangiocarcinoma, metastatic, liver                                                                                                              1
Adrenal medulla                                         +     +   +   +   +   +   +   +   +   +    +   +   +    +    +                                      62
Islets, pancreatic                                      +     +   +   +   +   +   +   +   +   +    +   +   +    +    +                                      62
Parathyroid gland                                       +     +   +   +   +   +   +   +   +   +    +   +   +    +    +                                      55
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T A B L E D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year I n h a l a t i o n                        Study   of Nickel Oxide: 5 mg/m ~
(continued)

                                                 0 1 2 4 4 4 4 5 5 5 5 6 6 6 6 6 6 6 6 6 6 6 6 7
Number of Days on Study                          7 4 9 2 6 9 9 1 3 8 9 0 1 4 4 4 5 7 7 7 8 9 9 1
                                                 0 1 3 6 9 5 8 0 3 4 5 2 9 0 4 4 8 0 3 5 4 6 9 3

                                                 5 6 5 5 5 6 6 6 6 6 5 5 6 6 5 5 6 6 5 6 6 6 5 5
Carcass ID Number                                9 0 8 8 9 3 2 1 3 2 6 6 1 3 9 9 2 0 9 0 2 1 6 7
                                                 9 5 5 4 5 6 0 1 2 6 8 3 6 1 1 3 1 2 4 6 4 7 9 2

E n d o c r i n e S y s t e m (continued)
Pituitary gland                                  + + + + + + + +A                     + + + + + + +               +M+          +   + +     + +
    Pars distalis, adenoma                                                                                                X                X
    Pars distalis, carcinoma                                                                                                   X
    Pars intermedia, adenoma
Thyroid gland                                    + + + + + + + + + + + + + + + + +                                    + +      + +     +   + +
    Follicular cell, adenoma                                                                                      X

General Body System
Tissue NOS                                                                                                                             +
   Hemangiosarcoma, metastatic                                                                                                         X

G e n i t a l System
Clitoral gland                                   MMM+++      + +A                     ++  + + M + + + + +   ++                         ++      +
Ovary                                            + + + + + + + +A                     + + + + + + + + + + + +                          + +     +
    Sarcoma, metastatic, mesentery                                                                        X
    Teratoma malignant                                         X
Uterus                                           + + + + + + + +A                     + + + + +           + + + +         + +      + +     +   +
    Hemangiosarcoma
    Polyp stromal
    Sarcoma, metastatic, mesentery                                                                                        X
    Teratoma malignant, metastatic                                           X

Hematopoietic System
Bone marrow                                      +   +   +   +   +   +   +   +    A   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +
   Hemangiosarcoma, metastatic                                                                                                         X
Lymph node                                                   +                        + + +                               +
   Pancreatic, histiocytic sarcoma                                                    X
   Pancreatic, sarcoma, metastatic, mesentery                                                                             X
   Renal, sarcoma, metastatic, mesentery                                                                                  X
Lymph node, bronchial                            + + + + + + + +                  + + + +M+               + +++           ++       +   + +     +
   Histiocytic sarcoma                                      X                       X
   Sarcoma, metastatic, mesentery                                                                           X
Lymph node, mandibular                           + + + +~+M+  +AM+                            + + +M+   + + +M+    + + +
Lymph node, mesenteric                           +M+   + +M+MMM+                              + + + + + + M + M + M +  +
   Hemangioma
   Hepatocholangiocarcinoma, metastatic, liver                                                    X
   Sarcoma, metastatic, mesentery                                                                                         X
Lymph node, mediastinal                          MMM+            + + +MMM+                    + +M+           +   + +     +MM+             +M
   Hepatocholangiocarcinoma, metastatic, liver                                                  X
   Histiocytic sarcoma                                               X
   Sarcoma, metastatic, mesentery                                                                                         X
Spleen                                           +   +   +   +   +   +   +   +A       +   +   +   +   +   +   +   +   +   +    +   +   +   +   +
   Hemangiosarcoma                                                                                                X                    X
   Hepatocholangiocarcinoma, metastatic, liver                                                    X
   Histiocytic sarcoma                                               X                X
   Sarcoma, metastatic, mesentery                                                                                         X
Thymus                                           + + + + + + + +MM+                           + + + + +           + +     + + +        +   +M
   Hepatocholangiocarcinoma, metastatic, liver                                                  X
   Histiocytic sarcoma                                               X
   Sarcoma, metastatic, mesentery                                                                                         X
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Lesions in Female Mice                                                                                                                                         299


TABLE D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 mg/m 3
(continued)

                                                   7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                            2 2 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                   0 6 9 9 9 9 9 9 0 0 0 0 0 0 1 1 1 1 1 1 1 1 1 1 1

                                                   5 6 5 5 6 6 6 6 5 5 5 6 6 6 5     ~ 5 5 5 5 5 5 6 6 6
Carcass ID Number                                  7 1 6 9 1 3 3 4 6 8 8 2 2 2 6 6 7 7 7 7 8 9 0 0 1
                                                   8 0 4 2 2 0 8 0 2 8 9 2 7 8 6 7 0 3 4 9 3 6 3 9 9

Endocrine System (continued)
Pituitary gland                                    +    +   +   +     +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
   Pars distalis, adenoma                                                              X
   Pars distalis, carcinoma
   Pars intermedia, adenoma                                           X
Thyroid gland                                      +    +   +   +     +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
   Follicular cell, adenoma

General Body System
Tissue NOS
   H e m a n g i o s a r c o m a , metastatic

Genital System
Clitoral gland                                     +    + + + + M +                + + M + + M + + + + + + M +                               +    +   ++
Ovary                                              +    + + + + +              +   + + + + + + + + + + + + +                             +   +    +   + +
   Sarcoma, metastatic, mesentery
   Teratoma malignant
Uterus                                             +    +   +   +     +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
    Hemangiosarcoma
    Polyp stromal                                                                      X
    Sarcoma, metastatic, mesentery
   Teratoma malignant, metastatic

Hematopoietic S y s t e m
Bone marrow                                        +    +   +    +    +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
    Hemangiosarcoma, metastatic
Lymph node                                                                                                          +
    Pancreatic, histiocytic sarcoma
    Pancreatic, sarcoma, metastatic, mesentery
    Renal, sarcoma, metastatic, mesentery
L y m p h node, bronchial                          +    +++           ++       +   +++          +   +   +   +   +   ++       +   +   +   +M+          ++
    Histiocytic sarcoma
    Sarcoma, metastatic, mesentery
Lymph node, mandibular                             +    +   +    +    +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
Lymph node, mesenteric                             +    +   +    +    +    +   +   +   +   +    +   +   +   +   +   +    +   +   + M +       +    +   +    +
    Hemangioma                                                                                                                                             X
    Hepatocholangiocarcinoma, metastatic, liver
    Sarcoma, metastatic, mesentery
L y m p h node, mediastinal                        + M + M + M + M I                       +I       MMM+I                M+MMI               +MI           M
    Hepatocholangiocarcinoma, metastatic, liver
    Histiocytic sarcoma
    Sarcoma, metastatic, mesentery
Spleen                                             +    +   +    +    +    +   +   +   +   +    +   +   +   +   +   +    +   +   +   +   +   +    +   +    +
     Hemangiosarcoma
    Hepatocholangiocarcinoma, metastatic, liver
     Histiocytic sarcoma
     Sarcoma, metastatic, mesentery
Thymus                                             ++       +    ++        +++         +   + + + +          +   +   ++       +M+I            M+       ÷+
     Hepatocholangiocarcinoma, metastatic, liver
     Histiocytic sarcoma
     Sarcoma, metastatic, mesentery
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TABLE D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 mg/m 3
(continued)

                                                 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                          3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                 2 2 2 2 2 2 2 3 3 3 3 3 6 6 6

                                                 5 5 5 6 6 6 6 5 5 5 6 6 5 5 6                             Total
Carcass ID Number                                6 7 8 0   3 3 6 8 9 2 3 8 8 3                          Tissues/
                                                 5 7 2 0 3 4 9   6 0 5 7   7 5                          Tumors

Endocrine System (continued)
Pituitary gland                                  + + + + + + + + + + + + + + +                               62
    Pars distalis, adenoma                       X          X      X                                          6
   Pars distalis, carcinoma
   Pars intermedia, adenoma                                                                                   1
Thyroid gland                                    + + + + + + + + + + + + + + +                               64
   Follicular cell, adenoma

General Body System
Tissue NOS
   Hemangiosarcoma, metastatic

Genital System
Clitoral gland                                   + + + + + + + + + + + + + + +                               55
Ovary                                            + + + + + + + + + + + + + + +                               63
    Sarcoma, metastatic, mesentery
   Teratoma malignant
Uterus                                           + + + + + + + + + + + + + + +                               63
    Hemangiosarcoma                                                     X                                     1
    Polyp stromal
    Sarcoma, metastatic, mesentery
    Teratoma malignant, metastatic

Hematopoietic System
Bone marrow                                      + + + + + + + + + + + + + + +                               63
   Hemangiosarcoma, metastatic
Lymph node                                       +          +                 +                                9
   Pancreatic, histiocytic sarcoma
   Pancreatic, sarcoma, metastatic, mesentery
   Renal, sarcoma, metastatic, mesentery                                                                       I
Lymph node, bronchial                            + + + + + + + + + + + + + + +                               62
   Histiocytic sarcoma                                                                                         2
   Sarcoma, metastatic, mesentery
Lymph node, mandibular                           M + + + + + + + + + + + + + +                               58
Lymph node, mesenteric                           + + + + + + + + + + + + + + +                               55
   Hemangioma                                                                                                 1
   Hepatocholangiocarcinoma, metastatic, liver
   Sarcoma, metastatic, mesentery
Lymph node, mediastinal                          M++MM+M+M++MMM+                                              29
   Hepatocholangiocarcinoma, metastatic, liver                                                                 1
   Histiocytic sarcoma
   Sarcoma, metastatic, mesentery
Spleen                                           + + + + + + + + + + + + + + +                                63
   Hemangiosarcoma                                                                                             2
   Hepatocholangiocarcinoma, metastatic, liver                                                                 I
   Histiocytic sarcoma                                                                                         2
   Sarcoma, metastatic, mesentery
Thymus                                           + + M + + + + + + + + + + + +                                57
   Hepatocholangiocarcinoma, metastatic, liver                                                                 1
   Histiocytic sarcoma
   Sarcoma, metastatic, mesentery
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Lesions in Female Mice                                                                                                                                                                                                                   301


TABLE        D2
Individual Animal Tumor Pathology of Female Mice in the 2oYear Inhalation Study of Nickel Oxide: 5 mg/m 3
(continued)

                                                                            0   1       2       4       4       4   4       5    5    5   5    6       6       6       6       6       6   6   6   6   6   6   6       7
Number of Days on Study                                                     7 4 9               2       6       9   9       1    3    8   9    0       1       4       4       4       5 7 7 7 8 9 9 1
                                                                            0 1 3               6       9       5   8       0    3    4   5    2       9       0       4       4       8 0 3 5 4 6 9 3

                                                                            5   6       5       5       5       6   6       6    6    6   5    5       6       6       5       5       6   6   5   6   6   6   5       5
Carcass        ID Number                                                    9 0 8 8 9                           3       2   1    3    2   6    6       1       3       9       9       2   0   9   0   2   1   6       7
                                                                            9 5 5 4 5                           6       0   1    2    6   8    3       6       1       1       3       1   2   4   6   4   7   9       2

Integumentary S y s t e m
M a m m a r y gland                                                         +    +          +       +       +       +       +    +A       +    +       +           +       +       +       +   +   +   +   + +             +   +   +
    Carcinoma                                                                                                                                                                                               ~"                 X
Skin                                                                        +               +                               ++            +                                                                    +                   +
    Sarcoma
    S q u a m o u s cell p a p i l l o m a

Musculoskeletal System
Bone                                                                        +    +          +       +       +       +       +    +    +   +    +       +I                  +       +       +   +   +   +   +   +           +   +   +
Skeletal muscle                                                                                                                                                    +                                   +
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                             X
   S a r c o m a , metastatic, mesentery                                                                                                                                                               X

Nervous System
Brain                                                                       +    +          +       +       +       +       +    +    +   +    +           +       +       +       +       +   +   +   +   +       +       +   +   +
   H y p o t h a l a m u s , c a r c i n o m a , metastatic                                                                                                                                                X
   Pons, c a r c i n o m a , metastatic                                                                                                                                                                    X

Respiratory System
Larynx                                                                      +    +          +       +       +       +       +    + A      +    +           +       +       +       +       +   +   +   +   +   +           +   +   +
Lung                                                                        +    +          +       +       +       +       +    + +      +    +           +       +       +       +       +   +   +   +   +   +           +   +   +
   Alveolar/bronchiolar adenoma                                                                                                                                    X
   Alveolar/bronchiolar carcinoma                                                                           X                                                                              X                               X
   H e p a t o c e l l u l a r c a r c i n o m a , metastatic                                                                                                                      X
   H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver
   Histiocytic s a r c o m a                                                                                        X                     X
   S a r c o m a , metastatic, m e s e n t e r y
   T e r a t o m a m a l i g n a n t , metastatic                                                       X
Nose                                                                        ++              + ++A     ++A                                 ++               +       + + + + +                       +   +   +       +       +   +   +
Trachea                                                                     + +             + + + + + + A                                 ++               +       + + + + + +                         +   +       +       +   +   +

Special Senses System
Ear
Eye
Harderian gland
    Adenoma

U r i n a r y System
Kidney                                                                      +       +       +       +       +       +       +    +    A   +    +           +       +       +       +       +   +   +   +   +       +       +   +   +
      H e p a t o c h o l a n g i o c a r c i n o m a , metastatic, liver                                                                                          X
      Teratoma malignant, me.static                                                                                              X
Urethra                                                                                                                     +
Urinary bladder                                                             +A              +       +       +A              + A A A                +       +       +       +       +       +   +   +   +   +       +       +   +   +
      S a r c o m a , metastatic, m e s e n t e r y                                                                                                                                                    X

Systemic Lesions
Multiple o r g a n s
  Histiocytic s a r c o m a                                                                                         X                     X
  Lymphoma malignant                                                                                X                                          X
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TABLE D2
Individual Animal Tumor Pathology of Female Mice in the 2-Year Inhalation Study of Nickel Oxide: 5 mg/m 3
(continued)

                                                   7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                            2 2 2 2 2 2 2 2 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                   0 6 9 9 9 9 9 9 0 0 0 0 0 0 1 1 1 1 1 1 1 1 1 1 1

                                                   5 6 5 5 6 6 6 6 5 5 5 6 6 6 5 5 5 5 5 5 5 5 6 6 6
Carcass ID Number                                  7 1 6 9 1 3 3 4 6 8 8 2 2 2 6 6 7 7 7 7 8 9 0 0 1
                                                   8 0 4 2 2 0 8 0 2 8 9 2 7 8 6 7 0 3 4 9 3 6 3 9 9

Integumentary System
M a m m a r y gland                                +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
    Carcinoma                                          X                                                                X
Skin                                               +                                                                                               +
    Sarcoma
    Squamous cell papilloma                                                                                                                        X

Musculoskeletal System
Bone                                               +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
Skeletal muscle                                    +
   Hepatocholangiocarcinoma, metastatic, liver
   Sarcoma, metastatic, mesentery

Nervous System
Brain                                              +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
   Hypothalamus, carcinoma, metastatic
   Pons, carcinoma, metastatic

R e s p i r a t o r y System
Larynx                                             +   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
Lung                                               ÷   +   +   +   +   +   +   +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
     Alveolar/bronchiolar adenoma                                              X                                                      X
     Alveolar/bronchiolar carcinoma                                                    X
     Hepatocellular carcinoma, metastatic
     Hepatocholangiocarcinoma, metastatic, liver
     Histiocytic sarcoma
     Sarcoma, metastatic, mesentery
     Teratoma malignant, metastatic
Nose                                               +   +   +   +   +   + +     +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +
Trachea                                            +   +   +   +   +   ++      +   +   +   +   +    +   +   +   +   +   +    +   +    +   +    +   +   +

Special Senses System
Ear
Eye                                                                                                                              +                     +
Harderian gland                                                                                                     +            +
    Adenoma                                                                                                         X            X

Urinary System
Kidney                                             +   +   +   ÷   +   +   +   +   ÷   +   +   +    +   +   +   ÷   +   +    +   +    +   +    +   +   +
   Hepatocholangiocarcinoma, metastatic, liver
   Teratoma malignant, metastatic
Urethra
Urinary bladder                                    +   +   + + + +         +   + + + + + +              +M+         +   ++       ++       ++       +   +
   Sarcoma, metastatic, mesentery

Systemic L e s i o n s
Multiple organs
  Histiocytic sarcoma
  L y m p h o m a malignant                        X                                                                    X        X
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Lesions in Female Mice                                                                                                                            303


TABLE D 2
Individual Animal Tumor Pathology of Female Mice in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e :   5 mg/m 3
(continued)

                                                     7 7 7 7 7 7 7 7 7 7 7 7 7 7 7
Number of Days on Study                              3 3 3 3 3 3 3 3 3 3 3 3 3 3 3
                                                     2 2 2 2 2 2 2 3 3 3 3 3 6 6 6

                                                     5 5 5 6 6 6 6 5 5 5 6 6 5 5 6                                                        Total
Carcass ID Number                                    6 7 8 0 1 3 3 6 8 9 2 3 8 8 3                                                     Tissues/
                                                     5 7 2 0 3 4 9 1 6 0 5 7 1 7 5                                                     Tumors

Integumentary System
Mammary gland                                        + + + + + + + + + + + + + + +                                                           63
   Carcinoma                                                                                                                                  3
Skin                                                                                          +++                                            12
   Sarcoma                                                                                    X                                               1
   Squamous cell papilloma                                                                                                                    1

Musculoskeletal System
Bone                                                 + + + + + + + + + + + + + + +                                                           63
Skeletal muscle                                                                                                                               3
   Hepatochola.ngiocarcinoma, metastatic, liver                                                                                               1
   Sarcoma, metastatic, mesentery                                                                                                             I

Nervous System
Brain                                                + + + + + + + + + + + + + + +                                                           64
   Hypothalamus, carcinoma, metastatic                                                                                                        1
   Pons, carcinoma, metastatic                                                                                                                1

Respiratory System
Larynx                                               + + + + + + + + + + + + + + +                                                           63
Lung                                                 ÷ + + + + + + ÷ + + + ÷ + + +                                                           64
   Alveolar/bronchiolar adenoma                                                                                                               3
   Alveolar/bronchiolar carcinoma                            X                                                                                5
   Hepatocellular carcinoma, metastatic                                                                                                       1
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                1
   Histiocytic sarcoma                                                                                                                        2
   Sarcoma, metastatic, mesentery                                                                                                             1
   Teratoma malignant, metastatic                                                                                                             1
Nose                                                  + + + + + + + + + + + + + + +                                                          62
Trachea                                               + + + + + + + + + + + + + + +                                                          63

Special S e n s e s S y s t e m
Ear
Eye
Harderian gland                                                                           +
   Adenoma                                                                                X

Urinary System
Kidney                                                + + + + + + + + + + + + + + +                                                          63
   Hepatocholangiocarcinoma, metastatic, liver                                                                                                1
   Teratoma malignant, metastatic                                                                                                             1
Urethm                                                                                                                                        1
Urinary bladder                                       + + + + + + ÷ + + ÷ + ÷ ÷                      ÷                                       57
   Sarcoma, metastatic, mesentery                                                                                                             1

Systemic Lesions
Multiple organs                                       + + + + + + + + + + + + + + +                                                          64
  Histiocytic sarcoma                                                                                                                         2
  Lymphoma malignant                                     X            X                                                                       7
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TABLE D 3
Statistical Analysis of P r i m a r y N e o p l a s m s i n F e m a l e Mice in the 2-Year Inhalation Study of Nickel Oxide

                                                                0 mg/m3      1.25 m g / m 3     2.5 mg/rn 3        5 mg/m3



Adrenal Medulla: Benign or Malignant Pheochromocytoma
Overall ratea                                                  3/62 (5%)      0/65 (0%)          1/63 (2%)        0/62 (0%)
Adjusted rateb                                                 6.5 %          0.0%               2.4%             0.0%
Terminal rate c                                                1/41 (2%)      0/39 (0%)          1/42 (2%)        0/38 (0%)
First incidence (days)                                         599            __e                729 (T)          --
Life table testd                                               P=0.094N       P=0.121N           P=0.310N         P=0.128N
Logistic regression testd                                      P=0.089N       P=0.110N           P=0.301N         P=0.118N
Cochran-Armita~e testd                                         P=0.090N
Fisher exact test~                                                            P=0.113N           P=0.303N          P=0.122N

Harderian Gland: Adenoma
Overall rate                                                   0/64 (0%)      1/66 (2%)          2/63 (3%)         3/64 (5%)
Adjusted rate                                                  0.0%           1.8%               4.4%              7.9%
Terminal rate                                                  0/41 (0%)      0/40 (0%)          1/42 (2%)         3/38 (8%)
First incidence (days)                                         --             609                640               729 (T)
Life table test                                                P=0.058        P=0.519            P=0.247           P=0.108
Logistic regression test                                       P=0.063        P=0.496            P=0.239           P=0.108
Cochran-Armitage test                                          P=0.061
Fisher exact test                                                             P=0.508            P=0.244           P=0.122

Liver: Hepatocellular Adenoma
Overall rate                                                   6/64 (9%)      7/66 (11%)         9/63 (14%)        5/63 (8%)
Adjusted rate                                                  14.6%          17.0%              19.7%             12.5%
Terminal rate                                                  6/41 (15%)     6/40 (15%)         6/42 (14%)        3/38 (8%)
First incidence (days)                                         729 (T)        720                640               720
Life table test                                                P=0.479N       P=0.481            P=0.307           P=0.554N
Logistic regression test                                       P=0.448N       P=0.485            P=0.288           P=0.542N
Cochran-Armitage test                                          P=0.455N
Fisher exact test                                                              P=0.524           P=0.281           P=0.511N

Liver: Hepatocellular C a r c i n o m a
Overall rate                                                   8/64 (13 %)     10/66 (15%)       8/63 (13%)        4/63 (6%)
Adjusted rate                                                  18.1%           21.0%             16.3%             9.2%
Terminal rate                                                  6/41 (15%)      5/40 (13%)        4/42 (10%)        2/38 (5%)
First incidence (days)                                         586             469               451               644
Life table test                                                P=0.126N        P=0.409           P=0.591N          P=0.208N
Logistic regression test                                       P =0.103N       P=0.475           P=0.604N          P=0.164N
Cochran-Armitage test                                          P = 0.115N
Fisher exact test                                                              P=0.428           P=0.592           P=0.190N

Liver: Hepatocellular A d e n o m a or C a r c i n o m a
Overall rate                                                   14/64 (22%)     16/66 (24%)       17/63 (27%)       9/63 (14%)
Adjusted rate                                                  32.2%           33.9%             34.0%             20.9%
Terminal rate                                                  12/41 (29%)     10/40 (25%)       10/42 (24%)       5/38 (13%)
First incidence (days)                                         586             469               451               644
Life table test                                                P=0.172N        P=0.413           P=0.365           P=0.227N
Logistic regression test                                       P = 0.122N      P=0.525           P=0.345           P=0.159N
Cochran-Armitage test                                          P=0.149N
Fisher exact test                                                              P=0.456           P=0.322           P=0.190N
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Lesions in Female Mice                                                                                                       305


TABLE D 3
Statistical Analysis of Primary Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide (continued)

                                                                  0 mg/m3      1.25 mg/m 3       2.5 mg/m 3     5 mg/m3


Lung: Alveolar/bronchiolar Adenoma
Overall rate                                                      2/64 (3%)     4/66 (6%)         10/63 (16%)   3/64 (5%)
Adjusted rate                                                     4.7%          9.3%              21.4%         7.1%
Terminal rate                                                     1/41 (2%)     3/40 (8%)         6/42 (14%)    2/38 (5%)
First incidence (days)                                            728           652               630           619
Life table test                                                   P=0.359       P=0.334           P=0.021       P=0.474
Logistic regression test                                          P=0.394       P=0.369           P=0.017       P=0.517
Cochran-Armitage test                                             P=0.379
Fisher exact test                                                               P=0.355           P=0.014       P=0.500

Lung: A l v e o l a r / b r o n c h i o l a r C a r c i n o m a
Overall rate                                                      4•64 (6%)     11/66 (17%)       4/63 (6%)     5/64 (8%)
Adjusted rate                                                     9.4%          22.8%             9.0%          10.8%
Terminal rate                                                     3/41 (7%)     5/40 (13%)        3/42 (7%)     2/38 (5%)
First incidence (days)                                            694           583               630           469
Life table test                                                   P=0.407N      P =0.057          P=0.633N      P=0.483
Logistic regression test                                          P=0.364N      P=0.069           P=0.642N      P=0.525
Cochran-Armitage test                                             P=0.385N
Fisher exact test                                                               P=0.055           P=0.632       P=0.500

Lung: Alveolar/bronchiolar Adenoma or C a r c i n o m a
Overall rate                                                      6/64 (9%)     15/66 (23%)       12/63 (19%)   8/64 (13%)
Adjusted rate                                                     13.8%         30.8%             25.7%         17.4%
Terminal rate                                                     4/41 (10%)    8/40 (20%)        8/42 (19%)    4/38 (11%)
First incidence (days)                                            694           583               630           469
Life table test                                                   P=0.542       P=0.034           P=0.114       P=0.363
Logistic regressioh test                                          P=0.487N      P=0.043           P=0.099       P=0.422
Cochran-Armitage test                                             P=0.516N
Fisher exact test                                                               P=0.033           P=0.095       P=0.389

Mammary Gland: C a r c i n o m a
Overall rate                                                      2/64 (3%)     3/66 (5%)         0/63 (0%)     3/64 (5%)
Adjusted rate                                                     4.6%          7.5%              0.0%          7.4%
Terminal rate                                                     1/41 (2%)     3/40 (8%)         0/42 (0%)     1/38 (3%)
First incidence (days)                                            694           729 (T)           --            699
Life table test                                                   P=0.478       P=0.489           P=0.245N      P=0.472
Logistic regression test                                          P=0.495       P=0.521           P=0.237N      P=0.509
Cochran-Armitage test                                             P=0.498
Fisher exact test                                                               P=0.515           P=0.252N      P=0.500

Mammary Gland: Adenoma or C a r c i n o m a
Overall rate                                                      2/64 (3%)     4/66 (6%)         0/63 (0%)     3/64 (5%)
Adjusted rate                                                     4.6%          9.4%              0.0%          7.4%
Terminal rate                                                     1/41 (2%)     3/40 (8%)         0/42 (0%)     1/38 (3%)
First incidence (days)                                            694           683               --            699
Life table test                                                   P=0.547       P=0.334           P=0.245N      P=0.472
Logistic regression test                                          P=0.571       P=0.370           F=0.237N      P=0.509
Cochran-Armitage test                                             P=0.569
Fisher exact test                                                               P=0.355           P=0.252N      P=0.500
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TABLE D3
Statistical Analysis of P r i m a r y N e o p l a s m s i n F e m a l e Mice in t h e 2 - Y e a r Inhalation Study o f N i c k e l O x i d e (continued)

                                                                        0 mg/m3        1.25 m g / m 3        2.5 m g / m 3         5 mg/m3



Ovary: Cystadenoma
Overall rate                                                           1/61 (2%)         0/66 (0%)            3/60 (5%)            0/63 (0%)
Adjusted rate                                                          2.6%              0.0%                 7.1%                 0.0%
Terminal rate                                                          1/38 (3 %)        0/40 (0%)            3/42 (7%)            0/38 (0%)
First incidence (days)                                                 729 (T)           --                   729 (T)              --
Life table test                                                        P=0.507N          P = 0.490N           P = 0.342            P = 0.500N
Logistic regression test                                               P=0.507N          P=0.490N             P=0.342              P=0.500N
Cochran-Armitage test                                                  P=0.505N
Fisher exact test                                                                        P=0.480N             P=0.303              P=0.492N

Pituitary Gland (Pars Distalis): Adenoma
Overall rate                                                           6/63 (10%)        9/66 (14%)           8/61 (13%)           6/62 (10%)
Adjusted rate                                                          14.1%             20,5%                18,8%                14.6%
Terminal rate                                                          5/41 (12%)        7/40 (18%)           7/41 (17%)           4/38 (11%)
First incidence (days)                                                 694               597                  640                  673
Life table test                                                        P=0.504N          P=0.287              P=0.387              P=0.574
Logistic regression test                                               P=0.469N          P=0.357              P=0.373              P=0.617N
Cochran-Armitage test                                                  P=0.488N
Fisher exact test                                                                        P=0.326              P=0.364              P=0.607

Pituitary Gland (Pars Distalis): Adenoma or Carcinoma
Overall rate                                                           7/63 (11%)        9/66 (14%)           8/61 (13%)           7/62 (11%)
Adjusted rate                                                          16.5%             20.5%                18.8%                16,5%
Terminal rate                                                          6/41 (15%)        7/40 (18%)           7/41 (17%)           4/38 (11%)
First incidence (days)                                                 694               597                  640                  673
Life table test                                                        P=0,534N          P=0.388              P=0.498              P =0.564
Logistic regression test                                               P =0.497N         P =0.469             P=0.484              P=0.603N
Cochran-Armitage test                                                  P=0.517N
Fisher exact test                                                                        P=0.434              P=0.473              P=0.599

Spleen: Hemangiosarcoma
Overall rate                                                           2/64 (3%)         2/66 (3%)            5/63 (8%)            2/63 (3%)
Adjusted rate                                                          4.7%,             4.8%                 10.7%                4.4%
Terminal rate                                                          1/41 (2%)         1/40 (3%)            3/42 (7%)            0/38 (0%)
First incidence (days)                                                 728               720                  538                  658
Life table test                                                        P=0.496           P=0.679              P=0.230              P=0.678
Logistic regression test                                               P=0.520           P=0.693N             P=0.220              P=0.683N
Cochran-Armitage test                                                  P=0.504
Fisher exact test                                                                        P=0.679N             P=0.213              P=0.685

T h y r o i d G l a n d (Follicular Cell): A d e n o m a or C a r c i n o m a
Overall rate                                                               3/62 (5%)     1/66 (2%)            1/63 (2%)            1/64 (2%)
Adjusted rate                                                              7.3%          2.3%                 2.4%                 2,1%
Terminal rate                                                              3/41 (7%)     0/40 (0%)            1/42 (2%)            0/38 (0%)
First incidence (days)                                                     729 (T)       711                  729 (T)              658
Life table test                                                            P=0.258N      P=0.313N             P=0.297N             P=0.323N
Logistic regression test                                                   P=0.245N      P=0.294N             P=0.297N             P=0.294N
Cochran-Armitage test                                                      P=0.241N
Fisher exact test                                                                         P=0.286N             P=0.303N             P=0.298N
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Lesions in Female Mice                                                                                                                                        307


TABLE D3
S t a t i s t i c a l Analysis of Primary Neoplasms in Female Mice in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e (continued)


                                                                    0 mg/m3              1.25 mg/m3            2.5 mg/m3            5 mg/m 3


Uterus: Stromal Polyp
Overall rate                                                       2/64 (3%)              4/66 (6%)             0•63 (0%)           1/64 (2%)
Adjusted rate                                                      4.3 %                  8.3%                  0.0%                2.6%
Terminal rate                                                      1/41 (2%)              2/40 (5%)             0/42 (0%)           1/38 (3%)
First incidence (days)                                             559                    583                   --                  729 (T)
Life table test                                                    P=0.204N               P=0.361               P=0.235N            P=0.513N
Logistic regression test                                           P=0.193N               P=0.359               P=0.240N            P=0.489N
Cochran-Armitage test                                              P =0.198N
Fisher exact test                                                                          P=0.355              P=0.252N            P=0.500N

Uterus: Stromal Polyp or Stromal Sarcoma
Overall rate                                                        3/64 (5%)              4/66 (6%)            1/63 (2%)           1/64 (2%)
Adjusted rate                                                       6.7%                   8.3%                 2.4%                2.6%
Terminal rate                                                       2/41 (5%)              2/40 (5%)            1/42 (2%)           1/38 (3%)
First incidence (days)                                              559                    583                  729 (T)             729 (T)
Life table test                                                     P=0.145N               P=0.519              P=0.299N            P=0.324N
Logistic regressibn test                                            P=0.132N               P=0.532              P=0.304N            P=0.291N
Cochran-Armitage test                                               P=0.138N
Fisher exact test                                                                          P=0.517              P=0.315N            P=0.310N

Uterus: Hemangiosarcoma
Overall rate                                                        0/64 (0%)              3/66 (5%)            1/63 (2%)           1/64 (2%)
Adjusted rate                                                       0.0%                   6.9%                 2.3%                2.6%
Terminal rate                                                       0/41 (0%)              2/40 (5%)            0/42 (0%)           1/38 (3%)
First incidence (days)                                              --                     657                  681                 729 (T)
Life table test                                                     P=0.583                P=0.125              P=0.487             P=0.485
Logistic regression test                                            P=0.602                P=0.136              P=0.501             P=0.485
Cochran-Armitage test                                               P=0.594
Fisher exact test                                                                          P=0.128              P=0.496             P=0.500

All Organs: Hemangiosarcoma
Overall rate                                                        3/64 (5%)              6/66 (9%)            8/63 (13 %)         4/64 (6%)
Adjusted rate                                                       7.1%                   13.2%                17.3%               8.7%
Terminal rate                                                       2/41 (5%)              3/40 (8%)            5/42 (12%)          1/38 (3%)
First incidence (days)                                              728                    640                  538                 640
Life table test                                                     P=0.459                P=0.249              P=0.112             P =0.483
Logistic regression test                                            P=0.497                P=0.285              P=0.104             P=0.523
Cochran-Armitage test                                               P=0.477
Fisher exact test                                                                          P=0.262              P=0.098             P=0.500

All Organs: Hemangioma or Hemangiosarcoma
Overall rate                                                        3/64 (5 %)             6/66 (9%)            9/63 (14%)          5/64 (8%)
Adjusted rate                                                       7.1%                   13.2%                18.9%               11.2%
Terminal rate                                                       2/41 (5%)              3/40 (8%)            5/42 (12%)          2/38 (5%)
First incidence (days)                                              728                    640                  538                 640
Life table test                                                     P=0.320                P=0.249              P=0.073             P=0.340
Logistic regression test                                            P=0.353                P=0.285              P=0.065             P=0.378
Cochran-Armitage test                                               P=0.334
Fisher exact test                                                                          P =0.262             P =0.060            P=0.359
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TABLE D3
Statistical Analysis of Primary Neoplasms in Female Mice in the 2-Year Inhalation Study of Nickel Oxide (continued)

                                                                 0 mg/m3             1.25 mg/m 3          2.5 mg/m 3          5 mg/m 3


All Organs: Malignant Lymphoma
Overall rate                                                    13/64 (20%)           12/66 (18%)         9/63 (14%)          7/64 (11%)
Adjusted rate                                                   28.6%                 25.3%               18.7%               15.8%
Terminal rate                                                   9/41 (22%)            6/40 (15%)          5/42 (12%)          4/38 (11%)
First incidence (days)                                          618                   597                 321                 426
Life table test                                                 P=0.096N              P=0.506N            P=0.239N            P=0.145N
Logistic regression test                                        P=0.065N              P=0.405N            P=0.237N            P=0.090N
Cochran-Armitage test                                           P=0.075N
Fisher exact test                                                                     P=0.466N             P = 0.254N         P=0.111N

All Organs: Benign Neoplasms
Overall rate                                                    21/64 (33%)           28/66 (42%)         28/63 (44%)         24/64 (38%)
Adjusted rate                                                   44.8 %                55.9%               55.9%               53.0%
Terminal rate                                                   16/41 (39%)           19/40 (48%)         20/42 (48%)         17/38 (45%)
First incidence (days)                                          92                    162                 587                 619
Life table test                                                 P=0.343               P=0.153             P=0.167             P=0.278
Logistic regression test                                        P=0.462               P=0.214             P=0.137             P=0.313
Cochran-Armitage test                                           P=0.403
Fisher exact test                                                                     P=0.171              P=0.122            P=0.356

All Organs: Malignant Neoplasms
Overall rate                                                    30/64 (47 %)          37/66 (56%)          28/63 (44%)        28/64 (44%)
Adjusted rate                                                   61.0%                 64.6%                51.2%              49.9%
Terminal rate                                                   22/41 (54%)           20/40 (50%)          16/42 (38%)        11/38 (29%)
First incidence .(days)                                         586                   469                  321                426
Life table test                                                 P=0.315N              P=0.192              P=0.410N           P=0.503N
Logistic regression test                                        P=0.085N              P=0.297              P=0.343N           P=0.332N
Cochran-Armitage test                                           P=0.234N
Fisher exact test                                                                     P=0.192              P=0.461N           P=0.430N

All Organs: Benign or Malignant Neoplasms
Overall rate                                                    37/64 (58%)           50/66 (76%)          45/63 (71%)        40/64 (63%)
Adjusted rate                                                   70.8%                 80.6%                77.6%              72.2%
Terminal rate                                                   26/41 (63%)           28/40 (70%)          29/42 (69%)        23/38 (61%)
First incidence (days)                                          92                    162                  321                426
Life table test                                                 P=0.456               P=0.052              P=0.174            P=0.300
Logistic regression test                                        P=0.308N              P=0.047              P=0.093            P=0.479
Cochran-Armitage test                                           P=0.533N
Fisher exact test                                                                     P=0.023              P=0.078            P=0.359



(T)Terminal sacrifice
a Number of neoplasm-bearing animals/number of animals examined. Denominator is number of animals examined microscopically for adrenal gland, liver,
   lung, ovary, pituitary gland, spleen, and thyroid gland; for other tissues, denominator is number of animals necropsied.
b Kaplan-Meier estimated neoplasm incidence at the end of the study after adjustment for intercurrent mortality
c Observed incidence at terminal kill
d Beneath the control incidence are the P values associated with the trend test. Beneath the exposed group incidence are the P values corresponding to
   pairwise comparisons between the controls and that exposed group. The life table test regards neoplasms in animals dying prior to terminal kill as being
   (directly or indirectly) the cause of death. The logistic regression test regards these lesions as nonfatal. The Cochran-Armitage and Fisher exact tests
   compare directly the overall incidence rates. For all tests, a negative trend or a lower incidence in an exposure group is indicated by N.
e Not applicable; no neoplasms in animal group
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Lesions in Female Mice                                                                                                                                                309


TABLE D 4
Historical Incidence of Alveolar/bronchiolar                          Neoplasms in Untreated              Female B6C3F t Mice a


                                                                                          I n c i d e n c e in C o n t r o l s
     Study                                               Adenoma                                    Carcinoma                    A d e n o m a or C a r c i n o m a



Historical I n c i d e n c e at Lovelace I n h a l a t i o n Toxicology R e s e a r c h Institute

Nickel Oxide                                                 2/64                                        4/64                                  6/64
Nickel Subsulfide                                            3/58                                        7/58                                  9/58
Nickel Sulfate Hexahydrate                                   3/61                                        4/61                                  7/61
Talc                                                         3/46                                        2/46                                  5/46


Overall Historical I n c i d e n c e in I n h a l a t i o n Studies

Total                                                  6/944 (6.5%)                              38/944 (4.0%)                          97/944 (10.3 %)
Standard deviation                                         3/1%                                      3.2%                                    3.7%
Range                                                    0%-14%                                     0%-12%                                 0%-16%


Overall Historical I n c i d e n c e in Feed Studies

Total                                                 78/1,319 (5.9%)                           26/1,319 (2.0%)                        102/1,319 (7.7%)
Standard deviation                                          5.0%                                     2.3 %                                   5.3%
Range                                                     0 %-24%                                   0 %-8 %                                2%-26%


a Data as of 17 June 1994
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TABLE D5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c L e s i o n s in F e m a l e M i c e i n t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e a


                                                              0 mg/m ~                        1.25 mg/m 3                       2.5 mg/m 3                          5 mg/m ~


Disposition S u m m a r y
Animals initially in study                                        74                                 76                                 74                                75
7-Month interim evaluation                                           5                                5                                  5                                 5
15-Month interim evaluation                                          5                                5                                  5                                5
Early deaths
  Accidental deaths                                                 1                                                                    1
  Moribund                                                         15                                18                                  9                                16
  Natural deaths                                                    7                                 8                                 11                                10
Survivors
  Terminal sacrifice                                              40                                 38                                 42                                38
  Died last week of study                                          1                                  2
Pregnant/Missexed                                                                                                                        1                                 1

Animals examined microscopically                                  74                                 76                                 73                                74


7-Month        Interim       Evaluation
Genital System
Uterus                                                                                                                                                              (1)
  Inflammation, suppurative                                                                                                                                           1 (lOO%)


Hematopoietic System
Lymph node, bronchial                                          (3)                             (4)                                (5)                               (5)
  Hyperplasia                                                                                    1 (25%)
  Pigmentation                                                                                   1 (25%)                            5 (lOO%)                          5 (lOO%)
Lymph node, mandibular                                                                         (1)
  Hyperplasia, lymphoid                                                                          ~ 000%)
Lymph node, mediastinal                                                                        (2)                                                                  (2)
  Hyperplasia                                                                                    1 (50%)
Spleen                                                                                         (1)
  Hyperplasia, lymphoid                                                                          1 (lOO%)


Respiratory System
Lung                                                           (5)                              (5)                               (5)                               (5)
 Inflammation, chronic                                                                            1 (20%)                           4 (80%)                           4 (80%)
  Alveolus, pigmentation                                                                          4 (80%)                           5 000%)                           5 (100%)
Nose                                                            (5)                             (5)                               (5)                               (5)
  Olfactory epithelium, degeneration                              1 (20%)
  Respiratory epithelium, degeneration                            1 (20%)


Urinary System
Kidney                                                          (5)                             (5)                               (5)                               (5)
  Infiltration cellular, lymphocyte                               1 (20%)                         2 (40%)                           1 (20%)                           2 (40%)
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Lesions in F e m a l e Mice                                                                                                                                                           311



TABLE D5
S u m m a r y o f t h e I n c i d e n c e o f N o n n e o p l a s t i c Lesions in F e m a l e M i c e in t h e 2 - Y e a r I n h a l a t i o n S t u d y o f N i c k e l O x i d e
(continued)

                                                            0 mg/m a                       1.25 m g / m a                  2.5 m g / m 3                      5 mg/m 3



7-Month Interim Evaluation (continued)
Systems Examined With No Lesions Observed
Alimentary System
Cardiovascular System
Endocrine System
General Body System
Integumentary System
Musculoskeletal System
Nervous System
Special Senses System


15-Month Interim Evaluation
Alimentary Sygtem
Liver                                                         (5)                           (5)                              (5)                              (5)
  Infiltration cellular, lymphocyte                                                                                            1 (20%)
  Inflammation, chronic                                                                        1 (20%)


Cardiovascular System
Heart                                                         (5)                           (5)                              (5)                              (5)
 Venule, inflammation, chronic active                                                                                                                           1 (20%)


Endocrine System
Adrenal cortex                                                (5)                            (5)                              (5)                             (5)
  Infiltration cellular                                         I (20%)
Pituitary gland                                               (5)                            (5)                              (5)                             (5)
  Pars distalis, angiectasis                                                                                                    1 (20%)


Genital System
Ovary                                                         (5)                            (5)                              (5)                             (5)
 Cyst                                                                                          1 (20%)
Uterus                                                        (5)                            (5)                              (5)                             (5)
  Bilateral, endometrium, hyperplasia                           1 (20%)
  Endometrium, hyperplasia                                      3 (60%)                        5 (100%)                         5 (100%)                        5 (100%)


 Hematopoietic System
 Lymph node, bronchial                                        (5)                            (5)                              (5)                              (5)
   Hyperplasia, lymphoid                                                                       3 (60%)                          4 (80%)                          4 (80%)
   Pigmentation                                                                                4 (80%)                          5 (lOO%)                         5 (lOO%)
 Lymph node, maodibular                                       (5)                            (5)                              (5)                              (5)
   Hyperplasia, lymphoid                                                                       2 (40%)
 Lymph node, mediastinal                                      (2)                            (4)                              (3)                              (2)
   Hyperplasia, lymphoid                                                                       1 (25%)
 Spleen                                                       (5)                            (5)                              (5)                              (5)
   Hyperplasia, lymphoid                                        1 (20%)                        2 (40%)                          1 (20%)
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TABLE D 5
Summary of the Incidence of Nonneoplastic Lesions in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                           0 mg/m 3        1.25 mg/m 3        2.5 m g / m 3          5 mg/m3


15-Month Interim Evaluation (continued)
Respiratory System
Lung                                        (5)             (5)                (5)                   (5)
 Inflammation, chronic                                        2 (40%)            4 (80%)               4 (80%)
 Bronchialization b                                                              3 (60%)               3 (60%)
 Alveolus, pigmentation                                      4 (80%)             5 (100%)              5 (100%)
 Alveolus, proteinosis                                                                                 3 (60%)
Nose                                        (5)             (5)                (5)                   (5)
 Olfactory epithelium, degeneration           2 (40%)
 Respiratory epithelium, degeneration         1 (20%)        1 (20%)             2 (40%)               3 (60%)


Special Senses System
Ear                                                                                                   (1)
  External ear, hemorrhage                                                                              1 (100%)


Systems Examined With No Lesions Observed
General Body System
I n t e g u m e n t a r y System
Musculoskeletal System
Nervous System
U r i n a r y System


2- Year Study
Alimentary System
Gallbladder                                (60)            (59)               (57)                   (56)
  Inflammation, suppurative                                                      1 (2%)
Intestine large, cecum                     (60)            (60)               (57)                   (56)
  Hyperplasia, lymphoid                       1 (2%)                             4 (7%)                 1 (2%)
Intestine small, duodenum                  (60)            (60)               (56)                   (56)
  Hyperplasia, lymphoid                                                          2 (4%)
  Inflammation, suppurative                                   1 (2%)
Intestine small, ileum                     (58)            (57)               (56)                   (54)
  Hyperplasia, lymphoid                                                          2 (4%)
Liver                                      (64)            (66)               (63)                   (63)
  Abscess                                     1 (2%)
  Basophilicfocus                             1 (2%)          1 (2%)             1 (2%)                 1 (2%)
  Clear cell focus                            2 (3%)                             1 (2%)                 1 (2%)
  Eosinophilic focus                          2 (3%)                             2 (3%)
  Inflammation, chronic                       1 (2%)
  Inflammation, chronic, focal                1 (2%)          3 (5%)             3 (5%)
  Mixed cell focus                                                               1 (2%)
   Hepatocyte, fatty change                                                      1 (2%)
   Hepatocyte, hyperplasia                                    1 (2%)
   Hepatocyte, necrosis                                       1 (2%)              1 (2%)                3 (5%)
   Hepatocyte, vacuolization cytoplasmic      1 (2%)          1 (2%)
   Sinusoid, amyloid deposition                               1 (2 %)
Mesentery                                   (2)             (2)                 (1)                   (3)
   Inflammation, chronic active                                                                         1 (33%)
   Artery, inflammation, chronic                              2 (100%)
   Fat, necrosis                                                                                        1 (33%)
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Lesions i n F e m a l e Mice                                                                                      313



TABLE D5
Summary of the Incidence of Nonneoplastic Lesions in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                       0 mg/m 3           1.25 m g / m 5    2.5 m g / m 3         5 mg/m 3


2-Year Study (continued)
Alimentary System (continued)
Pancreas                               (64)               (66)               (62)                (62)
  Atrophy                                                                       1 (2%)
  Congestion                                                                    1 (2%)
  Cyst                                                                          I (2%)
  Infiltration cellular, lymphocyte                                             1 (2%)
  Inflammation, chronic                                      1 (2%)
  Inflammation, suppurative                                                     1 (2%)
Stomach, forestomach                   (64)               (63)               (62)                (60)
  Hypcrkera~osis                          1 (2%)             8 (13%)            2 (3%)              I (2%)
  Hyperplasia, squamous                                                                             1 (2%)
  Inflammation, chronic                   1 (2%)
  Inflammation, suppurative                                  1 (2%)
Stomach, glandular                     (63)               (63)               (62)                (60)
  Inflammation, chronic                   1 (2%)
  Inflammation, suppurative                                  1 (2%)
Tooth                                   (2)                (1)                (1)                 (2)
  Developmental malformation              l (50%)            1 (100%)                               1 (50%)
  Inflammation                            I (50%)                               1 (lOO%)


Cardiovascular System
Heart                                  (64)               (66)               (63)                (64)
 Inflammation~ chronic active                                                   1, (2%)
 Inflammation, suppurative                                                      1 (2%)
 Arteriole, inflammation, chronic         1 (2%)

Endocrine System
Adrenal cortex                         (64)               (66)               (63)                (62)
   Hyperplasia                            1 (2%)             2 (3%)             1 (2%)              1 (2%)
  Vacuolization cytoplasmic               1 (2%)
   Spindle cell, hyperplasia              4 (6%)             2 (3%)                                 1 (2%)
Adrenal medulla "                      (62)               (65)               (63)                (62)
   Degeneration                           1 (2%)
   Hyperplasia                            1 (2%)
   Spindle cell, hyperplasia              1 (2%)             2 (3%)
Islets, pancreatic                     (63)               (65)               (62)                (62)
   Hyperplasia                                               1 (2%)
Pituitary gland                        (63)               (66)               (61)                (62)
   Pars distalis, angiectasis             7 (11%)           l0 (15%)           11 (18%)             7 (11%)
   Pars distalis, hyperplasia            10 (16%)            9 (14%)            4 (7%)              9 (15%)
   Pars distalis, necrosis                                                                          1 (2%)
Thyroid gland                          (62)               (66)               (63)                (64)
   Hyperplasia, cystic                   26 (42 %)         26 (39%)            32 (51%)            26 (41%)
   Infiltration cellular, lymphocyte      1 (2%)
   Inflammation, suppurative                                 2 (3%)


General Body System
None
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TABLE D5
Summary of the Incidence of Nonneoplastic Lesions in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                         0 mg/m ~             1.25 mg/m 3          2.5 mg/m 3             5 mg/m 3



2-Year Study (continued)
Genital System
Clitoral gland                           (57)                 (62)                 (57)                  (55)
  Ectasia                                   1 (2%)               2 (3%)                                     3 (5%)
  Inflammation, chronic                     2 (4%)                                                          1 (2%)
  Inflammation, chronic active                                                                              1 (2%)
  Pigmentation                              5 (9%)               4 (6%)               5 (9%)               12 (22%)
Ovary                                    (61)                 (66)                 (60)                  (63)
  Abscess                                   2 (3%)
  Angiectasis                                                                                               2 (3%)
  Congestion                                                    1 (2%)
  Cyst                                      8 (13%)            14 (21%)               9 (15%)               7 (11%)
  Inflammation, suppurative                 1 (2%)                                    1 (2%)
  Rete ovarii, thrombosis                   1 (2%)
Uterus                                   (64)                 (66)                 (62)                  (63)
  Cyst                                                                                1 (2%)
  Dilatation                                                     1 (2%)
  Inflammation, suppurative                i (2%)                                                           1 (2%)
  Bilateral, dilatation                                         1 (2%)
  Endometrium, hyperplasia, cystic        24 (38%)             34 (52%)              30 (48%)              29 (46%)


I-Iematopoietic System
Bone marrow                              (64)                 (65)                  (62)                 (63)
  Myelofibrosis                             3 (5%)               2 (3%)                                     2 (3%)
  Necrosis                                                       1 (2%)                1 (2%)
  Myeloid cell, hyperplasia                 5 (8%)               4 (6%)                3 (5%)                1 (2%)
Lymph node                               (15)                  (9)                  (10)                   (9)
  Iliac, hyperplasia, lymphoid              3 (20%)              2 (22%)               1 (10%)               1 (11%)
  Iliac, hyperplasia, macrophage                                                                            1 (11%)
  Iliac, pigmentation                                            1 (11%)
  Pancreatic, hyperplasia, lymphoid                                                    1 (10%)              1 (11%)
  Renal, hyperplasia, lymphoid             4 (27%)               1 (11%)               1 (10%)              2 (22%)
   Renal, inflammation, chronic active                                                                      1 (11%)
Lymph node, bronchial                    (54)                 (63)                  (59)                 (62)
   Congestion                                                    2 (3%)                1 (2%)               2 (3%)
   Hyperplasia, lymphoid                  14 (26%)              37 (59%)              40 (68%)              44 (71%)
   Pigmentation                                                 58 (92%)              56 (95%)              60 (97%)
Lymph node, mandibular                   (61)                 (63)                  (59)                  (58)
   Congestion                                                    1 (2%)                1 (2%)
   Hyperplasia, lymphoid                  16 (26%)              t8 (29%)             18 (31%)              14 (24%)
   Hyperplasia, macrophage                                       1 (2%)
   Inflammation, suppurative                                                           1 (2%)
Lymph node, mesenteric                   (54)                 (63)                  (54)                  (55)
   Congestion                                                    4 (6%)                1 (2%)                1 (2%)
   Ectasia                                                       1 (2%)
   Hematopoietic cell proliferation             •
                                                                                                             1 (2%)
   Hyperplasia, lymphoid                    8 (15%)              3 (5%)                8 (15%)             13 (24%)
   Inflammation                                                                        1 (2%)
   Inflammation, chronic active                                                        1 (2%)
   Inflammation, suppurative                1 (2%)
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Lesions in Female Mice                                                                                              315


TABLE D 5
Summary of the Incidence of Nonneoplastic Lesions in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                               0 mg/m 3            1.25 mg/m 3      2.5 mg/m 3        5 mg/m 3



2-Year Study (continued)
Hematopoietic System (continued)
Lymph node, mediastinal                        (35)                (28)             (33)             (29)
  Hyperplasia, lymphoid                           1 (3%)              3 (11%)          3 (9%)           2 (7%)
  Pigmentation                                                        2 (7%)           1 (3%)           5 (17%)
Spleen                                         (64)                (66)             (63)             (63)
  Congestion                                                                                            2 (3%)
  Hematopoietic cell proliferation               8 (13 %)            6 (9%)            8 (13%)          5 (8%)
  Hyperplasia, lymphoid                         12 (19%)            17 (26%)          22 (35%)         17 (27%)
  Hyperplasia, macrophage                                             1 (2%)                            1 (2%)
Thymus                                         (59)                (61)              (60)            (57)
  Atrophy                                         1 (2 %)                               1 (2%)
  Hyperplasia, lymphoid                           1 (2%)


Integumentary System
Mammary gland                                  (63)                (66)              (63)            (63)
  Hyperplasia, glandular                          6 (10%)             4 (6%)            8 (13%)         8 (13%)
Skin                                            (4)                 (8)               (6)            (12)
  Alopecia                                                            1 (13%)           1 (17%)         1 (8%)
  Edema                                                                                                 1 (8%)
  Hemorrhage                                                                                            2 (17%)
  Inflammation, chronic                                                                                 1 (8%)
  Inflammation, chronic active                    1 (25%)
  Inflammation, suppurative                                                             1 (17%)
  Epidermis, inflammation, suppurati4e                                                                  1 (8%)
  Pinna, cyst epithelial inclusion                                    1 (13%)
  Subcutaneous tissue, edema                      1 (25%)             1 (13%)
  Subcutaneous tissue, inflammation, chronic
     active                                                                                             1 (8%)
  Subcutaneous tissue, inflammation,
     suppurative                                                                        1 (17%)
  Subcutaneous tissue, necrosis                                                                         1 (8%)

Musculoskeletal System
Bone                                           (64)                (65)              (63)            (63)
 Fracture                                         1 (2%)
 Hyperostosis                                    17 (27%)           25 (38%)          26 (41%)         24 (38%)
 Pelvis, fracture                                                                                       1 (2%)


N e r v o u s System
Brain                                          (64)                (66)              (63)            (64)
  tlypothalamus, compression                                          2 (3%)            6 (10%)         4 (6%)
  Pons, compressiou                                                   1 (2%)
Spinal cord                                                         (1)
  tlemorrhage                                                         1 (100%)


Respiratory System
Larynx                                         (62)                (63)              (62)             (63)
  ll~flammation, suppurative                                          I (2%)            1 (2%)
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TABLE D 5
Summary of the Incidence of Nonneoplastic Lesions in Female Mice in the 2-Year Inhalation Study of Nickel Oxide
(continued)

                                                   0 mg/m3                   1.25 mg/m3                 2.5 mg/m~                     5 mg/mz


2-Year Study (continued)
Respiratory System (contirmed)
Lung                                              (64)                       (66)                        (63)                        (64)
 Fibrosis                                                                                                   1 (2%)                      3 (5%)
 Hemorrhage                                                                    2 (3%)
 Inflammation, chronic                               7 (11%)                  43 (65%)                    53 (84%)                    52 (81%)
 Inflammation, chronic active                                                                              1 (2%)
 Metaplasia, squamous                                                                                                                   1 (2%)
 Pigmentation, hemosiderin                           2 (3%)
 Bronchialization b                                                           35 (53%)                    39 (62%)                    40 (63%)
 Alveolar epithelium, hyperplasia, focal                                                                   1 (2%)
 Alveolus, hemorrhage                                                                                      1 (2%)
 Alveolus, hyperplasia, macrophage                   1 (2%)                     2 (3%)
 Alveolus, pigmentation                                                        64 (97%)                    61 (97%)                    64 (100%)
 Alveolus, proteinosis                                                          8 (12%)                    17 (27%)                    29 (45%)
Nose                                              (62)                       (65)                        (62)                        (62)
 Inflammation, suppurative                                                      1 (2%)
 Capillary, thrombosis                               1 (2%)
 Olfactory epithelium, degeneration                 16 (26%)                  10 (15%)                      2 (3%)                      7 (11%)
 Respiratory epithelium, degeneration               19 (31%)                  15 (23%)                     11 (18%)                    17 (27%)
 Respiratory epithelium, hyperplasia                 1 (2%)                    1 (2%)
 Respiratory epithelium, inflammation, chronic                                 1 (2%)
 Respiratory epithelium, inflammation,
    suppurative                                     17 (27%)                  18 (28%)                     18 (29%)                   21 (34%)
 Respiratory epithelium, metaplasia, squamous       10 (16%)                   9 (14%)                     14 (23%)                   15 (24%)


Special Senses System
Ear                                                 (2)                       (1)                         (1)                         (1)
  External ear, hyperkeratosis                                                  1 (100%)
Eye                                                                                                                                   (2)
  Cornea, inflammation                                                                                                                  2 (100%)


Urinary System
Kidney                                            (64)                       (66)                        (63)                        (63)
  Hydronephrosis                                     1 (2%)
  Infiltration cellular, lymphocyte                                                                         2 (3%)
  Inflammation, chronic                                                         1 (2%)                      2 (3%)
  Metaplasia, osseous                                 1 (2%)
  Necrosis                                                                                                                              1 (2%)
  Nephropathy                                        2 (3%)                     3 (5%)                      3 (5%)                      2 (3%)
  Cortex, cyst                                                                                                                          1 (2%)
  Glomemlus, thrombosis                               1 (2%)
  Medulla, cyst                                                                                             1 (2%)
  Pelvis, infiltration cellular, lymphocyte                                     1 (2%)
  Renal tubule, hyperplasia                           1 (2%)
Urethra                                                                                                                               (l)
  Concretion                                                                                                                            1 (100%)
Urinary bladder                                    (63)                      (62)                        (60)                        (57)
  Inflammation, suppurative                                                                                 I (2%)

   Number of animals examined microscopically at site and number of animals with lesion
   This alteration is associated with injury to the parenchyma around the terminal bronchiole. It is listed as "alveolar epithelial hyperplasia" in the TDMS
   data tables for mice in this study.
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                                           APPENDIX E
                                       GENETIC TOXICOLOGY

MOUSE PERIPHERAL BLOOD MICRONUCLEUS TEST PROTOCOL . . . . . . . . . . . . . . . . . . . . . . . . .                                  318
RESULTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        318
TABLE E1 Frequency of Micronuclei in Mouse Peripheral Blood Erythrocytes
           Following T r e a t m e n t with Nickel Oxide by Inhalation for 13 Weeks . . . . . . . . . . . . .                        319
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   GENETIC TOXICOLOGY
  MOUSE P E R I P H E R A L      BLOOD MICRONUCLEUS TEST PROTOCOL
  A detailed discussion of this assay is presented in MacGregor et al. (1990). At the end of the 13-week
  toxicity study, peripheral blood samples were obtained from male and female B6C3F l mice and smears
  were immediately prepared and fixed in absolute methanol. The methanol-fixed slides were stained with a
  chromatin-specific fluorescent dye mixture of Hoechst 33258/pyronin Y (MacGregor et al., 1983) and
  coded. Ten thousand normochromatic erythrocytes (NCEs) were scored in each of 10 animals per dose
  group. The criteria of Schmid (1976) were used to define micronuclei.

  The results were tabulated as the mean of the pooled results from all animals within a treatment group,
  plus or minus the standard error of the mean. The frequency of micronucleated cells among NCEs was
  analyzed by a statistical software package that tested for increasing trend over exposure groups using a
  one-tailed Cochran-Armitage trend test, followed by pairwise comparisons between each exposure group
  and the control group (Margolin et al., 1990). In the presence of excess binomial variation, as detected
  by h binomial dispersion test, the binomial variance of the Cochran-Armitage test was adjusted upward in
  proportion to the excess variation. In the micronucleus test, an individual trial is considered positive if
  1) the trend test P value is less than or equal to 0.025 or 2) the P value for any single exposure group is
  less than or equal to 0.025/N where N equals the number of exposure groups. A final call of positive for
  micronucleus induction is preferably based on reproducibly positive trials (as noted above). Ultimately,
  the final call is determined by the scientific staff after considering the results of statistical analyses,
  reproducibility of any effects observed, and the magnitudes of those effects.


  RESULTS
  Nickel oxide was tested for induction of micronuclci in normochromatic erythrocytes of male and female
  mice exposed by inhalation for 13 weeks. The compound did not induce an increase in the frequency of
  micronucleated NCEs in peripheral blood samples (Table El),
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Genetic Toxicology                                                                                                                  319



TABLE E 1
Frequency of Micronuclei in Mouse Peripheral Blood Erythrocytes Following Treatment
w i t h N i c k e l O x i d e b y I n h a l a t i o n f o r 13 W e e k s a


                                                 Micronucleated
               Dose                             Normochromatic                                    Number
              (mg/m 3)                      Erythrocytes/1,000 Cells b                            of Mice



Male

                 0                                 0.946 ± 1.26                                      10
               1.3                                 0.809 ± 1.03                                      10
               2.5                                 0.987 ± 0,91                                      10
               5.0                                 0.954 ± 0.89                                      10

Trend test                                              P=0.319 c


 Female

                 0                                 0.548 ± 0.88                                      10
               1.3                                 0.504 ± 0.64                                      10
               2.5                                 0.697 ± 0.47                                      10
               5.0                                 0.571 ± 0.57                                      10

 Trend test                                             P=0.295

 Urethane d    0.2                                 13.376 ± 0.724*


 * P<0.001
 a Slides scored at SRI, International. The detailed protocol and these data are presented by MacGregor et al. (1990); 10,000 NCEs scored
   per animal.
 b Data presented as mean ± standard error of the mean. NCE = normochromatic erythrocyte.
 c Significance of micronucleated NCEs determined by a one-tailed Cochran-Armitage trend test.
 d Urethane was used as the positive control and the dose is presented in parts per million.
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                  APPENDIX F
                ORGAN WEIGHTS
    AND ORGAN-WEIGHT-TO-BODY-WEIGHT RATIOS

TABLE F1   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats
           in the 16-Day Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                    322
TABLE F2   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats
           in the 13-Week Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . .                       323
TABLE F3   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats
           at the 7-Month Interim Evaluation in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           324
TABLE F4   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats
           at the 15-Month Interim Evaluation in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           325
TABLE F5   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice
           in the 16-Day Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                    326
TABLE F6   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice
           in the 13-Week Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . .                       327
TABLE F7   Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice
           at the 7-Month Interim Evaluation in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           328
TABLE F8   Organ Weights and Organ-Weight-to-Body-Weight Ratios for ~Mice
           at the 15-Month Interim Evaluation in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           329
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TABLE F 1
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats in the 16-Day Inhalation Study of Nickel Oxide a

                                  0 mg/m3           1.2 mg/m~          2.5 mg/m3            5 mg/m3           10 mg/ma             30 mg/m3


n                                      5                  5                  5                   5                  5                    5

Male
Necropsy body wt                  213 ± 5            211 5:4             214 ± 6            210 ± 4            210 5:4              204 5:5

Brain
    Absolute                    1.744 5:0,022       1.774 5:0.010      1.748 ± 0.017      1.732 ± 0.017       1.726 5:0.019        1.710 ± 0.019
    Relative                     8.20 5:0.15         8.42 5:0.12        8.17 5:0.16        8,24 5:0.10         8,22 ± 0.17          8.42 ± 0.18
Heart
    Absolute                    0.818 5:0.037      0.782 5:0.044       0.840 ± 0.047      0.846 ± 0.070       0.780 5:0.022       0.834 ± 0.039
    Relative                     3,84 5:0,15        3.71 5:0.23         3.91 ± 0.16        4.02 5:0.30         3.72 5:0.15         4.13 ± 0.31
R. Kidney
    Absolute                    0.851 5:0.034       0.842 5:0.025      0.883 ± 0.047      0.817 ± 0.022       0.806 ± 0.033        0.807 ± 0.023
    Relative                     3.99 5:0.14         3.99 ± 0.11        4.12 ± 0.21        3.89 5:0.11         3.83 ± 0.09          3.97 ± 0.07
Liver
    Absolute                   10.020 5:0.291      10.080 ± 0.159      9.780 ± 0.426      9.840 5:0.121      10.040 ± 0.339        9.280 ± 0.267
    Relative                    47.03 ± 0.71        47.83 ± 0.99       45.58 ± 1.33       46.84 5:0.81        47.73 ± 1.19         45.58 ± 0.28
Lung
    Absolute                    1.060 5:0.040       1.000 ± 0.032      1,060 5:0.040      0.960 ± 0.024       1.200 ± 0.032*       1.360 ± 0.051"*
    Relative                     4.98 ± 0.20         4.74 ± 0.14        4.94 ± 0.15        4.56 ± 0.07         5.72 ± 0.24**        6.68 ± 0.13"*
Testes
    Absolute                     1.188 5:0.013      1.214 5:0.016      1.258 5:0.046       1.210 =[: 0.033    1.242 5:0.017        1.222 ± 0.025
    Relative                      5.59 5:0.09        5.76 5:0.12        5.87 ± 0.19         5.76 5:0.16        5.92 5:0.16          6.01 ± 0.05
Thymus
     Absolute                   0.351 ± 0.008       0.363 ± 0.015      0.353 ± 0.011      0.323 5:0.024       0.369 ± 0.009        0.341 ± 0.029
     Relative                     1.65 5:0.05         1.72 ± 0.07        1.66 5:0.09        1.54 ± 0.12        1.76 5:0.06           1.67 ± 0.11


Female
Necropsy body wt                   150 ± 2            155 ± 3            154 ± 4             156 ± 2            150 ± 2              149 ± 3

Brain
    Absolute                     1.650 5:0.013      1.652 5:0.020       1.662 ± 0.019      1,652 ± 0,018      1.702 ± 0.022        1,634 ± 0,047
    Relative                     11.03 ± 0.17       10.71 5:0.22        1'0.83 ± 0.20      10.63 ± 0.20       11.32 5:0.14         10.99 ± 0.29
Heart
    Absolute                     0,558 5:0.016      0,600 5:0.024      0.602 ± 0,023       0,620 ± 0,011      0,590 5:0,030        0,620 ± 0,027
    Relative                      3.73 ± 0,09        3.88 5:0.09        3.92 ± 0.12         3.99 5:0.11        3,92 5:0.15          4.16 5:0.14
R. Kidney
    Absolute                     0,624 ± 0.007      0,642 ± 0,014      0.599 5:0.024       0,608 ± 0,014      0,637 5:0,025        0,628 ± 0,017
    Relative                      4.17 ± 0.05        4.16 5:0.11        3.89 ± 0.13         3.91 ± 0.09        4.24 5:0.16          4.22 ± 0.08
Liver
    Absolute                     5.900 ± 0.164      6,560 ± 0.178       6.440 ± 0.238      5~980 5:0,153      6.120 ± 0.235        5,520 ± 0,208
    Relative                     39.40 5:0.78       42.48 ± 0.89        41.88 ± 1.18       38.43 5:0.74       40.64 5:1.07         37.06 ± 0.94
Lung
    Absolute                     0.780 ± 0.020      0.860 ± 0.040       0.900 ± 0.032      0,820 ± 0.020       1.040 ± 0.024**     1.120 ± 0.037**
     Relative                     5.21 ± 0.11        5.56 5:0.18         5.86 ± 0.21        5.27 ± 0.14         6.91 ± 0.12"*       7.52 ± 0.11"*
Thymus
     Absolute                    0.293 5:0.011      0.323 5:0.019       0.301 ± 0.015      0.300 ± 0.012      0.291 ± 0.015        0.302 ± 0.021
     Relative                      1.95 ± 0.07       2.09 ± 0.11          1.95 5:0.06        1.93 ± 0.06        1.93 5:0.08         2.02 ± 0.12



    * Significantly different (P <_0.05) from the control group by Williams' or Dunnett's test
    ** P_<0.01
    a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
       (mean 5: standard error).
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Organ Weight Analyses                                                                                                                            323


TABLE F2
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats i n t h e 1 3 - W e e k                  Inhalation     Study   of Nickel   Oxide a


                              0 mg/m3           0.6 mg/m3           1.2 mg/m3          2.5 mg/m3            5 mg/m3            10 mg/m3



n                                  10                 10                10                   9                  10                  10
Necropsy body wt               310 ± 8            312 ± 6            314 ± 6             297 ± 5            304 ± 6             301 ± 5

Brain
    Absolute                 1.853 ± 0.019      1.893 ± 0.018       1.,904 ± 0.023     1.849 ± 0.018      1.870 ± 0.019        1.880 ± 0.010
    Relative                  6.00 ± 0.12        6,08 ± 0.08         6.08 ± 0.09        6.23 ± 0.07        6.17 ± 0.12          6.26 5:0.08
Heart
    Absolute                 0,902 ± 0,029      0,898 ± 0,024      0,926 ± 0,023       0,852 ± 0.031      0.894 ± 0.029       0.911 ± 0.015
    Relative                  2.91 ± 0.06        2,88 ± 0.07        2.95 ± 0.06         2.86 ± 0.07        2.94 ± 0.07         3.03 ± 0.06
R. Kidney
    Absolute                 1.029 ± 0.038      1.052 ± 0.026       1.064 ± 0.028      0.991 ± 0.015      0.984 ± 0.022        1.042 ± 0.019
    Relative                  3.32 ± 0.10        3.38 ± 0.10         3.39 ± 0.07        3.34 ± 0.06        3.24 ± 0.06          3.46 ± 0.05
Liver
    Absolute                10.560 ± 0.392     11.150 ± 0.202      10.880 ± 0.235     10.644 ± 0.245     10.430 ± 0.238       10.720 ± 0.199
    Relative                 34.06 ± 0.93       35.77 ± 0.33        34.69 ± 0.31       35.84 ± 0.58       34.29 ± 0.44         35.63 ± 0.51
Lung
    Absolute                 1.180 ± 0.037      1.349 ± 0.024**     1.474 ± 0.041"*    1.698 ± 0.053**     1.906 ± 0.032**    2.467 ± 0.045**
    Relative                  3.81 ± 0.11        4.33 ± 0.09**       4.70 ± 0.I1"*      5.73 ± 0.19"*       6.27 ± 0.05**      8.21 ± 0.19"*
R. Testis
    Absolute                 1.340 ± 0.028      1.429 ± 0.024       1.479 ± 0.054      1.438 ± 0.037       1.418 ± 0.034       1.455 ± 0.054
    Relative                  4.34 ± 0.12        4.60 ± 0.12         4.72 ± 0.15        4.84 ± 0.10"        4.67 ± 0.12"        4.84 ± 0.17"
Thymus
    Absolute                 0.283 ± 0.014      0.281 ± 0.018       0.266 ± 0.006      0.254 ± 0.015      0.249 ± 0.004       0.259 ± 0.010
    Relative                  0.92 ± 0.06        0.90 ± 0.05         0.85 ± 0.02        0.86 ± 0.05        0.82 ± 0.01         0.86 ± 0.04


Female
n                                  10                 10                 10                 10                 10                  10
Necropsy body wt               192 ± 6            182 ± 6             189 ± 3            192 ± 4            189 ± 5             195:2:5

Brain
    Absolute                 1,791 ± 0.030       1.685 ± 0.060      1.767 ± 0.011      1.765 ± 0.019       1.740 ± 0.025       1.766 ± 0.021
    Relative                  9.38 ± 0.15         9.35 ± 0.45        9.35 ± 0.13        9.21 ± 0.15         9.26 ± 0.23         9.10 ± 0.16
Heart
    Absolute                 0.663 ± 0.021      0.606 ± 0.008       0.659 ± 0.014      0.688 ± 0.039      0.604 ± 0.013       0.672 ± 0.020
    Relative                  3.47 ± 0.08        3.36 ± 0.11         3.49 ± 0.09        3.58 ± 0.20        3.20 ± 0.05         3.45 ± 0.07
R. Kidney
    Absolute                 0.667 ± 0.021      0.661 ± 0.015       0,664 ± 0.014      0.667 ± 0.019      0,642 ± 0.016        0.688 ± 0.017
    Relative                  3.49 ± 0.11        3.66 ± 0.12         3.51 ± 0.05        3.47 ± 0.09        3.41 ± 0.07          3.54 ± 0.06
Liver
    Absolute                 6.730 ± 0.171      5.870 ± 0,360*      6.540 ± 0.115      6.740 ± 0.194       6.300 ± 0.180       6.890 ± 0.161
    Relative                 35.17 ± 0.35       32.00 ± 1.17"*      34.57 ± 0.52       35.04 ± 0.51        33.38 ± 0.51        35.41 ± 0.30
Lung
    Absolute                 0.983 ± 0.026       1.027 ± 0,023      1.134 ± 0.024*     1.550 ± 0.038**     1.610 ± 0.047**     2.111 ± 0.081"*
    Relative                  5.14 ± 0.10         5.68 ± 0,17"       6.00 ± 0.11"*      8.06 ± 0.10"*       8.55 ± 0.23**      10.84 ± 0.31"*
Thymus
    Absolute                 0.241 ± 0.008       0.224 ± 0,008      0.219 ± 0.007      0.237 ± 0.007       0.229 ± 0.008       0.235 ± 0.009
    Relative                   1.26 ± 0.05        1.23 ± 0,03        1.16 ± 0.03        1.24 ± 0.04         1.21 ± 0.04         1.20 ± 0.02


* Significantly different (P<_0.05) from the control group by Williams' or Durmett's test
** P_<0.01
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean ± standard error).
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TABLE F 3
Organ Weights and Organ-Weight-to-Body-Weight                      Ratios for Rats at the 7-Month Interim Evaluation
in the 2-Year I n h a l a t i o n S t u d y o f Nickel Oxide a

                                                    0 mg/m 3            0.62 mg/m 3          1.25 mg/m 3            2.5 mg/m 3


Male
n                                                       6                     7                    7                     7
Necropsy body wt                                    391 ± 10              390 ± 5              402 ~ 9               407 ± 10

Brain
    Absolute                                      2.030 ± 0.016        " 2.004 ± 0.037       2.037 ± 0.017         2.061 ::k 0.018
    Relative                                       5.21 ± 0.12            5.14 ± 0.I1         5.09 ± 0.12           5.08 ± 0.10
R. Kidney
    Absolute                                       1.293 ± 0.047        1.363 ± 0.036        1.404 ± 0.042          1.464 ± 0.040**
    Relative                                        3.31 ± 0.10          3.49 ± 0,08          3.50 ± 0.07            3,61 ± 0.10
Liver
    Absolute                                     13.883 ± 1.071        14.131 ± 0.469       15.113 ± 0.595        16.559 ± 0.760*
    Relative                                      35.44 ± 2.37          36.16 ± 0.82         37.62 ± 1.13          40.74 ± 1.78"
Lung
    Absolute                                       1.718 ± 0.072        1.850 ± 0.071        2.426 ± 0.107"*       2,593 ± 0.060**
    Relative                                        4.40 ± 0.14          4.74 ± 0.17          6.04 ± 0.22**         6.40 ± 0.24**
Spleen
    Absolute                                      0.773 ± 0.030         0.759 ± 0.023        0.757 ± 0.017         0.756 ::k 0.022
    Relative                                       1.98 ± 0.06           1.94 ± 0.05          1.89 ± 0.05           1.86 ± 0.04
R. Testis
    Absolute                                       1.508 ± 0.034        1.580 ± 0.025        1.541 ± 0.027          1.526 ± 0.033
    Relative                                        3.87 ± 0.09          4.05 ::k 0.06        3,84 ± 0.05            3.76 5:0.12
Thymus
    Absolute                                       0.253 ± 0.027        0.272 ± 0.022        0.268 ± 0.031         0.272 ± 0.024
    Relative                                        0.65 ± 0.07          0.70 ± 0.06          0.66 ± 0.06           0.67 ± 0.05


Female
n                                                        7                    7                    7                     6
Necropsy body wt                                     234 ± 4              234 ± 2              236 ± 4               232 ± 6

Brain
    Absolute                                       1.857 ± 0.013        1.877 ± 0.018        1.880 ± 0,013          1,888 ± 0.014
    Relative                                        7.95 ± 0.15          8.02 ± 0.08          7.98 ± 0,14            8.18 ± 0.21
R. Kidney
    Absolute                                       0.851 ± 0.029        0.886 ± 0.016        0.826 ± 0,040         0.845 ± 0.037
    Relative                                        3.65 ± 0.17          3.79 ± 0.06          3,50 ± 0.15           3.64 ± 0.07
Liver
    Absolute                                       8.284 ± 0.314        8.829 ± 0.305        8.304 ± 0,391          8.502 ± 0.327
    Relative                                       35.43 ± 1.31         37.72 ± 1.20         35.19 ± 1.49           36.72 ± 1.06
Lung
    Absolute                                       1.140 ± 0.028        1.310 ± 0.026*       1.647 ± 0.070**        1.777 ± 0.076**
    Relative                                        4.89 ± 0.19          5.60 ± 0.09*         6.97 ± 0.22**          7.67 ± 0.22**
Spleen
    Absolute                                       0.526 ± 0.008        0.519 ± 0.009        0.529 ± 0.020          0.528 ± 0.014
    Relative                                        2.25 ± 0.03          2.22 ± 0.04          2.25 ± 0.11            2.28 ± 0.04
Thymus
    Absolute                                       0.227 ± 0.023        0.212 ± 0.018        0.204 ± 0.013          0.176 ± 0.011
    Relative                                        0.97 ± 0.09          0.90 ± 0.07          0.86 ± 0.05            0.76 ± 0.03



* Significantly different (P<_0.05) from the control group by Williams' or Dunnett's test
** P _<0.01
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean ± standard error).
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Organ Weight Analyses                                                                                                                   325


TABLE F4
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Rats at the 15-Month Interim Evaluation
in the 2-Year Inhalation Study of Nickel Oxide a

                                                  0 mg/m 3            0.62 mg/m 3            1.25 mg/m 3            2.5 mg/m 3


n                                                      5                     5                     5                      5

Male
Necropsy body wt                                  494 ± 10              466 ± 14               465 5:9               475 5:12

Brain
    Absolute                                    2.102 5:0.028         2.030 ± 0.016          2.074 ± 0.017         2.062 5:0.018
    Relative                                     4.26 5:0.08           4.37 5:0,14            4.46 5:0.06           4.35 5:0.13
R. Kidney
    Absolute                                    1.662 5:0.026          1.574 ± 0.055         1.586± 0.028           1.554 ± 0.024
    Relative                                     3.37 ± 0.05            3.37 ± 0.05           3.42 5:0.11            3.28 ± 0.07
Liver
    Absolute                                   17.928:5:0.474         16.170 ± 0.764        16.800 ± 0.548         16.534 5:0.774
    Relative                                    36.27 ± 0.41           34.67 5:1,35          36.11 5:0.85           34.73 ± 0,93
Lung
    Absolute                                    2.196 ± 0.038          2.154 ± 0.098         3.304 5: 0.163"*      4.088 ± 0.117"*
    Relative                                     4.45 5:0.12            4.63 5:0.21           7.13 5: 0.45**        8.63 ± 0.35**
Spleen
    Absolute                                    1.054 ± 0.064          0.974 ± 0.072         0.964 5:0,043          1.028 ± 0.040
    Relative                                     2.13 5:0.10            2.08 ± 0.12           2,07 5:0.09            2.17 ± 0.12
Thymus
    Absolute                                    0.249 5:0.011          0.240 ± 0.027         0.228 5:0.019         0.255 ± 0.024
    Relative                                     0.50 5:0.02            0.52 ± 0.06           0.49 5:0.03           0.54 ± 0.05


Female
Necropsy body wt                                  290 ± 13               309 5:15              284 5:11              295 ± I1

Brain
    Absolute                                     1.862 5:0.041         1.878 5:0.030         1.850 5:0.034          1.900 5:0.016
    Relative                                      6.46 5:0.17           6.12 5:0.20           6.54 5:0.14            6.47 ± 0.23
R. Kidney
    Absolute                                     1.052 5:0.036         1.106 ± 0.036         1.062 5:0.046          1.022 ± 0.054
    Relative                                      3.66 5:0.19           3.61 5:0.20           3.79 5:0.31            3.47 ± 0.15
Liver
    Absolute                                   10.194 ± 0.834         10,392 5:0,320         9,896 5:0.154          9,708 ± 0.537
    Relative                                    35.45 ± 3.37           33.76 5:0.80          35.07 5:1.30           32.90 5:1.45
Lung
    Absolute                                     1.558 ± 0.107         1,788 5:0.097         2.406 ± 0.106"*        3.016 ::t=0.127"*
    Relative                                      5.39 ± 0.36           5.85 5:0.45           8.51 5: 0.40**        10.29 5: 0.69**
Spleen
    Absolute                                    0.556 ± 0,029          0.674 5:0.040         0.526 5:0.022          0.592 5:0.063
    Relative                                      1.93 ± 0,09           2.20 5:0.15            1.86 ± 0.10            1.99 5:0.16
Thymus
    Absolute                                    0.182 5:0.012          0.216 ± 0.010         0.180 5:0,019          0.203 ± 0.033
    Relative                                     0.63 ± 0.05            0.71 ± 0.05           0.64 5:0.08            0.68 5:0.10


** Significantly different (P _<0.01) from the control group by Williams' or Dunnett's test
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean 5: standard error).
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TAnLE F5
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice in the 16-Day Inhalation Study of Nickel Oxidea

                              0 mg/m 3          1.2 m g / m 3      2.5 m g / m 3        5 mg/m 3           10 m g / m 3       30 m g / m 3



Male
n                                 5                   5                  5                  4                    5                   5
Necropsy body wt             23.9 ± 0.8          23.9 ± 0.5         23.8 ± 0.7         23.3 ± 0.5          24.4 ± 0.8         22.3 ± 0,4

Brain
    Absolute                0.452 ± 0.013       0.442 ± 0.006      0.444 ± 0.005      0.430 ± 0.017       0.438 ± 0.007      0.440 ± 0,005
    Relative                19.04 ± 0.87        18.49 ± 0.39       18.67 ± 0.49       18.49 ± 0.86        18.03 ± 0.40       19.70 ± 0,18
Heart
    Absolute                0.152 ± 0.010       0.140 5:0.007      0.174 ± 0.017      0.135 ± 0.019       0.144 ± 0.009      0.146 ± 0.007
    Relative                 6.38 ± 0.36         5.88 ± 0.39        7.27 ± 0.60        5.76 ± 0.71         5.91 ± 0.35        6.56 ± 0.41
R. Kidney
    Absolute                0.244 ± 0.005       0.210 ± 0.004*     0.254 ± 0,011      0.195 ± 0.006**     0,248 ± 0.012      0,214 ± 0.007
    Relative                10.25 ± 0.24         8.78 ± 0,19"*     10.65 ± 0,31        8.38 ± 0.29**      10.17 ± 0.22        9.57 ± 0.19
Liver
    Absolute                1.380 ± 0.073       1.280 ± 0.049      1.460 ± 0,081      1.325 ± 0.075       1.360 ± 0.068      1,160 ± 0.051
    Relative                57.78 ± 1.89        53.42 ± 1.33       61.09 ± 2.01       56.75 ± 2.22        55.74 ± 1.37       51.86 ± 1,73
Lung
    Absolute                0.200 ± 0.000       0.160 5:0,024      0.200 ± 0.000      0.125 ± 0.025**     0.200 ± 0.000      0.200 ± 0.000
    Relative                 8.42 ± 0.30         6.77 ± 1.14        8.42 ± 0.24        5.37 ± 1.06"        8.24 ± 0.26        8.96 ± 0.15
Testes
    Absolute                0.108 ± 0.007       0.100 :t: 0.003    0.104 ± 0.005       0.110 ± 0.009      0.108 ± 0.006      0.110 ± 0.004
    Relative                 4.59 ± 0.47         4.19 ± 0.17        4.39 ± 0.31         4.73 ± 0.41        4.42 ± 0.12        4.92 ± 0.16
Thymus
    Absolute                0.045 ± 0.004       0.050 ± 0.004      0.049 ± 0.008       0.040 ± 0.007      0.051 ± 0.006      0.039 ± 0.004
    Relative                  1.92 ± 0.26        2.07 ± 0.15        2.04 ± 0.33         1.72 ± 0.31        2.11 5:0.27        1.77 ± 0.20



Female
n                                  5                  5                  5                   5                  5                   5
Necropsy body wt              20.2:5:0.5         20.2 ± 0.2          19.4 ± 0.6         20.2 ± 0.3         19.2 ± 0.3          19.3 ± 0.3

Brain
    Absolute                 0.446 ± 0.009      0.432 ± 0.012      0.446 ± 0.005       0.444 ± 0,009      0.422 ± 0.016       0.438 ± 0.006
    Relative                 22.05 ± 0.37       21,43 ± 0.55       '23.10 ± 0.94       22.00 ± 0.16       21.98 ± 1.02        22.74 ± 0.42
Heart
    Absolute                 0.114 ± 0.010      0.132 ± 0.009      0.130 ± 0.016       0.128 ± 0.004      0.102 ± 0.005       0.110 ± 0.000
    Relative                  5.64 ± 0.49        6.54 ± 0.37        6.66 ± 0.72         6.35 ± 0.20        5.30 ± 0.25         5.71 ± 0.10
R. Kidney
    Absolute                 0.148 ± 0.008      0.158 ± 0.005      0.156 ± 0.011       0.152 ± 0.005      0.148 ± 0.004       0.164 ± 0,007
    Relative                  7,31 ± 0.36        7.83 ± 0.19        8.01 ± 0.40         7.54 ± 0.23        7.70 ± 0.21         8.50 ± 0.30*
Liver
    Absolute                 1.160 ± 0,075      1.220 5:0.037       1.040, ± 0.040     i.140 ± 0,024      1.020 ± 0.037       1.080 ± 0.049
    Relative                 57.20 ± 2.91       60.48 ± 1.43        53.57 ± 0.94       56.52 ± 1.20       53.06 ± 2.01        55.98 ± 2.16
Lung
     Absolute                0.160 ± 0.024      0.160 ± 0.024       0.140 ± 0.024      0.180 ± 0.020      0.120 ± 0.020       0.200 ± 0.000
     Relative                 7.95 ± 1.27        7.91 ± 1.18         7.17 ± 1.16        8.96 ± 1.05        6.21 ± 0.96        10.39 ± 0.17
Thymus
     Absolute                0.064 ± 0,004      0.050 ± 0.004       0.059 ± 0.005      0.058 ± 0.002      0.052 ± 0.008       0.050 ± 0.004
     Relative                 3.19 ± 0,21        2.51 ± 0.19         3.06 ± 0.27        2.87 ± 0.13        2.70 ± 0.40         2.59 ± 0.20



* Significantly different (P_<0.05) from the control group by Williams' or Dunnett's test
** P_<0.01
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean ± standard error).
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Organ Weight Analyses                                                                                                                                 327


TABLE F 6
Organ Weights and O r g a n - W e i g h t - t o - B o d y - W e i g h t   Ratios for M i c e in the 1 3 - W e e k Inhalation Study of Nickel Oxide a

                                   0 mg/m 3             0.6 mg/m 3           1.2 mg/m 3         2.5 mg/m 3        5 mg/m 3         10 mg/m 3


Male
n                                       10                    10                  10                 10                10               9
Necropsy body wt                   30.9 5:0.5            30.5 5:0.7           29.8 5:0.4         30.1 5:0.8       30.1 5:0.9       29.1 5:0.7

Brain
    Absolute                      0.471 5:0.007         0.462 5:0.005        0.454 5:0.005      0.458 ± 0.005    0.456 5:0.005    0.464 5:0.009
    Relative                      15.25 ± 0.25          15.17 ± 0.25         15.28 ± 0.21       15.33 5:0.39     15.24 ± 0.38     15.99 ± 0.36
Heart
    Absolute                      0.163 5:0.007         0.170 5:0.008        0.159 5:0.004      0.144 5:0.007    0.153 5:0.005    0.149 5:0.006
    Relative                       5.28 5:0.24           5.59 5:0.32          5.35 5:0.15        4.80 5:0.22      5.10 5:0.18      5.11 5:0.17
R. Kidney
    Absolute                      0.316 5:0.008         0.312 5:0.011        0.309 5:0.010      0.302 5:0.016    0.301 5:0.008    0.276 ± 0.011
    Relative                      10.22 5:0.23          10.20 ± 0.23         10.39 5:0.34       I0.00 5:0.32     10.02 5:0.24      9.45 ± 0.32
Liver
    Absolute                      1.710 5:0.055         1.680 5:0.071        1.550 5:0.050      1.610 ± 0.098    1.520 5:0.063    1.444 5: 0.065*
    Relative                      55.20 ± 1.17          54.82 ± 1.33         52.06 ± 1.33       53.10 5:2.17     50.51 ± 1.64"    49.42 5: 1.29"
Lung
    Absolute                      0.214 5:0.009         0.215 5:0.011        0.206 5:0.012      0.213 ± 0.009    0.243 ± 0.010    0.288 ± 0.019"*
    Relative                       6.96 5:0.33           7.10 5:0.48          6.93 ± 0.42        7.12 ± 0.29      8.06 ± 0.27      9.94 5: 0.68**
R. Testis
    Absolute                      0.121 ± 0.005         0.118 ± 0.004        0.115 ± 0.003      0.112 5:0.004    0.123 5:0.004    0.106 ± 0.009
    Relative                       3.92 ± 0.16           3.87 ± 0.12          3.87 5:0.11        3.75 ± 0.17 '    4.09 ± 0.08      3.61 ± 0.31
Thymus
    Absolute                      0.034 5:0.002         0.030 ± 0.003        0.031 5:0.002      0.031 ± 0.003    0.032 5:0.001     0.032 5:0.002
    Relative                       1.10 5:0.07           0.99 ± 0.10           1.03 ± 0.06        1.00 5:0.08     1.06 5:0.04       1.09 ± 0.05


Female
n                                         9                     10                 7                 10                10                9
Necropsy body wt                   27.5 5:0.6             26.6 5:0.7          27.1 5:1.0         27.0 5:0.8       25.7 5:0.7        26.1 5:0.5

Brain
    Absolute                      0.476 ± 0.004         0.475 5:0.006        0.467 ± 0.006      0.471 5:0.022    0.464 5:0.005     0.470 5:0.006
    Relative                      17.34 5:0.41          17.97 5:0.47         17.34 5:0.49       17.51 5:0.78     18.15 5:0.39      18.05 5:0.22
Heart
    Absolute                      0.152 5:0.005         0.138 5:0.005        0.143 5:0.004      0.142 5:0.005    0.139 5:0.006     0.144 5:0.006
    Relative                       5.55 5:0.23           5.19 5:0.13          5.31 5:0.20        5.27 5:0.13      5.41 5:0.18       5.55 5:0.25
R. Kidney
    Absolute                      0.220 ± 0.010          0,223 ± 0.025 b      0.213 ± 0.008 c   0.210 5:0.007    0.206 5:0.006     0.204 5:0.005 d
    Relative                       8.01 5:0.35            8.43 ± 0.78 b        7.90 5:0.13 c     7.79 5:0.13      8.04 5:0.20       7.74 5:0.14 d
Liver
    Absolute                      1.544 ± 0.067          1.540 5:0.052        1.429 5:0.071     1.530 ± 0.052    1.400 ± 0.042     1.433 5:0.053
    Relative                      56.00 5:1.78           57.92 5:1.04         52.72 5:1.62      56.80 5:1.12     54.52 5:0.91      54.91 5:1.30
Lung
    Absolute                      0.195 ± 0.012          0.195 5:0.018        0.192 5:0.008     0.213 5:0.008    0.223 ± 0.009     0.271 5: 0.007**
    Relative                       7.11 ± 0.44            7.26 5:0.48          7.08 ± 0.26       7.91 5:0.22      8.69 ± 0.31"*    10.40 5: 0.17"*
Thymus
    Absolute                       0.046 5:0.003         0.045 5:0.004        0.046 5:0.003     0.043 ± 0.003    0.040 5:0.002     0.039 ± 0.003
    Relative                         1.66 5:0.10          1.67 5:0.13           1.71 5:0.12       1.62 ± 0.10      1.57 5:0.06      1.48 5:0.10


 * Significantly different (P_<0.05) from the control group by Williams' or Dunnett's test
 ** P_<0.01
 a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
    (mean 5: standard error).
 b n=9;        c n=6;      d n=8
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TABLE F7
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice at the 72Month Interim Evaluation
in the 2-Year Inhalation Study of Nickel Oxide a

                                                 0 mg/m3              1.25 mg/m3             2.5 mg/m3              5 mg/m3


n                                                      5                    5                     5                       5

Male
Necropsy body wt                                 35.8 ± 0.7            34.6 ± 0.8             36.2 ± 1.5            34.7 ± 1.1
Brain
    Absolute                                    0.460 ± 0,008         0,470 ± 0.009         0.458 ± 0.007          0.458 ± 0.011
    Relative                                    12.86 ± 0.06          13.60 ± 0.34          12.72 ± 0.39           13.24 ± 0.31
R. Kidney
    Absolute                                    0.378 5:0.012         0,390 ± 0.016         0.410 ± 0.010          0.406 ± 0.012
    Relative                                    10.57 ± 0.31          11.29 ± 0.53          11.40 ± 0.47           11.76 ± 0.49
Liver
    Absolute                                    1.800 ± 0.046         1.606 ± 0.027*         1.706 ± 0.072         1,810 5:0.036
    Relative                                    50.30 :t: 0.73        46.48 ::1: 1.25"       47.16 ± 0.69          52.32 ± 0.83
Lung
    Absolute                                    0.192 ± 0.009         0.208 ± 0.004          0.240 ± 0.010"*       0.238 ± 0.006**
    Relative                                     5.37 ± 0.24           6.02 ± 0.20*           6.64 ± 0.11"*         6.88 ± 0.16"*
Spleen
    Absolute                                    0,076 ± 0.004         0.078 ± 0,007          0.082 ± 0.004         0.078 ± 0.006
    Relative                                     2.13 ± 0.12           2.26 ± 0,20            2.27 ± 0.09           2.25 ::t: 0.14
R. Testis
    Absolute                                    0.122 ± 0.006         0.120 ± 0,003          0.126 ± 0.002         0.126 ± 0.004
    Relative                                     3.42 ± 0.21           3.47 ± 0,11            3.50 ± 0.13           3.64 ± 0.11
Thymus
    Absolute                                    0.032 ± 0.002         0.043 ± 0,008          0.034 ± 0.005         0.033 ± 0,002
    Relative                                     0.90 ± 0.07           1.23 ± 0.23            0.93 ± 0.12           0.95 ± 0.07


Female

Necropsy body wt                                 28.5 ± 1.0             28.5 ± I.I            28.6 ± 1.4            30.4 ± 0.8
Brain
    Absolute                                    0.482 ± 0.004         0.470 5:0.008          0.474 ± 0.010         0,466 ± 0.010
    Relative                                    17.01 ± 0.52          16.58 ± 0.49           16.69 ± 0.79          15.37 ± 0,60
R. Kidney
    Absolute                                    0.244 ± 0.007         0.250 ± 0.004          0.246 ± 0,007         0.266 ± 0,005*
    Relative                                     8.59 ± 0.14           8.82 ± 0.24            8.63 ± 0.23           8.77 ± 0,33
Liver
    Absolute                                    1.512 ± 0.037          1.554 ± 0.053         1.416 ± 0.040          1.598 ± 0,038
    Relative                                    53.30 ± 1.71           54.73 ± 1.70          49.69 ± 1.32           52.61 ± 1,38
Lung
    Absolute                                    0.178 ± 0.010          0.206 ± 0.011         0.228 ± 0.019         0.232 ± 0.022
    Relative                                     6.25 ± 0.24            7.22 ± 0.12           7.94 ± 0.41"          7.62 ± 0.67*
Spleen
    Absolute                                    0.100 ± 0.005          0.124 ± 0.022         0.098 ± 0.004          0.116:5:0.009
    Relative                                     3.54 ± 0.24            4.44 ± 0.93           3.45 ± 0.18            3.82 ± 0.32
Thymus
    Absolute                                    0.044 ± 0,005          0.050 ± 0.004         0.035:5:0.002          0.040 ± 0.005
    Relative                                      1.55 ± 0.19            1.77 ± 0.19          1.23 ± 0.10            1.31 ± 0.13



* Significantly different (P <_0.05) from the control group by Williams' or Dunnett's test
** P_<0.01
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean ± standard error).
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Organ Weight Analyses                                                                                                                 329


TABLE F8
Organ Weights and Organ-Weight-to-Body-Weight Ratios for Mice at the 15-Month Interim Evaluation
in the 2-Year Inhalation Study of Nickel Oxide a

                                                  0 mg/m 3            1.25 mg/m3             2.5 mg/m ~              5 mg/m ~


n                                                      5                     5                     5                      5

Male
Necropsy body wt                                 37.9 2:1.1             39.0 ± 1.5            41.3 ± 1.7            41.1 ± 1.8

Brain
    Absolute                                    0.470 ± 0.007         0.472 2:0.007          0.482 ± 0.004         0.482 ± 0.004
    Relative                                    12.44 ± 0.36          12.16 ::t: 0.46        11.75 2:0.43          11.83 ± 0.55
R. Kidney
    Absolute                                    0.430 ± 0.029         0.410 2:0.013          0.436. 2:0.024        0.440 ± 0.008
    Relative                                    11.36 2:0.77          10.55 ± 0.40           10.61 ± 0.64          10.78 2:0.43
Liver
    Absolute                                    1.848 ± 0.083 b        2.114 ± 0.128         2.236 2:0.307         1.998 2:0.079
    Relative                                    47.61 5:2.43 b         54.47 2:3.90          54.41 ± 7.79          48.72 ± 0.64
Lung
    Absolute                                    0.234 2:0.017         0.246 2:0.021          0.306 5: 0.020*       0.382 2: 0.019"*
    Relative                                     6.24 ± 0.65           6.28 ± 0.34            7.44 2:0.48           9.44 ± 0.86**
Spleen
    Absolute                                    0.130 ± 0.041          0.078 ± 0.008         0.096 2:0.019         0.074 2:0.006
    Relative                                     3.57 ± 1.26            2.00 2:0.20           2.34 2:0.48           1.82 2:0.18
Thymus
    Absolute                                    0.054 2:0.007          0.047 2:0.005         0.046 ± 0.008         0.049 2:0.007
    Relative                                      1.44 5:0.23            1.19 2:0.09           1.14 2:0.23           1.19 2:0.17


Female
Necropsy body wt                                 39.5 2:3.2             37.1 2:1.6            38.3 2:1.9             34.4 ± 2.1

Brain
    Absolute                                    0.498 ± 0.005          0.496 ± 0.004         0.488 ± 0.004         0.500 ± 0.014
    Relative                                    12.89 ± 0.90           13.47 ± 0.57          12.85 ± 0.62          14.70 ± 0.75
R. Kidney
    Absolute                                    0.296 2:0.014          0.306 5:0.009         0.308 ± 0.023          0.272 ± 0.007
    Relative                                     7.71 ± 0.78            8.29 ± 0.29           8.14 ± 0.80            8.05 ± 0.64
Liver
    Absolute                                    1.898 ± 0.093          1.810 ± 0.030         1.896 ± 0.090          1.770 5:0.056
    Relative                                    48.99 2:3.84           49.05 5:1.72          49.79 ± 2.81           52.07 2:2.93
Lung
    Absolute                                    0.248 ± 0.010          0.264 ± 0.010         0.294 ± 0.018          0.340 ± 0.026**
    Relative                                     6.37 ± 0.30            7.12 ± 0.04           7.70 ± 0.43           10.07 ± 1.02"*
Spleen
    Absolute                                    0.124 ± 0.018          0.130 2:0.006 b       0.130 ± 0.011          0.118 ± 0.011
    Relative                                     3.27 ± 0.63            3.46 ± 0.27 b         3.42 2:0.34            3.47 ± 0.39
Thymus
    Absolute                                    0.048 ± 0.004          0.056 2:0.005         0.066 ± 0.007          0.052 ± 0.006
    Relative                                     1.23 2:0.06            1.52 ± 0.15            1.73 2:0.19            1.55 ± 0.25


* Significantly different (P_~O.05) from the control group by Williams' or Dunnett's test
** P_<0.01
a Organ weights and body weights are given in grams; organ-weight-to-body-weight ratios are given as mg organ weight/g body weight
   (mean 2: standard error).
b n=4
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                                          APPENDIX G
                                  H E M A T O L O G Y RESULTS

TABLE G1   Hematology Data for Rats in the 13-Week Inhalation Study
           of N i c k d Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            332
TABLE G2   Hematology Data for Rats at the 15-Month Interim Evaluation
           in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                        334
TABLE G3   Hematology Data for Mice in the 13-Week Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               335
TABLE G4   Hematology Data for Mice at the 15-Month Interim Evaluation
           in the 2-Year Inhalation Study of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . .                        337
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  TABLE G1
  H e m a t o l o g y D a t a for Rats in the 1 3 - W e e k Inhalation Study of Nickel O x i d e a

                              0 mg/m 3          0.6 mg/ra 3    1.2 mg/m 3        2.5 rag/m3           5 mg/m 3         10 mg/m 3


  Male

  n                               9                 10             10                 9                  10                 10

        Hematocrit (%)
                            43.6 ± 0.5         43.3 5:0.2      44.2 ± 0.5       43.8 ± 0.8           43.8 ± 0.7        46.4 ± 0.5**
        Hemoglobin (g/dL)
                             15.3 5:0.2        15.4 ± 0.1      15.5 ± 0.2        15.7 ± 0.3          15.6 ± 0.2      . 16.6 ± 0.2**
        Erythrocytes (106/#L)
                             8.33 ± 0.08      8.42 5:0.03      8.46 5:0.14      8.51 ± 0.15          8.55 ± 0.12       9.02 ± 0.11"*
        Mean cell volume (fL)
                             53.0 5:0.2       52.2 ± 0.2       53.0 ± 0.6       52.2 ± 0.2           51.9 ± 0.3**      52.2 ± 0.3
        Mean cell hemoglobin concentration (g/dL)
                             35.1 5:0.2       35.6 ± 0.2       35.1 ± 0.2        35.9 5: 0.1"*       35.7 5:0.1        35.7 ± 0.2
        Reticulocytes (106//zL)
                              0.5 ± 0 . 1       0.6 ± 0 . 1     0.9 ± 0.1"        0.7 ± 0.1           0.6 ± 0.1         0.5 ± 0.1
        Leukocytes (103/~L)
                             2.22 ± 0.24      2.48 ± 0.23      3.56 ± 0.40*      2.67 ± 0.30         3.00 ± 0.37       3.34 ± 0.31"
        Segmented neutrophils (103//~L)
                             0.62 ± 0.07      0.71 5:0.09      1.01 ± 0.08**     1.06 ± 0.15"        1.14 ± 0.18"      1.26 ± 0.18"*
        Lymphocytes (103/ttL)
                             1.55 5:0.19       1.71 ± 0.15     2.48 ± 0.31       1.56 ± 0.16         1.79 5:0.24       1.98 5:0.23
        Monocytes (103//zL)
                             0.04 ± 0.02      0.05 ::t: 0.01   0.06 ± 0.03      0.03 ± 0.01          0.04 5:0.02       0.08 5:0.02
        Eosinophils (103//~L)
                             0.02 ± 0.01      0.02 ± 0.01      0.02 ± 0.01      0.02 5:0.01          0.02 ± 0.01       0.02 5:0.01
        Nucleated erythrocytes (103/~L)
                             0.03 5:0.01      0.05 ± 0.02      0.13 ± 0.04      0.13 ± 0.04          0.20 5: 0.05*     0.12 5:0.04
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Hematology Results                                                                                                                     333


TABLE G 1
Hematology Data for Rats in the 13-Week Inhalation Study of N i c k e l O x i d e (continued)

                          0 mg/m3           0.6 m g / m 3       1.2 m g / m 3      2.5 m g / m 3      5 mg/m3          10 m g / m 3



Female

n                             10                 10                  10                   10             10                 10

    Hematocrit (%)
                         40.8 5:1.0         43.5 ± 1.0         42.7 5: 0.3*        42.5 5: 1.0"*     43.3 5: 0.2**     44.0 5: 0.5**
     Hemoglobin (g/dL)
                           14.4 5:0.3        15.6 5: 0.4**      15.3 :t: 0.1"*     15.3 5: 0.4**     15.7 5: 0.1"*     15.9 5: 0.1"*
      Erythrocytes (106//xL)
                            7.2 5:0.2         7.8 5:0.2          7.7 5:0.1          7.7 5: 0.2*       7.9 5: 0.0"*      8.0 5: 0.1"*
    • Mean cell volume (fL)
                           57.3 5:0.5       56.7 5:0.2         56.2 5: 0.2*        56.3 5: 0.2*      56.1 5: 0.3*      56.0 5: 0.3*
      Mean cell hemoglobin concentration (g/dL)
                           35.3 5:0.1       35.9 5: 0.1"*      35.9 5: 0.1"*       36.0 5: 0.1"*     36.2 5: 0.3**     36.2 ::k 0.2**
      Reticulocytes (106/~L)
                            0.4 5:0.0         0.3 5:0.0          0.4 5:0.0          0.5 5:0.1         0.5 ± 0.1         0.5 5:0.1
      Leukocytes (103/~L)
                           2.04 5:0.18      2.40 5:0.15        2.64 5: 0.15"       3.50 5: 0.18"*    2.89 5: 0.24**    3.55 5: 0.21"*
      Segmented neutrophils (103/~L)
                           0.45 5:0.06      0.73 5: 0.08*      0.79 5: 0.07**      0.91 5: 0.I0"*    0.74 5: 0.09**    0.92 5: 0.09**
      Lymphocytes (103/~L)
                           1.55 5:0.16       1.63 ± 0.I1        1.80 5:0.15        2.48 ± 0.13"*     2.09 5: 0.17"*    2.53 5: 0.17"*
      Monocytes (103/~L)
                           0.02 5:0.01      0.03 5:0.01         0.02 5:0.01        0.06 5: 0.01"*    0.05 5: 0.01"     0.09 5: 0.02**
      Eosinophils (103//~L)
                           0.02 ± 0.01      0.01 5:0.01        0.03 5:0.01         0.04 5:0.01       0.02 5:0.01       0.01 5:0.01
      Nucldated erythrocytes (103/~L)
                           0.02 5:0.01      0.11 5: 0.03*       0.18 5: 0.03**     0.12 5: 0.03**    0.18 ± 0.03**     0.23 5: 0.05**


* Significantly different (P <_0.05) from the control group by Dunn's or Shirley's test
** P <-0.01
a Mean 5: standard error
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  334                                                                                                    N i c k e l O x i d e , N T P T R 451



  TABLE G2
  Hematology Data for Rats at the 15-Month Interim Evaluation in the 2-Year Inhalation Study
  of Nickel Oxide a


                                             0 mg/m3               0.62 mg/m3             1.25 mg/m~              2.5 mg/mJ


  n                                                5                      5                    5                         5

  Male

        Hemamcrit (%)                        48.3 ± 0.4             48.4 5:1.5            49.1 ± 0.8               47.1 ± 4.7
        Hemoglobin (g/dL)                    16.3 ± 0.2             16.2 ± 0.5            16.6 ± 0.2               15.9 ± 1.7
        Erythrocytes (106/tzL)               8.75 5:0.07            8.66 ± 0.26           8.92 ± 0.11              8.68 ± 0.73
        Mean cell volume (fL)                54.8 5:0.4             55.2 5:0.7            54.6 ± 0.2               53.6 ± 1.2
        Mean cell hemoglobin (pg)            18.6 5:0.1             18.7 ± 0.3            18.6 ± 0.1               18.2 5:0.5
        Mean cell hemoglobin
         concentration (g/dL)                33.7 ± 0.4             33.4 ± 0.1            33.7 5:0.3               33.7 5:0.4
        Reticulocytes (106//~L)               0.3 ± 0.0              0.1 ± 0.0"            0.2 ± 0.0"               0.3 ± 0.1
        Leukocytes (103//~L)                 5.68 ::t: 0.54         5.60 ± 0.26           6.08 ± 0.48              7.44 ± 0.68
        Segmented neutrophils (103//~L)      1.84 5:0.22            1.64 5:0.32           2.00 ± 0.21              2.54 ± 0.45
        Lymphocytes (103/#L)                 3.46 ± 0.27            3.56 ± 0.25           3.48 ± 0.27              4.54 ± 0.48
        Monocytes (103/~L)                   0.38 ± 0.08            0.36 ± 0.02           0.50 5:0.16              0.34 ± 0.04
        Eosinophils (103/t~L)                0.06 ± 0.02            0.06 ± 0.04           0.06 ± 0.02              0.06 ± 0.02
        Nucleated erythrocytes (103/~L)      0.00 ± 0.00            0.02 ± 0.01           0.02 5:0.01              0.04 ± 0.04


  Female

        Hematocrit (%)                       47.4 ± 1.4             47.2 ± 0.7             47.8 ± 0.9              49.4 ± 0.9
        Hemoglobin (g/dL)                    16.4 ± 0.2             16.2 5:0.3             16.4 ± 0,3              17.1 ± 0.2
        Elrythrocytes (106/~L)               8.11 ± 0.18            7.83 5:0.15            7.96 ± 0.17             8.22 ± 0.16
        Mean cell volume (fL)                58.0:5:0.3             60.0 5: 0,5*           59.6 5:0,6              59.6 5:0.5
        Mean cell hemoglobin (pg)            20.3 5:0.3             20.7 ± 0.2             20.7 ± 0.1              20.8 ± 0.2
        Mean cell hemoglobin
         concentration (g/dL)                34.7 ± 0.8             34.4 5:0,3             34.4 ± 0.3              34.6 ± 0.3
        Reticulocytes (106/t~L)               0.1 ± 0.0              0.1 ± 0.0              0.1 5:0.0               0,1 ± 0.0
        Leukocytes (103/iLL)                 4.84 ± 0.29            4.92 ± 0.39            4.20 5:0.33             4.60 5:0.32
        Segmented neutrophils (103/~L)       1.22 ± 0.21            1.06 5:0.14            1.12 ± 0.10             1.14 5:0.20
        Lymphocytes (103//~L)                3.26 ± 0.28            3.68 ± 0.31            2.72 ± 0.26             3.20 ± 0.22
        Monocytes (103//~L)                  0.30 5:0.03            0.16 ± 0.04            0.28 ± 0.07             0.24 ± 0.08
        Eosinophils (103/#L)                 0.08 5:0.04            0.04 5:0.02            0.08 ± 0.04             0.00 5:0.00
        Nucleated erythrocytes (103/~L)      0.02 ± 0.02            0.00 ± 0.00            0.00 ± 0.00             0.03 ± 0.02


  * Significantly different (P~0.05) from the control group by Dunn's or Shirley's test
  a Mean ± standard error
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Hematology Results                                                                                                                335


TABLE G 3
H e m a t o l o g y D a t a for M i c e in the 1 3 - W e e k Inhalation Study of Nickel Oxide a

                         0 mg/m 3         0.6 mg/m 3        1.2 mg/m 3        2.5 mg/m 3           5 mg/m 3       10 mg/m 3


Male

n                           5                  5                 5                 5                   5               5

    Hematocrit (%)
                        44.4 ± 2.0       42.0 5:0.8        43'.3 :t: 1.3     42.5 5:0.6           44.3:5:0.7      42.4 ::k 1.5
    Hemoglobin (g/dL)
                         14.6 5:0.3       14.3 ± 0.4        14.9 5:0.5        14.8 5:0.2          15.1 5:0.3      14.5 5:0.5
    Erythrocytes (106/~L)
                         8,70 5:0.31      8,31 5:0.15      8.46 + 0.31       7.96 5:0.23          8.65 + 0.08     8.37 + 0.25
    Mean cell volume (fL)
                         51.8 5:0.7       51.6 5:0.9        52.0 + 0.5        54.2 + 1.4          52,0 5:0.3      51.2 4- 0.5
    Mean cell hemoglobin concentration (g/dL)
                         33.0 5:0.9       33.9 5:0.9        34.3 5:0.3        34.8 + 0.2*         34,2 5:0.1      34.3 5:0.3
    Reticulocytes (106/~L)
                          0.4 5:0.1         0.7 ± 0.3        0.5 ± 0.1         0,5 5:0.2           0.4 5:0.0       0.5 5:0.1
    Leukocytes (103Iv.L)
                         1.24 5:0.53       1.50 5:0.60      1.60 ± 0.46       1,34 ± 0.19         0.98 5:0.21     1.76 ::k 0.30
    Segmented neutrophils (103//~L)
                         0.81 ± 0.41      0.62 5:0.24       0.50 5:0.14       0.59 ± 0.10         0.32 ± 0.06     0.48 5:0.12
    Lymphocytes (103/~L)
                         0.41 5:0.14      0.87 ± 0.43       1.07 5:0.32       0.74 ::t: 0.15      0.64 5:0.17     1.24 5: 0.24*
    Monocytes (103/~L)
                         0.02::t: 0.01    0.00 5:0.00       0.01 5:0.01       0.01 :t: 0.00       0.02 5:0.01     0.03 5:0.01
    Eosinophils (103/#L)
                         0.01 ,5:0.01     0.01 5:0.01       0.02 5:0.01       0.00 5:0.00         0.00 ± 0.00     0.01 5:0.01
    Nucleated erythrocytes (103/~L)
                         0.01 ± 0.01      0.06 ± 0.04       0.09 ± 0.03       0.03 ± 0.02         0.07 ± 0.02     0.09 5:0.03
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  336                                                                                                  Nickel O x i d e , N T P T R 451



  TABLE G 3
  Hematology Data for Mice in t h e 1 3 - W e e k Inhalation Study of N i c k e l O x i d e (continued)

                            0 mg/m3           0.6 mg/m3          1.2 mg/m3          2.5 mg/m3        5 mg/m3          10 mg/m3


  Female

  n                             4                  5                  2                    5            5                  5

      Hematocrit (%)
                          40.7 ± 0.5          39.8 ± 0.9         42.5 ± 0.8         41.8 ± 0.6      42.4 ± 0,3*       42.5 ± 0.3*
      Hemoglobin (g/dL)
                           14.2 ± 0.1        14.1 ± 0.4          14.9 ::1:0.1       14.7 ± 0.2      15.0 ± 0.1"*      14.7 ± 0.1
      Etythrocytes (106/t~L)
                           8.10 ± 0.06      7.91 ± 0.17          8.38 ± 0.07        8.30 ::1:0.11   8.48 ± 0.08*      8.50 ± 0.07*
      Mean cell volume (fL)
                           51.0 ± 0.4       51.2 ± 0.2           51.5 ± 1.5         51.0 ± 0.0      50.6 ± 0.2        50.4 5:0.4
      Mean cell hemoglobin concentration (g/dL)
                           35.0 ± 0.2       35.5 ± 0.3           35.0 ± 0.7         35.2 ± 0.1      35.3 ± 0.2        34.7 ::1:0.1
      Reticulocytes (106/~L)
                            0.5 ± 0 . 1       0.5 ± 0 . 1         1.2 ± 0.2          0.6 ± 0.1       0.5 ± 0.1         0.7 ± 0.2
      Leukocytes (103/~L)
                           1.03 ± 0.09      0.92 ± 0.19          3.10 ± 0.00        0.68 ± 0.12     1.34 ± 0.11       1.18 ± 0.42
      Segmented neutrophils (103/~L)
                           0.39 ± 0.09      0.37 ± 0.11          1.01 ± 0.14        0.23 ± 0.04     0.42 ± 0.10       0.43 ± 0.15
      Lymphocytes (103/~L)
                           0.62 ± 0.06      0.52 ± 0.I0          2.06 ± 0.11        0.42 ± 0.10     0.92 ± 0,10       0.73 ± 0.28
      Monocytes (103/#L)
                           0.02 ± 0.01      0.02 ± 0.01          0.03 ± 0.03        0.01 ± 0.01     0.00 ± 0.00       0.01 ± 0.01
      Eosinophils (103/~L)
                           0.00 ± 0.00      0.00 ± 0.00          0.00 ± 0.00        0.02 ± 0.01     0.00 ± 0.00       0.01 ± 0.01
      Nucleated e~ythrocytes (103/~L)
                           0.01 ± 0.01      0,01 ± 0.01          0.19 ± 0.09        0.01 ± 0.00     0.06 ± 0.01       0.02 ± 0.01


  * Significantly different (P_<0.05) from the control group by Dunn's or Shirley's test
  ** P_<0.01
  a Mean ± standard error
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Hematology Results                                                                                      337


TABLE G 4
Hematology Data for Mice at the 15-Month Interim Evaluation in the 2-Year Inhalation Study
of Nickel Oxide a


                                         0 mg/m3        1.25 mg/m3       2.5 mg/m3        5 mg/m~


Male

n                                            5                5               5                5

    Hematocrit (%)                       51.6 ± 5.5      48.0 ± 1.3       50.6 5:4.5      46.5 ± 0.5
    Hemoglobin (g/dL)                    17.0 ± 1.7      15.9 5:0.4       16.9 5:1.6      15.4 ± 0.1
    Erythrocytes (106/#L)               10.40 5:1.36     9.41 5:0.34     10.03 ± 0.91     9.08 5:0.14
    Mean cell volume (fL)                49.8 ± 1.0      50.8 ± 0.7       50.0 ± 0.0      51.0 5:0.6
    Mean cell hemoglobin (pg)            16.6 5:0.4      16.9 ± 0.3       16.8 5:0.2      17.0 5:0.1
    Mean cell hemoglobin
     concentration (g/dL)               33.0 5:0.3       33.2 ± 0.1      33.3 5:0.4       33.1 5:0.2
    Reticulocytes (106/~L)               0.3 ± 0.0 b      0.1 ± 0.0       0.2 ± 0.0 b      0.2 ± 0.0
    Leukocytes (103/#L)                 3.44 ± 0.51      4.08 ± 0.60     2.28 5:0.16      4.08 ± 0.19
    Segmented neutrophi|s (103/#L)      1.16 5:0.31      1.72 ± 0.25     0.84 5:0.14      1.50 5:0.23
    Lymphocytes (103/#L)                2.08 ± 0.22      2.20 5:0.41     1.36 ± 0.16      2.34 5:0.27
    Monocytcs (103//xL)                 0.18 ± 0.13      0.14 ± 0.07     0.04 5:0.02      0.16 5:0.07
    Eosinophils (103/#L)                0.04 5:0.02      0.00 5:0.00     0.06 5:0.02      0.08 5:0.02
    Nucleated erythrocytes (103/t~L)    0.00 5:0,00      0,0l ± 0.01     0,00 5:0.00      0,01 ± 0,01


Female

                                             4                5               4                5

    Hematocrit (%)                      45.5 5:0.5       46.2 ± 0.5      46.7 5:~0.4      47.2 5:0.9
    Hembglobin (g/dL)                   15.5 ± 0.1       15.6 5:0.2      15.7 ± 0.1       16.0 5:0.3
    Erythrocyt~s (106/#L)               9.17 5:0.12      9.23 5:0.12     9.44 5:0.03      9.40 ± 0.16
    Mean cell volume (fL)               49.3 5:0.5       49.6 5:0.2      49.0 5:0.4       49,8 5:0.5
    Mean cell hemoglobin (pg)           16.9 ± 0.2       17.0 5:0.2      16.6 5:0.2       17.0 5:0.1
    Mean cell hemoglobin
     concentration (g/dL)                34.1 5:0.1      33.8 ± 0.2      33.6 5:0.1       33.9 5:0.1
    Reticulocytes (106/~L)                0,1 5:0.0       0.1 5:0.0       0.1 5:0.0        0.1 5:0.0
    Leukocytes (103/#L)                  2.45 5:0.33     2.65 5:0.21 b   2.70 5:0.26      2.36 5:0.29
    Segmented neutr,o3P,hils (103/#L)    1.03 5:0.40     0.90 5:0.19 b   1.15 ± 0.05      0.70 5:0.13
    Lymphocytes (10//zL)                 1.33 5:0.23     1.68 ± 0.10 b   1.38 5:0.18      1.54 5:0.19
    Monocytes (103/~L)                   0.08 ± 0.03     0.08 ± 0.03 b   0.08 ± 0.03      0.08 5:0.02
    Eosinophils (103/~tL)                0.03 ± 0.03     0.00 ± 0.00 b   0.05 5:0.03      0.02 ± 0.02
    Nucleated e~throcytes (103/~L)       0.00 5:0.00     0.00 5:0.00     0.00 5:0.00      0.01 5:0,01


a Mean 5: standard error
b n=4
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                                    APPENDIX H
                              TISSUE BURDEN IN RATS

TABLE H1   Lung Weight and Lung Burden in Rats in the 16-Day Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       340
TABLE H2   Kidney Weight and Kidney Burden in Rats in the 16-Day Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       340
TABLE H3   Lung Weight and Lung Burden in Male Rats in the 13-Week Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       341
TABLE H4   Lung Weight and Lung Burden in Rats in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       342
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      340                                                                                                      N i c k e l O x i d e , N T P T R 451

      TABLE H1
  Lung Weight and Lung Burden in Rats in the 16-Day Inhalation Study of Nickel Oxide a

                                               0 mg/m3                1.2 mg/m3                5 mg/m3                   10 mg/m3


  n                                                 5                       5                         5                         5

  Male

  Absolute lung wt (g)                       0.856 ± 0.047           0.870 5:0.046           0.822 ± 0.041              1.068 ± 0.056*
  /~g Ni/lung                                      _b                   36 ± 1.3"*              88 ± 4.8**                284 ± 9.7**
  /.tg Ni/g lung                                   --                   42 ± 2.8**             108 ± 4.3**                267 ± 12.3"*
  ttg Ni/g control lung                            --                   42 ± 1.6"*             103 ± 5.6**                331 ± 11.4"*


  Female

  Absolute lung wt (g)                       0.739 ± 0.028           0.704 ± 0.017           0.731 ± 0.040             0.861 ± 0.025*
  ~g Ni/lung                                       --                   38 ± 4.8**              88 ± 3.3**               293 ± 13.4"*
  #g Ni/g lung                                     --                   54 5: 5.7**            122 ± 10.3"*              340 5: 10.4"*
  /~g Ni/g control lung                            --                   52 ± 6.5**             119 ± 4.5**               396 ± 18.2"*


  * Significantly different (P_<0.05) from the control group by Dunnett's test (lung weight) or Shirley's test (lung burden parameters)
  ** P-<0.01
  a Mean ± standard error
  b Results were below 0.182/~g Ni (the limit of detection), or below the level of quantitation.




  TABLE H2
  Kidney    Weight and Kidney Burden in Rats in the 1 6 - D a y I n h a l a t i o n           Study       of Nickel   Oxide a


                                               0 mg/m 3                                       10 mg/m3



  n                                                 5                                               5

  Male

  Absolute kidney wt (g)                       1.76 ± 0.05                                    1.71 ± 0.02
  pg Ni/kidney                                        b
                                                    - -                                             - -




  btg Ni/g kidney                                   _ _                                             - -




  Female

  Absolute kidney wt (g)                       1.25 ± 0.01                                    1.71 ± 0.02**
  #g Ni/kidney                                      --                                             --
  /~g Ni/g kidney                                   --                                             --


  ** Significantly different (P -<0.01) from the control group by Williams' or Dunnett's test (kidney weight) or Shirley's test (kidney burden
     parameters)
  a Mean ± standard error
  b Results were below 0.182 ~g Ni (the limit of detection), or below the level of quantitation.
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Tissue Burden in Rats                                                                                                                    341



TABLE H3
Lung Weight and Lung Burden in Male Rats in t h e 1 3 - W e e k Inhalation Study of Nickel Oxidea

                                             0 mg/m 3              0.6 mg/m 3              2.5 mg/m 3               10 m g / m 3




n                                                 6                       6                       6                       6

4 weeks
   /zg Ni/g lung                                  _b                  33 ± 2.3**             110 5: 6.6**            263 ± 18.5"*

9 weeks
   ~g Ni/g lung                                   --                  53 5: 6.8**            143 5: 27.9**           400 ± 31.2"*

13 weeks
   Absolute lung wt (g)                    0.954 ± 0.043           1.082 5:0.028           1.534 ± 0.032**         2.108 ± 0.097**
   ttg Ni/lung                                   --                   86 5: 6.0**            27~ 5: 34.6**         1,092 ± 63.1"*
   #g Ni/g lung                                  --                   80 5: 5.5**            181 ± 25.6**            524 ± 38.2**
   ~g Ni/g control lung                          --                   91 ± 6.3**             289 ± 36.3**          1,146 ± 66.2**


** Significantly different (P_<0.01) from the control group by Williams' test (lung weight) or Shirley's test (lung burden parameters)
a Mean ± standard error
b Results were below 0.301 ~g Ni (the limit of detection), or below the level of quantitation.
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   TABLE H4
   L u n g W e i g h t and L u n g B u r d e n in Rats in the 2-Year I n h a l a t i o n Study o f Nickel Oxide a

                                               0 mg/m 3              0.62 mg/m 3             1.25 mg/m 3              2.5 mg/m 3


   Male

   n                                                 6                       7                      7                        7
   7-Month interim evaluation
      Absolute lung wt (g)                     1.72 ± 0.07             1.85 ± 0.07             2.43 ± 0.11"*           2.59 ± 0.06**
      /zg Ni/lung                                   _b                  326 ± 29.6**            930 ± 21.3"*          1,817 ± 68.6**
      ~g Ni/g lung                                  --                  175 ± 10.6"*            388 ± 18.7"*            701 ± 24.1"*
      ~g Ni/g control lung                          --                  189:5: 17.2"*           541 ± 12.4"*          1,057 ± 39.9**

   n                                                 5                       5                       5                       5
   15-Month interim evaluation
      Absolute lung wt (g)                     2.20 ± 0.04             2.15 ± 0.10             3.30 ± 0.16"*           4.09 ± 0.12"*
      #g Ni/lung                                    --                  696 ± 41.6"*          2,439 ± 71.9"*          4,573 ± 485.4**
      #g Ni/g lung                                  --                  328 ± 30.2**            746 ± 46.6**          1,116 ± 108.2"*
      /gg Ni/g control lung                         --                  317 ± 18.9"*          1,110 ± 32.7"*          2,082 5: 221.1"*



   Female

   n                                                 7                       7                       7                       6
   7-Month interim evaluation
      Absolute lung wt (g)                     1.14 ± 0.03             1.31 ± 0.03*            1.65 ± 0.07**           1.78 ± 0.08**
      ~g Ni/lung                                    --                 226 ± 13.3"*             792 ± 86.5**          1,279 ± 132.2"*
      ttg Ni/g lung                                 --                  173 ± 10.1"*           477 ± 44.4**             713 ± 45.2**
      ttg Ni/g control lung                         --                  198 ± 11.7"*            694 ± 75.8**          1,122 ± 115.9"*

   n                                                 5                       5                       5                        5
   15-Month interim evaluation
      Absolute lung wt (g)                      1.56 ± 0.11            1.79 ± 0.10 "           2.41 ± 0.11"*           3.02 ± 0.13"*
      ~ag Ni/lung                                    --                471 ± 42.5**           1,703 ± 140.5"*         2,810 ± 389.1"*
      ~g Ni/g lung                                   --                 262 ± 14.8"*            706 ± 41.8"*            949 ± 146.4~*
      /zg Ni/g control lung                          --                 302 ± 27.3**          1,093 ± 90.2"*          1,804 ± 249.7**


   * Significantly different (P <_0.05) from the control group by Williams' test (lung w~ight) or Shirley's test (lung burden parameters)
   ** P ~ 0 . 0 1
   a Mean ± standard error
   b Results were below 0.540/~g Ni (the limit of detection) for 7-month males, 0.660 ~g Ni for 7-month females, or 0.450 ~g Ni for
      15-month males and females, or below the level of quantitation.
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                                    APPENDIX I
                              TISSUE BURDEN IN MICE

TABLE I1   Lung Weight and Lung Burden in Mice in the 16-Day Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      344
TABLE I2   Lung Weight and Lung Burden in Male Mice in the 13-Week Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      344
TABLE I3   Lung Weight and Lung Burden in Mice in the 2-Year Inhalation Study
           of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      345
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  TABLE I1
  Lung Weight and Lung Burden in Mice in the 16-Day Inhalation Study of Nickel Oxide a


                                               0 mg/m 3               1.2 mg/m 3             2.5 mg/m 3                 5 mg/m3


  n                                                  5                      5                       5                        5

  Male

  Absolute lung weight (g)                   0.159 ± 0,005           0,154 5:0.009           0.156 5:0.003            0.156 ± 0.010
  t~g Ni/lung                                      _b                    5 5: 0.1"*              7 =1: 0.5**             13 ± 0.7**
  p,g Ni/g lung                                    --                   32 ± 2.4**              46 ± 3.6**               84 ± 7.8**
  /~g Ni/g control lung                            --                   31 5: 0.8**             45 5: 3.1"*              81 ± 4.5**


  Female

  Absolute lung weight (g)                   0.149 5:0.006           0.133 5:0,004           0.141 ± 0.006            0.168 ::t: 0.006
  ~g Ni/lung                                       --                    4 ± 0.2**               6 ± 0.4**               12 ± 0.8**
  ~g Ni/g lung                                     --                   31 ± 2.1"*              43:1: 0.9**              71 5: 5.7**
  ~g Ni/g control lung                             --                   27 ± 1.3"*              41 5: 2.5**              80 ± 5.7**


  ** Significantly different (P_<0.01) from the control group by Dunnett's test (lung weight) or Shirley's test (lung burden parameters)
  a Mean :5: standard error
  b Results were below 0.213/zg Ni (the limit of detection), or below the level of quantitatlon.




  TABLE I 2
  Lung Weight and Lung Burden in Male Mice in the 13-Week Inhalation Study of Nickel Oxide a

                                               0 mg/m3                0.6 m g / m 3          2.5 m g / m 3             10 m g / m 3



  Male

  n                                                 6                       5                       6                        5

  Absolute lung weight (g)                   0.176 5:0.012           0.179 5:0.004           0.179 5:0.014            0.244 5: 0,019"*
  ~g Ni/luiIg                                      _b                    7 ± 0.6**              36 5: 3.3**             171 5: 15.5"*
  ~g Ni/g lung                                     --                   42 5: 2.9**            202 5: 18.3"*            736 5: 123.0"*
  ~g Ni/g control lung                             --                   42 ::1:3.4**           204 5: 18.9"*            973 5: 88.0**


  ** Significantly different (P_<0.01) from the control group by Dunnett's test (lung weight) or Shifley's test (lung burden parameters)
  a Mean 5: standard error
  b Results were below 0.255 ~g Ni (the limit of detection), or below the level of quantitation.
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Tissue Burden     in Mice                                                                                                            345



T A B L E 13
Lung Weight and Lung Burden in Mice in the 2-Year Inhalation Study of Nickel Oxide a

                                           0 mg/m 3             1.25 m g / m 3         2.5 mg/m 3               5 mg/m 3



n                                               5                      5                      5                      5

Male

7-Month interim evaluation
   Absolute lung weight (g)              0.192 ± 0.009          0.208 ± 0.004          0.240 ± 0.010"*        0.238 ::k 0.006**
   /~g Ni/lung                                 _b                  34 5: 2.1"*           107 ± 12.0"*           246 5: 11.2"*
   ttg Ni/g lung                               --                 162 ± 9.6**            442 ± 37.1"*         1,034 ± 33.1"*
   ~g Ni/g control lung                        --                 176 ± 11.0"*           556 5: 62.3**        1,283 ::1: 58.1"*

15-Month interim evaluation
   Absolute lung weight (g)              0.234 ± 0.017          0.246 ± 0.021          0.306 ± 0.020*         0.382 ± 0.019"*
   t~g Ni/lung                                 --                  80 5: 5.1"*           296 ± 35.5**           696 ± 81.9"*
   /xg Ni/g lung                               --                 331 ± 30.3**           959 ± 67.1"*         1,798 5: 134.5"*
   /zg Ni/g control lung                       --                 340 ± 21.8"*         1,265 5: 151.5"*       2,973 ± 349.9**


Female

7-Month interim evaluation
   Absolute lung weight (g)              0.178 ± 0.010          0.206 ± 0.011          0.228 5:0.019          0.232 5:0.022
   #g Ni/lung                                  --                  35 5: 1.6"*           120 5: 8.1"*           196 5: 15.3"*
   #g Ni/g lung                                --                 169 5: 6.0**           533 5: 36.4**          861 5: 70.1"*
   /tg Ni/g control lung                       --                 195 ± 9.1"*            674 ± 45.2**         1,101 ± 86.2**

15-M0nth )nterim evaluation
   Absoh~te lung weight (g)              0.248 5:0.010          0.264 5:0.010          0.294 ± 0.018          0.340 ::k 0 026**
   /zg Ni/lung                                 --                 119 ± 10.1"*           365 ± 39.9**           771 5: 111.9"*
   ~g Ni/g lung                                --                 451 ::k 31.4"*       1,237 ± 102.6"*        2,258 5: 265.1"*
   #g Ni/g control lung                        --                 481 5: 40.9**        1,472 ± 160.9"*        3,108 5: 451.3"*


* Significantly different (P ~.0.05) from the control group by Williams' or Dunnett's (lung weight) or Shidey's tests (lung burden
   parameters)
** P ~ 0 . 0 1
a Mean ± standard error
b Results were below 0.400 ~g Ni (the limit of detection) for 7-month mice or 0.352 ~g Ni for 15-month mice, or below the level of
   quantitation.
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                     APPENDIX J
          REPRODUCTIVE TISSUE EVALUATIONS
        AND ESTROUS CYCLE CHARACTERIZATION

 TABLE J1   Summary of Reproductive Tissue Evaluations and Estrous Cycle
            Characterization for Rats in the 13-Week Inhalation Study
            of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             348
 TABLE J2   Summary of Reproductive Tissue Evaluations and Estrous Cycle
            Characterization for Mice in the 13-Week Inhalation Study
            of Nickel Oxide . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             349
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  TABLE J 1
  Summary of Reproductive Tissue Evaluations and Estrons Cycle Characterization                               for Rats
  in the 13-Week Inhalation Study of Nickel Oxide a

                                              0 mg/m~               2.5 mg/m3                5 mg/m3                10 mg/m3


  Male

  n                                               10                      9                      10                      10

  Weights (g),
      Right cauda                           0.136 ± 0.006           0.137 ± 0.005          0.138 ± 0.005           0.145 ± 0.004
      Right epididymis                      0.516 ::t: 0.015        0.487 ::1:0.011        0.505 ± 0.008           0.505 ± 0.012
     •Right testis                          1.340 ± 0.028           1.438 ± 0.037          1.418 ± 0.034           1.455 ± 0.054

  Epididymal spermatozoal measurements
      Motility (%)                          95.27 ± 0.51            94.61 ± 0.63           94.45 ± 0.38            94.03 ± 0.47
      Abnormality (%)                       0.680 ± 0.080           0.822 ± 0.127          0.940 ± 0.043           0.880 ± 0.061
      Concentration (106/g cauda epididymal tissue)
                                              949 5:56                874 ± 65               819 ± 53                754 ± 24**


  Female b

  n                                                10                     9e                     10                       8d

  Estrous cycle length (days)                 4.80 5:0.25            4.67:5:0.17            4.60 ± 0.16             4.75 5:0.25
  Estrous stages (% of cycle)
      Diestms                                    32.9                   34.3                   32.9                      34.3
      Proestrus                                   8.6                   12.9                   12.9                      14.3
      Estrus                                     30.0                   31.4                   35.7                      34.3
      Metestrus                                  20.0                   15.7                   18.6                      15.7
      Unclear diagnosis                           8.6                    5.7                    0.0                       1.4


  ** Significantly different (P_<0.01) from the control group by Shirley's test
  a Data are presented as mean 5: standard error.
  b There is no evidence of any differences between the exposed and control groups in cycle length or in relative length of time spent in
     estrous stages.
  c Estrous cycle was longer than 7 days or was unclear in 1 of 10 animals.
  d Estrous cycle was longer than 7 days or was unclear in 2 of 10 animals.
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Sperm Morphology and Vaginal Cytology Evaluations                                                                                                           349


TABLE J 2
Summary o f R e p r o d u c t i v e T i s s u e E v a l u a t i o n s a n d E s t r o u s C y c l e C h a r a c t e r i z a t i o n f o r M i c e
in the 13-Week Inhalation Study of Nickel Oxide a

                                                      0 mg/m3                    2.5 mg/m3                     5 mg/m3                     10 mg/m 3


Male

n                                                         10                           10                           I0                              9

Weights (g)
   Right cauda                                      0.010 ± 0.001               0.008 ± 0.001               0.010 5:0.001                 0.010 =1::0.001
   Right epididymis                                 0.062 ± 0.003               0.056 ± 0.004               0.063 ± 0.004.                0.056 ± 0.004
   Right testis                                     0.121 ± 0.005               0.112 5:0.004               0.123 ± 0.004                 0.106 ± 0.009

Epididymal spermatozoal measurements
    Motility (%)                          95.40 ± 0.30                          95.40 5:0.25                95.50 ± 0.29                  95.68 ± 0.28
    Abnormality (%)                         1.70 ± 0,15                          1.34 ± 0.13                 1.62 5:0.19                   2.40 ± 1.06
    Concentration (10~/g cauda epididymal tissue)
                                          1,714 ± 210                            1,616 ± 262                 1,815 ± 190                  1,735 ± 204


Female b

n                                                           9                           10                          9c                              9

Estrous cycle length (days)                           4.11 ± 0.11                 4.30 ± 0.21                 4.00 ± 0.17                  4.11 ± 0.11
Estrous stages (% of cycle)
    Dicstrus                                              31.7                        25.7                        31.4                          31.7
    Proestrus                                             19.0                        11.4                        14.3                          23.8
     Estrus                                               27.0                        38.6                        34.J                          22.2
     Metestrus                                            20.6                        22.9                        20.0                          22.2
     Unclear diagnosis                                     1.6                         1.4                         0.0                           0.0


a Data are presented as mean ± standard error. Differences from the control group for all study parameters are not significant by Durm's
  or Dunnett's tests.
b There is no evidence of any differences between the exposed and control groups in cycle length or in relative length of time spent in
  estrous stages.
c Esti'ous cycle was longer than 7 days or was unclear in 1 of 10 animals.
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                   APPENDIX K
        CHEMICAL CHARACTERIZATION AND
     GENERATION OF CHAMBER CONCENTRATIONS

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  CHEMICAL CHARACTERIZATION AND
  GENERATION OF CHAMBER CONCENTRATIONS
  P R O C U R E M E N T AND C H A R A C T E R I Z A T I O N O F N I C K E L O X I D E
  Nickel oxide, which was manufactured by the Socicte Metallurgiquc le Nickel (Paris, France), was
  generously supplied by International Nickel Company, Ltd., (Toronto, Ontario) in one lot (I042983),
  which was used during the 16-day, 13-week, and 2-year studies. Identity and purity analyses were
  conducted by the analytical chemistry laboratory, Midwest Research Institute (Kansas City, MO). Reports
  on analyses performed in support of the nickel oxide studies are on file at the National Institute of
  Environmental Health Sciences.

 The chemical, an olive gray powder, was identified as high temperature (sintered) nickel oxide by
 elemental, melting point, and solubility analyses. The chemical had a melting point of greater than
 300 ° C and was not soluble in boiling concentrated nitric acid or concentrated sulfuric acid. Elemental
 analysis for nickel was in agreement with the theoretical value for nickel oxide. The melting point and
 solubility characteristics were consistent with those expected for high temperature (sintered) nickel oxide
 (Weast, 1976; Rhoda et al., 1981).

  The purity of lot 1042983 was determined by elemental analysis, weight loss on drying, and spark source
  mass spectrometry. A sample of lot 1042983 was also analyzed by Truesdail Laboratories (Tustin, CA)
  for five elements to determine if it met American Society of Testing and Materials (ASTM) specifications.

  Elemental analysis for nickel (78.8 %) was in agreement with the theoretical 'value for nickel oxide.
  Weight loss on drying indicated less than 0.05% water. Spark source mass spectrometry indicated total
  impurities less than or equal to 3,500 ppm; the major inorganic impurities were cobalt (approximately
  2,200 ppm), iron (670 ppm), and sulfur (200 ppm). Analyses for nickel, cobalt, copper, iron, and sulfur
  indicated conformance with ASTM specifications for Grade 75 nickel oxide sinter (ASTM, 1974). The
  overall purity was determined to be greater than 99 %.

  No accelerated chemical stability studies were performed for nickel oxide based on literature information
  about the physical and chemical properties of the compound (Kirk-Othmer, 1978). The melting point and
  oxidation state indicate that nickel oxide should be thermally stable at temperatures up to 340 ° C when
  protected from light (Larkins, 1967; Weast, 1976). To ensure stability, the analytical chemistry
  laboratory recommended that the bulk chemical be stored protected from light at room temperature.

  The bulk chemical was stored in amber glass bottles at room temperature. Periodic monitoring of the bulk
  chemical was performed by Huffman Laboratories, Inc., (Golden, CO) prior to all studies, once during the
  16-day and 13-week studies and every 3 to 5 months during the 2-year studies by elemental analysis for
  nickel and weight loss on drying. On three occasions out of 20 analyses, the values for nickel in the
  samples fell outside the range recommended by the analytical chemistry laboratory. Occasionally, the
  weight loss on drying exceeded the specification of 0.1%. Because the excursions from specification were
  sporadic and occurred in the bulk and reference samples, it was concluded that there was no degradation
  of the bulk chemical during the studies.


  A E R O S O L G E N E R A T I O N AND E X P O S U R E S Y S T E M
  Nickel oxide aerosol was generated from 4-inch (16-day and 13-week studies) or 2-inch (2-year studies)
  fluid bed generators (FBGs). Figure K1 shows the schematic of the FBG with the gravity feed and catch
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pan collection systems. The FBG contained a bed of stainless steel powder of a diameter too heavy to be
carried from the generator in the flow of air. The nickel oxide was added to the stainless steel bed, and
the motion of the bed when air was passed through the FBG released the much smaller nickel oxide
particles into the air. A Kr-85 discharger was placed in the generator to reduce the electrical charge on
the aerosol. The nickel oxide aerosol was mixed with diluting air to achieve the desired concentrations
and was delivered to the exposure chambers. Fresh nickel oxide-containing bed material was constantly
added to the generator from a hopper located above the generator; the nickel oxide-depleted stainless steel
powder was continually drained from the FBG through an overflow port located at the side of the
generator. The depleted stainless steel bed material, collected in an enclosed container at the base of the
generator, was loaded into a V-tube mixer and was mixed with a sufficient amount of nickel oxide to
replenish the bed and maintain a stable aerosol concentration. The amount of nickel oxide added to each
bed depended on the aerosol concentration desired. The aerosol generation assembly was enclosed in a
walk-in hood. Air was circulated through HEPA filters to remove suspended particles in the enclosure.
The aerosol delivery system is shown in Figure K2.

Stainless steel, multi-tiered, whole-body exposure chambers (H1000 and H2000, Hazleton Systems,
Aberdeen, MD) were used to expose the rats and mice in these studies (Figure K3). In the 16-day studies,
the H2000 chambers were used for the 1.2, 2.5, and 10 mg/m3 groups, and the H1000 chambers were
used for the 0, 5, and 30 mg/m3 groups. During the 13-week studies, the H2000 chambers were used for
the 0, 0.6, 2.5, and 10 mg/m3 groups, and the H1000 chambers were used for the 1.2 and 5 mg/m 3
groups. In the 2-year studies, the H2000 chambers were used to expose the rats, and the H1000 chambers
were used to expose the mice. The air flow rate in the 16-day studies corresponded to 12 5= 2 air changes
per hour. In the 13-week studies, the air flow rate was 12 ± 2 ft3/min in the H2000 chambers and
7 5= 1 ft3/min in the H1000 chambers, corresponding to 3.86 to 21.32 (rats) and 10.06 to 19.44 (mice) air
changes per hour. In the 2-year studies, the air flow rate was 14.6 ± 2.0 ft3/min in the rat chambers and
8.7 ± 1.2 fP/min in the mouse chambers, corresponding to 15 ± 2 air changes per hour. To reduce the
spatial Variation of aerosol concentration and to increase the uniformity of mixing, the aerosol was diluted
in a radial dilutor prior to introduction into the chamber, and a small boxer fan (Model WS 2107FL-1002,
Newark Electronics, Chicago, IL) with a flow rate of 60 ft3/min was placed below the aerosol entrance to
further mix the aerosol as it entered the chamber. Animal cages were rotated weekly to reduce the
variation of concentrations of aerosols that the animals were being exposed to during the 13-week and
2-year studies. Diagrams of the 13-week and 2-year exposure suites are shown in Figures K4 and K5,
respectively.



AEROSOL CONCENTRATION MONITORING
In. the 13-week and 2-year studies, the aerosol concentrations were determined gravimetrically from three
2-hour samples (3 L/rain flow rate) from each exposure chamber during each 6-hour exposure day. The
background concentrations of total suspended particles in the control chambers were monitored each
exposure day of the 2-year studies by collecting one 6-hour filter sample; samples were collected overnight
from the control chambers during the 16-day and 13-week studies. The mean concentration of total
suspended particles in the control chamber was 0.08 mg particles/m3 in the 16-day studies and was
0.07 mg particles/m3 in the 13-week studies. In the 2-year studies, the mean concentrations of total
suspended particles were 0.02 5= 0.01 mg particle/rag3 in the rat control chamber and 0.01 ± 0.01 mg
particle/m3 in the mouse control chamber.

All samples in the 13-week and 2-year studies were collected after the initial 8 minutes (Tgo) of aerosol
generation at a flow rate of 3 L/rain. The flow rate was monitored with orifice meters. To determine
aerosol concentration, samples were collected with 25 nun fiberglass filters (Type AE, Gelman, Ann
Arbor, MI) during the 13-week studies and with 25 nun, Teflon®-coated, fiberglass filters with a pore size
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   of 0.1 /zm (Zefluor, Gelman, Ann Arbor, MI) during the 2-year studies. The quantity of nickel oxide
   collected on the filters was determined gravimetrically by weighing the filters with an electrobalance
   (Cahn 29, Cahn Instruments, Cerrito, CA) before and after the collection of the samples. The aerosol
   mass concentrations were calculated by dividing the mass increment (rag) by the volume sampled (m3); the
   means and standard deviations of each chamber were calculated for each exposure day. Daily mean
   exposure concentrations for the 13-week studies are presented in Figures K6 and K7. Weekly mean
   exposure concentrations for the 2-year studies are presented in Figures K8 and K9.

   A continuous aerosol monitor (Model RAM-S, GCA, Co., Bedford, MA) was used to monitor the stability
   of the aerosol concentrations and to determine the need to adjust the aerosol generation system during
   exposures. The RAM-S was used to monitor each chamber for at least 2 minutes at the beginning,
   middle, and end of each filter sampling period. The RAM-S unit has a self-contained sampling system
   which operates at 2 L/rain.

   Aerosol concentration was also quantitated with the RAM-S. The RAM-S voltage output was calibrated
   against the mass concentration obtained gravimetrically. The average of three RAM-S voltage readings
   taken during a filter-sampling period were plotted versus the aerosol concentration determined
   gravimetrically. Linear regression analysis was performed monthly on these data, and the RAM-S voltage
   readings (volts) were converted to mass concentration (mg/m 3) based on the slope and intercept of the
   regression line fitted to the data. The mean and standard deviation of the concentrations were calculated
   each exposure day for each chamber. The coefficient of variation from the RAM-S measurement was
   used as an indication of aerosol stability for each exposure day. RAM-S and filter samples were taken at
   the middle level of the H2000 and H1000 chambers above the animal cage. The probe for the filter
   sample was at the front of each chamber, and the probe for the RAM-S was at the back of each chamber.



   CHAMBER ATMOSPHERE CHARACTERIZATION
   Aerosol size distribution was determined once during the I6-day and 13-week studies and monthly during
   the 2-year studies for each exposure chamber with a Lovelace multijet cascade impactor operated at a flow
   rate of 15 L/rain. The sampling period ranged from 30 minutes to 6 hours depending on the chamber
   concentration. Stainless steel shimstock coated with apiezon grease was used as impactor substrate. The
   amount of nickel oxide on each stage was determined by the difference in stage weight before and after
   the sample was collected. The mass medium aerodynamic diameter and the geometric standard deviation
   were calculated from the mass data, effective cutoff diameter of each stage, and impactor flow rate. The
   results are presented in Tables K1 through K4.

   Prior to the start of the studies, the generated aerosol was sampled and compared to the bulk sample by
   atomic absorption and X-ray diffraction analyses. The nickel content of both samples was identical, and
   their diffraction patterns conformed to the standard pattern (# 22-1.189) published by the Joint Committee
   on Powder Diffraction Standards. The data supports the conclusion that the generation system did not
   change the crystal structure of the bulk chemical.

   Results of analyses of the nickel content of the aerosol during the 13-week studies indicated the nickel
   content to be 78.81% ± 5.46%, which is consistent with the theoretical value of 78.58% nickel. Nickel
   oxide aerosol filter samples were collected from the 0.62 and 2.5 mg/m 3 rat chambers during week 4 of
   exposure during the 2-year study and were analyzed for nickel content by atomic absorption spectroscopy
   to verify the stability of the aerosol. Chemical analysis of these filter samples indicated that the aerosols
   contained 72 % and 70 % nickel, respectively. These values are somewhat below the average percent.
   nickel found in the bulk nickel oxide and are below the theoretical value. Since low values for nickel
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were occasionally reported by Huffman Laboratories for bulk chemical analysis, these low values were not
considered to be significant.

Uniformity of aerosol concentration in the exposure chambers was measured prior to the start of the
studies without animals in the chambers and with animals during the first week of exposure, and was
checked quarterly during the 2-year studies. Three samples were collected with the RAM-S at a specified
reference point in each chamber at the start, middle, and end of the procedure. One sample each was
collected for the other locations. The total variation of aerosol concentrations is the coefficient of
variation of samples collected at different locations, and the temporal variation is the coefficient of
variation of the three reference samples. In the 13-week studies, the temporal variations ranged from
1% to 17 %, and the spatial variations ranged from. 0 % to 3 %. For rats in the 2-year studies, the mean
temporal variations of aerosol concentration during exposure were between 1.46% and 2.76%, and the
mean spatial variations were between 2.50% and 8.45%. For mice in the 2-year studies, the mean
temporal variations were between 1.39% and 2.25 %, and the mean spatial variations were between 3.78%
and 4.89%.

The aerosol rise and fall time (Tgo) was determined with a RAM-S, and an exposure day was set at
6 hours plus Tgo. A T~0 of 8 minutes was used during all studies.

Residual concentration of nickel oxide in the chambers during nonexposure hours was evaluated
gravimetrically once during the 16-day studies, once during the 13-week studies, and once during the first
2 weeks of exposure and quarterly thereafter during the 2-year studies. The filter samples were collected
overnight (about 15 hours) at a flow rate of 3 L/min. Samples were collected from the 30 mg/m3 chamber
during the 16-day studies and from the 10 mg/m3 chamber during the 13-week studies. During the 2-year
studies, samples were collected from the 2.5 mg/ma rat chamber and from the 5 mg/m3 mouse chamber.
If the weight of the material collected on the filter was greater than 200/zg, the material collected was
analyzed for nickel content by atomic absorption spectroscopy. The mass of the particles collected on the
filter during the 16-day and -13-week studies never exceeded 200 #g. The mass of the particles collected
exceeded 200/zg four times during the 2-year rat study and three times during the 2-year mouse study,
and these samples were analyzed for nickel content. Results of chemical analysis of these filter samples
by atomic absorption spectroscopyindicated that the aerosol collected on the filter consisted chiefly of
non-nickel-containingmaterial.
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                                             AEROSOL
                                  (



                      FEED l
                     HOPPPER




                                                  FEEDAIR
               PRESSURE               Kr-OS
                 DROP                 DIS~        ~ ~ C O ROTAMETER
                                                              MPRESSED
                                                                   AIR

                                                                         PAN


           COMPREBBED FLUIDIZING                                   READOUT
               AIR
                   ORIFICE
                    METER
                 DISTRIBUTIONPLATE                                             I
                                                                    BALANCE



                             FIGURE K1
                             Schematic of the Generation System
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                               AEROSOL DILUTION/OELIVERY SYSTEM




 EXHAUST
           ~   ~fO~ICE
                    L, METER
                        O ~ I C E METER
                        .,   :.~.
                                                  GATE VALVE

                                                           CONOITIONED CLEAN AIR

        ~UT.~                             .: -r        i   CONO~TIONEDCLEAN AIR


   2-WAY VALVE *,




                                                                                              AEROSOL
                                                                                             GENERATOR
                    CHAMBER




                                                  .,
                                                                                   EXHAUST
                                                  i




                        FIGURE K2
                        Schematic of the Nickel Oxide Aerosol Delivery System
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                                                .....~                    °~"~°'~"       PLATE




EXCRETACATCHPAN                                            ~ ~ J




                                                EXHAUST    / EXHAUST
                                                             ~/




                  FIGURE K3
                  Schematic of the H1000 and H2000 Exposure Chambers
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                                          ROOM 256



               2.Smglm=                 O,6mglm3         ~-          CONTROL              ~FLUID BED
                                                                                            GENERATOR FOR
                                                                                            GONTROL CHAMBER
                 CH1         CH2            CH3           CH4            CH5




          \
     DOOR
           /                                      WALK-IN HOOD
               CH8        CH7                                                             jBENCH TOP
                                             AEROSOL GENERATOR

                        lOmglm3
                                          HEPA FILTERS & BLOWERS
                                                                                          ~BALANCE




                                  FIGURE K4
                                  13-Week Nickel Oxide I n h a l a t i o n Suite
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                                           ROOM 2 5 6


                   1.25 I'~~E~I mlilml
                  molto.~

                   GHI      J•• 0.82 ~1I~tl GONTROL~ "---- FB G 1


          DOOR
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                                                                                  /BENCH         TOP
                 r~r~OH'~l~                     ~     ~        ,-
                 I ~ I       ~,        I    FBQO    F.    3   F.~
                 I~]        "~" I ~.,..~,.~..~o..~
                                                                                   ~BALANCE




                             FIGURE K5
                             2-Year Nickel Oxide Inhalation Suite
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                                                   EXPOSURE DAY




                       FIGURE K6
                       Daily Mean Filter Concentrations and Standard Deviations
                       in the 13-Week Inhalation Study in Rats
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                       10              20              30              40              50               60              70        8'0

                                                             EXPOSURE DAY




                                FIGURE K7
                                Daily Mean Filter Concentrations and Standard Deviations
                                in the 13-Week Inhalation Study in Mice
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Chemical Characterization and Generation of Chamber Concentrations                                                                                363




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                 ~                      20                               40                  60                        80               100

                                                                              WEEK ON STUDY




                                 FIGURE K8
                                 Weekly Mean Filter Concentrations and Standard Deviations
                                 in the 2-Year Inhalation Study in Rats
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        0
        N 3.0-




                                             NEEK   ON STUDY




                       FIGURE K9
                       Weekly Mean Filter Concentrations and Standard Deviations
                       in the 2-Year Inhalation Study in Mice
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TABLE K1
S u m m a r y of Aerosol Size Measurements for the R a t a n d Mouse C h a m b e r s
in the 16-Day I n h a l a t i o n Studies of Nickel Oxide

                      Target                         Mass Median                       Geometric
                   Concentration                     Aerodynamic                       Standard
                       (mg/m3)                      Diameter ~m)                       Deviation


                          1.2                             2.81                            1.81

                          2.5                             3.21                            1.82

                          5                               2.89                            2.13

                         i0                               2.56                            1.88

                         30                               3.29                            2.04




TABLE K2
S u m m a r y of Aerosol Size Measurements for the R a t and Mouse C h a m b e r s
in the 13-Week I n h a l a t i o n Studies of Nickel Oxide

                       Target                        Mass Median                       Geometric
                    Concentration                    Aerodynamic                       Standard
                       (mg/m3)                      Diameter (#m)                      Deviation


                          0.6                             3.04                            1.9

                          1.2                             3.06                            2.0

                          2.5                             2.57                            1.8

                          5                               2.77                            1.9

                         10                               2.71                            1.6
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  TABLE K 3
  Summary      of A e r o s o l Size M e a s u r e m e n t s   f o r t h e 0 . 6 2 , 1 . 2 5 , and 2.5 mg/m 3 Rat C h a m b e r s
  in the 2-Year Inhalation Study o f N i c k e l Oxide

                                        0.62 mg/m3                                    1.25 mlI/m3                              2.5 m g / m 3
                            Mass Median Geometric                       Mass Median           Geometric           Mass Median           Geometric
                            Aerodynamic    Standard                     Aerodynamic           Standard            Aerodynamic           Standard
  Date                      Diameter (;tm) Deviation                    Diameter (~m)         Deviation          Diameter (/~m)         Deviation



  April 1988                       2.47                 1.85                   2.49               1.59                  2.37                1.86
  May 1988                         2.35                 1.96                   2.33               1.92                  2.58                1.87
  June 1988                        2.26                 2.05                   2.46               1.71                  2.29                1.78
  July 1988                        2.21                 2.05                   2.42               1.76                  2.13                1.71
  August 1988                      2.09                 1.98                   1.99               1.76                  2.19                1.61
  September 1988                   2.10                 2.02                   2.06               1.70                  2.06                1.60
  October 1988                     2.38                 1.77                   2.20               1.66                  2.31                1.58
  November 1988                    2.48                 1.98                   2,26               1.71                  2.07                1.75
  December 1988                    2.15                 1.88                   2,13               1.84                  2.16                1.58
  January 1989                     2.28                 2.08                   2.58               3.51                  2.33                1.82
  February 1989                    2.14                 2.05                   1.95               1.92                  2.27                1.76
  March 1989                       2.10                 1.97                   2.13               1.82                  2.25                1.76
  April 1989                       2.46                 1.95                   2.15               1.95                  2.29                1.76
  May 1989                         2.19                 1.86                   2.22               1.90                  2.21               .1.97
  June 1989                        2.18                 1.91                   2.31               1.94                  2.39                1.81
  July 1989                        2.01                 1.92                   2.21               1.86                  2.35                1.94
  August 1989                      1.99                 1.92                   2.01               1.96                  2.23                1.88
  September 1989                   2.11                 2.03                   2.10               1.82                  2.03                1.82
  October 1989                     2.22                 1.99                   2.36               1.88                  2.16                1.90
  November 1989                    2.27                 2,08                   2.29               1.83                  2.27                1.84
  December 1989                    2.34                 1,98                   2.29               1.88                  2,19                1.84
  January 1990                     2.17                 1.92                   2.14               1.78                  1,89                1.83
  February 1990                    2.11                 2.05                   2.35               1.81                  1,94                1.97
  March 1990                       2.08                 1.93                   2.07               1.73                  1.97                1.86

  Mean ± standard
  deviation                     2.21 ~ 0.14          1.97 ± 0.08           2.23 ± 0.17        1.89 ± 0.36            2.21 ± 0.16      1.80 ± 0.11
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TABLE K4
Summary of Aerosol Size Measurements for the 1.25, 2.5, and 5 mg/m 3 Mouse Chambers
in the 2-Year Inhalation Study of Nickel Oxide

                           1.25 mg/m 3                       2.5 mg/m 3                       5 mg/m 3
                  Mass Median      Geometric      Mass Median       Geometric      Mass Median      Geometric
                  Aerodynamic      Standard       Aerodynamic       Standard       Aerodynamic      Standard
Date              Diameter (#m)    Deviation      Diameter (pm)     Deviation      Diameter (#m)    Deviation



May 1988               2.82           1.90            2.52             1.93            2.87              1.82
June 1988              2.83           1.81            2.65             1.82            2.68              1.79
July 1988              2.44           1.92            2.41             1.87            2.77              1.85
August 1988            2.80           1.73            2.32             1.84            2.31              1.55
September 1988         2.31           1.74            2.34             1.74            2.50              1.59
October 1988           2.99           1.65            2.70             1.63            2.70              1.66
November 1988          2.40           1.85            2.46             1.69            2.48              1.64
December 1988          2.22           1.80            2.55             1.91            2.55              1.64
January 1989           2.46           1.90            2.40             1.86            2.65              1.59
February 1989          2.57           2.00            2.33            .1.87            2.46              i .82
March 1989             2.30           1.88            2.32             1.73            2.60              1.80
April 1989             2.62           1.91            2.32             1.78            2.77              1.83
May 1989               2.56           1.86            2.43             1.85            2.60              1.76
June 1989              2.22           1.92            2.48             1.84            2.67              1.91
July 1989              2.21           2.00            2.15             1.84            2.52              1.80
August 1989            2.30           1.96            2.46             1.74            2.58              1.83
September 1989         2.32           1.85            2.34             1.79            2.49              1.72
October 1989           2.67           1.87            2.49             1.73            2.48              1.80
November 1989          2.40           1.78            2.50             1.81            2.72              1.74
December 1989          2.41           1.88            2.61             1.75            2.45              1.85
January 1990           2.'21          1.75            2.34             1.88            2.22              1.78
February 1990          2.32           1.90            2.37             1.77            2.37              1.89
March 1990             2.35           2.04            2.30             1.73            2.28              1.69
April 1990             2.36           1.86            2.28             1.97            2.49              1.85

Mean ± standard
deviation            2,46 ± 0,22    1.87 ± 0.09     2.42 ± 0,13      1,81 ± 0.08     2.55 ± 0,16     1,76 ± 0,10
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                         APPENDIX L
           INGREDIENTS, NUTRIENT COMPOSITION,
                 AND CONTAMINANT LEVELS
              IN NIH-07 RAT AND MOUSE RATION

TABLE L1    Ingredients of NIH-07 Rat and Mouse Ration . . . . . . . . . . . . . . . . . . . . . . . . . . .            370
TABLE L2    Vitamins and Minerals in NIH-07 Rat and Mouse Ration . . . . . . . . . . . . . . . . . . .                  370
TABLE L3    Nutrient Composition of NIH-.07 Rat and Mouse Ration . . . . . . . . . . . . . . . . . . . .                371
TABLE L4    Contaminant Levels in NIH-07 Rat and Mouse Ration . . . . . . . . . . . . . . . . . . . . .                 372
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  TABLE L 1
  Ingredients of NIH-07 Rat and Mouse Ration a


              I n g r e d i e n t sb                                               P e r c e n t by Weight



  Ground #2 yellow shelled corn                                                            24.50
  Ground hard winter wheat                                                                 23.00
  Soybean meal (49% protein)                                                               12.00
  Fish meal (60% protein)                                                                  10.00
  Wheat middlings                                                                          10.00
  Dried skim milk                                                                           5.00
  Alfalfa meal (dehydrated, 17% protein)                                                    4.00
  Corn gluten meal (60% protein)                                                            3.00
  Soy oil                                                                                   2.5O
  Dried brewer's yeast                                                                      2.00
  Dry molasses                                                                               1.50
  Dicalcium phosphate                                                                        1.25
  Ground limestone                                                                           0.50
  Salt                                                                                       0.50
  Premixes (vitamin and mineral)                                                             0.25


  a NCI, 1976; NIH, 1978
  b Ingredients were ground to pass through a U.S. Standard Screen No. 16 before being mixed.




  TABLE L 2
  Vitamins and Minerals in NIH-07 Rat and Mouse Ration a


                                                   Amount                                  Source



   Vitamins
    A                                            5,500,000 IU                Stabilized vitamin A palmitate or acetate
    D3                                           4,600,000 IU,               D-activated animal sterol
    K3                                                   2.8 g               Menadione
    d-c~-Tocopheryl acetate                         20,000 IU
    Choline                                            560.0 g               Choline chloride
    Folic acid                                           2.2 g
    Niacin                                              30.0 g
    d-Pantothenic acid                                  18.0 g               d-Calcium pantothenate
    Riboflavin                                           3.4 g
    Thiamine                                            10.0 g               Thiamine mononitrate
    B~2                                              4,000/xg
    Pyridoxine                                           1.7 g                Pyridoxine hydrochloride
    Biotin                                           140.0 mg                 d-Biotin

   Minerals
    Iron                                               120.0 g                Iron sulfate
    Manganese                                           60.0 g                Manganous oxide
    Zinc                                                16.0 g                Zinc oxide
    Copper                                               4.0 g                Copper sulfate
    Iodine                                               1.4 g                Calcium iodate
    Cobalt                                               0.4 g                Cobalt carbonate


   a Per ton (2,000 lb) of finished product
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Feed Analyses                                                                                                             371


TABLE L 3
Nutrient Composition of NIH-07 Rat and Mouse Ration

                                                       Mean :t= Standard
  Nutrient                                                Deviation             Range               Number of Samples

  Protein (% by weight)                                    22.9 ± 0.80       21.70 - - 24.20                25
  Crude fat (% by weight)                                  5.40 ± 0.30        4.60 - - 5.90                 25
  Crude fiber (% by weight)                                3.60 ± 0.40        2.80 - - 4.30                 25
  Ash (% by weight)                                        6.60 _+ 0.30       6.10 - - 7.30                 25

A m i n o Acids (% o f total diet)
  Arginine                                                1.287 ± 0.084      1 . 1 0 0 - 1.390              10
  Cystine                                                 0.306 ± 0.075      0.181 - - 0.400                10
  Glycine                                                 1.160 5:: 0.050    1 . 0 6 0 - 1.220              10
  Histidine                                               0.580 ± 0.024      0.531 m 0.608                  10
  Isoleucine                                              0.917 ::i: 0.034   0.867 - - 0.965                10
  Leucine                                                 1.972 5:0.052      1.850 - - 2.040                10
  Lysine                                                  1.273 5:0.051      1.200 - - 1.370                10
  Methionine                                              0.437 ± 0.115      0.306 - - 0.699                10
  Phenylalanine                                           0.994 5:0.125      0.665 - - 1.110                10
  Threonine                                               0.896 ± 0.055      0.824--- 0.985                 I0
  Trypt~phan                                              0.223 ± 0.160      0.107 w 0.671                  10
  Tyrosine                                                0.677 5:: 0.105    0.564 w 0.794                  10
  Valine                                                  1.089 ± 0.057      0.962 ~ 1.170                  10

E s s e n t i a l F a t t y Acids (% o f total diet)
   Linoleic                                               2.389 ± 0.233      1.830 - - 2.570                 9
   Linolenic                                              0.277 ± 0.036      0.210 - - 0.320                 9

Vitamins
 Vitamin A (IU/kg)                                       65,230 ± 1,933      4 , 1 8 0 - 12,140             25
 Vitamin D (IU/kg)                                        4,450 ± 1,382      3,000 - - 6,300                 4
 ~-Tocopherol (ppm)                                       36.92 ± 9.32        22.5 - - 48.9                  9
 Thiamine (ppm)                                           18.90 ± 2.40         16.0 - - 28.0                25
 Riboflavin (ppm)                                          7.92 ± 0.93        6.10 - - 9.00                 10
 Niacin (ppm)                                            100.95 ± 25.92        6 5 . 0 - 150.0               9
 Pantothenic acid (ppm)                                   30.30 ± 3.60         23.0 - - 34.6                10
 Pyridoxine (ppm)                                          9.25 ± 2.62         5 . 6 0 - 14.0               10
 Folic acid (ppm)                                          2.51 ± 0.64         1.80 - - 3.70                10
 Biotin (ppm)                                             0.267 ± 0.049        0.19--0.35                   10
 Vitamin B~,_(ppb)                                        40.14 ± 20.04        10.6 - - 65.0                10
 Choline (ppm)                                            3,068 ± 314        2,400 - - 3,430                 9

Minerals
 Calcium (%)                                                1.25 ± 0.I0       1 . 0 0 - 1.50                25
 Phosphorus (%)                                            0.95 ± 0.03        0.90 - - 1.00                 25
 Potassium (%)                                            0.887 ± 0.067      0.772 - - 0.971                 8
 Chloride (%)                                             0.526 ± 0.092      0.380 - - 0.635                 8
 Sodium (%)                                               0.315 ± 0.034      0.258 - - 0.370                10
 Magnesium (%)                                            0.168 ± 0.008      0.151 - - 0 . 1 8 0            10
 Sulfur (%)                                               0.274 ± 0.063      0.208 - - 0.420                10
 Iron (ppm)                                               356.2 ± 90.0       255.0 - - 523.0                10
 Manganese (ppm)                                          92.24 ± 5.35        81.7 - - 99.4                 10
 Zinc (ppm)                                               58.14 ± 9.91        46.1 - - 81.6                 10
 Copper (ppm)                                             11.50 ± 2.40       8.090 - - 15.39                10
 Iodine (ppm)                                              3.70 ± 1.14         1.52 - - 5.83                10
 Chromium (ppm)                                             1.71 ± 0.45       0.85 - - 2.09                  9
 Cobalt (ppm)                                             0.797 ± 0.23       0.490 - - 1.15                  6
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  TABLE L 4
  Contaminant Levels in NIH-07 Rat and Mouse Ration a

                                             Mean :t: Standard
                                                Deviationb                   Range                 Number of Samples

  Contaminants
   Arsenic (ppm)                                 0.22 ::k 0.17              0.05 - - 0.60                     25
   Cadmium (ppm)                                 0.09:1:0.02                0.05 - - 0.10                     25
   Lead (ppm)                                    0.25 5:0.18                0.10 - - 1.00                     25
   Mercury (ppm)                                 0.05 5:0.02                0.02 - - 0.11                     25
   Selenium (ppm)                                0.42 5:0.25                0 . 1 6 - 1.21                    25
   Aflatoxins (ppb)c                            < 5.0                                                         24
   Nitrate nitrogen (ppm)d                      15.90 5:8.00                2.60 - - 24.0                     25
   Nitrite nitrogen (ppm)d                       0.19 5:0.15              <0.10 - - 0.60                      25
   BHA (ppm)e                                    1.52 5:0.58                0.10 - - 2.00                     25
   BHT (ppm)e                                    1.28 5:0.61                0.10 - - 3.00                     25
   Aerobic plate count (CFU/g) e               64,828 5:72,281             6,700 - - 320,000                  25
   Coliform (MPN/g) f                              48 5:219                    3 - - 11,200                   25
   Escherichia coli (MP_N/g)f                      <3                                                         25
   Salmonella (MPN/g) r                             Negative                                                  25
   Total nitrosoamines (ppb)                     8.40 5:3.30                3.60 - - 16.50                    25
   N-Nitrosodimethylamine (ppb)                  6.20 5:2.90                2.60 - - 13.00                    25
   N-Nitrosopyrrolidine (ppb)                    2.15 5:1.25                0.90 - - 5.20                     25

  Pesticides (ppm)
      o~-BHC h                                  <0.01                                                         25
      B-BHC                                     < 0.02                                                        25
      3,-BHC                                    <0.01                                                         25
      ~-BHC                                     <0.01                                                         25
      Heptachlor                                < 0.01                                                        25
      Aldrin                                    < 0.01                                                        25
      Heptachlor epoxide                        < 0.01                                                        25
      DDE                                       <0.01                                                         25
      DDD                                       <0.01                                                         25
      DDT                                       <0.01                                                         25
      HCB                                       <0.01                                                         25
      Mirex                                     <0.01                                                         25
      Methoxychlor                              < 0.05                                                        25
      Dieldrin                                  < 0.01                                                        25
      Endrin                                    < 0.01                                                        25
      Telodrin                                  < 0,01                                                        25
      Chlordane                                 < 0.05                                                        25
      Toxaphene                                  < 0.1                                                        25
      Estimated PCBs                             <0.2                                                         25
      Ronnel                                    <0.01                                                         25
      Ethion                                    < 0.02                                                        25
      Trithion                                  < 0.05                                                        25
      Diazinon                                   < 0.1                                                        25
      Methyl parathion                          < 0.02                                                        25
      Ethyl parathion                           <0.02                                                         25
      Malathion                                   0.24 ::t: 0.23           <0.05-     1.00                    25
      Endosulfan I                              < 0.01                                                        25
      Endosulfan II                             < 0.01                                                        25
      Endosulfan sulfate                        <0.03                                                         25


  a    CFU = colony forming units, MPN = most probable number, BHC is hexachlorocyclohexane or benzene hexachloride
  b    For values less than the limit of detection, the detection limit is given as the mean.
  c    No aflatoxin measurement was recorded for the lot milled on 2 October 1989.
  d    Sources of contamination: alfalfa, grains, and fish meal
  e    Sources of contamination: soy oil and fish meal
  f    All values were corrected for percent recovery.
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                                                           APPENDIX M
                                                    SENTINEL ANIMAL PROGRAM


METHODS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              374
RESULTS                     ..........................................................                                                                   376
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  SENTINEL ANIMAL PROGRAM
  METHODS
  Rodents used in the Carcinogenesis Program of the National Toxicology Program are produced in
  optimally clean facilities to eliminate potential pathogens that may affect study results. The Sentinel
  Animal Program is part of the periodic monitoring of animal health that occurs during the toxicologic
  evaluation of chemical compounds. Under this program, the disease state of the rodents is monitored via
  serology on sera from extra (sentinel) animals in the study rooms. These animals and the study animals
  are subject to identical environmental conditions. The sentinel animals come from the same production
  source and weanling groups as the animals used for the studies of chemical compounds.

  Serum samples were collected from randomly selected rats and mice during the 13-week and 2-year
  studies. Blood from each animal was collected, allowed to clot and the serum separated. The samples
  were processed appropriately and sent to Microbiological Associates, Inc. (Bethesda, MD), for
  determination of antibody titers. The laboratory serology methods and viral agents for which testing was
  performed are tabulated below; the times at which blood was collected during the studies are also listed.


  Method and Test                                                   Time of Analysis

  RATS
  13-Week Study
  ELISA
     PVM (pneumonia virus of mice)                                  Study termination
     RCV (rat coronavirus)                                          Study termination
     Sendai                                                         Study termination

  Hemagglutination Inhibition
    H-1 (Toolan's H-1 virus)                                        Study termination
    KRV (Kilham rat virus)                                          Study termination

  2-Year Study
  ELISA
     Mycoplasma arthritidis                                         Study termination
     Mycoplasma pulmonis                                            Study termination
     PVM                                                            7 and 15 months, study termination
     RCV/SDA (rat coronavirus/sialodacryoadenitis virus)            7 and 15 months, study termination
     Sendal                                                         7 and 15 months, study termination

  Hemagglutination Inhibition
    H-1                                                             7 and 15 months, study termination
    KRV                                                             7 and 15 months, study termination
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 Sentinel Animal Program                                                                       375


 MICE
 13-Week Study
 ELISA
    Ectromelia virus                                      Study termination
    GDVII (mouse encephalomyelitis virus)                 Study termination
    Mouse adenoma virus                                   Study termination
    MHV (mouse hepatitis virus)                           Study termination
    PVM                                                   Study termination
    Reovirus 3                                            Study termination
    Sendai                                                Study termination

 Immunofluorescence Assay
   EDIM (epizootic diarrhea of infant mice)               Study termination
   LCM (lymphocytic choriomeningitis virus)               Study termination

 Hemagglutination Inhibition
   K (papovavirus)                                        Study termination
   MVM (minute virus of mice)                             Study termination
   Polyoma virus                                          Study termination

 2-Year Study
 ELISA
    Ectromelia virus                                      7 and 15 months, study termination
    GDVII                                                 7 and 15 months, study termination
    LCM                                                   15 months, study termination
    MVM                                                   7 and 15 months, study termination
    Mouse adenoma virus                                   7 and 15 months, study termination
    MHV                                                   7 and 15 months, study termination
    M. arthritidis                                        Study termination
    M. pulmonis                                           Study termination
    PVM                                                   7 and 15 months, study termination
    Reovirus 3                                            7 and 15 months, study termination
    Sendai                                                7 and 15 months, study termination

 Immunofluorescence Assay
   EDIM                                                   7 and 15 months, Study termination
   LCM                                                    7 months
   MVM                                                    Study termination

 Hemagglutination Inhibition
   K                                                      7 and 15 months, study termination
   MVM                                                    Study termination
   Polyoma virus                                          7 and 15 months, study termination
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 RESULTS
 For the 13-week inhalation studies with rats and mice, all serology test results were negative. Three rats
 had positive titers to M. arthritidis at the end of the 2-year study.

 Further evaluation of samples positive for M. arthritidis by immunoblot and Western blot procedures
 indicated that the positive titers may have been due to cross reaction with antibodies of nonpathogenic
 Mycoplasma or other agents. Only sporadic samples were positive, and there were no clinical signs or
 histopathologic changes of M. arthritidis infection in animals with positive titers. Accordingly,
 M. arthritidis-positive titers were considered to be false positive.
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        HEALTH & HUMAN SERVICES
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